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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY

                                    :
                                    :     MDL No. 2875
IN RE: VALSARTAN,                   :
LOSARTAN, AND                       :     Honorable Robert B. Kugler,
IRBESARTAN PRODUCTS                 :     District Court Judge
LIABILITY LITIGATION                :
                                    :
This Document Relates to All        :     Honorable Joel Schneider,
Actions                             :     Magistrate Judge
                                    :
                                    :

       COMPENDIUM OF UNREPORTED OR UNPUBLISHED
     AUTHORITIES CITED IN MANUFACTURER DEFENDANTS’
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            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FEDERAL CIRCUIT

AMARIN PHARMA, INC., AMARIN PHARMACEUTICALS IRELAND LTD.,
                                                Appellants,
                                          v.
                  INTERNATIONAL TRADE COMMISSION,
                                                Appellee,
ROYAL DSM NV, DSM MARINE LIPIDS PERU S.A.C, DSM NUTRITIONAL
  PRODUCTS LLC, DSM NUTRITIONAL PRODUCTS CANADA, INC.,
PHARMAVITE LLC, NORDIC NATURALS, INC., NORDIC PHARMA, INC.,
                                                Intervenors.

                  On Appeal from the United States International
                         Trade Commission, No. 3247.
                         (caption continued on inside cover)

          CORRECTED BRIEF FOR THE UNITED STATES AS
             AMICUS CURIAE SUPPORTING APPELLEE

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                    (caption continued from front cover)
                  In re: AMARIN PHARMA, INC.,
            AMARIN PHARMACEUTICALS IRELAND LTD.,

                                        Petitioners,


                On Petition for Writ of Mandamus to the
               United States International Trade Commission
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                       INTEREST OF THE UNITED STATES

       This case presents the question whether private parties may seek to enforce the

Federal Food, Drug, and Cosmetic Act (FDCA) through a private proceeding like the

complaint that Amarin brought before the International Trade Commission. The

United States submits this amicus brief to protect its interest in the proper resolution

of that question. See 28 U.S.C. § 517; Fed. R. App. P. 29(a)(2).

       “The FDCA leaves no doubt that it is the Federal Government rather than

private litigants who are authorized to file suit for noncompliance with” the FDCA.

Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 349 n.4 (2001). Private parties are

expressly prohibited from bringing “proceedings for the enforcement, or to restrain

violations, of ” the FDCA. 21 U.S.C. § 337(a). Yet that is precisely what Amarin

seeks to do here. Amarin’s claims, though nominally brought under the Tariff Act,

attempt to enforce or restrain violations of the FDCA because they seek—as a

necessary component of the stated cause of action—to prove FDCA violations and

compel obedience to the FDCA through the remedies provided by that statute. For

that reason, the International Trade Commission correctly concluded that Amarin’s

claims are precluded by the FDCA. The United States takes no position on the other

issues in this case.




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                          STATEMENT OF THE CASE

      A. FDA Regulation of Drugs and Dietary Supplements

      1. The Federal Food, Drug, and Cosmetic Act (FDCA), 21 U.S.C. § 301 et seq.,

authorizes the Food and Drug Administration (FDA) to regulate, among other things,

drugs and dietary supplements. Determining whether an article is a “drug” or a

“dietary supplement” under the FDCA can involve difficult and complex analysis. In

general, the term “drug” includes “articles (other than food)” that are “intended to

affect the structure or any function of the body of man or other animals,” as well as

“articles intended for use in the diagnosis, cure, mitigation, treatment, or prevention

of disease in man or other animals.” Id. § 321(g)(1)(B), (C). A “dietary supplement”

is a product that, among other factors, contains a “dietary ingredient[],” which

includes, among other things, a vitamin, mineral, herb, or “a dietary substance for use

by man to supplement the diet by increasing the total dietary intake.” Id. § 321(ff )(1).

      These general definitions are further refined by other provisions of the FDCA.

For example, a “dietary supplement” that otherwise might meet the definition of a

“drug” is “not a drug * * * solely because” the label contains certain types of health-

related claims. 21 U.S.C. § 321(g)(1). And the term “dietary supplement” excludes

“an article authorized for investigation as a new drug,” where the investigation has

been instituted and made public, unless before such authorization the article was

“marketed as a dietary supplement or as a food.” Id. § 321(ff )(3)(B)(ii).


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       The FDCA treats “drugs” and “dietary supplements” differently. Unless a drug

is “generally recognized” as “safe and effective for use under the conditions

prescribed, recommended, or suggested” in its labeling, it is classified as a “new drug.”

21 U.S.C. § 321(p)(1). And the FDCA prohibits introducing a new drug into

interstate commerce before it has been approved by FDA. Id. §§ 331(d), 355. To

obtain pre-market approval, the drug sponsor has the burden of proving that a new

drug is safe and effective for its intended use. See Wyeth v. Levine, 555 U.S. 555, 567

(2009). A sponsor that introduces a new drug into interstate commerce without

complying with this requirement is subject to a variety of FDA enforcement

measures, including criminal penalties (21 U.S.C. § 333), injunctive relief (id. § 332),

forfeiture (id. § 334(a)(1)), and—most relevant here—exclusion of the drug from

importation into the United States (id. § 381(a)(3)).

       By contrast, “dietary supplements” do not require or receive pre-market

approval for safety and efficacy. If FDA determines that a dietary supplement is

“adulterated” food—because, for example, it “presents a significant or unreasonable

risk of illness or injury,” 21 U.S.C. § 342(f )(1)(A)—the manufacturer may be subject

to the same range of FDCA enforcement measures applicable to new drugs.

       2. “The FDCA leaves no doubt that it is the Federal Government rather than

private litigants who are authorized to file suit for noncompliance with” the FDCA.

Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 349 n.4 (2001). Congress gave the

Secretary of Health and Human Services and FDA the authority to execute the
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requirements of the FDCA. See 21 U.S.C. §§ 355, 393. And Congress prohibited

private parties from bringing actions to enforce the FDCA: “[A]ll * * * proceedings

for the enforcement, or to restrain violations, of this chapter shall be by and in the name

of the United States.” Id. § 337(a) (emphasis added).

       B. The International Trade Commission

       The Tariff Act of 1930 prohibits “[u]nfair methods of competition and unfair

acts in the importation of articles” into the United States, where such acts have the

“threat or effect” of “destroy[ing] or substantially injur[ing] an industry in the United

States.” 19 U.S.C. § 1337(a)(1)(A)(i). Private parties may submit claims under this

provision to the International Trade Commission for adjudication. If the

Commission finds a violation, it “shall direct that the articles concerned” be “excluded

from entry into the United States.” Id. § 1337(d).

       The Tariff Act does not fully define what constitutes an “unfair act” or “unfair

method of competition.” Through adjudication, the Commission has interpreted

those terms to include conduct violating the false-advertising provisions of the

Lanham Act, 15 U.S.C. § 1125(a). See, e.g., Initial Determination, In re Certain Insulated

Sec. Chests, USITC Inv. No. 337-TA-244, 1987 WL 451338, at *2 (June 17, 1986). The

Lanham Act prohibits using in commercial advertising any “term” that “misrepresents

the nature, characteristics, [or] qualities” of goods. 15 U.S.C. § 1125(a)(1)(B).




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      C. Factual Background and Proceedings Below

      1. Amarin obtained approval from FDA to market a new drug to treat severe

hypertriglyceridemia. Appx9, Appx14-15. The drug consists of capsules of an ethyl

ester form of eicosapentaenoic acid that is synthetically produced from fish oils.

Appx9, Appx11, Appx14-15. Amarin alleges that other manufacturers also

synthetically derive eicosapentaenoic acid (and close relatives) and import articles

“predominantly comprised” of those ingredients into the United States. Appx9.

Those manufacturers allegedly label and market those articles as “dietary

supplements,” and also allegedly market them as suitable for treating various diseases.

Appx9, Appx11, Appx14-15, Appx17-18.

      Amarin filed a complaint with the International Trade Commission, seeking to

exclude these articles from the United States under the Tariff Act. Appx4-114. The

complaint alleged that the accused articles do not qualify as “dietary supplements”

under the FDCA and instead constitute “new drugs,” for which the manufacturers

should have, but did not, obtain FDA approval of their safety and efficacy prior to

marketing them in the United States, as required by the FDCA. Appx16.

      Based on these allegations, Amarin presented two legal claims to the

Commission. In one claim, Amarin contended that the importation of the articles

violates the Tariff Act “based on the standards set forth in the FDCA.” Appx56; see

Appx56-59. In other words, Amarin alleged that the articles were marketed in

violation of the FDCA, and that importation of articles marketed in violation of the
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FDCA is an “unfair act” for that reason. In the other claim, Amarin argued that

labeling the articles as “dietary supplements” is an “unfair act” in violation of the

Tariff Act because it constitutes false advertising under the Lanham Act. Appx16; see

Appx31-56. Amarin reasoned that labeling the articles as “dietary supplements” is

“literally false” because the articles do not qualify as “dietary supplements” under the

FDCA, and it also “hides the material fact that the products are actually unapproved

‘new drugs.’ ” Appx55.

      2. FDA submitted a letter to the Commission asking it to dismiss the

complaint. FDA noted that it had not determined whether the articles were drugs or

dietary supplements. Appx627. FDA explained that Congress gave FDA

enforcement authority over the FDCA and prohibited private parties from bringing

proceedings to enforce the FDCA. Appx630. And, FDA explained, the complaint

that Amarin filed with the Commission “attempt[s] an unlawful private FDCA

enforcement action.” Appx627. Amarin’s claims “all depend on the allegation that

the products at issue are falsely labeled as ‘dietary supplements’ because they do not

meet the FDCA definition of ‘dietary supplements’ and instead meet the FDCA

definition of ‘new drugs.’ ” Appx631. Accordingly, FDA concluded, “in order to

resolve any of [Amarin’s] claims, the Commission will necessarily have to step into the

shoes of the FDA,” but “the FDCA precludes such action.” Appx632.




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      3. The Commission dismissed the complaint. The Commission held that

“Amarin’s complaint does not allege an unfair method of competition or an unfair act

cognizable under” the Tariff Act. Appx1. The Commission explained that “the

Lanham Act allegations in this case are precluded by the Food, Drug and Cosmetic

Act,” and that “the Food and Drug Administration is charged with the administration

of the FDCA.” Id.

                          SUMMARY OF ARGUMENT

      A. The International Trade Commission correctly held that the Federal Food,

Drug, and Cosmetic Act precludes Amarin’s complaint. The FDCA prohibits private

proceedings “for the enforcement, or to restrain violations, of ” that statute. 21 U.S.C.

§ 337(a). The FDCA instead commits enforcement exclusively to the federal

government to ensure that complex enforcement decisions are made with the benefit

of FDA’s scientific and regulatory expertise. As a consequence, private parties, like

Amarin, may not initiate proceedings in a court or administrative agency to remedy

alleged violations of the FDCA. Nor can private parties circumvent that prohibition

by wrapping their FDCA enforcement claims inside some other cause of action. The

FDCA prohibits “all” private proceedings to enforce or restrain violations of the

FDCA, id., including private claims that are nominally brought under another statute

but seek to prove violations of the FDCA and compel obedience to that statute—as

the courts of appeals have consistently concluded.


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      B. Amarin’s arguments to the contrary are without merit. To be sure, private

parties may bring suit to remedy violations of statutes that create private causes of

action, so long as those suits are not attempts to enforce the FDCA. That is why, for

example, false advertising about the content of fruit juice can be remedied in a private

action under the Lanham Act, where the claim does not seek to prove or remedy a

violation of the FDCA’s juice-labeling provisions but instead rests on allegations

entirely independent of the FDCA. See POM Wonderful LLC v. Coca-Cola Co., 134 S.

Ct. 2228 (2014). Nor does the FDCA preempt claims brought under state law that

seek to prove and remedy violations of state statutes parallel to but independent of

the FDCA. See Allergan, Inc. v. Athena Cosmetics, Inc., 738 F.3d 1350 (Fed. Cir. 2013).

But where a private party, like Amarin, seeks to prove and remedy violations of the

FDCA itself, as a necessary element of its stated cause of action, its claims are

precluded by the FDCA’s prohibition on private enforcement proceedings.

                                    ARGUMENT

     THE FEDERAL FOOD, DRUG, AND COSMETIC ACT PRECLUDES PRIVATE
              ENFORCEMENT PROCEEDINGS LIKE AMARIN’S.

A.    Amarin’s Claims Are Private Attempts to Enforce the FDCA, and
      Are Therefore Prohibited.

      1. “The FDCA leaves no doubt that it is the Federal Government rather than

private litigants who are authorized to file suit for noncompliance with” the FDCA.

Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 349 n.4 (2001). Congress gave the

Secretary of Health and Human Services and FDA the authority to execute the
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requirements of the FDCA. See 21 U.S.C. §§ 355, 393. And Congress expressly

provided that “all such proceedings for the enforcement, or to restrain violations, of

[the FDCA] shall be by and in the name of the United States”—not private parties. Id.

§ 337(a) (emphasis added); see H.R. Rep. No. 2139, at 5 (April 14, 1938).

       The only exception to this rule is that “[a] State may bring in its own name and

within its jurisdiction proceedings for the civil enforcement” of specific provisions of

the FDCA related to food. 21 U.S.C. § 337(b). In narrowly drawing that lone

exception, Congress underscored that, otherwise, only the United States may bring

“proceedings for the enforcement, or to restrain violations, of ” the FDCA. Id.

§ 337(a); see Ventas, Inc. v. United States, 381 F.3d 1156, 1161 (Fed. Cir. 2004) (“[T]he

maxim expressio unius est exclusio alterius presumes that [enumerated exceptions] are the

only exceptions Congress intended.”). For that reason, this Court has correctly noted

that, outside this single exception, “[t]he FDA—and the FDA alone—has the power

and the discretion to enforce the FDCA.” Allergan, Inc. v. Athena Cosmetics, Inc., 738

F.3d 1350, 1359 (Fed. Cir. 2013).

       Centralizing FDCA enforcement authority within FDA ensures that FDA’s

expertise will inform often-difficult factual and legal determinations, such as which

requirements apply to particular articles and whether an article is being distributed in

violation of the FDCA. See Appellee Br. 27-37 (illustrating the technical issues that

would arise in adjudicating Amarin’s claims). It also ensures that discretionary

determinations—like whether enforcement measures should be pursued for a
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violation, and if so, which remedies are appropriate—will be made by policymakers,

not private parties. And it promotes uniformity. Private parties, of course, must

reach their own determinations about what the FDCA requires in the first instance,

and courts may need to determine if the FDCA has been violated when the federal

government brings FDCA enforcement proceedings. But Congress deliberately chose

to centralize within FDA the crucial decision whether to seek to prove and redress

alleged violations of the FDCA. Doing so maximizes the benefits of centralized

enforcement. Cf. Heckler v. Chaney, 470 U.S. 821, 832 (1985) (discussing those

benefits).

      2. The FDCA’s prohibition on private “proceedings for the enforcement, or to

restrain violations, of ” the Act, 21 U.S.C. § 337(a), means that private parties may not

bring suit under the FDCA itself to remedy what they allege to be violations of the

Act. It also means that private parties may not circumvent this straightforward

prohibition by invoking some other cause of action, under another federal statute, in

order to bring what is, at bottom, still an action “for the enforcement” or “to restrain

violations” of the FDCA. See Buckman, 531 U.S. at 353 (preempting state fraud claims

that “exist solely by virtue of the FDCA”).

      A proceeding “for the enforcement” of the FDCA is one that seeks “[t]o give

force or effect” and “compel obedience to” the FDCA. Black’s Law Dictionary (10th

ed. 2014) (defining “to enforce”). Similarly, a proceeding to “restrain violations” of

the FDCA seeks to prove and redress such violations. In order to give meaningful
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effect to Congress’s mandate that “all ” such proceedings to enforce or restrain

violations of the FDCA “shall be by and in the name of the United States,” 21 U.S.C.

§ 337(a) (emphasis added), the FDCA precludes those private proceedings that rely on

alleged violations of the FDCA as a necessary component of their cause of action and

that seek to redress or restrain those FDCA violations. That is particularly clear

where the private proceeding seeks remedies like those available under the FDCA,

such as injunctive relief, id. § 332, or refusal of admission of articles into the United

States, id. § 381(a).

       That conclusion is reinforced by traditional principles of statutory construction.

Where “Congress has enacted a comprehensive scheme and has deliberately targeted

specific problems with specific solutions,” and where one such specific solution

contradicts a more-general statute, the “specific provision is construed as an exception

to the general one” in order to “eliminate the contradiction.” RadLAX Gateway Hotel,

LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012). Here, the FDCA is a highly

reticulated regime of requirements for very specific articles—including drugs and

dietary supplements—and, as part of that comprehensive scheme to solve particular

problems, the FDCA prohibits private proceedings to enforce or restrain violations of

the FDCA. By contrast, the Tariff Act states general requirements—no “unfair acts”

in the “importation of articles”—that are applicable to a far larger universe of articles,

and it creates a private cause of action to enforce those general requirements. The

FDCA’s careful prohibition on private enforcement proceedings cannot be fully
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implemented if a private party may use the Tariff Act to enforce or restrain violations

of the FDCA. Accordingly, the more-specific provisions of the FDCA control.

      That conclusion is reinforced by the timeline. When Congress enacted the

Tariff Act in 1930, it allowed private parties to file complaints with the Commission

alleging “unfair acts” in the importation of articles and seeking to exclude those

articles from the United States. See 46 Stat. 590, 703. The question whether private

parties could use that mechanism to exclude articles alleged to violate the FDCA first

arose in 1938, when the FDCA was enacted. And, at that first available opportunity,

Congress made clear that its new and specific regulatory regime could not be enforced

through private enforcement proceedings of any stripe. See 52 Stat. 1040, 1046

(prohibiting “all” private enforcement). Congress thus did not extend the Tariff Act

to cover violations of the FDCA; it preferred instead to leave FDCA enforcement to

the comprehensive framework it created in that more-specific statute.

        The Supreme Court and this Court applied similar reasoning when limiting

the scope of the Lanham Act in order to give full force to the Copyright and Patent

Acts. These courts held that claims alleging false statements about the authorship of a

written work, or origin of an innovation, are not cognizable under the false-

advertising provision of the Lanham Act because, among other reasons, entertaining

such claims under the Lanham Act would avoid the more-specific regulation of those

subjects under the Copyright and Patent Acts. See Dastar Corp. v. Twentieth Century Fox

Film Corp., 539 U.S. 23, 33-35 (2003); Baden Sports, Inc. v. Molten USA, Inc., 556 F.3d
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1300, 1307 (Fed. Cir. 2009); see also TianRui Grp. Co. v. Int’l Trade Comm’n, 661 F.3d

1322, 1333 (Fed. Cir. 2011) (The Tariff Act “cannot be used to circumvent express

congressional limitations on the scope of substantive U.S. patent law.”).

       Similarly, this Court held in Mylan Pharmaceuticals, Inc. v. Thompson, 268 F.3d

1323, 1332-33 (Fed. Cir. 2001), superseded by statute on other grounds as recognized in Caraco

Pharm. Labs., Ltd. v. Novo Nordisk A/S, 566 U.S. 399, 408 (2012), that a claim

nominally seeking declaratory judgment regarding non-liability for patent infringement

was actually an improper attempt to privately enforce the FDCA. The plaintiff argued

that it should be declared to not be liable for infringement because the defendant had

violated a provision of the FDCA. Id. Because no cause of action existed to

challenge that type of FDCA violation, this Court held that the prohibition on private

FDCA enforcement proceedings precluded entertaining the plaintiff ’s suit under the

Declaratory Judgment and Patent Acts. Id.

       For these reasons, permitting private parties to enforce and restrain violations

of the FDCA using the Tariff Act would permit what Congress prohibited. The

specific provisions of the FDCA govern, and they preclude extending the provisions

of the earlier and more-general Tariff Act to enforce the FDCA.

       3. Both of the claims that Amarin submitted to the International Trade

Commission constitute private efforts to enforce or restrain violations of the FDCA,

and both are therefore precluded.


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       a. One of Amarin’s claims contends that the Commission should exclude

articles from entry into the United States because those articles allegedly violate

several provisions of the FDCA. Amarin claims that the importation of the accused

articles is an “unfair act,” within the meaning of the Tariff Act, “based upon the standards

set forth in the FDCA.” Appx56 (emphasis added). Amarin elaborates that the accused

articles are allegedly “misbranded drugs in violation of the standards set forth in

Section 502 of the FDCA, [21 U.S.C.] § 352, and adulterated drugs, in violation of

Section 501 of the FDCA, id. § 351.” Appx57; see also Appx57-59 (alleging other

violations). Amarin further contends that the introduction of these allegedly

adulterated and misbranded drugs “is prohibited by Section 301(d) and (a) of the

FDCA[,] [21 U.S.C.] § 331(a), (d).” Appx59. Amarin also explains that “the FDCA

prohibits unapproved ‘new drugs,’ and adulterated and misbranded ‘drugs,’ from

entering the United States under Section 801(a) of the FDCA, 21 U.S.C. § 381(a),”

and argues that, under that provision of the FDCA, FDA “must refuse * * *

admission to the United States” of unapproved, adulterated, and misbranded

drugs. Id.

       In sum, Amarin seeks to prove a series of alleged FDCA violations and to

remedy those violations by excluding unapproved, adulterated, and misbranded drugs

from importation into the United States. In advancing this claim, Amarin provides no

reason, other than the alleged violations of the FDCA, to conclude that the

importation of the accused articles constitutes an “unfair act” within the meaning of
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the Tariff Act. Instead, Amarin candidly admits that this claim seeks relief “based

upon the standards set forth in the FDCA.” Appx56. For these reasons, Amarin’s

claim is a private proceeding “for the enforcement, or to restrain violations, of ” the

FDCA, 21 U.S.C. § 337(a), and Amarin is therefore prohibited from pursuing that

claim.

         b. Amarin’s false-advertising claim is no different. In that claim, Amarin

contends that the accused articles should be excluded from entry into the United

States because labeling on, or advertisements about, those articles is allegedly false or

misleading, in violation of the false-advertising provision of the Lanham Act, such

that importation of those articles would constitute an “unfair act” under the Tariff

Act. Appx31-56. But this claim, too, is expressly predicated on proving, and seeks

remedies for, alleged violations of the FDCA.

         Amarin contends that labeling on the accused articles “falsely asserts that the

products are ‘dietary supplements,’ ” where the articles “cannot meet the definition of

‘dietary supplement’ in Section 201(ff ) of the FDCA, 21 U.S.C. § 321(ff ).” Appx33.

Amarin’s complaint devotes over twelve pages to identifying provisions of the FDCA

that govern what is and is not a “dietary supplement,” alleging facts about the articles,

and explaining why, in Amarin’s view, the articles do not meet the FDCA’s definition

of “dietary supplement.” Appx34-47. Amarin further alleges that the articles “are

actually unapproved ‘new drugs’ under the FDCA,” within the meaning of “Section


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201(g)(1) of the FDCA,” 21 U.S.C. § 321(g)(1). Appx47. The complaint devotes

another eight pages to identifying the provisions of the FDCA that govern what

constitutes a “drug” and a “new drug,” alleging facts about the articles, and explaining

why, in Amarin’s view, the articles qualify as unapproved “new drugs” under the

FDCA. Appx47-55. Amarin also identifies warning letters and other statements by

FDA regarding what Amarin alleges are similar articles presenting similar violations of

the FDCA. Appx37-38, Appx50-51.

       Amarin relies on these alleged FDCA violations to establish the central element

of Amarin’s false-advertising claim. Appx55-56. The Lanham Act makes it unlawful

to use in commercial advertising any “term” that “misrepresents the nature,

characteristics, [or] qualities” of goods. 15 U.S.C. § 1125(a)(1)(B). Amarin’s only

argument for why the accused articles’ labeling is false or misleading is that it is

“literally false” to call the articles “dietary supplements” when they allegedly do not

meet the FDCA’s definition of that term and instead are unapproved “new drugs.”

Appx55. Amarin provides no reason, other than these alleged FDCA violations, to

conclude that the labeling or advertising makes a false or misleading statement.

Amarin also relies on these alleged FDCA violations for another element of its false-

advertising claim—materiality—alleging that “[i]f consumers knew that the products

were illegally marketed unapproved ‘new drugs’ and that, as such, it was unclear

whether the products were safe and effective, it would influence the consumers’

purchasing decisions.” Id. Amarin’s false-advertising claim, like Amarin’s other claim,
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is thus expressly predicated on alleging, proving, and restraining a series of FDCA

violations.

       It makes no difference that Amarin’s claims require proof of additional matters

beyond the alleged violations of the FDCA. To prevail on either of its two claims, for

example, Amarin will need to prove that importation of the articles that violate the

FDCA will harm Amarin’s business. See Clock Spring, LP v. Wrapmaster, Inc., 560 F.3d

1317, 1329 n.10 (Fed. Cir. 2009) (a false-advertising plaintiff must show that it “has

been or is likely to be injured as a result of the [false] statement”); 19 U.S.C.

§ 1337(a)(1)(A)(i) (a Tariff Act complainant must show a “threat or effect” of

“destroy[ing] or substantially injur[ing] an industry in the United States”). But the

existence of these additional elements in Amarin’s claims does not change the fact

that Amarin’s claim to relief ultimately requires that it prove what are alleged to be

violations of the FDCA; nor does it change the fact that Amarin seeks to redress and

restrain those FDCA violations. Indeed, Amarin seeks remedies like those that are

available to the government—and only to the government—in an FDCA

enforcement proceeding. Accordingly, Amarin’s claims are private actions “for the

enforcement, or to restrain violations, of ” the FDCA, and they are prohibited for that

reason. 21 U.S.C. § 337(a).

       4. That conclusion is consistent with the consensus of the courts of appeals

that have addressed this issue. For example, in PhotoMedex, Inc. v. Irwin, 601 F.3d 919

(9th Cir. 2010), a medical-device manufacturer brought a false-advertising claim under
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the Lanham Act against a competitor who allegedly advertised its device as “FDA

approved” when, the plaintiff contended, the competitor’s device was different

enough from a previously-approved device that the competitor was required by the

FDCA to make a further filing with FDA, but had not done so. Id. at 923-28. The

Ninth Circuit held that “[b]ecause the FDCA forbids private rights of action under

that statute, a private action brought under the Lanham Act may not be pursued

when, as here, the claim would require litigation of the alleged underlying FDCA

violation in a circumstance where the FDA has not itself concluded that there was

such a violation.” Id. at 924. The court explained that to permit adjudication of the

false-advertising claim “would, in effect, permit [the plaintiff] to assume enforcement

power which the [FDCA] does not allow and require the finder of fact to make a

decision that the FDA itself did not make.” Id. at 930.

      The Third Circuit reached the same conclusion in Sandoz Pharmaceuticals Corp. v.

Richardson-Vicks, Inc., 902 F.2d 222 (3d Cir. 1990), where a drug manufacturer brought

a false-advertising claim under the Lanham Act against a competitor, alleging that the

labeling on the competitor’s drug lists an ingredient as “inactive” when the FDCA

allegedly required that the ingredient be labeled as “active.” Id. at 230. The court

noted that the plaintiff had provided no reason to think that the labeling was false or

misleading other than the contention that the labeling violated the FDCA, and the

court noted that FDA had not concluded whether the ingredient at issue was active or

inactive or taken enforcement action accordingly. Id. at 230-31. The court held that
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adjudication of the claim would improperly “usurp” FDA’s exclusive authority,

emphasizing that the FDCA does not “create[] an express or implied private right of

action,” and concluding that what the FDCA “do[es] not create directly, the Lanham

Act does not create indirectly, at least not in cases requiring original interpretation” of

the FDCA. Id. at 231.

       Similarly, in Mylan Laboratories, Inc. v. Matkari, 7 F.3d 1130, 1139 (4th Cir. 1993),

a drug manufacturer brought a false-advertising claim under the Lanham Act against

competitors who implicitly represented that their generic drugs were “properly

approved by the FDA” by placing those drugs on the market in alleged violation of

the FDCA. The Fourth Circuit recognized that a false-advertising claim might

proceed if the plaintiff could identify representations in the drug’s packaging or

labeling that misled consumers in a way independent of the FDCA. Id. But the

Fourth Circuit held that “permitting [the plaintiff] to proceed on the theory that the

defendants violated [the Lanham Act] merely by placing their drugs on the market

would, in effect, permit [the plaintiff] to use the Lanham Act as a vehicle by which to

enforce” the FDCA, which, the court noted, the plaintiff “is not empowered” to do.

Id. This Court quoted this passage with approval in another case, also called Mylan,

268 F.3d at 1332, to support this Court’s holding that a claim brought as a declaratory

judgment action was actually an improper attempt to enforce the FDCA through a

private enforcement proceeding.


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       Finally, the Second Circuit held in PDK Labs, Inc. v. Friedlander, 103 F.3d 1105,

1113 (2d Cir. 1997), that an inventor developing a weight-loss product had no

standing to bring a false-advertising claim against a competitor under the Lanham Act.

In support of that holding, the court concluded that the plaintiff ’s “dogged insistence

that [the defendant’s] products are sold without proper FDA approval suggests” that

the plaintiff ’s “true goal is to privately enforce alleged violations of the FDCA,” but

“no such private right of action exists.” Id. 1

       The courts of appeals have applied the same principle consistently in contexts

involving other statutory schemes that also prohibit private enforcement actions. For

example, in IQ Products Co. v. Pennzoil Products Co., 305 F.3d 368, 374 (5th Cir. 2002),

the Fifth Circuit held that the Federal Hazardous Substances Act’s prohibition on

private enforcement actions precluded adjudication of a false-advertising claim that

was predicated on the allegation that a product’s labeling violated the Act and was

false or misleading for that reason. Similarly, in Dial A Car, Inc. v. Transportation, Inc.,
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         Alpharma, Inc. v. Pennfield Oil Co., 411 F.3d 934 (8th Cir. 2005), is not to the
contrary. There, an antibiotic manufacturer brought a false-advertising claim against a
competitor whose product was approved by FDA for certain uses but who allegedly
falsely advertised additional, unapproved uses. Id. at 935-37. The Eighth Circuit held
that this claim was cognizable, distinguishing the cases above. It was undisputed in
Alpharma that the product was a “drug” and that FDA approval was required for each
intended use. The court explained that there was thus no need to make a “preemptive
determination” about how FDA would categorize the article at issue. Id. at 940. The
claim rested on whether FDA had approved the competitor’s drug for additional uses
—a factual issue that FDA had partially addressed. Id. at 939. By contrast, Amarin’s
claims rest on disputed allegations about the proper FDCA classification of certain
articles, a determination at the heart of FDCA enforcement that FDA has not made.

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82 F.3d 484, 489-90 (D.C. Cir. 1996), the D.C. Circuit held that a false-advertising

claim was not a proper vehicle by which a taxi company could sue a competitor for

advertising itself to be lawfully permitted to operate in the District of Columbia. The

Lanham Act could not be used “to interpret and enforce municipal regulations”

(emphasis in original), at least where the Taxicab Commission had not clearly

addressed the issue already. Id. at 490; see also Cottrell, Ltd. v. Biotrol Int’l, Inc., 191 F.3d

1248, 1255 (10th Cir. 1999) (holding that plaintiff could not bring a claim seeking

enforcement of the Federal Insecticide, Fungicide, and Rodenticide Act “dressed up

as a Lanham Act claim”).

B.     Amarin’s Arguments Are Without Merit.

       1. Amarin chiefly contends that the Supreme Court’s decision in POM

Wonderful LLC v. Coca-Cola Co., 134 S. Ct. 2228 (2014), has already settled the question

presented in this case. Br. 2, 4, 18, 44-54. But Amarin’s reliance on POM Wonderful is

fundamentally misplaced.

       In POM Wonderful, a juice manufacturer brought a false-advertising claim under

the Lanham Act against the manufacturer of a competing juice product. 134 S. Ct. at

2233. The plaintiff alleged that the competitor’s labeling misled consumers by

prominently featuring the words “pomegranate” and “blueberry” in large type on the

product’s label, even though the juice contained only small amounts of each, id. at

2233, 2235—allegations entirely independent of the FDCA. Indeed, the plaintiff in

POM Wonderful did not cite the FDCA, allege that the competitor’s labeling violated
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the FDCA, or allege that any such violation was the reason that the labeling was false

or misleading. See First Am. Compl., POM Wonderful LLC v. The Coca Cola Co., No.

08-cv-6237 (C.D. Cal., filed July 27, 2009) (Dkt. No. 53).

       The district court and court of appeals in POM Wonderful held that the FDCA

nonetheless precluded the plaintiff ’s false-advertising claim because regulations under

the FDCA, which contain detailed provisions governing juice labeling, occupied the

field, permitting some features of the defendant’s label and prohibiting none of the

features alleged to be misleading. 134 S. Ct. at 2236. But the Supreme Court

reversed, holding that there was no conflict in fully enforcing both the FDCA and the

Lanham Act in that case, where the plaintiff ’s claims were predicated on statements

made on labeling regulated by the FDCA, but were not predicated on proving and

remedying violations of the FDCA.

       POM Wonderful thus stands for the proposition that the FDCA does not occupy

the field of food labeling. False-advertising claims are not precluded by the FDCA

simply because the FDCA independently regulates food labeling. As the Court

characterized its holding in POM Wonderful, “Congress did not intend the FDCA to

preclude Lanham Act suits like POM’s.” 134 S. Ct. at 2241 (emphasis added). And

POM, as the Court emphasized, sought “to enforce the Lanham Act, not the FDCA

or its regulations.” Id. at 2239.




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      POM Wonderful therefore did not decide the question presented here: whether

the FDCA’s prohibition on private proceedings to enforce or restrain violations of the

FDCA precludes a private party’s claims that seek to prove and stop violations of the

FDCA by invoking a private cause of action under another statute. Amarin alleges

that the labeling on the accused articles constitutes an “unfair act” under the Tariff

Act, and “false” advertising under the Lanham Act, solely because the articles allegedly

violate the FDCA’s requirements. Amarin’s claims thus come into direct conflict with

the government’s exclusive enforcement authority under the FDCA. And POM

Wonderful expressly left open the question whether the FDCA precludes private causes

of action brought under other statutes where those statutes and the FDCA “cannot be

implemented in full at the same time.” 134 S. Ct. at 2240.

      In the wake of POM Wonderful, courts have recognized this distinction between

false-advertising claims that rest on FDCA violations and those that do not. Courts

have permitted adjudication of false-advertising claims involving allegations not

predicated on proving FDCA violations, like claims that a dietary supplement was

falsely advertised as “safe” and “natural” when it was neither, under the common

meaning of those words. See ThermoLife Int’l, LLC v. Gaspari Nutrition Inc., 648 F.

App’x 609, 612 (9th Cir. 2016) (unpublished). But they have properly continued to

hold that Lanham Act claims predicated on proving and restraining FDCA violations

are precluded, consistent with the consensus among the courts of appeals on that


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issue before POM Wonderful. See, e.g., Hi-Tech Pharm., Inc. v. Hodges Consulting, Inc., 230

F. Supp. 3d 1323, 1331 (N.D. Ga. 2016); Appellee Br. 24-25 (collecting cases).

       2. Taking a different tack, Amarin argues (Br. 54-56) that the Commission’s

conclusion that the FDCA precludes Amarin’s claims “cannot be reconciled” with

this Court’s opinion in Allergan, Inc. v. Athena Cosmetics, Inc., 738 F.3d 1350 (Fed. Cir.

2013). But Allergan is fully consistent with the Commission’s conclusion.

       The plaintiff in Allergan sold an eyelash-growth product and sued a competitor

for alleged violations of California’s Sherman Food, Drug, and Cosmetic Law, see Cal.

Health & Safety Code § 109875 et seq., which parallels the FDCA. The plaintiff

alleged that the competitor was wrongly marketing an eyelash-growth product as a

“cosmetic” when it was actually an unapproved “new drug,” under California law.

Allergan, 738 F.3d at 1353. The plaintiff brought the action under California’s Unfair

Competition Law, which creates a cause of action to remedy violations of state

business laws like the Sherman Law. Cal. Bus. & Prof. Code § 17203.

       This Court held in Allergan that the FDCA did not impliedly preempt the

plaintiff ’s state-law claim. 738 F.3d at 1355. The Court reasoned that California’s

Sherman Law regulated in areas—health and safety—that “implicate an historic state

power that may be vindicated under state law tort principles” absent a “clear and

manifest purpose of Congress” to preempt such state law. Id. Applying this

presumption against preemption, the Court “d[id] not find a clear purpose by

Congress to preempt the state law claim at issue.” Id. And the Court concluded that
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the Sherman Law “is not an obstacle to realizing federal goals” because “it contains

provisions that parallel the FDCA, such that the statutes have consistent goals.” Id. at

1355-56. The Court distinguished Buckman, 531 U.S. 341, which held that the FDCA

preempted a state tort claim predicated on alleged fraud against FDA. The Allergan

Court reasoned that the tort action in Buckman “existed—unlike [the Allergan

plaintiff ’s] claim—‘solely by virtue of the FDCA disclosure requirements.’ ” 738 F.3d

at 1356 (quoting Buckman, 531 U.S. at 352-53). The claim in Allergan existed solely by

virtue of independent state law.

      Allergan does not support Amarin’s argument that private parties may use the

Tariff Act to enforce or restrain violations of the FDCA. The Allergan claim did not

run afoul of the FDCA’s prohibition on private enforcement proceedings because the

claim did not attempt to enforce the FDCA. Rather, the claim sought to enforce

compliance with an independent state statute—the Sherman Law—using a state cause

of action that permits private enforcement of the Sherman Law. To be sure, the

contents of the Sherman Law paralleled the FDCA. But the Sherman Law was not

dependent on the FDCA for its existence. And it was this independent state law, not

the FDCA, that the Allergan plaintiff sought to enforce in a private action for unfair

competition under state law.

      Amarin, by contrast, seeks to prove and remedy violations of the FDCA itself

through the claims brought under the Tariff Act, and the FDCA prohibits such

private enforcement proceedings. Accord U.S. Amicus Br., Athena Cosmetics, Inc. v.
                                        25
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Allergan, Inc., No. 13-1379, 2015 WL 2457643, at *18 (U.S. May 26, 2015)

(distinguishing Allergan from cases, like PDK Labs, that are “essentially efforts to

enforce the FDCA itself, rather than parallel state law”); U.S. Amicus Br., Albertson’s,

Inc. v. Kanter, No. 07-1327, 2008 WL 5151069, at *8 (U.S. Dec. 5, 2008) (“Although 21

U.S.C. 337 precludes private actions to enforce the FDCA itself, Section 337 does not

prohibit private actions to enforce parallel state requirements.”).

      That distinction—between suits to enforce the independent Sherman Law and

impermissible suits to enforce the FDCA—is bolstered by the federalism interests at

issue in Allergan, which are absent here. This Court noted in Allergan that California’s

Sherman Law was enacted pursuant to the state’s “historic police powers,” and the

Court therefore applied a presumption against preemption, which, it held, the FDCA

did not overcome. 738 F.3d at 1355; accord U.S. Amicus Br., Athena, 2015 WL

2457643, at *11-17 (relying on the presumption against preemption). In so holding,

this Court left for state law the interpretation and enforcement of state law within

California. And it did so secure in the knowledge that private actions under state law

to enforce state law would have no necessary consequence for the proper

interpretation and enforcement of the FDCA itself.

      Not so, here. Amarin’s claims seek to enforce and restrain violations of the

FDCA—a federal statute. Adjudication of those claims would directly enforce the

FDCA, with nationwide effect. Worse, nothing in Amarin’s theory would seem to

prevent other private commercial competitors from bringing claims under the
                                           26
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Lanham Act in federal courts across the country seeking to prove and remedy alleged

FDCA violations, with potentially precedential effect. That would effectively

circumvent FDA’s exclusive control over how products are regulated under the

FDCA and which products warrant enforcement proceedings. And it would

significantly diminish the benefits that Congress secured in centralizing “all” decisions

to bring FDCA enforcement proceedings. 21 U.S.C. § 337(a). As discussed above,

Amarin’s claims are precluded by the FDCA under the normal tools of statutory

construction. And, unlike in Allergan, there is no extra thumb on the scale in

analyzing that question—no presumption against preemption to protect independent

state law—because there are no federalism interests are at stake. See 738 F.3d at 1356

(applying the presumption against preemption and distinguishing preclusion cases like

PhotoMedex).

      3. Finally, Amarin appears to argue (Br. 5, 18, 51, 63) that two provisions of

the Tariff Act override the FDCA’s express prohibition on private enforcement

proceedings. Amarin notes that the Commission’s remedies are “in addition to any

other provision of law,” 19 U.S.C. § 1337(a)(1), and that the Tariff Act generally

requires that other parts of the Executive Branch “shall cooperate fully” with the

Commission “for the purposes of aiding and assisting its work,” id. § 1334.

      Neither provision qualifies the FDCA’s flat prohibition on “all” private

proceedings “for the enforcement, or to restrain violations, of ” the FDCA. 21 U.S.C.

§ 337(a). The “in addition” provision does not address when a complainant’s claim is
                                         27
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cognizable (the question here); it conditionally indicates that “when” the Commission

finds an “unfair act” in a claim properly before it, the Tariff Act’s remedies shall be

“in addition” to any others. 19 U.S.C. § 1337(a)(1). Moreover, the “in addition”

provision preserves other remedies—an issue unrelated to whether the later-enacted

FDCA displaces an application of the Tariff Act that is incompatible with the FDCA’s

specific prohibition on private enforcement proceedings. The “shall cooperate”

provision speaks to how agencies assist the Commission where the Commission has

jurisdiction. It does not blithely require all other federal agencies to make regulatory

enforcement determinations that are exclusively reserved to those agencies in their

organic acts, much less override the clear language of 21 U.S.C. § 337(a).




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                                 CONCLUSION

      For the foregoing reasons, this Court should hold that the FDCA precludes

Amarin’s claims.

                                               Respectfully submitted,

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March 2018




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                        CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the requirements of Federal Rules

of Appellate Procedure 29 and 32(a). This brief was prepared using Microsoft Word

2013 in Garamond 14-point font, a proportionally spaced typeface. This brief

contains 6,995 words.



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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 27, 2018, I electronically filed the foregoing

corrected brief with the Clerk of the Court for the United States Court of Appeals for

the Federal Circuit by using the appellate CM/ECF system. Participants in the case

are registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.




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                             TAB 2
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      KeyCite Yellow Flag - Negative Treatment
                                                                                 MEMORANDUM OPINION AND ORDER
Distinguished by In re McNeil Consumer Healthcare, Marketing and Sales
Practices Litigation, E.D.Pa., July 15, 2011
                                                                         RUFE, District Judge.
                    2010 WL 891150
     Only the Westlaw citation is currently available.                    *1 Plaintiff American Federation of State, County and
              United States District Court,                              Municipal Employees, District Council 47 Health and
                  E.D. Pennsylvania.                                     Welfare Funds, and Philadelphia Firefighters Union Local
                                                                         No. 22 Health and Welfare Fund bring this action against
     AMERICAN FEDERATION OF STATE COUNTY
                                                                         Defendants Ortho–McNeil–Jannsen Pharmaceuticals, Inc.
     AND MUNICIPAL EMPLOYEES, District Council                           (“OMJ”), Sandoz, Inc., and ALZA Corporation (“ALZA”),
       47 Health Andwelfare Fund, et al., Plaintiffs,                    alleging violation of the Pennsylvania Unfair Trade Practices
                           v.                                            and Consumer Protection Law (“UTPCPL”), breach of
             ORTHO–McNEIL–JANSSEN                                        express and implied warranties, and unjust enrichment.
      PHARMACEUTICALS, INC., et al., Defendants.                         Before the Court is Defendants' Motion to Dismiss Plaintiffs'
                                                                         Complaint. 1 For the reasons set forth below, the Motion will
                 Civil Action No. 08–cv–5904.
                                                                         be granted in part and denied in part.
                               |
                        March 11, 2010.
                                                                         I. FACTUAL AND PROCEDURAL BACKGROUND
                                                                         Defendants OMJ and Sandoz, Inc. market and distribute the
 West KeySummary
                                                                         fentanyl transdermal system patch (“fentanyl patch”), which
                                                                         is a Schedule II narcotic, available only through a doctor's
 1       Sales        Parties entitled to notice                         prescription, designed to deliver a steady, controlled dosage
         Buyer of pain medication patch failed to                        of a powerful medication that provides relief for severe and
         notify seller of the alleged breach of warranty,                chronic pain . 2 ALZA, an affiliate of OMJ, contracted with
         as required to support buyer's claim for                        OMJ and Sandoz to manufacture and supply fentanyl patches
         breach of implied and express warranty under                    throughout the United States . 3 OMJ distributes the patches
         the Pennsylvania Uniform Commercial Code                        under the brand name Duragesic and Sandoz distributes the
         (UCC). Although seller may have had notice that
                                                                         patches under a generic equivalent. 4 The fentanyl patches are
         its product was defective since it issued a recall
                                                                         available in a variety of dosage delivery rates (e.g., 12.5, 25,
         notice, the buyer did not notify the seller that the
         transaction was claimed to involve a breach of                  50, 75 and 100 micrograms per hour (“mcg/hour”)). 5
         warranty. 13 Pa.C.S.A. § 2607(c)(1).
                                                                         On February 12, 2008, OMJ announced a recall of all 25 mcg/
         17 Cases that cite this headnote                                hour Duragesic patches (and its generic equivalent) stamped
                                                                         with expiration dates on or before December 2009. 6 The
                                                                         official press release stated, in pertinent part, that:

Attorneys and Law Firms
                                                                           [The 25mcg/hr fentanyl transdermal system patches] being
William D. Marvin, Cohen Placitella & Roth, Philadelphia,                  recalled may have a cut along one side of the drug
PA, for Plaintiffs.                                                        reservoir within the patch. The result is possible release of
                                                                           fentanyl gel from the gel reservoir into the pouch in which
Kathryn E. Deal, David J. Antczak, Edward M. Posner,                       the patch is packaged, exposing patients or caregivers
Drinker Biddle & Reath LLP, Philadelphia, PA, for                          directly to fentanyl gel. Fentanyl patches that are cut or
Defendants.                                                                damaged in any way should not be used. Exposure to
                                                                           fentanyl gel may lead to serious adverse events, including
                                                                           respiratory depression and possible overdose, which may


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  be fatal....Anyone who has 25 mcg/hr ... fentanyl patches        violated a legally protected interest that is concrete and
  should check the box or foil pouch for the expiration date ...   particularized, and actual or imminent—not merely an injury
  The recalled patches all have expiration dates on or before      that is “conjectural” or “hypothetical,” (2) the injury is fairly
  December 2009. The cut edge in affected patches can be           traceable to the challenged conduct, and (3) the injury is
  seen upon opening the sealed foil pouch that holds the           redressable by a remedy that federal courts are permitted to
  patch. Affected patches should not be handled directly. 7        give. 17 If the complaint fails to satisfy these requirements,
Plaintiffs are health and welfare trust funds that provide         “a federal court does not have subject matter jurisdiction ...
medical coverage, including prescription drug coverage, to         [and] the claim[s] must be dismissed.” 18
                                                   8
their members and their members' dependents. Plaintiffs
and other similarly situated third-party payors have paid          Federal Rule of Civil Procedure 12(b)(6) allows a party
for supplies of 25 mcg/hour fentanyl patches, which were           to move for dismissal for failure to state a claim upon
later recalled by Defendants, on behalf of their qualified         which relief can be granted. 19 Under 12(b)(6), the moving
members. 9 As a result of the recall, Plaintiffs allege that       party “bears the burden of showing no claim has been
they, and similarly situated third-party payors, paid or will      stated.” 20 The court must “accept as true all allegations
pay expenses related to the purchase and reimbursement of 25       in the complaint and all reasonable inferences that can be
mcg/hour fentanyl patches that had to be discarded. 10             drawn therefrom, and view them in a light most favorable
                                                                   to the non-moving party.” 21 The United States Supreme
 *2 On December 19, 2008, Plaintiffs filed the underlying          Court clarified this standard in Bell Atlantic Corporation v.
class-action Complaint, alleging the following: COUNT I:           Twombly, explaining that “a plaintiff's obligation to provide
Violations of Pennsylvania's Unfair Trade Practices and            the grounds of his entitlement to relief requires more than
Consumer Protection Law (“UTPCPL”); COUNT II: Breach               labels and conclusions, and a formulaic recitation of the
of an Express Warranty under the Pennsylvania Uniform
                                                                   elements of a cause of action will not do.” 22 Instead, a
Commercial Code (“UCC”); COUNT III: Breach of an
                                                                   plaintiff must allege facts that “raise a right to relief above the
Implied Warranty; and COUNT IV: Rescission / Unjust
                                                                   speculative level ... on the assumption that all the allegations
Enrichment. On March 25, 2009, Defendants filed the instant
Motion to Dismiss, asserting several grounds for dismissal of      in the complaint are true (even if doubtful in fact).” 23
Plaintiffs' Complaint under Federal Rules of Civil Procedure
12(b)(1) and 12(b)(6). The Court has carefully reviewed
                                                                   III. DISCUSSION
Defendants' Motion, Plaintiffs' Response, 11 Defendants'
Reply, 12 and all accompanying materials, and this matter is          A. FRCP 12(b)(1)
now ready for disposition.                                          *3 Relying upon FRCP12(b)(1), Defendants assert that
                                                                   the Court lacks subject matter jurisdiction because Plaintiffs
                                                                   allegedly (1) failed to plead an injury-in-fact sufficient to
II. LEGAL STANDARD                                                 satisfy Article III standing; (2) lack standing as a “person”
Federal Rule of Civil Procedure 12(b)(1) allows a party to         under the UTPCPL; and (3) do not fall within the class of
move for dismissal of any claim wherein the district court         buyers or end-users that may recover for a breach of warranty
lacks subject matter jurisdiction. 13 When considering a 12(b)     under the Pennsylvania UCC. The Court will address each
(1) motion, the court “review [s] only whether the allegations     argument separately below.
on the face of the complaint, taken as true, allege sufficient
facts to invoke the jurisdiction of the district court.” 14 When      (i) Injury–In–Fact
subject matter jurisdiction is challenged under 12(b)(1), the      Defendants argue that Plaintiffs' Complaint failed to allege
plaintiff must bear the burden of persuasion. 15                   that any of their members actually purchased defective
                                                                   fentanyl patches. Defendants assert that unless Plaintiffs
In order for a plaintiff to have standing in federal court,        pled that their members received patches that were actually
the case or controversy presented by the plaintiff must be         defective, Plaintiffs' alleged injury is merely conjectural and
justiciable and establish an injury-in-fact. 16 To establish       hypothetical. Defendants further assert that “[p]ayment for a
an injury-in-fact, a plaintiff must allege that: (1) defendant     product that is recalled as a precautionary measure because it



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might have a defect is not the legal equivalent of payment for      or practice declared unlawful by this act ....“ 31 The UTPCPL
                                       24
a product that actually is defective .” In effect, Defendants'      defines “person” as “natural persons, corporations, trusts,
arguments attempt to distinguish between patches that were          partnerships, incorporated or unincorporated associations,
actually defective (e.g., patches that contained a cut on the       and any other legal entities.” 32 In addition, the “purpose”
gel reservoir) and patches that were subject to Defendants'         requirement of § 201–9.2(a) focuses on whether the final
product recall. The Court finds, however, that Defendants'          consumer uses the product for personal, family or household
recall notice made no such distinction. The recall notice           use, not whether the third-party entity personally uses the
warned that “[f]entanyl patches that are cut or damaged
                                                                    product or merely purchases it. 33
in any way should not be used,” and that “[e]xposure to
fentanyl gel may lead to serious adverse events, including
                                                                    *4 Defendants, nonetheless, rely on Balderston v. Medtronic
respiratory depression and possible overdose, which may be
                                                                    Sofamor Danek, Inc. to support their position. 34 In
fatal.” 25 Plaintiffs pled that as a result of this warning and
                                                                    Balderston, the plaintiff-physician filed suit against a
product recall, they “have paid or will pay expenses related
                                                                    manufacturer of surgical screws, which were used on his
to the purchase of and reimbursement for supplies of 25
                                                                    patients during spinal fusion operations, claiming that the
mcg/hour fentanyl patches [previously purchased for their
                                                                    defendant misrepresented the FDA's approval status of the
members, bearing the relevant expiration dates] that were
                                                                    screws. The plaintiff claimed that he had been misled as to
unusable, worthless, and had to be discarded.” 26 These facts,      the FDA's approval status, and was subsequently exposed
if accepted as true, plead an economic loss that is concrete,       to lawsuits. The district court, however, determined that the
particular, and traceable to a defect resulting from Defendants'    plaintiff's patients, not the plaintiff, had actually purchased
manufacturing and distribution process, and would permit a          the screws and therefore concluded that the plaintiff lacked
remedy if Plaintiffs are successful on the merits.                  standing. The district court further concluded that plaintiff
                                                                    could not qualify as a purchaser because any purchase
Additionally, Plaintiffs' claim, as pled, seeks monetary            he would have made was for business purposes, not for
damages for the purchase price of the recalled fentanyl
                                                                    “personal, family, or household” use. 35 On appeal, the Third
patches, an injury that directly impacts Plaintiffs, not
                                                                    Circuit affirmed the district court's findings and noted that
just the consequential damages that their members may
                                                                    plaintiff unequivocally acknowledged that “purchase [of the
incur from exposure to the defective patches. 27 Claims             surgical screw was] by the consumer, the patient ... [and that]
for monetary damages generally satisfy the injury-in-fact           neither plaintiff nor his practice [were] ever billed for the
threshold. 28 Based on the allegations pled in the Complaint,       screw and [did] not pay for it.” 36
the Court finds that Plaintiffs have satisfied the injury-in-fact
requirements necessary to establish Article III standing.           The distinctions between the facts in Balderston and the facts
                                                                    as pled before this Court are clear. Whereas in Balderston,
                                                                    the plaintiff could in no way be considered a purchaser or
  (ii) Standing Under the UTPCPL
                                                                    even consumer of the goods at issue, Plaintiffs here actually
Defendants argue, in the alternative, that Plaintiffs are
                                                                    paid for the fentanyl patches on behalf of their members
not “persons” under the UTPCPL, and therefore do not
have standing to sue, because “[t]hey do not themselves             for their members' personal, family or household use. 37
obtain or consume the fentanyl patches in question” nor             This places Plaintiffs in a far different relationship with
were their purchases made for primarily “personal, family,          Defendants that the distant or tangential relationship between
                                                                    the plaintiff and the defendant in Balderston. The facts here
or household purposes.” 29 Pennsylvania courts, however,
                                                                    compel the conclusion that Plaintiffs allegations, as pled
have long recognized the ability of third-party trusts and
                                                                    in the Complaint, strongly support the position that they
associations to assert UTPCPL claims on behalf of their
                                                                    have standing as purchasers under the UTPCPL. The Court
constituent members based on the statute's broad definition
                                                                    finds that since Plaintiffs purchased the fentanyl patches on
of “person.” 30 Section 201–9.2(a) of the UTPCPL permits a          behalf of their members in their representative capacity, and
private action for the recovery of damages for “[a]ny person        those patches were purchased for the personal, family and
who purchases or leases goods or services primarily for             household use of their members, Plaintiffs have properly
personal, family or household purposes and thereby suffers
                                                                    asserted a claim under the UTPCPL. 38
any ascertainable loss of money ... as a result of ... [any] act


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                                                                   Defendants argue that Plaintiffs' UTPCPL claims should be
                                                                   dismissed for failure to state a claim upon which relief can
   (iii) Buyers Under Pennsylvania's UCC                           be granted because Plaintiffs failed to: (1) identify, with
As a third alternative argument for dismissal under FRCP           particularity, a false or deceptive representation made by
12(b) (1), Defendants assert that because “plaintiffs merely       Defendants that was material to Plaintiffs' coverage decisions
pay or reimburse some or all of the purchase price of              and (2) plead justifiable reliance on Defendants' alleged
the covered prescription medicines that their members buy          representations. In support of their first point, Defendants
and use,” Plaintiffs, as third-party payors, do not qualify        assert that in order for Plaintiffs to plead an unfair or deceptive
as “buyers” under Pennsylvania's UCC. 39 Defendants'               act or practice under the UTPCPL, Plaintiffs must allege
argument, however, essentially takes a section of the UCC          that the “defendants made a representation that their patches
that extends warranty protections to relatives and persons in      would invariably be free from defects.” 42 The UTPCPL,
the same household as the buyer, and incorrectly suggests to       however, defines unfair or deceptive acts or practices to
this section somehow limits buyers to only “natural persons.”      include representations that “goods ... have sponsorship,
                                                                   approval, characteristics, ingredients, uses, benefits, or
Section 2103(a) of the UCC defines “buyer” as a “person            quantities that they do not have,” or representations “that
who buys or contracts to buy goods.” 40 Section 1201(b)            goods ... are of a particular standard, quality, or grade ...,
(27) of the UCC defines “person” as “[a]ny individual;             if they are of another.” 43 Under both definitions, Plaintiffs
corporation; business trust; estate; trust; partnership; limited   allegations in the complaint, if taken as true, sufficiently plead
liability company; association; joint venture; government;         an unfair or deceptive act committed by Defendants. The
governmental subdivision, agency or instrumentality, public        “unfair and deceptive” act alleged in Plaintiffs' Complaint is
corporation or other legal or commercial entity.” 41 Contrary      Defendants' representation that the recalled fentanyl patches
to Defendants' arguments, the definition of “person” under the     would release the drug at a safe dosage rate. However, due to
UCC is not limited to a “natural person;” rather, the UCC uses     the defect and subsequent recall, the fentanyl patches could
a very broad definition, which includes corporations, trusts       actually release the drug at a significantly higher and more
and business trusts. Therefore, the Court finds that Plaintiffs    dangerous dosage rate, which rendered the patches useless to
are in fact considered both “persons” and “buyers” under the       Plaintiffs.
UCC. Accordingly, each of Defendants' arguments offered
to support its motion to dismiss the Complaint for a lack of       As to their second point, Defendants assert that any alleged
subject matter jurisdiction are denied.                            reliance by Plaintiffs that the fentanyl patches would be
                                                                   completely free from cuts or damage is not “justifiable,”
                                                                   especially given that the fentanyl patches packaging included
   B. FRCP 12(b)(6)                                                an insert disclaimer, which warned that broken or cut
 *5 Relying upon FRCP 12(b)(6), Defendants assert that the
                                                                   patches could lead to overdose or death. 44 Plaintiffs argue
Court should dismiss Plaintiffs' Complaint because Plaintiffs
                                                                   in opposition that the Complaint sufficiently pleads “the
failed to state a claim for which relief can be granted by not
                                                                   type of representations that fall into the traditional scope
pleading that: (1) Defendants committed unfair or deceptive
                                                                   of consumer protection statutes—where a product seller
acts or practices under the UTPCPL; (2) Plaintiffs provided
Defendants reasonable notification of the alleged breach           promises one thing but delivers another.” 45 Plaintiffs assert
of warranty as required by Title 13 of the Pennsylvania            in the Complaint that Defendants represented to end-users,
Consolidated Statutes, Section 2607(c)(1); (3) a warranty was      physicians and third-party payors that the fentanyl patches
actually breached; (4) an express warranty extended to them        were designed to safely release the prescription drug at a
as third-party medical benefit payors; and (5) Defendants          rate of 25 mcg/hour. However, because of the manufacturing
actually received a benefit as required for a claim of unjust      defect, the patches potentially released the drug at an
enrichment. The Court will address each argument separately        excessive, possibly fatal, rate. Accordingly, the Court finds
below.                                                             that Plaintiffs sufficiently alleged that Defendants committed
                                                                   unfair or deceptive acts or practices under the UTPCPL and
                                                                   Plaintiffs sufficiently pled justifiable reliance on the alleged
  (i) The UTPCPL                                                   unfair or deceptive acts in their Complaint.




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                                                                    denied the opportunity to negotiate or settle this claim without
   (ii) Breach of Implied and Express Warranty Under                judicial involvement. To “notify” under the UCC requires
   Pennsylvania UCC                                                 the affirmative act of notification, and Section 2607(c) (1)
 *6 Defendants argue that Plaintiffs' breach of express and         explicitly requires the buyer to “notify the seller of breach
implied warranty claims should be dismissed for failure to
                                                                    or be barred from any remedy.” 52 Plaintiffs' “constructive
state a claim upon which relief can be granted because
                                                                    notice” argument does not address whether Plaintiffs ever
Plaintiffs failed to allege in their Complaint that they notified
                                                                    actually and affirmatively notified Defendants of the breach,
Defendants of the breach of warranty. Under § 2607(c)(1) of
                                                                    as required by § 2607(c)(1), prior to initiating this litigation.
the UCC, a buyer must “within a reasonable time after he
discovers or should have discovered any breach notify the
                                                                     *7 Additionally, the Third Circuit recently analyzed §
seller of breach or be barred from any remedy.” 46 Defendants       2607(c) of the UCC in Vanalt Electrical Construction, Inc.
argue that “[t]he purpose of the notice requirement is to           v. Selco Manufacturing Corporation, and concluded that
afford the seller a reasonable time within which to cure the        a “review of Pennsylvania precedent and other authorities
breach or settle the claim.” 47 Plaintiffs argue in opposition      interpreting the UCC indicates that the Pennsylvania
that Defendants cannot complain of a lack of notice for the         Supreme Court would agree that a buyer must prove
breach of warranty, as it was Defendants themselves who first       compliance with Section 2607 before recovering for a
gave notice to the purchasers that the fentanyl patches were        breach of contract or warranty involving nonconforming
defective through the recall notice. According to Plaintiffs,       goods....” 53 Here, the Court must also treat the § 2607(c)
“Defendants were already well aware of the breach and had           reasonable notification requirement as a condition precedent
an opportunity to make good.” 48                                    to recovery, with Plaintiffs bearing the burden to prove
                                                                    that reasonable notification was given. As reasonable
Plaintiffs' argument, however, that notification under §            notification is a material element necessary to sustain
2607(c) is unnecessary because Defendants had actual or             recovery of a UCC breach of warranty claim, Plaintiffs were
constructive knowledge of the breach, is not supported by           required to affirmatively allege that they reasonably notified
the language of the UCC, its statutory purpose, or existing         Defendants. 54 Inasmuch as § 2607(c) bars a buyer's recovery
case law interpreting § 2607. Plaintiffs appear to confuse          absent the buyer providing reasonable notification of the
the term “notice” with “notify”—which the UCC explicitly            breach, it follows that a buyer must also plead, at a minimum,
distinguishes. Under UCC § 1202(a), a person has notice of a        in its Complaint, that it provided reasonable notification in
fact when the person has actual knowledge of it, has received
                                                                    order to state a viable claim for recovery. 55 Plaintiffs were
notification of it, or, from all of the facts and circumstances
                                                                    not required to allege in the Complaint that the notification
known to that person at the time in question, has reason to
                                                                    occurred in any substantial form (such as a letter or a formal
know it exists. 49 On the other hand, § 1202(d) defines notify      demand), as the “reasonableness” of the notice is a factual
to mean “give a notice or notification to another person by         matter left for the jury to resolve. However, Plaintiffs needed
taking such steps as may be reasonably required to inform           to allege, at a minimum, that they notified Defendants in some
the other person in ordinary course, whether or not the other
                                                                    manner “or be barred from any remedy.” 56 The Court finds
                                        50
person actually comes to know of it.”                               that Plaintiffs failed to allege that they provided Defendants
                                                                    with notification as required by § 2607(c)(1) of the UCC. As
The purpose of notification under § 2607(c)(1) is not intended      such, the Court further finds that Plaintiffs' breach of express
to merely make the seller aware of the breach; rather, the          and implied warranty claims should be dismissed under FRCP
notification must “inform [ ] the seller that the transaction       12(b)(6).
is claimed to involve a breach, and thus opens the way
for normal settlement through negotiation.” 51 Thus, the
purpose of notification under § 2607(c) is to allow the                (iii) Unjust Enrichment
seller an opportunity to resolve the dispute regarding an           Defendants also argue that Plaintiffs' unjust enrichment claim
alleged breach before the buyer initiates a lawsuit. Therefore,     should be dismissed for failure to state a claim upon which
even assuming that Defendants were aware that the fentanyl          relief can be granted. To satisfy the pleading requirements
patches were defective, Defendants may not have been aware          of unjust enrichment, the plaintiff must allege the following
of Plaintiffs' intent to file a class action lawsuit, and were      elements in its complaint: (1) a benefit conferred upon one



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party by another, (2) appreciation of the benefit by the            reduced, but for their wrongful and unlawful conduct.” 62
recipient, and (3) acceptance and retention of the benefit          Otherwise stated, Plaintiffs pled that they conferred a
under circumstances that would make it inequitable or unjust        monetary benefit to Defendants, that Defendants appreciated
for the recipient to retain the benefit without payment of          the benefit, and that the Defendants retained the benefit
                                                                    under inequitable circumstances. The Court finds that these
value. 57
                                                                    factual allegations, if taken as true, sufficiently plead a claim
                                                                    of unjust enrichment. Accordingly, Defendants' arguments
Defendants offer two distinct arguments to defeat Plaintiffs'
                                                                    offered to support its motion to dismiss the Complaint for
unjust enrichment claim. First Defendants assert that when
                                                                    failure to state a claim upon which relief can be granted are
an unjust enrichment claim is based upon tortious conduct,
                                                                    denied as to Plaintiffs' unjust enrichment and UTPCPL claims
and the court dismisses the tort claims based upon the same
                                                                    and granted as to Plaintiffs' breach of express and implied
conduct, the court must also dismiss the unjust enrichment
                                                                    warranty claims.
claim as it “is essentially another way of stating a traditional
tort claim.” 58 The Court finds, however, that this argument
is inconsequential and cannot constitute a basis for dismissal      IV. CONCLUSION
in this instance because the Court does not dismiss Plaintiffs'     For the foregoing reasons, Defendants' Motion to Dismiss
UTPCPL claim.                                                       Counts II and III for Plaintiffs' failure to plead reasonable
                                                                    notification as required by 13 Pa. Cons.Stat. § 2607(c) is
Second, Defendants assert that Plaintiffs, as third-party           hereby granted. Defendants' remaining general and specific
payors obligated to reimburse their members' prescription           grounds for dismissal under FRCP 12(b)(1) and 12(b)(6),
drug expenses, did not confer a “benefit” to Defendants in          particularly as to Counts I and IV, are hereby denied.
any way recognized under the law and that “any ‘benefit’
inured to [D]efendants was merely ‘incidental’ to [P]laintiffs'     An appropriate order follows.
                                                              59
performance of their independent contractual obligations.”
To support this argument, Defendants rely on Allegheny
General Hospital v. Phillip Morris, Inc. 60 The facts of                                       ORDER
Allegheny General, however, are distinguishable: Allegheny
General involved a hospital's expenses to treat tobacco-            AND NOW, this 11th day of March 2010, upon consideration
related illnesses caused by the patient's prolonged tobacco         of Defendants' Motion to Dismiss [docket entry No. 14];
use. The hospital and tobacco companies had no preexisting          Plaintiffs' Answer to Defendants' Motion to Dismiss [docket
relationship, and the hospital did not directly pay the             entry Nos. 15 and 16]; and Defendants' Reply [docket
tobacco companies for any products or services. Under               entry No. 19], and for the reasons set forth in the
such circumstances, the Third Circuit found that the benefit        attached Memorandum Opinion, it is hereby ORDERED that
conferred to the tobacco companies was too incidental or            Defendants' Motion is GRANTED IN PART and DENIED
                                                                    IN PART. Defendants' Motion to Dismiss Plaintiffs'
remote to establish a claim of unjust enrichment. 61 Here,
                                                                    COUNTS I and IV is DENIED. Defendants' Motion to
however, as pled in the Complaint, Plaintiffs directly paid
                                                                    Dismiss Plaintiffs' COUNTS II and III is GRANTED.
for or reimbursed the purchase costs of fentanyl patches on
                                                                    Counts II and III are hereby DISMISSED.
behalf their members. The benefit in this case is not remote
or incidental; rather, the benefit (the amount paid by Plaintiffs
                                                                    It is so ORDERED.
to Defendants for defective fentanyl patches) is direct and
measurable.
                                                                    All Citations
 *8 Plaintiffs' Complaint alleges that Defendants “reaped
substantial profits from the sale of defective fentanyl             Not Reported in F.Supp.2d, 2010 WL 891150
patches,” and that “Defendants' profits would have been




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                                                    Footnotes


1      Document No. 14.
2      Compl. [Document No. 1] ¶¶ 6–7, 16.
3      Id. ¶ 8.
4      Id.
5      Id.
6      Id. ¶ 19.
7      Defs.' Mot. to Dismiss, Ex. A; see also Compl. ¶ 20.
8      Compl.¶¶ 1–2.
9      Id. ¶ 21.
10     Id. ¶ 23.
11     Document No. 15.
12     Document No. 19.
13     FED. R. CIV. P. 12(b)(1) (West 2009 Revised).
14
         Licata v. U.S. Postal Serv., 33 F.3d 259, 260 (3d Cir.1994).
15
         Kehr Packages v. Fidelcor, Inc., 926 F.2d 1406, 1409 (3d Cir.1991).
16
       See    Flast v. Cohen, 392 U.S. 83, 95, 88 S.Ct. 1942, 20 L.Ed.2d 947 (1968).
17
       See    Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992).
18
         Taliaferro v. Darby Twp. Zoning Bd., 458 F.3d 181, 188 (3d Cir.2006).
19     FED. R. CIV. P. 12(b)(6) (West 2009 Revised).
20
         Kehr Packages, 926 F.2d at 1409.
21
         Rocks v. City of Philadelphia, 868 F.2d 644, 645 (3d Cir.1989).
22
           550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007) (citations omitted).
23     Id. (citations omitted).
24     Defs.' Mot. at 8.
25     Defs.' Mot., Ex. A; see also Compl. ¶ 20.
26     Compl. ¶¶ 21, 23.
27     Compl. at 13–14; see also Pls.' Answer to Defs.' Mot. to Dismiss at 5.
28
       See     Danvers Motor Co. v. Ford Motor Co., 432 F.3d 286, 293 (3d Cir.2005).
29     Defs.' Mot. at 10–11.
30
       See    Commonwealth v. TAP Pharmaceutical Products, Inc., 885 A.2d 1127,1142–1143 (Pa.Commw.2005)
       (definition of “person” under § 9.2(a) includes third-party medical benefit payors); See also  Valley Forge
       Towers South Condominium v. Ron–Ike Foam Insulators, Inc., 393 Pa.Super. 339, 574 A.2d 641, 644–645
       (Pa.Super.1990) (“associations” were explicitly included within the definition of “person” under § 202–2(2)
       and that even though the breach of warranty claim for defective roofing membranes affected the individual
       unit owners the association represented, the condominium association could assert a claim as a “person”
       under § 9.2(a)).
31
           73 PA. STAT. § 201–9.2(a) (2010 Electronic Update).
32     Id. § 201–2(2).
33
       See    TAP Pharm. Prods., 885 A.2d at 1142–1143; See also            Valley Forge Towers, 574 A.2d at 649.
34
         285 F.3d 238 (3d Cir.2002) (a surgeon filed a UTPCPL claim against the manufacturer of pedicle screws,
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       which were   Thomson
                  used         Reuters.during
                       on his patients  No claim  to original
                                              various         U.S.
                                                       surgical    Government
                                                                procedures. TheWorks.                           7
                                                                                Third Circuit held the surgeon did
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       not qualify as a “person” under the UTPCPL because his patients actually purchased the screws, and even
       if he had directly purchased the screws, the court reasoned that he purchased them primarily for business
       purposes).
35
          Id. at 240.
36
         Id. at 241.
37     See Compl. ¶¶ 26, 35.
38
       See     TAP Pharm. Products, 885 A.2d at 1142–1143 (distinguishing Balderston from the Commonwealth's
       third-party payor programs); See also Valley Forge Towers, 574 A.2d at 649.
39     Defs. Mot. at 14–15.
40     13 PA. CONS.STAT. § 2103(a) (2010 Electronic Update).
41     Id. § 1201(b)(27).
42     Defs.' Mot. at 12.
43
           73 PA. STAT. § 201–2(4)(v), (vii).
44     Defs.' Mot. at 13.
45     Pls.' Answer at 11.
46     13 PA. CONS.STAT. § 2607(c)(1).
47     Defs.' Mot. at 16.
48     Pls.' Answer at 14.
49     13 PA. CONS.STAT. § 1202(a).
50     Id. § 1202(d).
51     Id. § 2607 cmt. 4; see also Beneficial Comm. Corp. v. Brueck, 23 Pa. D. & C.3d 34, 37 (Pa.Ct.Comm.Pl.1982)
       (“Section 2607(c)'s requirement that the buyer notify the seller of the breach within a reasonable time after he
       discovers or should have discovered the breach gives the manufacturer the opportunity to cure the defect,
       settle the claim through negotiation, and gather information that may assist in defending the claim.”).
52     Id. § 2607(c)(1).
53     233 Fed. Appx. 105, 111 (3d Cir.2007) (held in a dispute over the sale of goods, the buyer must prove
       compliance with the notice requirement of Section 2607” and that “reasonable notification is a precondition
       to the buyer's recovery for breach”, with the buyer bearing the burden to prove its requirements).
54
       See Vanalt, 233 Fed. Appx. at 111; See also          Twombly, 550 U.S. at 562 (quoting       Car Carriers v.
       Ford Motor Co., 745 F.2d 1101, 1106 (7th Cir.1984) (a complaint “ ‘must contain either direct or inferential
       allegations respecting all the material elements necessary to sustain recovery under some viable legal theory’
       ”).
55     Section 2607(c)(1) requires the buyer to “within a reasonable time after he discovers or should have
       discovered any breach notify the seller of the breach or be barred from any recovery.” 13 PA. CONS.STAT.
       § 2607(c)(1).
56     See Id.; see also Vanalt, 233 Fed. Appx. at 112.
57
           Allegheny Gen. Hosp. v. Phillip Morris, Inc., 228 F.3d 429, 447 (3d Cir.2000).
58     Defs.' Mot. at 19.
59     Id. at 20.
60
           228 F.3d at 434, 446–448. (held a hospital's claim of unjust enrichment filed against certain tobacco
       companies was based on remote and indirect injuries, consequently the tobacco companies had no legal
       obligation to pay the non-paying patients' medical expenses, and whatever “incidental benefit” the tobacco
       companies received was insufficient to establish a claim of unjust enrichment).
61     Id.
62     Compl. ¶ 49.




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                             TAB 3
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                                                                          by a doctor, as a “small (1.26 inches long), T-shaped, and
                                                                          made of soft, flexible plastic” device that is approved by
     KeyCite Yellow Flag - Negative Treatment                             the FDA as a contraceptive device. [Record No. 13–1, p.
Declined to Extend by Martin v. Bayer Healthcare Pharmaceuticals, Inc.,
                                                                          2] Baird alleges that after placement of the Mirena IUD,
W.D.Ky., August 25, 2015
                                                                          she suffered complications, such as an ectopic pregnancy
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                                                                          “and surgical and other medical treatments.” [Id., ¶ 45] Baird
       United States District Court, E.D. Kentucky,
                                                                          alleges that she has suffered “severe and permanent physical
             Southern Division, at London.
                                                                          injuries, and has endured substantial pain and suffering,” as
                    Tasha BAIRD, Plaintiff,                               well as incurring “significant expenses for medical care and
                      v.                                                  treatment,” and economic loss. [Id., ¶ 46]
              BAYER HEALTHCARE
                                                                          On April 9, 2013, the plaintiff filed the current action against
         PHARMACEUTICALS, INC., Defendant.
                                                                          Bayer, asserting the following claims: (1) negligence; (2)
                Civil Action No. 6:13–077–DCR.                            strict products liability—defective design; (3) strict products
                                |                                         liability—manufacturing defect; (4) strict products liability
                          Oct. 31, 2013.                                  —failure to warn; (5) strict products liability—defect due
                                                                          to non-comformance with representations; (6) strict products
Attorneys and Law Firms                                                   liability—defect due to failure to adequately test; (7) breach
                                                                          of express warranty; (8) breach of implied warranties; (9)
Amy Collignon Gunn, Todd S. Hageman, The Simon Law                        fraudulent misrepresentation; (10) fraudulent concealment;
Firm, PC, St. Louis, MO, Jennifer L. Lawrence, Thomas C.                  (11) negligent misrepresentation; (12) fraud and deceit; and
Korbee, The Lawrence Firm, Covington, KY, for Plaintiff.                  (13) punitive damages. [Id., pp. 10–33] Bayer contends that
Brian P. O'Donoghue, Goldberg, Kohn, Bell, Black                          the plaintiff's sixth, seventh, eighth, eleventh, and thirteenth 1
Rosenbloom & Moritz, Chicago, IL, Darryl Scott Lavery,                    claims should be dismissed. The motion will be granted
Boehl, Stopher & Graves, Louisville, KY, for Defendant.                   because Bayer has shown that some of the plaintiff's claims
                                                                          lack merit and should be dismissed under Rule 12(b)(6) and
                                                                          federal pleading standards.
        MEMORANDUM OPINION AND ORDER

DANNY C. REEVES, District Judge.                                                                         II.
 *1 This matter is pending for consideration of Defendant                 When evaluating a motion to dismiss under Rule 12(b)(6),
Bayer Healthcare Pharmaceuticals, Inc.'s (“Bayer”) motion                 the Court must determine whether the complaint alleges
to dismiss certain claims. [Record No. 13] Bayer argues that              “sufficient factual matter, accepted as true, to ‘state a claim
some of Plaintiff Tasha Baird's claims should be dismissed
because they are deficient under Kentucky law. The Plaintiff              to relief that is plausible on its face.’ “          Ashcroft v.
has not responded to the motion within the time provided by               Iqbal, 556 U.S. 662, 678 (2009) (quoting       Bell Atl. Corp.
the local rules. See LR 7.1(c). For the reasons set forth below,          v. Twombly, 550 U.S. 544, 555 (2007)). The plausibility
Bayer's motion will be granted.                                           standard is met “when the plaintiff pleads factual content that
                                                                          allows the court to draw the reasonable inference that the
                                                                          defendant is liable for the misconduct alleged.” Id. (citing
                                  I.                                         Twombly, 550 U.S. at 556). Although the complaint need
                                                                          not contain “detailed factual allegations” to survive a motion
Plaintiff Tasha Baird, a twenty-two year old female, had a
                                                                          to dismiss, “a plaintiff's obligation to provide the grounds
Mirena Intrauterine Device (“Mirena IUD”) placed by her
                                                                          of his entitlement to relief requires more than labels and
doctor on April 2, 2009. [Record No. 1, p. 6 ¶¶ 41, 42]
                                                                          conclusions, and a formulaic recitation of the elements of a
Defendant Bayer, the holder of the approved New Drug
Application (“NDA”) of the Mirena IUD, describes the                      cause of action will not do.”     Twombly, 550 U.S. at 555
product, which requires a prescription and must be implanted              (internal quotation marks and alteration omitted).



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                                                                   Where Kentucky courts have not spoken on the issue,
 *2 In considering a 12(b)(6) motion, the Court is required        this Court will not read into Kentucky products liability
to “accept all of plaintiff's factual allegations as true and      law a failure-to-test claim. The plaintiff's failure-to-warn
determine whether any set of facts consistent with the             allegations will include the question of whether Bayer
allegations would entitle the plaintiff to relief.”      G.M.      satisfied “its more general duty to exercise reasonable care.” 2
Eng'rs & Assoc., Inc. v. West Bloomfield Twp., 922 F.2d 328,       Prather, 2013 U.S. Dist. LEXIS, at *33. In that regard, Baird's
330 (6th Cir.1990) (citation omitted). However, the Court          failure to adequately test claim is subsumed under her failure
need not accept as true legal conclusions cast in the form of      to warn claim. See       Clark v. Danek Medical, Inc., No.
factual allegations if those conclusions cannot be plausibly       Civ.A. 3:94CV–634–H, 1999 WL 613316, at *3 n. 4 (March
drawn from the facts, as alleged. See     Iqbal, 556 U.S. at       29, 1999) (finding a duty to adequately test as subsumed by
678 (“[T]he tenet that a court must accept as true all of the      claims such as failure-to-warn or design defect claims); see
allegations contained in a complaint is inapplicable to legal      also     Rodriguez v. Stryker Corp., 680 F.3d 568, 574 (6th
conclusions.”); see also     Papasan v. Allain, 478 U.S. 265,      Cir.2012) (finding that a failure-to-test claim brought under
286 (1986) (noting that in reviewing a motion to dismiss,          Tennessee law collapsed into a failure to warn claim where the
the district court “must take all the factual allegations in the   factual averments and evidence showed that the manufacturer
complaint as true,” but that the court is “not bound to accept     exercised ordinary and reasonable care in testing a product for
as true a legal conclusion couched as a factual allegation”).      potential danger). As a result, the Court will dismiss Baird's
                                                                   sixth claim.


                              III.                                    B. Seventh and Eighth Claims—Breach of Warranty
                                                                    *3 Bayer next argues that the plaintiff's breach of warranty
Bayer seeks to dismiss the plaintiff's failure to adequately
                                                                   claims fail as a matter of law because there is no privity of
test claim, arguing that Kentucky law does not recognize a
                                                                   contract between the plaintiff and defendant. As this Court has
claim under this cause of action, and because it is simply
                                                                   previously noted, privity of contract is an essential element
a failure-to-warn claim in disguise. [Record No. 13–1, p.
                                                                   to breach of warranty claims. Pruitt v. Genie Indus., Inc., No.
6] It further argues that the plaintiff's breach of warranty
                                                                   3:10–81–DCR, 2013 WL 1397701, at *3 (E.D.Ky. Jan. 10,
claims fail because of privity of contract between Baird and
                                                                   2013). As in Pruitt, the plaintiff seeks to hold the defendant
Bayer is lacking. Next, Bayer argues that Baird's negligent
                                                                   liable under theories of express and implied liability. [Id.; see
misrepresentation claim is deficient because such a claim
                                                                   also Record No. 1, pp. 21–23.] “Under Kentucky law, privity
cannot be premised on a product's advertising or packaging.
                                                                   of contract is an essential element of a claim for breach of
Finally, Bayer argues that the plaintiff's punitive damages
claim should be dismissed because punitive damages are a           warranty.” Id. (citing Allen v. Abbott Labs, No. 11–146–
remedy, not a cause of action.                                     DLB, 2012 WL 10508 (E.D.Ky. Jan. 3, 2012)). The same is
                                                                   true for an alleged breach of an implied warranty.         Brown
                                                                   Sprinkler Corp. v. Plumbers Supply Co., 265 S.W.3d 237, 240
   A. Sixth Claim—Failure to Adequately Test
                                                                   (Ky.App.2007) (holding that a plaintiff asserted a claim based
Bayer argues that this claim is should be dismissed because
                                                                   upon implied warranty must establish that it enjoyed privity
Kentucky does not recognize an independent duty to test
                                                                   of contract with the seller). Privity of contract does not extend
pharmaceutical products. See Prather v. Abbott Labs., No.
                                                                   beyond the “buyer/seller setting.” Munn v. Pfizer Hos. Prods.
3:09–CV–573–H, 2013 U.S. Dist. LEXIS 47511, at *32–37
                                                                   Grp., Inc., 750 F.Supp. 244, 248 (W.D.Ky.1990).
(W.D.Ky. Apr. 2, 2013) (“It is unclear whether Kentucky
law recognizes an independent duty to test. No Kentucky
                                                                   In her Complaint, the plaintiff does not assert that she is in
cases explicitly impose such a duty, but a careful reading of
                                                                   privity with Bayer. [Record No. 1, pp. 21–23] Both of her
the [Kentucky Products Liability Act] suggests testing may
                                                                   warranty claims lack any assertions regarding her purchase
be indicative of whether the manufacturer satisfied its more
                                                                   of the Mirena IUD, or Bayer's alleged status as the “seller”
general duty to exercise reasonable care.”).
                                                                   and Baird as the “buyer .” Thus, Bayer is correct that the
                                                                   plaintiff has failed to assert an essential element of a breach



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                                                                 misrepresentation cause of action beyond its present limits set
of warranty claim under Kentucky law. See       Snawder v.
                                                                 by the Kentucky Supreme Court.” 2012 WL 524473, at *2.
Cohen, 749 F.Supp. 1473, 1481 (W.D.Ky.1990) (applying
                                                                 Thus, Baird's eleventh claim will be dismissed
Kentucky law and granting summary judgment against
patient who received vaccine, where patient lacked privity
with manufacturer of the vaccine). Accordingly, the Court           D. Thirteenth Claim—Punitive Damages
will dismiss Baird's seventh and eighth claims.                  Finally, Bayer seeks to dismiss the plaintiff's claim for
                                                                 punitive damages because such damages “are a remedy, not a
                                                                 cause of action.” [Record No. 13–1, p. 5] Bayer is correct that
   C. Eleventh Claim—Negligent Misrepresentation
                                                                 this “claim” is actually a prayer for relief, not a separate cause
Bayer also asserts that the plaintiff's negligent
misrepresentation claim is not viable because it is              of action. See   Toon v. City of Hopkinsville, No. 5:09–CV–
inappropriate in the context of product liability claims.        37, 2011 WL 1560590, at *3 (W.D.Ky. Apr. 14, 2011). To the
Kentucky law limits negligent misrepresentation claims to        extent that Baird is seeking to assert punitive damages as a
instances where a party is in the business of “supplying         separate cause of action, the claim will be dismissed. 3
false information for the guidance of others in their business
transactions.”    Our Lady of Bellefonte Hosp., Inc. v. Tri–
State Physicians Network, Inc., No. 06–141–HRW, 2007 WL                                         III.
2903231, at *7 (E.D.Ky. Sept. 27, 2007). As noted by the
Supreme Court of Kentucky, the language of a negligent           For the reasons stated above, it is hereby
representation claim “is poorly suited to a product sale.”
                                                                 ORDERED as follows:
   Presnell Construction Manager, Inc., v. EH Construction,
LLC, 134 S.W.3d 575 (Ky.2004). In fact, there are no
                                                                 1. Defendant Bayer Healthcare Pharmaceuticals, Inc.'s
Kentucky cases recognizing a negligent misrepresentation
                                                                 Motion to Dismiss Certain of Plaintiff's Claims [Record No.
claim based on a defective product and statements in its
                                                                 13] is GRANTED.
advertising and packaging.     Bland, 2012 WL 524473, at
*2. And the Sixth Circuit has anticipated that Kentucky law      2. Plaintiff Tasha Baird's sixth, seventh, eighth, eleventh,
would not recognize a negligent misrepresentation claim in a     and thirteenth claims in her Complaint, respectively, her
commercial product sale. See  Miller's Bottled Gas, Inc. v.      failure-to-test, breach of express warranty, breach of implied
Borg–Warner Corp., 955 F.2d 1043, 1054 (6th Cir.1992).           warranty, negligent misrepresentation, and punitive damages
                                                                 claims, [Record No. 1 ] are DISMISSED, with prejudice, for
 *4 The plaintiff's negligent misrepresentation claim is based   failure to state a claim upon which relief could be granted.
on Bayer's representations to the medical and healthcare
community. [Record No. 1, p. 27] Allowing her negligent
                                                                 All Citations
representation claim to proceed in this context would
improperly expand this cause of action. As in Bland,             Not Reported in F.Supp.2d,              2013    WL     5890253,
the Court “declines any invitation to extend the negligent       Prod.Liab.Rep. (CCH) P 19,263




                                                         Footnotes


1      In its brief, Bayer mistakenly refers to this as the plaintiff's fourteenth claim, when it is, in fact, her thirteenth
       listed claim. [See Record No. 13–1, p. 2; see also Record No. 1, p. 31.]
2      The Complaint alleges that Bayer “failed to adequately test the safety of [Mirena] versus other hormonal
       contraceptives, intrauterine devices and other form of birth control therapy.” [Record No. 1, p. 20 ¶ 113]




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      Additionally, it alleges that if Bayer had adequately tested the safety and disclosed the results to the public,
      Baird would not have used the Mirena IUD. [ Id., ¶ 14]
3     Baird has, however, properly included punitive damages in her prayer for relief. Accordingly, dismissing this
      as a claim has no effect on her ability or inability to collect punitive damages in this matter.


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                             TAB 4
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                                                                  Administration (“FDA”) Lilly never had authority to change
                                                                  Jardiance’s labeling or design. The motions are fully briefed
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                                                                  and ripe for disposition. The parties agreed to stay the case
   Only the Westlaw citation is currently available.
                                                                  pending the court’s resolution of these motions. (ECF No. 15).
   United States District Court, W.D. Pennsylvania.

            William L. BELL, Jr., Plaintiff,
                                                                     II. Factual Background
                           v.
                                                                  As set forth in the complaint, in July 2014, defendants
            BOEHRINGER INGELHEIM
                                                                  submitted an NDA to the FDA for Jardiance. Complaint ¶ 20
       PHARMACEUTICALS, INC., Boehringer                          (ECF No. 1). In August 2014, the FDA approved Jardiance
         Ingelheim Pharma GmbH & Co. KG,                          for the treatment of Type II diabetes. Id. ¶ 21. Jardiance is
      Boehringer Ingelheim International GmbH,                    the tradename for the drug empagliflozin, which is a member
      and; and Eli Lilly & Company, Defendants.                   of the gliflozin class of sodium-glucose cotransporter 2
                                                                  (“SGLT2”) inhibitors. Id. ¶ 22. SGLT2 inhibitors are designed
                CIVIL ACTION NO. 17-1153                          to inhibit renal glucose reabsorption with the goal of lowering
                           |                                      blood glucose. Id. ¶ 24. Excess glucose is not metabolized.
                   Signed 02/15/2018                              Instead, it is excreted through the kidneys. Id. ¶ 24. Jardiance
                                                                  is indicated for only improved glycemic control in type 2
Attorneys and Law Firms
                                                                  adult diabetics, but defendants market it for off label purposes,
Justin J. Hawal, The DiCello Law Firm, Mentor, OH, for            including weight loss, reduced blood pressure and improved
Plaintiff.                                                        glycemic control in type 1 diabetes. Id. ¶ 25. Since the release
                                                                  of Jardiance, the FDA has received a significant number
Elizabeth C. Curtin, Sidley Austin LLP, Chicago, IL, Heidi        of reports of diabetic ketoacidosis. Id. ¶ 26. Bell alleges
Levine, Sidley Austin LLP, New York, NY, Wendy West               that defendants knew about the significant risk of diabetic
Feinstein, Morgan, Lewis & Bockius LLP, John C. Hansberry,        ketoacidosis but did not adequately warn consumers or the
Pepper Hamilton, Pittsburgh, PA, Barry H. Boise, Pepper           medical community about the severity of such risks. Id. ¶ 30.
Hamilton, Philadelpha, PA, for Defendants.
                                                                  On June 13, 2015, Bell began taking Jardiance per his doctor’s
                                                                  instructions, primarily to treat diabetes. Id. ¶ 32. Bell relied
               MEMORANDUM OPINION                                 on defendants' claims that Jardiance was safe and effective for
                                                                  the treatment of diabetes. Id. ¶ 35. On August 31, 2015, Bell
Joy Flowers Conti, Chief United States District Judge             suffered acute renal failure. Id. ¶ 37. Bell does not plead any

   I. Introduction                                                other facts about his medical condition. 2
 *1 Plaintiff William L. Bell, Jr. (“Bell”) alleges that he
developed an acute kidney injury as a direct result of            The complaint asserts the following causes of action: (1)
taking the prescription drug Jardiance. Bell alleges numerous     products liability—design defect (strict liability); (2) products
claims under Pennsylvania law. This court has subject-matter      liability—failure to warn (strict liability); (3) willful and
jurisdiction based on diversity of citizenship.                   wanton misconduct or gross negligence; (4) negligence;
                                                                  (5) breach of express warranty; (6) breach of implied
Defendants Boehringer Ingelheim Pharmaceuticals, Inc.             warranty; (7) fraudulent misrepresentation; (8) negligent
                                                                  misrepresentation; (9) negligent design; (10) fraudulent
(“BIPI”) 1 and Eli Lilly & Company (“Lilly”) filed a motion
                                                                  concealment; and (11) fraud.
to dismiss all but counts 4 and 9 (ECF No. 10), arguing
that Pennsylvania law broadly bars all non-negligence claims
asserted against prescription drug manufacturers. Defendants       III. Standard of Review
also argue that the entire complaint should be dismissed for      *2 A motion to dismiss tests the legal sufficiency of the
failing to comply with federal pleading standards. Lilly filed
                                                                  complaint.   Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir.
a separate motion to dismiss all claims against it (ECF No. 7),
                                                                  1993). In deciding a motion to dismiss, the court is not
arguing that because BIPI is the sole holder of the Jardiane
                                                                  opining on whether the plaintiff will be likely to prevail on
New Drug Application (“NDA”) filed with the Food and Drug


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the merits; rather, when considering a motion to dismiss,          more than the mere possibility of misconduct, the complaint
the court accepts as true all well-pled factual allegations in     has alleged—but it has not ‘show[n]—that the pleader is
the complaint and views them in a light most favorable to          entitled to relief.” ’ Id. (quoting Fed. R. Civ. P. 8(a)(2)).
                                                                   A court considering a motion to dismiss may begin by
the plaintiff.   U.S. Express Lines Ltd. v. Higgins, 281 F.3d
                                                                   identifying pleadings that are not entitled to the assumption
383, 388 (3d Cir. 2002). While a complaint does not need
                                                                   of truth because they are mere conclusions.
detailed factual allegations to survive a Federal Rule of Civil
Procedure 12(b)(6) (“Rule 12(b)(6)”) motion to dismiss, a
complaint must provide more than labels and conclusions.
                                                                               While legal conclusions can provide
   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127                      the framework of the complaint,
S.Ct. 1955, 167 L.Ed.2d 929 (2007). A “formulaic recitation                    they must be supported by factual
of the elements of a cause of action will not do.”           Id.               allegations. When there are well-
                                                                               pleaded factual allegations, a court
(citing    Papasan v. Allain, 478 U.S. 265, 286, 106 S.Ct.
                                                                               should assume their veracity and then
2932, 92 L.Ed.2d 209 (1986)). “Factual allegations must be
                                                                               determine whether they plausibly give
enough to raise a right to relief above the speculative level”
                                                                               rise to an entitlement to relief.
and “sufficient to state a claim for relief that is plausible on
its face.”     Id. “A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw     Id.
the reasonable inference that the defendant is liable for the
misconduct alleged.”      Ashcroft v. Iqbal, 556 U.S. 662, 678,
                                                                     IV. Legal Analysis
129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (citing       Twombly,
550 U.S. at 556, 127 S.Ct. 1955).
                                                                            A. Pennsylvania Law Regarding Claims
  The plausibility standard is not akin to a “probability                 Against Manufacturers of Prescription Drugs
  requirement,” but it asks for more than a sheer possibility
                                                                   This case is governed by Pennsylvania law. Defendants argue
  that a defendant has acted unlawfully.... Where a complaint
                                                                   that under Pennsylvania law, product liability claims against
  pleads facts that are“merely consistent with” a defendant’s
                                                                   pharmaceutical manufacturers can only be brought under a
  liability, it “stops short of the line between possibility and
                                                                   negligence theory.
  plausibility of ‘entitlement to relief.’ ”

    Id. (quoting Twombly, 550 U.S. at 556, 127 S.Ct. 1955)
(internal citations omitted).                                                        1. Strict liability claims

                                                                   In    Hahn v. Richter, 543 Pa. 558, 673 A.2d 888, 889-90
Two working principles underlie        Twombly. Id. First, with
                                                                   (Pa. 1996), the Pennsylvania Supreme Court held that “where
respect to mere conclusory statements, a court need not
                                                                   the adequacy of warnings associated with prescription drugs
accept as true all of the allegations contained in a complaint.
                                                                   is at issue, the failure of the manufacturer to exercise
“Threadbare recitals of the elements of a cause of action,
                                                                   reasonable care to warn of dangers, i.e., the manufacturer's
supported by mere conclusory statements, do not suffice.”
                                                                   negligence, is the only recognized basis of liability.” Id.
   Id. (citing  Twombly, 550 U.S. at 555, 127 S.Ct. 1955.)
                                                                   at 890 (emphasis added). The Pennsylvania Supreme Court
Second, to survive a motion to dismiss, a claim must state
                                                                   explained in   Hahn that the Restatement (Second) of Torts
a plausible claim for relief.   Id. at 679, 129 S.Ct. 1937.
                                                                   § 402A, comment k “denies application of strict liability
“Determining whether a complaint states a plausible claim
                                                                   to products such as prescription drugs, which, although
for relief will ... be a context-specific task that requires
                                                                   dangerous in that they are not without medical risks, are
the reviewing court to draw on its judicial experience and
                                                                   not deemed defective and unreasonably dangerous when
common sense.”      Id. (citing 490 F.3d at 157-58). “But
                                                                   marketed with proper warnings.”         Id. For example, the
where the well-pleaded facts do not permit the court to infer


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rabies vaccine commonly leads to serious consequences
                                                                     of warranty. In    Salvio v. Amgen, Inc., 810 F.Supp.2d 745
when injected, but because the disease itself leads to death,
                                                                     (W.D. Pa. 2011), the court explained:
the marketing and use of the vaccine is fully justified.
   Id. at 890 n.2. That kind of product, properly prepared
and accompanied by proper directions and warning, is not                         Pennsylvania state and federal courts
defective and is not unreasonably dangerous.        Id.                          have interpreted    Hahn broadly to
                                                                                 bar all non-negligence based claims
*3 Bell argues that       Hahn is “antiquated” and this court                    asserted against a manufacturer of

should instead follow the principles set forth in Tincher                        prescription drugs.     Leonard v.
v. Omega Flex, Inc., 628 Pa. 296, 104 A.3d 328 (Pa.                              Taro Pharmaceuticals USA, Inc., No.
                                                                                 10-1241, 2010 WL 4961647, at *5,
2014), a case involving stainless steel tubing.   Tincher                        2010 U.S. Dist. LEXIS 127892 (W.D.
did not address pharmaceutical drugs and did not overrule
                                                                                 Pa. Dec. 2, 2010) (citing  Aaron
Hahn. See     id. at 382 (recognizing that under     Hahn, a                     v. Wyeth, No. 07-927, 2010 WL
manufacturer is immune from strict liability defective design                    653984, at *11, 2010 U.S. Dist.
claims premised upon sale of prescription drugs without                          LEXIS 14581, *30–1 (W.D. Pa.
adequate warnings). In addition, Bell argues that this court                     Feb. 19, 2010) (dismissing breach
should follow    Lance v. Wyeth, 624 Pa. 231, 85 A.3d 434                        of express and implied warranty
(Pa. 2014), which recognized a negligent design defect claim                     claims under      Hahn);    Kline v.
against a prescription drug manufacturer.       Lance described                  Pfizer, Inc., No. 08-3238, 2008 WL
                                                                                 4787577, at *3, 2008 U.S. Dist.
   Hahn as having a “truncated analysis” that offered a “poor
                                                                                 LEXIS 101655, *7 (E.D. Pa. Oct. 31,
foundation for extrapolation.”       Id. at 452 n.21. The court                  2008) (dismissing breach of express
emphasized in       Lance, though, “that we are not revisiting                   and implied warranty claims under

    Hahn.” Id. The court reiterated that “for policy reasons                        Hahn);      Colacicco v. Apotex,
this Court has declined to extend strict liability into the                      Inc., 432 F.Supp.2d 514, 548 (E.D. Pa.
                                                                                 2006) (dismissing breach of implied
prescription drug arena....”     Id. at 264.
                                                                                 warranty claim under     Hahn)).
With respect to state law claims, this court is bound by
the law as set forth by the Pennsylvania Supreme Court.
   Hahn is still good law and is controlling on cases involving         Salvio, 810 F. Supp.2d at, 755–56; accord     Rowland v.
                                                                     Novartis Pharmaceuticals Corp., 34 F.Supp.3d 556, 568-69
prescription drugs. In        Hahn, the supreme court rejected
                                                                     (W.D. Pa. 2014). Bell’s claims for breach of express and
strict liability theories in the prescription drug context. Bell’s
                                                                     implied warranties in counts 5 and 6 of the complaint will be
strict liability claims in counts 1 and 2 of the complaint must
                                                                     dismissed.
be dismissed.


                                                                                           3. Fraud claims
                 2. Breach of warranty claims
                                                                     Counts 7, 10 and 11 of Bell’s complaint allege that
In     Hahn, the Pennsylvania Supreme Court did not                  defendants knowingly represented that Jardiance was safer
specifically address breach of warranty claims. Its holding          than alternative medications and failed to make truthful
that negligence is the “only” recognized basis of liability,         representations regarding the risks of taking Jardiance.
                                                                     The case law is split regarding claims for fraudulent
   id. at 890, similarly precludes a claim against a
                                                                     misrepresentation, fraudulent concealment and fraud.
prescription drug manufacturer based on an alleged breach


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Some courts hold that      Hahn broadly bars all non-
negligence based claims asserted against a manufacturer                              5. Gross negligence claim
of prescription drugs. In     Leonard v. Taro Pharm. USA,           In count 3 of the complaint, Bell alleges that defendants
Inc., No. 10CV1341, 2010 WL 4961647 (W.D. Pa. Dec.                  acted with willful and wanton conduct or gross negligence
2, 2010), the court reasoned that a claim of intentional            and seeks punitive damages. “[T]here is no separate cause of
misrepresentation or fraud is “a non-negligence based claim         action under Pennsylvania law for gross negligence.” Spence
akin to strict liability for failure to warn, and is barred         v. ESAB Group, Inc., 623 F.3d 212, 215 n. 2 (3d Cir. 2010)
by      Hahn and its progeny.” Id. at *5. Other courts have         (citing Hunter v. Squirrel Hill Assocs., LP, 413 F.Supp.2d
                                                                    517, 520 n. 2 (E.D. Pa. 2005) (“While Pennsylvania
recognized fraud-based claims. In Tatum v. Takeda Pharm.
                                                                    courts acknowledge differing standards of care, they do
N. Am., Inc., No. CIV.A. 12-1114, 2012 WL 5182895 (E.D.
                                                                    not recognize degrees of negligence as separate causes of
Pa. Oct. 19, 2012), the court pointed out that             Hahn
                                                                    action.”)). See also Floyd v. Brown & Williamson Tobacco
required a seller of prescription drugs to warn not only of risks
                                                                    Corp., 159 F.Supp.2d 823, 828 (E.D. Pa. 2001) (dismissing
of which he reasonably should have knowledge, but also warn
                                                                    plaintiff's separately pleaded claim for gross negligence);
of risks of which he did, in fact, have knowledge. Id. at *4;
                                                                       Salvio, 810 F.Supp.2d at 756 (same);  Kline v. Pfizer,
see     Hahn, 673 A.2d at 890 (a seller must warn of risks
                                                                    Inc., No. CIV.A.08-3238, 2008 WL 4787577, at *3 (E.D. Pa.
of which he “has or reasonably should have knowledge”)
                                                                    Oct. 31, 2008) (same).
(emphasis added). Accord Cutruzzula v. Bayer Healthcare
Pharm. Inc., No. CV 14-1474, 2015 WL 8488670, at *5 (W.D.
                                                                    The dismissal of a stand-alone gross negligence claim does
Pa. Nov. 17, 2015), report and recommendation adopted, No.
                                                                    not preclude Bell from pursuing damages (including punitive
CV 14-1474, 2015 WL 8492767 (W.D. Pa. Dec. 10, 2015)
                                                                    damages) if he is able to demonstrate that defendants were
(refusing to dismiss fraud claims if they contain allegations of
                                                                    grossly negligent. As explained in Daly v. New Century Trans,
affirmative misrepresentations that go beyond a mere failure
                                                                    Inc., No. 1:11-CV-2037, 2012 WL 4060687 (M.D. Pa. Sept.
to warn).
                                                                    14, 2012):

 *4 The court is persuaded that Pennsylvania law recognizes           Although not recognized as a separate cause of action,
a cause of action for fraudulent marketing of prescription            gross negligence has been recognized by Pennsylvania
drugs.    Hahn does not preclude claims where the plaintiff           and federal courts interpreting Pennsylvania law as “a
alleges that the seller had actual knowledge of the risks             form of negligence where the facts support substantially
of prescription drugs and intentionally concealed them. The           more than ordinary carelessness, inadvertence, laxity,
fraud claims in counts 7, 10 and 11 of Bell’s complaint are not       or indifference.” Thus, Pennsylvania law acknowledges
                                                                      differing standards of care, but does not recognize degrees
barred by      Hahn as a matter of law. 3
                                                                      of negligence as separate causes of action.

                                                                    Id. at *4 (citations omitted) (recognizing that allegations of
              4. Negligent misrepresentation claim                  gross negligence could support a claim for punitive damages).
                                                                    In count 4, Bell asserts a claim of negligence which is
Count     8    of   Bell’s    complaint     alleges    negligent    sufficient to encompass gross negligence. In accordance with
                                                                    these standards, Count 3 of Bell’s complaint will be dismissed
misrepresentation. Although the court in          Leonard
                                                                    as a separate cause of action because it is subsumed within
dismissed a fraudulent misrepresention claim, it held that
                                                                    the negligence claims.
a claim for negligent misrepresentation is not barred by
   Hahn. 2010 WL 4961647, at *5 (quoting Colacicco,                 In summary, counts 1, 2, 3, 5 and 6 of Bell’s complaint are
432 F.Supp.2d at 548). This court agrees with that analysis.        not recognized by controlling Pennsylvania law. Counts 1,
Because count 8 of Bell’s complaint sounds in negligence, it        2, 5 and 6 will be dismissed with prejudice, without leave
is not barred by     Hahn.                                          to amend.     Salvio, 810 F.Supp.2d at 757 (denying leave



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to amend non-negligence claims as futile). Count 3 is being
dismissed but it is not dismissed on the merits; it is dismissed   In House v. Bristol-Myers Squibb Co., No. 3:15-894, 2017
because it is not a separate claim.
                                                                   WL 55876 (W.D. Ky. Jan. 4, 2017), and Fleming v. Janssen
                                                                   Pharmaceuticals, Inc., 186 F.Supp.3d 826, 835 (W.D. Tenn.
                                                                   2016), the courts dismissed very similar complaints asserting
                B. Federal Pleading Standards                      products liability claims against manufacturers of similar

Defendants contend that even if some of the claims asserted        drugs for failing to plead sufficient facts. In    Fleming, the
by Bell are theoretically cognizable, the complaint in this case   court explained:
fails to allege sufficient facts to make any claim plausible.
                                                                     The only assertion as to how the product design was
Defendants, therefore, seek dismissal of the entire complaint.
                                                                     defective is a description of how the class of products
                                                                     works. (See Compl. ¶ 24 (“SGLT2 inhibitors ... are
 *5 Bell argues that the claims are sufficiently pled. For
                                                                     designed to inhibit renal glucose reabsorption with the
example, Bell points to allegations that Jardiance was more
                                                                     goal of lowering blood glucose. As a result, excess
dangerous than other risks associated with treatment of
                                                                     glucose is not metabolized, but instead is excreted through
diabetes (although factual details are not provided), the
                                                                     the kidneys of a population of consumers already at
benefits of Jardiance were outweighed by the risks, there
                                                                     risk for kidney disease.”).) The Court cannot reasonably
are other (unspecified) design alternatives that have a better
                                                                     infer from the generic description of SGLT2 inhibitors'
safety profile (although what those designs are, and how the
                                                                     mechanism of action that Invokana was defective or
safety profile is better are not pled), and Jardiance was more
                                                                     unreasonably dangerous. The facts are also insufficient as
dangerous that the expectations of ordinary consumers and
                                                                     to the alleged defect as the cause of Plaintiff's injuries.
physicians (again, with no factual details provided).
                                                                     Plaintiff asserts, for example, that “[a]s a direct and
                                                                     proximate result of Defendants' negligence, wrongful
Factual details are almost entirely lacking. The complaint
                                                                     conduct, and the unreasonably dangerous and defective
appears to be copied from another source, because it refers to
                                                                     characteristics of INVOKANA, Plaintiff suffered severe
“her” and “she.” See supra note 2. There are no factual details
                                                                     and permanent physical and emotional injuries.” (Compl. ¶
about when Bell contracted diabetes, whether he has type I
                                                                     48.) Under Rule 12(b)(6), such “unadorned, the-defendant-
or type II diabetes, whether he has other medical conditions,
                                                                     unlawfully-harmed-me accusation[s]” are insufficient to
who his treating physicians were, why he decided to take
                                                                     state a claim.
Jardiance, what alternatives to Jardiance were discussed,
whether he read the warnings, how long he took Jardiance or
                                                                     186 F.Supp.3d at 835-36. The court dismissed the failure to
at what dose or why he believes his acute renal failure was
                                                                   warn claim because the plaintiff failed to allege facts showing
caused by Jardiance.
                                                                   that the drug was unreasonably dangerous.         Id. at 836.
A close examination of the complaint reveals that the vast
majority of its averments are bald legal conclusions or a           *6 In House, the court similarly concluded that it could not
formulaic repackaging of the elements of the claim. Bell did       infer defectiveness from a generic description of how SGLT2
not plead the roles of each defendant. Bell did not plead how      inhibitors work. House, 2017 WL 55876 at *4. The court
each defendant’s conduct in the design of Jardiance, how           characterized the following allegations as formulaic legal
warnings about Jardiance fell below the required standard          conclusions that were insufficient to meet the Twombly-Iqbal
of care or how each defendant’s alleged breaches of duty           standard: (a) the drugs “contained unreasonably dangerous
caused Bell’s injury. Bell did not explain how and why             design defects and were not reasonably safe as intended
the design or warnings were defective. In paragraphs 22-24         to be used”; (b) the drugs “were defective in design and
of the complaint, Bell describes how SGLT2 inhibitors              formulation, making use of the drugs more dangerous than
like Jardiance work. The complaint does not plead any              an ordinary consumer would expect and more dangerous than
facts, however, about why this design is defective. Bell           other risks associated with the treatment of diabetes”; (c)
conclusorily alleged that “several alternative safer products”     defendants “could have designed their respective [drugs] to
exist (Complaint ¶ 29) but did not identify those products or      make them less dangerous”; and (d) there “was a practical,
explain why they are safer.                                        technically feasible safer alternative design that would have



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prevented the harm Plaintiff suffered without substantially
                                                                   *16. Accord      Yates v. Ortho-McNeil-Janssen Pharm., Inc.,
impairing” the function of the drugs. Id. at *3-4. The court
                                                                   808 F.3d 281, 298 (6th Cir. 2015) (a “post-approval design
dismissed the failure to warn claim as similarly based on only
                                                                   defect claim is clearly preempted by federal law”).
conclusory statements. Id. at *4.
                                                                   Bell, in response, explains that his “claims focus on the initial
The allegations in Bell’s complaint are substantially identical
                                                                   design of Jardiance prior to FDA approval.” ECF No. 17 at 5
to those held to be insufficient in      Fleming and House.        (emphasis added); see ECF No. 17 at 6 (“Plaintiff’s claims are
                                                                   premised on Eli Lilly’s duty to initially design a reasonably
See      Salvio, 810 F. Supp.2d at754 (describing complaint
                                                                   safe product.”). Bell apparently recognizes that he cannot
as “little more than a list of legal conclusions regarding
                                                                   pursue post-FDA approval claims against Lilly.
Defendants' failure to test, market, warn, design, and
manufacture”). There are simply no actual facts pled about
                                                                   The case law regarding preemption of pre-approval design
how each defendant was negligent in Jardiance’s design or
                                                                   claims is not fully developed. Impossibility preemption is
warnings or how each defendant’s alleged breaches of the
                                                                   a demanding defense on which defendants bear the burden
standard of care caused Bell’s injuries. Bell’s complaint will
likewise be dismissed.                                             of proof.     Wyeth v. Levine, 555 U.S. 555, 573, 129 S.Ct.
                                                                   1187, 173 L.Ed.2d 51 (2009). The United States Court of
Fraud claims are subject to the more rigorous standards of         Appeals for the Third Circuit has not addressed preemption
Federal Rule of Civil Procedure 9(b) and must be pled with         in the prescription drug context. But see Sikkelee v. Precision
particularity. See House, 2017 WL 55876 at *8 (dismissing          Airmotive Corp., 822 F.3d 680, 702-03 (3d Cir. 2016)
fraud-based claims described at a high level of generality).       (holding at the summary judgment stage that federal law did
The fraud-based claims in counts 7, 10 and 11 of Bell’s            not preempt a products liability claim in the aviation industry
complaint fall far short of the Rule 9 standard and must be        and discussing preemption principles in the “analogous
dismissed.                                                         preapproval scheme for pharmaceutical labeling”). In Warren,
                                                                   the court refused to dismiss a claim against BIPI based on the
In sum, the complaint fails to plead sufficient facts to make      original design of Jardiance before FDA approval. Warren,
any claim “plausible,” as required by the Federal Rules of
                                                                   2017 WL 3970666 at *10, 15. Accord         Estate of Cassel
Civil Procedure. The complaint, therefore, will be dismissed
                                                                   v. Alza Corp., No. 12-771, 2014 WL 856023 (W.D. Wis.
in its entirety.
                                                                   Mar. 5, 2014) (holding that a pre-FDA approval design defect
                                                                   claim survived summary judgment because defendants failed
                                                                   to meet their burden to establish the preemption defense
                    C. Federal Preemption
                                                                   as a matter of law). In  Yates, the court held that a pre-
Lilly filed a separate motion to dismiss, arguing that because     FDA approval design claim was preempted, but did so at the
BIPI is the sole holder of the NDA, Lilly had no ability to        summary judgment stage, not on a motion to dismiss.     808
change Jardiance’s label or design. Lilly reasons that because     F.3d at 289, 299-300 (holding that the plaintiff’s argument
federal law required it to follow the NDA, Bell’s contrary state   regarding a pre-approval duty to design a safer drug was
law claims are preempted.
                                                                   “too attenuated”). The court recognized in Yates, however,
                                                                   that “[a]s a general matter, plaintiffs injured by brand-name
Lilly cites Warren v. Boehringer Ingelheim Pharmaceuticals,
                                                                   prescription drugs retain state-law tort remedies against the
Inc., No. 16-1326, 2017 WL 3970666 (S.D. Ind. Sept.
                                                                   manufacturer of those drugs, provided it is not impossible for
8, 2017) (involving Jardiance), and          Germain v. Teva       the drug manufacturer to comply with both state and federal
Pharmaceuticals, USA, Inc., 756 F.3d 917 (6th Cir. 2014),
                                                                   law.”    Id. at 294.
which concluded that a manufacturer who does not hold the
NDA has no ability to change the warning label or the design
                                                                    *7 As explained above, the complaint contains no factual
of the drug. In Warren, the court held that Lilly could not
                                                                   details about Lilly’s actions or how the design of Jardiance
comply with any duty imposed by state law to change the
                                                                   was allegedly defective prior to FDA approval. Without
design or labeling of Jardiance, and therefore, state law claims
                                                                   knowing what Lilly’s actions were, the court cannot evaluate
against Lilly were preempted. Warren, 2017 WL 3970666 at


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whether those actions create a conflict between Pennsylvania
                                                                      Bell may file an amended complaint on or before March
law and federal law. Given the lack of factual allegations in
                                                                      8, 2018. The court cautions that if Bell chooses to file an
Bell’s complaint and the unsettled state of preemption law,
                                                                      amended complaint, it will be important for him to assure
the court reserves ruling on the preemption issue at this time.
                                                                      that the complaint contains all factual allegations needed to
Lilly’s motion will be denied without prejudice.
                                                                      render the claims “plausible,” against each defendant, because
                                                                      the court is unlikely to permit a further “bite at the apple.”
   V. Leave to Amend                                                  Bell must ensure that any fraud-based claims comply with
Bell affirmatively requested leave to amend the complaint in          the particularity standard in Rule 9. It will also be important
the event that the motions to dismiss were granted. Pursuant          for Bell to plead how the design or warnings were faulty. See
to Rule 15, leave to amend should be freely granted. When a              Salvio, 810 F.Supp.2d at 750-51 (taking judicial notice of
complaint is subject to dismissal under Rule 12(b)(6), district       the package warning label); ECF No. 11 at 9 n.5 (purporting
courts should generally permit an opportunity to amend                to quote from Jardiance’s warning label regarding impaired
unless an amendment would be inequitable, or otherwise                renal function).
unjust by way of futility, bad faith, or undue delay. Arthur
v. Maersk, Inc., 434 F.3d 196, 204 (3d Cir. 2006). There has
                                                                         VI. Conclusion
been no undue delay.
                                                                      In accordance with the foregoing, Defendants' joint motion
                                                                      to dismiss (ECF No. 10) will be GRANTED, and Lilly’s
As explained above, it is clear that Bell will be unable
                                                                      separate motion to dismiss (ECF No. 7) will be DENIED
to correct the shortcomings identified in this opinion as
                                                                      WITHOUT PREJUDICE. Counts 1, 2, 3, 5 and 6 are
to counts 1, 2, 5 and 6 because those claims are not
                                                                      dismissed without leave to amend. Counts 4, 7, 8, 9, 10 and
recognized by controlling Pennsylvania law and as to count
                                                                      11 are dismissed with leave to amend. An appropriate order
3 because it is subsumed into the negligence claims. Leave
                                                                      will be entered.
to amend those claims is denied because amendment would
be futile. Amendment of the negligence and fraud-based
claims asserted by Bell in counts 4, 7, 8, 9, 10 and 11 is            All Citations
not necessarily futile. Those claims are being dismissed for
failure to comply with the required pleading standards.               Not Reported in Fed. Supp., 2018 WL 928237




                                                          Footnotes


1      Two other Boehringer entities named as defendants have not yet been served.
2      The complaint appears to be copied from another case with a female plaintiff, as there are multiple references
       to “her” and “she.” See, e.g., Complaint Introduction and ¶ 46.
3      As will be discussed below, fraud claims are subject to rigorous pleading standards.


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                             TAB 5
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                  2012 WL 1964452                                   I. BACKGROUND
    Only the Westlaw citation is currently available.
              NOT FOR PUBLICATION                                      A. Factual Background
     United States District Court, D. New Jersey.                   Defendants are in the business of marketing, distributing,
                                                                    selling, manufacturing or causing to be manufactured the
              Edna Diane BOWMAN and                                 surgical mesh at issue in this litigation. (Pl.'s Compl. ¶ 35,
               Amy McHenry, Plaintiffs,                             Aug. 26, 2010, ECF No. 1). Defendants, at all relevant
                          v.                                        times, allegedly sold surgical mesh as sterile, Food and Drug
       RAM MEDICAL, INC., Amerimed Corp.,                           Administration (“FDA”) approved, indicated for surgical use
        Henry Schein, Inc., Marathon Medical                        and Bard-manufactured. Id. at ¶ 36. Plaintiffs bring this action
      Corp., Medline Industries, MMS–A Medical                      on behalf of themselves and putatively on behalf all other
      Supply Co., and Q–Med Corp., Defendants.                      similarly situated persons “in the United States who had
                                                                    Defendants' counterfeit surgical mesh surgically implanted
        Civil Action No. 10–cv–4403 (DMC)(MF).                      from September 1, 2007 until the present.” (Pl.'s Compl.
                             |                                      ¶ 26). The Complaint includes specific information about
                      May 31, 2012.                                 two Plaintiffs, Edna Diane Bowman and Amy McHenry.
                                                                    On December 1, 2009, Plaintiff Edna Diane Bowman
Attorneys and Law Firms                                             underwent a surgical procedure at Lexington Medical Center
                                                                    in West Columbia, South Carolina (“LMC”), during which
Philip A. Tortoreti, Victoria Hwang-Murphy, Daniel R.
                                                                    Defendants' counterfeit mesh was implanted in her body.
Lapinski, Wilentz, Goldman & Spitzer, Woodbridge, NJ, for
                                                                    Id. at ¶ 40. On February 23, 2010, Plaintiff Amy McHenry
Plaintiffs.
                                                                    underwent a laparoscopic hernia repair procedure at LMC,
Kenneth N. Laptook, Wolff & Samson, PA, West Orange, NJ,            during which Defendants' counterfeit mesh was implanted in
Karen E. Clarke, Proskauer Rose, LLP, Newark, NJ, Scott             her abdomen. Id. at ¶ 37. On July 19, 2010, Plaintiff Bowman
L. Haworth, Nora Coleman, Haworth Coleman & Gerstman,               received a letter from LMC informing her that the surgical
LLC, New York, NY, Stuart Mark Feinblatt, Sills Cummis              mesh implanted during her surgery was “counterfeit surgical
Epstein & Gross, P.C., Newark, NJ, John C. Whipple,                 mesh.” Id. at ¶ 51. On July 15, 2010, Plaintiff McHenry
Arseneault, Whipple, Fassett & Azzarello, LLP, Chatham, NJ,         received a letter from LMC informing her of the same. Id. at
Thomas McKay, III, John Philip Johnson, Cozen & O'Conner,           ¶ 49.
Esqs., Cherry Hill, NJ, for Defendants.
                                                                    Essentially, Plaintiffs claim that a counterfeit product was
                                                                    used during surgery without their consent or knowledge.
                          OPINION                                   However, Plaintiffs cite no physical injury or harm resulting.
                                                                    Plaintiffs state their claims in five counts including: (1)
DENNIS M. CAVANAUGH, District Judge.                                violation of the New Jersey Consumer Fraud Act (“NJCFA”),
                                                                    (2) unjust enrichment and common law restitution, (3) breach
 *1 This matter comes before the Court upon the motion              of express warranty, (4) breach of implied warranty of
by Defendants RAM Medical, Inc., Henry Schein, Inc.,                merchantability and (5) breach of implied warranty of fitness
Marathon Medical Corp., Medline Indus., MMS–A Medical               for a particular purpose. Plaintiffs contend the nature of the
Supply Co. and Q–Med Corp. (collectively, “Defendants”)             action involves false, misleading, inaccurate, deceptive and
(ECF No. 34) to dismiss Plaintiff's complaint (ECF No. 1),          unconscionable commercial practices. (Pl.'s Compl. ¶ 1).
filed on January 31, 2011. An amended motion to dismiss was
filed by Defendants on September 30, 2011 (ECF No. 51).             Plaintiffs explain that their belief was that the surgical
Defendant C.R. Bard, Inc. filed a motion to dismiss on April        mesh implanted was: (1) Bard-manufactured, (2) sterile, (3)
23, 2012 (ECF No. 55). Pursuant to FED.R.CIV.P. 78, which           approved for use by the FDA, and (4) indicated for surgical
states that the court has the authority to provide for submitting   use. (Pl.'s Compl. ¶ 47). Plaintiffs claim that in the condition
and determining the motions on briefs without oral hearings,        in which Defendants sold their counterfeit mesh, the mesh had
no oral argument was heard.                                         zero value. Id. at ¶ 48. Further, Plaintiffs state that had they


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known that Defendants' surgical mesh was not as represented,       favorable to [the Plaintiff].” Phillips v. Cnty. of Allegheny,
they would not have purchased, or agreed to purchase of            515 F.3d 224. 228 (3d Cir.2008V The Plaintiff's “obligation
the surgical mesh for use during the surgical procedures. Id.      to provide the ‘grounds' of his ‘entitle[ment] to relief requires
at ¶ 54. The only ascertainable loss Plaintiffs allege is the      more than labels and conclusions, and a formulaic recitation
purchase price of a product they believed to be something          of the elements of a cause of action will not do.” Bell Atl.
else. Id. at ¶ 55. Plaintiffs vaguely state they “will incur       Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167
[future] costs to repair the damages caused by Defendants'         L.Ed.2d 929 (2007). “[A court is] not bound to accept as true
unlawful activity,” but omit to further explain such “repairs.”    a legal conclusion couched as a factual allegation.” Papasan
Id.                                                                v. Allain, 478 U.S. 265, 286, 106 S.Ct. 2932, 92 L.Ed.2d 209
                                                                   (1986). Instead, when their truth is assumed, those factual
 *2 Plaintiffs seek relief that includes: class certification;     allegations “must be enough to raise a right to relief above
declarations that Defendants' unlawful actions violate             a speculative level.” Twombly, 550 U.S. at 555. Plaintiff's
the NJCFA, breach express and implied warranties of                obligation “requires more than labels and conclusions.” Id. at
merchantability and implied warranties of fitness, and             545. To survive a motion to dismiss, the complaint must state
unjustly enrich Defendants; orders directing disgorgement          a plausible claim, not merely conclusory statements deriving
of profits derived from unlawful practices, compelling             from assumptions or inferences. Ashcroft v. Iqbal, 556 U.S.
Defendants to reimburse Plaintiffs in an amount equal to their     662, 129 S.Ct. 1937, 1950, 173 L.Ed.2d 868 (2009).
ascertainable loss, and treble damages pursuant to N.J.S.A.
56:8–1 et seq.; restitution; and, attorney's fees. (Pl.'s Compl.   In reviewing a motion to dismiss, it is well-established that a
¶ 93).                                                             court should “consider only the allegations in the complaint,
                                                                   exhibits attached to the complaint, matters of public record,
                                                                   and documents that form the basis of a claim.” M & M Stone
   B. Procedural Background                                        Co. v. Pa., 388 Fed.Appx. 156, 162 (3d Cir.2010).
This matter comes before the Court upon the motion
by Defendants RAM Medical, Inc., Henry Schein, Inc.,
Marathon Medical Corp., Medline Indus., MMS–A Medical                III. DISCUSSION
Supply Co. and Q–Med Corp. (collectively, “Defendants”)
(ECF No. 34) to dismiss Plaintiff's complaint (ECF No. 1),            A. STANDING
filed on January 31, 2011. An amended motion to dismiss was        As an initial matter, this Court must discuss whether
filed by Defendants on September 30, 2011 (ECF No. 51).            jurisdiction is founded in this case, given the requirements of
This Court sua sponte consolidated the Calo Action (Docket         Article III. Defendants say Plaintiffs lack standing because
No. 11–cv–7381) with this matter on April 17, 2012.                they state no injury in fact. (Def.'s Am. Mot. Dismiss 1,
                                                                   Sept. 30, 2011, ECF No. 51). Under Article III, federal
Defendant C.R. Bard, Inc. filed a motion to dismiss on April       judicial power is restricted to cases and controversies. Sprint
                                                                   Commc'ns Co. v. APCC Servs., Inc., 554 U.S. 269, 273, 128
23, 2012 (ECF No. 55). 1 Plaintiff Irene Kirk Calo then filed
                                                                   S.Ct. 2531, 171 L.Ed.2d 424 (2008). The case-or-controversy
a motion to voluntarily dismiss her action, without prejudice,
                                                                   requirement means that Plaintiff must establish standing.
on May 21, 2012 (ECF No. 58), which this Court granted
                                                                   Id. Without standing, the federal court lacks subject matter
(ECF No. 58) pursuant to FED. R. CIV. P. 41(a)(2).
                                                                   jurisdiction and must dismiss the action. Common Cause
                                                                   of Pa. v. Pa., 558 F.3d 249, 257 (3d Cir.2009). Article III
1      Thereafter, Plaintiff Calo and C.R. Bard, Inc.              standing requires adequate establishment of: 1) an injury in
       stipulated to dismissal of Plaintiff's claims against       fact, 2) causation, and 3) redressability. Sprint Commc'ns,
       C.R.Bard, Inc. with prejudice on May 29, 2012.              554 U.S. at 273. An injury in fact involves a concrete
       Since Calo's motion for voluntary dismissal was             and particularized and actual or imminent, as opposed to
       granted on this day, this point is moot.                    conjectural or hypothetical, invasion of a legally protected
                                                                   interest. Id. (citing Lujan v. Defenders of Wildlife, 504 U.S.
   II. STANDARD OF REVIEW                                          555, 560–1, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992). The
In deciding a motion to dismiss, the District Court is “required   causation element of standing requires a connection between
to accept as true all factual allegations in the complaint and     the alleged injury in fact and the alleged conduct of the
draw all inferences in the facts alleged in the light most         Defendant. Id The redressable element means that it is likely,


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and not merely speculative, that the injury in fact would be
remedied by the relief sought. Id.                                      B. Count I: Violation of the New Jersey Consumer
                                                                        Fraud Act (“NJCFA”)
 *3 Defendants, in their motion to dismiss, explain how              Plaintiffs argue that their NJCFA claims are distinct and
Plaintiffs fail to adequately establish the injury in fact element   sustainable based on an economic injury theory, given
of standing:                                                         they paid a premium for a product based on Defendants'
                                                                     misrepresentations. See Id. at 9; see also Medley v. Johnson
  In the instant matter, [P]laintiffs summarily allege that          & Johnson Consumer Cos., Inc., No. 10–cv–2291, 2011 WL
  they “will incur costs to repair the damages caused by             159674, at *2 n. 2 (D.N.J. Jan.18, 2011) (DMC). Plaintiffs
  [D]efendants' unlawful activity” [ (Pl.'s Compl. ¶¶ 55 and         will not establish the elements required by the NJCFA based
  64) (emphasis omitted) ] without any indication of when            on the fact that their allegations are “founded in the principals
  or why such costs might be incurred, and while explicitly          of economic inequities, not tort ...” (Pl.'s Opp'n 5). A claim
  excluding any allegations of personal injury, either present       under the NJCFA requires proof of: 1) an unlawful practice
  or future. [ (Pl.'s Compl. ¶ 10) ] ... Plaintiffs have not         as defined under the Act; 2) ascertainable loss of moneys or
  alleged present, manifest or even imminent damages, or             property; and 3) a causal relationship between Defendant's
  any adverse consequences whatsoever. The allegations               unlawful conduct and Plaintiff's ascertainable loss. N.J.S.A.
  are purely subjective and hypothetical. (Def.'s Am. Mot.           56:8–19 (1998).
  Dismiss 7).
                                                                      *4 Plaintiffs state that Defendants' business practice of
Plaintiffs counter that the injury in fact is the cost of buying a   marketing, advertising and promoting counterfeit surgical
product that they would not have bought, had facts that arose        mesh is “false, misleading, inaccurate and deceptive.” (Pl.'s
later been apparent at the time when they could have made a          Compl. ¶ 58). However, Plaintiffs oppose Defendants' motion
choice. (Pl.'s Opp'n 10, Mar. 28, 2011, ECF No. 37). In the          to dismiss with argument that focuses almost exclusively
same vein, Plaintiffs argue that they received something other       upon the heightened pleading requirement Defendants'
than what was bargained for. Id.                                     suggest, and not at all upon the supplemental evidence that
                                                                     would buttress Plaintiff's otherwise conclusory claims. The
Defendants supply strong argument showing that Plaintiffs            NJCFA requires an unlawful practice such as an affirmative
fail to adequately establish that the instant scenario               act, a knowing omission or a regulatory violation. Parker v.
demonstrates injury in fact. On the spectrum of proof relevant       Howmedica Osteonics Corp., 2008 WL 141628, *2 (D.N.J.
to injury in fact, Plaintiffs' case presents more of an “abstract”   Jan.14, 2008) (citation omitted). Plaintiffs did not specifically
notion of injury, rather than a harm that is “distinct and           allege any conduct that tends to amount to an “unlawful
palpable.” See Whitmore v. Arkansas, 495 U.S. 149, 155, 110          practice” under the NJCFA.
S.Ct. 1717, 109 L.Ed.2d 135 (1990) (citing Warth v. Seldin,
422 U.S. 490, 501, 95 S.Ct. 2197, 45 L.Ed.2d 343; and O'Shea         Otherwise fatal to Plaintiffs' claim is the failure of proof
v. Littleton, 414 U.S. 488, 494, 94 S.Ct. 669, 38 L.Ed.2d 674        problem with the contention that they never received the
(1974)). Indeed, it can be assumed from the complaint that           benefit of the bargain or “paid for a product that was of no
Plaintiffs might not have even discovered that “counterfeit          value.” (Pl.'s Compl. ¶ 63). Such allegations do not satisfy
mesh” was implanted without the letter from LMC describing           the NJCFA's “ascertainable loss” requirement, without more.
the situation as such. Though Plaintiffs cleverly oscillate          Though the “counterfeit surgical mesh” has a price tag, the
between contract and tort theories in an attempt to show that        “no value” concept of it, considering Plaintiffs do not assert
a harm amounts to “injury in fact” as envisioned under the           any physical injury or otherwise, is abstract. Plaintiffs do not
standards for Article III standing, their arguments fall short       provide specific proofs of harm to support, or upon which
of concrete proof.                                                   this Court could infer a quantifiable loss. Thiedemann v.
                                                                     Mercedes–Benz USA, LLC, 183 N.J. 234, 252, 872 A.2d
Thus, this Court lacks subject matter jurisdiction over              783 (2005); see also, Parker v. Howmedica Osteonics Corp.,
Plaintiffs claim and must dismiss. Though no further analysis        2008 WL 141628, at *3 (D.N.J. Jan.14, 2008). Stating the
is required due to the lack of subject matter jurisdiction, this     expectation of a future loss, similarly fails to meet the
Court will engage in a brief analysis of each Count of the           requirement of the CFA, because it is too speculative. Id. This
Complaint.                                                           insurmountable problem is the same as that which precluded



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                                                                        approved, (4) indicated for surgical use or otherwise. Rather,
Plaintiff from establishing injury in fact tor standing purposes.
                                                                        Plaintiffs frame their claims upon assumptions of promise
Plaintiffs fail to state a claim under the NJCFA.
                                                                        and information that the surgical mesh used was counterfeit.
                                                                        Establishing an express warranty requires more substantial
    C. Count II: Unjust Enrichment and Common Law                       proof. Indeed, the Third Circuit held that breach of an express
    Restitution                                                         warranty sounds in breach of contract and, as such, Plaintiffs'
Plaintiffs may not sidestep Article III standing requirements           claim foils for reasons similar to those described in the prior
by basing their claim in contract theory. Plaintiffs allege that        section. Pritchard v. Liggett & Myers Tobacco Co., 350 F.2d
they would not have purchased the product if it was not                 479, 484 (3d Cir.1965). This Court will not assume, even
sterile, Bard-manufactured, FDA approved or indicated for               considering LMC's concession that the mesh was counterfeit,
surgical use. As such, Plaintiffs contend Defendants were               that these four expressions were specifically made and relied
unjustly enriched by their purchase and that they are therefore         upon. Such a lack of specificity does not comport with the
entitled to restitution. The parties point to a matter previously       nature of the theories supporting consumer reliance upon an
before this Court, Koronthaly v. L'Oreal USA, Inc., No. 07–             express warranty.
cv–5588, 2008 WL 2938045 (D.N.J. July 29, 2008), aff'd,
374 Fed.Appx. 257 (3d Cir.2010) (Plaintiff asserted lipstick
                                                                           E. Counts IV and V: Breach of Implied Warranty of
products contained lead in far greater amounts than permitted
                                                                           Merchantability and Fitness for a Particular Purpose
in candy by the FDA). The Third Circuit reviewed a similar
                                                                        Defendants convince this Court that, standing alone, the
issue of whether a consumer could recover on the basis that
                                                                        counterfeit nature of the surgical mesh “does not demonstrate
she did not know what she was getting or would not have
                                                                        that [Plaintiffs] or others could not use the product
purchased the product had she known certain details about
                                                                        safely.” (Pl.'s Opp'n 27). Plaintiffs do not supply any
it. Koronthaly, 374 Fed.Appx. at 258. In a short opinion, the
                                                                        supporting facts, other than the counterfeit designation of
Court held that the purchases were not made pursuant to a
                                                                        the mesh, rendering the product valueless or unfit. Finally,
contract and therefore Plaintiff had failed to prove that that
                                                                        Plaintiffs fail to assert any injury, and in fact disclaim any
which would have precluded her from buying the product
                                                                        physical harm, resulting from the product. Plaintiffs again
had formed part of the basis of any bargain. Id. at 259.
                                                                        rely on the abstract concept of the mesh's “zero value”
Plaintiff's claim failed because she did not demonstrate a
                                                                        without proving specifically how the product failed. Plaintiffs
concrete injury in fact, and it could not otherwise be sustained
                                                                        further tail to show that the product is generally or otherwise
by artful pleading dependent upon contract theory. Id. Despite
                                                                        unfit for the ordinary purpose which it was used. Rather,
Plaintiffs' contentions that this case is distinguishable from
                                                                        Plaintiffs declare that the surgical mesh continues to work for
Koronthaly, the fact that Plaintiffs did not actually received
                                                                        the purpose for which it was designed, to this day, despite
the product they intended to purchase and paid for, does not
                                                                        any misrepresentations or omissions regarding the brand or
affect Plaintiffs' failing contract claims. Rather, the Third
                                                                        otherwise. Plaintiffs can sustain neither a claim of breach
Circuit guides that the focus is upon the harm, or in this case,
                                                                        of implied warranty of merchantability nor fitness for a
the lack thereof, rather than the buyer's expectation.
                                                                        particular purpose.

   D. Count III: Breach of Express Warranty
                                                                        IV. CONCLUSION
 *5 Plaintiffs fail to demonstrate specifically that they relied
                                                                        For the foregoing reasons, this Court hereby grants
upon labeling or other expressions of promise that could have
                                                                        Defendants' motion to dismiss Plaintiff's complaint. An
formed the “basis of the bargain.” Plaintiffs frame their breach
                                                                        appropriate order, filed on this day, follows this opinion.
of express warranty claim almost identically to their breach
of implied warranty claims. In other words, Plaintiffs submit
no specific proof of promises that were expressed, whether              All Citations
they amounted to, as Plaintiffs suggest, assertions that the
product was (1) Bard-manufactured, (2) sterile, (3) FDA                 Not Reported in F.Supp.2d, 2012 WL 1964452

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                                                                         DENNIS M. CAVANAUGH, District Judge.
     KeyCite Red Flag - Severe Negative Treatment
On Reconsideration Boyd v. Johnson & Johnson Consumer Companies, Inc.,    *1 This matter comes before the Court upon motion
D.N.J., August 2, 2010                                                   by Johnson & Johnson Consumer Companies, Inc.
                   2010 WL 2265317                                       (“Defendant”) to dismiss the Amended Class Action
     Only the Westlaw citation is currently available.                   Complaint (“Complaint”) of Jaimee Boyd and Jessica
               NOT FOR PUBLICATION                                       Pollock, individually and on behalf of all others similarly
      United States District Court, D. New Jersey.                       situated, (“Plaintiffs”) for failure to state a claim pursuant
                                                                         to Fed.R.Civ.P. 12(b)(6) and for lack of subject matter
  Jaimee BOYD and Jessica Pollock, individually and                      jurisdiction pursuant to Fed. R. Civ. 12(b)(1). Pursuant
  on behalf of all others similarly situated, Plaintiffs,                to Fed.R.Civ.P. 78, no oral argument was heard. After
                            v.                                           considering the submissions of all parties, it is the decision of
       JOHNSON & JOHNSON CONSUMER                                        this Court for the reasons herein expressed that Defendant's
           COMPANIES, INC., Defendant.                                   motion to dismiss is granted in part and denied in part.

         Civil Action No. 09–CV–3135 (DMC–MF).
                             |                                           I BACKGROUND
                       May 31, 2010.                                     The Amended Complaint is brought individually and on
                                                                         behalf of all class purchasers (“Class Members”) of J & J's
                                                                         Baby Shampoo and/or Aveeno Baby Wash and Shampoo
 West KeySummary                                                         (“products”). (Plaintiffs' Complaint (“Pl.Compl.”), ¶ 1).
                                                                         Plaintiffs allege that “although Defendant represented that
 1       Sales        Nature of Good or Product                          the products it made, marketed, distributed, promoted and
                                                                         sold were safe for children, its Children's Personal Care
         Consumer of baby wash and shampoo lacked
                                                                         Products were actually contaminated with toxic chemicals
         standing and therefore failed to state a breach of
                                                                         linked to increased cancer risk, adverse skin reactions, and
         implied warranty claim against the manufacturer.
                                                                         other serious health problems.” (Pl.Compl., ¶ 2). Plaintiffs
         Consumer argued that she suffered economic
                                                                         further allege that despite representations made by Defendant
         injury in purchasing the allegedly contaminated
                                                                         that their products are safe and gentle, these products contain
         product, sufficient to confer standing. However,
                                                                         contaminants that are not disclosed on the label and that could
         the products consumer purchased did not contain
                                                                         otherwise have been removed, or at least reduced, pursuant to
         chemicals explicitly banned by the Food and
                                                                         a process called vacuum stripping. (Pl.Compl., ¶¶ 2, 5).
         Drug Administration (FDA) for use in cosmetics.
         Fed.Rules Civ.Proc.Rule 12(b)(1), 28 U.S.C.A.
                                                                         Plaintiffs assert that independent lab tests, conducted
         1 Cases that cite this headnote                                 in accordance with regulations promulgated by the
                                                                         Environmental Protection Agency (“EPA”), reveal that J &
                                                                         J's Baby Shampoo contains methylene chloride in levels as
                                                                         high as 1.1 ppm, 1,4 dioxane levels as high as 38 ppm, and
                                                                         formaldehyde levels as high as 210 ppm. (Pl.Compl., ¶¶ 3,
Attorneys and Law Firms
                                                                         44). “After testing, [J & J's] Aveeno Baby Wash and Shampoo
Scott M. Lempert, Sandals & Associates, P.C., Philadelphia,              was found to be contaminated with 1,4–dioxane. Independent
PA, for Plaintiffs.                                                      Lab Tests found 1,4–dioxane levels of 13 ppm.” (Pl.Compl.,
                                                                         ¶ 54). Plaintiffs also assert that each of the foregoing qualifies
Daniel B. Carroll, Drinker, Biddle & Reath, LLP, Florham                 as a cosmetic pursuant to the Food Drug and Cosmetic Act
Park, NJ, for Defendant.                                                 because each is “intended to be rubbed, poured, sprinkled,
                                                                         or sprayed on, introduced into, or otherwise applied to the
                                                                         human body or any part thereof for cleansing, beautifying,
                            OPINION                                      promoting attractiveness, or altering the appearance” and is




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not “soap.”     21 U.S.C. § 321(i) (2008). (Pl.Compl., ¶¶ 48,
58).                                                                   B. Fed.R.Civ.P. 12(b)(1)
                                                                     “On a Rule 12(b)(1) motion, no presumption of truthfulness
Count I of the Complaint asserts a claim for breach of implied
warranty pursuant to the Uniform Commercial Code (“UCC”)             attaches to the allegations of the plaintiff.”   CNA v. United
§ 2–314. (Pl.Compl.¶ 83). Count II of the Complaint asserts          States, 535 F.3d 132, 139 (3d Cir.2008). A facial attack
a claim for breach of implied warranties of merchantability          “concerns ‘an alleged pleading deficiency’ whereas a factual
and fitness for a particular use. (Pl.Compl., ¶ 90). Count III of    attack concerns the actual failure of [a plaintiff's] claims to
the Complaint asserts a claim for unfair and deceptive trade         comport [factually] with the jurisdictional prerequisites.” Id.
practices. (Pl. Compl ., ¶ 95). Count IV of the Complaint            (citing U.S. ex rel. Atkinson v. Pa. Shipbuilding Co.,, 473 F.3d
asserts a claim for unjust enrichment. (Pl.Compl., ¶ 103).           506, 514 (3d Cir.2007)).



II. STANDARD OF REVIEW                                               III. DISCUSSION
 *2 “There is a fundamental difference of review under
                                                                        A. Standing
Rule 12(b) (1), where the existence of disputed facts will
                                                                     To bring a suit in a federal court, Plaintiffs must have standing
not preclude the court from evaluating the merits of the
                                                                     pursuant to Article III of the United States Constitution. To
jurisdictional claim, and Rule 12(b)(6) where the court is
                                                                     establish standing under Article III, Plaintiffs must show: (1)
required to accept as true all the allegations of the complaint
                                                                     injury in fact; (2) causation; and (3) redressability. Horvath
and all inferences arising from them.”        Anjelino v. New
                                                                     v. Keystone Health Plan E., Inc., 333 F.3d 450, 455 (3d
York, 200 F.3d 73, 87 (3d Cir.1999). “[T]he threshold to
withstand a motion to dismiss under [Rule] 12(b)(1) is thus          Cir.2003);   Lujan v. Defenders of Wildlife, 504 U.S. 555,
lower than that required to withstand a Rule 12(b)(6) motion.”       560–61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992).

   Kehr Packages Inc. v. Fidelcor, Inc., 926 F.2d 1406, 1409
(3d Cir.1991)).
                                                                                  First, the plaintiff must have suffered
                                                                                  an injury in fact—an invasion of a
   A. Fed.R.Civ.P. 12(b)(6)                                                       legally protected interest which is (a)
“The [d]istrict [c]ourt, in deciding a motion under                               concrete and particularized; and (b)
Fed.R.Civ.P. 12(b)(6), [is] required to accept as true all                        actual or imminent, not conjectural
factual allegations in the complaint and draw all inferences                      or hypothetical. Second, there must
in the facts alleged in the light most favorable to the                           be a causal connection between the
                                                                                  injury and the conduct complained
[Plaintiff].”    Phillips v. County of Allegheny, 515 F.3d 224,
                                                                                  of—the injury has to be fairly ...
228 (3d Cir.2008). “While a complaint attacked by a Rule
                                                                                  trace[able] to the challenged action of
12(b)(6) motion to dismiss does not need detailed factual
                                                                                  the defendant, and not ... th[e] result
allegations, [ ] a plaintiff's obligation to provide the ‘grounds'
                                                                                  [of] the independent action of some
of his ‘entitle[ment] to relief requires more than labels and
                                                                                  third party not before the court. Third,
conclusions, and a formulaic recitation of the elements of a
                                                                                  it must be likely, as opposed to merely
cause of action will not do.”   Bell Atl. Corp. v. Twombly,                       speculative, that the injury will be
550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).                        redressed by a favorable decision.
“[A court is] not bound to accept as true a legal conclusion
couched as a factual allegation.”       Papasan v. Allain, 478
U.S. 265, 286, 106 S.Ct. 2932, 92 L.Ed.2d 209 (1986).                *3 Id. (citing AT & T Communications of N.J., Inc.v. Verizon
“Factual allegations must be enough to raise a right to relief       N.J., Inc., 270 F.3d 162, 170 (3d Cir.2001)). “The injury must
above a speculative level, [ ] on the assumption that all factual    affect the plaintiff in a personal and individual way.”      Pitt
allegations in the complaint are true (even if doubtful in fact).”
                                                                     News v. Fisher, 215 F.3d 354 (3d Cir.2000);       Alston v.
   Bell, 550 U.S. at 555–56.                                         Countrywide Fin. Corp., 585 F.3d 753, 763 (3d Cir.2009).


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                                                                   constitute[d] a dangerous amount or [were] in some way
“[O]rdinarily, one may not claim standing .... to vindicate the    prohibited[,]” the present action involves methylene chloride,
constitutional rights of some third party.” Pitt, 215 at 362.      a substance banned by the FDA for use in cosmetics. 2008
“We apply this prudential rule against third party standing        U.S. Dist. LEXIS 86419, *11 (D.N.J. Oct. 24, 2008). Further,
even when the requirements of Article III have been met,           Plaintiffs contend that the EPA classifies the other chemicals
to ‘avoid deciding questions of broad social import ... [and]      at issue as probable carcinogens. Lastly, Plaintiffs assert that
to limit access to the federal courts to those litigants best      their claims should stand because Plaintiffs have at least
                                                                   raised an issue of fact with respect to whether the chemicals
suited to assert a particular claim.’ “ Id. (citing  Gladstone,
                                                                   contained in Defendant's products are dangerous in amount.
Realtors v. Village of Bellwood, 441 U.S. 91, 99–100, 99 S.Ct.
1601, 60 L.Ed.2d 66 (1979)). “[W]hen the asserted harm is a
                                                                    *4 The Koronthaly case involved the purchase of a lipstick
‘generalized grievance’ shared in substantially equal measure
                                                                   containing lead, the content of which was not subject to
by all or a large class of citizens, that harm alone normally
                                                                   FDA regulation. Id. at *2–3. However, the lead content of
does not warrant exercise of jurisdiction.” Berg v. Obama, 586
                                                                   the lipstick appeared dangerous when compared to the lead
F.3d 234, 239 (2009) (citing Warth v. Seldin, 422 U.S. 490,        content regulation imposed by the FDA on candy. Id. In
499, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975)). Furthermore,           the absence of an FDA regulation concerning lead content
“[t]he standing inquiry does not change in the context of a        in lipstick, or other legal prohibition, the plaintiff could
putative class action.... [S]tanding cannot be predicated on       not “seek a remedy for a harm that she ha[d] not actually
an injury which the plaintiff has not suffered, nor can it be      or allegedly suffered.” Moreover, this Court accorded great
acquired through the back door of a class action.” Koronthaly
                                                                   weight to the decision in        Williams v. Purdue Pharma
v. L'Oreal, 2008 U.S. Dist. LEXIS 59024, * 12 (D.N.J. July
                                                                   Co., 297 F.Supp.2d 171 (D.D.C.2003), concluding that the
25, 2008).
                                                                   “plaintiffs' allegation of an economic injury in a products
                                                                   liability action was insufficient to establish injury-in-fact”
Defendant contends that “Plaintiff[s'] failure to plead any
                                                                   because “without alleging that a product failed to perform as
manifest, present, non-speculative injury, and failure to
                                                                   advertised, a plaintiff has received the benefit of his bargain
allege that [the products] did not provide cleansing benefits”
                                                                   and has no basis to recover purchase costs.” Id. at *13–14.
requires the Court to conclude that Plaintiffs lack standing
                                                                   Therefore, the Williams Court “remarked that benefit of the
in the instant matter. In reliance upon this Court's decision
                                                                   bargain injury could not sustain a claim of injury in fact.” Id.
in Koronthaly, Defendant asserts that Plaintiffs' demand for
a refund of the purchase price as a consequence of exposure
                                                                   While the Court agrees that the assertion of an economic
to Defendant's products fails to establish an injury-in-fact
                                                                   injury is not an automatic bar to standing, Koronthaly
and therefore, is not sufficient to confer standing where the
                                                                   demonstrates that an exception has been recognized in the
alleged harm is no more than conjectural or hypothetical. As
                                                                   context of claims concerning defective products, absent a
a result, Defendant claims that the absence of a cognizable
                                                                   specific legal prohibition precluding particular ingredients or
injury and thereby standing in this matter requires dismissal
                                                                   usages. Insofar as Plaintiffs claims pertain to allegedly toxic
pursuant to Fed.R.Civ.P. 12(b)(1).
                                                                   chemicals that have not been banned by the FDA for use
                                                                   in cosmetics, including 1,4–dioxane and formaldehyde, in
In response, Plaintiffs contend that economic injury is
                                                                   accordance with Koronthaly, this Court concludes that any
sufficient to confer standing in this matter, relying upon
                                                                   potential injury is too remote, hypothetical and/or conjectural
   Clinton v. City of New York, 524 U.S. 417, 118 S.Ct.            to establish standing in this matter. However, insofar as
2091, 141 L.Ed.2d 393 (1998) and            Danvers Motor Co.      Plaintiffs' claims pertain to methylene chloride, a chemical
v. Ford Motor Co., 432 F.3d 286 (3d Cir.2005). Plaintiffs          explicitly banned for use by the FDA in any cosmetic,
contend that where the product contains undisclosed toxins         this Court declines to dismiss Plaintiffs' claims pursuant
and an ingredient banned by the FDA, the injury arises at          to Fed.R.Civ.P. 12(b)(1) for lack of standing. As alleged,
the time of purchase. In distinguishing the Koronthaly v.          Plaintiff Boyd only purchased J & J's Baby Shampoo,
L'Oreal case, citing to this Court's disposition on a motion for   which contains methylene chloride, (Pl.Compl., ¶¶ 8, 44)
reconsideration, Plaintiffs assert that unlike Koronthaly where    and Plaintiff Pollack only purchased Aveeno Baby Wash
this Court determined that plaintiff “provided no authoritative    and Shampoo, which does not contain methylene chloride.
evidence that the lead levels in defendants' lipstick products     (Pl.Compl., ¶¶ 9, 54) At this stage, only Plaintiff Boyd is


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permitted to proceed with respect to her claims concerning             to this diversity action. Therefore, the parties assert that no
J & J's Baby Shampoo. Any claims pertaining to Plaintiff               conflict of laws issue is present in the instant matter.
Pollack's use of Aveeno Baby Wash and Shampoo are
dismissed in their entirety.
                                                                          1. New Jersey State Law Breach of Warranty, Consumer
                                                                          Fraud and Unjust Enrichment Claims
  B. Choice of Law                                                     Defendant asserts that dismissal is required with respect
As a federal district court sitting in diversity, this Court           to all Plaintiffs' claims because the claims are based on
must apply the choice of law rules of New Jersey, the forum            alleged harm caused by a product and as a consequence,
                                                                       are subsumed by the New Jersey Product Liability Act
state. See    Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S.
                                                                       (“PLA”). Plaintiffs argue that the PLA does not subsume
487, 496–97, 61 S.Ct. 1020, 85 L.Ed. 1477 (1941). New
                                                                       Plaintiffs' UCC or consumer protection claims because
Jersey's choice of law rules mandate that the determinative
                                                                       Plaintiffs neither assert themselves as “claimants” nor allege
law is that of the state with the greatest interest in governing
                                                                       present or future physical injuries as a consequence of
the particular issue. The first step is to determine whether
                                                                       Defendant's products. Plaintiffs further allege that the heart
a conflict exists between the law of interested states, and
                                                                       of the present matter is the economic harm caused by
then any conflict shall be determined on an issue-byissue
                                                                       Defendant's misrepresentations, omissions and breaches of
basis. “Under general conflict of laws principles, where the
                                                                       warranty. Additionally, Plaintiffs contend that the instant
laws of the two jurisdictions would produce the same result
                                                                       matter does not present a risk of double recovery, and that the
on the particular issue presented, there is a ‘false conflict,’
                                                                       claims asserted do not constitute a failure to warn cause of
and the court should avoid the choice-of-law question.”
                                                                       action pursuant to the PLA.
    Williams v. Stone, 109 F.3d 890, 894 (3d Cir.1997). If there
is a conflict, then the court must identify the governmental           The New Jersey Supreme Court decision in Sinclair v.
policies underlying the law of each state and how those                Merck & Co . is instructive. In Sinclair v. Merck & Co.,
policies are affected by each state's contacts to the litigation. If   the Plaintiffs “alleged that as a result of their direct and
the state's law is not related to its contacts with the litigation,    prolonged consumption of Vioxx, they are at enhanced
then the state does not have an interest in having its law             risk of serious undiagnosed and unrecognized myocardial
applied to the underlying issue. See      Vezey v. Doremus,            infarction, commonly referred to as ‘silent heart attack,’ and
103 N.J. 244, 510 A.2d 1187, 1189 (N.J.1986). That is, if              other latent and unrecognized injuries.”     195 N.J. 51, 55,
there is an actual conflict between the two states' laws, the          948 A.2d 587 (2008). In that case, the plaintiffs asserted
court then determines “which state has the most meaningful             claims for negligence, violation of the Product Liability Act,
connections with and interests in the transaction and the              violation of the Consumer Fraud Act, breach of express and
parties.” Spence–Parker v. Del. Riv. & Bay Authority, 2009             implied warranties and unjust enrichment. Id. In dismissing
U.S. Dist. LEXIS 75187, *20 (D.N.J. Aug. 21, 2009). Where              the complaint in its entirety, New Jersey Supreme Court
no actual conflict of law exists, no choice of law need be             determined the following,
made. See Zavala v. Wal–Mart Stores, Inc., 393 F.Supp.2d
                                                                         [p]laintiffs seek to avoid the requirements of the PLA
295, 333 (D.N.J.2005). “If there is no actual conflict, the
                                                                         by asserting their claims as CFA claims. However, the
court must apply the law of New Jersey.” LNT Merck Co. v.
                                                                         Legislature expressly provided in the PLA that claims for
Dyson, Inc., 2009 U.S. Dist. LEXIS 62308, *6 (D.N.J. July
                                                                         “harm caused by a product” are governed by the PLA
21, 2009) (citing        Lebegern v. Forman, 471 F.3d 424,               “irrespective of the theory underlying the claim.” N.J.S.A.
428 (3d Cir.2006)). In that instance, a motion to dismiss under          2A:58C–1b(3). We explained in Lead Paint, supra, that
Fed.R.Civ.P. 12(b) (6) should be decided under New Jersey                “[t]he language chosen by the Legislature in enacting
law. See Gallerstein v. Berkshire Life Ins. Co. of America,              the PLA is both expansive and inclusive, encompassing
2006 U.S. Dist. LEXIS 64487, *3 (D.N.J. Sept. 11, 2006).                 virtually all possible causes of action in relating to harms
                                                                         caused by consumer and other products.”         191 N.J. at
 *5 The parties' moving papers recognize that the outcome
                                                                         436–37, 924 A.2d 484. As a result, we declared that “[i]n
is the same regardless of whether New Jersey State Law,
                                                                         light of the clear intention of our Legislature to include
Colorado State Law, or Pennsylvania State Law is applied
                                                                         all [product liability] claims within the scope of the PLA,



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  we find no ground on which to conclude that the claims
  being raised by plaintiffs, regarding an ordinary household
  product used by consumers, were excluded from the scope                       (a) physical damage to property, other
  of” the PLA. We reach the same conclusion here.                               than to the product itself; (b) personal
                                                                                physical illness, injury or death; (c)
  The language of the PLA represents a clear legislative
                                                                                pain and suffering, mental anguish
  intent that, despite the broad reach we give to the CFA, the
                                                                                or emotional harm; and (d) any loss
  PLA is paramount when the underlying claim is one for
                                                                                of consortium or services or other
  harm caused by a product. The heart of plaintiffs' case is the
                                                                                loss deriving from any type of harm
  potential for harm caused by Merck's drug. It is obviously
                                                                                described in subparagraphs (a) through
  a product liability claim. Plaintiffs' CFA claim does not
                                                                                (c) of this paragraph.
  fall within an exception to the PLA, but rather clearly falls
  within its scope. Consequently, plaintiffs may not maintain
  a CFA claim.
                                                                   N.J.S.A. 2A:58C–1b(2). Harm, for purposes of the PLA,
*6 Id. 1 2                                                         does not include pure economic loss. Insofar as Plaintiffs
                                                                   concede that their injury is purely economic, Plaintiffs' claims
Similarly, at the heart of this matter is the potential for harm   cannot survive. Therefore, with respect to New Jersey law, in
caused by the defective products, J & J Baby Shampoo and/          accordance with Sinclair, Plaintiffs' Complaint is dismissed
or Aveeno Baby Shampoo and Wash, containing allegedly              in its entirety.
“toxic chemicals linked to increased cancer risk, adverse skin
reactions, and other serious health problems.” (Compl., ¶
                                                                      2. Colorado State Law Breach of Warranty, Consumer
2). Further, Plaintiffs allege that the products were rendered
                                                                      Fraud and Unjust Enrichment
useless “because they were contaminated with dangerous and
                                                                   Despite the parties' respective beliefs that there is no conflict
potentially cancer-causing chemicals and continued use of
                                                                   of law issue present in the instant matter, it is not clear to
the products would require Plaintiffs and Class Members
                                                                   the Court that product liability laws of Colorado subsume
to knowingly continue and even increase the exposure
of their vulnerable infants and children to the harmful            related claims in the same manner as the New Jersey PLA 3 .
contaminants.” (Compl., ¶ 2).                                      Therefore, upon dismissal of all New Jersey State Law claims
                                                                   and for purposes of inclusion, the Court will proceed by
                                                                   addressing the viability of Plaintiffs' claims under Colorado
Consistent with the Sinclair decision, this Court concludes
                                                                   State Law. If Plaintiff Boyd has asserted viable claims
that the PLA subsumes all of Plaintiffs' claims, effectively
                                                                   pursuant to Colorado State Law, then a conflict of law exists
precluding Plaintiffs' claims with respect to the CFA, and
                                                                   and the Court will undertake to ascertain which state has the
otherwise, in the absence of “harm” as defined by the PLA.
                                                                   superior interest in the litigation.
The Court does not agree that articulating a claim in terms
of pure economic harm where the core issue is the potential
injury arising as a consequence of the products' allegedly            i. Consumer Fraud
harmful chemicals converts the underlying defective product         *7 Defendant contends that Plaintiffs have no viable claims
claim into an independent and unrelated consumer fraud             pursuant to Colorado State Laws because Plaintiffs fail to
issue. Indeed, Plaintiffs' original Complaint contains a cause     allege any non-speculative, ascertainable loss and fail to plead
of action for products liability strategically omitted from the    their claims with particularity in accordance with Fed.R.Civ.P.
amended Complaint. Limiting a claim to economic injury and         9(b). Plaintiff Boyd claims that “ascertainable loss is not a
the remedy sought to economic loss cannot be used to obviate       distinct element under [the Colorado Consumer Protection
the PLA.                                                           Act (“CCPA”) ], and [pursuant to Colorado State Law], the
                                                                   Court may look to its analysis of other states' laws.” (Pl. Br. at
The assertion of a claim pursuant to the PLA is premised upon      33). Plaintiff also alleges that she suffered “ascertainable loss
a requisite level of harm, including:                              to the extent [she] paid for a product and got something less
                                                                   than what was promised.” (Pl. Br. at 28).




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“[A] CCPA claim arises when a party knowingly makes                in Colorado and presumably, the purchase of the allegedly
a misrepresentation or makes a false representation that           defective product occurred in Colorado. J & J is a New Jersey
                                                                   corporation engaged in business throughout the United States,
has the capacity to deceive.”      Rhino Listings USA, Inc.
                                                                   including Colorado. Therefore, Colorado State contacts in the
v. Rocky Mountain Rhino Listings, Inc., 62 P.2d 142, 148
                                                                   instant matter seem to outweigh New Jersey State contacts.
(Colo.2003). The CCPA “deters and punishes businesses
                                                                   Colorado State Law prevails with respect to this issue.
which commit deceptive practices in their dealings with
the public by providing prompt, economical, and readily
available remedies against consumer fraud.” Id. at 146. To            ii. Breach of Implied Warranty
prove a private cause of action under COLO. STAT. ANN..             *8 Defendant asserts that Plaintiffs' breach of implied
§ 6–1–113, a plaintiff must show: (1) that the defendant           warranty claims should be dismissed because Plaintiffs'
engaged in an unfair or deceptive trade practice; (2) that         Complaint fails to allege that the products were not
the challenged practice occurred in the course of defendant's      merchantable or failed to perform the function for which
business, vocation, or occupation; (3) that it significantly       they were sold, and because the complaint fails to allege
impacts the public as actual or potential consumers of the         any purpose that is separate and apart from the ordinary
defendant's goods, services, or property; (4) that the plaintiff   purpose. (Def. Br. at 33–34). Plaintiffs' Complaint asserts a
suffered injury in fact to a legally protected interest; and       claim for breach of implied warranties because the goods
(5) that the challenged practice caused the plaintiff's injury.”   were allegedly not fit for their ordinary purpose or particular
  Hall v. Walter, 969 P.2d 224, 234 (Colo.1998). “The              use on children and further, because the products fail to
CCPA is silent as to specific injuries for which it intends        conform to the promises and representations made on the
                                                                   labels. Specifically, Plaintiffs allege that the products are not
to provide a remedy.”      Id. at 236 See also      Crowne v.
                                                                   merchantable because they are contaminated with methylene
Tull, 126 P.3d 196, 209 (Colo.2006). “[The CCPA's] focus
                                                                   chloride. (Pl. Br. at 35–36).
lies with defining prohibited actions that are likely to injure
the public and specifying civil penalties and private remedies
                                                                   “Colorado case law recognizes that [warranties of
available for these violations.”      Hall, 969 P.2d at 224.       merchantability and fitness for a particular purpose] may
“[I]n determining whether conduct falls within the purview         coexist when there is sufficient evidence to support the
of the CCPA, it should ordinarily be assumed that the CCPA
                                                                   creation of each warranty.”     Palmer v. A.H. Robins Co.,
applies to the conduct ... because of the strong and sweeping
                                                                   Inc., 684 P.2d 187, 209 (Colo.1984). “Under Colorado [State]
remedial purposes of the CCPA.” Showpiece Homes Corp.              [L]aw, a warranty of fitness for a particular purpose does
v. Assurance Co. of Am., 38 P.3d 47, 51 (Colo.2001). Given         not arise when a product is purchased for the ordinary
the CCPA's policy of providing a private action where a            purpose for which the device or product is to be used.”
defendant's conduct has a significant impact on the public,
                                                                      Hauck v. Michelin North Am., Inc., 343 F.Supp.2d 976
Plaintiff Boyd's claims pertaining to J & J Baby Shampoo may
proceed under Colorado State Law.                                  (D.Colo.2004) (citing       Weir v. Federal Insurance Co., 811
                                                                   F.2d 1387, 1393 (10th Cir.1987)). “To establish a prima
Although foreclosed by application of the PLA in the instant       facie case for breach of implied warranty for fitness for
case, the CFA was enacted to “protect the consumer against         a particular purpose, the plaintiff must show that: (1) the
imposition and loss as a result of fraud and fraudulent            defendant sold and impliedly warranted the product to be
practices by persons engaged in the sale of goods and              fit for a particular purpose; (2) the plaintiff was reasonably
                                                                   expected to use the product; (3) the product was not suitable
services.”   Smith v. Alza, 400 N.J.Super. 529, 552, 948
                                                                   for the purpose warranted; and (4) the breach was a cause
A.2d 686 (2008). “The CCPA was enacted to regulate
                                                                   of the plaintiff's injuries.” Simon v. Coppola, 876 P.2d 10
commercial activities and practices which, because of their
                                                                   (Colo.Ct.App.1993). “[W]arranties of merchantability, if all
nature, may prove injurious, offensive, or dangerous to the
                                                                   other statutory prerequisites have been met, arise in every
public.” Rhino Listings, 62 P.2d at 146 (citing  People ex
                                                                   contract for sale, unless properly excluded.”       Graham
rel. Dunbar v. Gym of America, Inc., 177 Colo. 97, 493 P.2d
                                                                   Hydraulic Power, Inc. v. Stewart & Stevenson Power, Inc., 797
660, 667 (Colo.1972)). Beyond the underlying governmental
                                                                   P.2d 835, 838 (Colo.Ct.App.1990).
purpose of the CCPA, Plaintiff Boyd in this action resides



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In order for goods to be merchantable, they must be at least           iii. Unjust Enrichment
as such as:                                                         Defendant asserts that unjust enrichment is not a proper
                                                                    remedy available in this case because Plaintiffs fail to
  (a) pass without objection in trade under the contract
                                                                    assert that the products failed to perform. By contrast,
  description; and
                                                                    Plaintiffs assert that they purchased the products conferring
  (b) in the case of fungible goods, are of fair average quality    a monetary benefit upon the Defendant for useless products
  within the description; and                                       that they would not otherwise have purchase, but for the
                                                                    representations that the products were safe, gentle and/or
  (c) are fit for the ordinary purposes for which such goods        mild. To sustain a claim for unjust enrichment under Colorado
  are used; and                                                     law, a plaintiff “must prove that: (1) the defendant received a
                                                                    benefit (2) at the plaintiff's expense (3) under circumstances
  (d) run, within the variations permitted by the agreement, of
                                                                    that would make it unjust for the defendant to retain
  even kind, quality, and quantity within each unit and among
                                                                    the benefit without commensurate compensation.” Lewis v.
  all units involved; and
                                                                    Lewis, 189 P.3d 1134, 1141 (Colo.2008). “Actions seeking
  (e) are adequately contained, packaged, and labeled as the        monetary damages are considered legal while actions seeking
  agreement may require; and                                        to invoke the coercive power of the court, such as those
                                                                    seeking injunctions or specific performance, are deemed
  (f) conform to the promises or affirmations of fact made on       equitable.” American Family Mut. Ins. Co. v. DeWitt, 218 P.3d
  the container or label if any.                                    318, 324 (Colo.2009) (citing Paterson v. McMahon, 99 P.3d

COLO. STAT. ANN.. § 4–2–314. Assuming, without                      594, 597–98 (Colo.2004)); see also   Salzman v. Bachrach,
concluding, that the descriptive messages on the alleged            996 P.2d 1263, 1265 (explaining restitution is an equitable
defective products constitute promises or affirmations, then,       remedy). Generally, equitable remedies are not available,
in accordance with the foregoing limitations, Plaintiff's claims    however, when there is a “plain, speedy, [and] adequate
for breach of implied warranties pursuant to Colorado State         remedy at law.”      Szaloczi v. John R. Behrmann Revocable
Law are permitted to proceed.                                       Trust, 90 P.3d 835, 842 (Colo.2004). “When plaintiffs have
                                                                    an adequate remedy at law for damages, [equitable remedies]
 *9 Although foreclosed by application of the PLA in                will not lie.” Mahoney Marketing Corp. v. Sentry Builders
the instant matter, the underlying purpose of the UCC               of Colorado, Inc., 697 P.2d 1139, 1140 (Colo.Ct.App.1985).
as recognized by the New Jersey Supreme Court, is                   Plaintiff explicitly and exclusively alleges economic injury.
“to simplify, clarify and modernize the law governing               Therefore, there is no indication that a remedy at law would
commercial transactions; to permit the continued expansion          be inadequate. To the extent that Plaintiff Boyd asserts a
of commercial practices through custom, usage and                   claim for unjust enrichment pursuant to Colorado State Law,
agreement of the parties; and to make uniform the law among         Plaintiff's Complaint is dismissed.
various jurisdictions.” N.J. S.A. 12A:1–102(1);          Alloway
v. General Marine Indus., L.P., 149 N.J. 620, 630, 695 A.2d
                                                                    IV. CONCLUSION
264 (1997). Codified under title 4 of Colorado State Law,
                                                                    For the foregoing reasons, Defendant's motion is granted in
Colorado State Law adheres to the same underlying purposes
                                                                    part and denied in part. Plaintiff's Complaint is partially
as New Jersey. See Proactive Tech., Inc. v. Denver Place
                                                                    dismissed without prejudice pursuant to Fed.R.Civ.P.
Assoc. Ltd. P'ship, 141 P.3d 959, 961 (Colo.Ct.App.2006).
                                                                    12(b)(1) and Fed.R.Civ.P. 12(b)(6). An appropriate Order
Similar to the foregoing analysis, Colorado's contacts with the
                                                                    accompanies this Opinion.
representative Plaintiff and the transactions that are the source
of Plaintiff Boyd's claims favor the application of Colorado
law over New Jersey with respect to this issue.                     All Citations

                                                                    Not Reported in F.Supp.2d, 2010 WL 2265317




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                                                  Footnotes


1     Although this Court permitted the CFA claims to proceed in Nafar v. Hollywood Tanning Sys., Inc., in that
      case, the Plaintiff's claims and basis for distinction of the CFA from the PLA was the purchase of services,
      rather than the purchase of a defective product. 2007 U.S. Dist. LEXIS 26312, *12–14 (D.N.J. Apr. 5, 2007).
      CFA claims rooted in services are clearly distinguishable from claims grounded in products. The present
      action does not involve a claim for defective services.
2     Further, In re Ford Motor Co. E–350 Van Products, 2008 U.S. Dist. LEXIS 73690, *48 n. 9 (D.N.J. Sept. 3,
      2008), where the Court found the Sinclair case “inapposite” “because, by design, the PLA ‘except[s] actions
      for harm caused by breach of an express warranty[,]’ which plaintiffs expressly allege [d.]” On the basis
      of an express warranty, the Court concluded that Sinclair decision “does not mandate dismissal of unjust
      enrichment and state consumer fraud claims where a party does not plead a PLA claim.” Id.(internal citations
      omitted). Plaintiffs do not assert a claim for breach of an express warranty in the present action.
3     The Court will not address the viability of Plaintiffs' claims pursuant to Pennsylvania law since Plaintiff
      Pollack's portion of the Complaint was dismissed for lack of standing.


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                                                                        Williams-Hayward. Williams-Hayward filed Counterclaims
                                                                        against both NSC and CPR, including a breach of contract
     KeyCite Yellow Flag - Negative Treatment                           claim in Count I against NSC. Before the Court is Williams-
Declined to Extend by Duncan Place Owners Association v. Danze, Inc.,
                                                                        Hayward's Motions for Summary Judgment as to all of CPR's
N.D.Ill., June 30, 2016
                                                                        claims in its Second Amended Complaint and all of NSC's
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                                                                        claims in its Second Amended Counterclaim. Williams-
                United States District Court,
                                                                        Hayward also moves for summary judgment against NSC
               N.D. Illinois, Eastern Division.
                                                                        on Count I of Williams-Hayward's Counterclaim. For the
     CANADIAN PACIFIC RAILWAY COMPANY, a                                following reasons, the Court grants in part and denies in part
 Canadian Corporation, Plaintiff, Counter-Defendant,                    Williams-Hayward's motions.
        NATIONAL STEEL CAR, LIMITED,
        a Canadian Corporation, Involuntary
            Plaintiff, Counter-Defendant,                                                     BACKGROUND
                          v.
                                                                        I. Northern District of Illinois Local Rules
       WILLIAMS-HAYWARD PROTECTIVE
                                                                        Northern District of Illinois Local Rule 56.1 governs the
     COATINGS, INC., an Illinois Corporation,                           admission of facts in this background section. Local Rule
            Defendant, Counter-Plaintiff.                               56.1(a)(3) requires the moving party to provide “a statement
                                                                        of material facts as to which the moving party contends
                          No. 02 C 8800.
                                                                        there is no genuine issue.” Local Rule 56.1(b)(3) requires the
                                 |
                                                                        non-moving party to admit or deny every factual statement
                          April 6, 2005.
                                                                        proffered by the moving party and to concisely designate any
Attorneys and Law Firms                                                 material facts that establish a genuine dispute for trial. If a
                                                                        responding party does not admit or deny each fact presented
Susan M. Humiston, Alison Crawford Archer, Leonard,                     by the movant, the movant's statement may be deemed as
Street and Deinard, Minneapolis, MN, David K. Schmitt,                  admitted. See Brasic v. Heinemann's Inc., 121 F.3d 281, 284
Margaret Anne Gisch, Elizabeth A. Eberspacher, Field &                  (7 th Cir.1997). If the responding party denies the movant's
Golan LLP, Chicago, IL, for Plaintiff.                                  facts, he must also provide citations to evidentiary material

Eric H. Jostock, Henry J. Jostock, P.C., David Alan Belofsky,           supporting the denial.     Smith v. Lamz, 321 F.3d 680, 683
Douglas Merrill Belofsky, Lance Russell Minor, Belofsky &               (7 th Cir.2003). With these standards in mind, the Court turns
Belofsky, P.C., Chicago, IL, for Defendant.                             to the relevant facts in this case.



          MEMORANDUM OPINION AND ORDER                                  II. Relevant Facts

ST. EVE, J.                                                                A. Parties and Individuals Involved
                                                                        CPR is a Canadian corporation that operates a Class I railroad
 *1 In its Second Amended Complaint, Plaintiff, Counter-                through the United States and Canada, and is headquartered
Defendant Canadian Pacific Railway Company (“CPR”)                      in Calgary, Alberta. (R. 282-1, Plaintiffs' Joint Statement of
alleges breach of express and implied warranties, unjust                Facts, ¶ 1; R. 250-1, Defendant's Statement of Facts, ¶ 3.)
enrichment, and promissory estoppel arising out of the                  NSC is a rail car manufacturer located in Hamilton, Ontario.
use of Defendant, Counter-Plaintiff Williams-Hayward                    (Pls' Stmt. ¶ 2; Def.'s Stmt. ¶ 2.) Williams-Hayward is an
Protective Coatings, Inc.'s (“Williams-Hayward”) High-                  Illinois corporation that manufactures paint. (Pls' Stmt. ¶ 4;
Rubber Thermalbond paint on its boxcars. In its Second                  Def.'s Stmt. ¶ 1.)
Amended Counterclaim, Involuntary Plaintiff, Counter-
Defendant National Steel Car, Ltd. (“NSC”) alleges breach               Wayne Kurcz is Williams-Hayward's Executive Vice
of express and implied warranties, unjust enrichment,                   President and is responsible for Williams-Hayward's internal
promissory estoppel, tortious interference with contract,               operations. (Id. ¶ 5.) Kurcz has a Masters Degree in chemistry
and fraudulent misrepresentation and concealment against                and has worked at Williams-Hayward since 1973. (Id.)


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William-Hayward's technical service staff includes Norman                       contract to freeze pricing for three to
Black, who also serves as Williams-Hayward's Director of                        four years, however, we understand
Canadian Operations. (Id. ¶ 6.) Prior to working at Williams-                   the problem you may face projecting
Hayward, Black worked for a company in the business                             future new car and repair business.
of constructing, repairing, and leasing rail cars and for                       We, therefore, will offer a one year
another company that is a coating supplier and competitor of                    contract renewable at the Canadian
Williams-Hayward. (Id. ¶ 7.)                                                    Pacific Railway's option. If we are
                                                                                able to stabilize pricing through the
 *2 Martin Quintal has served as CPR's sourcing manager                         time period then rebate values will
since 2002. (Def.'s Stmt. ¶ 17.) Between 1999 and 2002,                         remain the same. If not, then your
Quintal was CPR's senior sourcing specialist and from 1997                      office will be notified 90 days prior to
until 1999, Quintal was the purchasing manager for freight                      your renewal date.
cars. (Id.) As purchasing manager, Quintal handled new
freight car purchases, replenished freight car parts, and
supervised six subordinates. (Id. ¶ 19.) As senior sourcing        (Def.'s Stmt. ¶ 46; Def.'s Ex 4; Pls' Stmt. ¶ 15.)
specialist, Quintal continued to handle the purchasing of
freight cars and car parts. (Id. ¶ 20.) Quintal's duties as        Kurcz attached a proposed purchase agreement, including a
sourcing manager are similar to his responsibilities as a senior   rebate agreement signed by Kurcz on behalf of Williams-
sourcing specialist, except that he also supervises a sourcing     Hayward, to his August 30, 1999, letter. (Def.'s Stmt. ¶ 46;
specialist and two buyers. (Id. ¶ 21.)                             Def.'s Ex. 4.) The proposed rebate agreement contained a
                                                                   warranty provision that provided in pertinent part:
CPR has employed Charles Cheun since 1997 as a car
equipment engineer. (Id. ¶ 26.) From 1981 until 1997, Cheun
held the positions of quality system engineer, senior quality      PRO-RATED WARRANTY
assurance, manager of quality assurance, supervisor of quality
                                                                     All goods sold by WHPC are warranted to be free from
assurance, and assistant supervisor of quality assurance. (Id.)
                                                                     defects in material and workmanship pro-rated over the
Cheun has a Bachelors Degree in mechanical engineering and
                                                                     five (5) years on exterior, eight (8) years on the interior
a certificate of general management from the University of
                                                                     from the date of application of paint on the railroad unit
Calgary. (Id.)
                                                                     provided from the date the paint was shipped from WHPC.
                                                                     The foregoing warranty is in lieu and excludes all other
   B. Bi-Level Boxcar Build                                          warranties not expressly set forth herein, whether express
In 1999, Williams-Hayward and CPR had an initial meeting             or implied by operation of law or otherwise, including but
concerning a bi-level boxcar build at which Cheun, Quintal,          not limited to any implied warranties of merchantability or
and Kurcz discussed Kurcz's desire for CPR to specify                fitness....
Williams-Hayward's High-Rubber Thermalbond paint on a
                                                                         *3 THIS WARRANTY IS IN LIEU OF ALL
car build for bi-level auto racks that CPR was planning to
                                                                        WARRANTIES, OR MERCHANTABILITY, FITNESS
manufacture. (Pls' Stmt. ¶ 14; Def.'s Stmt. ¶ 44.) At the end
                                                                        FOR PURPOSE, OR OTHER WARRANTIES,
of the meeting, there was an understanding that Kurcz would
                                                                        EXPRESS OR IMPLIED, EXCEPT OF TITLE AND
contact Quintal about their discussions. (Pls' Stmt. ¶ 14.) On
                                                                        AGAINST PATENT INFRINGEMENT.
August 30, 1999, Kurcz sent a letter to Quintal stating:
                                                                     (Def.'s Stmt. ¶ 48; Def.'s Ex. 4.) In a letter dated September
                                                                     3, 1999, from Kurcz to Quintal, Kurcz provided prices for
             Based upon my discussions with                          various Williams-Hayward paints for the rail cars that CPR
             you     and     Mr.     Charles     N.P.                was contemplating building. (Def.'s Stmt. ¶ 53.) The letter
             Cheun, we are pleased to make                           contained no references to any warranties. (Id.)
             the following proposals. Williams-                    The parties do not dispute that Quintal never signed the
             Hayward Protective Coatings, Inc.'s                   proposed purchase agreement. (Pls' Stmt. ¶ 17; Def.'s Ex. 4.)
             ultimate goal is to develop a long-term               At his deposition, Quintal testified that he could not accept



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Kurcz's proposal on its terms because CPR could not give
Williams-Hayward all of its paint business. (Pls' Stmt. ¶ 17;
Pls' Ex. 6.) Instead, Quintal sent a letter to Kurcz on October                Thank you for you response of
1, 1999, which stated:
                                                                               October 1 st , and you are correct
                                                                               as to our agreement. As we
  Please refer to your proposals dated August 30 th and
                                                                               had discussed, Williams-Hayward
  September 3 rd , 1999, which includes [sic] rebates and                      Protective Coatings, Inc. is very
  prices for paint products related to our new freight car                     interested in demonstrating the value
  program. This letter will confirm CPR's desire to do                         of our waterborne products on
  business with Williams-Hayward Protective Coatings, Inc.                     your hopper fleet, also, and would
  (WHPC).                                                                      appreciate any assistance the Canadian
                                                                               Pacific Railway can give us to do
  As discussed, we will not be able to guarantee 90% of our
                                                                               so at your Canadian manufacturers.
  business to WHPC. I will however offer you our business
                                                                               Naturally, the rebates will apply as
  in year 2000 relative to new bi-level racks, using rebates
                                                                               stated in my earlier communique.
  offered by WHPC for these cars.

  The first confirmed project consists in 243 bi-level racks
  to be built by Thrall Manufacturing starting in January,        *4 (Def.'s Stmt. ¶ 57; Def.'s Ex. 7.)
  2000 (Job no. 99-0534). We have specified WHPC's
  Thermalbond paint in our car specifications to Thrall.          At his deposition, Quintal testified that he had telephone
                                                                  conversations and meetings with Kurcz concerning their
My understanding of your offer is that:                           projects after the bi-level boxcar build. (Pls' Ex. 6, Quintal
                                                                  Dep. at 100-01.) Kurcz and Quintal also discussed the rebates
  (1) a U.S. $1.00/U.S. Gal. rebate will be remitted to CPR       for the different car builds. (Id. at 101.) Although Williams-
  at the end of the program.                                      Hayward gave CPR rebates on several different projects, the
                                                                  parties dispute whether an agreement on a rebate applied to
  (2) WHPC will track volume of paint ordered by Thrall for
                                                                  the boxcar project at issue in this litigation. (Pls' Stmt. ¶ 24;
  this order and gallonage shipped will be faxed to me for my
                                                                  Def.'s Stmt. ¶¶ 74-78.) At his deposition, Kurcz testified that
  records. A monthly report of the rebate status will also be
                                                                  he believed that Quintal's October 1, 1999, letter “activated”
  faxed to this office.
                                                                  the warranty provisions in the initial 1999 rebate agreement
  (3) WHPC will perform unannounced audits at Thrall, at          and that the warranty provisions and disclaimers applied to all
  the minimum once, with copies of the audits sent to this        of the parties' subsequent projects. (Pls' Stmt. ¶ 24; Pl.'s Ex.
  office.                                                         1; Kurcz Dep. at 263-66.)

  (4) pro-rated warranty on this product is 5 years.
                                                                     C. Paper Boxcar Build
  Please confirm that my understanding is correct.                In 2000, CPR formed a project team to acquire a large
                                                                  number of boxcars. (Pls' Stmt. ¶ 35; Def.'s Stmt. ¶ 86.)
  As I might have hinted to you, CPR has other projects for       CPR management requested Cheun to draft the specifications
  2000 such as coal cars, boxcars and more bi-levels. If this     for the contemplated construction of three types of boxcars-
  initial project proves to be successful, I am prepared to       paper boxcars, pulp boxcars, and oriented strand board (OSB)
  maximize the business given to WHPC for those projects.         boxcars. (Pls' Stmt. ¶ 36; Def.'s Stmt. ¶ 106.) The boxcar team
  I will keep you posted.                                         concluded that CPR needed a new boxcar designed for the
                                                                  purpose of carrying paper rolls to expand capacity, reduce
(Def.'s Stmt. ¶ 54; Pls' Ex. 25.)
                                                                  damage to the paper rolls, and make it easier to load and
                                                                  unload the lading. (Def.'s Stmt. ¶ 99.) The paper boxcars were
In a letter dated October 4, 1999, Kurcz responded to Quintal's
                                                                  to carry rolled paper used to print newspapers. (Pls' Stmt. ¶
October 1, 1999, letter:
                                                                  37.)




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On July 18, 2000, CPR issued a Request for Quotation
(“RFQ”) for the construction of 1,000 boxcars to several           At his deposition, Quintal testified that he discussed the OSB
car builders in North America, including NSC. (Pls' Stmt. ¶        and paper car builds with Kurcz prior to CPR awarding
41.) The RFQ stated that CPR's objective was “to provide           the boxcar project to NSC. (Pls' Stmt. ¶ 46; Pls' Ex. 6,
CPR shippers with a high quality, state-of-the-art boxcar          Quintal Dep. at 158-59.) Cheun testified that both Kurcz and
that not only ensures damage free transportation, but also         Black had told him that other railways had used Williams-
accommodates 286,000 lbs loading.” (Def.'s Stmt. ¶ 127.)           Hayward paint in boxcar and paper service. (Pls' Stmt.
CPR received bids from several manufacturers and in                ¶ 48; Pls' Ex. 5, Cheun Dep. at 283-84.) Before NSC
December 2000, CPR verbally awarded NSC the contract to            commenced construction of the boxcar order, Kurcz gave
manufacture the boxcar order. (Pls' Stmt. ¶ 42; Def.'s Stmt. ¶     NSC a Power Point presentation on Williams-Hayward's
146.) On June 21, 2001, NSC and CPR entered into a written         waterborne coating systems. (Pls' Stmt. ¶ 64.)
purchase agreement for NSC's construction of the OSB and
paper boxcars. (Pls' Stmt. ¶ 45, Def.'s Stmt. ¶ 147.)              On at least five occasions, NSC performed trial applications
                                                                   of Williams-Hayward's paint at which Black attended. (Id.
Prior to awarding NSC the contract, Hugh Nicholson of              ¶ 77.) Some, but not all of these trial applications involved
NSC emailed Quintal and Cheun about CPR's approved                 the use of High-Rubber Thermalbond. (Id.) None of these
listing of suppliers for waterborne paints. (Def.'s Stmt. ¶¶       trial applications were performed on boxcars. (Id.) At his
148-150; Def.'s Ex. 263.) Cheun responded to Nicholson             deposition, Black testified that the main purpose of the trial
indicating that they had three approved suppliers-Sigma,           applications was to go over the “do's and don't's” for using
Williams-Hayward, and Davis Frost. (Def's Stmt. ¶ 150; Pls'        waterborne as opposed to solvent-based paints, educate the
Stmt. ¶ 52.) On July 20, 2000, Nicholson emailed Cheun             painters, and remind them to use the correct techniques. (Id.
stating that it was NSC's intention to quote Williams-Hayward      ¶ 78.) Black also attended the trial applications to answer
Thermalbond Acrylic TER Polymer paint. (Def.'s Stmt. ¶             questions and oversee the application of the paint. (Id.)
151; Def.'s Ex. 398.) On July 21, 2000, Cheun emailed
Norman Black, Williams-Hayward's Director of Canadian
Operations, asking: “Can you advise if the Thermalbond                D. NSC's Purchase Order
Acrylic Terpolmer [sic] coating is the appropriate one for our     In May 2001, NSC issued a purchase order for the paint to
new paper boxcars or if there is a better coating that you would   be applied to the paper boxcars. (Def.'s Stmt. ¶ 6; Pls' Stmt. ¶
recommend?” (Pls' Stmt. ¶ 54; Def.'s Stmt. ¶ 152.) On July         85.) Conditions in the purchase order contained the following
25, 2000, Black responded by suggesting certain interior and       language: “Unless otherwise specified, the Seller expressly
exterior Thermalbond products. (Pls' Stmt. ¶ 55; Def.'s Stmt.      warrants that all the material and work covered by this order
¶ 153.) At his deposition, Black testified that he knew that       will conform to the specifications, drawings, samples or other
CPR planned to build boxcars and that some of the boxcars          description, if any, furnished or specified by Buyer, and
would be used for paper service. (Pls' Stmt. ¶ 57, Pls' Ex. 4,     will be merchantable, of good material and workmanship
Black Dep. at 661.)                                                and free from defect.” (Pls' Stmt. ¶ 96, Pls' Ex. 56.) The
                                                                   purchase order also stated: “Suppliers are responsible for
 *5 In July 2000, Black met with Dennis Ryan, NSC's                understanding the nature of the work and the tolerances the
Managing Director. (Pls' Stmt. ¶ 56.) Ryan testified that          parts must meet.” (Id. ¶ 98, Pls' Ex. 56, at 9.) Also, the
Black provided him with information concerning Williams-           purchase order specifically prohibited “any attempt by the
Hayward's recommendations for the exterior and interior            Seller to impose any additional terms through invoices.” (Id.
paint for the boxcars and indicated that Williams-Hayward          ¶ 94, Pls' Ex. 56, ¶ 1(B)).
was CPR's supplier of choice. (Pls' Stmt. ¶ 58; Pls' Ex.10,
Ryan Dep. at 63-64.) The information Black provided                NSC mailed Williams-Hayward a signed copy of the
included the recommended part numbers, also known as               purchase order and an “Acknowledgment Copy” for
“specs,” and pricing. (Id. at 64.) Ryan also testified that in     Williams-Hayward to sign. (Pls' Stmt. ¶ 101.) Williams-
later meetings with Black, they discussed the specifics of         Hayward signed the “Acknowledgment Copy” of the
the paper boxcar projects, such as the type of loading, the        purchase order under language stating: WE HEREBY
importance of the interior lining, and that the boxcars would      ACKNOWLEDGE RECEIPT AND ACCEPTANCE OF
be hauling newspaper service. (Id. at 69.)                         YOUR ORDER, SUBJECT TO ALL TERMS AND



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CONDITIONS APPEARING ON THE FACE AND BACK,                            rubber white (72-6427-CP). I spoke to Mark about this and
THEREOF. (Pls' Ex. 56, at 1.)                                         have since informed NSC that this is not a good idea and
                                                                      WHPC would not warranty this coating in dedicated paper
                                                                      service. I advised them about the recent Valspar/Gunderson
   E. Pull-Ahead Car and Subsequent Correspondence                    cars (that they were aware of). The next group of CP cars
 *6 On August 1, 2001, NSC delivered to CPR the first paper           are in position to paint/coat tonight or tomorrow. I have
boxcar, also know as the pull-ahead car. (Pls' Stmt. ¶ 108;           adequate stock of 72-6427 at NSC.
Def.'s Stmt. ¶ 173.) The newsprint paper supplier loaded the
pull-ahead car and shipped it to the Minneapolis Star Tribune.        TO GET TO THE POINT-NSC requested a letter from
(Pls' Stmt. ¶ 110, Def.'s Stmt. ¶ 173). Upon unloading, it was        WHPC that would assure them that if this product is applied
discovered that the protective wrappers that covered the paper        correctly and force cured it will not present the type of
rolls were sticking to the wall of the paper boxcar, tearing          problem they experienced with this one car. They would
off the rolls, and thus exposing the paper rolls. (Pls' Stmt. ¶       like some type of assurance that we have used this product
111, Def.'s Stmt. ¶¶ 173-74.) After the pull-ahead car run, the       in paper service for X number of years etc. I offered to
supplier of the paper rolls required a second test run before         provide them this letter but they requested that it come from
it would accept the fleet of rail cars into its business service.     higher up and longer tenure than I. The reason I have to
(Pls' Stmt. ¶ 115.)                                                   send this request to you.

Following his inspection of the pull-ahead car, Williams-              *7 Can you please provide such a letter/email to Mr. Todd
Hayward's Black informed Alistair Wilson, Executive                   Pafford at NSC, Todd's email address is, ____________, as
Vice President of NSC, that if NSC controlled its                     soon as possible.
millage parameter-the minimum and maximum thickness
                                                                      Give me a call if you have any questions or wish to discuss.
requirements-the sticking problem would be eliminated. (Id.
¶¶ 116-17.) During this time period, NSC requested Black's          (Id. ¶ 122, Pls' Ex. 57.) On September 5, 2001, Kurcz wrote
approval to switch from the High-Rubber Thermalbond                 Todd Pafford via email in response to Black's request. (Id. ¶
to another paint for application to the paper boxcar's              123; Def.'s Stmt. ¶ 178.) Kurcz stated:
interiors. (Id. ¶ 119.) Black informed NSC that Williams-
Hayward would not warrant the alternate coating. (Id. ¶ 120.)         I am writing you this communique in response to you
Consequently, NSC asked Black for a letter of assurance that,         [sic] request of our Director of Canadian Operations as
if the High-Rubber Thermalbond paint was properly applied             to our recommendations for the interior of Boxcars that
and dried, the paint would not present the type of sticking           are exposed to the chemical environment of Paper service.
problems NSC experienced with the pull-ahead car. (Id.)               Thermalbond High Rubber coatings were developed in
                                                                      1984 as replacements for vinyl's and epoxies in severely
On September 5, 2001, Black emailed Kurcz about the                   corrosive services. Since that time these products have been
situation:                                                            successfully used in both acid and alkali services for tank
                                                                      car hopper cars and interiors of boxcars and potash service.
  As you are aware CP reported to NSC that they had a                 High rubber Thermalbond has become the standard in the
  problem with one of the cars from the first 375 car order.          Cloro-Alkali business and the Sulfuric Acid business. The
  The car was loaded with finished paper and after unloading          chemical resistance has stood the test of time and this is
  the first load from the subject car the customer reported           the main reason we recommend this system for such severe
  that some of the paper wrapping had stuck to the floor              services. We believe the situation that has been noted on
  and walls. I think that the floor is an issue with chalking.        one unit done by NSC for the CP is isolated and most likely
  NSC's records indicate that the walls of the subject car            associated with the high mills in the repair areas that might
  had received considerable repairs after the initial coating         not have been fully dry; this should not at all reflect on the
  application. I get the impression that NSC are [sic] thinking       viability of the product for the end use intended. We know
  that the problem may be an isolated case and they may               of no company offering coatings systems in the corrosive
  have contributed to the problem. As you may also be                 services that can produce the actual fleet data of over
  aware, NSC approached me yesterday to see if we would               90,000 units in service for over 15 years with such a success
  supply General Service interior white for the next group of         rate. Therefore we are confident with our recommendation
  CP boxcars (625 cars). They originally specified our high           for the use of High Rubber Thermalbond products at NSC


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  and to our mutual customer Canadian Pacific Railroad. We
  will not Warranty a general service version of Thermalbond        There is absolutely nothing wrong with our product and
  in corrosive service for our Warranties are based on real         your test cars will prove it.
  fleet data and not theoretical data. The histories of current
                                                                    Williams Hayward Protective Coatings will take no
  industry failures, not related to our products only add
                                                                    exceptions and warranty our product as to your process.
  credence to our claims. If applied and dried properly
  these systems have and will for National Steel Car pose           Williams Hayward Protective Coatings feels no need for
  no problems in the service they are being used for. We            you to perform any tests. We are satisfied NSC may
  are confident that NSC has for the over whelming [sic]            proceed with your currant [sic] applications as long as you
  majority of the units fulfilled their requirements on the         are following the recommended cure parameters we have
  application side. Once we see the unit in question we may         given you. Norm [Black] will work very close with your
  better determine what the causes are, in my 30 years of           people to ensure these procedures are followed and any
  developing water based products for the rail and chemical         concerns you may have are addressed.
  industry there have been times where neither the applicator
  nor the coating are the cause. When push comes to shove           If you listen to us then you will be successful and if we
  we rely on our rich in service fleet data and NSC can be          mislead you it is our responsibility and liability.
  confident that using these products will in the long run
  reduce concerns rather than create them.                        (Id. ¶ 133, Pls' Ex. 33.)

  Thank your [sic] for using our unique High Rubber
  Thermalbond and General Service Thermalbond products               F. The Second Trial Car
  and if I may be of any further service plead do not hesitate    On October 12, 2001, NSC released another trial boxcar-
  to contact me.                                                  paper car 220164. (Pls' Stmt. ¶ 145.) In November 2001, the
                                                                  newsprint paper supplier loaded paper car 220164 and then
(Def.'s Stmt. ¶ 178, Pls' Stmt. ¶ 124, Pls' Ex. 58.)              shipped the paper rolls to the Minneapolis Star Tribune, where
                                                                  the paper rolls were unloaded. (Id. ¶ 146.) Again, there was a
On September 19-20, 2001, Wilson and Kurcz exchanges a            problem with paint sticking to the paper rolls and the interior
series of emails regarding the sticking problem in the pull-      walls of the boxcar, and thus the Star Tribune would not
ahead car. (Pls' Stmt. ¶¶ 128-29.) Initially, Wilson emailed      sign-off on the paper cars' usage at that time. (Id. ¶¶ 146-47,
Kurcz about the “jack test” NSC used to simulate roll pressure    Pls' Ex. 62.) Cheun of CPR then emailed Kurcz requesting
against the wall of a paper boxcar and that the “jack test”       that Kurcz send someone to investigate paper car 220164 in
had failed because paper fibers were stuck to the wall of the     Minneapolis. (Id. ¶ 148, Pls' Ex. 66.) On November 4, 2001,
boxcar. (Id. ¶ 128.) Wilson stated to Kurcz: “Because of our      Kurcz forwarded Cheun's email to Black and Ed Kurcz of
limited experience with this material we need concurrence         Williams-Hayward and stating: “Check this out get photos
that this is the way the material is supposed to react.” (Id.     and mill thickness readings. Immediately. Ed I need you to
¶ 129, Pls' Ex. 33.) Wilson further stated: “Based upon           go personally also this could be big trouble if it is not a
our observation of this test we have elected to discontinue       mill thickness issue up stay in contact with Norm. I have my
applying the interior coating until advised otherwise which       mobile with me.” (Id.)
will have an impact on our production effectiveness. It is
most important that we receive your confirmation or further
instructions as quickly as absolutely possible.” (Id.) Wilson        G. Changes to the Paint Application Process
also explained to Kurcz: “Again because of our limited            Meanwhile, in late September 2001, Black recommended
experience with this material we need full “buy-off” from         that NSC change its paint application process and NSC
Williams Hayward that our application is being applied in         subsequently implemented the recommended process. (Id.
accordance with your technical requirements and is fit for the    ¶¶ 139-142.) On November 14, 2001, Williams Hayward
service intended.” (Id. ¶ 130, Pls' Ex. 33.)                      gave NSC a 10-page document entitled “Facility Coatings
                                                                  Application & Cure Recommendations for Canadian Pacific
 *8 During Kurcz and Wilson's email exchange, Kurcz               Railroad Box Cars for Hot Paper Service at National Steel
responded to Wilson's concerns stating the following:             Car, Hamilton, Ontario” that Kurcz had signed. (Id. ¶
                                                                  152.) This document contained detailed recommendations



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concerning the procedures for applying the paint and                 many years in the U.S. we have been the major source
NSC complied with these new procedures. (Id. ¶ 157.)                 of supply of these products at all major railroads and car
The November 14, 2001, recommendation stated: “It is                 builders; that has most certainly not been the case with
of critical importance that Williams Hayward Protective              National Steel Car. Not to take up too much of your time I
Coatings representatives are permitted to audit the Process          put together a little history of our High rubber Thermalbond
established to certify and write off on the cars for shipment.       as it relates to box car interiors. As to our relationship
Our method of write off on each car will be to certify in            with the Canadian Pacific Railroad it goes back many
writing the process at the beginning of each shift taking all        years, for we have been the major supplier for Thrall Car
necessary measurements and verifying against the standards           Manufacturing since the mid 1970s. For any freight cars,
established.” (Id. ¶ 154.)                                           (auto-racks, coal cars, gondolas, hoppers etc.), built for the
                                                                     Canadian Pacific Railroad or for that matter any other Rail
 *9 From November 14, 2001, to December 19, 2001,                    Road by Thrall since 1994, Thermalbond would be the
Black of Williams-Hayward monitored the dry film thickness           coating system applied.
readings. (Id. ¶ 158.) Williams-Hayward also reformulated
the High-Rubber Thermalbond by replacing a solvent to make
it dry faster, and sent the reformulated paint to NSC in mid-        So the total number of boxcars we can prove had our
November 2001. (Id. ¶¶ 162-63.)                                      Thermalbond Interior product in, over the years is 12,000.
                                                                     Whether you wish to believe it or not there has not been
                                                                     “ONE” paper sticking complaint over the years and we are
   H. Events of November 2001                                        still supplying to this day, the Union Pacific Rail Road, the
Around November 16, 2001, paper boxcars were loaded                  Canadian National/IC Rail Road and the Canadian Pacific
with newsprint paper rolls and then shipped to Lancaster,            shops.
Pennsylvania. (Id. ¶ 164.) After unloading the paper cars, it
was discovered that the paper rolls stuck to the interior paint.
(Id.)                                                                Any and all things I have stated can be substantiated,
                                                                     for Williams Hayward Protective Coatings is the oldest
On or about November 21, 2001, CPR informed NSC that it              supplier of water based products in the rail industry and
would not accept any paper boxcars with Williams-Hayward             we are confident we are also the best. The system given to
interiors unless they were lined with cardboard. (Id. ¶ 165.)        The [sic] CP and applied by you is a time tested excellent
On November 21, 2001, NSC wrote Williams-Hayward and                 product with a long pedigree. The product will do the
informed it that because NSC was in full compliance with             job it was intended to do and give the customer the extra
Williams-Hayward's requirements, the cost of lining the paper        chemical resistance they need in pulp services.
boxcars with cardboard would be held strictly to Williams-
                                                                   *10 (Def's Stmt. ¶ 200, Pls' Stmt. ¶ 172, Pls' Ex. 64.)
Hayward's account. (Id. ¶ 166.) Williams-Hayward replied
that it would not accept any charges and therefore had no
                                                                   According to NSC's Wilson, in December 2001, CPR
choice but to request NSC to terminate use of the High-
                                                                   informed NSC that it would no longer accept or pay for
Rubber Thermalbond until they clarified the issue. (Id. ¶ 167.)
                                                                   any paper cars whose interiors were coated with High-
                                                                   Rubber Thermalbond. (Pls' Stmt. ¶ 173.) On December 20,
   I. Events of December 2001                                      2001, NSC stopped processing the paper cars. (Id. ¶ 174.)
On December 18, 2001, Kurcz sent an email to Pafford at NSC        On December 21, 2001, NSC, CPR, and Williams-Hayward
that stated in relevant part:                                      participated in a conference call. (Id. ¶ 175.) The parties
                                                                   dispute that during the conference call, Kurcz stated that
  I received your voice mail and have put together some            some of the boxcars from the other railroad companies that
  information that may help you understand why one would           had used High-Rubber Thermalbond for transporting paper
  choose or we would recommend Thermalbond as the                  had experienced paper sticking problems, but that it was an
  coating system for the insides of the boxcars. I guess after     accepted industry problem. (Id.; Wright's Dep. at 249-255,
  all these years, I have taken for granted, that everyone in      Kurcz's Dep. at 729-735.) Further, the parties dispute that
  the rail industry knows of Williams Hayward Protective           Kurcz stated that had he known that paper sticking was
  Coatings [sic] position with water-based paints. While for       not acceptable to CPR, he never would have recommended



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the High Rubber Thermalbond paint for the interior of the           Williams-Hayward contends that the “rebate agreement”
boxcars. (Id.)                                                      is memorialized in Kurcz's August 30, 1999, letter and
                                                                    attached purchase agreement. Williams-Hayward asserts that
                                                                    this rebate agreement governs all of the parties' projects.

          SUMMARY JUDGMENT STANDARD
                                                                     *11 In Kurcz's August 1999 letter, he proposed an
Summary judgment is proper when “the pleadings,                     arrangement where CPR would agree to purchase large
depositions, answers to interrogatories, and admissions on          volumes of paint from Williams-Hayward in exchange for
file, together with the affidavits, if any, show that there is no   long-term fixed pricing. Kurcz suggested a fixed one-year
genuine issue as to any material fact and that the moving party     pricing structure renewable at CPR's option with a rebate
is entitled to a judgment as a matter of law.” Fed.R.Civ.P.         component. Kurcz attached a proposed purchase agreement to
56(c). A genuine issue of material fact exists only if “the         the letter that included a rebate agreement signed by Kurcz on
evidence is such that a reasonable jury could return a verdict      behalf of Williams-Hayward. The proposed rebate agreement
                                                                    included language that the warranty described within was “in
for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,
                                                                    lieu of all warranties, or merchantability, fitness for purpose,
477 U.S. 242, 248, 106 S.Ct. 2505, 2510, 91 L.Ed.2d 202
                                                                    or other warranties, express or implied.”
(1986). The party seeking summary judgment has the burden
of establishing the lack of any genuine issue of material fact.
                                                                    The parties do not dispute that Quintal never signed the
   Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct.           purchase agreement attached to the August 30, 1999 letter.
2548, 2552, 91 L.Ed.2d 265 (1986). The Court considers              CPR contends that Quintal rejected the offer and then made
the evidence in a light most favorable to the non-moving            a counter-offer in his October 1, 1999, letter to Kurcz. The
party and draws all reasonable inferences in its favor. See         October 1, 1999, letter concerned 243 bi-level auto racks that
                                                                    Thrall Manufacturing would build and for which CPR would
   Anderson, 477 U.S. at 255.
                                                                    specify Williams-Hayward's Thermalbond paint. It further
                                                                    provided that CPR may award Williams-Hayward with
                                                                    additional projects if the initial project proved successful.
                          ANALYSIS                                  The October 1, 1999, letter did not contain any disclaimers
                                                                    of warranties or limitations of remedies. Kurcz responded to
I. Summary Judgment Motion Against CPR
                                                                    Quintal in a letter dated October 4, 1999, stating that Quintal
In support of its motion for summary judgment against
                                                                    was correct as to the agreement.
CPR, Williams-Hayward makes the following arguments: (1)
the rebate agreement between Williams-Hayward and CPR
                                                                    Based on this correspondence, CPR argues that it did not
disclaims all warranties; (2) CPR cannot assert claims for
                                                                    agree to the disclaimers of warranty in the rebate agreements
breach of implied warranty because it is not in contractual
                                                                    in the first instance. CPR also contends that the October
privity with Williams-Hayward; (3) CPR cannot assert its
                                                                    1, 1999, letter only pertains to the 243 bi-level racks to be
claim for breach of express warranty because it is not in
                                                                    built by Thrall Manufacturing, and not to any of the parties'
contractual privity with Williams-Hayward; (4) CPR cannot
                                                                    subsequent projects.
establish a claim for unjust enrichment; (5) CPR cannot
establish a claim for promissory estoppel; (6) the statute
                                                                    In contrast, Kurcz testified that the 1999 purchase agreement
of frauds bars CPR's claims; and (7) CPR cannot establish
                                                                    covered all sales relative to CPR and applied to the paper
that Williams-Hayward proximately caused its damages. The
                                                                    boxcars at issue in this litigation. Williams-Hayward also
Court addresses each argument in turn.
                                                                    contends that because CPR's filings in this matter are pleaded
                                                                    under Illinois law and the purchase agreement expressly
  A. Rebate Agreement                                               provided that the contract was governed by Illinois law, CPR
Central to Williams-Hayward's arguments on summary                  has adopted the purchase agreement, including the rebate
judgment is whether CPR and Williams-Hayward had                    agreement containing the disclaimers of warranties.
a written “rebate agreement” containing disclaimers of
warranties that would bar CPR's warranty claims and quasi-          Viewing the evidence and reasonable inferences in a light
contract claims of unjust enrichment and promissory estoppel.       most favorable to CPR, CPR has established that a genuine



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issue of material fact exists as to whether CPR and Williams-         the Illinois Uniform Commercial Code, however, contains
Hayward had a written agreement containing disclaimers of             exceptions to the general privity requirement. Id. Section
warranties that would bar CPR's warranty claims concerning            2-318 reads in pertinent part: “A seller's warranty whether
the paper boxcars. In other words, CPR has presented                  express or implied extends to any natural person who is in
evidence upon which a reasonable jury could find that                 the family or household of his buyer or who is a guest in
the parties did not have a written agreement containing               his home if it is reasonable to expect that such person may
disclaimers of warranties. The parties' correspondence                use, consume or be affected by the goods and who is injured
after Kurcz's August 1999 letter, plus Quintal's deposition           in person by breach of the warranty.” Although this section
testimony concerning future projects, calls into question             lists mandatory exceptions to the privity requirement, this
whether Quintal accepted Kurcz's offer in the first instance
                                                                      list is not exhaustive.    Reed, 263 F.Supp.2d at 1125; see
and also whether the disclaimers of warranties applied to
the parties' subsequent projects, including the paper boxcars         also    Whitaker v. Lian Feng Mach. Co., 156 Ill.App.3d
at issue in this litigation. Under Illinois law, when there is        316, 321, 108 Ill.Dec. 895, 509 N.E.2d 591 (1987) (UCC
a factual dispute, the question of whether a contract exists          warranty extends to buyer's employee). The Illinois Supreme
is one for the factfinder. Reese v. Forsythe Mergers Group,           Court, however, has not completely abolished the privity
Inc., 288 Ill.App.3d 972, 979, 224 Ill.Dec. 647, 682 N.E.2d           requirement in economic loss actions for breach of implied

208 (Ill.App.Ct.1997); see also         Glass v. Kemper Corp.,        warranties.     Szajna v. General Motors Corp., 115 Ill.2d
                                                                      294, 311, 104 Ill.Dec. 898, 503 N.E.2d 760 (Ill.1986); see also
133 F.3d 999, 1001 (7 th Cir.1998) (“when the existence of a
contract depends on inference from a series of documents, the             Collins, 125 Ill.2d at 516, 127 Ill.Dec. 5, 532 N.E.2d 834
inference is to be drawn by the trier of fact”). Accordingly,         (Section 2-318 and its comments leave “a door at least slightly
whether the rebate agreement exists is a question for the             ajar for future extension of some warranties in appropriate
jury. 1                                                               circumstances to nonprivity plaintiffs.”).

                                                                      CPR contends that because Williams-Hayward knew its
   B. Implied Warranty Claims                                         identity, the purpose and requirements of the Thermalbond
 *12 In Counts II and III of its Second Amended Complaint,            paint to be applied to the paper boxcars, and then delivered
CPR alleges that Williams-Hayward breached the implied                the paint to meet CPR's needs, CPR can bring its breach of
warranties of merchantability and fitness. Williams-Hayward           implied warranty claims despite its lack of contractual privity.
contends that because CPR does not have contractual privity           Indeed, Illinois courts recognize an exception to the privity
concerning the Thermalbond paint purchased by NSC, CPR                requirement “when the remote manufacturer knows the
cannot bring these claims. CPR, on the other hand, contends           identity, purpose and requirements of the dealer's customer
that it falls within the narrow class of plaintiffs that may assert   and manufactured or delivered the goods specifically to meet
implied warranty claims absent contractual privity.
                                                                      those requirements.” Crest Container Corp. v. R.H. Bishop
                                                                      Co., 111 Ill.App.3d 1068, 1076, 67 Ill.Dec. 727, 445 N.E.2d
  1. Privity Requirement & Exceptions                                 19 (Ill.App.Ct.1982) (quoting    Frank's Maint. & Eng'g v.
As opposed to an express warranty in which the warrantor              C.A. Roberts Co., 86 Ill.App.3d 980, 992-93, 42 Ill.Dec. 25,
has made the requisite affirmation as part of a contract,             408 N.E.2d 403 (Ill.App.Ct.1980)).
an “implied warranty is derived from the interplay of
a transaction's factual circumstances with the foreseeable             *13 Without a clear explanation or citations to legal
expectations of a buyer or other person who is protected              authority, Williams-Hayward contends that it is doubtful that
by law in those expectations.”     Collins Co. v. Carboline           this exception survived the Illinois Supreme Court's decision
Co., 125 Ill.2d 498, 508-09, 127 Ill.Dec. 5, 532 N.E.2d               in Szajna. Courts in this district, however, have concluded
834 (Ill.1988) (implied warranty arises despite seller's actual       that this exception did survive the Szajna decision and have
wishes). In general, Illinois law requires a plaintiff suing          applied this exception after the Szajna decision was entered.
for breach of implied or express warranties to establish              See, e.g., Outboard Marine Corp. v. Babock Indus., Case No.
                                                                      91 C 7247, 1995 WL 296963, at *5 (N.D.Ill. May 12, 1995);
contractual privity. See Reed v. City of Chicago, 263                 Hirn v. Teledyne Cont'l Motors, Case No. 93 C 7787, 1994
F.Supp.2d 1123, 1125 (N.D.Ill.2003). Section 2-318 of



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WL 685071, at *3 (N.D.Ill.Dec.7, 1994);     Omni-Circuits,        1254, 1259 (7 th Cir.1989) (citing Section 2-316 of the Illinois
Inc. v. DRP, Inc., Case No. 85 C 9081, 1987 WL 7290, at *2        Uniform Commercial Code). Section 2-316(3)(b) provides
(N.D.Ill. Feb.23, 1987).                                          in pertinent part, “when the buyer before entering into the
                                                                  contract has examined the goods or the sample or model
In Omni-Circuits, Judge Hart noted that the Szajna court did      as fully as he desired or has refused to examine the goods
not address this exception and the Illinois court's reasoning     there is no implied warranty with regard to defects which an
behind requiring privity in economic loss cases allows for        examination ought in the circumstances to have revealed to
                                                                  him.” Comment 8 of Section 2-316 explains: “ ‘Examination’
this exception to the privity requirement.   Id. at *2-3, 104
                                                                  as used in this paragraph is not synonymous with inspection
Ill.Dec. 898, 503 N.E.2d 760. Also, as the Illinois Supreme
                                                                  before acceptance or at any other time after the contract has
Court recognized after its Szajna decision, Section 2-318 of
                                                                  been made. It goes rather to the nature of the responsibility
the UCC may allow for future extensions of some warranties
                                                                  assumed by the seller at the time of the making of the
to nonprivity plaintiffs. See  Collins, 125 Ill.2d at 516, 127    contract.”
Ill.Dec. 5, 532 N.E.2d 834. Finally, after a thorough search of
Illinois case law, the Court has not found any Illinois cases      *14 CPR admits that it examined the Williams-Hayward
that abrogate the Crest Container exception subsequent to         paint on various boxcars, but contends that it could not have
the Szajna holding. Accordingly, the Court concludes that the     discovered the latent defects of the paint by mere observation,
Szajna decision did not abolish the exception articulated in      but instead needed chemical testing. 2 Comment 8 to 2-316
Crest Container. The Court thus turns to whether CPR has          explains: “However, an examination under circumstances
established a genuine issue of material fact relating to this     which does not permit chemical or other testing of the
exception.                                                        goods would not exclude defects which could be ascertained
                                                                  only by such testing.” In other words, latent defects cannot
Deposition testimony reveals that Quintal discussed the paper     be excluded from implied warranties by a parties' mere
boxcar builds with Kurcz prior to CPR awarding the boxcar         examination of the product. Id.; Dacor Corp. v. Sierra
project to NSC. Further testimony indicates that Kurcz and
                                                                  Precision, Case No. 93-2708, 1994 WL 83303, at *4 (7 th Cir.
Black were aware of CPR's specific paint needs because they
                                                                  Mar.14, 1994).
told Cheun that other railways had used Williams-Hayward
paint in boxcars and paper service. In addition, Cheun
                                                                  CPR has raised a genuine issue of material fact that the paint's
emailed Black asking: “Can you advise if the Thermalbond
                                                                  defects were not obvious upon mere examination. Whether
Acrylic Terpolmer [sic] coating is the appropriate one for
                                                                  CPR's examination precludes it from bringing the implied
our new paper boxcars or if there is a better coating that
                                                                  warranty claims is a question for the jury.
you would recommend?” (emphasis added). Black responded
by suggesting certain interior and exterior High-Rubber
                                                                  Williams-Hayward also argues that because CPR is a
Thermalbond products. Black also testified that he knew of
                                                                  “professional buyer” that examined a product in their
CPR's plans to build boxcars and that it would use some of the
                                                                  field, CPR “assumed the risk as to all defects which a
boxcars for paper services. Viewing the facts and inferences
                                                                  professional in the field ought to observe.” See UCC §
in a light most favorable to CPR, CPR has established that
                                                                  2-316, Comment 8. Williams-Hayward, however, does not
there are genuine issues of material fact whether Williams-
                                                                  fully explain how a corporation that operates a railroad is
Hayward (1) knew CPR was the ultimate consumer of the
                                                                  a professional buyer of paint. Instead, Williams-Hayward
paint, (2) was aware of the paint's purpose, and (3) delivered
                                                                  contends that CPR purchased “billions of dollars of goods and
the paint to meet CPR's needs.
                                                                  services each year” and that Cheun had experience selecting
                                                                  paint for boxcars. Without more, Williams-Hayward has not
   2. CPR's Opportunity to Examine the Thermalbond Paint          established that CPR is a professional buyer of paint. See R &
Williams-Hayward contends that even if CPR and Williams-          L Grain Co. v. Chicago Eastern Corp., 531 F.Supp. 201, 208
Hayward were in privity of contract, CPR would not have           (N.D.Ill.1981) (under Illinois law “it is the burden of the party
claims for breach of implied warranties because CPR had           seeking to invoke a warranty exclusion to plead and prove its
the opportunity to examine Williams-Hayward's paint. See          effect”).
Trans-Aire Int'l, Inc. v. Northern Adhesive Co., 882 F.2d



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Finally, the Court rejects Williams-Hayward's argument that       because the warrantor has willed it into being by making the
CPR did not rely on Williams-Hayward's conduct and                requisite affirmation as part of a contract to which it is an
assertions in selecting a suitable paint for the paper boxcars.
                                                                  adjunct.”     Collins, 125 Ill.2d at 509, 127 Ill.Dec. 5, 532
As discussed throughout this opinion, CPR has established
                                                                  N.E.2d 834. In general, because an express warranty is a
a genuine issue of material fact for trial concerning whether
                                                                  “creature of contract,” a party must have privity to the contract
it relied on Williams-Hayward's assertions as to what was
required for the coating in the paper boxcar service.             before bringing a breach of express warranty claim. See id.
                                                                  at 510-11, 127 Ill.Dec. 5, 532 N.E.2d 834; see also Collins
                                                                  Co., Ltd. v. Carboline Co., 837 F.2d 299, 301 (7 th Cir.1988)
  3. Merchantability of Paint                                     (applying Illinois law).
Next, Williams-Hayward contends that CPR's paint
requirements for the paper boxcars were not “ordinary,”           Williams-Hayward contends that because CPR has no privity
and thus CPR's claim does not fall within the warranty of         of contract to the sales contract between Williams-Hayward
merchantability. To establish a claim for breach of the implied   and NSC, CPR cannot bring any express warranty claims.
warranty of merchantability, a plaintiff must show (1) a sale     CPR argues that despite its lack of privity to the paint
of goods, (2) that the seller of the goods is a merchant          contract, express warranties are enforceable by those to whom
with respect to those goods, and (3) the goods were not of        the warranties are made. In support of this argument, CPR
merchantable quality, that is, the goods were unfit for the       relies on case law involving the purchase of automobiles
ordinary purposes for which they are used. See       Brandt v.    with express written manufacturer warranties or implied
Boston Scientific Corp., 204 Ill.2d 640, 645, 275 Ill.Dec. 65,    warranties under the federal Magnuson-Moss Act. These
792 N.E.2d 296 (Ill.2003); Crest Container, 111 Ill.App.3d at     cases are both factually and legally distinguishable from this
107, 66 Ill.Dec. 524, 443 N.E.2d 207.                             matter. See     Rothe v. Maloney Cadillac, 119 Ill.2d 288,

Williams-Hayward has provided evidence that CPR's paper           116 Ill.Dec. 207, 518 N.E.2d 1028 (Ill.1988);    Connick v.
boxcars were intended to be state-of-the-art boxcars that         Suzuki Motor Co., Ltd., 275 Ill.App.3d 705, 212 Ill.Dec. 17,
would ensure damage free transportation. Based on this            656 N.E.2d 170 (Ill.App.Ct.1995), rev'd on other grounds,
evidence, Williams-Hayward contends that use of its paint            174 Ill.2d 482, 221 Ill.Dec. 389, 675 N.E.2d 584
was not for the ordinary purposes for which they are used.
                                                                  (Ill.1996); see also    Ampat/Midwest, Inc. v. Illinois Tool
See     Brandt, 204 Ill.2d at 645, 275 Ill.Dec. 65, 792 N.E.2d    Works, Inc., No. 85 C 100029, 1988 WL 53222 (N.D.Ill. May
296. This evidence alone, however, does not unequivocally         12, 1988).
establish that Williams-Hayward's paint was merchantable.
Instead, the question of whether the paint's use in the paper     In the context of a buyer purchasing a product from a dealer
boxcars was “ordinary,” is a question of fact for the jury.       and not the manufacturer, Illinois courts have concluded that
See Check v. Clifford Chrysler-Plymouth of Buffalo Grove,         brochures, documents, and advertisements may be the basis
Inc., 342 Ill.App.3d 150, 159, 276 Ill.Dec. 579, 794 N.E.2d
                                                                  of express warranty. See      Connick, 275 Ill.App.3d at 713,
829 (Ill.App.Ct.2003). The Court, therefore, denies Williams-
                                                                  212 Ill.Dec. 17, 656 N.E.2d 170. In other words, manufacturer
Hayward's motion for summary judgment as to Count II of
                                                                  documents given directly to the buyer prior to a purchase
CPR's Second Amended Complaint.
                                                                  may give rise to an express warranty because the assertions
                                                                  become part of the basis of the bargain unless clear affirmative
   C. Express Warranty Claim                                      proof shows otherwise. See         Ampat/Midwest, Inc., 1988
 *15 CPR also alleges a claim for breach of express
warranties under Section 2-313 of the Illinois Uniform            WL 53222, at *4; Crest Container, 111 Ill.App.3d at 1074,
Commercial Code. Section 2-313(1)(a) states: “Any                 67 Ill.Dec. 727, 445 N.E.2d 19 (coil manufacturer's catalog
affirmation of fact or promise made by the seller to the buyer    created express warranty).
which relates to the goods and becomes part of the basis of
the bargain creates an express warranty that the goods shall      Here, CPR does not explain how this exception to the
conform to the affirmation or promise.” The Illinois Supreme      privity requirement applies to the circumstances at hand.
Court has explained that an express “warranty arises only         For instance, CPR does not come forward with evidence



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of manufacturer brochures, catalogs, or advertisements that         plead for quasi-contractual relief in the alternative. Once a
were part of the basis of the bargain supporting their claim        valid contract is found to exist, quasi-contractual relief is no
for express warranties. Specifically, CPR has not established
                                                                    longer available.” Id.; see also    Prentice, 271 Ill.App.3d
that Williams-Hayward made specific, written promises or
                                                                    at 512, 207 Ill.Dec. 690, 648 N.E.2d 146 (once enforceable
warranties via manufacturer's catalogs or other marketing
                                                                    contract exists, party may no longer recover under theory of
materials. Without more, the Court would be hard-pressed to
                                                                    promissory estoppel).
extend this exception to CPR's claims that Black and Kurcz
made statements that constitute express warranties.
                                                                    CPR has established that a genuine issue of material fact
                                                                    exists as to whether there is a contract between the parties,
 *16 As discussed, there are very few exceptions to the
                                                                    as discussed above. Because there is a factual dispute, the
privity requirement for a plaintiff suing for breach of express
                                                                    question of whether a contract exists is for the jury to decide.
or implied warranty, see Reed, 263 F.Supp.2d at 1125, and           See Reese, 288 Ill.App.3d at 979, 224 Ill.Dec. 647, 682
CPR has failed to establish that it fits within any exception to    N.E.2d 208. As such, CPR may maintain its alternative quasi-
this requirement regarding express warranties. Accordingly,         contractual theories at this procedural juncture.
the Court grants Williams-Hayward's summary judgment
motion as to Count I of CPR's Second Amended Complaint.
                                                                       2. Unjust Enrichment
                                                                    Without a fully-developed explanation, Williams-Hayward
   D. Unjust Enrichment and Promissory Estoppel                     contends that CPR cannot establish that it was unjustly
Williams-Hayward contends that because it has established           enriched because NSC still owes it money for the paint.
that the rebate agreement governs the parties' disputes, CPR        Williams-Hayward does not provide the Court with any legal
cannot bring its claims of promissory estoppel and unjust           authority supporting its argument that because it has not been
enrichment. Indeed, when a specific contract governs the            paid the full amount for NSC's purchase, it has not unjustly
parties' relationship, quasi-contractual theories, such as unjust   retained any benefits to CPR's detriment.
enrichment or promissory estoppel, cannot form a basis for
                                                                     *17 To establish unjust enrichment, CPR must show that
damages. See     Hartigan v. E & E Hauling, Inc., 153 Ill.2d
                                                                    Williams-Hayward has unjustly retained a benefit to CPR's
473, 497, 180 Ill.Dec. 271, 607 N.E.2d 165, 177 (Ill.1992);
                                                                    detriment and that Williams-Hayward's retention of that
    Wagner Excello Foods, Inc. v. Fearn Int'l, Inc., 235            benefit violates fundamental principles of justice, equity, and
Ill.App.3d 224, 235, 76 Ill.Dec. 258, 601 N.E.2d 956, 964
                                                                    good conscience.     HPI Health Care Servs., Inc. v. Mount
(Ill.App.Ct.1992) (plaintiff cannot bring promissory estoppel
                                                                    Vernon Hosp., Inc., 131 Ill.2d 145, 160, 137 Ill.Dec. 19, 545
claim when parties have entered a binding contract on same
                                                                    N.E.2d 672 (Ill.1989).
subject matter).

                                                                    Here, CPR sets forth evidence that Williams-Hayward
   1. Alternative Claims                                            allegedly recommended paint for the paper cars that was
CPR, however, has brought these quasi-contractual claims in         more expensive than Williams-Hayward's general service
the alternative to its breach of warranty claims, a practice        paint. (Pls' Stmt. ¶ 119.) Further, CPR has provided evidence
not only allowed under Federal Rule of Civil Procedure              that NSC paid Williams-Hayward a “significant sum” for

8(e)(2), but one that is common. See, e.g.,          Cromeens,      the paint.    (Id. ¶ 185, 137 Ill.Dec. 19, 545 N.E.2d 672.)
                                                                    Thus, CPR contends that it would be fundamentally unjust
Holloman, Sibert, Inc. v. AB Volvo, 349 F.3d 376, 397 (7 th
                                                                    for Williams-Hayward to retain the benefit of selling a more
Cir.2003); see also     Prentice v. UDC Advisory Servs., Inc.,      expensive product when CPR did not receive the benefit of a
271 Ill.App.3d 505, 512, 207 Ill.Dec. 690, 695, 648 N.E.2d          superior coating for the paper boxcars.
146, 151 (Ill.App.Ct.1995) (alternative claims for breach of
contract and promissory estoppel permissible). In Cromeens,         Viewing the facts and inferences in a light most favorable to
the Seventh Circuit explained that under the doctrine of            CPR, the Court concludes that CPR has established a genuine
pleading in the alternative, “a party is allowed to plead breach    issue of material fact as to whether Williams-Hayward was
of contract, or if the court finds no contract was formed, to



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unjustly enriched. Accordingly, the Court denies Williams-           would have if Williams-Hayward had warranted them, CPR
Hayward's motion for summary judgment as to Count IV.                cannot recover any damages in this matter.

                                                                     Under the Illinois Uniform Commercial Code, Section
E. Statute of Frauds                                                 2-714(2): “The measure of damages for breach of warranty
Williams-Hayward argues that because the sale of paint was           is the difference at the time and place of acceptance
in excess of $500, any alleged contract must be in writing to        between the value of the goods accepted and the value
satisfy the statute of frauds, and thus CPR cannot succeed on        they would have had if they had been as warranted,
any of its claims. CPR contends that Williams-Hayward has            unless special circumstances show proximate damages of a
waived this affirmative defense because Williams-Hayward             different amount.” Id. Courts read the “special circumstances”
makes this argument for the first time in its motion for             exception in conjunction with Section 1-106 of the UCC,
summary judgment.                                                    which provides that UCC remedies “shall be liberally
                                                                     administered to the end that the aggrieved party may be put in
“Federal Rule of Civil Procedure 8(c) requires that defendants       as good a position as if the other party had fully performed.”
raise all affirmative defenses that will defeat the allegations
in the complaint in a responsive pleading. We have stated               Razor v. Hyundai Motor Am., 349 Ill.App.3d 651, 659,
numerous times that if a defendant does not raise defenses           286 Ill.Dec. 190, 813 N.E.2d 247 (Ill.App.Ct.2004). Also,
at the time of filing an answer, those defenses are deemed           an aggrieved party may recover incidental and consequential
                                                                     damages under Section 2-714(3). Id.
waived.”          Castro v. Chicago Hous. Auth., 360 F.3d 721, 735
     th                                                              Based on these standards, “the difference between the value
(7        Cir.2004); see also    Perry v. Sullivan, 207 F.3d 379,
                                                                     of the goods accepted and the value they would have had
382 (7 th Cir.2000) (collecting cases). The Seventh Circuit has
                                                                     they been warranted” is not the sole measure of damages
further articulated that if “Rule 8(c) is not to become a nullity,
                                                                     as Williams-Hayward asserts. Therefore, CPR's claims of
we must not countenance attempts to invoke such defenses at
                                                                     incidental and consequential damages flowing from the
the eleventh hour, without excuse and without adequate notice
                                                                     breach are appropriate under the circumstances.
to the plaintiff.”        Venters v. City of Delphi, 123 F.3d 956,
           th                                                        Second, Williams-Hayward contends that CPR cannot
969 (7          Cir.1997) (emphasis added).
                                                                     establish that its incidental and consequential damages are
Williams-Hayward brings its statute of frauds defense for the        reasonable or were foreseeable by Williams-Hayward at the
first time in its motion for summary judgment-approximately          time of contracting. 3 Williams-Hayward specifically argues
two months before trial is set to commence and well over             that because it had no reason to know CPR's particular
two years after CPR filed its original complaint. Williams-          requirements for the paper boxcars, it cannot be liable for
Hayward does not explain why it brought this affirmative             any losses resulting from them. This argument is based
defense so late in the proceedings. Although Williams-               on a fact in dispute, namely, whether Williams-Hayward
Hayward contends that it has given CPR adequate notice               knew of CPR's requirements for the paper boxcars. Because
concerning its statute of frauds defense, Williams-Hayward           damages are determined by the factfinder “in the exercise
fails to take into account that the trial is scheduled to begin      of sound discretion and in any manner reasonable under
on May 2, 2005. In other words, it is the eleventh hour.
                                                                     the circumstances,” see id. at 660, 286 Ill.Dec. 190, 813
Under these circumstances, there is no excuse for Williams-
                                                                     N.E.2d 247, Williams-Hayward's argument fails.
Hayward's failure to raise its affirmative defense earlier in the
proceedings. See          Castro 360 F.3d at 735.
                                                                     II. Summary Judgment Motion Against NSC
                                                                     In support of its motion for summary judgment against NSC,
   F. Damages                                                        Williams-Hayward contends that NSC cannot establish: (1)
 *18 Last, Williams-Hayward argues that CPR cannot                   that Williams-Hayward made any express warranties; (2) its
establish that its damages were proximately caused by                claims for breach of implied warranties; (3) its promissory
Williams-Hayward. First, Williams-Hayward argues that                estoppel claims; (4) its tortious interference with contract
because CPR failed to make a claim for the difference                claim; (5) its fraud and fraudulent concealment claim; and
between the value of the goods accepted and the value they


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(6) that Williams-Hayward proximately caused its alleged          Rollins, Inc., 325 Ill.App.3d 517, 521, 259 Ill.Dec. 89, 757
damages. The Court discusses each argument below.                 N.E.2d 952 (Ill.App.Ct.2001).

                                                                  NSC, however, brings its express warranty claim under
   A. Breach of Express Warranties                                the Illinois Uniform Commercial Code. Relying on the
Count I of NSC's Second Amended Counterclaim alleges a            Restatement (Second) of Contracts, Section 214, the Illinois
claim for breach of express warranties under Section 2-313        Supreme Court expressly stated that in UCC cases, as opposed
of the Illinois Uniform Commercial Code. Under Section            to claims based on Illinois common law, parol evidence is
2-313(1)(a): “Any affirmation of fact or promise made by the      admissible to determine whether an agreement is completely
seller to the buyer which relates to the goods and becomes        or partially integrated and also to explain the meaning of a
part of the basis of the bargain creates an express warranty
that the goods shall conform to the affirmation or promise.” In   fully integrated contract.    McMahon Food Corp. v. Burger
other words, “in a breach of express warranty action under the    Dairy Co., 103 F.3d 1307, 1314 (7 th Cir.1996) (citing J &
UCC, plaintiff must show a breach of an affirmation of fact       B Steel Contractors, Inc. v. C. Iber & Sons, Inc., 162 Ill.2d
or promise that was made a part of the basis of the bargain.”     265, 271-72, 205 Ill.Dec. 98, 642 N.E.2d 1215 (Ill.1994)).
                                                                  In addition, courts need not decide that the a contract
   Hasek v. DaimlerChrysler Corp., 319 Ill.App.3d 780, 788,
                                                                  is ambiguous as a condition for the admission of parol
253 Ill.Dec. 504, 745 N.E.2d 627 (Ill.App.Ct.2001).
                                                                  evidence in UCC cases. See Hessler v. Crystal Lake Chrysler-
                                                                  Plymouth, Inc., 338 Ill.App.3d 1010, 1020-21, 273 Ill.Dec.
   1. Verbal Assurances                                           96, 788 N.E.2d 405 (Ill.App.Ct.2003). As such, the parol
 *19 Williams-Hayward contends that it made no verbal             evidence rule does not bar evidence of Williams-Hayward's
warranties to NSC that its High-Rubber Thermalbond paint          alleged verbal assurances or recommendations.
would be an acceptable treatment for the paper boxcars.
Specifically, Williams-Hayward argues that the information
                                                                    2. Written Warranties
Norman Black, Williams-Hayward's Director of Canadian
                                                                  NSC has also establish that the purchase order contains
Operations, gave Dennis Ryan, NSC's Managing Director,
when NSC was preparing its bid for CPR does not amount to         express written warranties. 4 For instance, conditions to the
“affirmations of fact or promises.” Williams-Hayward relies       purchase order include that “the Seller expressly warrants that
on Black and Ryan's first meeting when Black provided Ryan        all the material and work covered by this order will conform
with information concerning Williams-Hayward's alleged            to the specifications, drawings, samples or other description,
recommendations for the exterior and interior paint for the       if any, furnished or specified by Buyer.” Further, NSC points
boxcars. (See Pls' Stmt ¶ 58; Pls' Ex. 10, Ryan Dep. at 63-64.)   to language in the purchase order stating: “Suppliers are
                                                                  responsible for understanding the nature of the work and the
NSC, however, contends that Williams-Hayward ignores              tolerances the parts must meet.”
other testimony in the record that Ryan informed Black that
some of the boxcars would be used in paper service and that        *20 Williams-Hayward's argument that NSC waived
the elimination of damage to the paper rolls was a critical       any express warranty claims because Williams-Hayward
feature of the paper boxcars. For example, Ryan testified that    informed NSC that it would supply free epoxy paint to
in his later meetings with Black, they discussed the specifics    replace the High-Rubber Thermalbond on the paper boxcars
of the paper boxcar projects, such as the type of loading, the    is a disputed fact. Accordingly, it cannot be the basis for a
importance of the interior lining, and that the boxcars would     finding of waiver. NSC has established a genuine issue of
be hauling newspaper service.                                     material fact as to whether Williams-Hayward made express
                                                                  warranties to NSC and whether Williams-Hayward breached
Nevertheless, Williams-Hayward contends that the parole           those express warranties. 5
evidence rule bars any evidence of its alleged verbal
recommendations made to NSC. Under Illinois common
law, parol or extrinsic evidence regarding a prior or               B. Breach of Implied Warranties
contemporaneous agreement is not admissible to vary or            In Counts II and III of its Second Amended Counterclaim,
                                                                  NSC alleges that Williams-Hayward breached the implied
contradict a fully integrated contract.       Eichengreen v.      warranties of fitness and merchantability. Williams-Hayward


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contends that NSC's experience with Williams-Hayward's
paint and its opportunities to test the paint preclude its claims       C. Promissory Estoppel Claims
for breach of implied warranties. See Trans-Aire Int'l, Inc. v.      NSC brings two counts based on promissory estoppel-
                                                                     promissory estoppel related to the suitability of the paint and
Northern Adhesive Co., 882 F.2d 1254, 1259 (7 th Cir.1989).
                                                                     promissory estoppel related to the application of the paint.
                                                                     Williams-Hayward contends that because there is a binding
First, Williams-Hayward argues that NSC is a professional
                                                                     sales contract between the parties, NSC cannot bring any
buyer that examined a product in its field, and thus NSC
“assumed the risk as to all defects which a professional in          claims of promissory estoppel. See Wagner Excello Foods,
the field ought to observe.” See Illinois UCC Section 2-316,         Inc. v. Fearn Int'l, Inc., 235 Ill.App.3d 224, 235, 76 Ill.Dec.
Comment 8. Williams-Hayward does not completely explain              258, 601 N.E.2d 956 (Ill.App.Ct.1992) (plaintiff cannot bring
how a rail car manufacturer is a professional buyer of paint.        promissory estoppel claim when parties have entered into
Indeed, in his email of December 18, 2001, Kurcz admits that         binding contract on same subject matter). NSC, on the other
NSC did not have experience with Williams-Hayward's High-            hand, contends that the promises underlying its promissory
Rubber Thermalbond paint. Nevertheless, Williams-Hayward             estoppel claims concern different subject matter than the
argues that because NSC maintained a department devoted to           sales contract. See  Prentice v. UDC Advisory Servs., Inc.,
the purchase of speciality items, including paint, for the rail      271 Ill.App.3d 505, 512, 207 Ill.Dec. 690, 648 N.E.2d 146
cars it manufactured, it is a “professional in the field.” This
limited argument simply does not satisfy Williams-Hayward's          (Ill.App.Ct.1995); see also        Industrial Lift Truck Serv.
burden of establishing the exclusion of claims based on the          Corp. v. Mitsubishi Int'l Corp., 104 Ill.App.3d 357, 361-61, 60
implied warranty of fitness or merchantability. See R & L            Ill.Dec. 100, 432 N.E.2d 999 (Ill.App.Ct.1982)(“general rule
Grain Co. v. Chicago Eastern Corp., 531 F.Supp. 201, 208             is that no quasi-contractual claim can arise when a contract
(N.D.Ill.1981).                                                      exists between the parties concerning the same subject matter
                                                                     on which the quasi-contractual claim rests”).
Second, Williams-Hayward contends that because NSC had
the opportunity to examine the High-Rubber Thermalbond               Here, NSC has presented statements and recommendations
paint in trial applications, it cannot bring its claims for          made by Kurcz that pertain to the circumstances after the pull-
breach of implied warranties. See Illinois UCC Section 2-316,        ahead car and paper car 220164 experienced paint sticking
Comment 8. NSC, however, correctly notes that the purpose            problems. These allegations are different in subject matter
behind the trial applications was for Williams-Hayward's             than the sales contract. Williams-Hayward's “promises”
Black to explain how to apply the paint safely and properly.         include Kurcz's assurances made to Pafford and Wilson in the
In addition, there is no evidence in the record that NSC             fall of 2001 and Williams-Hayward's recommended changes
examined the High-Rubber Thermalbond's propensity to fuse            to the process in which NSC would coat and cure the paint.
with paper or its ability to perform in paper service, because       Based on this evidence, NSC has established a genuine issue
NSC contends that the paint's propensity to stick was a latent       of material fact that its promissory estoppel claims concern a
defect. Also, NSC asserts that it did not have the ability to        different subject matter than the sales contract.
load paper rolls into the paper boxcars after they were painted.
(See Pls' Stmt. ¶ 82.) Finally, after the pull-ahead car exhibited   Finally, Williams-Hayward contends that the statute of frauds
sticking problems and NSC's own “jack test” failed, Kurcz of         prohibits NSC from bringing its promissory estoppel claims.
Williams-Hayward emailed NSC's Wilson explaining that he             The Court notes that Williams-Hayward's alleged promises to
did not see a need for any paint testing if NSC proceeded with       NSC that form the basis of its promissory estoppel claims are
its process and used the recommended cure parameters.                in writing. The Court rejects Williams-Hayward's statute of
                                                                     frauds defense for the reasons stated in detail above.
 *21 Based on this evidence, NSC has created a genuine
issue of material fact of whether it is barred from bringing
                                                                        D. Tortious Interference with Contract
its implied warranty claims based on the “examination”
                                                                     NSC brings a claim of tortious interference with contract,
exception under Comment 8 of Section 2-316 if the Illinois
                                                                     which requires a plaintiff to show (1) the existence of a
Uniform Commercial Code. 6                                           valid and enforceable contract between the plaintiff and a
                                                                     third party, (2) defendant's awareness of the contract, (3)
                                                                     defendant's intentional and unjustified inducement of a breach


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of the contract, (4) defendant's wrongful conduct caused a        evidence because it must carry this burden of proof at trial.
subsequent breach of the contract by the third party, and (5)
                                                                  See Celotex Corp., 477 U.S. at 322;        Anderson v. Liberty
damages resulting from the breach.   Purmal v. Robert N.          Lobby, Inc., 477 U.S. at 252-53.
Wadington & Assocs., 354 Ill.App.3d 715, 289 Ill.Dec. 578,
820 N.E.2d 86 (Ill.App.Ct.2004).                                  The elements of a claim for fraudulent misrepresentation are:
                                                                  (1) defendant made a false statement of material fact; (2)
 *22 Williams-Hayward contends that NSC cannot establish          defendant knew that the statement was false; (3) defendant
that it intentionally and unjustifiably induced CPR to breach     intended that the statement would induce the plaintiff to act;
its contract with NSC. NSC does not address Williams-             (4) plaintiff relied on the truth of the statement; and (5)
Hayward's argument, instead, NSC argues that sufficient           plaintiff's damages resulted from reliance on the statement.
evidence exists to establish fraudulent intent. A claim of
                                                                     Davis v. G.N. Mortgage Corp., 396 F.3d 869, 882 (7 th
tortious interference with contract, however, does not require
that the actor have “fraudulent intent.”                          Cir.2005);    Board of Educ. of City of Chicago v. A, C, and
                                                                  S, Inc., 131 Ill.2d 428, 452, 137 Ill.Dec. 635, 546 N.E.2d
“The tort of interference with existing or prospective            580 (Ill.1989). “In its general sense, ‘fraud’ means anything
contractual relations requires that the interference be both      calculated to deceive, including all acts, omissions, and
intentional and improper.” LaRocco v. Bakwin, 108 Ill.App.3d      concealments involving a breach of legal or equitable duty,
723, 730, 64 Ill.Dec. 286, 291-92, 439 N.E.2d 537                 trust, or confidence resulting in damage to another.” Tri-G
(Ill.App.Ct.1982) (citing Section 767 of the Restatement          Inc. v. Burke, Bosselman & Weaver, 353 Ill.App.3d 197, 216,
(Second) of Torts)). Comment d. to Section 767 of                 288 Ill.Dec. 580, 817 N.E.2d 1230 (Ill.App.Ct.2004).
the Restatement (Second) of Torts explains that because
interference with contractual relations is an intentional tort,
“the injured party must show that the interference with his          1. False Statements of Fact
contractual relations was either desired by the actor or known     *23 Williams-Hayward contends that NSC cannot establish
by him to be a substantially certain result of his conduct.”      that it made false statements of fact because the asserted facts
                                                                  amount to nothing more than Williams-Hayward's opinions.
NSC does not argue either how Williams-Hayward desired            In general, an expression of opinion will not support an
to interfere with NSC and CPR's contract or how Williams-
                                                                  action for fraud. See       Duhl v. Nash Realty, Inc., 102
Hayward knew that CPR's alleged breach would be a
                                                                  Ill.App.3d 483, 489, 57 Ill.Dec. 904, 429 N.E.2d 1267, 1272
“substantially certain result” of its conduct. In addition,
NSC presents no arguments with supporting evidence that           (Ill.App.Ct.1981); see also     West v. Western Cas. & Surety
CPR actually breached their contract. Without more, NSC's         Co., 846 F.2d 387, 393 (7 th Cir.1988) ( “statement that merely
                                                 7                expresses an opinion or that relates to future or contingent
tortious interference with contract must fail. Therefore,
the Court grants Williams-Hayward's motion for summary            events, rather than past or present facts, does not constitute
judgment as to Count VI of NSC's Second Amended                   an actionable misrepresentation”). Whether a statement is
Counterclaim.                                                     one of fact or opinion depends on the circumstances of a
                                                                  case.     Prime Leasing, Inc. v. Kendig, 332 Ill.App.3d 300,
                                                                  309, 265 Ill.Dec. 722, 773 N.E.2d 84 (Ill.App.Ct.2002). “A
   E. Fraudulent Misrepresentation and Concealment
                                                                  statement that, standing alone, appears to be a statement
In Count VII of its Second Amended Counterclaim, NSC
                                                                  of opinion, nevertheless may be a statement of fact when
alleges fraudulent misrepresentation and concealment against
                                                                  considered in context. Courts focus on the circumstances
Williams-Hayward. Under Illinois law, a party must prove the
                                                                  surrounding the representation to determine whether the
elements of fraud by clear and convincing evidence.      In re    plaintiff may have justifiably relied on the opinion as though
Application of Rosewell, 106 Ill.2d 311, 318-19, 88 Ill.Dec.
                                                                  it were a statement of fact.”   West, 846 F.2d at 393. When
28, 478 N.E.2d 343 (Ill.1985); see also Bixby's Food Sys., Inc.
                                                                  a speaker “holds himself out or is understood as having
v. McKay, 193 F.Supp.2d 1053 (N.D.Ill.2002). At summary
                                                                  special knowledge of the matter which is not available to
judgment NSC must establish the elements of fraudulent
                                                                  the plaintiff,” the speaker's “opinion becomes in effect an
misrepresentation and concealment by clear and convincing



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                                                                 Williams-Hayward also contends that NSC cannot prove
assertion summarizing his knowledge.” Id. (citing       Duhl,
                                                                 that it intentionally made a false statement of material fact.
102 Ill.App.3d at 489, 57 Ill.Dec. 904, 429 N.E.2d 1267).
                                                                 The Court notes that “evaluations of motive and intent are
“Thus, the general rule is that it is not ‘the form of the
                                                                 generally inappropriate on a motion for summary judgment,”
statement which is important and controlling, but the sense in
                                                                 see    Kyle v. Patterson, 196 F.3d 695, 698 (7 th Cir.1999),
which it is reasonably understood.” ’ West, 846 F.2d at 394
                                                                 and that “resolution by summary judgment of the issues raised
(quoting Prosser & Keeton on Torts § 109, at 755 (W. Keeton
                                                                 by an allegation of fraud is often difficult or impossible.”
5 th ed.1984)).
                                                                 FDIC v. Lauterbach, 626 F.2d 1327, 1334 (7 th Cir.1980)
                                                                 (summary judgment often inappropriate in fraud claims
NSC, however, has presented sufficient evidence, under the
                                                                 because district court would be required to resolve subjective
clear and convincing standard of proof, to establish that
                                                                 issue of fraudulent intent). There is no absolute rule, however,
a genuine issue of material fact exists to whether Kurcz's
                                                                 that precludes summary judgment concerning fraud claims.
statements in his email of September 5, 2001, Kurcz's
subsequent assurances made in September 2001, and Kurcz's        Id.; see also    Munson v. Friske, 754 F.2d 683, 690 (7 th
email of December 18, 2001, contained false statements of        Cir.1985) (“although summary judgment is usually not proper
material facts. For instance, NSC has set forth evidence that    in a case involving a weighing of conflicting questions
Kurcz held himself out as experienced in developing water        of motive and intent, summary judgment is proper where
based products for the rail and chemical industry for over 30    the plaintiff presents no indications of motive and intent
years and that Williams-Hayward “know[s] of no company           supportive of his position”).
offering coatings systems in the corrosive services that can
produce the actual fleet data of over 90,000 units in service    NSC has presented evidence upon which a reasonable jury
for over 15 years with such a success rate.” (See Def.'s Stmt.   could find by clear and convincing evidence that Williams-
¶ 178.) Kurcz also stated that Williams-Hayward was the          Hayward made representations in reckless disregard or
“oldest supplier of water based products in the rail industry
                                                                 culpable ignorance of their truth or falsity. See      Hartmann
and we are confident we are also the best.” (See Def.'s Stmt.
                                                                 Co. v. Capital Bank & Trust Co., 296 Ill.App.3d 593, 602, 230
¶ 200.)
                                                                 Ill.Dec. 830, 694 N.E.2d 1108 (Ill.App.Ct.1998). Specifically,
                                                                 NSC has set forth evidence that while Williams-Hayward
Furthermore, NSC has come forward with evidence of
                                                                 was making assurances that the High Rubber Thermalbond
Kurcz's assertion that Williams-Hayward's High-Rubber
                                                                 paint, if applied properly, would pose no problems for the
Thermalbond paint, if properly applied, would pose no
                                                                 transport of the paper rolls, Kurcz admitted to Black and Ed
problems for the transport of the paper rolls. Kurcz also
                                                                 Kurcz that the paint sticking problem “could be big trouble
explained to NSC's Todd Pafford that the High-Rubber
                                                                 if it is not a mill thickness issue.” (Pls' Stmt. ¶ 148.) Despite
Thermalbond paint would do the job it was intended to do.
                                                                 Kurcz's assurance to NSC's Pafford that they never had one
Also, there is sufficient evidence in the record that Kurcz
                                                                 paper sticking complaint in all Williams-Hayward's years
knew the problem of the paint sticking in the paper cars when
                                                                 of service, there is evidence in the record that during the
he made these statements.
                                                                 December 21, 2001, telephone conference, Kurcz stated that
                                                                 some of the boxcars from the other railroad companies that
 *24 Based on this evidence, a reasonable jury could find that
                                                                 had used High-Rubber Thermalbond for transporting paper
Kurcz made false statements of fact. Specifically, examining
                                                                 had experienced paper sticking problems, but that this was an
the emails in the context of the paper boxcar sticking
                                                                 accepted industry problem.
problems that occurred during the fall of 2001, a reasonable
jury could find that Kurcz had summarized his knowledge
of the paint systems based on his background and expertise,         3. Reliance
and that Kurcz's emails contained false statements of material   Next, Williams-Hayward contends that NSC cannot establish
facts.                                                           that it relied on Kurcz's statements made in his fall of 2001
                                                                 emails. To establish justifiable reliance, NSC must show that
                                                                 it reasonably relied on Williams-Hayward's representations
  2. Scienter
                                                                 in light of the facts within NSC's actual knowledge and
                                                                 any facts NSC might have discovered by the exercise of



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ordinary prudence. See D.S.A. Fin. Corp. v. County of Cook,
345 Ill.App.3d 554, 559, 280 Ill.Dec. 130, 801 N.E.2d 1075        Because NSC has established that a genuine issue of material
(Ill.App.Ct.2003). Justifiable reliance is typically a question   fact exists as to whether it placed trust and confidence
of fact for the jury. Id.                                         in Williams-Hayward, the question of whether Williams-
                                                                  Hayward had a duty to disclose material facts is a question
 *25 Here, NSC has established that there is a genuine issue      for the jury.
of material fact as to its reliance on Kurcz's assurances and
statements. There is evidence in the record that because of
NSC's limited experience with High-Rubber Thermalbond                F. Damages
paint, NSC needed full “buy-off” from Williams-Hayward            Last, Williams-Hayward contends that NSC cannot establish
that NSC's application was in accordance with Williams-           that Williams-Hayward caused its alleged damages.
Hayward's technical requirements and was fit for the service
intended. NSC also presents evidence that it relied on
                                                                     1. Breach of Warranty Claims
Williams-Hayward's assurances and followed Black's and
                                                                  Williams-Hayward argues that because NSC failed to make
Williams-Hayward's revised paint application process.
                                                                  a claim for the difference between the value of the goods
                                                                  accepted and the value they would have had they been
   4. Fraudulent Concealment-Duty to Disclose                     warranted, NSC cannot recover any damages in this matter.
To establish a claim for fraudulent concealment, a plaintiff      As discussed above, under the Illinois Uniform Commercial
must show, in addition to the elements of fraudulent              Code, Section 2-714(2), “the difference between the value
misrepresentation, that the defendant concealed a material        of the goods accepted and the value they would have had
fact when it was under the duty to disclose that fact to the      they been warranted” is not the sole measure of damages as
                                                                  Williams-Hayward asserts. Instead, an aggrieved party may
plaintiff.   W.W. Vincent & Co. v. First Colony Life Ins.         recover incidental and consequential damages under Section
Co., 351 Ill.App.3d 752, 762, 286 Ill.Dec. 734, 814 N.E.2d        2-714(3) and also damages if “special circumstances show
960 (Ill.App.Ct.2004). The duty to disclose certain material
facts may arise out of several situations, including if (1)       proximate damages of a different amount.” See    Razor
plaintiff and defendant are in a fiduciary or confidential        v. Hyundai Motor America, 349 Ill.App.3d 651, 659, 286
relationship, or (2) plaintiff places trust and confidence        Ill.Dec. 190, 813 N.E.2d 247 (Ill.App.Ct.2004).
in defendant, thereby placing defendant in a position of
                                                                   *26 Nonetheless, Williams-Hayward contends that it had no
influence and superiority.      Connick v. Suzuki Motor Co.,      reason to know of NSC's particular requirements for the paper
Ltd., 174 Ill.2d 482, 250, 221 Ill.Dec. 389, 675 N.E.2d 584       cars at the time of contracting, and thus it cannot be held liable
(Ill.1996) (citations omitted).                                   for any losses resulting from them. The Court, however, has
                                                                  already concluded that there is a genuine issue of material
A genuine issue of material fact exists as to whether             fact concerning Williams-Hayward's knowledge of the paint's
NSC placed trust and confidence in Williams-Hayward.              requirements for the paper boxcars. Accordingly, Williams-
The record reveals that Williams-Hayward knew that NSC            Hayward's argument fails.
had no experience with High Rubber Thermalbond prior to
its contract with CPR to manufacture the paper boxcars.
Not only did Williams-Hayward develop the High-Rubber                2. Promissory Estoppel Claims
Thermalbond in the first instance, but Kurcz expressly            Next, Williams-Hayward contends that the promissory
stated that Williams-Hayward had extensive experience in          estoppel claims are merely a reiteration of the warranty
the industry. Specifically, Kurcz emailed Pafford: “We know       claims; therefore, the proper damages are the “difference
of no company offering coatings systems in the corrosive          between the value of the goods accepted and the value they
services that can produce the actual fleet data of over 90,000    would have had they been warranted.” See Illinois Uniform
units in service for over 15 years with such a success rate.      Commercial Code, Section 2-714(2). The Court, however, has
Therefore we are confident with our recommendation for the        rejected Williams-Hayward's argument that the promissory
use of High Rubber Thermalbond products at NSC and to our         estoppel claims are based on the same subject matter as
mutual customer Canadian Pacific Railroad.” (Def.'s Stmt. ¶       the sales contract. Williams-Hayward's argument concerning
178, Pls' Stmt. ¶ 124, Pls' Ex. 58.)                              promissory estoppel damages also fails.


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                                                                        (b) without discovery of such non-conformity if his
   3. Fraud Claim                                                       acceptance was reasonably induced either by the
Williams-Hayward asserts that NSC cannot recover damages                difficulty of discovery before acceptance or by the
for loss of reputation, interest charges, and cost overruns from        seller's assurances.
the repainting of the paper boxcars because these damages
were not a foreseeable result of Williams-Hayward's alleged        In essence, when a buyer has already accepted goods, he
fraud. Williams-Hayward discusses the law of proximate             may revoke acceptance when a nonconformity substantially
cause, but does not support its argument with facts in             impairs the value of the goods. See Sorce v. Naperville Jeep
the record. Without a more developed argument, Williams-           Eagle, Inc., 309 Ill.App.3d 313, 320-21, 242 Ill.Dec. 738,
Hayward has failed to establish that, as a matter of law,          722 N.E.2d 227 (Ill.App.Ct.1999). Whether an attempted
NSC cannot establish damages based on its fraudulent               revocation of acceptance is valid hinges on material questions
misrepresentation and concealment claim. Because proximate         of fact. Id. at 321, 242 Ill.Dec. 738, 722 N.E.2d 227 (“trier of
cause for tort damages is generally a question of fact, this       fact must determine whether the alleged nonconformities in
                                                                   the goods caused substantial impairment to the buyer”)
issue is for the jury to decide. Kavales v. City of Berwyn,
305 Ill.App.3d 536, 547, 238 Ill.Dec. 738, 712 N.E.2d 842
                                                                   Based on Williams-Hayward's assurances that the paint's
(Ill.App.Ct.1999).
                                                                   stickiness problems would be cured, NSC contends that it
                                                                   may revoke its acceptance under Section 2-608. Williams-
Finally, Williams-Hayward contends that NSC cannot
                                                                   Hayward, however, contends that despite the alleged
establish any entitlement to exemplary damages because there
                                                                   assurances made in the fall of 2001, NSC's continued use of
is no evidence of Williams-Hayward's fraudulent conduct. As
                                                                   the High-Rubber Thermalbond demonstrates that NSC never
discussed, NSC has established a genuine issue of material
                                                                   revoked its acceptance of the paint. Illinois courts, however,
fact as to its fraud claim against Williams-Hayward, and thus
                                                                   reject the notion that use by the buyer constitutes irrevocable
Williams-Hayward's argument regarding exemplary damages
                                                                   acceptance. See North Am. Lighting, Inc. v. Hopkins Mfg.
fails.
                                                                   Corp., 37 F.3d 1253, 1259 (7 th Cir.1994);   Frank's Maint.
                                                                   & Eng'g v. C.A. Roberts Co., 86 Ill.App.3d 980, 986, 42
III. Summary Judgment Motion on Williams-Hayward's                 Ill.Dec. 25, 408 N.E.2d 403 (Ill.App.Ct.1980).
Count I of Counterclaim
In Count I of its Counterclaims, Williams-Hayward, relying         Nonetheless, Williams-Hayward argues that NSC has failed
on Illinois Uniform Commercial Code Section 2-709,                 to demonstrate that it “experienced a substantial impairment
contends that, as a matter of law, it is entitled to the payment   of value after it accepted and consumed Williams-Hayward's
of the purchase price and additional accrued charges for the       paint.” To establish the substantial impairment of the value
paint accepted by NSC. For the following reasons, Williams-        of goods, a buyer must bring forward objective evidence
Hayward's argument fails.                                          that, with respect to his needs, the value of the goods was

NSC asserts that it properly revoked acceptance of the             substantially impaired.   GNP Commodities, Inc. v. Walsh
“non-conforming goods” under Section 2-608 of the Illinois         Heffernan Co., 95 Ill.App.3d 966, 978, 51 Ill.Dec. 245, 420
Uniform Commercial Code, and thus is not required to pay           N.E.2d 659 (Ill.App.Ct.1981); see also North Am. Lighting,
the remainder of the purchase price as Williams-Hayward            Inc., 37 F.3d at 1259.
contends. Section 2-608 reads:
                                                                   NSC has provided ample evidence that due to the propensity
  (1) The buyer may revoke his acceptance of a lot                 of the High-Rubber Thermalbond to fuse with the paper rolls,
  or commercial unit whose non-conformity substantially            the paint had no value to NSC. For example, after hauling
  impairs its value to him if he has accepted it                   newsprint paper rolls, the pull-ahead car and subsequent trial
                                                                   cars all exhibited sticking problems, namely, the paint stuck
      *27 (a) on the reasonable assumption that its non-           to the paper rolls' wrappings and exposed the paper rolls
     conformity would be cured and it has not been                 to damage. Because of this damage, the newsprint paper
     seasonably cured; or                                          supplier refused to accept the paper boxcars for its service. A




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                                                                   Because NSC has raised a genuine issue of material fact
reasonable jury could find that the paint's stickiness problems
                                                                   concerning the disposition of the paint, Williams-Hayward's
rendered the boxcars unsuitable for paper service.
                                                                   argument fails.
Next, Williams-Hayward contends that NSC exercised
improper ownership over the paint remaining on NSC's
premises after NSC determined that the paint was non-                                       CONCLUSION
conforming. Section 2-603(1) of the Illinois Uniform
Commercial Code explains that absent instructions from the          *28 For these reasons, the Court grants in part and denies in
seller with respect to the goods, a “buyer does not have a duty    part Defendant's Motions for Summary Judgment.
to return goods; rather the burden is on the seller to repossess
them if he wants them.” See    Frank's Maint., 86 Ill.App.3d       All Citations
at 986, 42 Ill.Dec. 25, 408 N.E.2d 403. NSC has set forth
evidence that Williams-Hayward never provided instructions         Not Reported in F.Supp.2d, 2005 WL 782698, 57 UCC
regarding the disposition of the paint, nor did Williams-          Rep.Serv.2d 136
Hayward attempt to retrieve the paint. (Pls' Stmt. ¶¶ 180-82.)




                                                           Footnotes


1      For the first time in its Reply Brief, Williams-Hayward contends that CPR's claims are nothing more than
       “thinly-disguised tort claims” barred by   Moorman Mfg. Co. v. National Tank Co., 91 Ill.2d 69, 61 Ill.Dec.
       746, 435 N.E.2d 443, 452 (Ill.1982). Williams-Hayward waives this argument because it was brought for the
                                                                                                  th
       first time in its Reply Brief. See Carter v. Tennant Co., 383 F.3d 673, 679 (7 Cir.2004).
2      Any examinations made by CPR after the contract was formed do not affect the existence of the implied
                                                                                            th
       warranties. See White & Summers, Uniform Commercial Code § 12-6 (4 ed.)
3      For the first time in its Reply Brief, Williams-Hayward contends that CPR cannot recover consequential
       damages. See        Szajna v. General Motors Corp., 115 Ill.2d 294, 311, 104 Ill.Dec. 898, 503 N.E.2d 760
       (Ill.1986). Williams-Hayward waives this argument because it was made for the first time in the Reply Brief.
                                                                   th
       See      Carter v. Tennant Co., 383 F.3d 673, 679 (7 Cir.2004). Also, Williams-Hayward's reliance on the
       dicta in Szajna is misplaced.
4      Williams-Hayward argues that its invoices following the shipments of paint, and not the purchase order,
       are the controlling contractual documents. Williams-Hayward, however, signed the acknowledgment copy of
       the purchase order under language stating: WE HEREBY ACKNOWLEDGE RECEIPT AND ACCEPTANCE
       OF YOUR ORDER, SUBJECT TO ALL TERMS AND CONDITIONS APPEARING ON THE FACE AND
       BACK, THEREOF. By signing this acknowledgment, Williams-Hayward accepted NSC's offer set forth in the
       purchase order. See Outboard Marine Corp. v. Babock Indus., Case No. 91 C 7247, 1995 WL 296963, at
       *5 (N.D.Ill. May 12, 1995) (citing UCC Section 2-207.) Furthermore, because the purchase order prohibits
       any attempts to impose additional terms to the contract through invoices, Williams-Hayward's subsequent
       invoices are not part of the contract for the purchase of the paint. See id.
5      Based on facts in dispute, Williams-Hayward makes the cursory argument that NSC did not rely on the
       alleged verbal representations, and thus they were not the “basis of the bargain” as required for a breach
       of express warranty claim. Because Williams-Hayward's argument is undeveloped, the Court considers it
                                                                                   th
       waived. See        Estate of Moreland v. Dieter, 395 F.3d 747, 759 (7            Cir.2005) (“Perfunctory or undeveloped
       arguments are waived”); see also            Weng v. Allison, 287 Ill.App.3d 535, 538, 223 Ill.Dec. 123, 678 N.E.2d



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       1254 (Ill.App.Ct.1997) (burden on seller to establish by affirmative proof that affirmations did not become
       part of basis of bargain).
6      Again, Williams-Hayward makes the argument that the paint was merchantable because it was not used for
       an “ordinary purpose.” As discussed in detail above, whether the use of High-Rubber Thermalbond in the
       paper boxcars was “ordinary” is a question of fact for the jury. See Check v. Clifford Chrysler-Plymouth of
       Buffalo Grove, Inc., 342 Ill.App.3d 150, 159, 276 Ill.Dec. 579, 794 N.E.2d 829 (Ill.App.Ct.2003).
7      It is not the Court's role to construct the litigants' legal arguments, especially when the parties are represented
                                                                                th
       by counsel. See      Doherty v. City of Chicago, 75 F.3d 318, 324 (7          Cir.1996).


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                             TAB 8
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                                                                  Attorneys and Law Firms
    KeyCite Yellow Flag - Negative Treatment
On Reconsideration in Part Crouch v. Johnson & Johnson Consumer   Scott M. Lempert, Sandals & Associates, P.C., Philadelphia,
Companies, Inc., D.N.J., August 2, 2010                           PA, for Plaintiff.
                    2010 WL 1530152
      Only the Westlaw citation is currently available.           Daniel B. Carroll, Drinker, Biddle & Reath, LLP, Florham
                NOT FOR PUBLICATION                               Park, NJ, Walter H. Swayze, III, Segal, McCambridge, Singer
       United States District Court, D. New Jersey.               & Mahoney, Ltd., Jersey City, NJ, John C. McGuire, Joseph F.
                                                                  Falgiani, Sedgwick, Detert, Moran, & Arnold, LLP, Newark,
      Jennifer CROUCH, individually and on behalf                 NJ, for Defendants.
         of all others similarly situated, Plaintiffs,
                              v.
          JOHNSON & JOHNSON CONSUMER                                                        OPINION
     COMPANIES, INC.; Kimberly Clark Corporation;
                                                                  DENNIS M. CAVANAUGH, District Judge.
     Wal–Mart Stores, Inc.; and John Doe, Defendants.
                                                                   *1 This matter comes before the Court upon motion by
            Civil Action No. 09–CV–2905 (DMC).                    Johnson & Johnson Consumer Companies, Inc. (“J & J”),
                               |                                  Kimberly–Clark Corporation (“KC”) and Wal–Mart Stores,
                        April 15, 2010.                           Inc. (“Wal–Mart”) (collectively, “Defendants”) to dismiss
                                                                  the Amended Class Action Complaint (“Complaint”) of
 West KeySummary                                                  Jennifer Crouch, individually and on behalf of all others
                                                                  similarly situated, (“Plaintiffs”) for failure to state a claim
                                                                  pursuant to Fed.R.Civ.P. 12(b)(6) and for lack of subject
 1        Antitrust and Trade                                     matter jurisdiction pursuant to Fed. R. Civ. 12(b)(1). Pursuant
          Regulation     Exclusive and Concurrent                 to Fed.R.Civ.P. 78, no oral argument was heard. After
          Remedies or Laws                                        considering the submissions of all parties, it is the decision of
          Products Liability      Economic losses;                this Court for the reasons herein expressed that Defendants'
          damage to product itself                                motion to dismiss is granted in part and denied in part.
          Products Liability       Cosmetics, soaps, and
          hair-care products
                                                                  I BACKGROUND
          Products Liability       Nature and form of             The Complaint is brought individually and on behalf of
          remedy                                                  all class purchasers (“Class Members”) of J & J's Baby
          A mother failed to state a New Jersey                   Shampoo, J & J's Moisture Care Baby Wash, Aveeno Baby
          law consumer fraud claim against a baby                 Soothing Relief Creamy Wash, Equate Tearless Baby Wash
          shampoo manufacturer. The mother's claims               and Huggies Soft Skin Shea Butter Baby Wipes (“products”).
          were preempted by the New Jersey Product                Plaintiffs allege that “although Defendants represented that
          Liability Act, which barred claims based on             the products they marketed, distributed, promoted, sold, and/
          pure economic loss. The mother alleged that             or made were safe for children, the Children's Personal Care
          she suffered an economic loss at the time of            Products were actually contaminated with toxic chemicals
          her shampoo purchase because the shampoo                linked to increased cancer risk, adverse skin reactions,
          contained undisclosed toxins and an ingredient          and other serious health problems.” (Plaintiffs' Complaint
          banned by the FDA. N.J.S.A. 2A:58C–1b(2).               (“Pl.Compl.”), ¶ 1). Plaintiffs further allege that despite
                                                                  representations made by these companies that their products
          8 Cases that cite this headnote                         are safe and gentle, these products contain contaminants that
                                                                  are not disclosed on the label and that could otherwise have
                                                                  been removed pursuant to a process called vacuum stripping.
                                                                  (Pl.Compl., ¶¶ 2, 5).




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Plaintiffs assert that independent lab tests, conducted          Count I of the Complaint asserts a claim for breach of
in accordance with regulations promulgated by the                implied warranty pursuant to the Uniform Commercial Code
Environmental Protection Agency (“EPA”), reveal that J &         (“UCC”) § 2–314. (Pl. Compl. at 102). Count II of the
J's Baby Shampoo contains methylene chloride in levels as        Complaint asserts a claim for breach of implied warranties of
high as 1.1 ppm, 1,4 dioxane levels as high as 38 ppm, and       merchantability and fitness for a particular use. (Pl.Compl., ¶
formaldehyde levels as high as 210 ppm. (Pl.Compl., ¶¶ 3,        114). Count III of the Complaint asserts a claim for unfair and
46). “After testing, [J & J's] Moisture Care Baby Wash was       deceptive trade practices. (Pl.Compl., ¶ 121). Count IV of the
found to be contaminated with 1,4–dioxane. Independent Lab       Complaint asserts a claim for unjust enrichment. (Pl.Compl.,
Tests found 1,4–dioxane levels of 22 ppm.” (Pl.Compl., ¶         ¶ 129).
56). “After testing, [J & J's] Aveeno Baby Soothing Relief
Creamy Wash was found to be contaminated with 1,4–
dioxane. Independent Lab Tests found 1,4–dioxane levels of       II. STANDARD OF REVIEW
4.0 ppm.” (Pl.Compl., ¶ 66). Plaintiffs also assert that each    “There is a fundamental difference of review under Rule 12(b)
of the foregoing qualifies as a cosmetic pursuant to the Food    (1), where the existence of disputed facts will not preclude the
Drug and Cosmetic Act because each is “intended to be            court from evaluating the merits of the jurisdictional claim,
rubbed, poured, sprinkled, or sprayed on, introduced into, or    and Rule 12(b)(6) where the court is required to accept as
otherwise applied to the human body or any part thereof for      true all the allegations of the complaint and all inferences
cleansing, beautifying, promoting attractiveness, or altering    arising from them.”     Anjelino v. New York, 200 F.3d 73,
the appearance” and is not “soap.”       21 U.S.C. § 321(i)      87 (3d Cir.1999). “[T]he threshold to withstand a motion to
(2008). (Pl.Compl., ¶¶ 50, 60, 69).                              dismiss under [Rule] 12(b)(1) is thus lower than that required
                                                                 to withstand a Rule 12(b)(6) motion.”     Kehr Packages Inc.
Plaintiffs also contend that “[a]fter testing, [ ] Kimberly      v. Fidelcor, Inc., 926 F.2d 1406, 1409 (3d Cir.1991)).
Clark's Huggies Soft Skin Shea Butter Baby Wipes were
found to be contaminated with 1,4–dioxane. Independent Lab
Tests found 1,4–dioxane levels of .53 ppm.” (Pl.Compl., ¶           A. Fed.R.Civ.P. 12(b)(6)
74). Moreover, Plaintiffs assert that this product qualifies     “The [d]istrict [c]ourt, in deciding a motion under
as a cosmetic pursuant to the Food Drug and Cosmetic             Fed.R.Civ.P. 12(b)(6), [is] required to accept as true all
Act because it is “intended to be rubbed, poured, sprinkled,     factual allegations in the complaint and draw all inferences
or sprayed on, introduced into, or otherwise applied to the      in the facts alleged in the light most favorable to the
human body or any part thereof for cleansing, beautifying,       [plaintiff].”    Phillips v. County of Allegheny, 515 F.3d 224,
promoting attractiveness, or altering the appearance” and is     228 (3d Cir.2008). “While a complaint attacked by a Rule
not “soap.”    21 U.S.C. § 321(I) (2008). (Pl.Compl., ¶ 77).     12(b)(6) motion to dismiss does not need detailed factual
                                                                 allegations, [ ] a plaintiff's obligation to provide the ‘grounds'
 *2 Additionally, Plaintiffs allege that “[a]fter testing,       of his ‘entitle[ment] to relief’ requires more than labels and
[Wal–Mart's] Equate Tearless Baby Wash was found to              conclusions, and a formulaic recitation of the elements of a
be contaminated with methylene chloride, 1,4–dioxane,            cause of action will not do.”   Bell Atl. Corp. v. Twombly,
and formaldehyde. Independent Lab Tests found methylene          550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).
chloride levels of 0.57 ppm, 1,4–dioxane levels of 39 ppm,       “[A court is] not bound to accept as true a legal conclusion
and formaldehyde levels of 350 ppm.” (Pl.Compl., ¶ 83).
Plaintiffs assert that this product qualifies as a cosmetic      couched as a factual allegation.”       Papasan v. Allain, 478
pursuant to the Food Drug and Cosmetic Act because it is         U.S. 265, 286, 106 S.Ct. 2932, 92 L.Ed.2d 209 (1986).
“intended to be rubbed, poured, sprinkled, or sprayed on,        “Factual allegations must be enough to raise a right to relief
introduced into, or otherwise applied to the human body          above a speculative level, [ ] on the assumption that all factual
or any part thereof for cleansing, beautifying, promoting        allegations in the complaint are true (even if doubtful in fact).”
attractiveness, or altering the appearance” and is not “soap.”      Bell, 550 U.S. at 555–56.
   21 U.S.C. § 321(I) (2008). (Pl.Compl., ¶ 86).
                                                                   B. Fed.R.Civ.P. 12(b)(1)



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 *3 “On a Rule 12(b)(1) motion, no presumption of                   “[O]rdinarily, one may not claim standing .... to vindicate the
truthfulness attaches to the allegations of the plaintiff.”         constitutional rights of some third party.” Pitt, 215 at 362.
                                                                    “We apply this prudential rule against third party standing
    CNA v. United States, 535 F.3d 132, 139 (3d Cir.2008).
                                                                    even when the requirements of Article III have been met,
A facial attack “concerns ‘an alleged pleading deficiency’
                                                                    to ‘avoid deciding questions of broad social import ... [and]
whereas a factual attack concerns the actual failure of
                                                                    to limit access to the federal courts to those litigants best
[a plaintiff's] claims to comport [factually] with the
jurisdictional prerequisites.” Id. (citing U.S. ex rel. Atkinson    suited to assert a particular claim.’ “ Id. (citing  Gladstone,
v. Pa. Shipbuilding Co., 473 F.3d 506, 514 (3d Cir.2007)).          Realtors v. Village of Bellwood, 441 U.S. 91, 99–100, 99 S.Ct.
                                                                    1601, 60 L.Ed.2d 66 (1979)). “[W]hen the asserted harm is a
                                                                    ‘generalized grievance’ shared in substantially equal measure
III. DISCUSSION                                                     by all or a large class of citizens, that harm alone normally
                                                                    does not warrant exercise of jurisdiction.” Berg v. Obama, 586
   A. Standing
To bring a suit in a federal court, Plaintiffs must have standing   F.3d 234, 239 (2009) (citing Warth v. Seldin, 422 U.S. 490,
pursuant to Article III of the United States Constitution. To       499, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975)). Furthermore,
establish standing under Article III, Plaintiffs must show: (1)     “[t]he standing inquiry does not change in the context of a
                                                                    putative class action.... [S]tanding cannot be predicated on
injury in fact; (2) causation; and (3) redressability. Horvath
                                                                    an injury which the plaintiff has not suffered, nor can it be
v. Keystone Health Plan E., Inc., 333 F.3d 450, 455 (3d
                                                                    acquired through the back door of a class action.” Koronthaly
Cir.2003);   Lujan v. Defenders of Wildlife, 504 U.S. 555,          v. L'Oreal, 2008 U.S. Dist. LEXIS 59024, *12 (D.N.J. July
560–61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992).                     25, 2008).

                                                                     *4 Defendants contend that “Plaintiff[s'] failure to plead
             First, the plaintiff must have suffered                any manifest, present, non-speculative injury, and failure to
             an injury in fact—an invasion of a                     allege that [the products] did not provide cleansing benefits”
             legally protected interest which is (a)                requires the Court to conclude that Plaintiffs lack standing
             concrete and particularized; and (b)                   in the instant matter. In reliance upon this Court's decision
             actual or imminent, not conjectural                    in Koronthaly, Defendants assert that Plaintiffs' demand for
             or hypothetical. Second, there must                    a refund of the purchase price as a consequence of exposure
             be a causal connection between the                     to Defendants' products fails to establish an injury-in-fact
             injury and the conduct complained                      and therefore, is not sufficient to confer standing where the
             of—the injury has to be fairly ...                     alleged harm is no more than conjectural or hypothetical. As
             trace[able] to the challenged action of                a result, Defendants claim that the absence of a cognizable
             the defendant, and not ... th[e] result                injury and thereby standing in this matter requires dismissal
             [of] the independent action of some                    pursuant to Fed.R.Civ.P. 12(b)(1).
             third party not before the court. Third,
             it must be likely, as opposed to merely                In response, Plaintiffs contend that economic injury is
             speculative, that the injury will be                   sufficient to confer standing in this matter, relying upon
             redressed by a favorable decision.
                                                                       Clinton v. City of New York, 524 U.S. 417, 118 S.Ct.
                                                                    2091, 141 L.Ed.2d 393 (1998) and            Danvers Motor Co.
                                                                    v. Ford Motor Co., 432 F.3d 286 (3d Cir.2005). Plaintiffs
Id. (citing AT & T Communications of N.J., Inc.v. Verizon
                                                                    contend that where the product contains undisclosed toxins
N.J., Inc., 270 F.3d 162, 170 (3d Cir.2001)). “The injury must
                                                                    and an ingredient banned by the FDA, the injury arises at
affect the plaintiff in a personal and individual way.”      Pitt   the time of purchase. In distinguishing the Koronthaly v.
News v. Fisher, 215 F.3d 354 (3d Cir.2000);       Alston v.         L'Oreal case, citing to this Court's disposition on a motion for
Countrywide Fin. Corp., 585 F.3d 753, 763 (3d Cir.2009).            reconsideration, Plaintiffs assert that unlike Koronthaly where
                                                                    this Court determined that plaintiff “provided no authoritative
                                                                    evidence that the lead levels in defendants' lipstick products
                                                                    constitute[d] a dangerous amount or [were] in some way


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prohibited[,]” the present action involves methylene chloride,
a substance banned by the FDA for use in cosmetics. 2008
U.S. Dist. LEXIS 86419, *11, 2008 WL 4723862 (D.N.J. Oct.            B. Choice of Law
24, 2008). Further, Plaintiffs contend that the EPA classifies     As a federal district court sitting in diversity, this Court
the other chemicals at issue as probable carcinogens. Lastly,      must apply the choice of law rules of New Jersey, the forum
Plaintiffs assert that their claims should stand because           state. See    Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S.
Plaintiffs have at least raised an issue of fact with respect to   487, 496–97, 61 S.Ct. 1020, 85 L.Ed. 1477 (1941). New
whether the chemicals contained in Defendants' products are        Jersey's choice of law rules mandate that the determinative
dangerous in amount.                                               law is that of the state with the greatest interest in governing
                                                                   the particular issue. The first step is to determine whether
The Koronthaly case involved the purchase of a lipstick            a conflict exists between the law of interested states, and
containing lead, the content of which was not subject to           then any conflict shall be determined on an issue-byissue
FDA regulation. Id. at *2–3. However, the lead content of          basis. “Under general conflict of laws principles, where the
the lipstick appeared dangerous when compared to the lead          laws of the two jurisdictions would produce the same result
content regulation imposed by the FDA on candy. Id. In             on the particular issue presented, there is a ‘false conflict,’
the absence of an FDA regulation concerning lead content           and the court should avoid the choice-of-law question.”
in lipstick, or other legal prohibition, the plaintiff could
                                                                       Williams v. Stone, 109 F.3d 890, 894 (3d Cir.1997). If there
not “seek a remedy for a harm that she ha[d] not actually
                                                                   is a conflict, then the court must identify the governmental
or allegedly suffered.” Moreover, this Court accorded great
                                                                   policies underlying the law of each state and how those
weight to the decision in        Williams v. Purdue Pharma         policies are affected by each state's contacts to the litigation. If
Co., 297 F.Supp.2d 171 (D.D.C.2003), concluding that the           the state's law is not related to its contacts with the litigation,
“plaintiffs' allegation of an economic injury in a products        then the state does not have an interest in having its law
liability action was insufficient to establish injury-in-fact”
                                                                   applied to the underlying issue. See      Vezey v. Doremus,
because “without alleging that a product failed to perform as
                                                                   103 N.J. 244, 510 A.2d 1187, 1189 (N.J.1986). That is, if
advertised, a plaintiff has received the benefit of his bargain
                                                                   there is an actual conflict between the two states' laws, the
and has no basis to recover purchase costs.” Id. at *13–14.
                                                                   court then determines “which state has the most meaningful
Therefore, the Williams Court “remarked that benefit of the
                                                                   connections with and interests in the transaction and the
bargain injury could not sustain a claim of injury in fact.” Id.
                                                                   parties.” Spence–Parker v. Del. Riv. & Bay Authority, 2009
                                                                   U.S. Dist. LEXIS 75187, *20, 2009 WL 2602094 (D.N.J.
 *5 While the Court agrees that the assertion of an economic
                                                                   Aug. 21, 2009). Where no actual conflict of law exists, no
injury is not an automatic bar to standing, Koronthaly
demonstrates that an exception has been recognized in the          choice of law need be made. See         Zavala v. Wal–Mart
context of claims concerning defective products, absent a          Stores, Inc., 393 F.Supp.2d 295, 333 (D.N.J.2005). “If there
specific legal prohibition precluding particular ingredients or    is no actual conflict, the court must apply the law of New
usages. Insofar as Plaintiffs claims pertain to allegedly toxic    Jersey.” LNT Merck Co. v. Dyson, Inc., 2009 U.S. Dist. LEXIS
chemicals that have not been banned by the FDA for use
                                                                   62308, *6 (D.N.J. July 21, 2009) (citing       Lebegern v.
in cosmetics, including 1,4–dioxane and formaldehyde, in
                                                                   Forman, 471 F.3d 424, 428 (3d Cir.2006)). In that instance,
accordance with Koronthaly, this Court concludes that any
                                                                   a motion to dismiss under Fed.R.Civ.P. 12(b) (6) should
potential injury is too remote, hypothetical and/or conjectural
to establish standing in this matter. However, insofar as          be decided under New Jersey law. See        Gallerstein v.
Plaintiffs' claims pertain to methylene chloride, a chemical       Berkshire Life Ins. Co. of America, 2006 U.S. Dist. LEXIS
explicitly banned for use by the FDA in any cosmetic,              64487, *3, 2006 WL 2594862 (D.N.J. Sept. 11, 2006).
this Court declines to dismiss Plaintiffs' claims pursuant to
Fed.R.Civ.P. 12(b)(1) for lack of standing. At this stage,          *6 The parties' moving papers recognize that the outcome
Plaintiffs are permitted to proceed only with respect to claims    is the same regardless of whether New Jersey State Law
concerning J & J's Baby Shampoo and Wal–Mart's Equate              or Kentucky State Law is applied to this diversity action.
Tearless Baby Wash. With respect to the other allegedly            Therefore, the parties assert that no conflict of laws issue is
defective products and their manufacturers, Plaintiffs' claims     present in the instant matter.
are dismissed.


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                                                                    product used by consumers, were excluded from the scope
   1. New Jersey State Law Breach of Warranty, Consumer             of” the PLA. We reach the same conclusion here.
   Fraud and Unjust Enrichment Claims
Defendants assert that dismissal is required with respect           The language of the PLA represents a clear legislative
to all Plaintiffs' claims because the claims are based on           intent that, despite the broad reach we give to the CFA, the
alleged harm caused by a product and as a consequence,              PLA is paramount when the underlying claim is one for
are subsumed by the New Jersey Product Liability Act                harm caused by a product. The heart of plaintiffs' case is the
(“PLA”). Plaintiffs argue that the PLA does not subsume             potential for harm caused by Merck's drug. It is obviously
Plaintiffs' UCC or consumer protection claims because               a product liability claim. Plaintiffs' CFA claim does not
Plaintiffs neither assert themselves as “claimants” nor allege      fall within an exception to the PLA, but rather clearly falls
present or future physical injuries as a consequence of             within its scope. Consequently, plaintiffs may not maintain
Defendants' products. Plaintiffs further allege that the heart      a CFA claim.
of the present matter is the economic harm caused by
Defendants' misrepresentations, omissions and breaches of         *7 Id. 1 2
warranty. Additionally, Plaintiffs contend that the instant
matter does not present a risk of double recovery, and that the   Similarly, at the heart of this matter is the potential for harm
claims asserted do not constitute a failure to warn cause of      caused by the defective products, J & J Baby Shampoo,
action pursuant to the PLA.                                       J & J Moisture Care Baby Wash, Aveeno Baby Soothing
                                                                  Relief Creamy Wash, Kimberly–Clark's Soft Skin Shea Butter
The New Jersey Supreme Court decision in Sinclair v.              Baby Wipes and John Doe and Wal–Mart Equate Tearless
Merck & Co . is instructive. In Sinclair v. Merck & Co.,          Baby Wash, containing allegedly “toxic chemicals linked
the Plaintiffs “alleged that as a result of their direct and      to increased cancer risk, adverse skin reactions, and other
prolonged consumption of Vioxx, they are at enhanced              serious health problems.” (Compl., ¶ 2). Further, Plaintiffs
risk of serious undiagnosed and unrecognized myocardial           allege that the products were rendered useless “because they
infarction, commonly referred to as ‘silent heart attack,’ and    were contaminated with dangerous and potentially cancer-
                                                                  causing chemicals and continued use of the products would
other latent and unrecognized injuries.”     195 N.J. 51, 55,
                                                                  require Plaintiffs and Class Members to knowingly continue
948 A.2d 587 (2008). In that case, the plaintiffs asserted
                                                                  and even increase the exposure of their vulnerable infants and
claims for negligence, violation of the Product Liability Act,
                                                                  children to the harmful contaminants.” (Compl., ¶ 2).
violation of the Consumer Fraud Act, breach of express and
implied warranties and unjust enrichment. Id. In dismissing
                                                                  Consistent with the Sinclair decision, this Court concludes
the complaint in its entirety, New Jersey Supreme Court
                                                                  that the PLA subsumes all of Plaintiffs' claims, effectively
determined the following,
                                                                  precluding Plaintiffs' claims with respect to the CFA, and
  [p]laintiffs seek to avoid the requirements of the PLA          otherwise, in the absence of “harm” as defined by the PLA.
  by asserting their claims as CFA claims. However, the           The Court does not agree that articulating a claim in terms
  Legislature expressly provided in the PLA that claims for       of pure economic harm where the core issue is the potential
  “harm caused by a product” are governed by the PLA              injury arising as a consequence of the products' allegedly
  “irrespective of the theory underlying the claim.” N.J.S.A.     harmful chemicals converts the underlying defective product
  2A:58C–1b(3). We explained in Lead Paint, supra, that           claim into an independent and unrelated consumer fraud
  “[t]he language chosen by the Legislature in enacting           issue. Indeed, Plaintiffs' original Complaint contains a cause
  the PLA is both expansive and inclusive, encompassing           of action for products liability strategically omitted from the
  virtually all possible causes of action in relating to harms    amended Complaint. Limiting a claim to economic injury and
                                                                  the remedy sought to economic loss cannot be used to obviate
  caused by consumer and other products.”          191 N.J. at
                                                                  the PLA.
  436–37, 924 A.2d 484. As a result, we declared that “[i]n
  light of the clear intention of our Legislature to include
                                                                  The assertion of a claim pursuant to the PLA is premised upon
  all [product liability] claims within the scope of the PLA,
                                                                  a requisite level of harm, including:
  we find no ground on which to conclude that the claims
  being raised by plaintiffs, regarding an ordinary household




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                                                                     “As used in KRS [§§ ] 411.310 to 411.340, a ‘product
                                                                     liability action’ shall include any action brought for or
             (a) physical damage to property, other                  on account of personal injury, death or property damage
             than to the product itself; (b) personal                caused by or resulting from the manufacture, construction,
             physical illness, injury or death; (c)                  design, formulation, development of standards, preparation,
             pain and suffering, mental anguish                      processing, assembly, testing, listing, certifying, warning,
             or emotional harm; and (d) any loss                     instructing, marketing, advertising, packaging or labeling of
             of consortium or services or other                      any product.” Monsanto Co. v. Reed, 950 S.W.2d 811, 814
             loss deriving from any type of harm                     (Ky.1997) (citing KRS § 411.300(1)). “The PLA applies to all
             described in subparagraphs (a) through                  damage claims arising from the use of products, regardless of
             (c) of this paragraph.                                  the legal theory advanced. There is no language in the PLA
                                                                     which suggests that products liability actions mean only those
                                                                     actions based on strict liability in tort under Section 402A
N.J.S.A. 2A:58C–1b(2). Harm, for purposes of the PLA,                of the Restatement of Torts. As we read the Act, if a claim
does not include pure economic loss. Insofar as Plaintiffs           is brought against a seller or a manufacturer of a product
concede that their injury is purely economic, Plaintiffs' claims     which is alleged to have caused injury, then the PLA applies,
cannot survive. Therefore, with respect to New Jersey law, in        regardless of whether the action is founded on strict liability
accordance with Sinclair, Plaintiffs' Complaint is dismissed         in tort, negligence or breach of warranty. While each of these
without prejudice in its entirety.                                   theories of recovery in products liability cases requires proof
                                                                     of different elements and has different implications, [ ] their
                                                                     central purpose is the same: recovery of damages for injury
   2. Kentucky State Law Breach of Warranty, Consumer                or property damage caused by a product.” Id.
   Fraud and Unjust Enrichment
Despite the parties' respective beliefs that there is no conflict    “Under the Kentucky Consumer Protection Act, all ‘unfair’
of law issue present in the instant matter, it is not clear to the   acts or practices in the conduct of any trade or commerce
Court that product liability laws of Kentucky subsume related
claims in the same manner as the New Jersey PLA. Therefore,          are declared to be unlawful.”  Ford Motor Co. v.
upon dismissal of all New Jersey State Law claims and for            Mayes, 575 S.W.2d 480, 385 (Ky.Ct.App.1978) (citing
purposes of inclusion, the Court will proceed by addressing               KRS 367.170(1)). “The term ‘unfair’ is defined to mean
the viability of Plaintiffs' claims under Kentucky State Law.
                                                                     ‘unconscionable.’ “ Id. (citing     KRS 367.170(2)). “Any
If Plaintiffs have asserted viable claims pursuant to Kentucky
                                                                     person who purchases goods primarily for ‘personal, family
State Law, then a conflict of law exists and the Court will
                                                                     or household purposes' and who thereafter suffers any
undertake to ascertain which state has the superior interest in
                                                                     ascertainable loss as a result of any act declared unlawful
the litigation.
                                                                     by      KRS 367.170 is authorized to bring a civil action to

   i. Consumer Fraud                                                 recover actual damages.” Id. (citing    KRS 367.220(1)).
 *8 Defendants contend that Plaintiffs have no viable claims
pursuant to Kentucky Consumer Protection Act (“CPA”)                 Notably, the Kentucky Court of Appeals has rejected the
because the Kentucky Products Liability Act (“KPLA”)                 argument that the “Consumer Protection Act, K.R.S. 367170,
subsumes the CPA, because Plaintiffs fail to allege any non-         was not intended to create a cause of action for bodily injury:
speculative, ascertainable loss and finally, because Plaintiffs      that its purpose was to protect consumers against economic
fail to plead their claims with particularity in accordance with     loss resulting from unethical trade practices by sellers of
Fed.R.Civ.P. 9(b). Plaintiffs assert that claims pursuant to the     goods and services.”      AMC v. Addington, 1984 Ky.App.
CPA are not subsumed by the KPLA because Plaintiffs do not           LEXIS 480, *13, 1984 WL 588048 (Ky.Ct.App. Apr. 6,
allege physical injury and because Plaintiffs are not seeking        1984). “It is generally true that if injury results from an
to impose liability on Defendants for representations made           activity declared to be statutorily unlawful, then a tort has
regarding a product different from the product purchased.            been committed. This is so notwithstanding the fact that the
                                                                     primary purpose of the Kentucky Consumer Protection Act is



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to suppress unethical trade practices for the buying public. We   Plaintiff resides in Louisville, Kentucky and from 2006 to
consider the statute to create a degree of consumer expectation   2008 purchased Defendants' products. J & J is a New Jersey
as to the safety and usability of products, encompassing some     corporation engaged in business throughout the United States.
mishandling and haphazards within the definition of ordinary      Wal–Mart is an Arkansas corporation engaged in business
use of a [product].” Id. at *13–14. That Court elaborated,        throughout the United States. Therefore, the Kentucky State
                                                                  contacts in the instant matter seem to outweigh New Jersey
                                                                  State contacts. Kentucky State Law prevails with respect to
             *9 [i]t is our reasoning that if                     this issue.
            one is injured from a breach of a
            statutory duty, in this case the duty
                                                                     ii. Breach of Warranty
            imposed by    K.R.S. 367.220 3 , then                 Defendants move to dismiss Plaintiffs' breach of implied
            that cause of action is preserved by                  warranty claims because the Complaint fails to allege that
            K.R.S. 446.070 4 , which [pr]ovides                   the products were not merchantable or failed to perform the
            that a person injured by a violation                  function for which they were sold, because the Complaint
            of any statute may recover damages.                   only asserts a claim for a potential breach and finally, because
            While it appears that we are letting                  the Complaint fails to allege a “particular purpose” separate
            in the back door a cause of                           and apart from the ordinary purpose. In contrast, Plaintiffs
            action via K.R.S. 446.070, it is                      contend that the Complaint adequately asserts a claim of
            only sensible that one who breaches                   breach of implied warranty of merchantability because the
            or violates a duty imposed by                         products are adulterated with methylene chloride and for
            law should be responsible for the                     breach of implied warranty of fitness because the goods are
            consequences readily foreseeable by                   not fit for their ordinary and/or particular use on children.
            that failure to follow the law. The cases
            annotated under overwhelmingly                        “Contract liability for breach of warranty arises not from
            permit recovery for personal injuries                 the common law, but from the terms of the contract and
            resulting from various and sundry                     the statutory provisions of the U.C.C. The concept of
            statutory violations.                                 implied warranty in particular is governed by two express
                                                                  sections of the U.C.C., KRS 355.2–314 and KRS 355.2–
                                                                  315.”      Compex Int'l Co. v. Taylor, 209 S.W.3d 462, 465
Id. The principle espoused by the Kentucky Court of Appeals       (Ky.2006). Pursuant to KRS 355.2–315, “[w]here the seller
appears to be the inverse of the approach adopted in              at the time of contracting has reason to know any particular
New Jersey. That is, rather than the KPLA subsuming the           purpose for which the goods are required and that the buyer
Kentucky CPA, the expansive reach of the Kentucky CPA             is relying on the seller's skill or judgment to select or furnish
appears to encompass and allow for the assertion of products      suitable goods, there is unless excluded or modified under
liability/personal injury tort claims. Therefore, with respect    KRS 355.2–316[, Exclusion or Modification of Warranties,]
to Kentucky State Law, this Court will not dismiss Plaintiffs'    an implied warranty that the goods shall be fit for such
claims on this ground.                                            purpose.” “Fit for ordinary purposes for which used” does not
                                                                  require perfection. Bickett v. W.R. Grace & Co., 1972 U.S.
Although foreclosed by application of the PLA in the instant      Dist. LEXIS 14781, *22, 1972 WL 20845 (W.D.Ky.1972).
case, the CFA was enacted to “protect the consumer against        “The standard is reasonable fitness for the purpose intended.”
imposition and loss as a result of fraud and fraudulent           Id. (internal citations omitted).
practices by persons engaged in the sale of goods and
                                                                  *10 Pursuant to KRS 355.2–314, “Goods to be
services.” Smith v. Alza, 400 N.J.Super. 529, 552, 948 A.2d
                                                                  merchantable must be at least as such as”
686 (2008). As articulated above, the “primary purpose of the
Kentucky Consumer Protection Act is to suppress unethical           (a) pass without objection in the trade under the contract
trade practices for the buying public.” AMC, 1984 Ky.App.           description; and
LEXIS 480, at *13, 1984 WL 588048. The representative



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                                                                    claim cannot survive because instead of being pled in the
  (b) in the case of fungible goods, are of fair average quality    alternative, it merely incorporates other deficient claims set
  within the description; and                                       forth in the Complaint. Finally, Defendants argue that because
                                                                    Plaintiffs fail to assert that the allegedly defective products
  (c) are fit for the ordinary purposes for which such goods
                                                                    failed to perform the function for which they were sold,
  are used; and
                                                                    a claim for unjust enrichment cannot survive. By contrast,
  (d) run, within the variations permitted by the agreement, of     Plaintiffs assert that non-gratuitous benefits were conferred
  even kind, quality and quantity within each unit and among        upon Defendant, the retention of which would unjustly enrich
  all units involved; and                                           the Defendants.

  (e) are adequately contained, packaged, and labeled as the        “A party may state as many separate claims or defenses as
  agreement may require; and
                                                                    it has, regardless of consistency.”      Holley Performance
  (f) conform to the promises or affirmations of fact made on       Products v. Keystone Auto Operations, Inc., 2009 U.S. Dist.
  the container or label if any.                                    LEXIS 102709, *16, 2009 WL 3613735 (W.D.Ky. Oct.
                                                                    29, 2009). In Holley, the Court concluded that “as this
Assuming, without concluding, that the descriptive messages         is a motion to dismiss, and not for summary judgment,
on the alleged defective products constitute promises               the burden on the plaintiff is only to allege sufficient
or affirmations, then, in accordance with the foregoing             facts to show unjust enrichment is a plausible claim for
limitations, Plaintiffs' claims for breach of implied warranties    relief.” Id. (“The Court need not at this time determine
pursuant to Kentucky State Law are permitted to proceed.            whether or not there is in fact a viable contract claim which
                                                                    destroys any claims for equitable relief; the Court need
Although foreclosed by application of the PLA in the instant        only determine if all claims are sufficiently plead.”). “Under
matter, the underlying purpose of the UCC as recognized             Kentucky law, to succeed on a claim of unjust enrichment,
by the New Jersey Supreme Court, is “to simplify, clarify           the plaintiff must show the following elements: (1) a benefit
and modernize the law governing commercial transactions;            conferred upon the defendant at the plaintiff's expense; (2)
to permit the continued expansion of commercial practices           a resulting appreciation of the benefit by the defendant, and
through custom, usage and agreement of the parties; and to          (3) an inequitable retention of the benefit without payment
make uniform the law among various jurisdictions.” N.J.S.A.         for its value.” Stonestreet Farm, LLC v. Buckram Oaks
12A:1–102(1);       Alloway v. General Marine Indus., L.P.,         Holdings, N.V., 2007 U.S. Dist. LEXIS 31313, *15, 2007
149 N.J. 620, 630, 695 A.2d 264 (1997). Kentucky recognizes         WL 6995056 (E.D.Ky. Apr. 16, 2007) (citing         Guarantee
that “one of the purposes of the UCC is ‘to make uniform            Electric v. Bog Rivers Electric Corp., 669 F.Supp. 1371, 1381
the law among the various jurisdictions.’ “          Star Bank v.   (W.D.Ky.1987)). Equitable remedies are only available where
Parnell, 992 S.W.2d 189, 192 (Ky.Ct.App.1998). Kentucky             legal remedies are insufficient.      Holley, 2009 U.S. Dist.
also recognizes that “[a] principal purpose of the UCC is
                                                                    LEXIS 102709, at *7, 2009 WL 3613735 (citing      Dairy
to lower transaction costs by permitting covered parties to
                                                                    Queen, Inc. v. Wood, 369 U.S. 469, 478, 82 S.Ct. 894, 8
rely on certain objective standards of fair and reasonable
                                                                    L.Ed.2d 44 (1962)).
dealing.” A & A Mech. v. Thermal Equip. Sales, 998 S.W.2d
505, 510 (Ky.Ct.App.1999). Similar to the foregoing analysis,
                                                                     *11 Plaintiffs claim to have conferred a non-gratuitous
Kentucky's contacts with the representative Plaintiff and the
                                                                    benefit upon Defendants. Consistent with the elements of a
transactions that are the source of the Plaintiffs' claims favors
                                                                    claim for unjust enrichment, it is unclear to the Court how a
the application of Kentucky State law over New Jersey with
                                                                    non-gratuitous benefit is incurred at the expense of Plaintiffs.
respect to this issue.
                                                                    Nonetheless, Plaintiffs allege exclusively economic injury.
                                                                    On this ground, there is no indication that an adequate remedy
  iii. Unjust Enrichment                                            at law is unavailable to Plaintiffs. Therefore, to the extent
Defendants assert that where an adequate remedy at law              that Plaintiffs assert a claim for unjust enrichment pursuant to
exists, a claim seeking equitable relief is not viable.             Kentucky State Law, Plaintiffs' Complaint is dismissed.
Additionally, Defendants contend that the unjust enrichment



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                                                                  12(b)(1) and Fed.R.Civ.P. 12(b)(6). An appropriate Order
IV. CONCLUSION
                                                                  accompanies this Opinion.
For the foregoing reasons, Defendants' motion is granted in
part and denied in part. Plaintiffs' Complaint is partially
dismissed without prejudice pursuant to Fed.R.Civ.P.              All Citations

                                                                  Not Reported in F.Supp.2d, 2010 WL 1530152




                                                      Footnotes


1      Although this Court permitted the CFA claims to proceed in Nafar v. Hollywood Tanning Sys., Inc., in that
       case, the Plaintiff's claims and basis for distinction of the CFA from the PLA was the purchase of services,
       rather than the purchase of a defective product. 2007 U.S. Dist. LEXIS 26312, *12–14 (D.N.J. Apr. 5, 2007).
       CFA claims rooted in services are clearly distinguishable from claims grounded in products. The present
       action does not involve a claim for defective services.
2      Further, In re Ford Motor Co. E–350 Van Products, 2008 U.S. Dist. LEXIS 73690, *48 n. 9 (D.N.J. Sept. 3,
       2008), where the Court found the Sinclair case “inapposite” “because, by design, the PLA ‘except[s] actions
       for harm caused by breach of an express warranty[,]’ which plaintiffs expressly allege[d.]” On the basis
       of an express warranty, the Court concluded that Sinclair decision “does not mandate dismissal of unjust
       enrichment and state consumer fraud claims where a party does not plead a PLA claim.” Id. (internal citations
       omitted). Plaintiffs do not assert a claim for breach of an express warranty in the present action.
3
          K.R.S. 367.220. Action for recovery of money or property—When action may be brought.
       (1) Any person who purchases or leases goods or services primarily for personal, family or household
       purposes and thereby suffers any ascertainable loss of money or property, real or personal, as a result
       of the use or employment by another person of a method, act or practice declared unlawful by             K.R.S.
       367.170, may bring an action under the Rules of Civil Procedure in the Circuit Court in which the seller or
       lessor resides or has his principal place of business or is doing business, or in the Circuit Court in which the
       purchaser or lessee of goods or services resides, or where the transaction in question occurred, to recover
       actual damages. The court may, in its discretion, award actual damages and may provide such equitable
       relief as it deems necessary or proper. Nothing in this subsection shall be construed to limit a person's right
       to seek punitive damages where appropriate.
4      K.R.S. 446.070. Penalty no bar to civil recovery. “A person injured by the violation of any statute may
       recover from the offender such damages as he sustained by reason of the violation, although a penalty or
       forfeiture is imposed for such violation.”


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                             TAB 9
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                                                               In July 2015, D’Addario underwent breast reconstruction
                                                               surgery and received Mentor Implants. (Id. ¶ 152.) Plaintiffs
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                                                               allege that, at that time, Defendants were aware that
    Only the Westlaw citation is currently available.
                                                               Mentor Implants caused breast implant-associated anaplastic
             NOT FOR PUBLICATION
                                                               large cell lymphoma (“BIA-ALCL”) but failed to advise
     United States District Court, D. New Jersey.
                                                               D’Addario of the risk. (Id. ¶¶ 73, 153–55.) Had D’Addario
  Lory D’ADDARIO and Peter D’Addario, Plaintiffs,              known of the slightest risk of BIA-ALCL, she would not have
                      v.                                       proceeded with the implantation. (Id. ¶ 156.)
       JOHNSON & JOHNSON; Ethicon, Inc.;
                                                               In July 2017, D’Addario tested positive for BIA-ALCL. (Id.
     and Mentor Worldwide, LLC, Defendants.
                                                               ¶ 158.) Following diagnosis and treatment of BIA-ALCL,
          Civil Action No. 19-15627 (MAS) (TJB)                D’Addario suffered pain, swelling, and embarrassment. (Id. ¶
                             |                                 161.) In August 2017, D’Addario underwent implant removal
                     Filed 06/30/2020                          and total capsulectomy. (Id. ¶ 159.) The explantation caused
                                                               D’Addario tremendous pain. (Id. ¶ 160.)
Attorneys and Law Firms
                                                               Plaintiffs bring the following Counts against Defendants:
Dena Rachel Young, Brian J. McCormick, Jr., Ross Feller
                                                               (1) Strict Liability—Manufacturing Defect in violation of
Casey LLP, Philadelphia, PA, for Plaintiffs.
                                                               the Connecticut Product Liability Act (“CPLA”), Con. Gen.
Michael Charles Zogby, Drinker Biddle & Reath, LLP,            Stat. §§ 52-572, et seq.; (2) Negligent Misrepresentation;
Florham Park, NJ, Jessica Leigh Brennan, Faegre Drinker        (3) Breach of Express and Implied Warranty; (4) Violation
Biddle & Reath LLP, Gillette, NJ, for Defendants.              of the Connecticut Unfair Trade Practices Act (“CUTPA”),
                                                                 Conn. Gen. Stat. §§ 42-110b, et seq.; and (5) Loss of
                                                               Consortium. (Id. ¶¶ 176–233.)
              MEMORANDUM OPINION

SHIPP, District Judge                                          II. LEGAL STANDARD
                                                               “Federal Rule of Civil Procedure 8(a)(2) requires only ‘a short
 *1 This matter comes before the Court upon Defendants         and plain statement of the claim showing that the pleader
Mentor Worldwide, LLC (“Mentor”), Ethicon, Inc.                is entitled to relief,’ in order to ‘give the defendant fair
(“Ethicon”), and Johnson & Johnson’s (collectively,            notice of what the ... claim is and the grounds upon which
“Defendants”) Motion to Dismiss. (ECF No. 6.) Plaintiffs
                                                               it rests.’ ”    Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
Lory D’Addario (“D’Addario”) and Peter D’Addario
(collectively, “Plaintiffs”) opposed (ECF No. 25), and         (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957))
                                  1
Defendants replied (ECF No. 26). The Court has carefully       (alteration in original).
considered the parties’ submissions and decides the matter
without oral argument pursuant to Local Civil Rule 78.1. For    *2 District courts undertake a three-part analysis when
the reasons set forth below, Defendants’ Motion is granted.    considering a motion to dismiss pursuant to Federal Rule
                                                               of Civil Procedure 12(b)(6).    Malleus v. George, 641 F.3d
                                                               560, 563 (3d Cir. 2011). “First, the court must ‘tak[e] note
I. BACKGROUND 2                                                of the elements a plaintiff must plead to state a claim.’ ”
On June 14, 2013, the United States Food and Drug
Administration (“FDA”) approved Mentor’s premarket             Id. (quoting    Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009))
approval application for its MemoryShape breast implants       (alteration in original). Second, the court must accept as
(hereinafter, “Mentor Breast Implants”). (Compl. ¶¶ 74, 218,   true all of the plaintiff’s well-pled factual allegations and
ECF No. 1.) Defendants design, manufacture, market, label,     “construe the complaint in the light most favorable to the
and distribute Mentor Breast Implants. (Id. ¶ 1.)              plaintiff.”  Fowler v. UPMC Shadyside, 578 F.3d 203, 210
                                                               (3d Cir. 2009) (internal quotations and citation omitted). In
                                                               doing so, the court is free to ignore legal conclusions or



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factually unsupported accusations that merely state, “the-
                                                                   Next, the Court turns to Plaintiffs’ CUTPA claim. The CPLA
defendant-unlawfully-harmed-me.”         Iqbal, 556 U.S. at 678
                                                                   will not bar a CUTPA claim if an injury was not caused by a
(citing    Twombly, 550 U.S. at 555). Finally, the court must      defective product or if the plaintiffs are not pursuing a claim
determine whether “the facts alleged in the complaint are
                                                                   for “personal injury, death or property damage.” Gerrity v.
sufficient to show that the plaintiff has a ‘plausible claim for
                                                                   R.J. Reynolds Tobacco Co., 818 A.2d 769, 774 (Conn. 2003)
relief.’ ”   Fowler, 578 F.3d at 211 (quoting      Iqbal, 556      (quoting Conn. Gen. Stat. § 52-572m(b)). In other words,
U.S. at 679). “The defendant bears the burden of showing that      where the plaintiffs’ CUTPA claim seeks “to redress merely
no claim has been presented.”     Hedges v. United States, 404     a financial injury suffered ... of a kind that has never been
F.3d 744, 750 (3d Cir. 2005).                                      regarded as part of the traditional tort remedy for harm caused
                                                                   by a defective product,” the CUTPA claim is not barred.     Id.
                                                                   at 775.
III. DISCUSSION
Defendants make the following arguments for the dismissal
                                                                    *3 Plaintiffs’ characterization of D’Addario’s injuries as
of Plaintiffs’ Complaint: (1) Counts Two through Four are
                                                                   “financial” in nature belies their true nature as harms caused
subsumed by the CPLA (Defs.’ Moving Br. 10–12); (2)
                                                                   by a defective product. (See Pls.’ Opp’n Br. 23–24.) Plaintiffs
Plaintiffs’ product liability claims are preempted by federal
                                                                   allege that, because of Defendants’ deceptive trade practices,
law (id. at 13–36); (3) Plaintiffs’ claims do not satisfy
                                                                   she suffers from permanent and continuing injuries, which
applicable pleading requirements (id. at 36–40); and (4)
                                                                   “require medical treatment and hospital expenses” and “lost ...
Plaintiffs’ loss of consortium claim fails because it is a
                                                                   financial gains.” (Compl. ¶ 228.) The Court, however, fails
derivative claim. The Court addresses each argument in turn.
                                                                   to distinguish between the injuries Plaintiffs allege and those
                                                                   typically asserted in garden-variety products liability suits.
                                                                   The Court, therefore, dismisses Plaintiffs’ CUTPA claim
   A. CPLA Subsumption 3
                                                                   as barred by the CPLA’s exclusivity provision. For these
Defendants argue that Counts Two through Four of the
                                                                   reasons, the Court dismisses Counts Two, Three, and Four as
Complaint are subsumed by the CPLA. (Id. at 10.) The CPLA
                                                                   subsumed by the CPLA.
provides the exclusive vehicle in Connecticut for actions
premised on “harm caused by a product.” Conn. Gen. Stat. §
52–572n(a) (“A product liability claim ... shall be in lieu of        B. Federal Preemption
all other claims against product sellers, including actions of     Defendants argue that Plaintiffs’ state-law claims are either
negligence, strict liability and warranty, for harm caused by a    expressly or impliedly preempted by federal law. (Defs.’
product.”). The provision essentially consolidates all product     Moving Br. 13–36.) Defendants also argue that certain claims
liability claims into a “single form of action.” LaMontagne        fail because Plaintiffs have not alleged parallel state-law
v. E.I. Du Pont De Nemours & Co., 41 F.3d 846, 855 (2d Cir.        duties (id. at 28–36) or causal nexuses between her injuries
                                                                   and Defendants’ alleged violations (id. at 36).
1994) (citing   Winslow v. Lewis-Shepard, Inc., 562 A.2d
517, 521 (Conn. 1989)).                                            The Medical Device Amendments of 1976 (“MDA”) to the
                                                                   Federal Food Drug & Cosmetic Act, 21 U.S.C. §§ 360c, et
Here, the Court finds—and Plaintiffs agree (Pls.’ Opp’n            seq., “imposed a regime of detailed federal oversight” for
Br. 34)— that Counts Two and Three alleging negligent
misrepresentation and breach of express and implied warranty       medical devices.   Riegel v. Medtronic, Inc., 552 U.S. 312,
are subsumed by the CPLA. Although the two claims are              316, 319 (2008). Of the devices regulated under the MDA,
dismissed, Plaintiffs may, nonetheless, assert these common        Class III devices that undergo the “premarket approval”
law theories of products liability under Count One, their          process receive the greatest oversight.     Id. at 317. The
CPLA claim. Fraser v. Wyeth, Inc., 857 F. Supp. 2d 244,            premarket approval process is “rigorous” and “includes
252 (D. Conn. 2012) (“A plaintiff bringing a cause of action       review of the device’s proposed labeling. The FDA evaluates
under the CPLA therefore retains the right to allege traditional   safety and effectiveness under the conditions of use set forth
theories of recovery under one unified CPLA claim.” (citation      on the label, § 360c(a)(2)(B), and must determine that the
omitted)).



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proposed labeling is neither false nor misleading, § 360e(d)       552 U.S. at 330. It is not enough to state that a state law
                                                                   parallels federal law generally. Plaintiffs must also allege a
(1)(A).”    Id. at 317–18.
                                                                   link between a product’s deviation from an FDA requirement
Premarket approval further imposes “requirements” that are         and the alleged injury.      Clements v. Sanofi-Aventis, U.S.,
“specific to a medical device.”   Id. at 323–24. Devices are       Inc., 111 F. Supp. 3d 586, 598 (D.N.J. 2015); see Simoneau
“to be made with almost no deviations from the specifications      v. Stryker Corp., No. 13-1200, 2014 WL 1289426, at *10 (D.
                                                                   Conn. Mar. 31, 2014) (dismissing a plaintiff’s misbranding,
in its approval application.”      Id. at 323. “Once a device
                                                                   failure to warn, and failure to report claims for failure to link
has received premarket approval, the MDA forbids the
                                                                   her injury to a violation of an FDA requirement).
manufacturer to make, without FDA permission, changes in
design specifications, manufacturing processes, labeling, or
                                                                   Here, it is undisputed that Mentor Breast Implants received
any other attribute, that would affect safety or effectiveness.”
                                                                   premarket approval. (Compl. ¶ 74.) It is also undisputed that
   Id. at 319 (citing § 360e(d)(6)(A)(i)).                         the first part of the Riegel preemption analysis is satisfied.
                                                                   (Pls.’ Opp’n Br. 18.) The Court, therefore, only considers the
To determine whether the MDA expressly preempts a state            second part of the Riegel test—whether Plaintiffs’ state-law
claim under § 360k(a), courts consider (1) whether the FDA         claims would impose requirements that are “different from or
has established “requirements” applicable to the specific          in addition to” federal safety and effectiveness requirements.
device at issue; and if so, (2) whether the plaintiffs’ claims
are based on state requirements that are “different from, or
in addition to,” the federal ones and that “relate to safety
                                                                      1. Strict Product Liability—Manufacturing Defect
and effectiveness.”     Shuker v. Smith & Nephew, PLC, 885
                                                                   Plaintiffs allege that “Mentor Breast Implants were
F.3d 760, 771 (3d Cir. 2018) (citing       Riegel, 552 U.S. at
                                                                   manufactured in a flawed manner that violated the FDA
321–22). If the answer is yes to both questions, the state
                                                                   approved design standards and specifications.” (Compl. ¶
claim is preempted. Id. “If, instead, the answer to the second
                                                                   178.) Plaintiffs allege that the breast implants she received
question is no, then the state duties in such a case parallel,
                                                                   were manufactured in a non-conforming manner because they
rather than add to, federal requirements, and the claims are not
                                                                   “contained a graham-negative biofilm/endotoxin released
preempted.” Id. (citation omitted) (internal quotation marks
                                                                   from the surface of the textured surface which stimulates
omitted).
                                                                   lymphocytes” (Compl. ¶ 180), and that these “bacteria
                                                                   stimulating lymphocytes” caused D’Addario’s BIA-ALCL
Even if a state-law claim is not expressly preempted, it may
                                                                   (id. ¶ 182).
be impliedly preempted under § 337(a). Under the MDA,
all actions to enforce FDA requirements “shall be by and
                                                                   Plaintiffs do not, however, allege that the FDA required
in the name of the United States.” 21 U.S.C. § 337(a).
                                                                   the exclusion of this endotoxin. If a federal requirement is
“[T]he Federal Government rather than private litigants ... are
                                                                   not properly identified, the Court is unable to determine
authorized to file suit for noncompliance with the medical
                                                                   whether Plaintiffs’ state-law claim based upon Connecticut
device provisions.”      Buckman Co. v. Plaintiffs’ Legal          requirements is “different from, or in addition to,” the federal
Committee, 531 U.S. 341, 349 n.4 (2001). To that end, the          ones, that relate to safety and effectiveness. Mendez v. Shah,
Buckman Court held that “state-law fraud-on-the-FDA claims         94 F. Supp. 3d 633, 639 (D.N.J. 2015). Moreover, although
inevitably conflict with the FDA’s responsibility to police        Plaintiffs broadly allege that Defendants “failed to adhere
fraud consistently with the Administrations judgment and           to [numerous] federal specifications” (e.g., Compl. ¶ 184a-
objectives” and are impliedly preempted by the MDA.          Id.   e), Plaintiffs fail to allege how these violations resulted in
at 350.                                                            the presence of lymphocytes in her implants or any other
                                                                   injury. Plaintiffs’ manufacturing defect claim is, accordingly,
 *4 Ultimately, where a state-law claim for violating a state-     dismissed.
law duty “parallels” a federal-law duty under the MDA,
                                                                   To the extent Plaintiffs now base their manufacturing defect
the MDA will not preempt the state-law claim.           Riegel,    claim on violations of FDA’s Current Good Manufacturing



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Practices (see Pls.’ Opp’n Br. 9, 17–18). these allegations are   To the extent Plaintiffs challenge the information Mentor
improperly pleaded in the opposition brief. “[I]t is axiomatic    provided to the FDA in its premarket approval application
that the complaint may not be amended by the briefs in            (Compl. ¶ 117), Plaintiffs “identif[y] no separate state law
opposition to a motion to dismiss.” Pa. ex rel. Zimmerman         duty to warn the FDA.”     Simoneau, 2014 WL 1289426, at
v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988) (citation      *11. Moreover, such a claim fundamentally alleges fraud-on-
omitted). Because the Court grants Plaintiffs leave to amend      the-FDA and would be impliedly preempted under Buckman,
the Complaint, Plaintiffs may further flush out this theory in    For these reasons, the Court dismisses Plaintiffs’ failure-to-
an amended complaint.                                             warn claim.



                     2. Failure to Warn                                         3. Negligent Misrepresentation

The contours of Plaintiffs’ failure-to-warn claim are unclear,    Plaintiffs allege that Defendants “negligently misrepresented
as allegations that could potentially support such a claim are    material information regarding their product including, but
scattered throughout the Complaint. (See generally Compl.)        not limited to, its safety.” (Compl. ¶ 202.) According to
Nonetheless, liberally construing the Complaint, the Court        Plaintiffs, “Defendants knew or should have known that
identifies the following two theories: (I) Defendants failed to   their breast implants were not actually safe as they were
warn “consumers, healthcare providers, the general public,        manufactured in a defective condition.” (Id. ¶ 203.) Plaintiffs
and the FDA that ALCL or BIA-ALCL ... was a potential             allege that “[D’Addario] was[, therefore,] unaware and
risk of Mentor Breast Implants, and that hundreds, if not         ignorant of the falsity of the statements and reasonably ...
thousands, of patients had suffered negative experiences and      relied upon them and believed them to be true.” (Id. ¶ 204.)
events as a result of such known risk” (Compl. ¶ 117); and
(2) Defendants failed to warn D’Addario “of the defective         Here, Plaintiffs’ negligent misrepresentation claim fails
and unreasonably dangerous conditions of its Mentor Breast        because they wholly fail to set forth a relevant federal
Implants that could cause serious injury or death and to timely   requirement. To the extent Plaintiffs’ claim is based on
and accurately report such adverse events to the FDA” (id. ¶      defective manufacturing, the Court reiterates that Plaintiffs
179).                                                             fail to allege a violation of a federal requirement on
                                                                  this basis. See supra Section III.B.2. Plaintiffs’ negligent
 *5 To the extent Plaintiffs take issue with the original         misrepresentation claim is dismissed.
warning Mentor provided to “consumers, [including
D’Addario], healthcare providers. [and] the general
public” (Compl. ¶ 117), this claim is preempted. A device’s
                                                                         4. Breach of Implied and Express Warranty
“proposed labeling” is reviewed during the PMA process and
a manufacturer may not revise the labeling without FDA            The Complaint alleges that “Mentor Breast Implants do
permission.     Riegel, 552 U.S. at 318–19. “[S]tate claims       not conform to ... implied or express warranties and
based on labeling defects such as false or missing information    representations because [they] are not safe or effective
about health risks ... are[, therefore,] preempted in the case    for their ordinary purpose, nor are they safer or more
of Class III medical devices, because these claims necessarily    effective than other breast implants available, [and] they
impose requirements different from or additional to the FDA’s     were not manufactured in the specifications required by the
                                                                  FDA.” (Compl. ¶ 220; see also id. ¶¶ 213–16, 221.)
requirements.”      Simoneau, 2014 WL 1289426, at *11;
see also     Horn v. Thoratec Corp., 376 F.3d 163, 176            Here, again, Plaintiffs’ breach of warranty claim based on
(3d Cir. 2004) (finding a plaintiff’s state-law claims would      device safety and effectiveness fails because Plaintiffs fail
add to the requirements imposed by the FDA on device              to allege a violation of a federal regulation. Supra Section
labeling). Because Plaintiffs’ claim would require Mentor to      III.B.2. Furthermore, Plaintiffs’ breach of warranty claim
provide different warnings or instructions from those initially   essentially challenges the safety and effectiveness of Mentor
approved by the FDA, the claim is preempted.                      Breast Implants, and, to find for Plaintiffs, the Court would
                                                                  necessarily contradict the FDA’s determination of safety and



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                                                                     Plaintiffs, accordingly, have not alleged sufficient facts
effectiveness during premarket approval. Plaintiffs’ breach
                                                                     to identify each defendant’s role with the Mentor Breast
of express and implied warranty claim is, accordingly,
                                                                     Implants. It is not enough to say that “each of the defendants
dismissed.
                                                                     is responsible for everything.” Sheeran, 2015 WL 9048979,
                                                                     at *5. Nor does the      In re Riddell Concussion Reduction
   C. Group Pleading                                                 Litigation, 77 F. Supp. 3d 422 (D.N.J. 2015) decision mandate
Defendants argue that Plaintiffs make “the same conclusory           a contrary conclusion. There, the plaintiffs alleged that the
and generic allegation against each defendant—i.e., that each        defendant entities took concerted action and “operat[ed]
defendant is responsible for ‘designing, formulating, testing,
packaging, labeling, producing, assembling, advertising,             under a single brand.”       Id. at 431–32. Plaintiffs make
marketing, promoting, distributing, manufacturing, and               no such allegations as to Defendants here. (See generally
selling’ ” Mentor Breast Implants. (Defs.’ Moving Br.                Compl.) Because Counts One through Five are directed to
37 (quoting Compl. ¶ 22).) According to Defendants, by               each of the Defendants, they are dismissed without prejudice.
“lumping” together their alleged misconduct, Plaintiffs fail
to provide fair notice of the basis of their claims as against
                                                                       D. Plaintiffs’ Loss-of-Consortium Claim Fails
each individual defendant. (Id.) Defendants further argue that,
                                                                     Because a loss of consortium claim is a derivative claim and
although Plaintiffs allege that Johnson & Johnson and Ethicon
                                                                     because D’Addario fails to assert a product liability claim,
are “agents” or “alter-egos” of Mentor or that Johnson &
                                                                     Peter D’Addario’s loss of consortium claim fails as a matter
Johnson “controlled” Mentor, Plaintiffs fail to allege facts that
support these theories. (Id. at 38–39.) Plaintiffs argue that they   of law and must be dismissed.        Jacoby v. Brinckerhoff,
have fulfilled their duty at this pleading stage—pointing to         735 A.2d 347, 352 (Conn. 1999) (Finding a “plaintiff cannot
allegations that Johnson & Johnson has owned Mentor since            pursue an action for loss of consortium in the absence of
2009 and that Johnson & Johnson and Ethicon admitted they            any basis in the record for a finding that his ... spouse was
are “combining forces” with Mentor. (Pls.’ Opp’n Br. 37–38.)         injured as a result of her treatment by the defendant”); see
                                                                     also     O’Dell v. Greenwich Healthcare Servs., Inc., No.
 *6 Plaintiffs’ Complaint broadly alleges Defendants’                CV116008364S, 2013 WL 2278752, at *5 (Conn. Super. Ct.
misconduct but fails to allege the conduct for which each            Apr. 25, 2013).
defendant is culpable. “Courts in this district generally agree
that this type of ‘group pleading’ does not satisfy Rule 8,
because it does not place Defendants on notice of the claims         IV. CONCLUSION
against each of them.” Sheeran v. Blyth Shipholding S.A., No.        For these reasons, the Court grants Defendants’ Motion
14-5482, 2015 WL 9048979, at *3 (D.N.J. Dec. 16, 2015).              to Dismiss. The Complaint is dismissed without prejudice
Moreover, the lack of well-pleaded facts does not allow the          subject to the filing of an amended complaint. The Court will
Court “to draw the reasonable inference that [each] defendant        enter an Order consistent with this Memorandum Opinion.
is liable for the misconduct alleged.”       Iqbal, 556 U.S. at
678.                                                                 All Citations

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                                                             Footnotes


1       Defendants filed a notice of supplemental authority, alerting the Court to three “district court decisions granting
        Mentor’s motions to dismiss in nearly identical cases.” (ECF No. 27.) Plaintiffs replied to Defendants’ notice.
        (ECF No. 28.) Thereafter, Defendants filed an additional notice of supplemental authority on another “district
        court decision granting Mentor’s motion to dismiss in a nearly identical case.” (ECF No. 29.)




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      The Court accepts all well-pleaded factual allegations as true. See   Phillips v. Cty. of Allegheny, 515 F.3d
      224, 233 (3d Cir. 2008).
3     Under New Jersey’s “most significant relationship” test, where plaintiffs assert product liability claims, the
      plaintiffs’ home state has the “most significant relationship” to the issues.        Arlandson v. Hartz Mountain
      Corp., 792 F. Supp. 2d 691, 699 (D.N.J. 2011) (citing      P.V. v. Camp Jaycee, 962 A.2d 453 (N.J. 2008)).
      Here, the Court applies the law of Plaintiffs’ home state of Connecticut to Plaintiffs’ product liability claims,
      which the parties do not dispute. (Defs.’ Moving Br. 7, ECF No. 6; Pls.’ Opp’n Br. 5, ECF No. 25.)


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                             TAB 10
    Case 1:19-md-02875-RMB-SAK                                 Document 598-3
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                                                                               cracking, warping, swelling, mold, discoloration, twisting,
                                                                               and shrinking. (See, e.g., id. ¶¶ 44–50, 74.) Plaintiffs also
      KeyCite Yellow Flag - Negative Treatment                                 allege that GAF knew or should have known about these
Distinguished by In re Insulin Pricing Litigation, D.N.J., February 20, 2020
                                                                               defects but failed to disclose the defects to its consumers. (Id.
                   2015 WL 6467730
                                                                               ¶¶ 73–75).
               NOT FOR PUBLICATION
       United States District Court, D. New Jersey.
                                                                               Plaintiffs further allege, that despite GAF's knowledge of the
                                                                               defects, it misrepresented and warranted that the Decking
            IN RE: ELK CROSS TIMBERS
                                                                               was a superior product knowing that customers would
         DECKING MARKETING, Sales Practices
                                                                               rely on these misrepresentations. (Id. ¶¶ 76, 79–81, 86.)
               and Products Liability Litigation.
                                                                               Specifically, Plaintiffs allege that “GAF made the following
                    Civil Action No.: 15-18 (JLL)                              representations in conjunction with the sale of its Decking,
                                  |                                            each of which were intended to (and did) convey information
                           MDL No.: 2577                                       regarding the durability and performance of the Decking,
                                  |                                            rather than mere puffery:”
                         Signed 10/26/2015
                                                                                 a. The Decking's “superior engineering and design creates
                                                                                 a deck that lasts longer than ordinary woods decks with less
                                                                                 maintenance–no staining or sealing required.”
                               OPINION
                                                                                 b. The Decking “won't warp, crack, splinter or rot like
LINARES, District Judge                                                          wood.”

 *1 This matter comes before the Court by way of a motion to                     c. The Decking “[r]esists scratching and high traffic wear
dismiss (ECF No. 60 (“GAF Mot.”) the Omnibus Amended                             and tear.”
Complaint (“OAC”) (ECF No. 15) pursuant to Federal Rule of
Civil Procedure 12(b)(6) by Building Materials Corporation                       d. The Decking “resists sagging, splintering, warping,
of America d/b/a GAF Materials Corporation (“GAF”).                              insects and rotting.”

Jurisdiction is premised upon      28 U.S.C. § 1332(d). (See                     e. The Decking contains “[n]o toxic chemicals like treated
OAC ¶ 36.) No oral argument was heard pursuant to Rule 78                        wood.”
of the Federal Rules of Civil Procedure. After considering the
submissions of the parties in support of and in opposition to                    f. “For the beauty of a wooden deck with less care and
the instant motion, GAF's motion to dismiss is granted in part                   effort, chose Elk Cross Timbers brand composite decking
and denied in part.                                                              [viz., the Decking].”

                                                                                 g. The Decking “is designed with the EZ–Build System,
I. BACKGROUND                                                                    which not only makes construction a snap, but also adds
                                                                                 beauty with its concealed fasteners hidden below the
   A. General Allegations                                                        surface.”
Plaintiffs bring the instant putative class action individually
and on behalf of all owners of GAF Elk Cross Timbers                             h. “No matter what your design goals are, you can rely on
and/or DuraLife Decking (collectively “Decking”), “a non-                        [the Decking] to give you the lasting, quality deck of your
natural wood product made from manufactured composite                            dreams, with little time and effort.”
wood.” (Id. ¶¶ 1, 2.) At all times relevant to this litigation,
GAF, a Delaware corporation with its principal place of                        (Id. ¶ 85 (alteration in original).)
business located in Wayne, New Jersey, has been in the
business of manufacturing, marketing, and selling exterior
                                                                                 B. Individual Plaintiff Allegations
building products in North America, including Decking.
                                                                                *2 The OAC sets forth factual allegations for twenty-five
(Id. ¶¶ 8–10.) Plaintiffs allege, generally, that the Decking
                                                                               (25) sets of Plaintiffs (either as an individual or as a couple).
is “defective in design and manufacture,” which results in
                                                                               (See id. ¶¶ 11–35.) The allegations in the amended omnibus



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complaint for the individual Plaintiffs are mostly cut and paste                Carolina citizens who reside in
allegations providing only the most basic information. With                     Bolivia, North Carolina. The Roberties
minor tweaks in some instances, the individual allegations                      purchased and installed Decking on
follow the below format:                                                        their home in January/February, 2009.
                                                                                On August 13, 2014, the Roberties
                                                                                initially filed a Complaint in the
                                                                                United States District Court of the
             Plaintiff [insert name] is an [insert                              Eastern District of North Carolina.
             state] citizen who resides in [insert                              Within a year of filing the Complaint,
             town, state]. [Insert name] purchased                              they discovered that the Decking is
             and installed Decking on [his/her/                                 defective and must be replaced, and
             their] home in [insert time frame].                                that any other property damage caused
             On [insert date], [insert name] initially                          by the Decking must be repaired.
             filed a Complaint in the United
             States District Court of the [insert
             court]. Within a year prior to                        (Id. ¶ 12.) For these two Plaintiffs, and others like them, these
             filing the Complaint, [name/he/she/                   are the only specific allegations made, as opposed to general
             they] discovered that the Decking is                  allegations made by “Plaintiffs.”
             defective and must be replaced, and
             that any other property damage caused                 Sixteen (16) of the twenty-three (23) remaining Plaintiff
                                                1
             by the Decking must be repaired.                      fact sets 2 further allege, in only a cursory one sentence or
                                                                   clause manner, that based upon “GAF's marketing” or its
                                                                   “representations” or the “quality” of the Decking that the
For example, the allegations for Ken Burger are:                   Plaintiff “believed that the Decking was superior to other
                                                                   decking boards” or that they bought the decking because of
                                                                   the representations/marketing/quality. The allegations related
             Plaintiff Ken Burger (“Burger”) is an                 to such representations are as follows:
             Ohio citizen who resides in Cincinnati,
             Ohio. Mr. Burger purchased and                          • Ross: “Based upon GAF's marketing, at the time of
             installed Decking on his home in the                      purchase, Ross believed that the Decking was superior
             summer of 2010. On June 19, 2014,                         to other decking boards.” (Id. ¶ 13.)
             Burger initially filed a Complaint
                                                                     • Sheridan: “Based upon GAF's marketing, at the time
             in the United States District Court
                                                                       of purchase, Sheridan believed that the Decking was
             of the Southern District of Ohio.
                                                                       superior to other decking boards in the industry and
             Within a year prior to filing his initial
                                                                       would require limited maintenance.” (Id. ¶ 14.)
             Complaint, Burger discovered that the
             Decking is defective and must be                         *3 • Denton: “Mr. Denton purchased and installed
             replaced, and that any other property                     Decking on his home in July, 2008 based upon
             damage caused by the Decking must                         the representations regarding the quality of the
             be repaired.                                              Decking.” (Id. ¶ 15.)

                                                                     • Hoover & Cohen: “They purchased and installed
(Id. ¶ 11.) And the essentially identical allegations for              Decking on their home in July, 2007 based upon
Frederick and Veronica Robertie are:                                   the representations regarding the quality of the
                                                                       Decking.” (Id. ¶ 16.)

                                                                     • Warren: “Mr. Warren purchased and installed Decking
             Plaintiffs Frederick and Veronica                         on his home in the spring/summer of 2008 because
             Robertie (“Robertie”) are North



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    of the representations regarding the quality of the
    Decking.” (Id. ¶ 18.)                                       Megerle: “Megerle purchased and installed Decking on
                                                                her home in 2008 based upon the representations regarding
  • Narducci: “Mr. Narducci purchased and installed             the quality of the Decking.” (Id. ¶ 35.)
    Decking on his home in the spring/summer of 2008
    based upon the quality and ease of use of the             None of these individuals allege any other facts regarding the
    Decking.” (Id. ¶ 19.)                                     representations or GAF's marketing materials with respect to
                                                              their Decking purchases. Only Plaintiff McGovern adds any
  • Ernst: “Mr. Ernst purchased and installed Decking         more detail to his allegations. He alleges that:
    on his home in the summer of 2007 based upon
    the representations regarding the quality of the
    Decking.” (Id. ¶ 21.)
                                                                          Plaintiff       Thomas        McGovern
  • Turcheck: “Mr. Turcheck purchased and installed                       (“McGovern”) is an Indiana citizen
    Decking on his home in the spring of 2006 based                       and a resident of Fort Wayne, Indiana.
    upon the representations regarding the quality of the                 Through a contractor, Mr. McGovern
    Decking.” (Id. ¶ 23.)                                                 purchased and installed Decking on
                                                                          his vacation home in Mackinac Island,
  • Stidham: “Mr. Stidham purchased and installed                         Michigan during June and July of
    Decking on his home in the summer of 2008 based                       2008. By the summer of 2010,
    upon the representations regarding the quality of the                 Plaintiff noticed that the Decking had
    Decking.” (Id. ¶ 25.)                                                 separated due to expansion of the
                                                                          boards. Plaintiff also noticed that the
  • Williams: “Mr. and Mrs. Williams purchased and                        Decking had become stained with
    installed Decking on their home in August, 2008 based                 mold and mildew. This required the
    upon the representations regarding the quality of the                 Decking to be reconfigured and rebuilt
    Decking.” (Id. ¶ 26.)                                                 using the existing boards. Plaintiff
                                                                          also had to scrub each board with
  • Wolcott: “Mr. Wolcott purchased and installed Decking
                                                                          bleach to get the mildew and resultant
    on his home in July, 2006 based upon the quality of the
                                                                          stains off before rebuilding. Despite
    representations regarding the Decking.” (Id. ¶ 27.)
                                                                          Plaintiff's efforts, the Decking remains
  • Khanna: “Mr. Khanna purchased and installed Decking                   unsightly, warped, and stained. He
    on his home in the winter and spring of 2009 based                    has since discovered that the Decking
    upon representations regarding the quality of the                     is inherently defective and must be
    Decking.” (Id. ¶ 29.)                                                 replaced, and that any other property
                                                                          damage caused by the Decking must
  • Giovannetti: “Mr. Giovannetti purchased and installed                 be repaired. McGovern initially filed
    Decking on two separate areas of his home in                          an action against GAF in this Court
    July, 2009 and again in November 2009 based                           on August 21, 2014. Before filing
    upon the representations regarding the quality of the                 that case, Plaintiff submitted a pre-suit
    Decking.” (Id. ¶ 30.)                                                 demand to Defendant. Defendant has
                                                                          not paid all costs, labor, and damages
  • Shepherd: “Mr. Shepherd purchased and installed                       associated with replacing the Cross
    Decking on his home in 2007 based upon                                Timbers Decking.
    the representations regarding the quality of the
    Decking.” (Id. ¶ 32.)

  • Barker: “Mr. Barker purchased and installed Decking       *4 (Id. ¶ 17.)
    on his home in 2006 based upon the representations
    regarding the quality of the Decking.” (Id. ¶ 34.)        Twenty-one (21) of the twenty-three (23) remaining Plaintiffs'
                                                              complete individual allegations are seven (7) or fewer lines



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of the OAC. (See id. ¶¶ 11–27, 29–32, 34–35.) There are no          to move to dismiss the OAC in its entirety. (See GAF Mot.
other allegations specific to each Plaintiff in the OAC; rather,    at 4.)
the remaining factual allegations are framed as “Plaintiffs”
without differentiation.                                             *5 The parties were afforded special briefing for the present
                                                                    motion. The parties each received eleven (11) weeks to
                                                                    prepare the moving and opposition briefs, and GAF was
   C. Photographs as Factual Allegations                            given forty-five (45) days to prepare and serve its reply. (See
In the OAC, Plaintiffs included photographs for thirteen            ECF No. 47.) Additionally, the parties were permitted to file
(13) of the twenty-three (23) remaining Plaintiffs. (See            moving and opposition briefs of fifty-five (55) pages each,
id. ¶¶ 51–65.) GAF argues that such “[p]hotographs are              and a reply of twenty (20) pages. (See ECF No. 41.) The
not factual allegations” that should be considered when             parties both–very helpfully– submitted an exhibit with each
determining the sufficiency of the pleading. (See GAF Mot.          brief containing a summary chart of the bullet point arguments
at 19–20.) Plaintiffs counter that unlike the cases cited           related to each cause of action. The Court accepted these
by GAF where the “purpose of including many of the                  additional exhibits and has used them along with the briefs in
photographs ... is unclear,” here that is not the case because      considering the submissions.
“Plaintiffs included an allegation that the photographs were
a true and accurate representation of the respective Plaintiff's    By way of Plaintiffs' opposition, Plaintiffs conceded GAF's
Decking.” (Pls.' Opp'n at 9 n.7.) Plaintiffs miss the point.        choice of law arguments, which GAF had presented in nine
GAF is arguing that–without more–they cannot ascertain              and a half pages of briefing. (See Pls.' Opp'n at 8 n.6; ECF
“what any of those pictures supposedly shows,” and without          No. 61–1 (Pls.' Args. in Opp'n to GAF's Mot. to Dismiss
such information, the photographs do not provide additional         (“Pls.' Checklist”)); GAF Mot. at 8–17.) Plaintiffs also did
factual information. (GAF Reply at 2.) The Court agrees.            not oppose GAF's motion to dismiss numerous individual
                                                                    causes of action. 4 (See ECF No. 61–1 (Pls.' Checklist).) 5
First, there is no information as to when the photos were
                                                                    As a result, Plaintiffs did not need to use their opposition to
taken. Second, although the Court could guess from some
                                                                    address these conceded arguments. Additionally, because the
of the pictures what Plaintiffs are attempting to show, it is
                                                                    Pennsylvania causes of action were dismissed after GAF's
Plaintiffs who must actually make the allegations. Third,
                                                                    briefing, but before Plaintiffs' opposition was due, Plaintiffs
for some of the pictures, the Court cannot even guess (were
                                                                    did not need to respond to GAF's arguments related to the
that the standard–which it is not) what the Plaintiffs are
                                                                    Pennsylvania law causes of action. Thus, Plaintiffs had the
attempting to show. Thus, while the Court does not take issue
                                                                    full fifty-five (55) pages of briefing to respond to a much
with the inclusion of the photographs in the OAC, without a
                                                                    smaller subset of arguments than were briefed by GAF.
description of what Plaintiffs are attempting to show through
the photographs (beyond that some of the Plaintiffs have some
                                                                    Although the Court commends the parties' efforts to address
kind of decking), the photographs do not add anything useful
                                                                    all the issues, the Court does require that a party actually
for the Court's analysis.
                                                                    address an issue that it either is purportedly moving on or
                                                                    opposing. The Court cannot and will not consider arguments
II. THE MOTION TO DISMISS                                           in the abstract separated from the specific claim at issue
The OAC asserts twenty-eight (28) claims on behalf of               unless the party can demonstrate that the elements of the
twenty-five (25) Plaintiff fact sets. The named Plaintiffs in the   particular claim are somehow irrelevant to the argument being
OAC are from sixteen (16) different states. After GAF served        made. Such abstract arguments improperly attempt to make
its moving brief on May 20, 2015, Plaintiff Montante's claims       the Court an attorney for the parties. The Court thus will only
were voluntarily dismissed. (ECF No. 51.) Plaintiff Montante        consider arguments and related law presented by the parties,
was the only Plaintiff from Pennsylvania. The Benders' claims       both of whom are well-represented.
were also voluntarily dismissed. (ECF No. 59.) The Benders
were from Iowa (see OAC ¶ 33); other Plaintiffs from Iowa           Likewise, the Court finds citations to cases analyzing state
remain in the case. After these dismissals and given the            law, that are not the state law at issue, unhelpful without some
different state substantive laws that must be applied to the        explanation for how such law is relevant. For example, there
state law claims (see infra Section III), the OAC asserts           are no Plaintiffs from New Jersey and the parties agree that
                                                                    New Jersey substantive law does not apply to any claim. (See
approximately 139 different causes of action. 3 GAF purports


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                                                                       that a cause of action should be dismissed on another basis,
infra Section III.) Yet, both parties revert for some arguments
                                                                       the Court is mindful that the OAC will be amended, that
to citations to Third Circuit and District of New Jersey cases
                                                                       there likely will be another motion to dismiss, and that there
analyzing New Jersey substantive law. (See, e.g., GAF Mot.
                                                                       is parallel briefing presently underway in a related matter.
at 42; Pls.' Opp'n at 42–43.) There are even citations to New
                                                                       Therefore, in the interests of judicial efficiency and case
Jersey statutes in support of some arguments. (See, e.g., Pls.'
                                                                       management, the Court has considered the failure to plead
Opp'n at 38 (citing N.J.S.A. 12A:2–719(2)).)
                                                                       arguments where specifically addressed by the parties. If,
                                                                       however, a cause of action is dismissed with prejudice on one
 *6 The Court finds it acceptable to not list all elements
                                                                       basis, the Court has not considered alternative arguments.
of every single cause of action if GAF is moving related to
arguments regarding only one or some of the elements. But
                                                                       With this background, the Court turns to the parties'
GAF must, at a minimum, identify the element at issue and
                                                                       arguments.
cite to cases analyzing relevant state law in support of its
argument. And Plaintiffs, in opposition, must respond with
relevant state law for each state moved on. Both GAF and               III. CHOICE OF LAW
Plaintiffs cited to a plethora of state law using single space         GAF argues that the law to be applied to Plaintiffs' state
string cite footnotes in support of limited body text. (See,           claims is the substantive law of the state where each Plaintiffs'
e.g., GAF Mot. at 25 n.15; Pls.' Opp'n at 34 n.41.) The Court          decking was installed. (See GAF Mot. at 8–17.) However,
has accepted such citations for purposes of this motion even           with respect to whether those claims are properly pled,
though they effectively extended the page limits as ordered            GAF argues that federal procedural law of the Third Circuit
by this Court. Especially given this, failure to provide specific      applies. (Id. at 17.) “Plaintiffs agree with GAF that the
state law on an issue– which both parties demonstrated could           substantive laws of the Plaintiffs' state where the Decking was
be done in little space–is not acceptable.                             installed applies.” (Pls.' Opp'n at 8 n.6.) They also agree that
                                                                       “[r]egarding matters of procedure, the transferee court must
For these reasons, the Court has treated GAF's motion as a             apply federal law as interpreted by the court of the district
partial motion to dismiss as GAF has not specifically moved            where the transferee court sits.” (Id.)
on each cause of action. 6 Likewise, where Plaintiffs chose
not to brief an issue for a specific state in opposition, that issue   Therefore, the parties agree on the choice of law to be applied,
has been treated as unopposed, unless a general appropriate            and this Court will apply the substantive law where the
argument in opposition was made.                                       decking was installed. Table 1 below identifies the substantive
                                                                       law to be applied to the state law claims of the current named
Finally, for many, if not most, of the individual causes               plaintiffs.
of action, GAF makes multiple, alternative arguments for
dismissal, generally for failure to plead what it argues is a
required element of the cause of action. While the Court
                                                                                                  TABLE 1
need not reach alternative arguments once it has determined
                            Plaintiffs                                                Applicable State Law

                 Ken Burger (OAC ¶ 11)                                                            Ohio

            Frederick & Veronica Robertie                                                  North Carolina
                (“Robertie”) (Id. ¶ 12)

                    John Ross (Id. ¶ 13)                                                        Missouri

               Chad Sheridan (OAC ¶ 14)                                                           Iowa

                Charles Denton (Id. ¶ 15)                                                         Iowa

             Robert Hoover & Judy Cohen                                                         Montana
             (“Hoover & Cohen”) (Id. ¶ 16)


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            Thomas McGovern (Id. ¶ 17)                                                  Michigan

              Harrison Warren (Id. ¶ 18)                                               Nebraska

             Michael Narducci (Id. ¶ 19)                                                Michigan

              Leanne Claxton (Id. ¶ 20)                                                 Michigan

                  Jeff Ernst (Id. ¶ 21)                                                   Illinois

               Dorothy Kaiser (Id. ¶ 22)                                                Colorado

             Dennis Turcheck (Id. ¶ 23)                                                 Colorado

              Christine Tuthill (Id. ¶ 24)                                              Colorado

                John Stidham (Id. ¶ 25)                                                  Indiana

             Arnold and Cathy Williams                                                 California
               (“Williams”) (Id. ¶ 26)

               James Wolcott (Id. ¶ 27)                                                  Virginia

                Samir Khanna (Id.¶ 29)                                             New Hampshire

             Mark Giovannetti (Id. ¶ 30)                                               New York

                Donna and Johnathan                                                   Mississippi
               Mapp (“Mapp”) (Id. ¶ 31)

              John Shepherd (Id. ¶ 32)                                              North Carolina

                 Paul Barker (Id. ¶ 34)                                                 Colorado

              Michele Megerle (Id. ¶ 35)                                                Colorado

                                                                accept all well-pleaded factual allegations in the complaint as
After concessions and the voluntary dismissals,                 true and draw all reasonable inferences in favor of the non-
approximately 119 causes of action remain for the Court's       moving party. See       Burtch v. Milberg Factors, Inc., 662
consideration.                                                  F.3d 212, 221 (3d Cir.2011). But, “the tenet that a court must
                                                                accept as true all of the allegations contained in a complaint
IV. LEGAL STANDARDS.
                                                                is inapplicable to legal conclusions.”   Iqba l, 556 U.S. at
   A. Standards                                                 678. Thus, “a plaintiff's obligation to provide the grounds
 *7 Under Rule 8(a), for a complaint to survive dismissal,      of his entitle[ment] to relief requires more than labels and
it “must contain sufficient factual matter, accepted as true,   conclusions, and a formulaic recitation of the elements of
to 'state a claim to relief that is plausible on its face.'
                                                                a cause of action will not do.”      Burtch, 662 F.3d at 220
”    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing
                                                                (quoting    Twombly, 550 U.S. at 555) (alteration in Twombly
   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).       ).
“Threadbare recitals of the elements of a cause of action,
supported by mere conclusory statements, do not suffice.” Id.   Pursuant to Federal Rule of Civil Procedure 9(b):
In determining the sufficiency of a complaint, the Court must



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                                                                     GAF asserts that “[t]he Third Circuit and this Court have
                                                                     held that Rule 9(b) applies not only to common law
             [A] plaintiff alleging fraud must state                 misrepresentation claims but also to state statutory consumer
             the circumstances of the alleged fraud                  protection claims pled in federal court.” (GAF Mot. at
             with sufficient particularity to place                  25 (citing    Frederico, 507 F.3d at 200; Glauberzon
             the defendant on notice of the precise                  v. Pella Corp., 2011 WL 1337509, at *8 (D.N.J. Apr. 7,
             misconduct with which [it is] charged.
             To satisfy this standard, the plaintiff                 2011);     Dewey v. Volkswagen AG, 558 F.Supp.2d 505, 526
             must plead or allege the date, time and                 (D.N.J.2008).) The Court first notes that GAF concedes that
             place of the alleged fraud or otherwise                 Rule 8(a) applies to Plaintiffs' New York consumer protection
             inject precision or some measure of                     claim (Count 15). (See id. at n.15.) Thus, if GAF believed
             substantiation into a fraud allegation.                 that the Third Circuit had ruled that Rule 9(b) applied to all
                                                                     state consumer protection claims–without regard to the actual
                                                                     requirements of the state cause of action–it would not have
                                                                     conceded that Rule 8 applies to the New York claim. In fact,
   Frederico v. Home Depot, 507 F.3d 188, 200 (3d                    application of federal procedural law does not mean that the
Cir.2007) (internal quotations and citations omitted, alteration     underlying state law is irrelevant. Very recently, the Third
in original). Thus, where fraud is alleged, this heightened          Circuit clearly made this point. See In re Asbestos Prods. Liab.
pleading standard must be met. Furthermore, in class action          Litig., 611 F. App'x 86 (3d Cir.2015) (unpublished). The Third
cases, each “individually named plaintiff must satisfy Rule          Circuit stated:
9(b) independently” so “[t]he complaint should therefore
contain sufficient detail as to [a named plaintiff's] claims to         *8 Federal Rule of Civil Procedure 8(a) requires a
apprise [a defendant] of that plaintiff's exact grounds for relief     plaintiff to allege sufficient facts to put the defendant on
and the specific conduct that plaintiff charges.” Pacholec             “fair notice of what the ... claim is and the grounds upon
v. Home Depot USA, Inc., 2006 WL 2792788, *2 (D.N.J.                   which it rests.” [ Twombly, 550 U.S. at 555.] We must
Sept. 26, 2006) (alteration in original); see also Crozier v.          look to state law, however, to define “what the ... claim is.”
Johnson & Johnson Consumer Cos., Inc., 901 F.Supp.2d 494,
                                                                       As the District Court recognized, Illinois is a “two disease”
506 (D.N.J.2012) (same).
                                                                       state, meaning that each asbestos-related disease gives
                                                                       rise to a cause of action with a separate statute-of-
   B. Applicable Standard for Plaintiffs' Claims                       limitations period. Taken together, federal procedural law
GAF argues that the heightened pleading standards of Rule              and Illinois substantive law thus required Plaintiffs to
9(b) apply to most of Plaintiffs' remaining state consumer             plead sufficient facts to support their lung-cancer claims
protection claims (Counts 2, 4–10, 13–14, 16–19). (See GAF             separately from their nonmalignancy claims [regardless of
Mot. at 25 & n.15.) GAF also argues that Rule 9(b) applies             how state courts require them to be pled].
to Plaintiffs' claims of negligent misrepresentation (Count
                                                                     Id. at 89–90 (other internal citations omitted, emphasis
22), fraudulent misrepresentation (Count 23), and fraudulent
                                                                     added).
concealment/omission (Count 24). (Id. at 20–21.)

                                                                     Similarly, where this Court has previously held that Rule
Plaintiffs do not contest that Rule 9(b) applies to their
                                                                     8(a) applies to New York consumer protection claims under
California and Colorado consumer protection claims (Counts
9, 16–17), but they do dispute that it applies to its                § 349–see Wiseberg v. Toyota Motor Corp., 2012 WL
other consumer protection claims. (Pls.' Opp'n at 10–12.)            1108542 at *4 (D.N.J. Mar. 30, 2012) (a case cited by GAF,
Plaintiffs' also contest that Rule 9(b) applies to their negligent   see GAF Mot. at 26 n.15)–it cited to a Second Circuit case,
misrepresentation causes of action. (Id. at 10.)                     which engaged in an analysis similar to that of the Third
                                                                     Circuit above. See id. (citing  Pelman ex rel. Pelman
                                                                     v. McDonald's Corp., 396 F.3d 508, 511 (2d Cir.2005)).
            1. State Consumer Protection Claims                      In Pelman, the Second Circuit reasoned that “because §
                                                                     349 extends well beyond common-law fraud to cover a



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broad range of deceptive practices, and because a private         argue that “all states do not require pleading negligent
action under § 349 does not require proof of the same             misrepresentation in satisfaction of Rule 9(b)” using a “see,
essential elements (such as reliance) as common-law fraud,        e.g.” cite for cases regarding only two (Colorado and New
an action under § 349 is not subject to the pleading-with-        York) of the state laws at issue. (Pls.' Opp'n at 10 & n.10.)
particularity requirements of Rule 9(b).” Pelman, 396 F.3d
                                                                  The Court does not view GAF to have properly raised this
at 511 (internal citations omitted, emphasis added). For these
                                                                  issue for any state, or Plaintiffs to have properly raised that
reasons, the Court disagrees with GAF that it is appropriate to
                                                                  Rule 8 should be applied, except by example. GAF has
apply a blanket approach to whether the heightened pleading
                                                                  not properly moved to dismiss any of Plaintiffs' negligent
standards of Rule 9(b) apply without reference to the specific
                                                                  misrepresentation causes of action for failure to meet either
state law at issue.
                                                                  pleading standard as it has not pointed to any of the relevant
                                                                  state's requirements as compared to Plaintiffs' allegations.
Plaintiffs argue that “[i]n addition to New York, formulaic
                                                                  Therefore, the Court will not reach this issue at this time.
compliance with Rule 9(b) is not required for the purpose of
                                                                  The Court does note that simple citation to District 1199P
pleading consumer protection claims in Indiana, Michigan,
                                                                  will be insufficient to establish that the Third Circuit (and
Missouri, Illinois, Virginia, North Carolina, Ohio, Nebraska,
                                                                  hence this Court) would apply Rule 9(b) to all the negligent
Iowa, Montana or New Hampshire.” (Pls.' Opp'n at 11–12
                                                                  misrepresentation causes of action. The Court also notes that
(citing to law analyzing the statutes at issue).) Plaintiffs
                                                                  the two cases cited by Plaintiffs argue against application of
concede that Rule 9(b) applies to the consumer protection
claims for California and Colorado. (Id. at 12.) Thus, the        Rule 9(b) for those states. See     Conrad v. Educ. Res. Inst.,
parties agree that Rule 8(a) applies to Plaintiffs' New York      652 F.Supp.2d 1172, 1183 (D.Colo. Aug. 13, 2009) (“The
consumer protection claim (Count 15), and that Rule 9(b)          theory of liability for negligent misrepresentation is one of
applies to Plaintiffs' California and Colorado consumer           negligence, rather than of intent to mislead. Thus, a claim for
protection claims (Counts 9, 16–17). However, they disagree       negligent misrepresentation should not be governed by the
on the appropriate pleading standard for the other state          pleading standards set forth in Rule 9(b).”) (internal citations
consumer protection claims.
                                                                  omitted);     In re LILCO Sec. Litig., 625 F.Supp. 1500, 1504
                                                                  (E.D.N.Y.1986) (“Negligent misrepresentation is not a claim
Although GAF relied primarily on its general Third Circuit
                                                                  that necessitates the particularized pleading of Rule 9(b).”).
argument, it did provide a footnote with case citations for
the specific contested states. (See GAF Mot. at 25–26 n.15.)
Therefore, the Court has considered this issue for all of the     V. DISCUSSION
contested states. Because the cases cited by both parties raise
state specific issues, the Court has addressed which standard       A. GAF's Arguments That Certain Causes of Action
is appropriate in the consumer protection discussion section        Are Time Barred
(see infra Section V.B.) related to the specific state consumer
protection claims.                                                                1. Untimely as a matter of law

                                                                  GAF argues that “many of Plaintiffs' claims are
                                                                  untimely.” (GAF Mot. at 26.) Specifically, GAF argues
      2. Negligent Misrepresentation Causes of Action
                                                                  that the following causes of action are time barred as a
 *9 Both parties argue in the abstract with respect to whether    matter of law: breach of implied warranties cause of action
Plaintiffs' negligent misrepresentation claims for fourteen       (Count 21) under Illinois law and the negligence (Count
(14) states must meet the heightened pleading standards           1), UDTPA (Count 10), negligent misrepresentation (Count
of Rule 9(b). GAF argues that “[t]his heightened pleading         22), fraudulent misrepresentation (Count 23), fraudulent
standard applies not only to fraudulent misrepresentation         concealment (Count 24), and unjust enrichment (Count 27)
claims but also to negligent misrepresentation claims.” (GAF      causes of action 7 for North Carolina (Plaintiff Shepherd
Mot. at 21 (citing   Dist. 1199P Health & Welfare Plan            only). (See id. at 35, 54.)
v. Janssen, L.P., 784 F.Supp.2d 508, 532 (D.N.J.2011)
(analyzing New Jersey law).) Plaintiffs, on the other hand,       Illinois (Count 21). “The statute of limitations for breach
                                                                  of implied warranties [under Illinois law] (Count 21) is four


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years from 'when tender of delivery is made.' ” (Id. at 35           87 N.C.App. at 70 (“A cause of action for physical damage
(quoting 810 Ill. Comp. Stat. 5/2–725).) Additionally, “[t]he        to property accrues when the physical damage becomes
statute runs from the time of delivery of the good, regardless       'apparent or ought reasonably to have become apparent
of when the defect is discovered–that is, the 'discovery rule'       to the claimant, whichever event first occurs.' ”) (quoting
does not apply in claims for breach of implied warranty.”
                                                                         N.C. GEN. STAT. § 1–52(16)). Instead, Plaintiffs use these
    Karpowicz v. General Motors Corp., 1997 WL 285943                cases to argue that the action “accrued” only when Plaintiff
at *5 (N.D.Ill. May 23, 1997) (citing 810 ILCS 5/2–725(1))           Shepherd discovered the defect, which he alleges to have
(emphasis added). Plaintiffs do not respond to this argument         been after October 1, 2009. (See Pls.' Opp'n at 33–34; OAC
in opposition. (See Pls.' Opp'n at 25–34. 8 ) The OAC alleges        ¶ 32.) However, Plaintiffs' conclusion with respect to the
that Plaintiff Ernst “purchased and installed Decking on his         appropriate date of “accrual” is drawn from the plain language
home in the summer of 2007,” and that he “initially filed a          of the statutes at issue in the cases Plaintiffs cite, not from the
Complaint in the United States District Court of the Northern        statute that they argue applies here.
District of Illinois” on August 19, 2014, approximately seven
(7) years later. (OAC ¶ 21.) Therefore, the Court finds that            Section 1–52(16), cited in Plaintiffs' cases, provides:
Plaintiff Ernst's breach of implied warranty claim is time
barred on the face of the OAC, and, therefore, this cause of
action is dismissed with prejudice.
                                                                                  Within three years an action–... (16)
                                                                                  Unless otherwise provided by law, for
*10 North Carolina (Plaintiff Shepherd only) (Counts
                                                                                  personal injury or physical damage
1, 10, 22–24, 27). 9 For these causes of action, the parties                      to claimant's property, the cause of
dispute the applicable statute of limitations. GAF argues that                    action, except in causes of actions
“[f]or claims alleging injury from a product and accruing                         referred to in G.S. 1–15(c), shall
before October 1, 2009, North Carolina's statute of repose                        not accrue until bodily harm to the
is 'six years after the date of initial purchase for use or                       claimant or physical damage to his
consumption.' ” (GAF Mot. at 35 (quoting N.C. GEN. STAT.                          property becomes apparent or ought
§ 1–50(a)(6) (2009), repealed by § 1–46.1).) Plaintiffs, on the                   reasonably to have become apparent
other hand, argue that “[t]he applicable statute is N.C. GEN.                     to the claimant, whichever event first
STAT. § 1–46.1, which became effective October 1, 2009, and                       occurs....
applies a twelve year statute of repose to claims accruing on
or after that date.” (Pls.' Opp'n at 33.) Plaintiffs further argue
that “§ 1–46.1 applies because Plaintiff Shepherd's claims did       (emphasis added). Section 1–15(c) provides:
not accrue until after October 1, 2009.” (Id. (emphasis added)
(citing Schenkel & Shultz, Inc. v. Hermon F. Fox & Assoc.,
P.C., 636 S.E.2d 835, 840 (N.C.Ct.App.2006) and         New                       (c) Except where otherwise provided
Bern Assoc., v. Celotex Corp., 87 N.C.App. 65, 70, disc. rev.                     by statute, a cause of action
denied, 321 N.C. 297 (1987), for the proposition that the                         for malpractice arising out of the
“accrual” date is the date of discovery).)                                        performance of or failure to perform
                                                                                  professional services shall be deemed
Plaintiffs' cases do not analyze the causes of action at issue.                   to accrue at the time of the occurrence
See Schenkel, 636 S.E.2d at 839 (“[A] statutory 'discovery                        of the last act of the defendant giving
rule' offers a claimant additional time in certain contract or                    rise to the cause of action: Provided
negligence actions to have the opportunity to discover the                        that whenever there is bodily injury to
harm before the three-year statute of limitation s begins                         the person, economic or monetary loss,
to accrue.”) (citing, e.g., N.C. GEN. STAT. § 152(16)                             or a defect in or damage to property
(2005) (“for personal injury or physical damage to claimant's                     which originates under circumstances
property”) (emphasis added) and N.C. GEN. STAT. § 1–15(c)                         making the injury, loss, defect or
                                                                                  damage not readily apparent to the
(2005) (“a cause of action for malpractice”));        New Bern,
                                                                                  claimant at the time of its origin,


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            and the injury, loss, defect or damage                of action that accrue on or after that date ....”) (internal
            is discovered or should reasonably                    quotations omitted). The Lackey court further held that § 1–
            be discovered by the claimant two                     50(a)(6) “functions as an 'unyielding and absolute barrier' to
            or more years after the occurrence of                 claims brought more than six years after the product at issue
            the last act of the defendant giving                  was purchased.” Lackey, 2011 WL 2791264, at *3 (quoting
            rise to the cause of action, suit must                Nat'l Property Investors, VIII v. Shell Oil, 950 F.Supp. 710,
            be commenced within one year from                     713 (E.D.N.C.1996). Thus, the Lackey court held that “[i]n
            the date discovery is made: Provided                  sum, N.C. Gen.Stat. § 1–50(a)(6) set the fixed time limit at six
            nothing herein shall be construed to                  years from the time of the product's sale or delivery beyond
            reduce the statute of limitation in any               which DePuy cannot be liable for a product sold in 1998.” Id.
            such case below three years. Provided                 at *4 (holding that the purchase date for a defective prosthetic
            further, that in no event shall an action             hip controlled which limitations period applied).
            be commenced more than four years
            from the last act of the defendant                    Plaintiff Shepherd alleges that he “purchased and installed
            giving rise to the cause of action....                Decking on his home in 2007.” (OAC ¶ 32.) Therefore,
                                                                  § 1–50(a)(6), the statute in effect at the time of his
                                                                  purchase, applies. Because he purchased the decking
 *11 (emphasis added.) In comparison, § 1–46.1, which             more than six (6) years prior to bringing suit, Plaintiff
Plaintiffs argue is applicable here (and which came into effect   Shepherd's negligence, UDTPA, negligent misrepresentation,
October 1, 2009), provides:                                       fraudulent misrepresentation, fraudulent concealment, and
                                                                  unjust enrichment causes of action are time barred, and will
                                                                  be dismissed with prejudice.
            Within 12 years an action–(1) No
            action for the recovery of damages
            for personal injury, death, or damage                                      2. Untimely as pled
            to property based upon or arising
            out of any alleged defect or any                      GAF argues that the following additional causes of action
            failure in relation to a product shall                are time-barred as pled because of insufficient allegations of
            be brought more than 12 years after                   fraudulent concealment to toll the limitations period. 10
            the date of initial purchase for use or
            consumption.
                                                                    • Count 2 (Indiana Deceptive Consumer Sales Act–
                                                                      Stidham)
(emphasis added). The plain language of § 1–46.1 does not           • Count 8 (Montana Consumer Protection Act–Hoover &
comport with Plaintiffs' view of when the cause of action              Cohen)
“accrued” in this case. Section 1–46.1's predecessor, § 150(a)
(6), provided a six, not twelve, year limitations period from
                                                                    • Count 15 ( New York General Business Law § 349–
the purchase date. See Patterson v. McKinley Med., L.L.C.,
                                                                      Giovannetti)
2011 WL 1260145, at *1 (E.D.N.C. Mar. 30, 2011).
                                                                     *12 • Count 18 (Nebraska Consumer Protection Act–
In a North Carolina case analyzing the statutes at issue              Warren)
here–§ 1–50(a)(6) versus § 1–46.1, the court agreed “that
the applicable statute of repose is N.C. Gen.Stat. § 150(a)         • Count 21 (Breach of Implied Warranties–Williams,
(6), which was in effect at the time Plaintiff purchased the          Denton, Sheridan, Ross, Warren, Khanna, Giovannetti,
allegedly defective product.” See Lackey v. DePuy Ortho.,             Robertie, Shepherd, Wolcott)
Inc., 2011 WL 2791264, at *2 (W.D.N.C. July 14, 2011)
(emphasis added); see also Patterson., 2011 WL 1260145 at           • Count 22 (Negligent Misrepresentation–Mapp)
n.1 (“The amending legislation [for § 1–46.1] states: This
                                                                    • Count 23 (Fraudulent Misrepresentation–Mapp)
act becomes effective October 1, 2009, and applies to causes


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  • Count 27 (Unjust Enrichment–McGovern, Narducci,
    Claxton, Mapp, Warren, Wolcott)
                                                                            3. Magnuson–Moss Warranty Act (“MMWA”)
                            11
(See GAF Mot. at 29–34.)
                                                                      *13 GAF also argues that for Plaintiffs' implied warranty
Plaintiffs do not contest the limitation periods put forward
                                                                     causes of action that are time-barred “their Magnuson–Moss
by GAF (except with regard to North Carolina for Plaintiff
                                                                     claims based on that implied warranty are also time-barred
Shepherd as discussed above in Section V.A.1). Instead,
                                                                     because Magnuson–Moss borrows its limitations period from
Plaintiffs argue that the relevant periods under state law will
                                                                     the applicable state statute.” (GAF Mot. at 34.) Plaintiffs
be tolled because of “the discovery rule and the doctrine of
                                                                     concede that, if their state warranty claims are time-barred,
equitable estoppel/fraudulent concealment.” (Pls.' Opp'n at 26
                                                                     so too are their MMWA claims based on those warranties.
& nn.36–38.) Plaintiffs further argue–and this Court agrees–
                                                                     (See ECF No. 61–1 at 6 (Pls.' Checklist).) Thus, as Plaintiffs
that “[a] motion to dismiss on statute of limitations grounds
                                                                     did not oppose dismissal of the California (Williams),
should be denied unless it is apparent [from the OAC's
                                                                     Iowa (Denton, Sheridan), Missouri (Ross), New Hampshire
allegations] that the challenged claims are time-barred.” (Id.
                                                                     (Khanna), New York (Giovannetti), and Virginia (Wolcott)
at 25 (citing    Barefoot Architect, Inc. v. Bunge, 632 F.3d         Plaintiffs' breach of implied warranty claims, and this Court
822, 835 (3d Cir.2011)).) As the Third Circuit has recently          has dismissed the Illinois breach of implied warranty cause of
stated with respect to the discovery rule:                           action as time-barred, the Court finds that the MMWA claims
                                                                     based on these implied warranty claims also are dismissed.

             [W]hile a court may entertain a motion
                                                                        B. Plaintiffs' Consumer Protection Claims
             to dismiss on statute of limitations
                                                                     As noted above, GAF generally argues that all the consumer
             grounds, it may not allocate the burden
                                                                     protection claims, except for that of New York, should be
             of invoking the discovery rule in a
                                                                     dismissed for failure to meet the Rule 9(b) pleading standards.
             way that is inconsistent with the rule
                                                                     (See GAF Mot. at 25 & n.15.) However, GAF has not made
             that a plaintiff is not required to
                                                                     any argument for how the OAC is insufficiently pled with
             plead, in a complaint, facts sufficient
                                                                     respect to any of the specific consumer protection claims
             to overcome an affirmative defense.
                                                                     under the applicable state law. Therefore, despite GAF's
             This distinction comes to the fore
                                                                     statement that “[a]t the outset, and before applying each
             here, where the applicability of the
                                                                     state's substantive laws, all Plaintiffs' claims must meet the
             discovery rule is not evident on
                                                                     appropriate federal pleading standards .... [and] Plaintiffs
             the face of the complaint but the
                                                                     have failed to satisfy the pleading standards” (see id. at 17),
             plaintiff also does not plead facts that
                                                                     this Court does not treat GAF's motion as moving on that basis
             unequivocally show that the discovery
                                                                     for these claims.
             rule does not apply.

                                                                     The parties' arguments over which pleading standard applies,
                                                                     however, raises separate pleading issues for certain states
    Schmidt v. Skolas, 770 F.3d 241, 251 (3d. Cir.2014)              because some courts find that different pleading standards
(internal citations omitted). Here, although GAF argues that         apply depending on the basis for the claims. In other
Plaintiffs have not affirmatively pled facts sufficient to justify   words, some statutes provide for relief without proving fraud.
tolling for the causes of action in the bullet list above, the       Because the pleading standard arguments are specifically
Court finds that Plaintiffs have not “pleaded [themselves]           addressed by both parties and will inform any re-pleading,
out of court” because their allegations do not affirmatively         those arguments are addressed below, along with other
demonstrate on the face of the OAC that tolling would not            specific arguments for dismissal made by GAF for these
apply. See id. at 252. Thus, the Court denies GAF's motion           claims. 12
to dismiss the above causes of action on the ground that they
are time-barred as pled. GAF is not precluded from re-raising
this issue at an appropriate stage of the proceedings.



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                                                                    allegations that GAF acted with an intent to deceive or
                                                                    mislead Plaintiffs.” (Pls.' Opp'n at 15–16 (citing a different
               1. Count 2 (Indiana Deceptive
                                                                    provision than they relied on for their Rule 8(a) argument)
              Consumer Sales Act (“IDCSA”))
                                                                    (emphasis added).)
GAF argues that Plaintiffs' IDCSA claim must meet the
heightened pleading standard of Rule 9(b). (See id. at 25 n.15)      *14 Plaintiffs cannot have it both ways: either they are
GAF also argues that the IDCSA claim should be dismissed            pleading an uncured defect– which has a notice requirement
for failure to plead “either that the deceptive act is incurable    but potentially lower pleading standard, or they are pleading
or that the plaintiff notified the defendant in writing and         an incurable deceptive act which does not have a notice
provided an opportunity to cure the deceptive act,” and that        requirement but must meet 9(b). And, because even Plaintiffs
“Indiana Plaintiffs allege neither fact here.” (Id. at 49 (citing   are not clear on the basis for their IDCSA claim, the pleadings
                                                                    are obviously insufficient to put GAF on notice of the basis
   Ind.Code § 24–5–0.5–5(a)).) Both arguments are related.
                                                                    of the claim. Therefore, Plaintiffs' IDCSA claim is dismissed
                                                                    without prejudice.
Young v. Harbor Motor Works, Inc., provides that “[u]nder
the IDCSA, where a movant ... [does] not distinguish between
its allegations of deceptive acts and incurable deceptive
acts ... the entire complaint must be judged by Rule [9(b) ]        2. Count 4 (Michigan Consumer Protection Act (“MCPA”)

standards.”    2009 WL 187793 at *6 (N.D. Ind. Jan 27,              For Plaintiffs' MCPA claim, GAF's only argument is generally
2009) (internal quotations omitted, alteration in original).        that Rule 9(b) must be met. (See GAF Mot. at 25 & n.15; ECF
Additionally,      Indiana Code § 24–5–0.5–5(a) provides:           60–2 (GAF's Checklist of Arguments (“GAF's Checklist”).)
“No action may be brought under this chapter ... unless (1)         Plaintiff argues that meeting Rule 9(b) is not required for
the deceptive act is incurable or (2) the consumer bringing the     an MCPA claim. (See Pls.' Opp'n at 11 & n.13 (citing
action shall have given notice in writing to the supplier....”         Michels v. Monaco Coach Corp., 298 F.Supp.2d 642,
Plaintiff acknowledges this requirement by quoting the same         651 (E.D.Mich.2003).) As an initial point, “[t]he Michigan
provision in opposition. (See Pls.' Opp'n at 15.) However,          Consumer Protection Act [ ('MCPA') ] proscribes thirty-seven
Plaintiffs are unable to clearly identify what they are alleging–
                                                                    discrete acts.”    Dzielak v. Whirlpool Corp., 26 F.Supp.3d
an incurable deceptive act or a deceptive act where notice is
required.                                                           304, 339 (D.N.J.2014) (citing         Mich. Comp. Laws §
                                                                    445.903). Furthermore, “[t]o state a claim under the [MCPA],
In arguing that the Rule 9(b) standards are not applicable          a complaint must identify which proscribed act or acts
                                                                    the defendant has allegedly committed.” Id. Here, Plaintiffs
to their IDCSA claim, Plaintiffs cite   Hayes v. Chapman,
894 N.E.2d 1047, 1053 (Ind.Ct.App.2008), and add the                allege that GAF's conduct violates §§ 445.903(n), (s), (bb),
following parenthetical explanation: “holding no showing            and (cc), but add that their claims are “not necessarily limited
of fraudulent intent is required for Indiana Deceptive              to [those] sections.” (OAC ¶ 147.) Plaintiffs' “not necessarily
Consumers Sales Act. Ind.Code § 24–5–0.5–2(7) ).” (Id.              limited” language does not sufficiently state a claim for
at 11 n.12 (emphasis added).) Section 24–5–0.5–2(7) deals           unidentified sections of the MCPA. However, Plaintiffs' case
with “uncured deceptive act[s]” for which notice is required;       supports the proposition that not all proscribed acts must
see also     Hayes, 894 N.E.2d at 1053 (distinguishing              meet the heightened pleading standard. See        Michels, 298
between “[a]n uncured deceptive act” under “I.C. § 24–5–            F.Supp.2d at 651 (MCPA claim “not premised on fraud,”
0.5–2(a)(7)” and “[a]n incurable deceptive act” under “I.C.         but on “breach of its express and implied warranties” under
§ 24–5–0.5–2(a)(8).”) 13 However, a few pages farther in            445.903(y)). GAF's case is in agreement: “When the claim
Plaintiffs' opposition, and Plaintiffs–in addressing GAF's          is based on breach of express or implied warranties, these
notice requirement point– argue that “[i]n fact, the IDCSA          pleading strictures do not apply but otherwise, the allegations
defines 'incurable deceptive act' as meaning 'a deceptive           must include the specificity required by Fed.R.Civ.P. 9(b).”
act done by a supplier as part of a scheme, artifice, or               In re Packaged Ice Antitrust Litig., 779 F.Supp.2d 642,
device with intent to defraud or mislead.' Ind.Code. § 24–
                                                                    666 (E.D.Mich.2011).      Section 445.903(y), however, is not
5–0.5–2(8). As discussed herein, the OAC contains ample


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one of the sections on which Plaintiffs' claims are based.         Additionally, here, Plaintiffs' MMPA claims plainly sound in
Therefore, Plaintiffs' citation is not helpful here. Because the   fraud. Plaintiffs allege: “GAF's conduct constitutes deception,
parties do not address which standard should apply to the          fraud, false pretense, false promise, misrepresentation, unfair
alleged violations actually pled, the Court will not reach this    practice, or the concealment, suppression, or omission of any
issue at this time.                                                material fact.” (OAC ¶ 153.) The Third Circuit has made
                                                                   clear that where fraud is alleged, “[t]he stringent pleading
Also, because GAF did not specifically argue how Plaintiffs'       restrictions of Rule 9(b), Fed.R.Civ.P., apply to such a claim,”
MCPA claim failed to meet either pleading standard, and            and that “[t]o satisfy this standard, the plaintiff must plead
Plaintiffs have identified specific proscribed acts, the Court     or allege the date, time and place of the alleged fraud or
will not dismiss this claim at this time. Because the Court        otherwise inject precision or some measure of substantiation
is treating this claim as unmoved on for failure to meet the
                                                                   into a fraud allegation.”      Frederico, 507 F.3d at 200.
appropriate pleading standard, GAF is not precluded from
                                                                   Therefore, the Court will apply the heightened pleading
arguing that any amended pleading fails to meet the standard.
                                                                   standards of Rule 9(b) to Plaintiffs' MMPA claim.

                                                                   However, because GAF did not specifically argue how
            3. Count 5 (Missouri Merchandising                     Plaintiffs' MMPA claim failed to meet Rule 9(b), the Court
                 Practices Act (“MMPA”))                           will not dismiss this claim at this time on this basis. Because
                                                                   the Court is treating this claim as unmoved on for failure
Plaintiffs argue that “[a] claim alleging violations of the        to meet 9(b), GAF is not precluded from arguing that any
Missouri Merchandising Practices Act does not necessarily          amended pleading fails to meet the requirement.
need to be stated with the same particularity as a claim
of common law fraud or mistake.” (Pls.' Opp'n at 11 n.14
(quoting     Ullrich v. CADCO, Inc., 244 S.W.3d 772, 777               4. Count 6 (Illinois Consumer Fraud Act (“ICFA”))
(Mo.Ct.App.2008)).) However, the full sentence in that cases
provides: “Although Rule 55.15 requires that in all averments      Plaintiffs argue that “[b]ecause neither fraud nor mistake is
of fraud or mistake, the circumstances constituting fraud or       an element of unfair conduct under [the] Illinois' Consumer
mistake shall be stated with particularity, a claim alleging       Fraud Act, a cause of action for unfair practices under the
violations of the MMPA does not necessarily need to be stated      Consumer Fraud Act need only meet the notice pleading
with the same particularity as a claim of common law fraud or      standard of Rule 8(a), not the particularity requirement in
mistake.”     Ullrich, 244 S.W.3d at 777 (internal quotations      Rule 9(b).” (Pls.' Opp'n at 11 n.15 (quoting     Windy City
                           14
omitted, emphasis added). Rule 55.15 is a Missouri rule of         Metal Fabricators & Supply, Inc. v. CIT Tech. Fin. Servs.,
procedure. Citation to a case analyzing state procedural rules     Inc., 536 F.3d 663, 670 (7th Cir.2008)) (emphasis added).)
is not persuasive.                                                 However, Windy City also states: “The Supreme Court of
                                                                   Illinois has held that recovery under the Consumer Fraud Act
 *15 GAF, on the other hand, argues that courts applying           'may be had for unfair as well as deceptive conduct.' ”     536
federal rules of procedure apply the Rule 9(b) heightened
                                                                   F.3d at 669 (quoting       Robinson v. Toyota Motor Credit
pleading standards to MMPA claims. (See GAF Mot. at 25
n.15 (citing Johnsen v. Honeywell Int'l Inc., 2015 WL 631361,      Corp., 775 N.E.2d 951, 960 (Ill.2002)); see also           In re
at *9 (E.D.Mo. Feb. 12, 2015).) The Johnsen court stated: “In      Riddell Concussion Reduction Litig., 77 F.Supp.3d 422, 433
MMPA actions, courts apply the particularity requirements of       n.11 (D.N.J.2015) (citing Windy City for the proposition that
Fed.R.Civ.P. 9(b) pertaining to fraud.” 2015 WL 631361, at         claims based on unfair practices “need only meet the notice
*9. The court in Blake v. Career Education Cororation (cited       pleading standard of Rule 8(a)” but holding that “Rule 9(b)
by the Johnsen court) likewise noted that “[t]he United States     applies to Plaintiffs' claims to the extent they are premised on
District Courts in Missouri have consistently applied Rule
                                                                   fraud”);    Stavropoulos v. Hewlett–Packard Co., 2014 WL
9(b) to cases arising under the MMPA.” 2009 WL 140742,             2609431, at *4 (N.D. Ill. June 9, 2014) (“Claims under ICFA
at *2 (E.D.Mo. Jan. 20, 2009) (collecting cases).                  sound in fraud and therefore must be pled with particularity
                                                                   under Rule 9(b).”)



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Here, Plaintiffs allege that GAF's conduct “was unfair,              plainly sounds in fraud, the Court will apply the heightened
unlawful, and a fraudulent business practice.” (OAC ¶ 163            pleading standards of Rule 9(b) to this claim.
(emphasis added); see also id. ¶ 164 (same).) However, they
also allege that “GAF committed unfair or deceptive acts and         However, because GAF did not specifically argue how
practices.” (Id. ¶¶ 165, 166 (emphasis added).)                      Plaintiffs' VCPA claim failed to meet Rule 9(b), the Court will
                                                                     not dismiss this claim at this time on this basis. Because the
As with Plaintiffs' Indiana consumer protection claim,               Court is treating this claim as unmoved on for failure to meet
Plaintiffs cannot have it both ways: either they are pleading        9(b), GAF is not precluded from arguing that any amended
an unfair business practice–which may only need to meet              pleading fails to meet this standard.
Rule 8(a)'s pleading requirements, or they are pleading fraud
which must meet Rule 9(b). And, because the pleadings are
not clear on the basis of their claim, Plaintiffs' ICFA claim
                                                                     6. Count 8 (Montana Consumer Protection Act (“MTCPA”)
is dismissed without prejudice. The Court does note that,
overall, Plaintiffs' allegations with respect to this claim appear   Although GAF argues that Rule 9(b) should apply to
to sound in fraud.                                                   Plaintiffs' MTCPA claim, it provides no case law or other
                                                                     analysis to support its argument, simply stating that “[w]hile
                                                                     it seems that no federal court has yet affirmatively concluded
 5. Count 7 (Virginia Consumer Protection Act (“VCPA”))              that Rule 9(b) applies to this statute, this claim also sounds
                                                                     in fraud and should be pled with particularity, as all of these
 *16 Plaintiffs argue that the “misrepresentations providing         other courts [applying other state laws] have held.” (GAF
the basis of a [VCPA] claim need not be pleaded with                 Mot. at 25 n.15.) That GAF can find no on-point case law
the same kind of particularity as common law fraud                   does not relieve it of the obligation to support its argument
claims.” (Pls.' Opp'n at 11 n.16 (quoting Debrew v. Lexus,           with legal analysis. GAF may not punt legal argument to this
1997 WL 1070613, at *2 (Va.Cir.Ct.1997)) (emphasis                   Court for research and analysis through such bare assertions.
added).) “The claims of fraud and misrepresentation are              Likewise, Plaintiffs who argue for application of Rule 8(a)
                                                                     similarly improperly punt to this Court. (See Pls.' Opp'n
distinct under the VCPA.”     Nigh v. Koons Buick Pontiac
                                                                     at 12 n.21 (“GAF provides no case law to assert that the
GMC, Inc., 143 F.Supp.2d 535, 553 (E.D.Va.2001). And, the
                                                                     Montana Consumer Protection Act is required to be pleaded
“misrepresentations” which provide “the basis of a VCPA
                                                                     with particularity. Thus, GAF asserts no basis to assert
claim need not be pled with the same kind of particularity as
                                                                     a heightened pleading standard for this claim.”) (internal
common law fraud claims.” Id. However, courts have required
                                                                     citations omitted).) Therefore, the Court is declining at this
the pleading standards of Rule 9(b) to be met for a VCPA
                                                                     time to decide the issue of the appropriate pleading standard
claim where fraudulent behavior is alleged. See Murphy v.
                                                                     for this claim.
Capella Educ. Co., 589 F. App'x 646, 652, 656–57 (4th
Cir.2014).
                                                                     Additionally, because GAF did not specifically argue how
                                                                     Plaintiffs' MTCPA claim failed to meet either 8(a) or 9(b),
Here, Plaintiffs allege that “GAF violated VA. CODE §
                                                                     the Court will not dismiss this claim at this time. Because
59.1–200.4, which provides, inter alia, that: '[t]he following
                                                                     the Court is treating this claim as unmoved on for failure
fraudulent acts or practices committed by a supplier
                                                                     to meet the pleading standard, GAF is not precluded from
in connection with a consumer transaction are hereby
                                                                     arguing specifically that any amended pleading fails to meet
declared unlawful ... [listing acts].” (OAC ¶ 174 (emphasis
                                                                     the applicable standard.
added).) Plaintiffs further allege: “In particular, GAF's
fraudulent concealment of the defects with the Decking,
as described more fully ... throughout [the] Complaint
and incorporated herein by reference, violated the Virginia          7. Count 9 (Colorado Consumer Protection Act (“CCPA”))
Consumer Protection Act.” (Id. ¶ 175 (emphasis added).)
Plaintiffs cases do not support the proposition that Plaintiffs'      *17 Legal Standard. The parties do not dispute that the
allegations based on fraud need not meet the particularity           Rule 9(b) pleading standards apply to this claim. However,
requirement of Rule 9(b). Because Plaintiffs' VCPA claim             because GAF did not specifically argue how Plaintiffs' CCPA
                                                                     claim failed to meet Rule 9(b), the Court will not dismiss this



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claim on this basis at this time. Because the Court is treating    Plaintiffs' other cases–which they acknowledge are not
this claim as unmoved on for failure to meet 9(b), GAF is not      on point–are equally unpersuasive. (See Pls.' Opp'n at 16
precluded from arguing that any amended pleading fails to          & n.23 (“While Colorado courts have not addressed this
meet the requirement.
                                                                   precise issue....”);   Jackson v. Unocal Corp., 262 P.3d 874
                                                                   (Colo.2011) (Plaintiffs provide no pincite for this case which
Certain Relief Is Not Permitted. GAF argues that Plaintiffs'
                                                                   discusses a “land damages class action,” and the Court finds
CCPA claim also “should be dismissed to the extent it seeks
                                                                   no discussion of § 6–1–113(2)); Mountain States Tel. and Tel.
monetary relief on behalf of a class because the CCPA
                                                                   Co. v. District Court, 778 P.2d 667, 669 (Colo.1989) (a case
does not authorize any damages, attorneys' fees, or costs for
                                                                   not analyzing § 6–1–113(2) and decided prior to the current
claims brought as class actions.” (GAF Mot. at 49 (citing
                                                                   version of the statute); Mangone v. U–Haul Int'l, Inc., 7 P.3d
   Martinez v. Nash Finch Co., 886 F.Supp.2d 1212, 1218–           189 (Colo.App.1999) (Plaintiffs provide no pincite for this
19 (D.Colo.2013)).) Plaintiffs argue that CCPA claims for          case, and the Court finds no discussion of § 6– 1–113(2)). For
money damages have been allowed to proceed in some cases.          these reasons, the Court dismisses Plaintiffs' CCPA claims to
(See Pls.' Opp'n at 16 & n.23.) For example, Plaintiffs assert     the extent they seek monetary damages on behalf of a class.
that “[w]hile Colorado courts have not addressed this precise
issue, in    In re Onstar Contract Litig., [600 F.Supp.2d 861
(E.D.Mich.2009),] interpreting Colorado law, the Michigan                    8. Count 10: North Carolina Unfair and
district court held class members could be awarded actual                    Deceptive Trade Practices (“UDTPA”)
damages.” (Id. at 16.)
                                                                    *18 Legal Standard. Plaintiffs argue that “[a] ... UDTPA
Various courts analyzing Colorado law have criticized the          claim does not require proof of fraud, bad faith, or actual
holding in In re Onstar for relying on a case analyzing a          deception.” (Pls.' Opp'n at 11–12 n.17 (emphasis in original)
                                                                   (quoting Geo Plastics v. Beacon Dev. Co., 434 F. App'x.
prior–not current–version of the statute at issue. See   In        256, 261 (4th Cir.2011)).) The case cited by GAF states the
re Syngenta AG MIR 162 Corn Litig., 2015 WL 5607600                same thing. See La Tortilleria, Inc. v. Nuestro Queso, LLC,
at *50–51 (D.Kan. Sept. 11, 2015) (analyzing Colorado              2014 WL 1322627, at *7 (M.D.N.C. Mar. 31, 2014) (both
law and dismissing the CCPA class claims) (“Plaintiffs also        cases citing to RD & J Props. V. Lauralea–Dilton Enters.,
cite to    In re OnStar Contract Litig., 600 F.Supp.2d 861         LLC, 600 S.E.2d 492, 501 (N.C.2004)), adopted, 2014 WL
                                                                   3484995 (M.D.N.C. July 11, 2014). As identified in Geo
(E.D.Mich.2009), in which the court relied on Robinson [v.
                                                                   Plastics, the first element of a UDTPA claim is that “the
Lynmar Racquet Club, Inc., 851 P.2d 274 (Colo.App.1993) ].
                                                                   defendant committed an unfair or deceptive act or practice....”
The OnStar court did not consider the different version of the
                                                                   434 F. App'x at 261 (emphasis added). The Geo Plastics court,
statute at issue in Robinson, however, and this Court cannot
                                                                   however, was deciding a motion for summary judgment, not
agree with that court's conclusion that by the plain language of
                                                                   analyzing the appropriate pleading standard to apply to this
the [current] statute, the class action prohibition applies only
                                                                   claim. See id. at 261–62. On the other hand, in La Tortilleria
to statutory and treble damages.”); Friedman v. Dollar Thrifty
                                                                   where the basis of the UDTPA was fraudulent inducement,
Automotive Group, Inc., 2015 WL 4036319, at *5 (D.Colo.
                                                                   the court held that Rule 9(b) applied. See 2014 WL 1322627,
July 1, 2015) (“What Plaintiffs fail to acknowledge, however,
                                                                   at *6 (“When fraud is alleged, the circumstances constituting
is that the Robinson case relied on by Onstar was decided
                                                                   fraud must be pled with particularity.”).
under a previous version of § 6–1–113(2) which precluded
only treble damages, costs and attorney fees. Actual damages
                                                                   Here, Plaintiffs allege that GAF engaged in
were not excluded.”); see also Martinez, 886 F.Supp. at 1218
                                                                   “misrepresentations, concealment, omissions, and other
(“The plain and unambiguous language of the statute [§ 6–
                                                                   deceptive conduct.” (OAC ¶ 206 (emphasis added).) Because
1–113(2) ] compels the conclusion that all of the remedies
in subparts (a)(I)-(III) and (b), including actual damages, are    Plaintiffs' North Carolina UDTPA 15 are based on deceptive
not available to classes.”) (emphasis in original). In short,      (not simply unfair) conduct, the Court finds that Rule 9(b) is
Colorado courts have addressed this specific issue and have        applicable. However, because GAF did not specifically argue
found Plaintiffs' exact arguments unpersuasive.                    how Plaintiffs' UDTPA claim failed to meet Rule 9(b), the
                                                                   Court will not dismiss this claim on this basis at this time.



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Because the Court is treating this claim as unmoved on for         *19 Neither GAF nor Plaintiffs address the appropriate legal
failure to meet 9(b), GAF is not precluded from arguing that      standard for Plaintiffs' Ohio OPLA claim. Both parties cite
any amended pleading fails to meet the requirement.               to cases dealing with the Ohio Consumer Sales Practices
                                                                  Act (Count 12), 16 not OPLA claims. (See GAF Mot. at 25
Aggravating Circumstances. GAF argues that Plaintiffs'            n.15 (“Count 12: Ohio Consumer Sales Practice Act”); Pls.'
UDTPA claims should be dismissed for the additional reason        Opp'n at 12 n.18 (“Indeed, Ohio district courts in many cases
that Plaintiffs have failed to allege “substantial aggravating    have not applied Rule 9(b)'s heightened pleading standard to
circumstances.” (See GAF Mot. at 49 (“North Carolina courts       Ohio CSPA claims.”).) Therefore, the Court does not address
and the Fourth Circuit have held that a mere breach of contract   the appropriate standard for the OPLA claim at this time.
or breach of warranty does not, standing alone, constitute an     Also, because GAF did not specifically argue how Plaintiffs'
unfair or deceptive trade practice.”).) Plaintiffs do not seem    OPLA claim failed to meet either 8(a) or 9(b), the Court
to disagree on the general statement of the law as cited by       will not dismiss this claim on this basis at this time. Because
GAF. See       South Atlantic Ltd. P'ship of Tennessee, LP v.     the Court is treating this claim as unmoved on for failure
Riese, 284 F.3d 518, 535 (4th Cir.2002) (“[W]hile there is        to meet the pleading standard, GAF is not precluded from
no doubt that the North Carolina courts have construed the        arguing specifically that any amended pleading fails to meet
UTPA liberally, there are some limits on its application. For     the requirement.
example, only practices that involve [s]ome type of egregious
or aggravating circumstances are sufficient to violate the
UTPA.) (internal citations and quotations omitted) (cited by                   10. Count 13 (New Hampshire Rev.
Plaintiffs, see Pls.' Opp'n at 17).                                            Stat. § 358–A et seq. (“NHCPA”))

Plaintiffs, instead, argue that they have adequately pled an      GAF argues that Rule 9(b) applies to Plaintiffs' NHCPA
action that goes beyond contract law. Plaintiffs assert that      claim. (See GAF Mot. at 25 n.15 (citing Gwyn v. Loon
“[t]his, however, is not a mere breach of warranty case....       Mountain Corp., 2002 WL 1012929 (D.N.H. May 15, 2002),
Plaintiffs' UDTPA claim is rooted in the conduct of GAF           aff'd, 350 F.3d 212 (1st Cir.2003).) The Gwyn court held that
and its knowledge that the Decking was not manufactured           “[b]y basing its CPA claim upon alleged misrepresentations
in accordance with its representations and GAF failed to          and further asserting that the misrepresentations constituted
disclose this information.” (Pls.' Opp'n at 17.) However,         a knowing and willful violation of the CPA, plaintiffs have
Plaintiffs do not address the language in GAF's case that         in essence accused defendant of fraud. Where an allegation
provides that a “[p]laintiff cannot convert its breach of         of fraud lies at the core of a cause of action, the heightened
warranty claim into an unfair trade practices claim simply        pleading standards of Fed.R.Civ.P. 9(b) apply.” 2002 WL
by artfully pleading the appropriate legal language for such
                                                                  1012929, at *7. Plaintiffs, in response, cite to  Leonard v.
a claim.... Plaintiff must also allege facts to support its
                                                                  Abbott Labs., Inc., 2012 WL 764199 (E.D.N.Y. Mar. 5, 2012)
legal claims.”       Terry's Floor Fashions, Inc. v. Ga.-Pac.     (analyzing the New Hampshire statute). (See Pls.' Opp'n at
Corp., 1998 WL 1107771, at *10 (E.D.N.C. July 23, 1998)           12 n.22.) The Leonard court first noted that it was “bound
(internal quotations omitted). This statement in Terry is         by the law of [the] Second Circuit,” and then held that given
consistent with this Court's position on the insufficiency of     what it believed were similarities between the NHCPA and
mere recitation of legal catchwords or phrases. As the Court      the New York consumer protection statute, Rule 8(a) should
discusses throughout this Opinion (see, e.g., infra Section
                                                                  apply. See 2012 WL 764199, at *19–20. The Leonard court
V.G), Plaintiffs' allegations with respect to GAF's conduct are
                                                                  also acknowledged that “[t]he act provides a non-exhaustive
short on substance. Therefore, the Court finds that dismissal
without prejudice of Plaintiffs' UDTPA claim is appropriate       list of prohibited practices.”  Id. at *16. Plaintiffs' briefing
on this basis.                                                    does not compare the cases cited to the actual language in the
                                                                  OAC or clearly explain the basis for their claim under this
                                                                  statute.

    9. Count 11 (Ohio Product Liability Act (“OPLA”))
                                                                  Plaintiffs specific NHCPA allegations do not contain the
                                                                  words “fraud,” “deception,” or “willful and knowing.”
                                                                  Instead, they are more vague and assert that GAF “was


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aware, or by the exercise of reasonable [care] should have          ConAgra, “Plaintiffs [did] not dispute that Rule 9(b), rather
been aware” of its allegedly improper conduct. (OAC ¶ 237.)
                                                                    than the more lenient requirements of       Rule 8, govern[ed]
Neither party analyzes the appropriate standard in the context
                                                                    their claims.” 908 F.Supp.2d at 1097. And the quote from
of Plaintiffs' allegations, and the Court will not do so sua
                                                                    Plaintiffs' case is supported by citation to a case “regarding
sponte.
                                                                    unfair and deceptive trade practice action brought by the
                                                                    FTC under the Federal Trade Commission Act” and Pelman
Because GAF has not properly moved on this claim for
                                                                    (discussing New York law). See 2008 WL 2331019, at *2.
failure to meet the pleading standard in any case, the Court
                                                                    Because GAF has not properly moved on this claim for failure
will not reach this issue at this time. Because the Court is
                                                                    to meet the pleading standard, and both parties provide no real
treating this claim as unmoved on for failure to meet the
                                                                    analysis or persuasive support for their pleading positions,
pleading standard, GAF is not precluded from arguing that
                                                                    this Court will not reach this issue at this time. Because the
any amended pleading fails to meet the requirement.
                                                                    Court is treating this claim as unmoved on for failure to meet
                                                                    the pleading standard, GAF is not precluded from arguing that
                                                                    any amended pleading fails to meet the requirement.
 11. Count 15 (     New York General Business Law § 349)

Because GAF did not specifically argue how Plaintiffs' New             14. Count 19 (Iowa Consumer Fraud Act (“IACFA”))
York claim failed to meet Rule 8(a), the Court will not dismiss
this claim at this time. Because the Court is treating this claim   GAF argues that Rule 9(b) applies to Plaintiffs' IACFA
as unmoved on for failure to meet Rule 8(a), GAF is not             claims. (See GAF Mot. at 25 n.15 (citing Wegner v. Pella
precluded from arguing that any amended pleading fails to           Corp., 2015 WL 2089658, at *6 (D.S.C. May 5, 2015)
state a claim for this Count.                                       (applying Rule 9(b) to Iowa's statute)).) Plaintiffs do not
                                                                    provide case law for Iowa supporting that Rule 8(a) should
                                                                    apply to this claim. (See Pls.' Opp'n at 12 n.20.) Instead
                                                                    Plaintiffs cite to GAF's case and argue instead that “[w]hile
    12. Counts 16 and 17 (California False Advertising
                                                                    the court held Rule 9(b) applied to a claim for a violation of
    Law and California Consumer Legal Remedies Act)
                                                                    the IACFA, it also held a 'relaxed Rule 9(b) standard' was
Because GAF did not specifically argue how Plaintiffs'              appropriate.” (Id. (quoting Wegner ).)
California consumer claims failed to meet Rule 9(b), the
Court will not dismiss these claims at this time. Because           First, it appears that Plaintiffs are actually arguing for a
the Court is treating these claims as unmoved on for failure        “relaxed” 9(b) approach for this claim, not Rule 8(a). Second,
to meet 9(b), GAF is not precluded from arguing that any            in Wegner the court held that “[a]lthough the Fourth Circuit
amended pleading fails to state a claim for these Counts.           has not adopted this relaxed Rule 9(b) standard, a relaxed
                                                                    standard comports with the Fourth Circuit's [general]
                                                                    instruction[s]” regarding pleading under Rule 9(b). 2015
                                                                    WL 2089658, at *6 (emphasis added). Plaintiffs do not cite
             13. Count 18 (Nebraska Consumer
                                                                    to Third Circuit cases applying such a relaxed standard for
                 Protection Act (“NCPA”))
                                                                    claims sounding in fraud, nor do they explain why they
*20 GAF argues that Rule 9(b) applies to Plaintiffs' NCPA           believe such an approach would be utilized in this district. The
                                                                    Court, thus, finds Plaintiffs' argument unpersuasive.
claim. (See GAF Mot. at 26 n.15 (citing        In re ConAgra
Foods Inc., 908 F.Supp.2d 1090, 1099 (C.D.Cal.2012))                Plaintiffs also argue that they allege a per se violation of the
(applying Rule 9(b) to Nebraska's statute).) Plaintiffs, on         IACFA, and then state that “[t]here is no requirement that the
the other hand, argue that “ '[t]he heightened pleading             IACFA claim have a heightened pleading requirement.” (Pls.'
requirements of Rule 9(b) do not apply to allegations of unfair     Opp'n at 12 n.20.) Plaintiffs provide no explanation for their
and deceptive trade practices' under Nebraska's laws.” (Pls.'       conclusion. Here, Plaintiffs allege that GAF's “concealment,
Opp'n at 12 n.19 (quoting Alpharma, Inc. v. Pennfield Oil Co.,      intentional and negligent misrepresentation, and breach of
2008 WL 2331019, at *2 (D. Neb. June 4, 2008).) Neither of          express and implied warranties constitute unfair, unlawful,
these cases provides any pleading standard analysis. In In re       and fraudulent business acts and practices in violation of


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IOWA CODE ANN. § 714H.3.” (OAC ¶ 323 (emphasis                    Muffler Shops, Inc., 155 F.3d 331, 346 (4th Cir.1998))
added).) As Plaintiffs' IACFA claim sounds in fraud, and they     (GAF's case); OH:Compare Maranatha Volunteers Int'l, Inc.
have provided no analysis or support for application of Rule      v. Golden Giant, Inc., 1999 WL 357786 at *4 (6th Cir.1999)
8(a) standards, the Court finds that the heightened pleading      (“It is not the nature of the claim but the character of the
standards of Rule 9(b) (as applied in the Third Circuit) are      loss that determines whether the cause of action lies in tort
applicable. However, because GAF did not specifically argue
                                                                  or contract.”) (Plaintiffs' case) with Cincinnati v. Beretta
how Plaintiffs' IACFA claim failed to meet Rule 9(b), the
                                                                  U.S.A. Corp., 768 N.E.2d 1136, 1146 (Ohio 2002) (“In this
Court will not dismiss this claim at this time. Because the
                                                                  case, since appellant alleged only economic damages, it
Court is treating this claim as unmoved on for failure to meet
                                                                  has not set forth a statutory product liability claim and is
9(b), GAF is not precluded from arguing specifically that any
                                                                  consequently barred from bringing any such claims under
amended pleading fails to meet the requirement.
                                                                  the Act.”) (GAF's case); NE:        Lesiak v. Central Valley
                                                                  Ag Co-op, Inc., 808 N.W.2d 67, 82 (Neb.2012) (The court
                                                                  “reaffirm[ed] the doctrine's continued application in the
                15. Economic Loss Doctrine
                                                                  products liability context,” and made clear that “the doctrine
In addition to the arguments discussed above, GAF also            requires that where a defective product causes harm only to
argues that the Missouri MMPA, Virginia VCPA, North               itself, unaccompanied by either personal injury or damage to
Carolina UDTPA, Ohio OPLA, and Nebraska NCPA claims               other property, contract law provides the exclusive remedy to
must be dismissed for failure to plead more than economic         the plaintiff.”) (cited by both Plaintiffs and GAF). 17
losses. (See GAF Mot. at 38 & n.22.) Where Plaintiffs
provided cases on this point in opposition (see Pls.' Opp'n        *21 Plaintiffs do not argue that these claims cannot be
at 34–35 n.41), they support GAF's general statement of the       barred by the economic loss doctrine. Instead they argue that
                                                                  their allegations of damage to other property are adequately
law (see GAF Mot. at 38–39 n.22). MO:Compare              In re
                                                                  pled. (Pls.' Opp'n at 34–35; see also ECF No. 61–1 (Pls.'
Genetically Modified Rice Litig., 666 F.Supp.2d 1004, 1015
                                                                  Checklist) (stating only that Plaintiffs have “[s]ufficiently
(E.D.Mo.2009) (“The economic loss doctrine bars recovery
                                                                  alleged damage to 'other property' ”).)
of purely pecuniary losses in certain tort cases if there is no
personal injury or physical damage to property other than the
                                                                  The individual plaintiffs plead nothing more than “that any
property at issue in the case–usually an allegedly defective
                                                                  other property damage caused by the Decking must be
product in a products liability case.”) (Plaintiffs' case) with
                                                                  repaired.” (OAC ¶¶ 11–27, 29–32, 34–35.) This bare assertion
Graham Constr. Servs. v. Hammer & Steel Inc., 755 F.3d 611,
                                                                  does not state that there is actually any other property damage
616 (8th Cir.2014) (“Under Missouri law, [r]ecovery in tort
                                                                  alleged, much less what that damage is alleged to be for
for pure economic damages are only limited to cases where
                                                                  each plaintiff. Plaintiffs generally allege that “Plaintiffs' ”
there is personal injury, damage to property other than that
                                                                  “residences/structures” or “exterior finishes, columns, walls,
sold, or destruction of the property sold due to some violent
                                                                  and other property” have been damaged (see id. ¶¶ 118–
occurrence.”) (internal quotations omitted) (GAF's case);
                                                                  121), but such general allegations provide inadequate notice
NC:Compare Indem. Ins. Co. of N. Am. v. Am. Eurocopter
                                                                  of whether Plaintiffs are alleging any actual damage to other
LLC, 2005 U.S. Dist. LEXIS 34011, at *35 (M.D.N.C.2005)
                                                                  property and what that damage is alleged to be.
(“North Carolina has adopted the economic loss rule, which
prohibits recovery for economic loss in tort. Instead, such
                                                                  Plaintiffs argue that “[i]f there is not damage to other
claims are governed by contract law.”) (quoting          Moore    property, then GAF can move to dismiss these claims at
v. Coachmen Indus., 499 S.E.2d 772, 780 (N.C.App.1998))           summary judgment.” (Pls.' Opp'n at 35.) The Court agrees
(Plaintiffs' case) with In re Bldg. Mat'ls Corp. of Am. Asphalt   with GAF that Plaintiffs may not “skip the federal pleading
Roofing Shingle Prods. Liab. Litig., 2013 WL 169289, at           requirements, and embark on discovery to fish for claims that
*9 (D.S.C. Jan. 16, 2013) (“[T]he United States Court of          are legally barred.” (GAF Reply at 10.) The Supreme Court,
Appeals for the Fourth Circuit has found error in allowing an     in Iqbal, made clear that “the Federal Rules do not require
unfair and deceptive trade practices claim to proceed under       courts to credit a complaint's conclusory statements without
North Carolina law where the claim essentially alleged a          reference to its factual context.... And [even] Rule 8 does
                                                                  not empower respondent to plead the bare elements of his
contractual breach.”) (citing    Broussard v. Meineke Disc.


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cause of action, affix the label 'general allegation,' and expect   either their OPLA or common law claims should be
                                                                    dismissed.” (GAF Reply at 19–20 (emphasis added).)
his complaint to survive a motion to dismiss.”     Iqbal, 556
                                                                    Plaintiffs' position appears to be that it can pursue both
U.S. at 686–87. Therefore, the Court dismisses Plaintiffs'
                                                                    sets of claims for different measures of damages. (See Pls.'
Missouri MMPA, Virginia VCPA, North Carolina UDTPA,
                                                                    Opp'n at 51 (“The Huffman court held that the plaintiff could
Ohio OPLA, and Nebraska NCPA claims without prejudice
                                                                    simultaneously assert claims against a manufacturer under the
for failure to plead anything other than economic loss.
                                                                    common law for negligence as well as under OPLA because
                                                                    the measure of damages is different.”).) Because the Court has
  C. GAF's Arguments That Other Causes of Action                    dismissed Plaintiffs' OPLA claim, it need to decide at this time
  Are Abrogated by Statute                                          whether, if the OPLA claim is re-pled and survives dismissal,
                                                                    Plaintiffs could also bring common law claims with the OPLA
                                                                    claim.
                           1. Indiana

In its moving brief, GAF argued that “[t]he Indiana
                                                                       D. GAF's Argument That Certain Other Causes of
Products Liability Act ('IPLA') abrogates the Indiana
                                                                       Action Fail Because of the Economic Loss Doctrine
Plaintiffs' [ (Stidham) ] claims for negligence (Count 1),
                                                                    GAF argues that “[t]he Economic Loss Doctrine adopted by
strict liability (Count 26), negligent misrepresentation (Count
                                                                    various states also bars many of Plaintiffs' claims.” (GAF
22), and fraudulent misrepresentation or concealment (Counts
                                                                    Mot. at 36.) Specifically, GAF argues that the non-consumer
23–24).” (GAF Mot. at 50.) Plaintiffs did not oppose
                                                                    protection claims shown below should be dismissed for
GAF's dismissal of the negligence, strict liability, and
                                                                    failure to plead harm to other property. (See id. at 38–39 n.22.)
fraudulent misrepresentation Indiana causes of action. (See
ECF No. 61–1 at 1, 5, 7 (Pls.' Checklist).) Plaintiffs did            • Missouri (Ross): Counts 1 (Negligence), 22 (Negligent
not concede in their Checklist dismissal of the Indiana                 Misrepresentation), 23 (Fraudulent Misrepresentation),
negligent misrepresentation and fraudulent concealment/                 24 (Fraudulent Concealment), 26 (Strict Liability);
omission claims. (See id. at 4, 6.) Plaintiffs, however, also did
not argue that the negligent misrepresentation and fraudulent         •    Nebraska (Warren): Counts 1 (Negligence),
concealment causes of action are not abrogated by the IPLA;               22 (Negligent Misrepresentation), 23 (Fraudulent
GAF's argument regarding abrogation for these causes of                   Misrepresentation), 24 (Fraudulent Concealment), 26
action simply does not appear on Plaintiffs' checklist or in              (Strict Liability);
Plaintiffs' opposition. (See id.; see also GAF Reply at 19.)
                                                                      • North Carolina (Robertie): 18 Counts 1 (Negligence),
The Court agrees with GAF that all of Plaintiffs' Indiana tort          22 (Negligent Misrepresentation), 23 (Fraudulent
                                                                        Misrepresentation), 24 (Fraudulent Concealment);
claims are barred by the IPLA. See        Ryan ex rel. Estate
of Ryan v. Philip Morris USA, Inc., 2006 WL 449207, at                • Virginia (Wolcott): Counts 1 (Negligence), 22 (Negligent
*2 (N.D.Ind. Feb. 22, 2006) (“The express wording of the                 Misrepresentation), 23 (Fraudulent Misrepresentation),
[IPLA] statute, as well as the clear holdings of the Indiana             24 (Fraudulent Concealment);
Supreme Court ... make it clear that all of Ryan's claims
fall within the purview of the IPLA. This is true not only            • California (Williams): Counts 1 (Negligence), 22
of Plaintiff's negligence claims, but her fraud claims as               (Negligent Misrepresentation), 26 (Strict Liability);
well.”) (dismissing the common law claims). Therefore, the
                                                                      • Colorado (Kaiser, Turcheck, Tuthill, Barker, Megerle):
Indiana Plaintiff's negligent misrepresentation and fraudulent
                                                                        Counts 1 (Negligence), 26 (Strict Liability);
concealment claims will be dismissed with prejudice.
                                                                      • Illinois (Ernst): Counts 1 (Negligence), 22 (Negligent
                                                                         Misrepresentation), 26 (Strict Liability);
                            2. Ohio
                                                                      • Iowa (Denton, Sheridan): Counts 1 (Negligence), 22
*22 GAF argues that “[d]epending on whether this                        (Negligent Misrepresentation);
Court finds Plaintiffs have pled damage to other property,



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  • Michigan (McGovern, Narducci, Claxton): Counts 1              agreement.”) (internal quotations omitted);   Border Brook
    (Negligence), 22 (Negligent Misrepresentation);               Terrace Condo. Ass'n v. Gladstone, 622 A.2d 1248, 1253
                                                                  (N.H.1993) (“We agree with the defendants that a plaintiff
  • New Hampshire (Khanna): Counts 1 (Negligence),                may not ordinarily recover in a negligence claim for purely
    22 (Negligent Misrepresentation), 23 (Fraudulent
                                                                  'economic loss.' ”);     Trump Int'l Hotel & Tower v. Carrier
    Misrepresentation), 24 (Fraudulent Concealment), 26
                                                                  Corp., 524 F.Supp.2d 302, 312 (S.D.N.Y.2007) (“Thus, I find
    (Strict Liability); and
                                                                  that the pressure differential flow switch did not damage 'other
  • New York (Giovannetti): Counts 1 (Negligence),                property' when it malfunctioned and caused the absorption
    22 (Negligent Misrepresentation), 23 (Fraudulent              chiller to freeze. As a result, Trump's negligence claim is
    Misrepresentation), 24 (Fraudulent Concealment).              dismissed.”).


For the reasons stated previously with respect to Plaintiffs'      *23 As noted above in discussing Plaintiffs' consumer
Missouri, Nebraska, North Carolina, and Virginia consumer         protection claims, Plaintiffs simply argue they have
protection claims (see supra Section V.B.15), the Court agrees    sufficiently pled damage to other property–an exception to the
with GAF that the above causes of action for these states are     rule. (See Pls.' Opp'n at 34–35.) As this Court has held above
also insufficiently pled, and, therefore, are dismissed without   (see supra V.B.15), the Court disagrees that Plaintiffs' bare
prejudice.                                                        allegations are sufficient to survive dismissal of these causes
                                                                  of action.
For the same reasons, the Court will dismiss the causes of
action above for the California, Colorado, Illinois, Iowa,
                                                                   E. Count 1 (Negligence): Other Argument for
Michigan, New Hampshire, and New York Plaintiffs without
                                                                   Dismissal
prejudice. Plaintiffs have not argued that the economic
                                                                  GAF argues that the negligence causes of action for the
doctrine is inapplicable in these states. In fact, the case
                                                                  North Carolina (Robertie) 20 and Michigan (McGovern,
law Plaintiffs cite (see Pls.' Opp'n at 34–35 n.41) supports
                                                                  Narducci, Claxton) Plaintiffs should also be dismissed for
GAF's legal position. 19 See       Jimenez v. Superior Court,     failure to plead a reasonable alternative design. (See GAF
58 P.3d 450, 483 (Cal.2002) (“To apply the economic loss          Mot. at 48–49.) Plaintiffs counter that “these states do
rule, we must first determine what the product at issue is.       not require allegations of an alternative feasible design
Only then do we find out whether the injury is to the product     to sustain negligence claims against a building product
itself (for which recovery is barred by the economic loss         manufacturer.” (Pls.' Opp'n at 4950.) The Court agrees with
rule) or to property other than the defective product (for        GAF with respect to Michigan and Plaintiffs with respect to
which plaintiffs may recover in tort).”); Metropolitan Pro.       North Carolina.
& Cas. Ins. Co. v. James McHugh Constr. Co., 1999 WL
971283, *2 (N.D.Ill. Oct. 21, 1999) (The “doctrine prevents       With respect to Michigan, Plaintiffs' case identifies “a
a plaintiff from recovering in tort for purely economic           reasonable alternative design” as a required element for a
losses.... The economic loss rule therefore does not bar
                                                                  negligence claim based on design defect, 21 as Plaintiffs
recovery for incidents resulting in damage to other property.”)
                                                                  have alleged here (see OAC ¶¶ 116–121). Plaintiffs have not
(internal quotations omitted);   Richards v. Midland Brick        alleged that a reasonable alternative design was available.
Sales Co., Inc., 551 N.W.2d 649, 650 (Iowa 1996) (“It is a        Therefore, the Michigan Plaintiffs' negligence cause of action
generally recognized principle of law that plaintiffs cannot      is also appropriately dismissed without prejudice on this
recover in tort when they have suffered only economic             basis.
harm.”);    Quest Diagnostics, Inc. v. MCI WorldCom, Inc.,
                                                                  With respect to North Carolina, Plaintiffs' case says nothing
656 N.W.2d 858, 862 n.4 (Mich.Ct.App.2002) (“Michigan's
                                                                  on point. However, GAF's own case makes clear that
economic loss doctrine is broader than other jurisdictions
                                                                  Plaintiffs must prove “either one of the following: ... the
in that it not only includes damage to the product itself,
                                                                  manufacturer unreasonably failed to adopt a safer, practical,
but may also include damage to other property when this
                                                                  feasible, and otherwise reasonable alternative design or
damage was within the contemplation of the parties to the
                                                                  formulation ...” or that “the design or formulation of the



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product was so unreasonable that a reasonable person, aware      Therefore, the Court dismisses the Ohio, Virginia, and New
of the relevant facts, would not use or consume a product        York Plaintiffs' negligent misrepresentation causes of action
                                                                 without prejudice.
of this design.”      Earp v. Novartis Pharm. Corp., 2013
WL 4854488, at *6 (E.D.N.C. Sept. 11, 2013) (citing N.C.
                                                                 Plaintiffs do dispute that a special relationship is required for a
GEN. STAT. § 99B–6(a)) (emphasis added). GAF's case thus
                                                                 negligent misrepresentation claim under North Carolina law.
does not support that a reasonable alternative design must be
                                                                 (See Pls.' Opp'n at 45.) For North Carolina, Plaintiffs cite
pled in every case. That this Court finds that a reasonable
alternative design is not always required to state a negligent   (without a pincite) to  Rowan County Board of Education
design claim under North Carolina law does not mean that         v. United States Gypsum Co., 332 N.C. 1 (1992). However,
Plaintiffs have adequately stated a claim under North Carolina   the Rowan court was analyzing a fraud, not a negligent
law. GAF did not appropriately move on that broader basis,       misrepresentation, claim, and it did not discuss a special
so the Court has not reached that question.                      relationship. See id. GAF's case analyzing North Carolina
                                                                 law, on the other hand, supports that a special relationship

  F. Count 22 (Negligent Misrepresentation): Other               is required. See     Synovus Bank v. Karp, 887 F.Supp.2d
  Arguments for Dismissal                                        677, 690 (W.D.N.C.2012) (“[T]he Magistrate Judge correctly
                                                                 concluded that the Defendants' allegations do not support
                                                                 a finding of any type of special relationship between
          1. Failure to plead a special relationship             Synovus Bank and the Defendants beyond that of the typical
                                                                 lender-borrower relationship. Accordingly, ... the Defendants'
GAF argues that the negligent misrepresentation claims
                                                                 negligent misrepresentation claims are dismissed.”) (internal
for the Ohio (Burger), North Carolina (Robertie), 22 Iowa        citations omitted), aff'd in part sub nom. Synovus Bank v.
(Denton, Sheridan), Virginia (Wolcott), and New York             Tracy, 2015 WL 860361 (4th Cir. Mar. 2, 2015); see also
(Giovannetti) Plaintiffs should be dismissed for failure to
                                                                     Energy Inv. Fund v. Metric Constr., 525 S.E.2d 441, 445
plead a special relationship. 23 (GAF Mot. at 45 & n.29; ECF
                                                                 (N.C.2000) (“EIF's claim for negligent misrepresentation also
No. 63–1 at 8–9 (GAF's Reply Checklist).)
                                                                 fails in that EIF has not alleged or established a special
                                                                 relationship with defendants which supports standing to bring
 *24 Plaintiffs do not respond to GAF's arguments
                                                                 a direct claim.... Absent some indication whereby defendants
with respect to Ohio, Virginia, and New York. (See
                                                                 directly solicited EIF with the intent to induce its participation
Pls.' Opp'n at 45–46.) GAF's case law for these states
                                                                 in BCH, EIF has failed to allege the existence of a legally
supports that a special relationship is required to bring a
                                                                 cognizable duty of care which runs from defendants to
negligent misrepresentation claim under these states' law. See
                                                                 EIF.”). As the North Carolina Plaintiffs (Robertie) have
    Premier Bus. Grp., LLC v. Red Bull of N. Am., Inc., 2009     not alleged that a special relationship existed with GAF,
WL 3242050, at *11 (N.D.Ohio Sept. 30, 2009) (“[N]egligent       their negligent misrepresentation cause of action is dismissed
misrepresentation requires a special relationship under which    without prejudice.
the defendant supplied information to the plaintiff for the
latter's guidance in its business transactions.”) (internal
                                                                 For Iowa, Plaintiffs cite to       Sain v. Cedar Rapids
quotations omitted); Velez v. Lizardi, 2015 WL 868929,
                                                                 Community School District, 626 N.W.2d 115 (Iowa 2001).
at *4–5 (Va.Ct.App. Mar. 3, 2015) (requiring a special
                                                                 (Pls.' Opp'n at 46.) Sain supports GAF's basic proposition
relationship for constructive fraud); 24 Prime Mover Capital     that a special relationship is required for a negligent
Partners, L.P. v. Elixir Gaming Techs., Inc., 793 F.Supp.2d
651, 673–74 (S.D.N.Y.2011) (“[U]nder New York law, a             misrepresentation claim under Iowa law. See        Sain, 626
plaintiff may recover for negligent misrepresentation only       N.W.2d at 124 (“As with all negligence actions, an essential
where the defendant owes her a fiduciary duty. Such a            element of negligent misrepresentation is that the defendant
special relationship requires a closer degree of trust between   must owe a duty of care to the plaintiff.”) (emphasis added).
the parties than that of the ordinary buyer and seller           Instead, Plaintiffs cite to Sain to argue that such a duty
in order to find reliance on such statements justified.”)        exists where “a defendant supplied 'information' and that
(internal quotations omitted). Plaintiffs in these states have   this information was false.” (Pls.' Opp'n at 46.) The Sain
not alleged that a special relationship existed with GAF.        court, however, made clear “that this duty arises only when



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the information is provided by persons in the business               Count was challenging. This is particularly true because GAF
                                                                     intertwines its arguments against equitable tolling (which the
or profession of supplying information to others.”         626
                                                                     Court has rejected as premature, see supra Section V.A.2)
N.W.2d at 124, 128–29 (finding that the duty existed for a
                                                                     with its arguments that Plaintiffs' fraudulent concealment
student and his guidance counselor). “Thus, when deciding
                                                                     claims fail to state a claim under Rule 9(b). The Court is
whether the tort of negligent misrepresentation imposes a
                                                                     only addressing these issues at this time because several
duty of care in a particular case, [Iowa courts] distinguish
                                                                     issues are core to Plaintiffs' allegations. As this Court
between those transactions where a defendant is in the
                                                                     has previously noted, the Court will not accept abstract
business or profession of supplying information to others
                                                                     arguments, arguments based on analysis of New Jersey law
from those transactions that are arm's length and adversarial.”
                                                                     (unless explained why relevant), and, will not hunt to try
   Id. at 124. In reaching this decision, the Sain court cited to    to figure out if and how Plaintiffs are opposing GAF's
Molo Oil Company v. River City Ford Truck Sales, Inc. Id. In         arguments.
that case, the court held that “if the transaction at issue took
place at arm's length, the plaintiff's cause of action must fail.”   At the base of Plaintiffs' disjointed opposition is that they
    Molo Oil, 578 N.W.2d 222, 227 (Iowa 1998) (refusing “to          have adequately pled “fraud by omission with particularity”
apply this rule [creating a duty] to a retailer in the business of   and that “[w]ithout the benefit of discovery in this matter,
selling and servicing its goods”).                                   Plaintiffs cannot specify exactly when GAF knew the
                                                                     Decking was defective.” (Pls.' Opp'n at 19.) The primary
 *25 Plaintiffs have alleged no facts demonstrating that GAF         OAC allegations that Plaintiffs identify in support of their
was in the business of supplying information period, much            particularity position are the following:
less in the way contemplated by Iowa courts. Therefore, the
                                                                       72. The Decking's defects are latent and undetectable until
Iowa Plaintiffs' negligent misrepresentation causes of action
                                                                       they manifest. Therefore, Plaintiffs and Class members
also will be dismissed without prejudice.
                                                                       could not reasonably have discovered, even with the
                                                                       exercise of due diligence, that there was a defect until after
                                                                       the Decking had been purchased and installed. Indeed, the
                  2. Failure to plead privity                          defect typically does not manifest itself until a year or two
                                                                       after installation.
GAF argues that the Michigan Plaintiffs' (McGovern,
Claxton, Narducci) negligent misrepresentation claims                  73. But GAF knew or should have known of the Decking's
should be dismissed for lack of privity. (See GAF Mot. at 46           defects, and that the Decking is not fit for its ordinary
(citing Yaldu v. Bank of Am. Corp., 700 F.Supp.2d 832, 845–            and intended use, is not merchantable, and fails to perform
46 (E.D.Mich.2010).) Yaldu provides that, under Michigan               in accordance with GAF's own statements and warranties,
law, “[t]he elements of negligent misrepresentation are: ... (4)       as well as with the reasonable expectations of ordinary
the defendant and plaintiff were in privity of contract....” Id.       consumers.
at 845. Plaintiffs do not address GAF's argument. However,
with respect to similar arguments related to the implied               74. And GAF knew or should have known that the Decking
warranty claims, Plaintiffs do not assert that any Plaintiff           had the potential and tendency for swelling, expanding,
has alleged sufficient facts establishing privity, only that no        warping, staining, discoloration, twisting, and shrinking.
such requirement exists. (See Pls.' Opp'n at 44–45.) Therefore,
                                                                        *26 75. Despite GAF's actual or constructive knowledge
because Plaintiffs have not pled that privity exists as required
                                                                       of the Decking's defects and problems, GAF continued to
under Michigan law, this Court finds that the Michigan
                                                                       market and sell the Decking–and failed to disclose, and
Plaintiffs' negligent misrepresentation claims also should be
                                                                       otherwise concealed, the Decking's inherent defects.
dismissed on this basis.
                                                                       85. As discussed herein, GAF made the following
                                                                       representations in conjunction with the sale of its Decking,
  G. Count 24 (Fraudulent Concealment): Other
                                                                       each of which were intended to (and did) convey
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                                                                       information regarding the durability and performance of
The parties agree that Rule 9(b) applies to this claim. The
                                                                       the Decking, rather than mere puffery: ... [list of alleged
Court initially notes that briefing by both parties on this
                                                                       representations].


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                                                                    GAF states that “[f]raudulent concealment as a cause of
  88. GAF's made its representations about the Decking              action in these states requires either an affirmative act
  despite GAF's knowledge that the Decking was defective.           of concealment or confidential, fiduciary, or other special
                                                                    relationship,” and that Plaintiffs have alleged neither. (GAF
  372. GAF took affirmative steps to prevent Plaintiffs and
                                                                    Mot. at 45–46 n.30 (emphasis added).) As such, GAF argues
  Class members from learning of the Decking's defects,
                                                                    that the California (Williams), Illinois (Ernst), Ohio (Burger),
  including keeping non-public information and internal
  knowledge and communications secret.                              North Carolina (Robertie), 25 Iowa (Denton, Sheridan),
                                                                    Montana (Hoover & Cohen), Nebraska (Warren), Michigan
Most of these allegations–and all dealing with omission–            (McGovern, Narducci, Claxton), Virginia (Wolcott), New
are essentially fill-in-the-blank pleading allegations. In other    York (Giovannetti), and Mississippi (Mapp) 26 Plaintiffs'
words, if someone replaced “GAF” with “insert party” and            fraudulent concealment claims should be dismissed. (See id.)
“Decking” with “insert product,” they could have bare-bones         Plaintiffs counter that a showing of a special relationship
pleadings for any defective product. In other contexts, this        is not required because–as GAF acknowledges–Plaintiffs
Court–with more specific allegations than those above–has           must plead either an affirmative act(s) of concealment or a
held that such bare-bones pleadings do not meet Rule 8, much        special relationship; Plaintiffs do not argue that they have
less Rule 9.                                                        plead a special or fiduciary relationship for any of the
                                                                    Plaintiffs. (See Pls.' Opp'n at 20–21.) However, Plaintiffs have
Plaintiffs also generally allege that “[d]espite a litany           not sufficiently pled an affirmative act of concealment as
of complaints from consumers like Plaintiffs and Class              discussed above, so they cannot defeat GAF's argument on
Members, GAF refuses to inform purchasers, homeowners,              this issue on that cursory argument alone.
and Class Members about the Decking's defects.” (OAC
¶ 77 (emphasis added).) The OAC originally included                  *27 Plaintiffs further argue that in “numerous states at
twenty-five (25) Plaintiff fact sets; twenty-three (23) remain.     issue” (citing to cases analyzing Illinois, South Carolina
However, with the exception of Plaintiff McGovern, none             (not at issue here), and Virginia law only), that neither an
of the Plaintiffs allege informing GAF of any decking issue,        affirmative misrepresentation nor a special relationship are
when they so communicated with GAF, the content of any              required “so long as the defendant: (1) knows about the defect
“complaint” or other communications, or any other facts             at the time of sale, (2) makes partial representations while
to support knowledge by GAF of any alleged defect. Even             concealing other information, or (3) enjoys a position of
Plaintiff McGovern alleges only that he “initially filed an         superior knowledge over the plaintiff.” (Pls.' Opp'n at 21 &
action against GAF in this Court on August 21, 2014,”               n.28.) Plaintiffs also argue that in California, North Carolina,
and “[b]efore filing that case, Plaintiff submitted a pre-          Iowa, Illinois, Nebraska, Ohio, New York, Montana, and
suit demand to Defendant.” (Id. ¶ 17.) Plaintiff McGovern           Mississippi “when a manufacturer knows that it is selling a
does not identify when he submitted the pre-suit demand or          defective product, a duty to disclose that defect arises.” (Id.
the content of that demand. In fact, a couple of Plaintiffs'        at 22–24 & nn.29–35.)
allegations above assert only that GAF “knew or should have
known” of the alleged defect.                                       Plaintiffs' cases do not support their argument that the
                                                                    fraudulent concealment claims in these states have been
Paragraph 372 which simply states that “GAF took                    sufficiently pled for a product defect case. The cases cited
affirmative steps to prevent Plaintiffs and Class members           by Plaintiffs involve more specific pleadings than are present
from learning of the Decking's defects” appears to be the           here, different postures of the cases, and/or analysis of
heart of its omission claim. While there may be a limitation to     state, not federal, pleading sufficiency; no case supports
Plaintiffs' knowledge prior to discovery, Plaintiffs must have      that Plaintiffs can meet their pleading burden with bald
some basis for their allegations beyond conclusory assertions       assertions simply reciting magic legal phrases. In other
that simply mimic legal elements. With this background, the         words, even by their own definition, the allegations in
Court will address the specific argument made by GAF that           the OAC are insufficient to state claims for fraudulent
Plaintiffs failed to plead a special or fiduciary relationship as   concealment in these states because Plaintiffs make nothing
required by certain states.                                         but conclusory allegations that GAF knew or should have
                                                                    known that its advertisements and/or representations were
                                                                    false or misleading at the time of sale. Thus, regardless


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of whether an affirmative duty to disclose exists relieving       product and GAF did not do so according to the express
them of other proofs, Plaintiffs have not pled sufficient facts   terms of the warranty. The only Plaintiff who alleges that
to establish such a duty existed here. Therefore, Plaintiffs'     he notified GAF at all–Plaintiff McGovern–does not allege
fraudulent concealment causes of action in these states will      any details of the communication other than that it was a
be dismissed without prejudice.                                   “pre-suit demand.” (See OAC ¶ 17.) This Court agrees with
                                                                  GAF that “at its core, Plaintiffs' claim regarding the Smart
Plaintiffs did not provide opposition with respect to GAF's       Choice Limited Warranty is not that GAF breached it, but that
Michigan arguments. (See id.) To state a claim for fraudulent     they are dissatisfied with the remedy that it provides.” (GAF
concealment under Michigan law, Plaintiffs must plead             Mot. at 39–40; see also Pls.' Opp'n at 36 (explaining how
either affirmative concealment or a fiduciary relationship.       they believe the warranty coverage is inadequate).) Plaintiffs
See First of Mich. Corp. v. Swick, 894 F.Supp. 298, 301           have not identified in the OAC the warranty terms that were
(E.D.Mich.1995)(“Defendants acknowledge that fraudulent           breached, and how they were breached.
concealment requires some affirmative fraudulent act and an
additional act to perpetuate the concealment; mere inaction        *28 In lieu of arguments related to the actual warranty terms,
or silence is not sufficient. Instead, defendants rely on         Plaintiffs make arguments that the Smart Choice Warranty
the exception to this rule creating an affirmative duty           is unconscionable and “fails of its essential purpose.” (See
when there is a fiduciary relationship.... [B]ecause there        Pls.' Opp'n at 36–39.) As an initial matter, in support of
was not a fiduciary relationship between plaintiffs and           both of these arguments, Plaintiffs cite primarily New Jersey
defendants, mere inaction by plaintiffs is insufficient to        case law and statutes, not cases applying the relevant law.
establish fraudulent concealment.”) (internal quotations and      Second, Plaintiffs seem to conflate various concepts. Even the
citations omitted). Plaintiffs have not sufficiently alleged      New Jersey case cited by Plaintiffs for its unconscionability
either, and, therefore, the Michigan Plaintiffs' (McGovern,       argument does not support their express warranty position
Narducci, Claxton) fraudulent concealment causes of action        because Plaintiffs have not explained how the concept
also will be dismissed without prejudice.                         of unconscionability demonstrates that their affirmative
                                                                  express warranty claims are sufficiently pled. See           In
Because the Court finds that Plaintiffs' pleadings are
                                                                  re AZEK Bldg. Prods., Inc. Marketing & Sales Practices
insufficient regardless of whether GAF's or Plaintiffs' view
                                                                  Litig., 82 F.Supp.3d 608, 614, 616 (D.N.J.2015) (holding
of the law is correct, the Court will not decide at this time
                                                                  that “Defendant correctly argues that Plaintiffs have failed
whether a showing of a special relationship or an affirmative
                                                                  adequately to plead breach of the Lifetime Limited Warranty”
act of concealment is required in all the states at issue.
                                                                  while finding unconscionability, on the other hand, relevant
                                                                  to whether Defendants could disclaim certain causes of action
  H. Count 20 (Breach of Express Warranty)                        based on the terms of the warranty). At this time, GAF has
                                                                  not moved to dismiss claims based on an argument that such
                                                                  claims are precluded by the terms of the warranty. Therefore,
              1. Failure to plead breach of the                   aside from being improperly supported given the relevant
              Smart Choice Limited Warranty                       law, Plaintiffs' unconscionability argument is unresponsive to
                                                                  GAF's arguments related to Plaintiffs' claims for breach of the
GAF argues that all of Plaintiffs' express warranty claims fail
                                                                  express warranty.
“[t]o the extent that Plaintiffs attempt to plead a breach of
the Smart Choice Limited Warranty, ... because they have not
                                                                  With respect to Plaintiffs' failure of essential purpose
actually pled any breach of those terms.” (GAF Mot. at 39.)
                                                                  argument, Plaintiffs again cite to New Jersey law in response
                                                                  to GAF's citation to cases applying relevant state law. (See
Although Plaintiffs assert that “Plaintiffs' claim for breach
                                                                  Pls.' Opp'n at 38 (“Where circumstances cause an exclusive
of [express] warranty includes ... a claim for breach of
                                                                  or limited remedy to fail of its essential purpose, remedy
the Limited Warranty offered by GAF” (Pls.' Opp'n at 35
                                                                  may be had as provided in this Act.”) (citing N.J.S.A.
(emphasis added)), Plaintiffs do not plead the actual express
                                                                  12A:2–719(2)).) GAF's citations support their argument that
terms of the applicable warranties, and how GAF failed to
                                                                  a “warrantor in a repair or replace warranty must be provided
comply with those terms. They also do not allege that they
                                                                  with an opportunity to repair any defect, and no Plaintiff
gave GAF an opportunity to repair or replace any faulty
                                                                  [here] adequately alleges providing any such opportunity,


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rendering the express warranty claims insufficient.” (GAF            224, 228 (D.Mont.1981) (“Manufacturers such as defendants
Mot. at 40 n.23.) GAF's cases also support that in some              create express warranties ... if they make representations in
instances, a plaintiff may be able to meet this requirement by       advertising brochures that the purchaser relies on as part of
pleading allegations to support that such an effort would be         the basis for the bargain.”); Dow Corning Corp. v. Weather
futile. Plaintiffs have not made such an argument here, and          Shield Mfg., Inc., 790 F.Supp.2d 604, 611 (E.D.Mich.2011)
they have not alleged any facts supporting such an argument.         (“Under Michigan's version of the Uniform Commercial
                                                                     Code, advertisements and promotional literature can be a
The Court agrees with GAF that “[b]ecause no Plaintiff               part of the basis of the bargain and thus constitute express
alleges GAF failed to provide the remedy promised in the             warranty where they are prepared and furnished by a seller
Smart Choice Limited Warranty, Plaintiffs have not alleged           to induce purchase of its products and the buyer relies on
any [express] breach of it.” (Id. at 41.) Therefore, all claims      the representations.”); Neb. Plastics, Inc. v. Holland Colors
based on the theory that the express warranty was breached           Am., Inc., 2003 WL 22519410, at *18 (D.Neb. Nov. 7, 2003)
pursuant to its terms are dismissed without prejudice.               (“This court has held that [s]ince an express warranty must
                                                                     have been made part of the basis of the bargain, it is essential
                                                                     that the plaintiffs prove reliance upon the warranty.”) (quoting
              2. Failure to plead representations                        Hillcrest Country Club v. N.D. Judds Co., 461 N.W.2d
              that became a basis of the bargain                     55, 61 (Neb.1990)) (internal quotations omitted); Melton
                                                                     v. Ortho–McNeil Pharm., Inc., 2014 WL 4930673, at *3
GAF also argues that all of the Plaintiffs' express warranty         (N.D.Ohio Oct. 1, 2014) (applying Illinois law) (“Essential
claims fail because “they do not allege that any statements          to the formation of a warranty is the buyer's reliance on the
outside of the Smart Choice Limited Warranty became                  representations of the seller.... [E]ven if the advertisement
part of the basis of the parties' bargain and thus formed            had contained an affirmation of fact or promise, it is of no
express warranties.” (Id. at 39.) GAF does not allege that           consequence to the instant claims as Ms. Melton admits she
representations can never form the basis for an express              did not read the advertisement, and therefore could not have
warranty claim. Instead GAF argues that “Plaintiffs' failure         relied on any statement therein.”); Assocs. of San Lazaro
to allege that they heard or saw any alleged representations         v. San Lazaro Park Props., 864 P.2d 111, 115 (Colo.1993)
and relied on them necessitates dismissal of their breach of         (“Sellers are encouraged to warrant only that which they
express warranty claims.” (Id. at 41.)                               know they can fulfill, while buyers who in fact rely on express
                                                                     warranties may anticipate judicial enforcement thereof.”);
GAF's case law (see id. at 41–42 n.25) supports that–                Wabash Power Equip., Co. v. BTU State Line, LLC, 2014 WL
at a minimum–Plaintiffs must have seen or heard the                  1329411, at *7 (N.D.Ind. Mar. 31, 2014) (“As the Seventh
representations that they allege became a basis of the bargain.      Circuit Court of Appeals explained, describing Indiana law,
It also supports that in most, if not all, relevant states,          [t]he buyer has the burden of establishing that both parties
Plaintiffs must allege that they relied on such representations      understood and agreed to the same thing, before an express
or that the representations induced the purchase. See        Nat'l   warranty can be proven. That means that if both parties
Mulch & Seed, Inc. v. Rexius Forest By–Prods. Inc., 2007 WL          did not rely on a certain assertion or opinion to be a part
894833, at *16 (S.D.Ohio Mar. 22, 2007) (“An affirmation             of the deal, no express warranty was created.”) (internal
of fact is part of the basis of the parties bargain if it induces    quotations omitted, alteration in original);     Tae Hee Lee
the buyer to purchase the product.”);      Hope v. Nissan N.         v. Toyota Motor Sales, U.S.A., Inc., 992 F.Supp.2d 962, 979
Am., Inc., 353 S.W.3d 68, 85 (Mo.Ct.App.2011) (“To prove a           (C.D.Cal.2014) (“Moreover, Plaintiffs do not allege that they
claim for breach of express warranty in Missouri, a plaintiff        read or relied on the 'marketing brochure' before making their
must show: ... (3) the statement of fact was a material factor       purchases.”);     Kelleher v. Marvin Lumber & Cedar Co.,
inducing the buyer to purchase the goods....”);       Sharp          891 A.2d 477, 502 (N.H.2006) (“To satisfy this requirement,
v. Tamko Roofing Prods., Inc., 2004 WL 2579638, at *2                a plaintiff claiming breach of express warranty based upon a
(Iowa Ct.App.2004) (“For a plaintiff to prove a breach of an         representation in a catalog or brochure would have to prove,
express warranty based on sales representations, there must          at a minimum, that he or she read, heard, saw or was otherwise
be a finding the sale would not have been made but for the           aware of the representation in the catalog or brochure.”);
representations.”); Schlenz v. John Deere Co., 511 F.Supp.           Cavanagh v. Ford Motor Co., 2014 WL 2048571, at *4



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(E.D.N.Y. May 19, 2014) (“A successful claim of a breach           an initial matter, the following Plaintiffs make no allegations
of express warranty requires proof that an express warranty        of any kind with respect to representations: 28 Burger
existed, was breached, and that plaintiff had relied on that       (Ohio), McGovern (Michigan), Claxton (Michigan), Kaiser
warranty. Where a [p]laintiff does not identify the terms          (Colorado), Tuthill (Colorado), and Mapp (Mississippi).
of the purported warranty he claims to have relied on, any         (OAC ¶¶ 11, 17, 20, 22, 24, 31.) Thus, these Plaintiffs' express
conclusory allegation ... for breach of express warranty [must]    warranty claims will be dismissed without prejudice to the
be dismissed.”) (internal citations and quotations omitted,        extent they are based on a benefit of the bargain theory.
alteration in original);   Maxwell v. Remington Arms Co.,
LLC, 2014 WL 5808795, at *3 (M.D.N.C. Nov. 7, 2014)                The following Plaintiffs make only the single cut and paste
(“In determining whether a seller's affirmation or description     allegation that they purchased the decking based on “the
becomes the basis of the bargain, North Carolina courts            representations regarding the quality of the Decking”: Denton
look to certain factors, including whether the buyer knew          (Iowa), Hoover & Cohen (Montana), Warren (Nebraska),
of the seller's statements.”) (internal quotations omitted);       Ernst (Illinois), Turcheck (Colorado), Stidham (Indiana),
                                                                   Williams (California), Wolcott (Virginia), Khanna (New
    Craig v. DaimlerChrysler Corp., 2008 WL 2816842, at *7
                                                                   Hampshire), Giovannetti (New York), Shepherd (North
(S.D.Miss. Mar. 19, 2008) (“In order to set forth a product
                                                                   Carolina), Barker (Colorado), and Megerle (Colorado). (Id.
liability claim for breach of express warranty, Plaintiffs must
                                                                   ¶¶ 15–16, 18, 21, 23, 25–27, 29–30, 32, 34–35.) Plaintiffs
demonstrate that: The product breached an express warranty
                                                                   Ross (Missouri) and Sheridan (Iowa) allege that “[b]ased
or failed to conform to other express factual representations
                                                                   upon GAF's marketing, at the time of purchase, [they]
upon which the claimant justifiably relied in electing to use
                                                                   believed that the Decking was superior to other decking
the product.”) (internal quotations omitted). 27                   boards.” (Id. ¶¶ 13–14.) Plaintiff Sheridan also alleges that
                                                                   based on the marketing, he believed it “would require limited
 *29 Plaintiffs do not cite relevant law demonstrating that        maintenance.” (Id. ¶ 14.) Plaintiff Narducci (Michigan)
a plaintiff can state a breach of express warranty claim           alleges that he purchased the decking “based upon the quality
based on representations that they were not even aware of.         and ease of use of the Decking.” (Id. ¶ 19.) Plaintiff Narducci
(See Pls.' Opp'n at 39–41.) Instead, Plaintiffs make broad         does not identify the basis for that belief. None of the
statements primarily supported by citations to cases analyzing     Plaintiffs identify which representations they saw or heard,
New Jersey law. (See, e.g., id. at 39 (“All affirmations of        where they saw or heard them, when they saw or heard them,
fact by the seller, description of the goods, or exhibitions       from whom, and whether the representations induced them to
of samples become part of the basis of the bargain unless          purchase the product (in those states where required). In short,
good reason is shown to the contrary.      Cipollone v. Liggett    there is no indication in any of Plaintiffs' allegations what
Grp., Inc., 893 F.2d 541, 568 (3rd Cir.1990).”).) In fact,         representations identified in the general allegations section
Plaintiffs seem to concede that–at a minimum–awareness             became a basis of the bargain between these parties and GAF.
of the representation is a requirement. (See id. at 40 (“A
representation is presumed to be part of the basis of the          These allegations are inadequate to meet the basic
bargain 'once the buyer has become aware of the affirmation        requirements of Rule 8, and cannot be salvaged by a couple
of fact or promise.' ”) (emphasis added) (quoting another          of general allegations by Plaintiffs. (See id. ¶ 87 (“Plaintiffs,
case analyzing New Jersey law, Liberty Lincoln–Mercury,            class members, and the builders, contractors, subcontractors,
Inc., 171 F.3d 818, 825 (3d. Cir.1999).) And yet, as GAF           and other agents, relied on GAF's representations regarding
notes (see GAF Reply at 13), Plaintiffs have failed to plead       the quality of the Decking.”); see id. ¶ 339 (“Plaintiffs,
which, if any, representations that the Plaintiffs were aware      Class Members, and the builders, contractors, subcontractors,
of. With respect to reliance, Plaintiffs assert–without more–      and other agents who worked for them, relied on GAF's
that “[t]o the extent that a particular state requires reliance,   representations regarding the quality of the Decking.”).) As
Plaintiffs have adequately alleged it.” (Pls.' Opp'n at 40         this Court has made clear, even “Rule 8 does not empower
n.42.) Such arguments improperly punt Plaintiffs' opposition       respondent to plead the bare elements of his cause of action,
responsibility to this Court.                                      affix the label 'general allegation,' and expect his complaint
                                                                   to survive a motion to dismiss.”     Iqbal, 556 U.S. at 686–
The Court finds that Plaintiffs have not pled anything             87. Thus, these Plaintiffs' express warranty claims also will
sufficient to support a benefit of the bargain argument. As


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be dismissed without prejudice to the extent they are based on     a complaint. Plaintiffs' cases do not support such a broad
a benefit of the bargain theory.                                   assertion. Because the Court finds that Plaintiffs' failure to
                                                                   make any allegations related to notice justifies dismissal
                                                                   without prejudice, it need not decide at this time when or if
                                                                   the filing of a complaint can satisfy the notice requirement in
                  3. Failure to plead notice
                                                                   these states.
 *30 GAF further argues that the Ohio (Burger), Michigan
(Claxton, Narducci, McGovern), Illinois (Ernst), Indiana
(Stidham), and New York (Giovannetti) Plaintiffs' express                            4. Failure to plead privity
warranty claims also fail because they do not “allege facts
showing that they provided GAF with notice of the alleged          GAF also argues that the Indiana Plaintiff's (Stidham) express
defects.” (GAF Mot. at 44 & n.27; see also ECF No. 63–1            warranty claim should be dismissed for failure to allege
at 5–6(GAF Reply Checklist).) Plaintiffs counter that “these       privity. (See GAF Mot. at 45.) To support this argument,
states all permit the filing of a complaint to constitute notice   GAF cites to Atkinson v. P & G–Clairol, Inc., which held
in this context.” (See Pls.' Opp'n at 42 & n.45.)                  that “vertical privity is required for claims of breach of
                                                                   express warranty and breach of implied warranty of fitness
With respect to Illinois, the case relied on by Plaintiffs
                                                                   for a particular purpose.”        813 F.Supp.2d 1021, 1026
does not support their position. In Connick v. Suzuki Motor
                                                                   (N.D.Ind.2011). Plaintiffs, on the other hand, cite to Prairie
Company, Ltd., the Illinois Supreme Court held that “[o]nly a
                                                                   Production, Inc. v. Agchem Div.-Pennwalt Corporation,
consumer plaintiff who suffers a personal injury may satisfy
                                                                   which held, on an issue of first impression, that “a plaintiff
the section 2–607 notice requirement by filing a complaint
                                                                   may recover against a manufacturer for economic loss for
stating a breach of warranty action against the seller.”  675      breach of express warranties, even though the plaintiff is
N.E.2d 584, 590 (Ill.1996) (emphasis added). The Illinois          not in privity with the manufacturer.” 514 N.E.2d 1299,
court further held that “[t]he reason for this distinction is      1302–03 (Ind.Ct.App.1987). A recent case in the Southern
that where the breach has not resulted in personal injury, the     District of Indiana, Ryden v. Tomberlin Automotive Group,
UCC indicates a preference that the breach be cured without a      2012 WL 4470266, at *1–2 (S.D.Ind.2012), dealt with the
                                                                   same arguments and cases as the parties present here. In that
lawsuit.”    Id. at 590–91. Here, the Illinois Plaintiff has not
                                                                   case, the court did not resolve the split between the holdings
alleged any pre-suit notice. Therefore, his breach of express
                                                                   in these cases (Atkinson and Prairie Production ). Instead,
warranty claim is dismissed without prejudice on this basis.
                                                                   it clarified the basis for the Prairie Production holding. The
                                                                   court stated:
With respect to Ohio, Michigan, Indiana, and New York,
the most liberal reading of Plaintiffs' cases is that notice by       *31 In Prairie Production, the Indiana Court of Appeals
complaint is the unusual exception, not the rule. And it is an
exception premised on the filing of the complaint providing          relied on the New York case of      Randy Knitwear, Inc. v.
“reasonable” notice. Here, Plaintiffs have alleged no facts          Am. Cyanamide Co., 11 N.Y.2d 5, 226 N.Y.S.2d 363, 181
related to this issue. Instead all many of these Plaintiffs          N.E.2d 399 (N.Y.1962), and held that where a manufacturer
baldly assert is that they discovered the defect within a            had made representations to a buyer in the chain the
year prior to filing suit. (See OAC ¶¶ 11–12, 14–16, 18–23,          distribution through advertisements and product labels, and
25–27, 29–32, 34.) Others do not even identify when they             the buyer in fact relied upon those representations, the
                                                                     buyer could maintain a claim for breach of an express
allegedly discovered the defect. (See id. ¶¶ 13, 17, 24, 35.) 29
                                                                     warranty. 514 N.E.2d at 1303–04; see also id. at 1304
Thus, Plaintiffs do not allege when each Plaintiff actually
                                                                     (“[T]he seller's representation rises to the level of an
discovered the issue, or any other facts to support that notice
                                                                     express warranty only if it becomes part of the basis of the
was reasonable. Plaintiffs appear to believe that their notice
                                                                     bargain.”). The cases that have followed Randy Knitwear
argument means that the mere filing of the complaint without
                                                                     only allow express warranty claims where the conditions of
any allegations related to notice is enough to survive a motion
                                                                     representation and reliance are met. They do not treat the
to dismiss. If this were the case, then no express warranty
                                                                     case as a general repudiation of privity, but as an exception
claim could be dismissed in these states based on failure
                                                                     to it.
to provide notice, as every case begins with the filing of



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                                                                    function of a deck includes aesthetic improvement of the
Id. at *2. The Ryden court then found–without resolving the         property [which] is a quintessential fact question that should
dispute–that the plaintiff's allegations failed even to meet the    not be resolved in the context of a motion to dismiss.” (Id.
Prairie Production requirements of awareness and reliance.          at 41 (internal quotations omitted).) Plaintiffs further argue
Id. (“Significantly, Plaintiff does not allege that he relied       that “GAF's argument that Plaintiffs failed to allege that the
on these advertisements in making his decision to buy a             Decking is 'not merchantable' ignores the plain text of the
Vehicle, nor does he allege that he ever saw this advertisement     OAC and the reasonable inferences which may be drawn from
or was aware of it. Without such allegations, Plaintiff's           those allegations.” (Id. at 42 n.44 (citing OAC ¶¶ 73, 81,
breach of express warranty claim does not fall within the           346).) These OAC paragraphs provide:
exception to the privity requirement articulated in Randy
Knitwear and Prairie Production.”). The Court reaches the              *32 73. But GAF knew or should have known of the
same conclusion in this case. Even if Plaintiffs are correct that     Decking's defects, and that the Decking is not fit for its
Prairie Production states the appropriate rule (that privity is       ordinary and intended use, is not merchantable, and fails
not always required for express warranty claim under Indiana          to perform in accordance with GAF's own statements and
law), they have failed to plead any allegations supporting that       warranties, as well as with the reasonable expectations of
an exception to this requirement exists here. Therefore, the          ordinary consumers.
Indiana Plaintiffs' express warranty cause of action will be
dismissed without prejudice on this basis. The Court does             81. Through these media, as well as by oral affirmations to
not decide at this time whether such allegations without more         the Plaintiffs and the general public, GAF advertised and
would be sufficient to state an express warranty claim under          warranted that the Decking was merchantable as exterior
Indiana law.                                                          home decking, fit for the ordinary purpose of serving as
                                                                      exterior home decking in high-traffic areas exposed to the
                                                                      elements, and free from defects in both its materials and its
  I. Count 21 (Breach of Implied Warranties)                          workmanship.

                                                                      346. Contrary to such implied warranties, the Decking is
            1. Failure to plead not merchantable                      not of merchantable quality or fit for its intended use–it
                                                                      is defective and unsuitable for use as an exterior decking
GAF argues that in Ohio (Burger), North Carolina (Robertie,
                                                                      product.
Shepherd), Montana (Hoover & Cohen), Michigan (Narducci,
Claxton, McGovern), Nebraska (Warren), Colorado (Kaiser,            Plaintiffs do not allege what their expectations were other
Tuthill, Turcheck, Barker, Mergele), Indiana (Stidham), and         than their express statement that the ordinary purpose was
Mississippi (Mapp) “an implied warranty claim (Count                to “serv[e] as exterior home decking in high-traffic areas
21) should be dismissed where, as here, Plaintiffs do not           exposed to the elements.” Nor do they allege that the decking
sufficiently allege that the items cannot be used for their         failed in this respect.
ordinary purpose.” (GAF Mot. at 42.) 30 GAF argues–and
the Court agrees–that “[h]ere, Plaintiffs describe the 'ordinary    A complaint may not be amended through briefing. See
purpose' of CrossTimbers and/or DuraLife as 'serving as
                                                                       Bell v. City of Phila., 275 F. App'x 157, 160 (3d Cir.2008).
exterior home decking in high-traffic areas exposed to the
                                                                    Because Plaintiffs have not alleged the facts that serve as the
elements,' ” and “and at no point do Plaintiffs allege that they
                                                                    basis of their argument and have not cited relevant law on that
are unable to use their CrossTimbers and/or DuraLife in this
                                                                    point, the Court need not decide if such allegations would be
manner.” (Id. at 43 (quoting OAC ¶ 81).)
                                                                    sufficient under relevant law. Based on the OAC, Plaintiffs
                                                                    have not alleged that the decking is not merchantable, and,
Plaintiffs do not challenge GAF's law, and, in fact, cite
                                                                    therefore, the implied warranty causes of action in these states
to cases analyzing New Jersey and Pennsylvania law in
                                                                    will be dismissed without prejudice on that basis.
opposition. (See Pls.' Opp'n at 41–42 (citing      In re AZEK,
82 F.Supp.3d at 616, and       Fleisher v. Fiber Composites,
LLC, 2012 WL 5381381, at *6–7 (E.D.Pa. Nov. 2, 2012).)                                2. Failure to plead notice
Without acknowledging the different allegations in those
cases, Plaintiffs state “[t]he court found that the essential


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For the same reasons that the Ohio (Burger), Michigan               dismissed on this basis (see supra Section V.E), the Michigan
(Narducci, Claxton, McGovern), and Indiana (Stidham)                Plaintiffs' (McGovern, Narducci, Claxton) implied warranty
Plaintiffs' 31 express warranty claims are dismissed for lack       causes of action also will be dismissed without prejudice.
of notice (see supra Section V.H.3), their implied warranty
claims must also be dismissed without prejudice.
                                                                              5. Duplicative of the strict liability claim

                                                                    GAF argues that the Nebraska Plaintiff's (Warren) “breach
                  3. Failure to plead privity
                                                                    of implied warranty claim ... fails because, as a matter of
GAF argues that the North Carolina (Robertie, Shepherd) and         Nebraska law, it is subsumed by his strict product liability
                                                                    claim.” (GAF Mot. at 50.) The Court has dismissed the
Ohio (Burger) Plaintiffs' 32 implied warranty causes of action
                                                                    Nebraska Plaintiff's strict liability cause of action, and has
must be dismissed for failure to plead privity. (See GAF Mot.
                                                                    dismissed the Nebraska Plaintiff's implied warranty cause of
at 44 & n.28.) Plaintiffs argue that these states do not require
                                                                    action on other grounds. Therefore, it is unnecessary to decide
privity for implied warranty claims; they do not argue that
                                                                    at this time if the implied warranty claim could exist in the
they have plead facts sufficient to support that privity exists.
                                                                    absence of a viable strict liability claim.
(See Pls.' Opp'n at 44.)

 *33 The Court agrees with GAF that privity is required for            J. Count 25 (Magnuson–Moss Warranty Act
Plaintiffs' contract-based implied warranty causes of action in        (“MMWA”))
North Carolina and Ohio. See      Energy Inv. Fund v. Metric        Both GAF and Plaintiffs agree that “Magnuson–Moss
Constr., Inc., 525 S.E.2d 441, 446 (N.C.2000) (“[W]hen              claims based on breaches of express and implied warranties
a claim is only for economic loss, ... the general rule is          under state law depend upon [the underlying] state law
that privity is required to assert a claim for breach of an         claims.” (Pls.' Opp'n at 52; see also GAF Mot. at 52.) In
                                                                    fact, on their argument checklist, Plaintiffs assert that they
implied warranty involving only economic loss.”);   Curl v.
                                                                    “do not oppose GAF's motion to dismiss their claims under
Volkswagen of Am., Inc., 871 N.E.2d 1141, 1147 (Ohio 2007)
                                                                    this [Magnuson–Moss Warranty] act to the extent their claims
(“Ohio continues to require privity as to contract claims.”). 33    arise from their breach of implied warranty claims in CA,
Therefore, as Plaintiffs in these states have not alleged privity   IA, MO, MO [sic], NH, NY, and VA,” which Plaintiffs also
or losses beyond economic losses, theses causes of action will      had not opposed dismissal of. (See ECF No. 61–1 at 6 (Pls.'
be dismissed without prejudice.                                     Checklist).) Because this Court has dismissed additional state
                                                                    warranty claims, Plaintiffs MMWA claims based on those
                                                                    claims also are dismissed without prejudice.
          4. Failure to plead an alternative design
                                                                     *34 GAF also argues that Plaintiffs' MMWA claims must be
As with the Michigan Plaintiffs' negligence causes of action,       dismissed because “Plaintiffs do not allege facts showing that
GAF argues that their breach of implied warranty causes of          Plaintiffs provided any notice to GAF or any opportunity to
action should be dismissed for failure to plead an alternative      cure the alleged defects.” (GAF Mot. at 52.) “[T]he MMWA
feasible design. (See GAF Mot. at 49–50.) While Plaintiffs          provides that no legal action can be brought under its private
argued that the Michigan negligence causes of action do not         right of action until the warrantor is given the opportunity
require pleading an alternative reasonable design (this Court       to cure the violation.” McGarvey v. Penske Auto. Grp., Inc.,
disagreed, see supra Section V.E), Plaintiffs do not make           2011 WL 1325210, at *8 (D.N.J. Mar. 31, 2011) (citing
the same argument with respect to the breach of implied             15 U.S.C. § 2310(e)); see also Greene v. BMW of N. Am.,
warranty cause of action. In any case, under Michigan law,          2013 WL 5287314, at *5 (D.N.J. Sept. 17, 2013) (same,
“[b]reach of implied warranty and negligent design are two          dismissing a MMWA claim in an amended complaint with
distinct theories of recovery but involve the same elements         prejudice). Plaintiffs have not opposed this argument. In any
of proof.” Severstal N. Am., Inc. v. N. Am. Refractories, Co.,      case, Plaintiffs have pled no facts that they provided GAF an
2009 WL 1620115, at *13 (E.D. Mich. June 9, 2009). Thus,            opportunity to cure the alleged defect. As noted above, the
for the same reasons the negligence causes of action are            only Plaintiff who alleges that he notified GAF at all–Plaintiff



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McGovern–provides no details regarding the contents of the        plead an unjust enrichment claim in the alternative pursuant
notice or whether GAF was provided an opportunity to cure         to Federal Rule of Civil Procedure 8(d)(3). (See Pls.' Opp'n
the alleged defect. (See OAC ¶ 17.) Therefore, Plaintiffs'        at 47–48.)
MMWA claims are also properly dismissed without prejudice
on this basis.                                                    GAF's citations to federal court decisions in these states
                                                                  support its position. See Wireless Commc'ns, Inc. v. Epicor
  K. Count 27 (Unjust Enrichment)                                 Software Corp., 2011 WL 90238, at *7 (W.D.N.C. Jan. 11,
                                                                  2011) (“Here, Wireless admits that there is a contract between
                                                                  itself and Epicor in the Complaint. Given the existence of an
             1. Failure to plead a direct benefit                 actual contract, this Court will not recognize the existence of a
                                                                  quasi-contract. Therefore, Wireless' unjust enrichment claim
GAF argues that Ohio Plaintiff's (Burger) unjust enrichment
claims fails because Ohio “do[es] not recognize unjust            is dismissed.”) (internal citations omitted);      Affordable
enrichment claims for indirect purchases.” (GAF Mot. at           Cmty. of Mo. v. Fed. Nat'l Mortg. Ass'n, 714 F.3d 1069, 1077
                                                                  (8th Cir.2013) (“We also agree with the district court that
48) (citing   Savett v. Whirlpool Corp., 2012 WL 3780451
                                                                  Affordable's unjust enrichment claim should be dismissed.
(N.D.Ohio Aug. 31, 2012).) “Under Ohio law, indirect
                                                                  Unjust enrichment is an equitable remedy based on the
purchasers may not assert unjust enrichment claims against a
                                                                  concept of a quasi-contract, and a plaintiff may not recover
defendant without establishing that the purchaser conferred a
                                                                  under both an express contract and unjust enrichment.”)
benefit on the defendant through an economic transaction.”
                                                                  (internal quotations and citations omitted); Signal Peak
   Savett, 2012 WL 3780451, at *7. In Savett, the court found     Energy, LLC v. E. Mont. Minerals, Inc., 922 F.Supp.2d 1142,
that the plaintiff failed to state a claim against defendant      1149 (D.Mont.2013) (“EMM may not maintain an unjust
Whirlpool for unjust enrichment because plaintiff purchased       enrichment claim against SPE because unjust enrichment
the refrigerator from Home Depot, and had not alleged             has its foundation in equity and is an obligation created by
any direct benefit conferred on Whirlpool. Id. In response,       law in the absence of a contract.”) (emphasis in original);
Plaintiffs cite to Nessle v. Whirlpool Corp., 2008 WL                In re Saturn L–Series Timing Chain Prods. Liab. Litig.,
2967703 (N.D.Ohio July 25, 2008). (See Pls.' Opp'n at 49.)        2008 WL 4866604, at *15 (D.Neb. Nov. 7, 2008) (“It would
However, in Nessle, the parties did not dispute whether a         certainly be contrary to every correct notion of the law to
direct benefit was conferred. See 2008 WL 2967703, at *6.         permit a party to resort to an implied contract, when the
The element at issue in that case was whether the “retention      parties have entered into an express agreement which remains
of the benefit under the circumstances ... would be unjust ...    in force.”); Schafer v. Jeld Wen Doors/IWP Custom Door
without payment.” Id. As such, Plaintiffs' case does not          Div., 2007 WL 3407659, at *6 (N.D.Ind. Nov. 9, 2007) (“The
support its argument or contradict the law supplied by GAF.       only reasonable inference from the Complaint is that an
Therefore, the Ohio Plaintiff's (Burger) unjust enrichment        express or implied contract governed the Plaintiffs' purchase
cause of action is dismissed without prejudice.                   of the custom door unit from the Defendant. Accordingly,
                                                                  it would be improper to invoke the equitable theory of
                                                                  unjust enrichment in this case and Count V is dismissed.”);
                                                                      Weisblum v. Prophase Labs, Inc., 88 F.Supp.3d 283, 297
              2. Cannot plead in the alternative
                                                                  (S.D.N.Y.2015) (“[B]ecause Weisblum has not shown that
GAF argues that the North Carolina (Plaintiff Robertie), 34       his unjust enrichment claim differs from his contract and
Missouri (Ross), Montana (Hoover & Cohen), Nebraska               tort claims, it must be dismissed.”); Morgan Stanley Mortg.
(Warren), Indiana (Stidham), Mississippi (Mapp), and New          Capital Holdings, LLC v. Realty Mortg. Corp., 2008 WL
York (Giovannetti) Plaintiffs' unjust enrichment causes of        4279585, at *7 (S.D.Miss. Sept. 11, 2008) (“The Court finds
action fail “because those states prohibit such claims when       that as Mississippi does not allow damages to be recovered for
the existence of a contract is alleged, such as the Smart         unjust enrichment in cases in which a legally binding, written
Choice Limited Warranty.” (GAF Mot. at 47 & n.33 (citing          contract exists between the parties, the unjust enrichment
to law analyzing unjust enrichment claims in these states).)      claim pleaded by Realty is not plausible on its face.”).
Plaintiffs, on the other hand, argue that they are permitted to



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 *35 Plaintiffs' cases, on the other hand, are not persuasive.     The case cited by Plaintiffs in opposition supports GAF's
First, they only cite to two Pennsylvania cases. (See Pls.'
                                                                   general statement of the law. See       Aliano v. WhistlePig,
Opp'n at 47–48 (citing Fleisher v. Fiber Composites, 2012          LLC, 2015 WL 2399354, at *9 (N.D.Ill. May 18, 2015)
WL 5381381 (E.D.Pa. Nov. 2, 2012) (analyzing Pennsylvania          (quoting the same Caremark standard quoted by GAF, but not
                                                                   dismissing the unjust enrichment claim because the court held
law), and “    Kantor, 2015 U.S. Dist. LEXIS 486583, 2015
                                                                   that the fraud claim was adequately pled). Here, the Court
WL 1650049” 35 ).) Fleisher is consistent with GAF's cases.        has dismissed the Illinois Plaintiff's consumer protection
In Fleisher, the court stated: “plaintiffs may plead alternative   claim and fraudulent concealment claim. See supra Sections
theories of breach of contract and unjust enrichment where         V.B.4, V.G. Therefore, the Court will also dismiss the Illinois
there is any question as to the validity of [the] contract         Plaintiff's unjust enrichment claim without prejudice on this
in question.” See       2012 WL 5381381, at *14 (emphasis          basis.
added) (internal citations omitted). In Kantor, on the other
hand, the court allowed the unjust enrichment to be pled in
the alternative to the contractual-based claims under Federal
                                                                         4. Failure to plead extraordinary circumstances
Rule of Civil Procedure 8(d)(3) even though the plaintiff
conceded that “at the end of the day, both counts cannot co-       GAF argues that the Indiana Plaintiff's claim for unjust
exist.”    2015 WL 1650049, at *7. Kantor is not persuasive        enrichment should be dismissed “because Indiana law
compared to other cases that hold that dismissal is appropriate    requires a consumer to plead 'extraordinary circumstances'
with allegations (or the lack thereof) similar to those in         beyond being 'dissatisfied' with their purchase,” and no
this case. Plaintiffs must point to allegations providing some     such circumstances are pled here. (GAF Mot. at 48
basis for the unjust enrichment claim separate from their          (quoting      Hughes v. Chattem, Inc., 818 F.Supp.2d 1112,
contract claims, or they must explain how the claim is truly       1125 (S.D.Ind.2011).) The Chattem court held that “where
“alternative.” They have not done so. Here, there is no dispute    [plaintiffs] fail to allege extraordinary circumstances, much
that a contract exists; Plaintiffs are bringing claims based on    less that they did not receive the benefit of their bargain,
alleged breaches of the express warranty (as well as alleged       we find that an order of unjust enrichment is inappropriate.”
implied warranties). Plaintiffs also have not explained how
                                                                       818 F.Supp.2d at 1125. Plaintiffs, on the other hand,
their unjust enrichment causes of action differ from their
                                                                   argue that Indiana law does not require “extraordinary
warranty causes of action. Therefore, the North Carolina
                                                                   circumstances” to state an unjust enrichment claim, and that
(Robertie), Missouri (Ross), Montana (Hoover & Cohen),
                                                                   the “pivotal concept of unjust enrichment is the occurrence
Nebraska (Warren), Indiana (Stidham), Mississippi (Mapp),
                                                                   of a wrong or something unjust.” (Pls.' Opp'n at 48–
and New York (Giovannetti) Plaintiffs' unjust enrichment
                                                                   49 (quoting Roberts v. Alcoa, Inc., 811 N.E.2d 466, 475
claims will be dismissed without prejudice.
                                                                   (Ind.Ct.App.2004) (internal quotations omitted).). The Court
                                                                   finds the two statements of the law consistent; a plaintiff
                                                                   must plead some wrong beyond simple dissatisfaction with
              3. Fails because fraud claims fail                   the product. Plaintiffs, however, identify no allegations in
                                                                   the OAC (beyond conclusory legal assertions) with respect
GAF argues that “where [as here] the [Illinois] plaintiff's        to the Indiana Plaintiff that they believe meet this pleading
claim of unjust enrichment is predicated on the same               requirement. Therefore, the Court finds dismissal of the
allegations of fraudulent conduct that support an independent      Indiana Plaintiff's (Stidham) unjust enrichment claim without
claim of fraud, resolution of the fraud claim against the          prejudice is also appropriate on this basis.
plaintiff is dispositive of the unjust enrichment claim as
well.” (GAF Mot. at 47–48 (quoting         Ass'n Benefit Servs.,
Inc. v. Caremark RX, Inc., 493 F.3d 841, 855 (7th Cir.2007)          L. Count 28 (Declaratory Judgment)
(alteration and emphasis in original).) In other words, GAF         *36 In a one sentence section, GAF argues that “Plaintiffs'
argues that the Illinois Plaintiff's (Ernst) unjust enrichment     declaratory relief claim (Count 28) fails ... because a
cause of action fails because his fraud causes of action fail.     declaratory relief claim is 'not ... a cause of action courts may
                                                                   be compelled to enforce.' ” (GAF Mot. at 53 (quoting In
                                                                   re AZEK, 82 F.Supp.3d 608, 624–25 (D.N.J.2015).) As an


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initial matter, In re AZEK, was addressing a claim under the             not, for example, include three citations under each state
                                                                         heading in the exempt portion of the brief.
Declaratory Judgment Act (“DJA”) ( 28 U.S.C.A. § 2201).
See 82 F.Supp.3d at 62425; see also Docket No. 12–6627,               • For any cause of action under state law for which GAF
ECF No. 90 (Am. Compl., Count XV (“Declaratory Relief                    moves for dismissal, GAF may include, in a combined
Pursuant to       28 U.S.C. § 2201”)). Plaintiffs respond by             separate exhibit, the elements of the cause of action,
citing cases also analyzing the DJA. (See Pls.' Opp'n at 52–             with appropriate case citation. Again, no argument may
53.) The Court notes, however, that Plaintiffs' OAC does not             be included in this exhibit. This exhibit will not count
specify that Count 28 is being brought under this provision.             towards the page limit, but may be referenced in the body
That aside, the Court is not persuaded by In re AZEK as                  of the brief. If Plaintiffs disagree with the elements as
compared to the cases cited by Plaintiffs that this claim– pled          put forward by GAF, Plaintiffs, likewise, may include an
in the alternative–need be dismissed at this time. GAF may               exhibit of elements that will not go to the page limit so
re-raise this issue after the OAC has been amended, based on             long as no argument is included.
the clarified allegations, if any, related to this Count.
                                                                      • The parties may also include argument checklist exhibits
                                                                         in the same format as submitted with the present motion.
VI. RE–PLEADING
                                                                      • All case citations must contain a parenthetical identifying
To the extent that this Court finds any of the OAC's allegations
                                                                         the law applied by the court cited, and must include
insufficient, Plaintiffs “request that they be permitted leave to
                                                                         pin cites. Additionally, the Court prefers (but will
amend to cure any deficiencies.” (Pls.' Opp'n at 53.) As noted
                                                                         not require) citation to one legal research service (if
throughout this Opinion, where the Court has determined that
                                                                         available) given the number of cases cited.
a cause of action is dismissed due to pleading failures, the
Court has indicated those dismissals are without prejudice to         • The parties may not re-argue items that were addressed
re-pleading. However, the Court is mindful that the parties              and decided herein, but may argue points that were not
are presently briefing a motion to dismiss in a related action           previously raised, that the Court treated as unmoved on,
involving nine (9) additional Plaintiff fact sets and seven              or that the Court declined to address in this Opinion.
(7) additional states. (See ECF Nos. 64, 69.) The Court is
also mindful that GAF will no doubt move to dismiss the                *37 • GAF does not need to address in its motion whether
Amended OAC. Therefore, given the number of causes of                   claims should be dismissed with or without prejudice.
actions involved under numerous state laws and in the interest          After decision on a new motion to dismiss, if any
of judicial efficiency and party fairness, the Court provides           claims are dismissed for insufficiency of the pleadings,
the following guidelines for future motion to dismiss briefing:         Plaintiffs will be required to move to amend the second
                                                                        OAC to explain why a third OAC should be permitted.
  • Page limits will be set as they were for briefing of the            That separate motion will be subject to the standard
     present motion: 55 pages for moving and opposition                 briefing rules of this Court unless otherwise ordered by
     briefs and 20 for GAF's reply.                                     the Court.
  • Sur-replies will be disregarded unless prior permission of        • GAF should conform its present briefing in the related
     the Court has been granted.                                        matter to this Opinion, and will be given an opportunity
                                                                        to re-serve its brief as ordered by Magistrate Judge
  • All citations that do not contain argument may be included
                                                                        Dickson.
     in endnotes that will not count towards the page limit.
     Parenthetical descriptions of the cases are acceptable
                                                                    The Court also notes that failure to dismiss certain causes of
     for purposes of this guideline; textual arguments are not
                                                                    action at this time is not an indication that a particular cause of
     and must be included in the body of the brief. Because
                                                                    action was properly pled. In most, if not all, cases, the causes
     citations included as end notes will be exempt from the
                                                                    of action that have survived were ones that GAF did not move
     page limit, the parties are limited to no more than two
                                                                    on or that this Court treated as unmoved on. Plaintiffs are on
     (2) case citations as end notes per point. For example, all
                                                                    notice that they will not automatically get another opportunity
     of the citations in GAF's footnote 26 in its motion would
                                                                    at redo for these causes of action if they are dismissed upon
     be acceptable as an exempt end note. But GAF could
                                                                    a new motion to dismiss based on the amended OAC. The



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                                                                   this Opinion, sets forth the rulings with regard to the specific
Court has gone to great lengths to address the parties' pleading
                                                                   causes of action. Plaintiffs are granted leave to file a second
disputes; simple failure to respond to this Court's holdings
                                                                   OAC, which cures the pleading deficiencies discussed herein,
(including applying this Court's holdings to analysis of other
                                                                   in accordance with the schedule to be set by Magistrate Judge
causes of action) will not be sufficient to avoid dismissal with
                                                                   Dickson. An appropriate Order accompanies this Opinion.
prejudice.


                                                                   All Citations
VII. CONCLUSION
For the reasons set forth above, GAF's motion to dismiss           Not Reported in Fed. Supp., 2015 WL 6467730, 87 UCC
is granted in part and denied in part. Exhibit 2, attached to      Rep.Serv.2d 1212




                                                           Footnotes


1      That there are some cut and paste allegations in the OAC where there are twenty-five (25) Plaintiff fact sets
       is not itself noteworthy. However, when the cut and paste allegations, which provide only the most basic
       information, comprise most, if not all, of the individual allegations, it is noteworthy. The Court recognizes that
       there may exist causes of action where individual detail is not necessary. That is not the case for many of
       the causes of action asserted by Plaintiffs, as discussed throughout this Opinion.
2      Plaintiffs Montante and the Benders have since been voluntarily dismissed from the case. (See ECF Nos.
       51, 58 (respectively).)
3      The Court uses the term “claim” to refer to Plaintiffs' “Counts,” such as “Negligence,” as identified in the OAC.
       It uses the term “cause of action” to refer to the specific legal cause of action being brought–for example, a
       negligence claim under Michigan law on behalf of one or more plaintiffs.
4      The claims for which Plaintiffs are unopposed to dismissal are: Count 1 (Negligence–Stidham and Mapp);
       Count 2 (Indiana Consumer Protection Statute–McGovern); Count 3 (New Jersey Consumer Fraud Act–All
       Plaintiffs); Count 12 (Ohio Consumer Sales Practices Act–Burger); Count 21 (Breach of Implied Warranties–
       Williams, Denton, Sheridan, Ross, Khanna, Giovannetti, Wolcott); Count 23 (Fraudulent Misrepresentation–
       Stidham); Count 25 (Magnuson–Moss Warranty Act–Williams, Denton, Sheridan, Ross, Khanna, Giovannetti,
       Wolcott, only to the extent that these causes of action arise from their breach of implied warranty causes of
       action); Count 26 (Strict Products Liability–Stidham, Denton, Sheridan, Claxton, McGovern, Narducci, Mapp,
       Giovannetti, Shepherd, Burger, Wolcott); Count 27 (Unjust Enrichment–Claxton, McGovern, Narducci). (See
       ECF No. 61–1 at 1, 3–7 (Pls.' Checklist).) These claims, therefore, are dismissed with prejudice.
5      Exhibit 1, attached to this Opinion identifies the causes of action in the OAC that were either conceded by
       Plaintiffs or have been voluntarily dismissed. Exhibit 1 follows the OAC; the parties' checklists do not in all
       respects.
6      The Court finds that GAF has failed to move on specific causes of action in three ways: (1) the cause of
       action is not included on the checklist or argued anywhere in the brief (see, e.g., ECF No. 60–2 (GAF's
       Checklist of Args. (“GAF's Checklist”)) (Negligence for Montana)), (2) GAF “moves” simply by claiming “all
       plaintiffs” fail “to plead with particularity” without citing to the relevant state law elements and explaining how
       any element has not been met (see, e.g., id. (“All Causes of Action,” Negligent Misrepresentation, Fraudulent
       Misrepresentation)), or (3) GAF does not provide any law or analysis related to a specific state cause of
       action (see, e.g., infra Section V.B.6).
7      Plaintiffs do not oppose dismissal of Plaintiff Shepherd's strict liability cause of action. (See ECF 61–1 at 7
       (Pls.' Checklist).)
8
       The only Illinois case cited by Plaintiffs, Beaudette by Beaudette v. Illinois Indus. Comm'n, 719 N.E.2d
       191, 192–93 (Ill.Ct.App.1999), did not address the statute at issue or address the discovery rule.



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9      GAF only moved that the North Carolina breach of implied warranty cause of action was time barred as pled.
       (See GAF Mot. at 33.)
10     In reply, GAF withdraws its argument at this time that Plaintiffs' Virginia Consumer Protection Act claim (Count
       7), California False Advertising Law claim (Count 16), and California Consumer Legal Remedies Act (Count
       17) are time-barred. (See GAF Reply at 6 n.4.)
11     In reply, GAF argues for the first time that many of these claims should be dismissed as time-barred as a
       matter of law. (See GAF Reply at 7–9.) GAF very clearly identified in its motion–in two separate places–
       the causes of action for which it was moving on as time-barred as a matter of law versus on the basis of a
       pleading failure due to insufficient allegations of fraudulent concealment. (See GAF Mot. at 35–36, 54 (“In
       addition, many of Plaintiffs' claims suffer from additional incurable deficiencies that warrant dismissal with
       prejudice .... the following claims are time-barred as a matter of law because the applicable states' laws do not
       recognize any tolling even if fraudulent concealment had been adequately pled: the Illinois claims for breach
       of implied warranties; Mr. Shepherd's tort (Counts 1, 22–24, 26), UDTPA (Count 10) and unjust enrichment
       (Count 27) claims in North Carolina; and the OCSPA (Count 12) claim in Ohio.”).) The Court will not address
       GAF's arguments, first made in reply, that additional causes of action should be dismissed as a matter of law.
12     Arguments that a claim is time-barred are addressed in Section V.A, and not re-addressed in this section.
13     The Indiana Supreme Court has held that “the language and structure of the Act do not require intent as an
       element of every deceptive act.”        McKinney v. State, 693 N.E.2d 65, 68 (Ind.1998).
14     Plaintiffs' citation does not indicate that the beginning of the sentence has been omitted.
15     The Court does not reach UDTPA arguments for North Carolina Plaintiff Shepherd as his UDTPA cause of
       action has been dismissed as time barred. See supra Section V.A.1.
16     Plaintiffs have not opposed dismissal of Count 12. (See ECF No. 61–1 at 3 (Pls.' Checklist).)
17     Plaintiffs do not provide case law for Virginia. GAF's Virginia case law also supports that more than
       an economic loss must be pled. See McConnell v. Servinsky Eng'g, PLLC, 22 F.Supp.3d 610, 614
       (W.D.Va.2014) (“This is an economic loss, which occurs when a product injures itself because one of its
       component parts is defective, and is a loss for which no action in tort will lie.”) (internal quotations omitted).
18     The Court does not reach the argument for these causes of action for North Carolina Plaintiff Shepherd as
       they have been dismissed as time barred. See supra Section V.A.1. Plaintiffs did not oppose dismissal for
       other causes of action. See supra n.4.
19     Plaintiffs do not provide any case cite analyzing Colorado law. (See Pls.' Opp'n at 3435 n.41.)
20     The Court does not reach this argument for North Carolina Plaintiff Shepherd as the cause of action has
       been dismissed as time barred. See supra Section V.A.1.
21
       See     Sundberg v. Keller Ladder, 2001 WL 1397290, at *5–6 (E.D.Mich. Nov. 8, 2001).
22     North Carolina Plaintiff Shepherd's negligent misrepresentation claim has been dismissed as time barred.
       See supra Section V.A.1. Therefore, the Court does not reach this argument for Plaintiff Shepherd.
23     GAF makes the same argument for Indiana. However, as this Court has found this cause of action to be
       barred by the Indiana PLA (see Section V.C.1), it does not reach this argument for Indiana.
24     “Virginia courts ... do not recognize negligent misrepresentation as a separate cause of action from that of
       constructive fraud.” Baker v. Elam, 883 F.Supp.2d 576, 581 (E.D.Va.2012).
25     The Court does not reach this argument for North Carolina Plaintiff Shepherd as his cause of action has been
       dismissed as time barred. See supra Section V.A.1.
26     GAF also makes this argument with respect to the Indiana Plaintiff. (See GAF Mot. at 45 n.30.) However, as
       this Court has dismissed the Indiana fraudulent concealment cause of action as barred by the Indiana PLA
       (see supra Section V.C.1), it does not reach this argument.
27     With respect to Virginia, GAF states: “Virginia requires that the alleged breach of an express warranty
       proximately caused the alleged damage.” (GAF Mot. at 42 n.25 (citing VA. CODE § 8.2–714.) GAF's motion
       provides no analysis of this provision–“Buyer's damages for breach in regard to accepted goods”–nor does




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       it cite to any case law addressing a basis of the bargain argument under Virginia law. The Court, therefore,
       does not treat GAF as moving to dismiss the Virginia breach of express warranty cause of action on this basis.
28     Robertie does not make any allegations related to representations, but also does not bring a claim for breach
       of express warranty. (See OAC ¶ 12, Count 20; ECF No. 60–2, (GAF's Checklist).)
29     Although Plaintiff McGovern does not identify when he is alleging that he discovered the defect, he does
       allege that “[b]y the summer of 2010”–four years prior to filing suit– he “noticed that the Decking had separated
       due to expansion of boards” and that the Decking “became stained with mold and mildew.” (OAC ¶ 17.)
30
       Although GAF cites cases analyzing New Jersey law for this statement (see, e.g., Green v. Green Mountain
       Coffee Roasters, Inc., 279 F.R.D. 275, 283 (D.N.J.2011)), it provides a footnote citation to cases analyzing
       the law of the relevant states. (See GAF Mot. at 4243 n.26.) Therefore, the Court will consider this argument.
       The Court does not reach this argument for Illinois Plaintiff Ernst as his breach of implied warranty cause of
       action has been dismissed as time barred. See supra Section V.A.1.
31     The Court does not reach this argument for Illinois Plaintiff Ernst as his breach of implied warranty cause of
       action has been dismissed as time barred. See supra Section V.A.1.
32     The Court does not reach this argument for Illinois Plaintiff Ernst as his breach of implied warranty cause of
       action has been dismissed as time barred. See supra Section V.A.1.
33
       Plaintiffs assert that Ohio has “relaxed” this rule. (See Pls.' Opp'n at 44 n.47 (citing    DiCenzo v. A–Best
       Prods., Inc., 897 N.E.2d 132, 141 (Ohio 2008).) However, the DiCenzo court actually stated that “in [various
       cases] the court gradually relaxed the long-held requirement of privity [by holding] that a breach-of-warranty
       claim could arise out of tort .... ”   897 N.E.2d at 141 (emphasis added). This is not inconsistent with the
       standard stated by the Ohio Supreme Court in Curl.
34     The Court does not reach this argument for North Carolina Plaintiff Shepherd as his unjust enrichment cause
       of action has been dismissed as time barred. See supra Section V.A.1.
35     Plaintiffs do not provide the full case name in the opposition, and the LEXIS citation provided is incorrect.
       The Court assumes that Plaintiffs are attempting to cite to     Kantor v. Hiko Energy, LLC, 2015 WL 1650049
       (2015 U.S. Dist. LEXIS 48653) (E.D.Pa. Apr. 14, 2015).


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                                                                 with the Complaint, the Plaintiff filed a motion seeking the
                                                                 immediate issuance of a temporary restraining order and a
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                                                                 preliminary injunction requiring the Defendant to recall and
   Only the Westlaw citation is currently available.
                                                                 take all necessary steps to recover, remove from interstate
  United States District Court, W.D. North Carolina,
                                                                 commerce, and cease the sale of all the Defendant's L-
                 Asheville Division.
                                                                 Cysteine product. [Doc. 3]. In support of its motion, the
     EXELA PHARMA SCIENCES, LLC, Plaintiff,                      Plaintiff relies upon the allegations of its Complaint, as
                     v.                                          verified by the Plaintiff's manager, Phanesh Koneru, 1 as well
           SANDOZ, INC., Defendant.                              as several exhibits.

           CIVIL CASE NO. 1:19-cv-00318-MR                       The Court held a hearing on the Plaintiff's request for
                          |                                      a temporary restraining order on November 7, 2019. On
                  Signed 09/15/2020                              November 12, 2019, the Court issued an Order denying the
                                                                 Plaintiff's request for a temporary restraining order, finding
Attorneys and Law Firms
                                                                 that the Plaintiff failed to show “its entitlement to such
Christina D. Brown-Marshall, Pro Hac Vice, Corrin Nicole         relief.” [Doc. 16 at 9]. Nevertheless, the Court held the
Drakulich, Pro Hac Vice, Fish & Richardson P.C., Atlanta,        Plaintiff's request for a preliminary injunction in abeyance
GA, David M. Wilkerson, Larry S. McDevitt, The Van Winkle        pending further presentation of evidence and briefing by the
Law Firm, Asheville, NC, for Plaintiff.                          parties. [Id. at 13].

Bridget A. Blinn-Spears, Nexsen Pruet, PLLC, Raleigh, NC,        On December 6, 2019, the Defendant filed a Response in
David J. Horowitz, Pro Hac Vice, Susan Cook, Pro Hac             Opposition to Plaintiff's Motion for Preliminary Injunction
Vice, Hogan Lovells, Washington, DC, Marguerite S. Willis,       [Doc. 31] and a Motion to Dismiss the Complaint or, in the
Nikole Setzler Mergo, Nexsen, Pruet, Jacobs & Pollard,           Alternative, Stay the Case Pending Referral to FDA [Doc.
LLC, Columbia, SC, Mark W. Bakker, Nexsen Pruet, LLC,            29]. On December 13, 2019, the Plaintiff filed a Reply in
Greenville, SC, William W. Wilkins, Pro Hac Vice, Nexsen         Support of Plaintiff's Motion for Preliminary Injunction [Doc.
Pruet, LLC, Greeneville, SC, for Defendant.                      33]. On December 23, 2019, the Plaintiff filed a Response in
                                                                 Opposition to Defendant's Motion to Dismiss. [Doc. 38].


    MEMORANDUM OF DECISION AND ORDER                             Having been fully briefed, this matter is ripe for disposition.

Martin Reidinger, Chief United States District Judge
                                                                 II. FACTUAL BACKGROUND
 *1 THIS MATTER comes before the Court upon the                  The Plaintiff's Verified Complaint presents the following
Plaintiff's Motion for Ex Parte Temporary Restraining Order      facts. 2
and Preliminary Injunction [Doc. 3], and the Defendant's
Motion to Dismiss the Complaint or, in the Alternative, Stay      *2 The Plaintiff is a North Carolina limited liability
the Case Pending Referral to FDA [Doc. 29].                      company with its principal place of business in Lenoir,
                                                                 North Carolina. 3 [Doc. 1 at ¶ 14]. The Plaintiff develops,
I. PROCEDURAL BACKGROUND                                         manufactures, and markets injectable pharmaceutical
On November 6, 2019, Exela Pharma Sciences, LLC, (the            products, including an L-Cysteine injection product that is
“Plaintiff”), initiated this action against Sandoz, Inc., (the   now approved by the FDA. [Id. at ¶¶ 14, 42-43].
“Defendant”), asserting claims for unfair and deceptive
                                                                 L-Cysteine is an amino acid that is administered by
trade practices in violation of    N.C. Gen. Stat. 75-1.1, et
                                                                 parenteral administration (i.e., injection or intravenous
seq. (“Chapter 75”); tortious interference with prospective
                                                                 infusion) to high-risk patients, such as preterm or low-weight
business advantage in violation of North Carolina common
                                                                 newborns and patients with severe liver disease, as part
law; and false advertising and unfair competition in violation
                                                                 of a nutritional supplement regimen (also known as “total
of the Lanham Act,     15 U.S.C. § 1125(a). [Doc. 1]. Along      parenteral nutrition” or “TPN”). [Id. at ¶ 26]. Aluminum


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is a known contaminant of TPN solutions, and aluminum             Beginning in 2017, the Plaintiff undertook extensive efforts
toxicity can cause serious health problems including dementia     to tackle the aluminum problem in TPN solutions and develop
and impaired neurologic development among others. [Id. at         an L-Cysteine product with low aluminum levels. [Doc.
¶ 27]. High-risk infants who receive TPN are particularly         1 at ¶ 31]. In May 2017, the Plaintiff filed a New Drug
susceptible to harm from excessive, toxic amounts of              Application (NDA) with the FDA for an L-Cysteine product
aluminum, as they have immature kidneys, which impairs            that contained a maximum of 1,400 mcg/L of aluminum.
the removal of aluminum from the body. [Id. at ¶ 28]. The         [Id.]. In July 2017, however, the FDA informed the Plaintiff
Defendant manufactures an L-Cysteine product in Canada            that this proposed level of aluminum was unacceptably high,
with a label stating that it contains as much as 5,000 mcg/L of   and that the product should have less than or equal to 145
aluminum. [Id. at ¶ 5]. The Defendant's L-Cysteine product is     mcg/L of aluminum in order to gain permanent approval.
not approved by the FDA. [Id. at ¶ 1].                            [Id. at ¶ 32]. The Plaintiff ultimately succeeded in reducing
                                                                  the aluminum levels in its L-Cysteine product to less than
Beginning in 2014, there was a shortage of L-Cysteine             120 mcg/L and submitted its new data to the FDA for its
in the United States. 4 [Docs. 1-15, 31-2 at 2]. This led         redeveloped product in July 2018. [Id. at ¶ 33]. On April 16,
the FDA to approach the Defendant about importing and             2019, the FDA approved the Plaintiff's NDA under Fast Track
selling its unapproved L-Cysteine product in the United States    designation and Priority Review. [Id.]. The Plaintiff branded
under the FDA's “shortage program” without requiring the          its L-Cysteine product ELCYS. [Id.].
drug to obtain FDA approval. [Id.; Doc. 1 at ¶¶ 6, 38].
Pursuant to the shortage program and the Defendant's request,     After ELCYS received FDA approval, the Plaintiff's
the FDA ultimately gave the Defendant a “Memorandum               marketing and sales teams began communicating with health
of Discretion” on April 12, 2016 [Doc. 31-2 at 38-39],            systems regarding its availability. [Id. at ¶ 34]. By late May
which stated that the FDA would not bring an enforcement          2019, the Plaintiff had manufactured sufficient inventory to
action against the Defendant for importing and selling its        meet the entire market demand for L-Cysteine. 6 [Id.].
L-Cysteine product for 6 months if the Defendant followed
certain conditions. [Id. at ¶ 40, 44; see also Doc. 31-2 at       In late May 2019, the Defendant's executives reached out
                          5
6, 13-16, 38-39, 41-59]. One such condition was that the          to the Plaintiff's executives to inquire whether the Plaintiff
Defendant had to distribute a “Dear Healthcare Provider”          would be willing to license its “recently approved products,”
letter alongside its L-Cysteine product that explained the        including ELCYS, to the Defendant. [Id. at ¶ 43]. The Plaintiff
product, the drug shortage, and the lack of other similar FDA-    declined the Defendant's offer. [Id.].
approved products. [Doc. 1 at ¶ 41; Doc. 1-17; Doc. 1-18; see
also Doc. 31-2 at 41-59]. The contents of the letters were pre-   After the FDA approved the Plaintiff's product, the Plaintiff
approved by the FDA and those letters had to be reviewed by       made numerous efforts to get the Defendant to stop
the FDA before distribution. [Doc. 31-2 at 41-50].                selling its unapproved product. Starting in May 2019, the
                                                                  Plaintiff repeatedly asked the FDA to remove L-Cysteine
 *3 The Defendant sought several extensions of the                hydrochloride injection from its drug shortage list and
Memorandum of Discretion and the FDA granted each                 prohibit any further importation and distribution of the
of the Defendant's requests, with each renewal providing          Defendant's unapproved product. [Doc. 1 at ¶ 49; Doc. 1-23].
the Defendant with six additional months to import and            Receiving no relief from the FDA, the Plaintiff sent letters to
distribute its unapproved product. [Doc. 1 at ¶ 40]. The          the CEO and Chairman of the Board of Defendant Sandoz's
FDA approved the last Dear Healthcare Provider letter on          parent company, Novartis, A.G., on August 20, 2019. [Doc.
June 21, 2019, instructing the Defendant to ensure that           1-24]. Copying the FDA on the letter, the Plaintiff told
the “previously reviewed Dear Healthcare Provider letter          Novartis about the allegedly improper and unethical conduct
continues to accompany [the Defendant's] L-Cysteine in            and asked that Novartis immediately stop importation and
distribution” in shipments thereafter. [Doc. 31-2 at 50]. Every   distribution of the L-Cysteine product. [Doc. 1 at ¶ 50; Doc.
version of the letter stated that “there are currently no FDA-    1-24].
approved L-Cysteine Hydrochloride Injection products in the
United States.” [Doc. 1 at ¶ 41; Doc. 1-18; see also Doc. 31-2    On September 3, 2019, the FDA declared an end to the L-
at 41-59].                                                        Cysteine drug shortage. [Id. at ¶ 50; Doc. 1-25]. Around the
                                                                  same time, the FDA asked the Defendant to stop importing



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its L-Cysteine product. [Doc. 1-21]. The Defendant's stopped
                                                                     made pursuant to Rule 12(b)(6).”          Walters v. McMahen,
importing its L-Cysteine product in response to the FDA's
                                                                     684 F.3d 435, 439 (4th Cir. 2012).
request. [Doc. 1 at ¶ 45]. On September 25, 2019, the Plaintiff
sent a letter to its customers stating that although “there is now
                                                                     Determining whether a complaint states a plausible claim for
an FDA approved L-Cysteine available in the US market[,]”
the “FDA is allowing Sandoz to continue distributing its             relief is “a context-specific task,”     Francis v. Giacomelli,
existing inventory ....” [Doc. 1-21 at 2].                           588 F.3d 186, 193 (4th Cir. 2009), which requires the Court
                                                                     to assess whether the factual allegations of the complaint are
 *4 On September 24, 2019, the Defendant responded to the            sufficient “to raise the right to relief above the speculative
Plaintiff's August 20 letter, acknowledging that the Plaintiff's     level,”   Twombly, 550 U.S. at 555, 127 S.Ct. 1955. As the
ELCYS product had been approved by the FDA and that                  Fourth Circuit has explained:
“the drug shortage has abated.” [Doc. 1 at ¶ 51; Doc. 1-15].
The Defendant nevertheless confirmed that it had the FDA's
permission to sell the product that it had already imported
                                                                                  To satisfy this standard, a plaintiff
and expressed its intention to do so. [Id.]. The Plaintiff's
                                                                                  need not forecast evidence sufficient
marketing team claims to have observed customers buying or
                                                                                  to prove the elements of the claim.
committing to buy up to a year's supply of the Defendant's
                                                                                  However, the complaint must allege
product even after ELCYS received FDA approval. [Doc. 1
                                                                                  sufficient facts to establish those
at ¶ 53].
                                                                                  elements. Thus, while a plaintiff does
                                                                                  not need to demonstrate in a complaint
On October 8, 2019, the FDA directed the Defendant to
                                                                                  that the right to relief is probable, the
stop distribution distributing its L-Cysteine product. [Doc.
                                                                                  complaint must advance the plaintiff's
1-20]. The Defendant immediately complied with the FDA's
                                                                                  claim across the line from conceivable
request. [Doc. 1 at ¶ 45; Doc. 1-20]. Despite being the only
                                                                                  to plausible.
FDA-approved L-Cysteine product on the market and having
low aluminum levels, the Plaintiff's ELCYS has attained less
than 20% of the L-Cysteine market while the Defendant
“maintain[s] over” 80%. 7 [Id. at ¶¶ 35, 58].                          Walters, 684 F.3d at 439 (citations and internal quotation
                                                                     marks omitted).

III. STANDARD OF REVIEW
To survive a motion to dismiss pursuant to Rule 12(b)(6), “a         IV. DISCUSSION
complaint must contain sufficient factual matter, accepted as        In its Motion to Dismiss the Complaint or, in the Alternative,
true, to ‘state a claim to relief that is plausible on its face.’    Stay the Case Pending Referral to FDA, the Defendant argues
                                                                     that the Plaintiff's Chapter 75 and tortious interference with
”    Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937,
                                                                     prospective business advantage claims are preempted by the
173 L.Ed.2d 868 (2009) (quoting      Bell Atlantic Corp. v.          Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. § 301 et
Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d              seq., and that the Plaintiff's Lanham Act claim fails because it
929 (2007)). To be “plausible on its face,” a plaintiff must         is inconsistent with the FDCA. [Doc. 29-1]. Specifically, the
demonstrate more than “a sheer possibility that a defendant          Defendant argues that the FDCA does not contain a private
                                                                     right of action to enforce its provisions and that the Plaintiff's
has acted unlawfully.”       Iqbal, 556 U.S. at 678, 129 S.Ct.
                                                                     state-law claims interfere with the federal regulatory regime
1937.
                                                                     because they are allegedly predicated on unenforced FDCA
                                                                     violations. [Id.]. The Defendant, therefore, argues that the
In reviewing the complaint, the Court must accept the
                                                                     Plaintiff's Complaint, as a matter of law, fails to state a claim
truthfulness of all factual allegations but is not required to
                                                                     upon which relief can be granted. The Plaintiff responds
assume the truth of “bare legal conclusions.”        Aziz v.         that the Complaint contains sufficient facts to support the
Alcolac, Inc., 658 F.3d 388, 391 (4th Cir. 2011). “The mere          Chapter 75, tortious interference with prospective business
recital of elements of a cause of action, supported only by
conclusory statements, is not sufficient to survive a motion


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advantage, and Lanham Act claims and that those claims are
                                                                  U.S.C. §§ 332– 34 (1982). The FDCA gives the FDA
not preempted by or inconsistent with the FDCA. [Doc. 38].
                                                                  “complete discretion” to “decide how and when [it] should be
                                                                  exercised.”     Heckler v. Chaney, 470 U.S. at 835, 105 S.Ct.
   A. State Law Claims                                            1649. The FDCA provides that “all such proceedings for the
 *5 The Supremacy Clause of the Constitution makes evident        enforcement, or to restrain violations, of [the FDCA] shall
that “state laws that conflict with federal law are ‘without      be by and in the name of the United States.” As such, “[t]he
effect.’ ”    Altria Grp., Inc. v. Good, 555 U.S. 70, 76,         FDCA leaves no doubt that it is the Federal Government
129 S.Ct. 538, 172 L.Ed.2d 398 (2008) (citation omitted).         rather than private litigants who are authorized to file suit for
There are three types of preemption under the Supremacy           noncompliance ....”      Buckman, 531 U.S. at 349 n. 4, 121
Clause: (1) express preemption, (2) field preemption, and (3)     S.Ct. 1012.
conflict preemption.    Id. at 76–77, 129 S.Ct. 538. Conflict
preemption, the only type of preemption relevant here, exists     The FDCA's prohibition on private actions, however, would
where “there is an actual conflict between state and federal      be “thwarted if savvy plaintiffs can label as arising under
                                                                  a state law for which there exists a private enforcement
law,”    id., and the “ ‘state law stands as an obstacle          mechanism a claim that in substance seeks to enforce the
to the accomplishment and execution of the full purposes
                                                                  FDCA.”       Loreto v. Procter & Gamble Co., 515 F. App'x
and objectives of Congress.’ ”     Hillsborough Cnty., Fla.       576, 579 (6th Cir. 2013). As such, “private litigants may not
v. Automated Med. Labs., Inc., 471 U.S. 707, 713, 105             bring a state-law claim against a defendant when the state-
S.Ct. 2371, 85 L.Ed.2d 714 (1985) (citations and quotations       law claim is in substance (even if not in form) a claim for
omitted). For example, the Supreme Court has held that a
state-law claim contrary to the FDCA is barred by conflict        violating the FDCA.”       Id. (citations and internal quotation
preemption because “the federal statutory scheme ... used by      marks omitted); see also       American Home Products Corp.
the [FDA] to achieve a somewhat delicate balance of statutory     v. Johnson & Johnson, 436 F. Supp. 785, 797 (S.D.N.Y. 1977)
objectives” would be “skewed by allowing” a plaintiff to          (noting that “state unfair competition laws [are] not the proper
bring state-law claims.     Buckman Co. v. Plaintiffs’ Legal      legal vehicle in which to vindicate the public's interest in
Comm., 531 U.S. 341, 348, 121 S.Ct. 1012, 148 L.Ed.2d             health and safety.”). Likewise, “[t]here can be no state law
854 (2001). In evaluating whether federal law has preempted       cause of action if a plaintiff's true goal is to privately enforce
state law, the Court must look to “the purpose of Congress        alleged violations of the FDCA.” Borchenko v. L'Oreal USA,
[as] the ultimate touchstone,” while also “start[ing] with the    Inc., 389 F.Supp.3d 769, 773 (C.D. Cal. 2019) (citation and
assumption that the historic police powers of the States were     quotations omitted).
not to be superseded ... unless that was the clear and manifest
                                                                  “The test for determining whether a state law claim is
purpose of Congress.” Wyeth v. Levine, 555 U.S. 555, 565,         impliedly preempted is whether or not the claim would exist
129 S.Ct. 1187, 173 L.Ed.2d 51 (2009).                            in the absence of the FDCA.” Evans v. Rich, No. 5:13-
                                                                  CV-868-BO, 2014 WL 2535221, at *2 (E.D.N.C. June 5,
The FDCA charges the FDA with “promot[ing] the public
health by promptly and efficiently reviewing clinical research    2014) (citing     Loreto, 515 Fed. App'x at 579). “ ‘As the
and taking appropriate action on the marketing of regulated       Sixth Circuit has explained, any claim that relies on the FDCA
                                                                  or its implementing regulations ‘[a]s a critical element’ is
products in a timely manner.”    21 U.S.C. § 393(b)(1). In        barred by § 337(a).’ ” Agee v. Alphatec Spine, Inc., No.
the FDCA, Congress required the FDA to “protect the public        1:15-CV-750, 2017 WL 5706002, at *3 (S.D. Ohio Mar. 27,
health” by making sure that “drugs are safe and effective.”
                                                                  2017) (quoting      Marsh v. Genentech, Inc., 693 F.3d 546,
   Id. § 393(b)(2)(B). The FDCA also empowers the FDA to
combat drug shortages, See, e.g., id. at §§ 356c-1(a)(5), 356d,   553 (6th Cir. 2012)); see also   In re Darvocet, Darvon, &
356(e)(4).                                                        Propoxyphene Prods. Liab. Litig., 756 F.3d 917, 936 (6th
                                                                  Cir. 2014) (“claims” premised on “a violation of the FDCA”
If a drug is marketed without prior FDA approval, the FDA         are impliedly preempted “because the FDA has the exclusive
may bring an enforcement action under the FDCA. See 21            power to enforce the FDCA” and there is “no private right to



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enforce the statute”). For example, “a state-law claim that the   to import an illegal product, [id. at ¶¶ 40, 69]; (3) failing
defendant made misrepresentations to the FDA is preempted         to update its 2018 Dear Healthcare Provider letter after the
because such a claim would not exist absent the federal           FDA approved ELCYS, [id. at ¶ 69]; (4) failing to warn its
                                                                  customers about its product's aluminum content, [id.]; and
regulatory scheme established by the FDCA.”   Riley v.
                                                                  (5) misusing “its incumbent status in the market and its huge
Cordis Corp., 625 F. Supp. 2d 769, 777 (D. Minn. 2009)
                                                                  market power and reach to block hospitals and distributors
(citing    Buckman, 531 U.S. at 352-53, 121 S.Ct. 1012).          from switching” to the Plaintiff's L-Cysteine product. [Id.].
Similarly, courts have found implied preemption applies to
claims like “breach of warranty, negligence per se, design
defect, and failure to warn.” Evans, 2014 WL 2535221, at *2
                                                                         a. Importing and Selling an Illegal Product
(citing    in re Medtronic, Inc. Sprint Fidelis Leads Products
Liab. Litig., 592 F.Supp.2d 1147, 1159–64 (D. Minn. 2009)).       The Plaintiff claims that the Defendant violated Chapter
                                                                  75 by importing and selling its L-Cysteine product because
 *6 With this preemption framework in mind, the Court now         such conduct is the type of “ ‘immoral, unethical, [and]
turns to each of the Plaintiff's state law claims.                unscrupulous behavior’ ” that Chapter 75 “deems as ‘unfair.’
                                                                  ” [Doc. 1 at ¶ 68 (quoting State ex rel. Cooper v. NCCS
                                                                  Loans, Inc., 174 N.C. App. 630, 640 (2005))]. The crux of the
                                                                  Plaintiff's Chapter 75 claim is that the Defendant's L-Cysteine
                    1. Chapter 75 Claim
                                                                  product was unlawful, dangerous, and unfit for importation
A Chapter 75 claim requires (1) an unfair or deceptive act or     or sale, and that the FDA acted unlawfully by letting the
practice; (2) in or affecting commerce; which (3) proximately     Defendant import and sell that product. 8 Stated differently,
                                                                  the Plaintiff's state-law claim challenges the FDA's decision
caused actual injury to the claimant or its business.     N.C.
                                                                  not to bring enforcement proceedings against the Defendant
Gen. Stat. § 75-1.1. An act is deceptive “if it has a tendency
                                                                  under the FDCA for importing and selling an unapproved and
or capacity to deceive.” Rahamankhan Tobacco Enterprises
                                                                  unsafe drug.
Pvt. Ltd. v. Evans MacTavish Agricraft, Inc., 989 F.Supp.2d
471, 477 (E.D.N.C. 2013). An act is unfair “if it offends
                                                                   *7 The Plaintiff's Chapter 75 claim related to the Defendant's
established public policy,” “is immoral, unethical, oppressive,
                                                                  sale and importation of the L-Cysteine product is preempted.
unscrupulous, or substantially injurious to consumers,” or
                                                                  The FDCA contains no private right of action and gives
“amounts to an inequitable assertion of ... power or position.”
                                                                  the FDA “complete discretion” to decide whether to bring
Id. A deceptive practice is one that has “the capacity or
tendency to deceive the average consumer, but proof of actual     enforcement proceedings.    Heckler, 470 U.S. at 835, 105
                                                                  S.Ct. 1649. As such, the “FDA has power to determine
deception is not required.” Spartan Leasing, Inc. v. Pollard,
                                                                  whether particular drugs require an approved NDA [New
101 N.C. App. 450, 461, 400 S.E.2d 476, 482 (1991). “What
                                                                  Drug Application] in order to be sold to the public.”
is an unfair or deceptive trade practice usually depends upon
the facts of each case and the impact the practice has in the        Weinberger v. Hynson, Westcott & Dunning, Inc., 412
marketplace.” Durling v. King, 146 N.C. App. 483, 489, 554        U.S. 609, 624, 93 S.Ct. 2469, 37 L.Ed.2d 207 (1973). The
                                                                  Plaintiff does “not have the authority to stand in the shoes
S.E.2d 1, 4 (2001) (citing    Pan American World Airways,
                                                                  of the FDA to determine whether [the defendant's] sale of
Inc. v. United States, 371 U.S. 296, 83 S.Ct. 476, 9 L.Ed.2d
                                                                  the products at issue amounts to the sale of an unapproved
325 (1963)).
                                                                  drug under the FDCA. This enforcement authority [lies]
The Plaintiff generally claims that the Defendant violated        exclusively with the FDA.”           Allergan, Inc. v. Athena
Chapter 75 through its “unfair and deceptive actions to           Cosmetics, Inc., 738 F.3d 1350, 1359 (Fed. Cir. 2013); see
import, sell, and stuff the distribution channels with its        also Agee, 2017 WL 5706002, at *5 (stating that if “the
unapproved product.” [Doc. 1 at ¶ 1]. Specifically, the           distribution of [the product] was in violation of the FDCA
Plaintiff alleges that the Defendant acted unlawfully by (1)      and relevant FDA regulations ... it is the sole responsibility
importing and selling an illegal product, [id. at ¶¶ 6, 8, 36,    and privilege of the federal government, and not private
37, 66, 67, 69, 77, 79]; (2) seeking a “Memorandum of             plaintiffs, to bring a suit to enforce those violations.”). The
Discretion,” and numerous extensions of that Memorandum,          crux of the Plaintiff's Chapter 75 claim is a challenge to


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whether the importation and sale of the Defendant's L-             claims would disrupt the delicate and considered balance
Cysteine product are lawful under the FDCA. As such, the           that the FDA struck. In short, the FDA was charged with
Plaintiff is preempted from making that claim.                     addressing a shortage of a critical medical product. The FDA
                                                                   made its determination of the best solution of the problem. For
The Plaintiff's claim related to the Defendant's importation       the Plaintiff to now second guess the FDA's decision in a civil
and sale of its L-Cysteine product is also preempted because       action based on state law would render the FDA's authority
it would stand “as an obstacle to the accomplishment and           to be a nullity.
execution of the full purposes and objectives of Congress.”
                                                                    *8 The Plaintiff's claim related to the Defendant's
    Hillsborough Cnty., 471 U.S. at 713, 105 S.Ct. 2371
                                                                   importation and sale of its L-Cysteine product presents a
(citations omitted). The FDCA empowers the FDA to combat
                                                                   similar issue to the one addressed in        Drager v. PLIVA
drug shortages, see, e.g.,   21 U.S.C. §§ 356c-1(a)(5), 356d,
                                                                   USA, Inc., 741 F.3d 470, 479 (4th Cir. 2014). In     Drager, a
   356(e)(4), while also ensuring “that any product regulated
                                                                   consumer injured by a drug brought state-law claims alleging
by the FDA is ‘safe’ and ‘effective’ for its intended use.”
                                                                   that the manufacturer's label that was approved by the FDA
   FDA v. Brown & Williamson Tobacco Corp., 529 U.S.               was inadequate. The Fourth Circuit held that the state-law
120, 133, 120 S.Ct. 1291, 146 L.Ed.2d 121 (2000) (citing           claims were preempted by federal law because they would
   21 U.S.C. § 393(b)(2)). As such, the FDA “must evaluate         force the manufacturer to either “leave the market or accept
the risks associated” with a drug shortage when deciding to        tort liability” despite the manufacturer's compliance with the
bring an enforcement action under the FDCA. 21 U.S.C. §            FDA's edicts.      Id. The Fourth Circuit explained that the
356d(c). Allowing a state-law claim challenging the FDA's          Hobson's choice presented in such a situation illustrates how
discretionary refusal to bring an enforcement action under         allowing a state-law claim can subvert the federal regulatory
the FDCA against the Defendant would therefore thwart the          scheme, thus requiring the preemption of such state claims.
FDA's purpose.     Hillsborough Cnty., 471 U.S. at 713, 105           Id.
S.Ct. 2371 (citations omitted). Other courts have rejected
similar claims. See     Loreto, 515 F. App'x at 579 (stating       The logic of       Drager is applicable to this case. Here,
that “[a] plaintiff cannot use a state-claim to argue that a       the FDA issued a Memorandum of Discretion, and several
defendant's product was “ ‘illegal,’ and had [consumers]           renewals of that Memorandum, allowing the Defendant
known it, they wouldn't have purchased the products” because       temporary permission to import and sell its L-Cysteine
that “theory of liability depends entirely upon an FDCA            product. [Doc. 1 at ¶¶ 40, 44]. Notwithstanding the
violation.”).                                                      Defendant's permission from the FDA, a viable Chapter 75
                                                                   claim related to the import and sale of the L-Cysteine product
Allowing a Chapter 75 claim based on the safety of the             would have nonetheless forced the Defendant “to leave the
Defendant's L-Cysteine product would also skew “the federal
                                                                   market or accept tort liability.”     Id. This is precisely the
statutory scheme ... used by the [FDA] to achieve a somewhat
                                                                   type of claim that the Fourth Circuit held in      Drager must
delicate balance of statutory objectives.”       Buckman, 531
                                                                   be preempted.
U.S. at 348, 121 S.Ct. 1012. Here, the record shows that
the FDA engaged in a prolonged effort to balance those
objectives, as well as the various interests, before deciding to   This case, just like      Drager, is unlike the failure-to-warn
let the Defendant to distribute its L-Cysteine product. That       cases that the Plaintiff cites. [See Doc. 38 at 11]. For example,
decision necessarily involved balancing the risks inherent
                                                                   in     Wyeth v. Levine, the Supreme Court explained that a
in a drug shortage with the safety risks of allowing the
                                                                   state-law claim was not preempted by the FDCA's labeling
importation and sale of an unapproved product. After ELCYS
                                                                   requirements because those “requirements create a floor, not
received FDA approval, the FDA still had to account for
the risk that ELCYS might not be able to meet the entire           a ceiling, for state regulation.” 555 U.S. 555, 563, 129
market demand for L-Cysteine, the risk of supply chain issues      S.Ct. 1187, 173 L.Ed.2d 51 (2009). As such, the Court in
during the transition from the Defendant's L-Cysteine product         Wyeth found that the state-law claim did not “stand as
to ELCYS, and other associated risks. 9 Allowing state-law         an obstacle to the accomplishment of Congress’ purposes in


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the FDCA” because the defendant could have remained in               312 U.S. 52, 67, 61 S.Ct. 399, 85 L.Ed. 581 (1941)).
the market by adding additional warnings that would comply           Like the plaintiff in Zogenix, the Plaintiff herein seeks to
                                                                     overturn the FDA's decision to allow the importation and
with both the state-law and federal-law requirements.    Id.
                                                                     sale of a product. While the Plaintiff argues that Zogenix is
at 581, 129 S.Ct. 1187. That is not the case here, where
                                                                     distinguishable because that case involved an FDA-approved
the Plaintiff asserts that the only way to comply with state
                                                                     drug, rather than drug allowed to be imported and sold under
law would have been for the Defendant to leave the market,
                                                                     a Memorandum of Discretion, [Doc. 38 at 12], that distinction
notwithstanding the Defendant's compliance with the FDA's
                                                                     matters little for preemption purposes. The outcome of the
directives.   Drager, 741 F.3d at 479. Likewise,        Wyeth        FDA's decision in both instances, whether made through
was a claim by an injured patient against a drug company             its approval process or through an exercise of discretion to
related to a purportedly deficient label, not a claim by a           address a shortage, was to allow the drug to be imported and
competitor seeking to prevent the distribution of a purportedly      sold. The Plaintiff cannot use a state-law claim to contravene
unsafe drug. That distinction is important because removing          the FDA's decision and remove that drug from the market
a product that the FDA expressly allowed in the market to            because that would interfere with the federal objective of
address a drug shortage interferes with federal objectives           allowing that drug to remain available. See id. at *2-3. This
in a way that changing a product's label does not. See               is particularly true in a case such as this one where the FDA
Zogenix, Inc. v. Patrick, No. CIV.A. 14-11689-RWZ, 2014              was trying to address a crucial shortage.
WL 1454696, at *2 (D. Mass. Apr. 15, 2014) (stating that
“ Wyeth is a drug labeling case, and defendant present no            The Plaintiff next argues that the FDA's Memorandum of
evidence of persuasive argument that its reasoning should            Discretion allowing the Defendant to import and sell its L-
control” when determining whether a state law can contravene         Cysteine product was illegitimate because the FDA's entire
the FDA's decision to allow the sale of a drug.).                    shortage program was declared illegal by the D.C. Circuit
                                                                     in     Cook v. FDA, 733 F.3d 1 (D.C. Cir. 2013). [Doc.
The Plaintiff also relies on Allergan, [Doc. 38 at 12], where        1 at ¶ 39]. The claim in     Cook was brought under the
the Federal Circuit found that a state-law claim based on            Administrative Procedures Act against the FDA regarding the
the marketing, sale, and distribution or an unapproved drug          importation of sodium thiopental from unregistered foreign
was not preempted by the FDCA.         Id. In that decision,         laboratories for use in lethal injections.       733 F.3d at 10.
however, the Federal Circuit focused on the fact that the
                                                                        Cook held that the FDA is required to examine samples
state-law requirements paralleled the FDCA requirements,
                                                                     of imported drugs manufactured in unregistered facilities to
in a situation where the FDA had not given the defendant
explicit permission to market, sell, or distribute the drug          determine if those drugs violate FDCA requirements.             Id.
                                                                     at 9 (“We do not say the FDA must sample and examine
at issue.    Allergan, 738 F.3d at 1355. That case has no
                                                                     every article under its jurisdiction that is offered for import but
application here, because the FDA gave explicit permission
                                                                     only that it must sample and examine drugs manufactured ...
to the Defendant to distribute its product. The Plaintiff's state-
law claim would entirely undercut the FDA's decision and             in an unregistered establishment.”). 10    Cook specifically
authority.                                                           allowed the FDA to “exercise enforcement discretion to allow
                                                                     the domestic distribution of a misbranded or unapproved new
 *9 Instead, Zogenix, Inc. v. Patrick, No. CIV.A. 14-11689-          drug” and “invoke its express statutory authority to permit
RWZ, 2014 WL 1454696, at *2 (D. Mass. Apr. 15, 2014) is
                                                                     the importation of an unapproved new drug.”             Id. at 10.
more instructive. In that case, Massachusetts’ ban on the sale
of an FDA-approved drug was preempted because allowing               Contrary to the Plaintiff's argument,      Cook did not go as far
the state to “countermand the FDA's determinations and               as to hold that the FDA's shortage program is illegal.          Id.
substitute its own requirements [would] undermine the FDA's          at 10.
ability to make drugs available to promote and protect the
public health.” Id. As such, the state-tort claim would interfere
with “ ‘the accomplishment and execution of’ an important               Cook is simply inapposite here. Unlike         Cook, the
                                                                     Plaintiff did not bring this action against the FDA seeking
federal objective.” Id. (quoting         Hines v. Davidowitz,        judicial review of agency action (or inaction) under the



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Administrative Procedures Act. The FDA is not even a party          Moreover, the Plaintiff has failed to plausibly allege that the
to this case. Instead, this case presents a dispute between         Defendant's requests for the Memorandum of Discretion or
two drug manufacturers. Moreover, the Plaintiff cites no            the subsequent renewals of that Memorandum involved any
authority for the proposition that the FDA's refusal to bring       unfairness or deception. The FDA was fully aware of the
enforcement proceedings would even be reviewable under              development of ELCYS, its approval status and production
                                                                    status, the differences in the aluminum content between the
the circumstances found here as it was in            Cook. See
                                                                    ELCYS and the Defendant's L-Cysteine product, as well
    Heckler v. Chaney, 470 U.S. 821, 832-33, 105 S.Ct. 1649,        as the state of the L-Cysteine market when it renewed
84 L.Ed.2d 714 (1985) (stating that “an agency's decision           the Memorandum of Discretion in June 2019. Despite that
not to take enforcement action should be presumed immune            knowledge, the FDA rebuffed the Plaintiff's requests to end
from judicial review” unless the “substantive statute has           the drug shortage until September 3, 2019, waited until
provided guidelines for the agency to follow in exercising          that time to halt importation of the Defendant's L-Cysteine
its enforcement powers.”). While the presumption against            product, and waited until October 8, 2019 to halt sales of that
judicial review did not apply in  Cook because the FDCA             product. [Docs. 1-23, 1-20, 1-21].
“provided guidelines for the agency to follow in exercising
its enforcement powers” concerning unregistered foreign             Though the FDA is not a party to this case, it has issued
                                                                    guidance explaining that it generally weans unapproved
facilities,  Cook, 733 F.3d at 6, the Plaintiff identifies no       products off the market once a competing product has
such guidelines that apply to the registered facility at issue      been approved. See FDA, Marketed Unapproved Drugs –
here. As such, the FDA's enforcement decisions concerning           Compliance Policy Guide: Sec. 440.100, Marketed New
registered laboratories appear to be immune from judicial           Drugs without Approved NDAs or ANDAs (Sep. 2011)
review because the FDCA's enforcement provisions commit             at 7-8 (“When a company obtains approval to market a
“complete discretion to the FDA to decide how and when they         product that other companies are marketing without approval,
should be exercised.”      Heckler, 470 U.S. at 835, 105 S.Ct.      FDA normally intends to allow a grace period of roughly
1649.                                                               1 year from the date of approval of the product before it
                                                                    will initiate enforcement action (e.g., seizure or injunction)
 *10 For all these reasons, the Plaintiff's Chapter 75 claim        against marketed unapproved products of the same type.” “To
based on the Defendant's sale or importation of its L-Cysteine      assist in an orderly transition to the approved product(s), in
product must be dismissed as preempted.                             implementing a grace period, FDA may identify interim dates
                                                                    by which firms should first cease manufacturing unapproved
                                                                    forms of the drug product, and later cease distributing the
                                                                    unapproved product.”). That guidance explains the FDA's
         b. Seeking a Memorandum of Discretion
                                                                    actions here. In fact, rather than allowing the Defendant
The Plaintiff next claims that the Defendant violated Chapter       a one-year grace period per its regulations, it gave the
75 by seeking a renewal of the Memorandum of Discretion in          Defendant only six months (April to October 2019) to
June 2019 after ELCYS received FDA approval to continue             continue importing and selling its L-Cysteine product before
selling its L-Cysteine product. [Doc. 1 at ¶¶ 40, 69]. In this      halting importation of the product and then halting sales of
sense, however, the Plaintiff's true quarrel is with the FDA        the product. 11
granting the Defendant's June 2019 request for a renewal
of the Memorandum of Discretion, not with the Defendant's            *11 The Plaintiff does not allege that the FDA's guidance-
seeking the renewal. The FDA did not declare the end of             based decisions were a result of any false or misleading
the drug shortage until September 3, 2019. [Id. at ¶ 50; Doc.       actions on the part of the Defendant. The Plaintiff only
1-25]. It was not unfair or deceptive for the Defendant to ask if   alleges that the Defendant committed an unfair or deceptive
it could continue importing and selling its L-Cysteine product      act by merely seeking renewal. That is insufficient to
while the drug shortage continued. That is particularly true        support a Chapter 75 claim. For these reasons, the Plaintiff's
considering that it was this drug shortage that originally led      Chapter 75 claim based on the Defendant seeking a renewed
the FDA to ask the Defendant to import and sell its L-Cysteine      Memorandum of Discretion in June 2019 is without merit,
product. [Doc. 1-15].                                               and that claim must be dismissed.




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                                                                   Defendant distributed the Dear Healthcare Provider letters at
                                                                   the FDA's direction and with the FDA's approval. [Doc. 31-2
  c. Failing to Update Dear Healthcare Provider Letter
                                                                   at 41-59]. The distribution of those letters was one of the
The Plaintiff next claims that the Defendant violated Chapter      FDA's conditions for not exercising its enforcement authority
75 by failing to update the Dear Healthcare Provider letter        against the Defendant's L-Cysteine product. [Id.]. Under
that accompanied its L-Cysteine product to inform customers        those conditions, the FDA explicitly approved the language
that ELCYS had received FDA approval. [Doc. 1 at ¶¶ 9, 41,         contained in the Defendant's Dear Healthcare Provider letters
69]. Specifically, the Plaintiff alleges that the Defendant sent   and any revisions of those letters required FDA approval.
out Dear Healthcare Provider letters in March 2016, [Doc.          [Doc. 31-2 at 41, 43, 46-50].
1-17], and September 2018 [Doc. 1-18], stating that “there are
currently no FDA-approved L-Cysteine Injection products in         Notably, the last Memorandum of Discretion renewal
the United States” and failed to send a new letter to update       occurred on June 21, 2019, after the FDA approved ELCYS,
that statement until six months after ELCYS received FDA           after the Plaintiff had produced sufficient ELCYS for the
                                                                   entire market, and after the Plaintiff had started shipping
approval. [Doc. 1 at ¶ 9, 41, 46, 69; Doc. 1-21]. 12
                                                                   ELCYS. [Id. at 50; Doc. 1 at ¶ 33, 34]. The FDA,
                                                                   however, did not require the Defendant to update its Dear
The Defendant argues that the Plaintiff's claim is preempted
                                                                   Healthcare Provider letter after ELCYS was approved.
because the Dear Healthcare Provider letters were mandated,
                                                                   Instead, the June 21, 2019 renewal mandated (under threat
overseen, and preapproved by the FDA as part of its decision
                                                                   of enforcement action) that “[t]he previously reviewed Dear
to grant a Memorandum of Discretion to the Defendant under
                                                                   Healthcare Provider letter continues to accompany” the
the FDCA. [Doc. 29-1 at 17]. The Defendant also argues
                                                                   Defendant's product. [Doc. 31-2 at 50 (emphasis added) ].
that it did not violate Chapter 75 because it sent a new letter
                                                                   That previously reviewed letter stated that “there are currently
to tell customers that “there is now an FDA approved L-
                                                                   no FDA-approved L-Cysteine Injection products in the
Cysteine available in the U.S. market” roughly five months
                                                                   United States.” [Doc. 1-18]. Accordingly, the FDA not only
after ELCYS received FDA approval. [Doc. 29-1 at 18 (citing
                                                                   approved the statement in the Dear Healthcare Provider
Doc. 1 at ¶¶ 46) ].
                                                                   letter about which the Plaintiff complains, but required the
                                                                   Defendant to make that statement.
“Manufacturers and distributors of drugs and the Food
and Drug Administration occasionally are required to mail
                                                                   Nevertheless, the Plaintiff argues that the Defendant should
important information about drugs to physicians and others
                                                                   face state tort liability for failing to ask the FDA for
responsible for patient care” in so-called Dear Healthcare
                                                                   permission to update the Dear Healthcare Provider letter
Provider letters. See 21 C.F.R. § 200.5. The FDA can
                                                                   after the FDA approved ELCYS. [Id. at ¶ 69]. The
mandate and oversee the distribution of Dear Healthcare
                                                                   Memorandum of Discretion and its subsequent renewals
Provider letters in conjunction with its oversight of drug
                                                                   prohibited the Defendant from unilaterally changing the
shortages. [Doc. 29-1 at 17]; Center for Drug Evaluation and
                                                                   statements contained in the letter, including the statement
Research, Drug Shortage Management, Manual of Policies
                                                                   about which the Plaintiff complains. [Doc. 31-2 at 50; see also
and Procedures 4190.1 at 10 (“When a potential or actual
                                                                   Doc. 31-2 at 43 (stating that “if Sandoz makes further edits to
shortage might be resolved by obtaining a drug from an
                                                                   this letter, [the FDA] requests the opportunity to review before
alternate source,” the FDA will “[c]oordinate issuance and
                                                                   the letter is printed and distributed”) ]. The Supreme Court has
clearance of a Dear Healthcare Provider Letter ....”). While
                                                                   held that “when a party cannot satisfy its state duties without
no explicit statutory or regulatory provisions set forth the
                                                                   the Federal Government's special permission and assistance,
circumstances under which a drug manufacturer must issue
                                                                   which is dependent on the exercise of judgment by a federal
a Dear Healthcare Provider letter, the FDA has brought
                                                                   agency, that party cannot independently satisfy those state
enforcement actions under the FDCA where Dear Healthcare
Provider letters contained “false or misleading” statements.       duties for pre-emption purposes.” PLIVA, Inc. v. Mensing,
State ex rel. McGraw v. Johnson & Johnson, 226 W. Va. 677,         564 U.S. 604, 623-24, 131 S.Ct. 2567, 180 L.Ed.2d 580
682, 704 S.E.2d 677, 682 (2010).                                   (2011). That is because “[t]he only action the [Defendant]
                                                                   could independently take—asking for the FDA's help—is not
 *12 Here, the Memorandum of Discretion and the
                                                                   a matter of state-law concern.”     Id. at 624, 131 S.Ct. 2567.
subsequent renewals of that Memorandum show that the


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To the extent that the Plaintiff's Chapter 75 claim is based on   Schwarz Pharma, Inc., 547 F. Supp. 2d 939, 947 (E.D. Wis.
the Defendant's failure to update its Dear Healthcare Provider    2008), amended, No. 07-CV-642, 2009 WL 151573 (E.D.
letter, that claim is preempted because the FDA controlled
                                                                  Wis. Jan. 22, 2009) (collecting cases); see also        Dietary
the contents of the Dear Healthcare Provider letters and the
                                                                  Supplemental Coal., Inc. v. Sullivan, 978 F.2d 560, 563 (9th
Defendant could not unilaterally update those letters without
                                                                  Cir. 1992) (stating that “regulatory letters do not constitute
the FDA's involvement and approval, which is not a matter
                                                                  final agency action.”). Indeed, the FDA later explained to
of state-law concern. Therefore, the failure to change the
                                                                  the Plaintiff that the Defendant's L-Cysteine product had
contents of the letter cannot be a basis for a state law claim.
                                                                  aluminum levels that were “well within the standards agreed
                                                                  upon with FDA” and that “[i]t is thus inappropriate to suggest
While the Plaintiff asserts that the Defendant “failed to
                                                                  that the Sandoz product is somehow unsafe.” [Doc. 1-15]. As
inform its customers of the FDA-approved status of Exela's
                                                                  such, the fact that the FDA required the Plaintiff's ELCYS
product at least until September 25, 2019[,]” [Doc. 1 at ¶
                                                                  product to meet a certain aluminum level to receive FDA
69], that allegation also cannot support a Chapter 75 claim.
                                                                  approval did not create a binding limitation on other drugs,
As discussed above, the FDA's scheme for controlling the
                                                                  especially ones that do not seek FDA approval like the
risks associated with the Defendant's product required the
                                                                  Defendant's. In this argument, the Plaintiff conflates the level
Defendant to communicate with customers through Dear
                                                                  that needed to be met to receive temporary permission with
Healthcare Provider letters. That arrangement and process
                                                                  the level for permanent approval.
would have been undermined if the Defendant sent other
communications to customers contradicting the contents of
                                                                  The Plaintiff further argues that the Defendant violated
the FDA-approved Dear Healthcare Provider letters. The
                                                                  Chapter 75 by failing to tell its customers about the difference
Defendant's failure to subvert the FDA's scheme and risk
                                                                  in aluminum content between the Defendant and the Plaintiff's
enforcement action by sending a communication other than a
                                                                  products. [Doc. 1 at ¶ 69]. The Plaintiff has cited no authority
Dear Healthcare Provider letter cannot give rise to a Chapter
                                                                  for the proposition that a merchant's failure to inform its
75 claim.
                                                                  customers as to how its product compares unfavorably to a
                                                                  competitor's product constitutes a deceptive trade practice.
                                                                  There is no basis to conclude that the law imposes such
d. Failing to Warn Customers About Aluminum Content               obligation.

 *13 The Plaintiff next claims that the Defendant violated        The Plaintiff's dispute appears to be with the FDA for
Chapter 75 by failing to warn its customers that its L-Cysteine   temporarily permitting importation and sale of a drug that
product had a higher aluminum content than the standard that      did not meet the same aluminum levels that the FDA
the FDA required ELCYS to meet and by failing to tell its         required ELCYS to meet for permanent approval. The
customers about the difference in aluminum content between        Plaintiff cannot, however, use a state-law claim against a
the two products. [Doc. 1 at ¶ 69]. The Plaintiff also alleges    competitor to “countermand the FDA's determinations and
that the Defendant did not update its Dear Healthcare Provider    substitute its own requirements” regarding the permissible
letters or “distribute any other formal communication to the      aluminum content of the Defendant's L-Cysteine product.
field to inform its customers that the aluminum levels of its     Zogenix, 2014 WL 1454696, at *2. If the Plaintiff were
unapproved product far exceed” the standard that the FDA          allowed to bring such a claim, it would stand “in the way of
required ELCYS to meet to receive approval. [Id. at ¶ 9]. 13      ‘the accomplishment and execution of’ an important federal
                                                                  objective” by undermining “the FDA's ability to make drugs
To begin, what the Plaintiff refers to as “FDA standards”         available to promote and protect the public health.” Id.
are not standards at all. The relevant regulations do not
                                                                  (quoting      Hines v. Davidowitz, 312 U.S. 52, 67, 61 S.Ct.
set any upper limit on aluminum content for small volume
                                                                  399, 85 L.Ed. 581 (1941)). “The Constitution does not allow
parenteral drug products like the Defendant's L-Cysteine
                                                                  it to do so.” Id.
product. See 21 C.F.R. § 201.323. Moreover, the letter where
the Plaintiff contends that the FDA provided its aluminum
                                                                  As such, to the extent that the Plaintiff's Chapter 75 claim is
content standard “does not constitute an official agency
                                                                  based on the Defendant failing to meet the same aluminum
determination.”     Schering-Plough Healthcare Prod., Inc. v.     content level that ELCYS was required to meet or on the



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Defendant failing to affirmatively advertise the differences      The Plaintiff has cited no authority for this proposition. As
between the two products, that claim must be dismissed as         such, the Plaintiff cannot base its Chapter 75 claim on the
preempted and as failing to state a claim upon which relief       Defendant's incumbent status in the market or its volume of
can be granted.                                                   sales before exiting the market.

                                                                  For all these reasons, the Plaintiff's Chapter 75 claim is
                                                                  dismissed.
               e. Oversupplying Customers

 *14 The Plaintiff next argues that the Defendant violated
Chapter 75 by “oversupplying customers and flooding                            2. Interference with Prospective
distribution channels with its unapproved product to prevent                     Economic Advantage Claim
them from purchasing [ELCYS].” [Doc. 1 at ¶ 69]. In short,
the Plaintiff bases this claim on the fact that the Defendant     The Plaintiff next claims that the Defendant illegally
imported, marketed, and sold a product that it was permitted      interfered with its prospective economic advantage by
by the FDA to import, market, and sell, and in quantities that    continuing to sell its unapproved L-Cysteine product after
did not exceed that permission.                                   ELCYS received approval from the FDA. [Doc. 1 at ¶¶
                                                                  75-81].
As discussed previously, the Plaintiff is preempted from
bringing a state-law claim to challenge the FDA's decision to     Tortious interference with prospective economic advantage
allow the Plaintiff to import and sell its L-Cysteine product     “arises when a party interferes with a business relationship
because there is no private right of action in the FDCA and       ‘by maliciously inducing a person not to enter into a contract
the FDA is the sole entity that can bring enforcement actions     with a third person, which he would have entered into but
                                                                  for the interference, ... if damage proximately ensues, when
to halt the sale and importation of drugs.     In re Darvocet,
                                                                  this interference is done not in the legitimate exercise of the
Darvon, & Propoxyphene Prods. Liab. Litig., 756 F.3d 917,
                                                                  interfering person's rights.’ ” Beverage Sys. of the Carolinas,
936 (6th Cir. 2014) As such, the Plaintiff is preempted from
                                                                  LLC v. Associated Beverage Repair, LLC, 368 N.C. 693, 701,
bringing a Chapter 75 claim against the Defendant based on
                                                                  784 S.E.2d 457, 463 (2016) (quoting Spartan Equip. Co. v.
the volume of its L-Cysteine product sales.
                                                                  Air Placement Equip. Co., 263 N.C. 549, 559, 140 S.E.2d 3,
                                                                  11 (1965)). Because the interference must be done outside
                                                                  of the legitimate exercise of the interfering person's rights,
               f. Misusing Incumbent Status                       “[i]nterference with a contract is justified if it is motivated
                                                                  by a legitimate business purpose, as when the plaintiff and
Finally, the Plaintiff argues that the Defendant violated
                                                                  the defendant ... are competitors.” Id., 368 N.C. at 700,
Chapter 75 by misusing “its incumbent status in the market
                                                                  784 S.E.2d at 463 (citations and quotations omitted). To
and its huge market power and reach to block hospitals and
                                                                  survive dismissal, a complaint alleging tortious interference
distributors from switching” to ELCYS. [Id. at ¶ 70]. It bears
                                                                  “must admit of no motive for interference other than malice.”
repeating that the Plaintiff's claims cannot be based merely on
                                                                  Pinewood Homes, Inc. v. Harris, 184 N.C. App. 597, 605, 646
the Defendant's importation or sale of its L-Cysteine product
                                                                  S.E.2d 826, 832–33 (2007).
because those claims are preempted.
                                                                   *15 The Plaintiff tries to meet this element of the tort
The Defendant's sales were permitted by the FDA and the
                                                                  of intererence by alleging that the Defendant's “actions
Plaintiff does not identify any act, other than the sales
                                                                  were not an exercise of any legitimate right of its own”
themselves, that constituted an unfair or deceptive act or
                                                                  because “it is illegal to introduce” an unapproved drug into
an inequitable assertion of power. The volume of the sales,
and the timing of those sales, as permitted by the FDA,           interstate commerce. [Doc. 1 at ¶ 79 (citing        21 U.S.C.
are not suitable bases for a Chapter 75 claim. Moreover,          §§ 331(d),    355(a);     Cook, 733 F.3d at 9-10) ]. Again,
an incumbent market competitor's sale of its inventory does       the cornerstone of the Plaintiff's claim is this assertion that
not become an unfair or deceptive act simply because those        it is somehow “illegal” for the Defendant to do precisely
sales come at the expense of a smaller market competitor.         what the FDA gave the Defendant permission to do. As such,



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this claim again attempts to enforce the FDCA against the                       customers that the aluminum levels of
Defendant for importing and selling an illegal drug. The FDA,                   [the Defendant's] unapproved product
however, is the only entity that can bring a claim against                      exceed FDA standards; and failing to
the Defendant for its alleged introduction of an illegal drug                   inform customers of the much lower
                                                                                aluminum content of [the Plaintiff's]
into interstate commerce. See      Allergan, Inc. v. Athena
                                                                                approved product.
Cosmetics, Inc., 738 F.3d 1350, 1359 (Fed. Cir. 2013). The
Plaintiff is preempted from bringing a claim based on the
Defendant having no legal right to make the sales.
                                                                   [Id.].
The Plaintiff's allegations also show that the Defendant was
merely a competitor motivated by a legitimate business             To state a claim for false advertising under the Lanham
purpose when it imported and sold its L-Cysteine product.          Act, a plaintiff must allege that: (1) the defendant made a
Beverage Sys. of the Carolinas, 368 N.C. at 701, 784               false or misleading description of fact or representation of
S.E.2d at 463. The Plaintiff's own allegations show that           fact in a commercial advertisement; (2) the misrepresentation
the crux of the Defendant's alleged wrongdoing is that it          is material, in that it is likely to influence the purchasing
“schemed to stay, compete, and dominate the L-Cysteine             decision; (3) the misrepresentation actually deceives or has
market for months” and thereby prevent “the vast majority          the tendency to deceive a substantial segment of its audience;
of customers from buying [the Plaintiff's] FDA-approved            (4) the defendant placed the false or misleading statement
product.” [Doc. 41 at ¶ 78] (emphasis added). Those                in interstate commerce; and (5) the plaintiff has been or is
allegations, however, simply show a market competitor              likely to be injured as a result of the misrepresentation, either
motivated by a legitimate business purpose—selling its             by direct diversion of sales or by a lessening of goodwill
existing inventory. The Plaintiff has failed to plausibly allege   associated with their product.     Scotts Co. v. United Indus.
that the Defendant, as its competitor, had no legitimate           Corp., 315 F.3d 264, 272 (4th Cir. 2002). Unless the omission
business purpose for selling its inventory after ELCYS had         of a statement would render an affirmative statement false
been approved. As such, the Plaintiff's allegations concerning     or misleading, the Lanham Act “imposes no affirmative duty
interference with prospective economic advantage fail to           of disclosure.” MDM Grp. Assocs., Inc. v. Emerald Isle
state a claim upon which relief can be granted and must be         Realty, Inc., No. 2:07-CV-48 D, 2008 WL 2641271, at *5
dismissed.                                                         (E.D.N.C. July 1, 2008) (citation and quotations omitted); see
                                                                   also   Casper Sleep, Inc. v. Mitcham, 204 F. Supp. 3d 632,
   B. Lanham Act Claim                                             638 (S.D.N.Y. 2016).
The Plaintiff next claims that the Defendant violated the
Lanham Act by making “false and misleading representations
in the course of selling its unapproved L-Cysteine                   1. Failing to Update Dear Healthcare Provider Letter
product.” [Doc. 1 at ¶ 84]. According to the Plaintiff, those
false and misleading representations                                *16 The Plaintiff asserts that the Defendant violated the
                                                                   Lanham Act by continuing to send Dear Healthcare Provider
                                                                   letters stating that “there are currently no FDA-approved
             include, but are not limited to failing               L-Cysteine Hydrochloride Injection products in the United
             to update its Dear Healthcare Provider                States” even after ELCYS received FDA approval on April
             letter to inform customers of the                     16, 2019. [Doc. 1 at ¶ 41; Doc. 1-18; see also Doc.
             FDA approved status and availability                  31-2 at 41-59]. The Plaintiff does, however, allege that the
             of [the Plaintiff's] product; providing               Defendant updated its customers on September 25, 2019,
             a link on its product website to a                    when it told them that “there is now an FDA approved L-
             database that says nothing about the                  Cysteine available in the US market.” [Doc. 1-21 at 2]. 14
             aluminum content of [the Defendant's]                 The Defendant moves to dismiss, arguing that the Plaintiff's
             product while clearly indicating the                  Lanham Act claims fail as a matter of law. [Doc. 29-1 at
             low aluminum content of FDA-                          16-32].
             approved ELCYS; failing to inform



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                                                                 grounds for a Lanham Act violation, the Defendant would
In    POM Wonderful LLC v. Coca–Cola Co., the Supreme
                                                                 have had three options once ELCYS received FDA approval
Court held that “the FDCA and the Lanham Act complement
                                                                 in April 2019: (1) face Lanham Act liability for continuing
each other” and the FDCA does not categorically bar
                                                                 to distribute its L-Cysteine product with the FDA-approved
Lanham Act suits.       573 U.S. 102, 134 S. Ct. 2228, 2241,     Dear Healthcare Provider letter; (2) face FDA enforcement
189 L.Ed.2d 141 (2014).       POM Wonderful, nevertheless,       action for violating the Memorandum of Discretion by
preserved “the possibility that some Lanham Act suits might      sending a new Dear Healthcare Provider letter that had not
                                                                 been approved by the FDA; or (3) withdraw its product
be precluded by the FDCA.”      JHP Pharm., LLC v. Hospira,      from the market completely while it negotiated a new Dear
Inc., 52 F. Supp. 3d 992, 998 (C.D. Cal. 2014) (citing   id.).   Healthcare Provider letter with the FDA. It is unreasonable to
                                                                 interpret the Lanham Act to impose such a Hobson's choice,
Specifically, the Court in     POM Wonderful said that a
                                                                 particularly when the FDA has taken and continues to take
Lanham Act claim may be precluded by the FDCA if “it
                                                                 positive regulatory action to address something as critical and
turns on the content” of something that has been “previously
                                                                 sensitive as a drug shortage. As such, this is not an instance
preapproved by the FDA.”     Id. at 998; see also Church &       where “the FDCA and the Lanham Act complement each
Dwight Co. Inc. v. SPD Swiss Precision Diagnostics, GmbH,
                                                                 other ....” POM Wonderful, 573 U.S. 102, 134 S. Ct. 2228,
104 F. Supp. 3d 348, 352 (S.D.N.Y. 2015) (stating     POM        2241, 189 L.Ed.2d 141 (2014). Accordingly, the Plaintiff's
Wonderful held that “in essence, that Lanham Act claims          Lanham Act claim based on the Defendant's failure to send
might be precluded if the FDA had authorized the challenged      a new Dear Healthcare Provider letter after ELCYS received
                                                                 FDA approval fails to state a claim upon which relief can be
name and label.”). Moreover,      POM Wonderful suggested
                                                                 granted.
that a Lanham Act claim might be precluded by the FDCA
if it conflicts “with an affirmative policy judgment by the
FDA.”      JHP Pharm., 52 F. Supp. 3d at 998 (citing  POM
Wonderful, 134 S. Ct. at 2241). Likewise, other courts have         2. Failing to Disclose Aluminum Content Difference
found that Lanham Act claims which “involve an issue on
                                                                  *17 The Plaintiff's Lanham Act claim also fails to the extent
which the FDA has taken ‘positive regulatory action’ are
                                                                 it is based on the Defendant's failure to affirmatively advertise
all likely precluded by the FDCA.” Allergan USA Inc. v.
                                                                 the aluminum content of its L-Cysteine product. The Plaintiff,
Imprimis Pharm., Inc., No. SACV171551DOCJDEX, 2017
                                                                 however, concedes that the Defendant never affirmatively
WL 10526121, at *7 (C.D. Cal. Nov. 14, 2017) (quoting
                                                                 “told its customers the respective aluminum levels of the
   JHP Pharm., 52 F. Supp. 3d at 1000 n.5, 1004).                [Plaintiff and the Defendant's] products.” [Doc. 1 at ¶ 9].
                                                                 The Plaintiff makes no allegation that the Defendant made
Here, the Plaintiff's Lanham Act claim regarding the             any statement that would be rendered false or misleading
Dear Healthcare Provider letters “turns on the content” of       by failing to affirmatively provide information regarding its
something that was “previously preapproved by the FDA.”          product's aluminum content or ELCYS's aluminum content.
                                                                 The Defendant had no duty to provide such a statement
    JHP Pharm., 52 F. Supp. 3d at 998. Because the Plaintiff's
                                                                 under the Lanham Act. Therefore, the Plaintiff cannot state
Lanham Act claim challenges the letters that were a condition
                                                                 a Lanham Act claim based on the Defendant's failure to
of the Memorandum of Discretion, it thereby also challenges
                                                                 affirmatively advertise the difference between the aluminum
the FDA's policy judgment and implicates an issue upon
                                                                 content in its L-Cysteine product and ELCYS. Emerald Isle
which the FDA has taken positive regulatory action. Imprimis
Pharm., 2017 WL 10526121, at *7. Based on the Supreme            Realty, 2008 WL 2641271, at *5; see also          Casper Sleep,
                                                                 204 F. Supp. 3d at 638.
Court's discussion in      POM Wonderful, such a claim is
precluded.

Examining the practical effects of allowing such a claim to                3. Failing to Disclose FDA “Standards”
proceed further demonstrates that preclusion is appropriate
here. If the Plaintiff were correct that the FDA approved and    The Plaintiff also asserts that the Defendant failed to inform
mandated Dear Healthcare Provider letters could serve as the     customers that the aluminum levels of its “unapproved



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                                                                    In 2014 the FDA determined that there was a shortage of L-
product exceed FDA standards.” [Doc. 1 at ¶ 84]. What the
                                                                    Cysteine product needed for medical treatments in the United
Plaintiff refers to as FDA “standards,” however, are not actual
                                                                    States. The FDA approached the Defendant and worked out
FDA standards at all. (See, Part IV.A.1.c., supra.). As such,
Plaintiff's allegations are based on a false premise. Moreover,     a program to temporarily allow the Defendant to import and
the Plaintiff's own allegations show that the Defendant never       sell its L-Cysteine product in the United States to meet this
made any statement regarding the aluminum content of its            shortage. The Plaintiff meanwhile developed a competing
L-Cysteine product or whether its product met any FDA               L-Cysteine product for which the Plaintiff sought full FDA
“standards.” The Lanham Act “imposes no affirmative duty            approval to sell in the U.S. market. Regarding the brief (less
of disclosure.” Emerald Isle Realty, 2008 WL 2641271, at *5;        than six-month) period of the overlap of the availability
                                                                    of both the Plaintiff's and the Defendant's product, the
    Casper Sleep, 204 F. Supp. 3d at 638.                           Plaintiff complains that the FDA should not have allowed the
                                                                    Defendant to continue to sell its product. The Plaintiff brings
This claim is a thinly veiled attempt by the Plaintiff to step      this action, however, against the Defendant, not the FDA.
into the shoes of the FDA to enforce the FDCA based on              Because of the exclusivity of the FDCA and the authority of
an underlying assumption that the Defendant's product is            the FDA regarding such sales, the Plaintiff's claims against
unsafe due to its aluminum levels. Such a claim is precluded.       the Defendant fail both under the Lanham Act and pursuant to
   PhotoMedex, Inc. v. Irwin, 601 F.3d 919, 924 (9th Cir.           state law. For this reason, the Defendant's Motion to Dismiss
2010) (“Because the FDCA forbids private rights of action           will be granted.
under that statute, a private action brought under the Lanham
Act may not be pursued when, as here, the claim would
require litigation of the alleged underlying FDCA violation in                                 ORDER
a circumstance where the FDA has not itself concluded that
                                                                    IT IS, THEREFORE, ORDERED that the Defendant's
there was such a violation.”);      American Home Products
                                                                    Motion to Dismiss the Complaint or, in the Alternative, Stay
Corp. v. Johnson & Johnson, 436 F. Supp. 785, 797 (S.D.N.Y.
                                                                    the Case Pending Referral to FDA [Doc. 29] is GRANTED,
1977) (stating that “an action under the Lanham Act and state
                                                                    and this action is DISMISSED WITH PREJUDICE.
unfair competition laws is not the proper legal vehicle in
which to vindicate the public's interest in health and safety.”).
                                                                    *18 IT IS FURTHER ORDERED that the Plaintiff's
Accordingly, the Plaintiff's Lanham Act claim cannot be
                                                                    Motion for Preliminary Injunction [Doc. 3] is DENIED.
based on the Defendant's failure to disclose that its product
does not meet FDA “standards.”
                                                                    The Clerk of Court is directed to close this civil action.
For all these reasons, the Plaintiff's Lanham Act claim will be
                                                                    IT IS SO ORDERED.
dismissed.


                                                                    All Citations
V. CONCLUSION
                                                                    --- F.Supp.3d ----, 2020 WL 5535026




                                                            Footnotes


1       Mr. Koneru's Verification provides as follows: “That he/she has read the foregoing COMPLAINT; that he/
        she is the Manager of Exela Pharma Sciences LLC, named Plaintiff in this matter, and that he/she know
        the contents thereof; that the same is true of his/her own knowledge, except as to those matters and things
        stated therein upon information and belief, and as to those matters and things he/she believes them to be
        true.” [Doc. 1 at 29 (emphasis added) ].




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2      Several allegations in the Complaint are made “on information and belief.” Mr. Koneru did not verify such
       statements (see footnote 1 supra), and the Plaintiff provided no affidavits or sworn testimony to support such
       allegations at the hearing. Conclusory allegations based “upon information and belief” are no substitute for
       plausible factual allegations that wrongdoing has occurred. See         Harman v. Unisys Corp., 356 F. App'x
       638, 640 (4th Cir. 2009) (stating that allegations that included the phrase “upon information and belief” were
       insufficient to defeat a motion to dismiss because the allegations at issue were “conclusory”). As such, the
       conclusory allegations in the Complaint that are made “on information and belief” will not be considered.
3      The Plaintiff asserts subject matter jurisdiction in this Court pursuant to the existence of diversity jurisdiction
       per     28 U.S.C. § 1332 and federal question jurisdiction based on the Lanham Act claim. See 28 U.S.C.
       § 1331,      15 U.S.C. § 1125(a). The Plaintiff has not presented sufficient allegations to invoke diversity
       jurisdiction. Nevertheless, the Court will address the Motion to Dismiss based on the existence of federal
       question jurisdiction.
4      Discussions between the FDA and the Defendant regarding the shortage began in 2014. [Doc. 31-2 at 2].
5      The Plaintiff's Complaint does not attach the Memorandum of Discretion or the communications between
       the FDA and the Defendant related to the issuance of the Memorandum of Discretion and its subsequent
       renewals. The Defendant, however, attaches the Memorandum of Discretion and those communications to
       its Response in Opposition to Plaintiff's Motion for Preliminary Injunction. [Doc. 31-2 at 13-16, 38-39, 41-59].
       The Court may consider a document submitted by a defendant without converting a Rule 12(b)(6) motion
       to a summary judgment motion if the document “was integral to and explicitly relied on in the complaint
       and if the plaintiffs do not challenge its authenticity.”     Am. Chiropractic Ass'n v. Trigon Healthcare, Inc.,
       367 F.3d 212, 234 (4th Cir. 2004) (citation and quotations omitted); see also      Lee v. City of Los Angeles,
       250 F.3d 668, 688 (9th Cir. 2001). The Memorandum of Discretion and the communications surrounding its
       issuance and renewals are integral documents that were explicitly referenced and relied upon in the Plaintiff's
       complaint. [Doc. 1]. The Plaintiff does not challenge the authenticity of those documents. As such, the Court
       will consider the contents of the Memorandum of Discretion and the communications between the FDA and
       the Defendant when analyzing this Motion. [Doc. 31-2 at 13-16, 38-39, 41-59].
6      Notwithstanding its approval of the Plaintiff's ELCYS product, the following month the FDA approved the
       Defendant's continued distribution of its product along with the previously approved Dear Healthcare Provider
       letter. [Doc. 31-2 at 50].
7      The Plaintiff's allegation in Paragraph 58 of the Complaint appears to facially contradict its allegation in
       Paragraph 45. If the Defendant discontinued sales of this product by October 8, 2019, then as of the date
       of the Plaintiff's filing (November 6, 2019), the Defendant no longer had any share of the market. [Doc. 1
       at ¶¶ 45, 58]. Giving the Plaintiff the benefit of a very generous inference, this may mean that 80% of the
       use (rather than sales) of an L-Cysteine product in the United States as of November 6, 2019 was of the
       Defendant's product that had been sold prior to October 8, 2019.
8      The Plaintiff concedes that the Defendant's “misconduct originated in a violation of the FDCA–the import and
       sale of the unapproved product.” [Doc. 1-38 at 7].
9      The FDA also had to balance the competing interests of these parties, each of whom sought and advocated
       for different outcomes. While the Plaintiff wanted the FDA to remove the Defendant's L-Cysteine product from
       the market almost immediately after ELCYS received FDA approval, the Defendant wanted a chance to sell
       the inventory it created in response to the FDA's requests to help with the drug shortage.
10
       While     Cook involved importation from an unregistered facility, this case involves importation from a
       registered facility. [Doc. 1-22 at 5];  Cook, 733 F.3d at 9.
11     Notably, the Plaintiff did not have sufficient production to satisfy the market for a significant portion of that
       six-month period. The Plaintiff makes no allegations regarding the adequacy of its distribution network to
       distribute what it was able to manufacture during that time.



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12     The Plaintiff's Complaint fails to identify the particular communication that provides a basis for the alleged
       Chapter 75 violation. The Plaintiff alleges, on information and belief, that the Defendant sent Dear Healthcare
       Provider letters with incorrect information regarding ELCYS’ FDA approval status after it had received FDA
       approval on April 16, 2019. [Doc. 1 at ¶¶ 9, 46]. The Plaintiff's Complaint, however, only attaches Dear
       Healthcare Provider letters sent on March 1, 2016, and September 1, 2018. [Doc. 1-17; 1-18]. The Plaintiff
       provides no communication from after April 16, 2019, where the Defendant falsely states that its L-Cysteine
       product is the only L-Cysteine product available in the United States. The only communication that the Plaintiff
       provides from that period is from September 25, 2019, when the Defendant informed customers that “there
       is now an FDA approved L-Cysteine available in the US market.” [Doc. 1-21].
13     Regarding the Plaintiff's allegations concerning the Dear Healthcare Provider letter, see Part IV.A.1.c, supra.
14     While the Defendant argues that the Dear Healthcare Provider letters do not constitute commercial
       advertising, another court has held that Dear Healthcare Provider letters are “disseminated in a manner
       sufficient to constitute commercial advertising placed in interstate commerce[.]”       De Simone v. VSL Pharm.,
       Inc., 395 F. Supp. 3d 617, 624 (D. Md. 2019).


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                             TAB 12
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                                                                           Probiotic Cereal—Single Grain Oatmeal and Rice varieties.
                                                                           (SAC ¶ 2). Plaintiffs 1 allege that the marketing and labeling
     KeyCite Yellow Flag - Negative Treatment
                                                                           of those products are deceptive in two primary ways: despite
Disagreed With by Counts v. General Motors, LLC, E.D.Mich., February 14,
2017                                                                       representations to the contrary, the Products (1) do not provide
                  2013 WL 4517994                                          immune system benefits; and (2) are not are not near equal to
    Only the Westlaw citation is currently available.                      breast milk.
              NOT FOR PUBLICATION
     United States District Court, D. New Jersey.                          Plaintiffs first assert that the Products' marketing and
                                                                           labeling contain false and misleading representations based
               In re GERBER PROBIOTIC                                      on the immune system effect of probiotic bacteria, “Bifidus
             SALES PRACTICES LITIGATION.                                   BL.” (SAC ¶ 1). The allegation is essentially that despite
                                                                           Defendant's representations regarding the Products' immune
                 Civil Action No. 12–835 (JLL).                            system benefits, “numerous studies show that the Products
                                |                                          do not and cannot provide the immune-related health benefits
                          Aug. 23, 2013.                                   Defendant claims.” (SAC ¶ 3). Specifically, Plaintiffs allege:

Attorneys and Law Firms

James E. Cecchi, Lindsey H. Taylor, Donald A. Ecklund,                                  Gerber's representations are designed
Carella Byrne Cecchi Olstein Brody & Agnello, P.C.,                                     to induce the consumer, who is
Roseland, NJ, Richard Daniel Devita, Devita & Associates,                               unaware that healthy babies' bodies
Hoboken, NJ, Antonio Vozzolo, Courtney E. Maccarone,                                    already maintain the proper balance of
Faruqi & Faruqi, LLP, Yitzchak Kopel, Bursor & Fisher PA,                               intestinal bacteria, to buy the Products.
New York, NY, Ro nald A. Marron, San Diego, CA, for                                     Gerber advertises the Products as
Plaintiffs.                                                                             the only formulas and cereals
                                                                                        that include probiotics that will
Scott A. Ohnegian, Riker, Danzig, Scherer, Hyland & Perretti,                           strengthen and support the immune
LLP, Morristown, NJ, for Defendants.                                                    systems of young children. However,
                                                                                        Defendant's marketing message is
                                                                                        false and deceptive, as the “probiotic”
                             OPINION                                                    bacteria in the Products do not
                                                                                        perform as advertised, and scientific
LINARES, District Judge.                                                                studies ... demonstrate that probiotic
                                                                                        supplementation in infant formula
 *1 This matter comes before the Court by way of a motion
                                                                                        does not support infant immunity
to dismiss the Second Consolidated Amended Complaint
                                                                                        or provide the advertised health
(“SAC”) (CM/ECF No. 48) pursuant to Federal Rule of Civil
                                                                                        benefits including because such
Procedure 12(b)(6) (CM/ECF No. 53) by Gerber Products
                                                                                        supplementation does not (a) decrease
Company (hereafter “Defendant” or “Gerber”). No oral
                                                                                        the levels of harmful pathogens
argument was heard pursuant to Rule 78 of the Federal Rules
                                                                                        in babies' intestinal microflora, (b)
of Civil Procedure. After considering the submissions of the
                                                                                        increase the levels of good bacteria
parties in support of and in opposition to the instant motions,
                                                                                        in babies' intestinal micro-flora, or (c)
Defendant's motion to dismiss is granted.
                                                                                        reduce infections


I. BACKGROUND
The instant putative consumer-protection class action arises               (SAC ¶ 7, see also ¶¶ 16, 17).
out of the alleged deceptive, false, and misleading marketing
of three Gerber products (collectively the “Products”): Good               With regard to the Good Start products, Plaintiffs maintain
Start Protect Infant Formula and Good Start Protect Formula                that the Gerber marketing strategy deliberately includes
for 9 through 24 months (“Good Start”), and DHA &                          “IMMUNIPROTECT,” which contains the trademarked


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Bifidus BL probiotic bacteria, as a “deceptive marketing            costly predecessor and regular formulas that do not contain
hook.” (SAC ¶ 5). Plaintiffs also maintain that to further          probiotics, Bifidus BL, or “IMMUNIPROTECT.” (SAC
reinforce the allegedly deceptive message, Gerber represents        ¶ 65). Therefore, Plaintiffs allege that Defendant's
that the Products' “advanced” immune system benefits result         representations regarding the Products are likely to mislead
from the use of Bifidus BL, which is found in breast milk.          consumers, acting reasonably under the circumstances, into
(SAC ¶ 6).                                                          believing that the Products are superior to other products
                                                                    because they are the near-equivalent of breast milk and that
 *2 Second, Plaintiffs allege that despite the fact that “experts   they provide immune system benefits. (SAC ¶ 66). They
unanimously agree that breast milk is best for infants,” Gerber     also maintain that a reasonable consumer would not have
also adds ingredients to the Products in order to “claim            purchased the Products but for the alleged misrepresentations
through its marketing and advertising campaign and package          and that Plaintiffs have paid a premium for doing so. (SAC
labeling that the Products possess nutritional qualities that       ¶ 104).
are nearly equivalent to those of breast milk.” (SAC ¶ 11,
see also ¶¶ 12, 14). However, scientific evidence allegedly         Plaintiffs assert that despite rebranding the Products in
demonstrates that “breast milk provides unique nutritional          February 2010 and re-naming them in early 2011, Defendant
benefits that Defendant's Products do not provide.” (SAC ¶          has manufactured, marketed, and sold the Products since
14).                                                                at least September 27, 2009 with false and misleading
                                                                    representations on the packaging, labeling, and online
Plaintiffs assert that even though the Products' marketing          advertising. (SAC ¶¶ 3, 33). Defendants allegedly advertise
implies that there is a proven scientific basis for the immune      and promote the Products primarily through “the front-of-
system benefits, by representing that the health-related claims     pack and back-of-pack” labeling claims. (SAC ¶ 47). In
are based on “studies” and “research,” “the body of scientific      addition, Defendants allegedly use online advertising, its
evidence on probiotic supplementation in infant formula             website, and other media, including television commercials.
shows that the probiotic ingredient in the Products does not        (SAC ¶¶ 48, 63). Gerber allegedly sells the Products at
support the infant immune system and does not otherwise             a premium over predecessor and regular formula products
provide the advertised health benefits.” (SAC ¶ 18, see e.g. ¶      without probiotics. (SAC ¶ 21).
37, 39) (emphasis in original). Similarly, “scientific evidence
proves that, contrary to Defendant's advertising, formula           *3 Plaintiffs assert the following causes of action in the
supplemented with probiotics does not provide breast milk-          SAC 2 : (1) violation of the New Jersey Consumer Fraud Act,
quality nutrition.” (SAC ¶ 19).
                                                                       N.J. Stat. Ann. § 56:8–2 et seq. (“NJCFA”) on behalf
In support of their position that the findings of numerous          of Plaintiffs Dourdoulakis and Jose and the putative Class
studies contradict Defendant's representations regarding the        or New Jersey Subclass; (2) violation of the Consumers
Products, Plaintiffs point to a number of scientific studies        Legal Remedies Act,        California Civil Code § 1750, et
and reports. (SAC ¶¶ 70–86). In addition, Plaintiffs allege         seq., on behalf of Plaintiffs Alvarez, Ginger, Hawkins, and
that Defendants cite no studies that effectively support certain    Thomas and the putative California Subclass; (3) unlawful
of its claims and, in fact, the studies cited by Defendants
                                                                    business acts and practices in violation of       California
actually demonstrate the falsity of Defendant's advertising
                                                                    Business & Professions Code Section 17200, et seq., on
and otherwise do not support its immunity strengthening
                                                                    behalf of Plaintiffs Alvarez, Ginger, Hawkins and Thomas
claims. (SAC ¶¶ 87–91, 93–102). Therefore, Plaintiffs
                                                                    and the putative California Subclass; (4) violations of the
allege that “[n]one of these studies, even if they could
be characterized as clinical—which they cannot—supports             Illinois Consumer Fraud Act,     815 ILCS 505/1, et seq., on
the conclusion that Gerber Products in fact strengthen and          behalf of Plaintiff Rudich and the putative Illinois Subclass;
support a baby and toddler's immune system as labeled and           (5) violation of the New York Consumer Protection Act,
advertised.” (SAC ¶ 92).                                               N.Y. Gen. Bus. Law § 349, et seq., on behalf of Plaintiff
                                                                    Siddiqi and the putative New York Subclass; (6) violation
Accordingly, Plaintiffs allege that the “labeling and
advertising claims are false and deceptive because they imply       of the Washington Deceptive Trade Practices Law,       Wash.
that the Products provide more health benefits than other, less     Rev.Code. §§ 19.86.020, et seq. on behalf of Plaintiff Burns



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and the putative Washington Subclass. In addition, without
                                                                     evidence of the necessary element.”  West Perm Alleg hen
specifying under which state's law they are brought, the SAC
                                                                     y Health Sys. Inc. v. UPMC, 627 F.3d 85, 98 (3d Cir.2010)
also contains a number of state law claims on behalf of
all Plaintiffs and the putative class: (1) breach of express         (quoting    Phillips v. County of Alleg hen y, 515 F.3d 224,
warranty (Count VII); (2) breach of implied warranty of              234 (3d Cir.2008)).
merchantability (Count VIII); and (3) unjust enrichment
(Count IX).
                                                                     IV. DISCUSSION
                                                                      *4 Defendant argues that dismissal is warranted on several
II. JURISDICTION and LEGAL STANDARD                                  grounds: (1) the SAC does not allege a plausible false
                                                                     advertising claim; (2) Plaintiffs have not adequately plead
Jurisdiction is premised upon      28 U.S.C. § 1332(d)(2), as
                                                                     their fraud claims with the requisite level of particularity
Plaintiffs allege that the matter in controversy, exclusive of
                                                                     under Federal Rule of Civil Procedure 9(b); (3) Plaintiffs lack
interest and cost, exceeds the value of $5 million and is a class
                                                                     constitutional standing to bring their claims; (4) Plaintiffs lack
action in which at least one class member is a citizen of a
                                                                     standing to seek injunctive relief; (5) Plaintiffs fail to satisfy
different state from Defendant.
                                                                     the essential elements of the applicable state consumer fraud
                                                                     and false advertising statutes; (6) Plaintiffs fail to allege a
Federal Rule of Civil Procedure 8(a)(2) requires that a
                                                                     breach of warranty; and (7) Plaintiff's unjust enrichment claim
complaint set forth “a short and plain statement of the claim
                                                                     is improper.
showing that the pleader is entitled to relief.” For a complaint
to survive dismissal, it “must contain sufficient factual matter,
                                                                     Plaintiffs' standing to assert claims under Article III of the
accepted as true, to ‘state a claim to relief that is plausible on
                                                                     Constitution is a threshold jurisdictional question. See e.g.
its face.’ ”   Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct.
                                                                        O' Shea v. Littleton, 414 U.S. 488, 493, 94 S.Ct. 669,
1937, 173 L.Ed.2d 868 (2009) (citing          Bell Atl. Corp. v.     38 L.Ed.2d 674 (1974). Accordingly, the Court begins its
Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929          analysis there. The Court concludes for the reasons set forth
(2007)). The plaintiff's short and plain statement of the claim      below that Plaintiffs only have standing to assert claims
must “give the defendants fair notice of what the ... claim is       premised on the alleged misrepresentations on the Products'
                                                                     labeling. In addition, Plaintiffs do not have standing to
and the grounds upon which it rests.”        Twombly, 550 U.S.
                                                                     seek injunctive relief. The Court has considered the parties'
at 545 (quoting Conley v. Gibson, 355 U.S. 41, 47, 78 S.Ct.          arguments based on the Product labeling and determines,
99, 2 L.Ed.2d 80 (1957)).                                            again for the reasons set forth below, that as Plaintiffs' claims
                                                                     are based on Defendant's overall marketing in connection
In evaluating the sufficiency of a complaint, a court must           with the Products, the SAC does not sufficiently allege false
accept all well-pleaded factual allegations as true and draw         advertising claim based on the labeling alone. Accordingly,
all reasonable inferences in favor of the non-moving party.          the Court dismisses the SAC without prejudice.
See     Phillips v. County of Alleg hen y, 515 F.3d 224, 234
(3d Cir.2008). “Factual allegations must be enough to raise a
                                                                     A. Standing
right to relief above the speculative level.”    Bell Atl. Corp.     Defendant argues that Plaintiffs' allegations are insufficient
v. Twombly, 550 U.S. at 555 (2007). Further, “[a] pleading that      to demonstrate that they have constitutional standing in two
offers ‘labels and conclusions' or ‘a formulaic recitation of the    regards: (1) they do not sufficiently plead an injury for
elements of a cause of action will not do. Nor does a complaint      purposes of Article III; and (2) they do not adequately plead
suffice if it tenders ‘naked assertion[s]’ devoid of ‘further        causation. In addition, Gerber submits that Plaintiffs do not
                                                                     have standing to seek injunctive relief because they do not
factual enhancement.’ ”        Iqbal, 556 U.S. at 678 (citing
                                                                     plead a threat of future injury, as required to maintain a claim
   Bell Atl. Corp. v. Twombly, 550 U.S. at 555, 557 (2007)).         for injunctive relief.
However, this “ ‘does not impose a probability requirement at
the pleading stage,’ but instead ‘simply calls for enough facts      Gerber asserts that “Plaintiffs have not adequately pled
to raise a reasonable expectation that discovery will reveal         injury in fact and causation, which are necessary elements
                                                                     to establish Article III standing.” (Def.'s Mot. 4). The


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requirements of Article III constitutional standing are as
follows:                                                              1. Injury In Fact
                                                                   With regard to the injury in fact requirement, Defendant
                                                                   asserts that “not one plaintiff alleges (even in conclusory
                                                                   terms) that he did not receive the health benefits from the
             First, the plaintiff must have suffered
                                                                   products as advertised. This is a fatal flaw.” (Def.'s Mot. 4;
             an “injury in fact”-an invasion of a
             legally protected interest which is (a)               see also Def.'s Mot. 24–25). 3 In arguing that Plaintiffs did
             concrete and particularized and (b)                   not suffer an injury-in-fact, Defendant relies on a number
             actual or imminent, not conjectural                   of consumer protection cases where the products at issue
             or hypothetical. Second, there must                   contained potentially dangerous substances, but the plaintiffs
             be a causal connection between the                    suffered no ill effects. (Def.'s Mot. 25) (citing In re Fruit
             injury and the conduct complained of-                 Juice Products Mktg. & Sales Practices Litig., 831 F.Supp.2d
             the injury has to be fairly traceable to              507 (D.Mass.2011) (plaintiffs suffered no injury-in-fact
             the challenged action of the defendant                where they alleged that fruit juice contained trace amounts
             and not the result of the independent
                                                                   of lead); (Def.'s Reply 14–15) (citing       Koronthaly v. L'
             action of some third party not before
                                                                   Oreal USA, Inc., 2008 WL 2938045, at *4–5 (D.N.J. Jul.29,
             the court. Third, it must be likely, as
                                                                   2008) (plaintiff did not have standing where she alleged she
             opposed to merely speculative, that the
                                                                   was denied the benefit of the bargain when she purchased
             injury will be redressed by a favorable
                                                                   lipstick containing lead). However, as discussed above, that
             decision.
                                                                   is not the substance of Plaintiffs' claim. Throughout the
                                                                   SAC and their Opposition, Plaintiffs claim that they paid a
                                                                   premium for the Products at issue based on false, deceptive,
   Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61, 112       and misleading representations. Plaintiffs correctly argue that
                                                                   “[m]onetary harm is a classic form of injury in fact. Indeed
S.Ct. 2130, 119 L.Ed.2d 351 (1992);     Darners Motor Co.,
                                                                   it is often assumed without discussion.” (Pl.'s Opp'n. 22)
Inc. v. Ford Motor Co., 432 F.3d 286, 290–91 (3d Cir.2005);
                                                                   (quoting     Danvers Motor Co., Inc. v. Ford Motor Co., 432
   Society Hill Towers Owners' Ass' n v. Rendell, 210 F.3d
                                                                   F.3d at 293) (internal citation omitted). Accordingly, at this
168, 175–76 (3d Cir.2000).
                                                                   stage of the litigation, Plaintiffs sufficiently allege an actual
 *5 “In the class action context, however, traditional             injury which is concrete and particularized. See        Wang v.
notions of standing are not completely informative of what         OCZ Tech. Grp., Inc., 276 F.R.D. 618, 625 (N.D.Cal.2011). 4
claims may be asserted.” In re Franklin Mut Funds Litig.,
F.Supp.2d at 461. However, “if none of the named plaintiffs
purporting to represent a class establishes the requisite case        2. Causation
or controversy with the defendants, none may seek relief on        As to causation, Defendant submits that “plaintiffs fail to
                                                                   specify which allegedly false or misleading advertisement
behalf of himself or any other member of the class.” Hayes
                                                                   was reviewed prior to purchasing the product(s) and how
v. Wal–Mart Stores, Inc., ––– F.3d ––––, 2013 WL 3957757,
                                                                   that statement influenced the purchasing decision.” (Def.'s
at *9 (3d Cir.2013) (quoting       O' Shea v. Littleton, 414       Mot. 4). However, Defendant does not point to a requirement
U.S. 488, 494, 94 S.Ct. 669, 38 L.Ed.2d 674 (1974)). At            that such specificity is required to demonstrate constitutional
the pleading stage, “[a]lthough general factual allegations of     standing generally. Rather, Gerber points to a number of
injury resulting from the defendant's conduct may suffice, the     cases which analyzed the standing requirements for certain
complaint must still ‘clearly and specifically set forth facts     specific state consumer protection statutes, which the parties
sufficient to satisfy’ Article III.”   Reilly v. Ceridian Corp.,   do not dispute are analyzed under the lens of Rule 9(b)'s
                                                                   heightened pleading requirement. 5 (Def.'s Mot. 25) (citing
664 F.3d 38, 41 (3d Cir.2011) (quoting   Lujan, 504 U.S. at
561; Whitmore v. Arkansas, 485 U.S. 149, 155 (1990)).                  In Re Toshiba Am. HD DVD Mktg. & Sales Practices
                                                                   Litig., 2009 WL 2940081, at *13 (D.N.J. Sept.11, 2009)
                                                                   (considering claims asserted under New Jersey's Consumer



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                                                                  discussed in greater detail below, Plaintiffs premise their
Fraud Act) 6 ;    Delacruz v. Cytosport, Inc., 2012 WL
                                                                  claims on Gerber's overall marketing campaign in connection
1215243, at *8 (N.D.Cal. Apr.11, 2012) (discussing the
                                                                  with the Products. However, no Plaintiff provides facts
reliance requirement under California's Unfair Competition
                                                                  sufficient to allege causation in connection with those aspects
Law, False Advertising Law and Consumer Legal Remedies
                                                                  of Defendant's marketing campaign. For example, other than
Act);   Wang v. OCX Tech. Grp., Inc., 276 F.R.D. 618, 628         the Products' label, no Plaintiff alleges even the general type
(N.D.Cal.2011) (considering whether allegations satisfy the       or medium of “advertising” to which they were allegedly
heightened pleading requirements of Rule 9(b));       Johns v.    exposed. Nor do Plaintiffs otherwise allege facts as to how
Bayer Corp., 2010 WL 476688, at *5 (S.D.Cal. Feb.9, 2010)         misrepresentations in the “advertising” caused their injuries.
(discussing statutory standing requirements of California's       Therefore, the SAC does not contain sufficient facts to allege
Unfair Competition Law and Consumer Legal Remedies                that the injuries which resulted to Plaintiffs were fairly
Act)). In their Opposition, Plaintiffs argue that “[t]here        traceable to any of Gerber's representations other than those
is a causal connection between the Plaintiffs' injury and         on the Products' labeling. See      Hein v. Freedom From
Defendant's conduct. Plaintiffs thought they were purchasing,     Religion Foundation, Inc., 551 U.S. 587, 599, 127 S.Ct. 2553,
and paying for, products with the immune benefits Gerber
                                                                  168 L.Ed.2d 424 (2007) (quoting Allen v. Wright, 468 U.S.
stated they had, but Plaintiffs did not receive what they paid
                                                                  737, 751, 104 S.Ct. 3315, 82 L.Ed.2d 556 (1984) (“A plaintiff
for because [ ] Gerber misrepresented the qualities of its
                                                                  must allege personal injury fairly traceable to the defendant's
products.” (Pls.' Opp'n. 23).
                                                                  allegedly unlawful conduct and likely to be redressed by the
                                                                  requested relief.”))
 *6 A number of Plaintiffs allege that they relied on
alleged misrepresentations contained only on the Products'
labeling. Plaintiffs Rudich, Siddiqi, and Lhomas all identify        3. Injunctive Relief
the Products they purchased and allege that they “viewed          Next, Defendant argues that Plaintiffs lack standing to seek
and specifically relied upon Defendant's claims by reading        injunctive relief because they have not alleged a threat of a
the representations made on the product label concerning the      future injury, which is required to obtain prospective relief.
probiotic benefit of the Products, purchased Gerber Products      (Def.'s Mot. 4, 26–27). On the other hand, Plaintiffs argue
in reliance on these claims, and sustained injury in fact and     that it is premature to decide whether they have standing to
lost money as a result of the wrongful conduct described          seek injunctive relief. (Pls.' Opp'n. 23). Plaintiffs further argue
herein.” (SAC ¶¶ 29–31). On the other hand, a number of           that “[i]n the instant case, Plaintiffs' ability to seek injunctive
Plaintiffs state in a conclusory fashion that they relied on      relief on behalf of other class members to prevent Gerber from
Defendant's “advertisements and labeling.” Plaintiffs Burns,      continuing to falsely tout the qualities of its Products arises
Dourdoulakis, Ginger, Hawkins, and Jose all allege that           only because of the class-action context of this case. As a
they purchased certain of the Products based on “Gerber's         result, Plaintiffs' standing to seek injunctive relief should be
misleading claims in its advertisements and labeling that         determined after class certification, in relation to whether the
the Products contained probiotic bacteria strains that provide    class as a whole would have standing to seek injunctive relief,
immunity-related health benefits and are near-equivalents         not just the named Plaintiffs.” (Pls.' Opp'n. 25). Plaintiffs
to breastmilk.” (SAC ¶¶ 24–28). In addition, one Plaintiff        also point to a number of cases from the district courts of
merely alleges only that she would not have purchased the         California to argue that standing should not be so narrowly
Products but for Gerber's “misrepresentations.” (SAC ¶ 23).       construed. (Pls.' Opp'n. 23–24).
Plaintiff Alvarez alleges that she “would not have purchased
and paid a premium for the Gerber products but for Gerber's       *7 “An injury-in-fact ‘must be concrete in both a qualitative
misrepresentations, and she suffered injury in fact and lost
money as a result of Gerber's deceptive, unfair, and fraudulent   and temporal sense.’ ”       Reilly v. Ceridian Corp., 664 F.3d
practices described herein.” (SAC ¶ 23).                          at 42. As explained by the Third Circuit, where a plaintiff
                                                                  seeks prospective relief, “the plaintiff must show that he is
Separate and apart from the product labeling, the SAC             ‘likely to suffer future injury’ from the defendant's conduct.”
references a number of different types of representative             McNair v. Synapse Grp., Inc., 672 F.3d 213, 223 (3d
“advertisements,” including television commercials, press
                                                                  Cir.2012) (quoting        City of Los Angeles v. Lyons, 461
releases, and excerpts from Gerber's website. Indeed, as



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U.S. 95, 105, 103 S.Ct. 1660, 75 L.Ed.2d 675 (1983)). “The           claim made in defendant's advertising or labeling-from their
threat of injury must be sufficiently real and immediate,            claim which they maintain is premised upon allegations
and, as a result of the immediacy requirement, past exposure         that competent scientific evidence demonstrates that claims
to illegal conduct does not in itself show a present case            made by a defendant are objectively false. (PL's Opp'n. 9).
or controversy regarding injunctive relief. if unaccompanied         Accordingly, they argue that the scientific evidence to which
by any continuing, present, adverse effects.” Id. (internal          they point supports their allegations of false advertising.
citations and quotations marks omitted). The Court agrees            (PL's Opp'n. 8–9). They concede, however, that their claims
with Defendant that in this instance, no Plaintiff alleges that      are not viable to the extent that it is premised upon a lack
he or she is likely to “suffer future injury from the defendant's    of substantiation theory. Therefore, to the extent Plaintiffs'
conduct [and in] the class action context, that requirement          claims are based on a lack of substantiation theory, they are
must be satisfied by at least one named plaintiff.” Id.; see
                                                                     dismissed with prejudice.     Franulovic v. Coca–Cola Co.,
also Dicuio v. Brother Intern. Corp., Civ. No. 2012 WL
                                                                     390 F. App'x. 125, 128 (3d Cir.2010); Scheuerman v. Nestle
3278917, at * 15 (D.N.J. Aug. 9, 2012) (“[I]t is not enough
                                                                     Healthcare Nutrition, Inc., Nos. 10–3684, 10–5628, 2012 WL
that other, non-named members of the class may intend to
                                                                     2916827, at *6–7 (D.N.J. Jul.17, 2012).
purchase [the product] in the future.”). Therefore, the Court
dismisses without prejudice Plaintiffs' claim for injunctive
                                                                      *8 Gerber additionally argues that Plaintiffs may not rely
relief. Dicuio, 2012 WL 3278917, at * 14–16; Robinson v.             on a lack of substantiation theory to “so easily sidestep
Hornell Brewing Co., Civ. No. 11–2183, 2012 WL 1232188,              their obligation to allege facts demonstrating falsity in order
at *3–7 (D .N.J. Apr. 11, 2012).                                     to survive a motion to dismiss.” (Def.'s Mot. 2). However,
                                                                     as discussed above, Plaintiffs do cite a number of studies
                                                                     and reports and allege in detail that those relied upon by
B. False or Misleading Advertising                                   Defendant in its marketing are false or misleading. (Pl's
In essence, Gerber maintains that the Products' marketing is         Opp'n. 6–8). Thus, Plaintiffs do not merely assert that no
not deceptive or misleading as a matter of law. Defendant            credible science supports Defendant's claims; rather, they
submits that the law of New Jersey, California, New York,            allege that the representations regarding the Products are
and Washington requires that allegedly false advertisements
must have the capacity to mislead the average consumer.              affirmatively false. Hughes v. Ester C Co., ––– F.Supp.2d
(Def.'s Mot. 6–7). Similarly, Defendant contends that the law        ––––, 2013 WL 1080533, at *13 (E.D.N.Y. Mar.15, 2013).
of Illinois requires a plaintiff to allege that he was deceived
and that deception caused him damages.” (Def.'s Mot. 7).             Notwithstanding, Gerber argues that “Plaintiffs' reliance
Accordingly, Gerber argues that Plaintiffs' false advertising        on these studies is misplaced: the studies either confirm
claim is deficient due to the following: (1) Gerber's Good Start     the immunity benefits of Gerber's probiotic formula and
Formula Products are not marketed as an equivalent of breast         cereal products ... or are entirely irrelevant. Merely citing
milk; (2) Plaintiffs' lack of substantiation allegations are not     a gaggle of studies might create the appearance of factual
viable; and (3) the cited studies are either irrelevant or confirm   issues, but in this case the tactic does not withstand even
the advertised healthy immune system benefits.                       minimal scrutiny-it was rejected in a very recent decision
                                                                     and should likewise be rejected again here.” (Def.'s Mot.
Defendants argue that private individuals may not bring              3) (citing    Route, 2013 WL 658251, at *5). The Court
an action demanding substantiation for advertising claims.           concludes that Route is distinguishable from this case. In
(Def.'s Mot. 9). In Opposition to this instant motion, Plaintiff     Route, the court characterized plaintiff's allegations of falsity
asserts that: “Gerber casts Plaintiffs' case as something it is      as based on allegations that: “(1) one paper discusses both
not-a ‘lack of substantiation case'-and then contends the re-        the evidence supporting the advertisement's claim and the
defined case must be dismissed.” (Pls.’ Opp'n. 1). Rather,           evidence that doesn't support it, (2) unidentified experts
Plaintiffs clarify that their claim is based on Defendant's          and studies have shown that the advertisement's claims
alleged false and deceptive marketing regarding “probiotic”          are false, and (3) [p]laintiff subjectively believes that the
bacteria which is alleged to not perform as advertised. (Pl's
                                                                     advertisement's claims are false.” Route, 2013 WL 658251
Opp'n. 1) (citing SAC ¶¶ 64–65, 67–69, 78, 93). Plaintiffs
                                                                     at *5. In this case, however, Plaintiffs point to a number
distinguish a lack of substantiation argument-where a plaintiff
                                                                     of studies, which they contend have “demonstrated that the
argues that there is no competent evidence to support a
                                                                     bacteria in the Products do not provide any clinically relevant


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immunity benefits. This means that it does not provide these        replac[ing] Gerber's statements promoting breast milk as
benefits, rendering the advertising false or misleading.” (PL's     the ‘ideal’ source of nutrition for babies with ‘dot-dot-
Opp'n. 12) (internal citations omitted). The parties dispute        dot. Gerber should focus on being more accurate and less
the reliability and findings of certain studies, as well as the     accusatory.’' (Pls.' Opp'n. 4) (internal citations omitted,
applicability of same to infants and children who consume           alteration in original). Plaintiffs quote allegations in the SAC
the Products at issue. In this regard, however, the Court           at length and clarify that the substance of their claim is that:
agrees with Plaintiffs that it is not appropriate to consider the   despite touting the benefits of probiotic cultures in Good
content of the studies and resolve the factual issues at this       Start which are “like those naturally promoted by breast
stage of the litigation. Indeed, in arguing that other courts       milk to support an infant's healthy immune system,” those
have rejected similar claims, Defendant relies on two cases         claims are allegedly contrary to scientific evidence which
that involved motions for summary judgment. (Def.'s Mot.            demonstrates that “formula supplemented with probiotics
17–18) (citing Scheuerman v. Nestle Healthcare Nutrition,           does not provide breast milk-quality nutrition.” (PL's Opp'n.
Inc., Nos. 10–3684 and 10–5628, 2012 WL 2916827, at *               2, 4–5). Therefore, Plaintiffs explain that they “never
                                                                    allege that Gerber advertises that Good Start is better than
7 (D.N.J. Jul.17, 2012) 7 ;      Stanley v. Bayer Healthcare,
                                                                    breast milk. Instead, Plaintiffs allege that Gerber falsely or
LLC, No. 11–862, 2012 WL 1132920, at * 5 (S.D.Cal. April
                                                                    deceptively equates Good Start to breast milk.” (PL's Opp'n.
3, 2012). Therefore, the Court declines to hold that Gerber's
                                                                    3). Stated another way, Plaintiffs allege that “Gerber clearly
representations regarding purported immune system benefits
                                                                    holds out breastfeeding as the gold standard, and then (falsely)
are neither false, deceptive, nor misleading.
                                                                    equates Good Start to that gold standard.” (PL's Opp'n. 4).
                                                                    Accordingly, Plaintiffs argue “that this is not the ‘rare’ case
   a. Equivalence of Breast Milk                                    where an advertisement can be declared not deceptive as a
 *9 The Court now turns to whether a reasonable                     matter of law.” (PL's Opp'n. 5) (citing  Williams v. Gerber
consumer could find Gerber's representations regarding the          Prods. Co., 552 F.3d 934, 938 (9th Cir.2008)).
products misleading. Gerber maintains that it “endorses
breast milk in the clearest of terms on its products                The Court notes that whether a practice is deceptive
and its website as the ideal source of nutrition for                or misleading is generally a question of fact. See e.g.
babies.” (Def.'s Mot. 7, see also 8). Further, Defendant
asserts: “Remarkably, Gerber's statements-which eviscerate             Williams, 552 F.3d at 938–39 (“whether a practice is
plaintiffs' breast milk equivalence claim-are carefully edited      deceptive, fraudulent, or unfair is generally a question of fact
                                                                    which requires ‘consideration and weighing of evidence from
out of the SAC.” (Def.'s Mot. 8). 8 Specifically, Defendant
                                                                    both sides' “ and usually cannot be resolved through a motion
points to the use of ellipses in place of the word “ideal”
throughout the SAC and writes: “Is this really how lawyers          to dismiss); Union Ink Co. v. AT & T Corp., 352 N.J.Super.
should state a claim? Alleging a fraud only by deleting the         617, 645, 801 A.2d 361 (App.Div.2002) (“Whether the
truth? The Court should not approve such tactics.” (Def.'s          advertisements contained material misstatements of fact, or
                                                                    were merely puffing, as alleged by defendants, presents
Mot. 9) (citing     Pernod Ricard USA, LLC v. Bacardi U.S.A.,
                                                                    a question to be determined by the trier of fact.”). Here,
Inc., 653 F.3d 241, 253 (3d Cir.2011);        Freeman v. Time,      Plaintiffs allege that in light of the fact that “experts
                                                                    unanimously agree that breast milk is best for infants,” Gerber
Inc., 68 F.3d 285, 290 (9th Cir.1995)); see also    Route v.
                                                                    adds ingredients to the Products in order to “claim through
Mead Johnson Nutrition Co., 2013 WL 658251. Defendant
                                                                    its marketing and advertising campaign and package labeling
argues that it clearly and unmistakably endorses breast milk
                                                                    that the Products possess nutritional qualities that are nearly
as the ideal nutrition for babies. 9 However, the parties do not
                                                                    equivalent to those of breast milk,” despite the fact that
dispute that the appropriate inquiry is whether a reasonable
                                                                    scientific evidence demonstrates that “breast milk provides
person would be misled by the overall advertising. (Pls.'
                                                                    unique nutritional benefits that Defendant's Products do not
Opp'n. 3, n. 2.; Def.'s Reply 3).
                                                                    provide.” (SAC ¶ 11,14).

In their Opposition, Plaintiffs write: “With overblown
                                                                     *10 Notwithstanding, as discussed above, Plaintiffs only
and false indignation, Gerber accuses Plaintiffs of ‘the
                                                                    establish standing to assert claims based on the alleged
consummate blue smoke and mirrors' by ‘repeatedly
                                                                    misrepresentations on the Products' labeling. However, the



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allegedly deceptive or misleading practice on which Plaintiffs
base their claims is the overall marketing of the Products,              IV. CONCLUSION
which includes both the labeling as well as many other                For the reasons set forth above, Defendant's motion is
aspects of Gerber's marketing/advertising. Stated another             GRANTED. The SAC only establishes standing to sue for
way, Plaintiffs do not assert independent claims based on the         injuries caused by the alleged misrepresentations on the
Product's labeling alone.                                             Products' labels. However, as Plaintiffs premise their claims
                                                                      on Defendant's overall marketing message and assert no
In addition, both parties rely on representations of Defendant's      independent claims based on the labeling of the Products
overall marketing message in both the advertising as well as          alone, they do not clearly allege a plausible right to relief.
the labeling of the Products in support of their arguments. For       In addition, Plaintiffs do not allege a plausible future injury
example, throughout Plaintiffs' brief, they point to concrete         which could suffice as a basis for injunctive relief in the Third
examples of misleading statements from press releases and             Circuit. Accordingly, the Court dismisses the SAC without
the website in the SAC. Plaintiffs also refer to Defendant's          prejudice. However, the Court dismisses with prejudice
“misrepresentations” without specifying the source. (See e.g.         Plaintiffs' claims to the extent that they are premised upon a
SAC ¶ 66). Also, they allege that a reasonable consumer               lack of substantiation theory.
would not have purchased the Products but for the alleged
misrepresentations and that Plaintiffs have paid a premium for         *11 If Plaintiffs choose to amend, the Court advises the
doing so. (SAC ¶ 104). Further, in responding to Defendant's          parties of the following in light of the Court's inherent
argument that Plaintiffs have not alleged that a reasonable           authority to manage its cases and docket. Plaintiffs assert
consumer is “likely to be deceived” under California law,             claims for breach of express warranty, breach of implied
Plaintiffs point to the following which exemplifies the issue:        warranty, and unjust enrichment without specifying which
                                                                      state or states' laws they seek to invoke. As a general matter,
  Gerber expressly advertises that Good Start contains                absent a conflict, a court sitting in diversity applies the law of
  probiotics, which makes Good Start a near-equivalent to
                                                                      the forum state.     Erie Railroad v. Tompkins, 304 U.S. 64,
  breast milk. For example, in one press release, Defendant
  stated “Nestle believes that GOOD START formula                     58 S.Ct. 817, 82 L.Ed. 1188 (1938);    Klaxon Co. v. Stentor
  provides mothers, who cannot or who choose not to                   Elec. Mfg., 313 U.S. 487, 496, 61 S.Ct. 1020, 85 L.Ed. 1477
  breastfeed, a healthy breast milk alternative.” SAC ¶               (1941); see Huber v. Taylor, 469 F.3d 67, 74 (3d Cir.2006).
  44; see also ¶ 12 (Good Start contains probiotics “like             Choice of law analysis must also be applied in the class action
  those promoted by breast milk”), ¶ 40 (same), ¶ 41                  context. Phillips Petroleum v. Shutts, All U .S. 797 (1985).
  (“This breakthrough product is the first and only older-            Accordingly, the parties should make clear which law they
  baby formula in the U.S. with the probiotic, BIFIDUS                contend applies, to the extent possible given the posture of
  BL-beneficial cultures like those found in breast milk              the litigation, for purposes of determining plausibility and
  that help support babies' immune system.”), ¶ 57 and ¶              otherwise.
  59 (product packaging and labeling), ¶¶ 60–62 (Gerber
  website, including a FAQ “How does GOOD START                       In addition, Plaintiffs assert causes of action under the
  Protect compare with breast milk?”), ¶ 63 (tv ad).                  consumer fraud and false advertising statutes of a number
                                                                      of States. To the extent that any of the parties make general
(Pls.' Opp'n. 29). To be sure, the Court does not suggest
                                                                      arguments regarding those claims, they should exercise
that Plaintiffs may never refer to Defendant's collective
                                                                      caution to ensure that those arguments are indeed applicable
misrepresentations in the SAC. However, as determined
                                                                      to all claims and make clear where they are not. For example,
above, Plaintiffs only have standing to assert claims based on
                                                                      Defendant argues that dismissal is warranted because “not
the labeling of the Products. In light of the fact that Plaintiffs'
                                                                      one of the nine named plaintiffs identifies the advertisements
claims are premised on Gerber's overall marketing campaign,
                                                                      on which he relied or how that advertisement influenced
the Court cannot determine whether Plaintiffs state a plausible
                                                                      the purchasing decision.” (Def.'s Mot. 3–4; see also 19–20).
right to relief based on the representations contained on the
                                                                      However, the Court notes that while almost all of the relevant
Products' labels alone. Accordingly, the Court dismisses the
                                                                      statutes require a plaintiff to satisfy the heightened pleading
SAC without prejudice.
                                                                      standards of 9(b), Defendants do not address which of the
                                                                      state consumer protection statutes at issue require individual



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                                                                     the parties should organize their briefs in a manner which
reliance. 10 Defendant also argues that Plaintiffs fail to satisfy
                                                                     makes clear to which elements Rule 9(b) applies and which
Rule 9(b) because they do not allege the “premium” they
                                                                     of their arguments are generally applicable.
allegedly paid. However, Defendants do not explain why this
is fatal to state claims in light of the essential elements of
                                                                     An appropriate Order accompanies this Opinion.
each. For example, Defendants address the “ascertainable
loss” requirement in the New Jersey Consumer Fraud Act 11
at length but make no similar arguments regarding the laws           All Citations
of other states. Therefore, as the essential elements of the
                                                                     Not Reported in F.Supp.2d, 2013 WL 4517994
relevant consumer fraud and false advertising statutes vary,




                                                             Footnotes


1       The following plaintiffs assert claims in the SAC: Maria Alvarez, Ryan Burns, Irene Dourdoulakis, Chad
        Ginger, Shavonda Hawkins, Joven Jose, Andrew Rudich, Saba Siddiqi and Janna Thomas. (SAC ¶¶ 23–
        31) (collectively “Plaintiffs”).
2       Defendant explains:
          This case began when ten separate nationwide class actions were filed in six different District Courts
          between February and April 2012. On June 7, 2012, the five then-pending New Jersey cases were
          consolidated and a single consolidated complaint was filed. Dkt. No. 28. On October 16, 2012, the Judicial
          Panel on Multidistrict Litigation denied consolidation of all pending cases in the District of Washington.
          In re Gerber Probiotic Prods. Mktg and Sales Practices Litig., ––– F.Supp.2d ––––, 2012 WL 495523
          (J.P.M.L. Oct. 16, 2012). Following that ruling, the California plaintiffs consolidated their actions, and Gerber
          moved to transfer the two remaining non-New Jersey actions to this Court pursuant to 28 U.S.C. § 1404(a).
          Both courts determined that the paramount 1404 factors (avoiding duplication, fostering judicial economy
          and conserving limited judicial resources) weighed in favor of transfer.              Burns v. Gerber Prods. Co.,
          922 F.Supp.2d 1168, 2013 WL 518664 (E.D.Wash. Feb.12, 2013);               Hawkins v. Gerber Prods. Co.,
          924 F.Supp.2d 1208, 2013 WL 627066 (S.D.Cal. Feb.20, 2013). The Second Amended Consolidated
          Complaint (Dkt.48) was filed on April 10, 2013.
        (Def.'s Mot. 1 n. 1).
3       The Court agrees with Plaintiffs that this argument goes to the merits of the claim. “Although standing in no
        way depends on the merits of the plaintiff's contention that particular conduct is illegal, it often turns on the
        nature and source of the claim asserted. The actual or threated injury required by Art. III may exist solely by
        virtue of statutes creating legal rights, the invasion of which creates standing.”   Warth v. Seldin, 422 U.S.
        490, 500, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975) (internal citations and quotations omitted). To the extent that
        a state consumer statute or other cause of action requires a showing of same, it would be more appropriate
        to address Defendant's arguments within the context of that discussion. The Court notes, however, that it
        does not reach Defendant's argument that Plaintiff fails to plead certain essential elements of their consumer
        fraud claims.
4       Even under the more exacting standard of Rule 9(b), courts in this District have held that an exact dollar
        amount is not required to plead an ascertainable loss under the New Jersey Consumer Fraud Act.                 Nelson
        v. XACTA 3000 Inc., No. 08–5426, 2010 WL 1931251, at *7 n. 3 (D.N.J. May 12, 2010); Torres–Hernandez
        v. CVT Prepaid Solutions, Inc., No. 08–1057, 2008 WL 5381227, at *7 n. 3 (D.N.J. Dec.17, 2008)




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5      The parties do not dispute that most of Plaintiffs' false advertising claims asserted under state statutes,
       including New Jersey, Illinois, California, and Washington, must meet the heightened pleading requirements
       of Federal Rule of Civil Procedure 9(b). (Def.'s Mot. 3; Def.'s Reply 9).
6      For the sake of completeness, it is worth noting that in In re Toshiba the court concluded that the plaintiff's
       allegations regarding ascertainable loss and causation under the NJFCA satisfied neither Rule 8(a) or 9(b).
          2009 WL 2940081, at *13.
7      The Court notes for the sake of completeness that Scheuerman disposed of both a motion to dismiss and
       a motion for summary judgment. 2012 WL 2916827, at *7. However, in concluding that the plaintiffs' claims
       premised upon false or misleading statements were insufficient, the court considered evidence adduced
       throughout discovery as well as opinions of experts. Id. at 7–9.
8      The parties do not dispute that the Court may properly consider the contents of the advertisings upon which
       Plaintiffs base their claims in deciding the instant motion to dismiss. (Def.'s Mot. 8) (citing       Am. Cyanamid
       Co. v. S.C Johnson & Son, Inc., 729 F.Supp. 1018, 1021–22 (D.N.J.1989)).
9
       In its Reply, Defendant further argues that Plaintiffs fail to distinguish     Route v. Mead Johnson Nutrition
       Co., 2013 WL 658251. (Def.'s Reply 5). That case also involved allegedly misleading representations made
       in connection with the marketing of baby formula. Defendants point to the following language from a footnote
       in that case: “[I]t appears that Plaintiff would have this Court find that anytime baby formula is advertised as
       providing health benefits analogous to those found in breast milk, the advertisement is misleading. This surely
       cannot be.” (Def.'s Reply 5) (quoting     Route, 2013 WL 658251, at *5 n. 6) (emphasis added by Defendant).
       Notably, the decisions of other district courts are not binding on this court. In any event, here Plaintiffs allege
       that in light of the fact that “experts unanimously agree that breast milk is best for infants,” Gerber adds
       ingredients to the Products in order to “claim through its marketing and advertising campaign and package
       labeling that the Products possess nutritional qualities that are nearly equivalent to those of breast milk,”
       despite the fact that scientific evidence demonstrates that “breast milk provides unique nutritional benefits
       that Defendant's Products do not provide” (SAC ¶ 11, 14).
10     Defendant cites this Court's Opinion in another case for the proposition that “ ‘general exposure to, and
       reliance upon, some advertisements, is insufficient to survive [the] heightened scrutiny’ of Rule 9(b).” (Def.'s
       Br. 20) (quoting Gray v. Bayer Corp., No. 08–4716, 2009 WL 1617930, at *3 (D.N.J. June 9, 2009) (Linares,
       J.) (no alteration supplied). The Court notes, however, that the excerpt to which Defendant points related to
       the Court's discussion of Rule 9(b) with regard to negligent and intentional misrepresentation, which require
       a plaintiff to allege and prove reliance upon a defendant's misrepresentations. 2009 WL 1617930, at *3.
11
       See e.g.   Int'l Union of Operating Eng'rs Local No. 68 Welfare Fund v. Merck & Co., 192 N.J. 372, 929 A.3d
       1076, 1086 (N.J.2007). (In order to state a claim under the NJCFA, a plaintiff must allege the following: (1)
       unlawful conduct; (2) an ascertainable loss; and (3) a causal relationship between the defendant's unlawful
       conduct and the plaintiff's ascertainable loss.)


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                             TAB 13
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                                                               medical corporation with its principal place of business in
                                                               New Jersey. Defendant Delaware Valley was owned and
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                                                               controlled by Defendant Lipnack, who currently resides in
    Only the Westlaw citation is currently available.
                                                               and is a citizen of Florida. (Id.) Defendant Lipnack was
              NOT FOR PUBLICATION
                                                               licensed to practice medicine in New Jersey through 2015, at
     United States District Court, D. New Jersey,
                                                               which point his license expired. (Id.)
                  Camden Vicinage.

             GOVERNMENT EMPLOYEES                              Plaintiffs’ complaint is expansive: at 279 pages in length
           INSURANCE CO., et al., Plaintiffs,                  and with numerous defendants, many of whom have been
                         v.                                    dismissed from the case, it defies easy summarization (and,
                                                               as we'll see, faces some procedural defects which only add to
              PENNSAUKEN SPINE AND
                                                               this difficulty). But the following points appear to be at issue.
            REHAB P.C., et al., Defendants.

              Civil No. 17-11727 (RBK/KMW)                     Defendants provided medical care to persons injured in
                              |                                automobile accidents. After treating their patients, they
                    Signed 08/06/2018                          would then charge Plaintiffs for reimbursement of any
                                                               expenditures related to their care. (Id. at 111.) Plaintiffs
Attorneys and Law Firms                                        assert that Defendants engaged in illegal quid pro quo
                                                               relationships with other doctors and health clinics around
Gene Y. Kang, John J. Robertelli, Rivkin Radler, LLP,          the state and paid these third parties for each referral. (Id.
Hackensack, NJ, Michael Vanunu, Rivkin Radler LLP,             at 256.) Defendant Lipnack, it is alleged, would often refer
Uniondale, NY, Plaintiffs.                                     patients to facilities in which he had an ownership interest.
                                                               (Id. at 204–10.) After making these referrals—both self-
Andrew S. Brown, William M. Tambussi, Brown & Connery,
                                                               referrals and tit-for-tat referrals—Defendants would perform
LLP, Westmont, NJ, Thomas F. Flynn, III, Flynn &
                                                               unnecessary and illusory procedures and practices for injuries
Associates, P.C., Cherry Hill, NJ, for Defendants.
                                                               that, in Plaintiffs’ view, were not serious enough to warrant
                                                               the treatment they received. (Id. at 144.) Plaintiffs allege
                                                               Defendants never administered the procedures and practices
                        OPINION
                                                               for which they charged Plaintiffs, choosing instead to charge
ROBERT B. KUGLER, United States District Judge                 for the procedures and then pocket the money. (Pl. Br. at 12.)
                                                               Plaintiffs also allege that Defendants knowingly performed
 *1 This matter comes before the Court upon the motion         these medically unnecessary procedures, when they were
for default judgment (ECF No. 25) of Plaintiffs GEICO          performed at all. They also charge that Defendants sought
Casualty Company, GEICO General Insurance Company, and         reimbursements above and beyond the cost of providing
GEICO Indemnity Company against Defendants Delaware            care through devices such as “unbundling”—separating and
Valley Physical Medicine Associates, P.C. and Eric Lipnack.    charging the same procedure multiple times under different
Defendants have also moved to vacate the clerk's entry of      billing codes—and fraudulent billing. (Id.; see also Compl. at
default. (ECF No. 33.) For the reasons set forth below,        195, 252.)
Plaintiffs’ motion for default judgment is DENIED and
Defendants’ motion to vacate the clerk's entry of default is   Plaintiffs bring several claims. First, they contend that
GRANTED.                                                       Defendants were not in compliance with the New Jersey
                                                               Insurance Fraud Prevention Act (“NJIFPA”) because
                                                               Defendants would routinely engage in “illegal referral and
   I. BACKGROUND AND PROCEDURAL HISTORY                        self-referral”; purport to provide and bill for “medically
Plaintiffs are Maryland corporations whose principal places    unnecessary” and illusory care; and “inflate, exaggerate, and
of business are in Chevy Chase, Maryland and are authorized    misrepresent” their charges. (Id. at 256.) Plaintiffs argue
to issue automobile insurance policies in New Jersey.          that Defendants repeatedly and systematically engaged in
(Compl. at 5.) Defendant Delaware Valley Physical Medicine     a pattern of illegal behavior that injured them. Second,
Associates, P.C. (“Delaware Valley”) is a professional         Plaintiffs advance a common law fraud claim, arguing



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that Defendants submitted thousands of fraudulent billings          1178, 1180–81 (3d Cir. 1984). Default judgment, and the
and charges on which Plaintiffs relied when making                  dismissal that accompanies it, “must be a sanction of last,
reimbursement payments to Defendants. (Id. at 273.) Finally,        not first, resort.” Carter v. Albert Einstein Med. Ctr., 804 F.
Plaintiffs advance a claim of unjust enrichment against
                                                                    805, 807 (3d Cir. 1986) (quoting      Poulis v. State Farm
Defendants, asserting that they were unfairly enriched as a
                                                                    Fire and Casualty Co., 747 F.2d 863, 867 (3d Cir. 1984)
result of allegedly false, improper, and unlawful acts. (Id.
                                                                    ). Consequently, the Court must address a number of issues
at 275.) For these claims, Plaintiffs seek $3,900,000.00 in
                                                                    before deciding whether a default judgment is warranted.
damages.

 *2 Plaintiffs filed their original complaint (ECF No. 1) on          III. DISCUSSION
November 16, 2017, naming eleven individuals and entities,
including Defendants. Summons were properly issued to each
                                                                                    A. The Court's Jurisdiction
named party on November 17, 2017. (ECF No. 3.) Plaintiffs
dismissed their claims against the nine parties aside from          First, this Court must determine whether it has both subject-
the instant Defendants on January 22, 2018 and on June              matter jurisdiction and personal jurisdiction over Defendants.
12, 2018. (ECF Nos. 26 and 51.) Defendants failed to file           See U.S. Life Ins. Co. in N.Y.C. v. Romash, Civ. No. 09-3510,
an answer by January 2, 2018, the deadline set forth in the         2010 WL 2400163, at *1 (D.N.J. June 9, 2010).
summons, at which point Plaintiffs filed a request for default.
(ECF No. 23.) On January 4, 2018, the clerk of court entered
default against Defendants. (Id.) Plaintiffs moved for default      Here, the Court's jurisdiction is invoked pursuant to       28
judgment on January 17, 2018. (ECF No. 25.) Defendants’             U.S.C. § 1332(a)(1) and           § 1367. The amount in
counsel entered an appearance on February 5, 2018 and               controversy exceeds $75,000 and Plaintiffs and Defendants
sought an extension to reply, which this Court granted on           are residents of different states, fulfilling the requirements
February 30, 2018. (ECF No. 30.) Defendants then timely
                                                                    of   § 1332. Additional claims that fail to meet the
filed a brief opposing Plaintiffs’ motion for default judgment
                                                                    amount in controversy requirement are properly supplemental
on February 20, 2018. (ECF No. 32.)
                                                                    under     § 1367. Therefore, this Court has subject-matter

  II. STANDARD FOR DEFAULT JUDGMENT                                 jurisdiction. Venue is also proper pursuant to 28 U.S.C. §
                                                                    1391(b), as the Defendants are residents within the District
    Federal Rule of Civil Procedure 55(b)(2) allows the Court,      of New Jersey, where a “substantial part of the events or
upon a plaintiff's motion, to enter default judgment against a      omissions giving rise to the claim occurred.”
defendant that has failed to plead or otherwise defend a claim
for affirmative relief. The Court should accept as true all well-
pleaded factual allegations in the complaint by virtue of the
defendant's default except for those allegations pertaining to                          B. Entry of Default

damages.      Chanel, Inc. v. Gordashevsky, 558 F. Supp. 2d         Second, the Court must ensure that entry of default under
532, 536 (D.N.J. Apr. 7, 2008) (citing       Comdyne I, Inc. v.         Rule 55(a) was appropriate. Rule 55(a) directs the clerk
Corbin, 908 F.2d 1142, 1149 (3d Cir. 1990) ). The Court also        of court to enter default when the party “against whom a
does not adopt a plaintiff's legal conclusions because whether      judgment for affirmative relief is sought has failed to plead
the facts set forth an actionable claim is for the Court to         or otherwise defend, and that failure is shown by affidavit or
decide. Doe v. Simone, Civ. No. 12-5825, 2013 WL 3772532,           otherwise....” In this case, Defendants were properly served
at *2 (D.N.J. July 17, 2013).                                       with Plaintiffs’ summonses on November 17, 2017 and failed
                                                                    to answer or defend the action by the date set by the Court, at
While the decision to enter default judgment is left principally    which point the clerk appropriately issued the entry of default
to the discretion of the district court, there is a well-           on January 4, 2018.
established preference in the Third Circuit that cases be
decided on the merits rather than by default judgment
whenever practicable.       Hritz v. Woma Corp., 732 F.2d


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                                                                   v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotations and
                                                                   citations omitted), the full scope of the claims within it are
               C. Fitness of Defendants to be
                                                                   somewhat uncertain.
               Subject to Default Judgment

 *3 Third, this Court must confirm that the defaulting             To put it simply: Plaintiffs play fast and loose with the
parties are not infants or incompetent persons, or persons         requirements of the Federal Rules of Civil Procedure. Rule
in military service exempted from default judgment. See            8(c) requires a complaint to contain “a short and plain
                                                                   statement of the claim showing that the pleader is entitled to
   Fed. R. Civ. P. 55(b)(2); 50 U.S.C.A. § 501 et seq. (2006)
                                                                   relief.” Yet this complaint may be fairly labeled sprawling
(codification of the Servicemembers Civil Relief Act of
                                                                   and inscrutable; among its vices, it frequently incorporates
2003). In this case, it appears to the Court that Defendants
                                                                   previous references, leading to computationally impossible
are not infants, incompetent, or active duty members of the
                                                                   statements. A model example may be found on page 275
United States military. Plaintiffs obtained a certificate from
                                                                   in Count Fifteen, paragraph 674, which incorporates “each
the United States Department of Defense Manpower Data
                                                                   and every allegation in paragraphs 1 through 673 above.”
Center indicating that Defendant Lipnack does not serve in
                                                                   This is apparently inclusive of hundreds of sub-paragraphs
the military. (Decl. of Gene Y. Kang, Ex. A.)       Rule 55(b)     and, indeed, all previous fourteen counts, which, of course,
(2) is satisfied.                                                  incorporate the previous counts, resulting in a logarithmic
                                                                   expansion of paragraphs as each count incorporates previous
                                                                   incorporations that themselves incorporated incorporations.
                                                                   Each successive count thus snowballs into a blizzard of
               D. Plaintiffs’ Causes of Action
                                                                   theories, facts, allegations, and claims which must be
Fourth, the Court must determine whether Plaintiffs’               shoveled away before the blob beneath the snowbank reveals
complaint states a proper cause of action against Defendant.       itself as a car, house, or plausible insurance dispute.
In performing the inquiry into a cause of action, the Court
accepts as true a plaintiff's well-pleaded factual allegations     This practice flouts Rule 8, which does not countenance
while disregarding its mere legal conclusions. See DirecTv,        enigma: “shotgun pleadings”—or snowball pleadings, as is
Inc. v. Asher, Civ. No. 03-1969, 2006 WL 680533, at *1             the case here—are verboten. See, e.g.,        Weiland v. Palm
(D.N.J. Mar. 14, 2006) (citing Wright & Miller, Federal            Beach Cty. Sheriff's Office, 792 F.3d 1313, 1323 (11th Cir.
Practice and Procedure § 2688, at 58–59 (3d ed. 1998) ).           2015) (surveying and decrying the practice of “shotgun
                                                                   pleading” and its sundry forms, including where a complaint's
Whatever else they may be, Plaintiffs’ causes of action            counts incorporate by reference the allegations of previous
are cognizable. Plaintiffs assert three separate claims            counts, “leading to a situation where most of the counts ...
against Defendants: (1) violation of the NJIFPA; (2)               contain irrelevant factual allegations and legal conclusions”);
common law fraud; and (3) unjust enrichment. Plaintiffs            Litwak v. Tomko, Civ. No. 3:16-0446, 2017 WL 4151178, at
maintain that Defendants engaged in a system of fraudulent         *5 (M.D. Pa. Sept. 19, 2017) (“a pleading ... that intermingles
referrals for “medically unnecessary, illusory, and otherwise      a wide number of claims based on a variety of legal theories ...
unreimbursable healthcare services.” (Repl. Br. at 10.) These
                                                                   runs afoul of the Federal Rules.”);        Lapella v. City of
illegitimate referrals, as alleged, violated not only the
                                                                   Atl. City, Civ. No. 10-2454 (JBS/JS), 2012 WL 2952411, at
NJIFPA, but also constituted common law fraud. (Id. at 13.)
                                                                   *5 (D.N.J. July 18, 2012) (“By incorporating all preceding
As a result of a system of fraudulent referrals, Plaintiffs hold
                                                                   allegations into each count, Plaintiffs engage in shotgun
that Defendants were unjustly enriched at Plaintiffs’ expense.
                                                                   pleadings that obfuscate her claims and defy the mandate of
(Id. at 18–19.)
                                                                   Rule 8, denying Defendants of the fullest extent of notice
                                                                   to which they are entitled.”). At 279 pages, with additional
As this Court finds, for other reasons below, that default
                                                                   attached exhibits of more than 1,140 pages, the complaint is
judgment is inappropriate, it defers finding whether the
                                                                   a far cry from Rule 8(c)’s requirement of “short and plain
allegations set forth in the complaint are sufficient to state a
                                                                   statement.” This is especially problematic here, as Third
claim against Defendants. While it is true that the complaint
                                                                   Circuit precedent requires this Court to consider Defendants’
offers much more than “labels and conclusions or a formulaic
                                                                   meritorious defenses against Plaintiffs’ complaint. Those
recitation of the elements of a cause of action,”      Ashcroft


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defenses are seriously complicated by the state of the             context, been reluctant to similarly hold in the entry of default
pleadings.                                                         context.” Nat'l Specialty Ins. Co. v. Papa, Civ. No. 11-2798
                                                                   (RMB/KMW), 2012 WL 868944, at *2 (D.N.J. Mar. 14,
                                                                   2012) (citing cases). We find this factor weighs against default
                                                                   judgment. Plaintiffs may challenge the merits of Defendants’
                  E. Chamberlain Factors
                                                                   defenses at a later stage in proceedings.

 *4 Under      Chamberlain v. Giampapa, 210 F.3d 154, 164
                                                                    *5 The second factor also favors Defendants. “Delay in
(3d Cir. 2000), this Court must now consider three factors
                                                                   realizing satisfaction on a claim rarely serves to establish the
—(1) whether the defendant appears to have a meritorious
                                                                   degree of prejudice sufficient to prevent the opening [of] a
defense, (2) whether denial of default would prejudice the
                                                                   default judgment entered at an early stage of the proceeding.”
plaintiff, and (3) whether a defendant's delay is due to
culpable conduct—when deciding whether to enter default               Nationwide Mut. Ins. Co. v. Starlight Ballroom Dance
                               1                                   Club, Inc., 175 F. App'x 519, 523–24 (3d Cir. 2006) (citing
judgment against Defendants.
                                                                       Feliciano v. Reliant Tooling Co., 691 F.2d 653, 656–57
The first factor weighs against the entry of default judgment.     (3d Cir. 1982) ). Although Starlight Ballroom addresses a
“The showing of a meritorious defense is accomplished              different issue than the one the Court addresses today —i.e.,
when allegations of defendant's answer, if established at trial,   the opening of a default judgment rather than the entry of one
                                                                   —Chamberlain and Hill hold that it is as applicable to the
would constitute a complete defense to the action.” United
                                                                   entry of a default judgment as it is to the vacation of a default
States v. $55,518.05 in U.S. Currency, 728 F.2d 192, 195
                                                                   judgment. Defendants have entered an appearance and have
(3d Cir. 1984) (internal quotations and citation omitted).
                                                                   opposed this motion. Plaintiffs’ delay in satisfaction, should
Defendants’ opposition brief sets forth four defenses to the
                                                                   they prevail, is not so prejudicial that it supports entering
allegations asserted by Plaintiff. In addition, Defendants’
                                                                   default judgment.
answer—attached to their opposition brief instead of being
filed separately, as should be done—categorically denies 679
                                                                   Finally, the Court must consider the culpability of the
paragraphs of allegations in the complaint and sets forth 15
                                                                   defaulting party. Culpable conduct “is conduct that is ‘taken
more defenses. The Court finds that they are of sufficient
merit for the purposes of deciding whether to enter default        willfully or in bad faith.’ ”     Chamberlain, 210 F.3d at
judgment. Defendants raise several disputes of material            164 (citation omitted). “Negligence alone cannot sustain a
fact (whose genuineness is impossible to determine at this         default judgment”; willful, intentional, reckless or bad faith
time); contend they did not perform medically unnecessary
                                                                   conduct is required.    Hritz, 732 F.2d at 1183. There is no
procedures and “upcoding”; argue that they are entitled to
                                                                   evidence of anything but, at most, negligence on the part
Personal Injury Protection Arbitration proceedings pursuant
                                                                   of the Defendants’ attorneys. Defense counsel admits that
to    N.J. Stat. Ann. § 39:6A-5; argue that they did not           it was his and his office's failure to not “immediately enter
                                                                   an [sic] appearance and otherwise plead on [Defendants’]
violate the “Cody Law” pursuant to           N.J. Stat. Ann. §
                                                                   behalf.” (Opp'n at 4.) Although defense counsel erred in not
45:9-22.5; and deny violating the New Jersey Insurance
                                                                   responding by the deadline, such a mistake is not imputed
Fraud Prevention Act, N.J. Stat. Ann. § 17:33A-1 et seq.
                                                                   to the client, and it certainly doesn't rise above the level
To be sure, the instant Defendants are not blameless: they
responded to this complaint tardily; their briefing is opaque      of simple negligence. See       Augusta Fiberglass Coatings
and undeveloped; their refutations of the allegations brought      v. Fodor Contracting, 842 F.2d 808, 811 (4th Cir. 1988)
against them are murky and conclusory. But given the               (holding that an attorney's negligent failure to file an answer
diversity of disputes in this case, the millions of dollars        is not imputed to defendant); Momah v. Albert Einstein Med.
at stake, and the complexity of the pleadings, it is simply        Ctr., 161 F.R.D. 304, 308 (E.D. Pa. May 8, 1995) (finding that
inappropriate to enter default judgment when Defendants            counsel's neglectful failure to file a response to an amended
have not had an opportunity to refute the allegations against      complaint did not rise to a culpable level). This factor does
them. For this reason, many courts in this Circuit “have,          not weigh in favor of entering default judgment either.
while recognizing that [a] lack of a meritorious defense is,
by itself, dispositive in the motion to vacate default judgment



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                                                                     653, 656 (3d Cir. 1982) (“Less substantial grounds may be
Thus, under Third Circuit precedent, the Emcasco factors
                                                                     adequate for setting aside a default than would be required
weigh against entering default judgment. The Court therefore
denies Plaintiffs’ motion for the entry of default judgment.         for opening a judgment”);     Meehan v. Snow, 652 F.2d 274,
                                                                     276 (2d Cir. 1981) (“[T]he standard for setting aside the entry

   IV. VACATING DEFAULT                                              of a default pursuant to      Rule 55(c) is less rigorous than
Defendants’ motion to vacate the clerk's entry of default is         the ‘excusable neglect’ standard for setting aside a default
defective: Local Civil Rule 7.2 requires that a motion be            judgment by motion pursuant to Rule 60(b).”); Wright &
accompanied by a Notice of Motion as well as a brief. See,           Miller, supra, § 2692 (“[T]he federal courts are willing to
e.g., Bounasissi v. New York Life Ins. & Annuity Corp., Civ.         grant relief from a default entry more readily and with a lesser
No. 15-7585 (JBS/JS), 2016 WL 852483, at *2 (D.N.J. Mar.             showing than they are in the case of a default judgment.”).
4, 2016). But because it is in the interests of judicial economy
and because Plaintiffs will not be prejudiced as the analysis         *6 The Court has already considered these factors in the
is identical to that of whether to enter default judgment, the       context of whether to enter default judgment, pursuant to
Court will entertain the request.                                    Chamberlain’s instructions, and have concluded the factors
                                                                     do not weigh in favor of entering default judgment. We
A district court may set aside an entry of default for good          likewise find that for the more lenient standard of whether to
                                                                     vacate the clerk's entry of default, the Court must do so, as
cause shown. See        Fed. R. Civ. P. 55(c); see also Fed.
R. Civ. P. 77(c) (“[T]he clerk's action may be suspended or          Plaintiffs have shown the “good cause” required by        Rule
altered or rescinded by the court upon cause shown.”). In            55(c). We will therefore vacate the clerk's entry of default.
exercising its discretion to set aside a default, a district court
must consider (1) whether the plaintiff will be prejudiced;
                                                                        V. CONCLUSION
(2) whether the defendant has a meritorious defense, that
                                                                     For the reasons set forth above, Plaintiffs’ motion for default
is, whether the defendant's allegations, if established at trial,
                                                                     judgment is DENIED and Defendants’ request to vacate the
would constitute a complete defense to the action; and (3)
                                                                     clerk's entry of default is GRANTED. An order follows.
whether the default was the result of the defendant's culpable
conduct. Dambach v. United States, 211 F. App'x 105, 109
(3d Cir. 2006). Motions to set aside a clerk's default “are          All Citations
held to a more lenient standard.” Papa, WL 868944, at *2.
                                                                     Not Reported in Fed. Supp., 2018 WL 3727369
See also     Feliciano v. Reliant Tooling Co. Ltd., 691 F.2d




                                                             Footnotes


1       The applicability of these factors to a motion to enter default judgment is not immediately apparent.
        Chamberlain relied on        United States v. $55,518.05 in U.S. Currency, 728 F.2d 192, 194, (3d Cir. 1984) for
        the proposition that these three factors may be applied in the context of entering a default judgment, but U.S.
        Currency only used these factors for setting aside a default judgment. Chamberlain appears to have been
        the first Third Circuit opinion to have extended the U.S. Currency factors to this context, though several lower
        courts had previously taken the same approach. See, e.g., Metro Commercial Real Estate, Inc. v. Reale, Civ.
        A. No. 95-2382 (ABB), 1995 WL 508207, at *1 (E.D. Pa. Aug. 24, 1995) (extending the test for the setting
        aside of default judgment to the entry of default judgment); Stevens v. Wiggins, Civ. A. No. 90-7038, 1991
        WL 152960, at *1 (E.D. Pa. Aug. 6, 1991) (same). It is worth noting that Chamberlain’s approach has been
        called into question, though not overruled. Judge Rendell, concurring in      Hill v. Williamsport Police Dep't,
        69 F. App'x 49, 50 (3d Cir. 2003), noted that Chamberlain appeared to have merged the analysis of setting
        aside a default judgment with the entering of one, and that “it makes little sense for a plaintiff to be required



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      to demonstrate that the defendant does not have meritorious defenses” when moving for default judgment.
         Hill, 69 F. App'x at 53. Judge Ambro, writing for the majority in Hill, noted that several circuits employed
      significantly different tests. Id. And indeed, most other circuits employ different tests for the entering and
      setting aside of default judgments, in recognition of the different interests at play for each judicial action. See
      generally Wright & Miller, supra, § 2685 (listing factors used by different circuit courts for the entry of default
      judgment). Whatever the merits of these approaches, Chamberlain’s “meritorious defense” test places an
      unusual burden on a defendant when, as here, he opposes the entry of default judgment but must put up a
      substantive defense of his case before any motion practice or discovery begins.


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                             TAB 14
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                                                                           III), breaches of express (Count IV) and implied warranties
                                                                           (Count V) and injunctive relief (Count VI). In the instant
      KeyCite Yellow Flag - Negative Treatment                             matter, Defendant moves to dismiss the Complaint in its
Called into Doubt by Fidelity and Guar. Ins. Underwriters, Inc. v. Omega
                                                                           entirety. For the reasons set forth below, Defendant's motion
Flex, Inc., D.N.J., March 26, 2013
                                                                           is granted as follows: with respect to Counts I (NJCFA)
                   2012 WL 1018842
                                                                           and II (Common Law Fraud), Plaintiff's claims regarding the
               NOT FOR PUBLICATION
                                                                           misrepresentation that Clenbutrx is “certified by science” and
       United States District Court, D. New Jersey.
                                                                           that Clenbutrx is a “dietary supplement” are DISMISSED
          Charles HAMMER, on behalf of herself                             WITHOUT PREJUDICE. The remaining fraud allegations
       and all others similarly situated, Plaintiffs                       —i.e., statements regarding Clenbutrx is the world's fastest,
                                                                           hardest hitting fat incinerator and authentic synergistic blend
                            v.
                                                                           of ingredients—are DISMISSED WITH PREJUDICE. In
    VITAL PHARMACEUTICALS, INC. d/b/a VPX;
                                                                           addition, Counts III (Unjust Enrichment) and VI (Injunctive
     ABC Cos. nos. 1–100; John Does Nos. 1–100;
                                                                           Relief) are DISMISSED WITHOUT PREJUDICE. Lastly,
      XYZ Cos Nos. 1–100; Robert Roes Nos. 1–                              Count IV (Breach of Express Warranty) and Count V
      100, DEF Cos. Nos. 1–100 and John Smiths                             (Breach of Implied Warranty) are DISMISSED WITHOUT
    Nos 1–100 and (fictitious names), Defendants.                          PREJUDICE.

                     Civil Action No. 11–4124.
                                  |                                           I. BACKGROUND
                          March 26, 2012.                                  In addressing Defendant's Motion to Dismiss, this Court must
                                                                           accept as true the allegations contained in the Complaint. See
Attorneys and Law Firms
                                                                           Toys “R” Us, Inc. v. Step Two, S.A., 318 F.3d 446, 457 (3d
Frank V. Floriani, Sullivan, Papain, Block, McGrath &                      Cir.2003); Dayhoff, Inc. v. H.J. Heinz Co., 86 F.3d 1287, 1301
Cannavo, PC, Hackensack, NJ, for Plaintiffs.                               (3d Cir.1996). Thus, the facts recited herein are taken from the
                                                                           Complaint and do not represent this Court's factual findings.
George H. Parsells, McElroy, Deutsch, Mulvaney &
Carpenter, LLP, Morristown, NJ, for Defendants.                            VPX manufactures, markets and sells a line of “dietary
                                                                           supplements” including Clenbutrx. Compl. ¶ 14. Since
                                                                           2006 1 , inter alia, internet advertisements and the product
                             OPINION                                       packaging represented and warranted that Clenbutrx contains
                                                                           “Apple Geranium (Pelargoium odorantissomum) (leaves)
WOLFSON, District Judge.                                                   standardized to 1, 3 Dimethylpentylamine.” Id. ¶ 16. In
                                                                           addition, VPX advertises that Clenbutrx is “certified by
 *1 This putative class action brought by Plaintiff
                                                                           science, backed by the real world, and proven to give you
Charles Hammer (“Hammer” or “Plaintiff”) challenges the
                                                                           mind blowing energy” and that its “authentic synergistic
marketing and sales practices of Liquid Clenbutrx Hardcore
                                                                           blend of ingredients ... leave[s] scientists wondering how
(“Clenbutrx”), a “dietary supplement” manufactured by
                                                                           amazing this stuff is.” Id. ¶ 17. Because of these
Defendant Vital Pharmaceuticals, Inc. d/b/a VPX/REDLINE
                                                                           misrepresentations, Plaintiff purchased Clenbutrx for $29.99.
(improperly pled as Vital Pharmaceuticals, Inc. d/b/a VPX)
                                                                           Id. ¶ 36.
(“VPX” or “Defendant”). In the Complaint, Plaintiff alleges
that Defendant's advertisements and packaging of Clenbutrx
                                                                           1
contained various affirmative misrepresentations concerning                       The Court notes that in Plaintiff's opposition
the supplement that were deceptive and misleading,                                brief, he points out that after being served
that Plaintiff purchased the products pursuant to these                           with the Complaint, Defendant removed “Apple
misrepresentations, and he suffered damages as a result                           Geranium (Pelargonium odorantissomum) (leaves)
thereof. Based on these averments, Plaintiff asserts violations                   standardized to 1, 3 dimethylpentylamine” from the
of the New Jersey Consumer Fraud Act, N .J.S.A. § 56:8–                           ingredients of Clenbutrx, as well as its marketing
1 et seq. (“NJCFA”) (Count I), as well as claims for                              materials. Pl's Opp. Br. at 3. This fact was not
common law fraud (Count II), unjust enrichment (Count                             disputed by Defendant.



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 *2 On July 18, 2011, Plaintiff filed the instant Complaint         On or about September 28, 2011, Plaintiff filed opposition to
against VPX, asserting a violation of the NJCFA, common             Defendant's Motion to Dismiss. Defendant filed a Reply Brief
law fraud, unjust enrichment, and breaches of express and           on or about October 17, 2010.
implied warranties. The genesis of Plaintiff's complaint is
that Defendant's advertisements and packaging of the dietary
supplement, Clenbutrx, contained false and misleading                  II. STANDARD OF REVIEW
                                                                    The Federal Rules of Civil Procedure provide that a complaint
statements which led Plaintiff to purchase such product. 2
                                                                    “shall contain (1) a short and plain statement of the grounds
Specifically, Plaintiff alleges that the various representations
                                                                    upon which the court's jurisdiction depends ... (2) a short
concerning Clenbutrx induced consumers to believe that they
                                                                    and plain statement of the claim showing that the pleader
were purchasing a product containing “apple geranium ...
                                                                    is entitled to relief, and (3) a demand for judgment for the
[standardized] to 1, 3 Dimethylpentylamine.” Id. ¶ 18.
                                                                    relief the pleader seeks.” Fed.R.Civ.P. 8(a). The purpose of a
Contrary to this representation, Plaintiff alleges that, apple
                                                                    complaint is “to inform the opposing party and the court of
geranium, a natural substance, does not normally contain
                                                                    the nature of the claims and defenses being asserted by the
1, 3 Dimethylpentylamine, which is a synthetic laboratory-
                                                                    pleader and, in the case of an affirmative pleading, the relief
produced chemical compound. Id. ¶¶ 20–21. In that regard,
                                                                    being demanded.” Charles Alan Wright & Arthur R. Miller,
Plaintiff complains that he was induced into purchasing
                                                                    Federal Practice and Procedure § 1182 (3d ed.2004).
Clenbutrx, a self proclaimed dietary supplement, when
the supplement actually contains a synthetic compound.
                                                                     *3 When reviewing a motion to dismiss, courts “accept all
Id. ¶ 26. As a result, Plaintiff avers that Defendant's
                                                                    factual allegations as true, construe the complaint in the light
“misrepresentation[ ]” that Clenbutrx “is a ‘DIETARY
                                                                    most favorable to the plaintiff, and determine whether, under
SUPPLEMENT’ “ that contains Apple Geranium has “misled
                                                                    any reasonable reading of the complaint, the plaintiff may be
consumers in general and Plaintiff in particular into believing
                                                                    entitled to relief.” Phillips v. County of Allegheny, 515 F.3d
that ... Clenbutrx ... is a dietary supplement, and as a dietary
                                                                    224, 233 (3d Cir.2008) (citation and quotations omitted). In
supplement contains only dietary ingredients ....“ Id. ¶ 28
                                                                    Bell Atlantic Corporation v. Twombly, 550 U.S. 544, 127 S.Ct.
(emphasis added). In addition, Plaintiff claims that VPX's
                                                                    1955, 167 L.Ed.2d 929 (2007), the Supreme Court clarified
representations that Clenbutrx is “certified by science, backed
                                                                    the 12(b)(6) standard. Specifically, the Court “retired” the
by the real world,” and that “scientists [are] wondering how
                                                                    language contained in Conley v. Gibson, 355 U.S. 41, 45–46,
amazing this stuff is” are false because “[n]o scientist has ever
                                                                    78 S.Ct. 99, 2 L.Ed.2d 80 (1957), that “a complaint should
‘certified’ or ‘backed’ this product's ingredient at issue.” Id.
                                                                    not be dismissed for failure to state a claim unless it appears
¶ 57.
                                                                    beyond doubt that the plaintiff can prove no set of facts in
                                                                    support of his claim which would entitle him to relief.” Id. at
2       The language of the allegations in the Complaint,           561 (quoting Conley, 355 U.S. at 45–46). Instead, the factual
        specifically, ¶¶ 18–22, are subject to varying              allegations set forth in a complaint “must be enough to raise
        interpretations. However, in light of the nature of         a right to relief above the speculative level.” Id. at 555. As
        Plaintiff's claims, the Court will construe these           the Third Circuit has stated, “[t]he Supreme Court's Twombly
        allegations in the manner set forth in this Opinion.        formulation of the pleading standard can be summed up thus:
On or about August 9, 2011, Defendant filed the instant             ‘stating ... a claim requires a complaint with enough factual
Motion to Dismiss, contending that: (1) Plaintiff did not plead     matter (taken as true) to suggest ‘the required element. This
the fraud claims with sufficient particularity; (2) the labeling    ‘does not impose a probability requirement at the pleading
of Clenbutrx as a “dietary supplement” was mandated                 stage,’ but instead ‘simply calls for enough facts to raise a
by federal law; (3) the alleged misleading statements on            reasonable expectation that discovery will reveal evidence of
Clenbutrx's website are puffery; and (4) Plaintiff did not          ‘the necessary element’.” Phillips, 515 F.3d at 234 (quoting
suffer an ascertainable loss. Def's Mot. at 6–11. In addition,      Twombly, 550 U.S. at 556).
Defendant contends that Plaintiff's unjust enrichment and
warranty claims fail as a matter of law.                            In affirming that Twombly standards apply to all motions to
                                                                    dismiss, the Supreme Court recently explained the following
                                                                    principles. “First, the tenet that a court must accept as true all
                                                                    of the allegations contained in a complaint is inapplicable to
                                                                    legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, ––––, 129


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S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009); Fowler v. UPMC
Shadyside, 578 F.3d 203, 210–11 (3d Cir.2009). “Second,            To state a prima facie case under the NJCFA, a plaintiff must
only a complaint that states a plausible claim for relief          sufficiently plead three elements: (1) unlawful conduct by the
survives a motion to dismiss.” Id. at 1950. The plausibility       defendant; (2) an ascertainable loss by the plaintiff; and (3) a
standard requires that “the plaintiff plead[ ] factual content     causal connection between the defendant's unlawful conduct
that allows the court to draw the reasonable inference that the    and the plaintiff's ascertainable loss. Payan v. GreenPoint
defendant is liable for the misconduct alleged” and demands        Mortg. Funding, Inc., 681 F.Supp.2d 564, 572 (D.N.J.2010)
“more than a sheer possibility that a defendant has acted          (citing Bosland v. Warnock Dodge, Inc., 197 N.J. 543, 964
unlawfully.” Iqbal, 129 S.Ct. At 1949 (quoting Twombly, 550        A.2d 741, 749 (2009)). Unlawful practices under the NJCFA
U.S. at 556). Ultimately, “a complaint must do more than           fall into three general categories: affirmative acts, knowing
allege the plaintiff's entitlement to relief. A complaint has to   omissions, and regulation violations. Frederico v. Home
‘show’ such an entitlement with its facts.” Fowler, 578 F.3d at    Depot, 507 F.3d at 188 (3d Cir.2007)). Intent to defraud is
211. In evaluating a motion to dismiss, a court may consider       not necessary to show unlawful conduct by an affirmative act
only the complaint, exhibits attached to the complaint, matters    of the defendant, but is an element of unlawful practice by
of public record, and undisputedly authentic documents if          knowing omission of the defendant. See Gennari v. Weichert
the complainant's claims are based upon these documents.           Co. Realtors, 148 N.J. 582, 691 A.2d 350 (1997); Torres–
Pension Benefit Guar. Corp. v. White Consol. Indus., 998 F.2d      Hernandez v. CVT Prepaid Solutions, Inc., No. 08–1057,
1192, 1196 (3d Cir.1993).                                          2008 WL 5381227, at *6 (D.N.J. Dec.17, 2008).

                                                                   Moreover, it is well-established that claims under the NJCFA
  III. DISCUSSION                                                  must also meet the heightened pleading requirements of
                                                                   Fed.R.Civ.P. 9(b). See, e.g., Frederico v. Home Depot, 507
 A. NJCFA and Common Law Fraud
                                                                   F.3d 188, 200 (3d Cir.2007); Arcand v. Brother Intern. Corp.,
*4 The NJCFA provides in relevant part:
                                                                   673 F.Supp.2d 282 (D.N.J.2009). Pursuant to that rule, a
                                                                   plaintiff alleging fraud must state the circumstances of the
                                                                   alleged fraud with particularity. Fed.R.Civ.P. 9(b). In order
             The act, use or employment by
                                                                   to satisfy this heightened pleading standard, a plaintiff “must
             any person of any unconscionable
                                                                   state the circumstances of the alleged fraud with sufficient
             commercial practice, deception, fraud,
                                                                   particularity to place the defendant on notice of the ‘precise
             false pretense, false promise,
                                                                   misconduct with which [it is] charged.’ Specifically, the
             misrepresentation, or the knowing,
                                                                   plaintiff must plead or allege the “date, time and place of the
             concealment, suppression, or omission
                                                                   alleged fraud or otherwise inject precision or some measure
             of any material fact with intent that
                                                                   of substantiation into a fraud allegation.” Frederico, 507
             others rely upon such concealment,
                                                                   F.3 at 200. Indeed, the Third Circuit has advised that, at a
             suppression or omission, in connection
                                                                   minimum, a plaintiff must support allegations of fraud with
             with the sale or advertisement of
                                                                   all the essential factual background that would accompany
             any merchandise or real estate, or
                                                                   “ ‘the first paragraph of any newspaper story’—that is, the
             with the subsequent performance of
                                                                   ‘who, what, when, where and how’ of the events at issue.”
             such person as aforesaid, whether
                                                                   In re Suprema Specialties, Inc. Sec. Litig., 438 F.3d 256,
             or not any person has in fact been
                                                                   276–77 (3d Cir.2006) (citations omitted) abrogated on other
             misled, deceived or damaged thereby,
                                                                   grounds by Tellabs, Inc. v. Makor Issues & Rights, L.T.D., 551
             is declared to be an unlawful practice.
                                                                   U.S. 308, 322–23, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007).
                                                                   Moreover, a complaint sounding in fraud must do more than
                                                                   assert generalized facts, it must allege facts specific to the
N.J.S.A. § 56:8–2.                                                 plaintiff. Rolo v. City Investing Co. Liquidating Trust, 155
                                                                   F.3d 644, 658–59 (3d Cir.1998) abrogated on other grounds
The term “person” as used in the NJCFA includes, inter alia,       by Rotella v. Wood, 528 U.S. 549, 120 S.Ct. 1075, 145 L.Ed.2d
natural persons, partnerships, corporations, companies, trusts,    1047 (2000) (where the complaint failed to allege “what
business entities and associations. N.J.S.A § 56:8–1(d).           actually happened to either” of the plaintiffs, the complaint



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did not plead “fraud with the specificity required by Rule           reasons: (1) there was no unlawful conduct by Defendant
9(b).”).                                                             because the labeling of Clenbutrx as a “dietary supplement”
                                                                     was mandated by federal law; (2) the alleged misleading
 *5 In addition, Plaintiff's common law fraud must also be           statements on Clenbutrx's website are puffery; and (3)
pled with specificity. To plead a fraud claim, a plaintiff must      Plaintiff did not suffer an ascertainable loss.
allege “(1) a material misrepresentation of a presently existing
or past fact; (2) knowledge or belief by the defendant of            The Court will separately consider each of the alleged
its falsity; (3) an intention that the other person rely on it;      misrepresentations.
(4) reasonable reliance thereon by the other person; and (5)
resultant damages.” Banco Popular North America v. Gandi,
184 N.J. 161, 172–73, 876 A.2d 253 (2005).                             i. The Labeling of Clenbutrx as a “Dietary
                                                                       Supplement”
                                                                     As discussed above, in the Complaint, Plaintiff alleges that
   1. Unlawful Conduct                                               Defendant's labeling of Clenbutrx as a “dietary supplement”
Plaintiff's NJCFA claim must contain specific allegations            is actionable under the NJCFA. Specifically, Plaintiff
of Defendants' unlawful conduct, subject to the heightened           contends that Defendant affirmatively misrepresented
pleading requirements of Rule 9(b). To constitute an                 Clenbutrx as a “dietary supplement” because the product does
affirmative misrepresentation under the NJCFA, the statement         not contain “only dietary ingredients.” Compl. ¶ 26. In other
must be: (1) material to the transaction; (2) a statement of fact;   words, Plaintiff appears to allege that because apple geranium
(3) found to be false; (4) and calculated to induce the buyer        contains 1, 3, Dimethylpentylamine, it was improper to label
to make the purchase. Gennari v. Weichert Co. Realtors, 148          Clenbutrx as a dietary supplement. Plaintiff's allegations fall
N.J. 582, 607, 691 A.2d 350, 366 (1997). “A statement of fact        short of stating a viable claim.
is material if: (a) a reasonable person would attach importance
to its existence in determining a choice of action ...; or (b)        *6 Pursuant to 21 U.S.C. § 321(ff)(1), a dietary supplement
the maker of the representation knows or has reason to know          is “a product (other than tobacco) intended to supplement the
that its recipient regards or is likely to regard the matter as      diet that bears or contains one or more of the following dietary
important in determining his choice of action, although a            ingredients: (A) a vitamin; (B) a mineral; (C) an herb or other
reasonable man would not so regard it.” Ji v. Palmer, 333            botanical; (D) an amino acid; (E) a dietary substance for use
N.J.Super. 451, 755 A.2d 1221, 1228 (N.J.App.Div.2000)               by man to supplement the diet by increasing the total dietary
(quoting Restatement (Second) of Torts § 538(2)).                    intake; or (F) a concentrate, metabolite, constituent, extract, or
                                                                     combination of any ingredient described in (A), (B), (C), (D),
In the Complaint, Plaintiff alleges that VPX marketed                or (E).” 21 U.S .C. § 321(ff)(1) (emphasis added); see GNC
Clenbutrx as a dietary supplement, and that this advertising         Franchising LLC v. Sala, No. 06–191, 2006 U.S. Dist. LEXIS
was misleading because the product did not contain                   11320, at *11–13 (W.D.Pa. Mar. 20, 2006). Significantly, a
only dietary ingredients. In addition, Plaintiff contends            substance's intended use is relevant to deciding whether the
that the nutrition label on the product touted that the              product is a dietary supplement. See 21 U.S.C. § 321(ff)(1);
product contains “apple geranium ... [standardized] to               see United States v. Lane Labs–USA, Inc., 324 F.Supp.2d 547,
1, 3 Dimethylpentylamine”; however, Plaintiff contends               564 (D.N.J.2004).
that contrary to the representation on the label, apple
geranium, a natural dietary ingredient, contained 1, 3               Here, responding to Plaintiff's allegations, Defendants argue
Dimethylpentylamine, which is a synthetic compound.                  that “Clenbutrx contains dietary ingredients, including other
Finally, Plaintiff argues that Defendant made false and              botanicals, [thus] the labeling of this product as a ‘dietary
misleading representations concerning Clenbutrx including            supplement’ “ was entirely proper. Def's Rep. Br. at 5.
that the product was “the world's fastest hardest hitting fat        At the motion to dismiss stage, the Court cannot credit
inceinerator,” that the product was “certified by science,           Defendant's assertion regarding what types of ingredient are
backed by the real world, and proven to give you mind                contained in Clenbutrx. However, even taking the Complaint
blowing energy,” and that its “authentic synergistic blend           as true, Plaintiff's allegations fail to state a claim. Plaintiff
of ingredients ... leave[s] scientists wondering how amazing         has failed to allege that there is no dietary ingredient listed
this stuff is.” In response, Defendant argues that Plaintiff         on the Clenbutrx label; instead, Plaintiff alleges only that
cannot establish a violation of the NJCFA for three separate         because apple geranium, a natural ingredient, contains 1, 3,


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Dimethylpentylamine, it was improper to label Clenbutrx as         No. 10–846, 2011 WL 2976839, at *35, 36 (D.N.J. July
a dietary supplement. This lone allegation does not come           21, 2011) (holding that Panasonic's statements about the
close to state a claim under the statutory scheme of § 321(ff).    televisions' “industry leading black levels and contrast ratios”
Rather, the statute specifically provides for the labeling         as well its representations about the television technology's
of a product as a “dietary supplement” if the supplement           ability to render images “the way the director intended”
contains one or more specified dietary ingredients. See 21         and producing “breathtaking” and “vivid” colors are non-
U.S.C. § 321(ff)(1). In fact, the statute does not require that    actionable puffery). Morever, “[i]t has been noted in the
every ingredient must be a dietary ingredient. In that regard,     context of Lanham Act cases that, unlike puffery, ‘false
Plaintiff does not allege that Clenbutrx does not contain other    claims that explicitly or implicitly address product attributes
botanicals, or that there are no other dietary ingredients in      of importance to customers and make statements that are
Clenbutrx. Simply stated, the mere fact that apple geranium        measurable by comparative research are not puffery.” Bracco
in Clenbutrx may not be an herb or a botantical does not           Diagnostics, Inc., v. Amersham Health, Inc., 627 F.Supp.2d
necessarily mean that Clenbutrx does not have other dietary        384, 464 (D.N.J.2009) (citing Castrol Inc., v. Pennzoil
ingredients that would qualify it as a dietary supplement.         Co., 987 F.2d 939, 945–46 (3d Cir.1993) (holding that
Moreover, Plaintiff has failed to allege that Clenbutrx is not     Pennzoil's claim of superior engine protection was more than
intended to be used as a dietary supplement. Accordingly,          mere puffery because “it is both specific and measurable
the Court finds that Plaintiff's claim, as it is currently pled,   by comparative research”)). The Court will consider each
concerning the labeling of Clenbutrx as a dietary supplement       statement in turn.
is not actionable under the NJCFA. This claim is dismissed
without prejudice.                                                 Here, Plaintiff argues that the statements that Clenbutrx
                                                                   is “the world's fastest, hardest hitting fat incinerator” and
                                                                   that Clenbutrx contains an “authentic synergistic blend
   ii. Statements Made on Clenbutrx's Website                      of ingredients ... [that] leave[s] scientists wondering how
Next, Plaintiff contends that the following separate               amazing this stuff is” are actionable misrepresentations under
statements on Defendant's website constitute affirmative           the NJCFA. The Court does not agree. These statements
misrepresentations: (1) Clenbutrx is “the world's fastest,         are the epitome of vague and highly subjective claims of
hardest hitting fat incinerator”; (2) Clenbutrx is “certified      superiority. See, e.g, In re Toshiba, 2009 WL 2940081, at
by science, backed by the real world, and proven to give           *10. While Defendants use the buzz words “authentic” or
you mind-blowing energy”; and (3) Clenbutrx's “authentic           “scientists,” that is not sufficient to bring the statements out
synergistic blend of ingredients ... leave[s] scientists           of the realm of puffery because these statements are not
wondering how amazing this stuff is.” (Compl.¶ 16.) In             making a specific claim as to the product. See Tatum v.
response, Defendant argues that these statements are not           Chrysler Group LLC, No. 10–4269, 2011 U.S. Dist. LEXIS
actionable under the NJCFA because they are puffery.               32362, at *14, 2011 WL 1253847 (D.N.J. Mar. 28, 2011)
                                                                   (“Absent specific claims as to the braking system, Defendant's
 *7 “The NJCFA distinguishes between actionable                    general advertising was puffery ....”). Indeed, neither of these
misrepresentations of fact and ‘puffery.’ “ In re Toshiba          statements contains a specific or detailed factual assertion
America HD DVD Marketing and Sales Practices Litigation,           upon which a reasonable consumer would rely. See Angrisani
Civ. No. 08–939, 2009 WL 2940081, at *9 (D.N.J. Sept.              v. Capital Access Network, Inc., 175 Fed. Appx. 554, 556 (3d
11, 2009) (citing Rodio v. Smith, 123 N.J. 345, 352, 587           Cir.2006) ( “statements that can be categorized as “puffery”
A.2d 621 (1991)) (finding that the slogan “[y]ou're in good        or vague and “ill-defined opinions” are not assurances of fact
hands with Allstate” was “nothing more than puffery” and as        and do not constitute misrepresentations.”) (citation omitted).
such was not “a deception, false promise, misrepresentation,       Rather, such statements are routinely made by companies
or any other unlawful practice within the ambit of the             seeking to gain a competitive advantage in their respective
Consumer Fraud Act.”) “Advertising that amounts to ‘mere’          industries, and therefore they are considered puffery. In re
puffery is not actionable because no reasonable consumer           Toshiba, 2009 U.S. Dist. LEXIS 82833 at *28. As such, the
relies on puffery. The distinguishing characteristics of puffery   Court holds that these statements do not constitute actionable
are vague, highly subjective claims as opposed to specific,        misrepresentations for purposes of the NJCFA, and Plaintiff
detailed factual assertions.” Id. at *10, 587 A.2d 621             is precluded from bringing NJCFA claims based upon those
(quoting Haskell v. Time, Inc., 857 F.Supp. 1392, 1399             statements of puffery.
(E.D.Cal.1994)); see, e.g., Hughes v. Panasonic, Civ. A.


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                                                                  are at least three recognized theories of ascertainable loss
 *8 On the other hand, the statement that Clenbutrx is            that may apply to a NJCFA claim. In cases involving
“certified by science” is not puffery and thus could be           product misrepresentation, “either out-of-pocket loss or a
actionable under the NJCFA. Indeed, unlike the above              demonstration of loss in value will suffice to meet the
statements, Defendant's use of the term “certified by science,”   ascertainable loss hurdle....” Thiedemann, 872 A.2d at 792.
transforms a subjective statement that might otherwise be         The “out-of-pocket” theory may include the purchase price
considered puffery, i.e., that the product will “give you         of a misrepresented product if the purchasers did not receive
mind blowing energy,” into something that appears “both           a refund and the seller's misrepresentations rendered the
specific and measurable.” Castrol, 987 F.2d at 946; see, e.g.,    product essentially worthless. See Lee, 2010 N.J. LEXIS 951,
Lieberson v. Johnson & Johnson Consumer Cos., No. 10–             at *51–52, 2010 WL 3781595. A “loss-in-value” theory is
6196, 2011 U.S. Dist. LEXIS 107596, at *24, 2011 WL               based on the quantifiable difference in value between the
4414214 (D.N.J. Sept. 21, 2011) (product labels touting           merchandise as advertized and the merchandise as delivered.
that the products were “clinically proven to help babies          Thiedemann, 872 A.2d at 792 (stating that an expert may
sleep better” was not puffery). Moreover, Plaintiff alleges       employ a “market conditions” approach to product value
that no scientist has ever “certified” or “backed” Clenbutrx.     to determine ascertainable loss). Under the third theory, an
Compl. ¶ 57. Thus, the Court finds that the statement that        “ascertainable loss” can include a nominal overcharge for
Clenbutrx is “certified by science, backed by the real world,     which the plaintiffs have not made a “pre-suit demand for a
and proven to give you mind blowing energy” is an actionable      refund.” Bosland, 964 A.2d at 751.
misrepresentation under the NJCFA.
                                                                   *9 Here, it is clear that Plaintiff is asserting an “out-of-
Thus, the Court will consider the additional prongs required      pocket” theory of loss; specifically, Plaintiff alleges that he
to set forth a claim under the NJCFA regarding the statement      “suffered an ascertainable loss of monies, including, but
that Clenbutrx is “certified by science.” 3                       not necessarily limited to the purchase price of the Liquid
                                                                  Clenbutrx Hardcore [he] purchased[.]” In addition, Plaintiff
3                                                                 contends that he “would not have purchased” the product but
       In the event Plaintiff amends the Complaint
                                                                  for Defendant's misrepresentations. Compl. ¶ 38. The Court
       on his affirmative misrepresentation claim
                                                                  notes, however, that the ascertainable loss would only relate
       regarding Clenbutrx's characterization as a “dietary
                                                                  to the misrepresentations regarding Clenbutrx as a dietary
       supplement”—which the Court has dismissed—
                                                                  supplement and the statement that Clenbutrx is “certified by
       Plaintiff must be mindful that in order to properly
                                                                  science.”
       allege a NJCFA claim based on that representation,
       the allegations must conform to the Court's rulings
                                                                  Accordingly, the Court finds that Plaintiff has sufficiently
       on the remainder of the NJCFA elements.
                                                                  pled ascertainable loss.

   2. Ascertainable Loss
Next, Defendant argues that Plaintiff has not pled an                3. Causation
ascertainable loss sufficient to establish a cause of action      Finally, Defendant argues that Plaintiff has not established
under the NJCFA because he “purchased a dietary supplement        the third prong of a NJCFA claim—i.e. a causal relationship
manufactured in compliance with the dietary supplement            between the alleged unlawful conduct and Plaintiff's
guidelines. Thus, Plaintiff did not suffer a loss in receiving    ascertainable loss. Indeed, it is well-established that
what he paid for.” Def's Rep. Br. at 6. In response, Plaintiff    “[c]ausation under the CFA is not the equivalent of reliance.”
argues that he suffered an ascertainable loss of $29.99, i.e.,    Lee, 203 N.J. at 522; see also Int'l Union of Operating
the price he paid for Clenbutrx. The Court agrees that at this    Engineers Local No. 68 Welfare Fund v. Merck & Co., Inc.,
juncture, Plaintiff has pled an ascertainable loss.               192 N.J. 372, 929 A.2d 1076 (2007) (holding that the CFA
                                                                  “essentially replaces reliance, an element of proof traditional
Under the NJCFA, “[a]n ascertainable loss is a loss that          to any fraud claim, with the requirement that plaintiff prove
is ‘quantifiable or measurable’; it is not ‘hypothetical or       an ascertainable loss.”) “To establish causation, a consumer
illusory.’ “ Lee v. Carter–Reed Co., L.L.C., 203 N.J. 496,        merely needs to demonstrate that he or she suffered an
522 (2010) (quoting Thiedemann v. Mercedes–Benz USA,              ascertainable loss ‘as a result of’ the unlawful practice.” Id.
LLC, 183 N.J. 234, 248, 872 A.2d 783 (2005)). There


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However, in the context of advertisements, causation is            wrongful conduct of VPX, Plaintiff's NJCFA claim also fails
particularly crucial under the Rule 9(b) heightened pleading       on this basis.
requirements. In that regard, Plaintiff, here, must allege
how his ascertainable loss was attributable to the unlawful         *10 In light of the above analysis, the Court dismisses
conduct. In other words, Plaintiff must allege where and           without prejudice Plaintiff's NJCFA claim regarding the
when he saw the advertisement which contained the alleged          alleged misrepresentation that Clenbutrx is a “dietary
misrepresentation. See, e.g., Gross v. Johnson & Johnson–          supplement” and the statement that Clenbutrx is “certified
Merck Consumer Pharms. Co., 303 N.J.Super. 336, 346, 696           by science.” The remaining allegations related to Plaintiff's
A.2d 793 (App.Div.1997) (CFA class could only include              NJCFA claim are dismissed with prejudice.
persons who “saw the challenged advertisements” and
“would not have purchased the Pepcid but for the challenged        Finally, Plaintiff's common law fraud claim is dismissed
advertisements.”); Solo v. Bed Bath & Beyond, Co., No.             without prejudice for the same reasons stated above.
06–1908, 2007 U.S. Dist. LEXIS, at *12 (D.N.J. Apr. 26,
2007); Franulovic v. The Coca–Cola Company, No. 07–
539, 2007 U.S. Dist. LEXIS, at *24, 2007 WL 3166953                   C. Plaintiff's Unjust Enrichment Claim
(D.N.J. Oct.25, 2007) (plaintiff failed to “allege that she        Under the set of facts Plaintiff has alleged, Plaintiff has not
purchased Enviga because of a certain misleading ad, or that       stated a claim for unjust enrichment. “To establish unjust
she purchased the prescribed amount of Enviga and did not          enrichment, the plaintiff must show both that defendant
enjoy the advertised effects. Melfi also does not allege that      received a benefit and that retention of that benefit without
other consumers actually purchased the beverage because of         payment would be unjust.” VRG Corp. v. GKN Realty Corp.,
Defendants' advertising, or that they did not get the advertised   135 N.J. 539, 554, 641 A.2d 519 (1994). Specifically, “the
results. Instead, Melfi's claims generally state that Enviga's     unjust enrichment doctrine requires that plaintiff show that
marketing was false and misleading, without alleging that this     it expected remuneration from the defendant at the time
false advertising caused her a quantifiable loss.”).               if performed or conferred a benefit on defendant and that
                                                                   the failure of remuneration enriched defendant beyond its
Plaintiff has fail to so plead here. Instead, Plaintiff, in a      contractual rights.” Id. Importantly, in New Jersey, a claim
broad-brush fashion, alleges that he purchased Clenbutrx           for unjust enrichment requires a direct relationship between
“upon being induced, by Defendant VPX's packaging and              the parties. See, e.g., Cooper v. Samsung Elecs. Am. Inc., No.
promotional materials and Internet advertising ....” Compl.        07–3853, 2008 U.S. Dist. LEXIS 75810, 2008 WL 4513924
¶ 26. While Plaintiff lists various websites wherein VPX           (D.N.J.2008); see also Premier Pork L.L.C. v. Westin Inc., No.
advertised Clenbutrx, Plaintiff fails to identify any specific     07–1661, 2008 U .S. Dist. LEXIS 20532, 2008 WL 724352,
advertisement he viewed, where he viewed it, how he was            at *14 (D.N.J.2008) (“quasi contract claims involve either
misled by these advertisements and how these advertisements        some direct relationship between the parties or a mistake on
caused his injuries. In other words, the Complaint fails           the part of the person conferring the benefit ...”); Callano v.
to identify which, if any, of the promotional or marketing         Oakwood Park Homes Corp., 91 N.J.Super. 105, 109, 219
materials were viewed by Plaintiff, and if they were, when         A.2d 332 (App.Div.1966) (citing importance of either a direct
these materials were viewed and how they induced Plaintiff         relationship or a mistake in quasi-contract). For example, in
to purchase Clenbutrx. More simply stated, Plaintiffs have         Cooper, the court held that although plaintiff alleged that the
failed to allege any specific facts establishing a connection      manufacturer was unjustly enriched through the purchase of
between the alleged conduct of Defendants and the alleged          a television, plaintiff had not conferred a direct benefit on the
injury claimed. Morever, as a corollary issue, Plaintiff also      manufacturer since the purchase was made through a retailer.
fails to allege where he purchased Clenbutrx, i.e., a store, by    As a result, the court dismissed plaintiff's unjust enrichment
mail, or on the internet. This is important because according      claim.
to Plaintiff's allegations, he was induced by Defendants'
online advertisement into purchasing the supplement. At            Applied here, the Court finds that Plaintiff has not sufficiently
the same time, Plaintiff also alleges that he was induced          alleged a claim for unjust enrichment. Indeed, as in Cooper,
by the packaging of Clenbutrx, but he does not specify             Plaintiff has not alleged where he purchased Clenbutrx, i.e.,
where he observed the packaging. Absent any explanation of         whether he purchased it directly from Defendant or if he
the connection between Plaintiff's alleged damages and the         purchased the product through a retail establishment, online
                                                                   or otherwise. As a result, the Court is unable to determine


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whether there is a direct relationship between the parties such     However, regardless of notice, both warranty claims are also
that Plaintiff can establish that he conferred a benefit upon       inadequately pled and thus subject to dismissal. The Court
Defendant for purposes of an unjust enrichment claim. Thus,         turns to those analyses.
the Court will dismiss Plaintiff's unjust enrichment claim
without prejudice.
                                                                       2. Breach of Express Warranty
                                                                    In the Complaint, Plaintiff alleges that by labeling
  D. Warranty Claims                                                Clenbutrx as a “dietary supplement,” Defendant expressly
                                                                    warranted that the product contained only dietary ingredients
   1. Pre-litigation Notice                                         including “Apple Geranium ... standardized to 1, 3
Plaintiff asserts claims of breach of express warranty and          Dimethylpentylamine.” Compl. ¶¶ 69, 71. In its Motion
breach of implied warranty of merchantability. However,             to Dismiss, Defendant argues that Plaintiff did not
fatal to both claims is the lack of allegations involving           adequately plead his claim for breach of express warranty.
pre-litigation notice. New Jersey has adopted the Uniform           Specifically, Defendant argues that Clenbutrx “conforms to
Commercial Code's (“UCC”) notice requirement for an                 all affirmations, promises or descriptions made by VPX,”
express warranty claim. Luppino v. Mercedes–Benz USA,               and that Clenbutrx “contains all of the ingredients on the
LLC, No. 09–5582, 2011 U.S. Dist. LEXIS 65495, at *7, 2011          product's label, which include components, in addition to
WL 2470625 (D.N.J. Jun. 20, 2011); Joc, Inc. v. Exxonmobil          apple geranium, that qualify it as a dietary supplement.” Def's
Oil Corp., No. 08–5344, 2010 WL 1380750, at *4 (D.N.J.              Br. at 14–15.
Apr.1, 2010); Slack v. Suburban Propane Partners, L.P.,
No. 10–2548, 2010 WL 5392845, at *4–5 (D.N.J. Dec.22,               Under New Jersey law, a breach of express warranty claim has
2010). It provides: “Where a tender has been accepted ... the       four elements: “(1) a contract between the parties; (2) a breach
buyer must within a reasonable time after [s]he discovers or        of that contract; (3) damages flowing therefrom; and (4) that
should have discovered any breach notify the seller of breach       the party stating the claim performed its own contractual
or be barred from any remedy.” N.J.S.A. 12A:2–607(3)(a).            obligations.” Frederico, 507 F.3d at 203. Moreover, courts
Based upon the language, this statutory notice is a “condition      in this Circuit have held that an advertisement may create
precedent to filing any suit for breach of warranty.” Joc, 2010     an express warranty. See, e.g., Cipollone v. Liggett Group,
WL 1380750 at *4. A similar requirement is needed for a             Inc., 893 F.2d 541, 575–76 (3d Cir.1990) rev'd in part on
breach of implied warranty. See C.F. Seabrook Co. v. Beck,          other grounds 505 U.S. 504, 112 S.Ct. 2608, 120 L.Ed.2d 407
174 N.J.Super. 577, 593, 417 A.2d 89 (App.Div.1980) (“New           (1992) (concluding that cigarette advertisements representing
Jersey law on sales requires notice as a prerequisite to the        that the cigarettes were safe could constitute an express
buyer's assertion that the seller breached an implied warranty      warranty); Elias v. Ungar's Food Products, Inc., 252 F.R.D.
of merchantability.” (citing Johnson v. Hoffman, 7 N.J. 123,        233, 252 (D.N.J.2008) (packaging statements regarding fat
131, 132, 80 A.2d 624 (1951)).                                      and caloric content created express warranty). For example,
                                                                    in Elias, plaintiff alleged that descriptions on the packages of
 *11 Here, Plaintiff has failed to plead that he provided the       five products about fat and caloric content did not conform
pre-litigation notice of breach. More importantly, Plaintiff        with the product because the product contained substantially
offers no excuse or explanation for his failure to do so.           more calories and fat than described. As a result, plaintiffs
Accordingly, because Plaintiff has failed to allege that the        argued that the express warranty concerning the lower caloric
condition precedent has been met—sending a pre-litigation           and fat content had been breached. Id. at 251. The court agreed
notice—Plaintiff's express and implied warranty claims              and held that the express warranty appeared to be breached.
necessarily fail. See Luppino, 2011 U.S. Dist. LEXIS 65495          Id.
at *7 (“At no time has any court in this district or in the state
of New Jersey found that a buyer is not required to provide          *12 In the instant matter, Plaintiff argues that by labeling
a direct seller with pre-suit notice in an action for express       Clenbutrx as a “dietary supplement,” Defendant warranted
breach of warranty. Thus, Stern and Casiero's admission that        that the product contained only dietary ingredients. As
they have failed to provide notice to Defendant proves fatal        discussed above, 21 U.S.C. § 321(ff)(1) provides that a
to their breach of express warranty claims.”).                      product may be labeled as a dietary supplement if it contains
                                                                    one or more dietary ingredients. Thus, even if Defendant's
                                                                    labeling of Clenbutrx as a “dietary supplement” created an


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express warranty between the parties, because Plaintiff does      to be breached, the product at issue must have been defective
not allege that the product does not contain any “dietary         or not fit for the ordinary purpose for which it was
ingredients” as defined by 21 U.S.C. § 321(ff)(1), Plaintiff      intended.” In re In re Toshiba Am. HD DVD Marketing and
has not stated a claim for breach of that warranty. Simply put,   Sales Practices Litigation at *16. “The implied warranty of
taking Plaintiff's Complaint as true, even if apple geranium      merchantability does not ‘impose a general requirement that
is not a dietary ingredient, Plaintiff has failed to allege       goods precisely fulfill the expectation of the buyer. Instead,
that there are no other dietary ingredients, or equivalent,       it provides for a minimum level of quality.’ “ Hughes, 2011
contained in Clenbutrix. Without those allegations, Plaintiff     WL 2976839, at *22 (quoting Berenblat at *3). Indeed, the
has not sufficiently alleged a breach of an express warranty.     warranty of merchantability “ ‘simply means that the thing
Accordingly, this claim is dismissed without prejudice.           sold is reasonably fit for the general purpose for which it is
                                                                  manufactured and sold.’ ” Ferrari v. American Honda Motor
                                                                  Co., Inc., 2009 WL 211702, at *3 (N.J.App.Div. Jan. 30,
   3. Breach of Implied Warranty of Merchantability               2009) (quoting Henningsen v. Bloomfield Motors, Inc., 32
In addition, Plaintiff alleges that VPX breached the implied      N.J. 358, 370, 161 A.2d 69 (1960) (emphasis added)).
warranty of merchantability because Clenbutrx was “not
adequately packaged, labeled, sold, promoted, or fit for the      In this instant matter, Plaintiff does not dispute that Clenbutrx
ordinary purposes” as a dietary supplement. Compl. ¶¶ 75,         is sold for the ordinary purpose as a dietary supplement.
78. Specifically, Plaintiff appears to argue that Defendant       See, e.g., Compl. ¶ 76 (“Defendant made such implied
“impliedly warranted that the product is composed entirely        warranties knowing that the ordinary purpose for which
of dietary ingredients, that 1, 3 dimethylpentylamine is found    Liquid Clenbutrx Hardcore was to be used was as a dietary
in apple geranium, and that therefore the product is safe.”       supplement.”). Instead, with regard to the implied warranty
Compl. ¶ 75. 4                                                    claim, Plaintiff alleges, at most, that the product contains
                                                                  ingredients other than dietary ingredients, and therefore, the
4                                                                 product is unsafe. However, Plaintiff has proffered nothing
       Plaintiff also asserts that Defendant breached an
       implied warranty by failing to publish its “money          by way of pleadings to support its assertion that a dietary
       back” guarantee on the Clenbutrx packaging                 supplement is not “merchantable” if it contains components
       materials; the guarantee was only published on             other than dietary ingredients or that Clenbutrx is somehow
       its website. As stated above, a breach of implied          unsafe. Similarly, Plaintiff has entirely failed to allege or
       warranty concerns the merchantability of the               explain why the inclusion of “apple geranium standardized
       product; however, nothing in Plaintiff's allegations       to 1, 3 Dimethylpentylamine” renders Clenbutrx unfit for the
       regarding the money back guarantee concerns the            purpose of being a dietary supplement. Thus, the Court will
       product's fitness for its ordinary purpose. Thus,          dismiss Plaintiff's claim for breach of the implied warranty of
       Plaintiff's allegations in this context cannot form        merchantability without prejudice.
       a legal basis for a breach of implied warranty
       claim. Morever, even if this were a sufficient
                                                                     E. Plaintiff's Claim for Injunctive Relief
       basis, Plaintiff has not cited any authority that
                                                                   *13 Finally, Plaintiff asserts a cause of action for injunctive
       requires a manufacturer or seller to offer a money
                                                                  relief, arguing that Defendant should be enjoined from
       back guarantee as a matter of law, let alone
                                                                  continuing its marketing and sale of Clenbutrx. Compl. ¶
       requiring companies to advertise that guarantee in a
                                                                  87. In response, Defendant contends that injunctive relief is
       particular way. Accordingly, the Court will dismiss
                                                                  not a recognized cause of action and should be dismissed.
       these allegations with prejudice.
                                                                  In addition, Defendant contends that even if the Court
Pursuant to N.J.S.A. 12A:2–314, “a warranty that the goods        recognized this cause of action, since VPX has changed its
shall be merchantable is implied in a contract for their sale     labeling and advertisements, this cause of action is moot.
if the seller is a merchant with respect to goods of that         Def's Rep. Br. at 15.
kind ...” N.J.S.A. 12A:2–314. “ ‘Merchantability’ requires
that a product conform to its ordinary and intended use.”         Initially, the Court notes that at least one court in this
Hughes, 2011 WL 2976839 at *22 (quoting Berenblat v.              district has held that injunctive relief is not separate cause
Apple, Inc., 2009 WL 2591366, at *2 (N.D.Cal. Aug.21,             of action. See Smajlaj, 2011 WL 1086764, at *2 (“Plaintiffs
2009)). “In order for the implied warranty of merchantability     also seek injunctive relief, which they mistakenly characterize


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                                                                      For the foregoing reasons, Defendants' Motion to Dismiss
as a cause of action.”). Moreover, the Court finds that in
                                                                      is GRANTED. Specifically, with respect to Counts I
this matter, Plaintiff's claim for injunctive relief appears to
                                                                      (NJCFA) and II (Common Law Fraud), Plaintiff's claims
be expressly tied to his fraud claims; specifically, Plaintiff
                                                                      regarding the misrepresentation that Clenbutrx is “certified
alleges that Defendant's actions “of marketing, advertising,
                                                                      by science” and that Clenbutrx is a “dietary supplement”
promoting, distributing, and selling” Clenbturx “continue
                                                                      are DISMISSED WITHOUT PREJUDICE. The remaining
to deceive” the public. Compl. ¶ 85. Thus, Plaintiff asks
                                                                      fraud allegations—i.e., statements regarding Clenbutrx as the
this Court to enjoin Defendant from “continuing their
                                                                      world's fastest, hardest hitting fat incinerator and authentic
marketing, advertisement, promotion, distribution, and sale”
                                                                      synergistic blend of ingredients—are DISMISSED WITH
of Clenbutrx. Compl. ¶ 87. Because the Court has already
                                                                      PREJUDICE. In addition, Counts III (Unjust Enrichment)
dismissed Plaintiff's fraud claims, and in the apparent absence
                                                                      and VI (Injunctive Relief) are DISMISSED WITHOUT
of any other cause of action connected to Plaintiff's claim
                                                                      PREJUDICE. Moreover, with respect to Count IV (Breach of
for injunctive relief, the Court will dismiss Plaintiff's cause
                                                                      Express Warranty) and Count V (Breach of Implied Warranty)
of action for injunctive relief without prejudice. Importantly,
                                                                      are DISMISSED WITHOUT PREJUDICE. An order will be
however, in the event Plaintiff re-pleads his fraud claims, he
must request an injunction as a part of the relief, not as a          entered consistent with this Opinion.
separate cause of action.
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                                                                        (D.E. No. 20). Plaintiff subsequently objected to
                                                                        Judge Mannion's decision exercising jurisdiction
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                                                                        on January 27, 2013. (D.E. No. 21). Judge Salas
    Only the Westlaw citation is currently available.
                                                                        adopted Judge Mannion's R & R and overruled
              NOT FOR PUBLICATION
                                                                        Plaintiff's objection on March 8, 2013. (D.E. No.
     United States District Court, D. New Jersey.
                                                                        25).
      Harold M. HOFFMAN, individually and on                    In the Complaint, Plaintiff alleges that Defendant advertised
      behalf of those similarly situated, Plaintiff,            KAL Glucosamine Chondroitin MSM (the “product”) as
                           v.                                   “pure, unadulterated and of the highest quality.” (Compl.12).
       NUTRACEUTICAL CORP., Defendant.                          Plaintiff claims that despite the express promise that “[n]o
                                                                ingredient other than those listed on the label have been added
              Civil Action No. 12–5803 (ES).                    to this product,” Defendant's product was “contaminated
                             |                                  by 1.7 micrograms of lead per daily use.” (Id. at 4).
                       June 10, 2013.                           Next, Plaintiff claims that he and other members of the
                                                                putative class relied on the express representations with
Attorneys and Law Firms
                                                                respect to purity of the product and made the purchase of
Harold M. Hoffman, Englewood, NJ, pro se.                       the product in reliance thereof. (Id. at 5–6). Accordingly,
                                                                Plaintiff argues that Defendant's conduct violates the
Michael R. O'Donnell, Riker, Danzig, Scherer, Hyland, &         New Jersey Consumer Fraud Act, N.J.S.A. 56:8–2, and
Perretti, PA, Morristown, NJ, for Defendant.                    constitutes: an unconscionable commercial practice (Count I);
                                                                deception (Count II); fraud (Count III); false pretense, false
                                                                promise and/or misrepresentation (Count IV); and knowing
                         OPINION                                concealment, suppression and/or omission of material facts
                                                                (Count V). In addition, Plaintiff raises the following claims-
SALAS, District Judge.                                          common-law fraud (Count VI); unjust enrichment (Count
                                                                VII); breach of express warranty (Count VIII); and breach of
I. INTRODUCTION
                                                                implied warranty of merchantability (Count IX). (Compl.14–
 *1 Pending before this Court is Nutraceutical Corp.'s
                                                                18).
(“Defendant”) Motion to Dismiss Harold M. Hoffman's
(“Plaintiff”) Complaint. (D.E. No. 10, Brief in Support of
                                                                In response, Defendant moves to dismiss the above counts
Motion to Dismiss Plaintiff's Complaint (“Br.”)). The motion
                                                                pursuant to Fed.R.Civ.P. 12(b)(6) because Plaintiff does not
is unopposed. The Court has reviewed the submissions
                                                                state any claim upon which relief may be granted. (Br.2).
and decides the motion without oral argument pursuant to
                                                                Specifically, Plaintiff fails to “allege that he was injured by the
Fed.R.Civ.P. 78(b). For the following reasons, the Court
                                                                Product or the alleged lead therein, nor could he as he never
GRANTS the motion without prejudice.
                                                                claims to have even used the Product.” Nor does Plaintiff
                                                                “make any allegations regarding the Product's performance or
II. BACKGROUND                                                  efficacy, again having never used the Product.” (Id. at 5). 2
On August 9, 2012, Plaintiff, individually and on behalf of
those similarly situated, filed a complaint against Defendant   2       Defendant also seeks to disqualify Plaintiff as class
in the Superior Court of New Jersey, Bergen County. (D.E.               counsel. The Court need not address the issue in
No. 1, Complaint (“Compl.”)). On September 14, 2012,                    this Fed.R.Civ.P. 12(b) (6) motion.
Defendant removed the state court case to this District (D.E.
No. 1, Notice of Removal (“Removal”)). 1                        III. ANALYSIS

1                                                                  A. Legal Standard
       On September 21, 2012, Plaintiff filed a motion to
                                                                For a complaint to survive dismissal, it “must contain
       remand to state court. (D.E. No. 4). The motion
                                                                sufficient factual matter, accepted as true, to ‘state a claim
       was denied by Judge Mannion via Report &
                                                                to relief that is plausible on its face.’ ” Ashcroft v. Iqbal,
       Recommendation (“R & R”) on January 24, 2013.



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556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)         Next, plaintiff must allege an ascertainable loss. Although
(citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570,        the CFA does not define “ascertainable loss,” courts have
127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). In determining the       interpreted it as a “cognizable and calculable claim of loss
sufficiency of a complaint, the Court must accept all well-       due to the alleged CFA violation.” Solo v. Bed, Bath &
pleaded factual allegations in the complaint as true and draw     Beyond, Inc., No. 06–1908, 2007 WL 1237825, at *3 (D.N.J.
all reasonable inferences in favor of the non-moving party.       Apr., 26, 2007) (citing Thiedmann v. Mercedes–Benz USA,
See Phillips v. Cnty. of Allegheny, 515 F.3d 224, 231 (3d         LLC, 183 N.J. 234, 249, 872 A.2d 783 (2005)); Hoffman
Cir.2008). But, “the tenet that a court must accept as true all   v. Hampshire Labs, Inc., 405 405 N.J.Super. 105, 963 A.2d
of the allegations contained in a complaint is inapplicable to    849, 854 (N.J.Super.Ct.App.Div.2009). To properly plead
legal conclusions[;][t]hreadbare recitals of the elements of a    an ascertainable loss, plaintiff must allege facts showing
cause of action, supported by mere conclusory statements, do      “either an out-of-pocket loss or a demonstration of loss in
not suffice.” Iqbal, 556 U.S. at 678.                             value.” Dist. 1199P Health and Welfare Plan v. Janssen, L.P.,
                                                                  784 F.Supp.2d 508, 530 (D.N.J.2011) (citing Thiedmann,
                                                                  183 N.J. at 248, 872 A.2d 783). This requirement to show
   B. Plaintiff's Consumer Fraud Act (“CFA”) Claims               a demonstration of a loss in value includes a benefit-of-
   (Counts I–V)                                                   the-bargain theory that “requires nothing more than that
 *2 Plaintiff claims that “[t]he product delivered by             the consumer was misled into buying a product that was
Defendant to [P]laintiff and members of the putative class        ultimately worth less to the consumer than the product he
misrepresented the safety, quality, constituent ingredients       was promised. Smajlaj v. Campbell Soup Co., 782 F.Supp.2d
and purity of defendant's product. Indeed, the spoiled and        84, 99 (D.N.J.2011); Henderson v. Hertz Corp., No. 6937–03,
contaminated product delivered by Defendant to consumers,         2005 WL 4127090, at *7–8 (N.J.Super.Ct.App.Div.2005).
lacked the purity and beneficial qualities promised by
Defendant.” (Compl.6). Defendant contends that Plaintiff's        Finally, plaintiff must show a causal nexus between the
CFA claims must be dismissed because Plaintiff fails to show      misrepresentation or concealment of the material fact by
damages in connection thereto. (Br.15). The Court agrees.         defendant and the loss suffered by any person. Dewey
                                                                  v. Volkswagen AG, 558 F.Supp.2d 505, 526 (D.N.J.2008).
To state a cause of action under the CFA, plaintiff               Here, Plaintiff failed to make the necessary three-part
must allege: “(1) an unlawful practice by the defendants;         showing under the CFA. Specifically, Plaintiff failed to show
(2) an ascertainable loss by plaintiff; and (3) a causal          that Defendant's alleged CFA violation caused Plaintiff's
nexus between the first two elements—defendants' allegedly        “ascertainable loss.” Plaintiff merely alleged that some of
unlawful behavior and the plaintiff's ascertainable loss.”        Defendant's product contained 1.7 micrograms of lead in
Parker v. Howmedica Osteonics Corp., No. 07–02400, 2008           it. Even under a benefit-of the-bargain theory of damages,
WL 141628, at *2 (D.N.J. Jan.14, 2008) (citing N.J. Citizen       Plaintiff failed to show that the alleged lead in Defendant's
Action v. Schering–Plough Corp., 367 N.J.Super. 8, 842 A.2d       product caused the product to be worth less than was
174, 176 (N.J.Super.Ct.App.Div.2003)).                            promised. Plaintiff failed to show that the product he used
                                                                  actually contained lead. Moreover, Plaintiff failed to establish
First, plaintiff must allege an unlawful practice. An unlawful    that the presence of 1.7 micrograms of lead in the product
practice “typically involves an affirmative act of fraud          constituted a misrepresentation that is contrary to the product
and can arise from an affirmative act, an omission, or a
                                                                  being “pure, unadulterated and of the highest quality.” 3
violation of an administrative regulation.” Adamson v. Ortho–
                                                                  Because Plaintiff failed to make the requisite showing under
McNeil Pharm., Inc., 463 F.Supp.2d 496, 501 (D.N.J.2006).
                                                                  the CFA, Plaintiff's CFA claims are dismissed.
“[N]ot just ‘any erroneous statement’ will constitute a
misrepresentation prohibited” under the CFA. Gennari v.
                                                                  3
Weichert Co. Realtors, 148 N.J. 582, 607, 691 A.2d 350                    On the contrary, Defendant notes that the
(1997). “The misrepresentation has to be one which is                     recommended daily intake of lead is 75
material to the transaction and which is a statement of fact,             micrograms, or 44 times the amount found in the
found to be false, made to induce the buyer to make the                   product at issue. (Br.5).
purchase.” Id.
                                                                      C. Plaintiff's Common Law Fraud Claim (Count VI)



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 *3 Plaintiff avers that “Defendant, in the advertisement,           511 A.2d 709, 716 (N.J.Super.Ct.App.Div.1986) (citing
marketing and sale of the [product], deliberately and                Callano v. Oakwood Park Homes Corp., 219 A.2d 232,
knowingly engaged in concealment, suppression and/or                 234 (N.J.Super.Ct.App.Div.1966)). To establish “unjust
omission of material facts with the intent that others,              enrichment, a plaintiff must show both that defendant
including members of the plaintiff-class, rely upon same,            received a benefit and that retention of that benefit without
and, upon information and belief, members of the class did           payment would be unjust.” VRG Corp. v. GKN Realty Corp.,
justifiably rely upon same to their detriment.” (Compl.14).          135 N.J. 539, 554, 641 A.2d 519 (1994).
Such conduct, according to Plaintiff, constitutes common-
law fraud. (Id. at 15). Defendant disagrees and argues               Here, Plaintiff's allegations fail to support the claim of unjust
that Plaintiff's common-law fraud claim must be dismissed            enrichment. Even accepting all allegations as true, there is
because Plaintiff “failed to sufficiently plead damages              nothing in the record to suggest that Defendant's retention
resulting from the alleged trace amount of lead in the               of Plaintiff's money is unjust. Plaintiff received the benefit
[p]roduct.” (Br.19).                                                 of the product that he paid for and Defendant received the
                                                                     benefit of payment for said product. As such, the doctrine of
To properly plead common-law fraud in New Jersey, plaintiff          unjust enrichment is inapposite here. Accordingly, the Court
must show: “(1) a material misrepresentation of a presently          dismisses Plaintiff's claim of unjust enrichment.
existing or past fact; (2) knowledge or belief by the defendant
of its falsity; (3) an intention that the other person rely on it;
(4) reasonable reliance thereon by the other person; and (5)            E. Plaintiff's Breach of Express Warranty and Implied
resulting damages.” Gennari v. Weichert Co. Realtors, 148               Warranty of Merchantability Claims (Counts VIII &
N.J. 582, 610, 691 A.2d 350 (1997) (citing Jewish Ctr. of               IX)
Sussex Cnty. v. Whale, 86 N.J. 619, 624–25, 432 A.2d 521              *4 Plaintiff raises claims of breach of express and implied
(1981)).                                                             warranties. Specifically, Plaintiff alleges that he entered into
                                                                     a contract with Defendant for the purchase of the product,
Here, Plaintiff failed to identify the resulting damages, a          and in the contract, Defendant made express promises as to
requisite showing to properly plead common law fraud.                the purity of the product. (Compl.17). Additionally, Plaintiff
Significantly, Plaintiff does not even allege that the product       claims that the implied warranty of merchantability was
that he personally purchased, and used, contained lead.              breached because the product “was not fit for the ordinary
Consequently, the Court dismisses Plaintiff's claim of               purpose for which it was intended to be used.” (Id. at 19,
common-law fraud.                                                    641 A.2d 519). Defendant disagrees and argues that the
                                                                     warranty claims must be dismissed because “Plaintiff alleges
                                                                     no specific lead level in his product, and no actual injury from
   D. Plaintiff's Breach of Unjust Enrichment Claim                  using the [p]roduct.” (Br.21).
   (Count VII)
Plaintiff states that “as a result of [Defendant's] false            Under New Jersey law, an express warranty is “[a]ny
and deceptive conduct ... [Defendant] became indebted to             affirmation of fact or promise made by the seller to the buyer
class members for the sums paid by class members ... for             which relates to the goods and becomes part of the basis of the
purchase of a misrepresented product.” (Compl.16). And               bargain.” N.J. STAT. ANN. § 12A:2–313(1)(a). “The plaintiff
retention of said sums “without reimbursement, would result          in a warranty action need not establish the existence of a
in the unlawful, unjust and inequitable enrichment.” (Id.).          defect; the failure of the goods to perform as warranted is
Defendant disagrees and argues that because Plaintiff “failed        sufficient.” Spring Motors Distribs., Inc. v. Ford Motor Co.,
to plead that the [p]roduct failed to function as advertised         98 N.J. 555, 586, 489 A.2d 660 (1985). Proof of causation
or that he was injured by the [p]roduct ... there was nothing        is also required, but “mere failure of promised performance
unjust about [Defendant's] accepting and retaining money in          is enough without proof of any defect.” Realmuto v. Straub
exchange for delivering the [p]roduct to [Plaintiff].” (Br.20).      Motors, Inc., 65 N.J. 336, 343, 322 A.2d 440 (1974). To
                                                                     recover damages for breach of express warranty, plaintiffs
The doctrine of unjust enrichment “rests on the                      must establish that such damages were reasonably foreseeable
equitable principle that a person shall not be allowed               at the time that the contract was entered into. Spring
to enrich himself unjustly at the expense of another.”               Motors Distribs., Inc., 98 N.J. at 579–80, 489 A.2d 660
Assocs. Comm. Corp. v. Wallia, 211 N.J.Super. 231,


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                                                                   and an implied warranty of merchantability claim. Plaintiff
(describing that damages for misrepresenting products comes
                                                                   merely asserts that some of Defendant's product contained
from “society's interest in the performance of promises”).
                                                                   1.7 micrograms of lead. As such, Plaintiff fails to establish
                                                                   what damages resulted from the product containing said lead.
An implied warranty “simply means that the thing sold
                                                                   Consequently, Plaintiff's claims of breach of express and
is reasonably fit for the general purpose for which it is
                                                                   implied warranty are dismissed.
manufactured and sold.” Henningsen v. Bloomfield Motors,
Inc., 32 N.J. 358, 370, 161 A.2d 69 (1960). To establish
a breach of implied warranty, plaintiff must show “that the          IV. CONCLUSION
product was not reasonably fit for the ordinary purposes for       For these reasons, the Court GRANTS Defendant's Motion to
which it was sold and such defect proximately caused injury        Dismiss without prejudice. An appropriate Order follows this
to the ultimate consumer.” Hollinger v. Shoppers Paradise          Opinion.
of New Jersey, Inc., 134 N.J.Super. 328, 340 A.2d 687, 692
(N.J.Super. Ct. Law Div.1975).
                                                                   All Citations
Here, Plaintiff fails to make the necessary showing of
damages required for both a breach of express warranty claim       Not Reported in F.Supp.2d, 2013 WL 2650611


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                             TAB 16
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                                                                          negligent misrepresentation and unjustly enriched itself to the
                                                                          detriment of consumers. Defendant has moved to dismiss the
     KeyCite Yellow Flag - Negative Treatment                             Amended Complaint for lack of subject matter jurisdiction
Disagreed With by Debernardis v. IQ Formulations, LLC, 11th Cir.(Fla.),
                                                                          and for failure to state a claim. For the reasons set forth below,
November 14, 2019
                                                                          Defendant's Motion to Dismiss for lack of subject matter
                   2017 WL 3971912
                                                                          jurisdiction will be granted, and the Amended Complaint will
    Only the Westlaw citation is currently available.
    United States District Court, W.D. Pennsylvania.                      be dismissed, without prejudice. 2 Because the Court finds
                                                                          that Plaintiffs lack standing to bring this case, it need not
       Daniel HUBERT, individually and on behalf                          address Defendant's other theories.
         of all others similarly situated, Plaintiff,
                              v.
                                                                          I. BACKGROUND
                  GENERAL NUTRITION
                                                                          GNC, which is headquartered in Pittsburgh, Pennsylvania, is
                CORPORATION, Defendant.                                   the largest global specialty retailer of nutritional supplements.
                                                                          Am. Compl. ¶¶ 25, 36. Plaintiffs allege that GNC marketed
                           2:15-cv-01391
                                                                          and sold supplements manufactured by third party vendors,
                                 |
                                                                          which allegedly contained picamilon, BMPEA or acacia
                        Signed 09/08/2017
                                                                          rigidula, despite having known that these substances are
Attorneys and Law Firms                                                   not dietary ingredients. 3 Id. ¶¶ 3, 4, 38. The supplements
                                                                          at issue here are primarily weight-loss and sports nutrition
D. Aaron Rihn, Robert Peirce & Associates, P.C., Pittsburgh,
                                                                          supplements available as powders and liquids. Id. ¶ 27.
PA, Gregory F. Coleman, Lisa A. White, Mark E. Silvey, Greg
Coleman Law PC, Knoxville, TN, Arthur Stock, Shanon J.
                                                                          *2 Plaintiffs aver that federal and state law place primary
Carson, Berger & Montague, P.C., Philadelphia, PA, Jennifer
                                                                          responsibility for the safety of dietary supplements, 4 as
S. Goldstein, Whitfield Bryson & Mason, Washington, DC,
                                                                          well as truthful labeling and advertising, on supplement
for Plaintiff.
                                                                          manufacturers and distributors such as GNC. Am. Compl.
Amy B. Alderfer, Brett Nicole Taylor, Cozen O'Connor,                     ¶ 28. According to Plaintiffs, GNC sold products with false
Los Angeles, CA, Paul K. Leary, Jr., Mark E. Utke, Cozen                  and misleading labeling, and it failed to disclose material
O'Connor, Philadelphia, PA, for Defendant.                                facts about the dangers of ingesting picamilon, BMPEA
                                                                          and acacia rigidula. Id. ¶ 5. Plaintiffs claim that they were
                                                                          “hoodwinked” into purchasing supplements containing these
                             OPINION                                      substances and would not have done so if GNC had disclosed
                                                                          that they contained mislabeled ingredients which purportedly
Mark R. Hornak, United States District Judge                              pose serious health risks and are not marketable as dietary
                                                                          supplements. Id. ¶¶ 6, 24.
 *1 Presently before the Court is a motion by Defendant
General Nutrition Corporation (“GNC” or “Defendant”)                      Regarding picamilon, Plaintiffs allege that Jennifer Jakel
to dismiss the First Amended Consolidated Class Action                    (“Jakel”), who was GNC's Senior Project Manager for
Complaint (the “Amended Complaint”) filed by Plaintiff                    Technical Research, reviewed documents translated from
Daniel Hubert, individually and on behalf of similarly                    Russian indicating that it is a “derivative of gamma-amino-
situated individuals (ECF No. 39) pursuant to Federal Rules               butyric acid and nicotinic acid.” Am. Compl. ¶ 43. In 2007,
of Civil Procedure 12(b)(1) and 12(b)(6) (the “Motion to                  Jakel made a notation stating “[n]o NDI that I could find,”
Dismiss”) (ECF No. 48). In this prospective class action                  suggesting that a NDI submission was not tendered to the
litigation, Plaintiff Hubert alleges that he and other consumers          Food and Drug Administration (“FDA”) for picamilon. Id. ¶¶
(“Plaintiffs”) purchased supplements sold by GNC with false               31, 44. Again in April 2014, Jakel wrote “still no NDI found.”
and misleading labeling in violation of the Magnuson-Moss                 Id. ¶ 44.
Warranty Act, 15 U.S.C. § 2301, et seq., and the consumer
fraud protection laws of numerous states. 1 Plaintiffs further            Subsequently, on September 28, 2015, Dr. Cara Welch
assert that GNC breached implied warranties, engaged in                   of the FDA issued a declaration stating that “picamilon


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does not qualify as a dietary ingredient” under the Food,           Plaintiffs, it is irrelevant that GNC received guarantees from
Drug and Cosmetic Act (the “FDC Act”). Am. Compl.                   third-party vendors that products containing those substances
¶ 40. Plaintiffs allege that GNC continued to sell dietary          complied with legal requirements because GNC knew or
supplements containing picamilon until September 21, 2015,          should have known that they were not safe and could not be
despite having known since 2007 that it was not a dietary           lawfully sold. Id. ¶¶ 75, 76.
ingredient. Id. ¶¶ 44, 46.
                                                                    In sum, Plaintiffs allege that picamilon, BMPEA and acacia
Plaintiffs additionally claim that GNC has been aware               rigidula were listed on the labels of a variety of supplements
since the fall of 2013 that some dietary supplements                available for sale at GNC, including products that they
labeled as containing acacia rigidula actually contained            purchased. Am. Compl. ¶¶ 47, 65, 72. Plaintiffs claim
BMPEA. Am. Compl. ¶¶ 52. Ms. Jakel supposedly was                   that through this labeling, GNC misrepresented that those
notified in November 2013 of a study by FDA researchers             substances were safe and could be legally sold in the United
which revealed that many dietary supplements purportedly            States. Id. As a result, Plaintiffs assert that they purchased
containing acacia rigidula actually contained BMPEA,                supplements they otherwise would not have purchased, paid
despite no testing to show that BMPEA was safe for humans           more for supplements than they otherwise would have paid
(hereinafter, “the FDA Study”). Id. ¶¶ 49, 52. Subsequently,        and have been subjected to unreasonable safety risks. Id. ¶¶
Jakel allegedly emailed a USA Today article about the FDA           6, 24, 81.
Study to approximately 100 recipients at GNC. Id. ¶ 52.

Plaintiffs allege that despite knowing of the FDA Study, GNC        II. STANDARD OF REVIEW
continued to sell supplements containing acacia rigidula,           Under Fed.R.Civ.P. 12(b)(1), “a court must grant a motion to
without testing them to determine whether they were                 dismiss if it lacks subject-matter jurisdiction to hear a claim.”
adulterated with BMPEA. Am. Compl. ¶¶ 55. However, in                  In re Schering Plough Corp. Intron/Temodar Consumer
April 2015, when the FDA formally announced that BMPEA              Class Action, 678 F.3d 235, 243 (3d Cir. 2012). “A motion to
did not meet the definition of a dietary ingredient, GNC            dismiss for want of standing is ... properly brought pursuant
stopped selling products containing BMPEA. Id. ¶ 60.                to Rule 12(b)(1), because standing is a jurisdictional matter.”
                                                                    Ballentine v. United States, 486 F.3d 806, 810 (3d Cir. 2007).
Concerning acacia rigidula, Plaintiffs allege that the FDA
warned six manufacturers in March 2016, that it is a new            In evaluating a challenge to subject matter jurisdiction under
dietary ingredient which lacks evidence of safe use and             Rule 12(b)(1), a court first must determine whether the
therefore could not be lawfully sold in the United States.          movant presents a facial or a factual attack. See Davis v.
Am. Compl. ¶ 67. Plaintiffs allege that GNC did not provide         Wells Fargo, 824 F.3d 333, 346 (3d Cir. 2016). The distinction
the FDA with the required pre-market notification showing a         is important because it determines how the complaint must
history of acacia rigidula's safe use, yet it was openly found on
                                                                    be reviewed. See        Mortensen v. First Fed. Sav. & Loan
labels of supplements offered for sale at GNC. Id. ¶¶ 70, 72.
                                                                    Ass'n, 549 F.2d 884, 891 (3d Cir. 1977). A facial attack
                                                                    “challenges subject matter jurisdiction without disputing the
 *3 Plaintiffs aver that despite GNC's alleged knowledge
                                                                    facts alleged in the complaint, and it requires the court
regarding picamilon, BMPEA and acacia rigidula, GNC sold
                                                                    to ‘consider the allegations of the complaint as true.’ ”
products containing those substances which were supplied
                                                                    Davis, 824 F.3d at 346 (citation omitted). A factual challenge
by third-party vendors. Am. Compl. ¶ 78. Plaintiffs claim
                                                                    “attacks the factual allegations underlying the complaint's
that GNC exercised significant control over the third-
                                                                    assertion of jurisdiction, either through the filing of an answer
party products it sold by reviewing and pre-approving
                                                                    or ‘otherwise present[ing] competing facts.’ ” Id. (citation
labels, warnings, packaging and advertising. Id. ¶¶ 73, 74.
                                                                    omitted). Here, GNC makes a facial challenge because it
In addition, third-party vendors could not alter approved
                                                                    has not disputed the validity of Plaintiffs' factual claims in
formulas, labels or advertising without GNC's permission. Id.
                                                                    its Motion to Dismiss. In essence, GNC contends that the
¶ 74. By controlling the product labels of third party vendors,
                                                                    allegations of the Amended Complaint, even accepted as true,
Plaintiffs allege that GNC misrepresented that supplements
                                                                    are insufficient to establish Plaintiffs' Article III standing.
containing picamilon, BMPEA and acacia rigidula were safe
for consumers and legal to sell. Id. ¶ 79. According to



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In considering a facial challenge to standing, courts are to        do not allege they purchased the supplements after the FDA
apply the same standard as on review of a Rule 12(b)(6)             issued warning letters.
motion for failure to state a claim. See Petruska v. Gannon
                                                                    For reasons explained below, the Court agrees that an
Univ., 462 F.3d 294, 299 n.1 (3d Cir. 2006) (explaining “that
                                                                    economic injury can qualify as an injury-in-fact for standing
the standard is the same when considering a facial attack
                                                                    purposes, but concludes that Plaintiffs have not adequately
under Rule 12(b)(1) or a motion to dismiss for failure to state a
                                                                    alleged that they suffered an injury-in-fact in this case.
claim under Rule 12(b)(6)”) (citation omitted). Consequently,
                                                                    Therefore, the Amended Complaint must be dismissed for
the court is to “accept all factual allegations as true, construe
                                                                    lack of standing.
the complaint in the light most favorable to the plaintiff,
and determine whether, under any reasonable reading of the
complaint, the plaintiff [has standing].”  Phillips v. County          A. Article III Standing
of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008) (citation            Article III of the Constitution limits the scope of
omitted). Nonetheless, “[t]hreadbare recitals of the elements       federal judicial power to the adjudication of “cases” or
of [standing], supported by mere conclusory statements, do          “controversies.” U.S. Const., art. III, § 2. “The courts have
                                                                    developed several justiciability doctrines to enforce the case-
not suffice.”    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
                                                                    or-controversy requirement, and perhaps the most important
Thus, “[t]o survive a motion to dismiss [for lack of standing],
                                                                    of these doctrines is the requirement that a litigant have
a complaint must contain sufficient factual matter” that would
                                                                    standing to invoke the power of a federal court.”        In re
establish standing if accepted as true. Id. (citing    Bell Atl.
                                                                    Schering Plough, 678 F.3d at 244 (internal quotations and
Corp. v. Twombly, 550 U.S. 544, 570 (2007)).
                                                                    citation omitted). “[T]he standing question is whether the
                                                                    plaintiff has ‘alleged such a personal stake in the outcome of
III. DISCUSSION                                                     the controversy’ as to warrant his invocation of federal-court
 *4 GNC argues that the Amended Complaint must be                   jurisdiction and to justify exercise of the court's remedial
dismissed for lack of standing because Plaintiffs have              powers on his behalf.”       Warth v. Seldin, 422 U.S. 490,
not sufficiently pled the essential element of injury-in-
                                                                    498-99 (1975) (quoting      Baker v. Carr, 369 U.S. 186, 204
fact. According to GNC, Plaintiffs simply allege that
                                                                    (1962)).
they purchased the supplements, but do not allege that
they actually consumed them or suffered any adverse
                                                                    It is well established that the “irreducible constitutional
health consequences from them. GNC points out that any
apprehension Plaintiffs may have about possible future injury       minimum” of standing consists of three elements.         Lujan
is insufficient to establish injury-in-fact.                        v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). “The
                                                                    plaintiff must have (1) suffered an injury in fact, (2) that is
Plaintiffs respond that they have suffered an economic              fairly traceable to the challenged conduct of the defendant,
injury, which suffices to establish injury-in-fact for standing     and (3) that is likely to be redressed by a favorable judicial
purposes. Plaintiffs contend that they incurred economic
                                                                    decision.”    Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1547
injury because they purchased products with false, misleading
and inaccurate labeling, which omitted information material         (2016) (citing   Lujan, 504 U.S. at 560-61). The plaintiff,
to their purchases.                                                 as the party invoking federal jurisdiction, bears the burden
                                                                    to establish standing.    Lujan, 504 U.S. at 561. At the
GNC counters that the gravamen of the Amended Complaint             pleading stage, the plaintiff must “clearly ... allege facts
involves picamilon, BMPEA and acacia rigidula purportedly
endangering the health of consumers. GNC contends that              demonstrating” each element.       Spokeo, 136 S.Ct. at 1547
despite the emphasis on the alleged health dangers posed            (quoting     Warth, 422 U.S. at 518).
by those substances, Plaintiffs attempt to shift the focus to
economic injury in order to establish an injury-in-fact for         Although there are three required elements of constitutional
standing purposes. Even so, GNC urges that Plaintiffs have          standing, the Third Circuit has emphasized that “the injury-
not sufficiently pled the element of injury-in-fact because they    in-fact element is often determinative.” Toll Bros., Inc. v.
                                                                    Twp. of Readington, 555 F.3d 131, 138 (3d Cir. 2009); see


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                                                                    court's dismissal for lack of standing in a case where the
also      Spokeo, 136 S.Ct. at 1547 (observing that injury-in-
                                                                    plaintiff purchased lipstick that contained lead, which was not
fact is the “[f]irst and foremost” of standing's three elements)
                                                                    disclosed on the packaging or the product, and the plaintiff
(citation omitted). To establish injury-in-fact, a plaintiff must
                                                                    claimed she would not have purchased the lipstick had she
show that he suffered “an invasion of a legally protected
                                                                    known about the lead. In finding no standing, the Third
interest” that is “concrete and particularized” and “actual or
                                                                    Circuit deemed it significant that the plaintiff conceded she
imminent, not conjectural or hypothetical.”       Lujan, 504        suffered no adverse health consequences from using the
U.S. at 560. Although “[i]njury-in-fact is not Mount Everest,”      lipstick, and her subjective allegation that trace amounts of
   Danvers Motor Co., Inc. v. Ford Motor Co., 432 F.3d              lead in the lipstick were unacceptable to her was not an
286, 294 (3d Cir. 2005), the complaint still must “clearly          injury-in-fact. Id. at 259. Further, to the extent the plaintiff
and specifically set forth facts sufficient to satisfy” Article     claimed that the injury-in-fact was the loss of the “benefit of
III standing requirements.         Whitmore v. Arkansas, 495        the bargain,” the Third Circuit explained that she mistakenly
U.S. 149, 155 (1990).                                               relied on contract law. Id. Because the plaintiff's lipstick
                                                                    purchases were not made pursuant to a contract, she could
 *5 The Third Circuit has explained that “[w]hile it is difficult   not have been denied the benefit of any bargain. Id. The
to reduce injury-in-fact to a simple formula, economic injury       Third Circuit concluded that “[a]bsent any allegation that
                                                                    [the plaintiff] received a product that failed to work for its
is one of its paradigmatic forms.” Danvers Motor, 432 F.3d          intended purpose or was worth objectively less than what
at 291. Indeed, “[m]onetary harm is a classic form of injury-       one could reasonably expect, [she] has not demonstrated a
in-fact.” Id. at 293 (citation omitted). However, allegations       concrete injury-in-fact.” Id.
of “possible future injury” are insufficient to satisfy the
requirements of Article III.       Whitmore, 495 U.S. at 158;       In      Young v. Johnson & Johnson, Civil Action No.
                                                                    11-4580, 2012 WL 1372286 (D.N.J. Apr. 19, 2012), the
   Reilly v. Ceridian Corp., 664 F.3d 38, 42 (3d Cir. 2011).
                                                                    district court determined that the plaintiff lacked standing
                                                                    in a case involving the alleged misrepresentation of the
   B. Plaintiffs Have Not Established That They Suffered            nutritional content and health benefits of Benecol, a butter/
   an Injury-in-Fact, Thus They Lack Standing.                      margarine substitute. The court found that the plaintiff did not
Plaintiffs are correct that economic injury can suffice to          sufficiently plead an injury-in-fact because he merely alleged
establish injury-in-fact for standing purposes. However,            that he purchased Benecol fairly regularly during a five-year
the question here is whether Plaintiffs have suffered an            period, but he did not allege that he actually consumed it
economic injury. The Court concludes that the Amended               or that he suffered any adverse health effects from it. Id.
Complaint does not adequately plead facts that establish they       at *3. In addition, the court found unavailing the plaintiff's
have; consequently, Plaintiffs have not established that they       contention that he satisfied the injury-in-fact requirement
suffered an injury-in-fact.                                         based on allegations that he was deprived of the “benefit of
                                                                    the bargain,” received an inferior product and paid a premium
                                                                    price because he believed Benecol was healthy, when in fact
                                                                    it was not. Id. at *4. In finding no economic injury, the court
                1. Analysis of Injury-In-Fact                       explained that the plaintiff's purchases of Benecol were not
                                                                    made pursuant to a contract and he did not allege how he paid
The Court's standing analysis is informed by precedent from
                                                                    a premium for it or received a product that did not deliver
courts within this Circuit that have evaluated whether the
                                                                    the advertised benefits. Id. (citing Koronthaly, 374 Fed.Appx.
plaintiff suffered an injury-in-fact in cases where, as here,
                                                                    259).
it was alleged the product at issue contained a dangerous
substance that was unknown to the consumer or the product
                                                                     *6 In both James v. Johnson & Johnson Consumer Cos.,
label contained alleged misrepresentations. 5                       Inc., Civil No. 10-cv-03049, 2011 WL 198026 (D.N.J. Jan.
                                                                    20, 2011) and      Medley v. Johnson & Johnson Consumer
First, in  Koronthaly v. L'Oreal USA, Inc., 374 Fed.Appx.           Cos., Inc., Civil No. 10-cv-02291, 2011 WL 159674 (D.N.J.
257 (3d Cir. 2010), our Court of Appeals affirmed a district        Jan. 18, 2011), the district court accepted the plaintiffs'



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contention that economic injury suffices to confer standing,        alleged by the consumers in Koronthaly, James and Medley:
but found that they could not clear the threshold requirement       she alleged that she used baby powder; it was effective for
for showing an economic injury. The cases involved ten              its intended uses of eliminating friction and absorbing excess
plaintiffs who alleged Johnson & Johnson violated the FDA's         moisture; she was not physically injured; Johnson & Johnson
ban on methyl chloride in cosmetic products because its baby        failed to list enough warnings about an alleged increased risk
shampoo contained that substance. The economic injury for           of ovarian cancer associated with baby powder use; and she
which the plaintiffs sought redress was the price they paid for
                                                                    would like her money back.        Id. at *9. However, the court
the shampoo, which the court noted they apparently used in
                                                                    found that absent a plausible allegation of adverse health
bathing their children without adverse health reactions. Id. at
                                                                    consequences from using baby powder or that it failed to
*2. The court accepted as true the plaintiffs' allegation that
                                                                    perform satisfactorily for its intended use, the plaintiff could
had they known the true nature of the baby shampoo, they
would not have purchased it or allowed their children to be         not claim that she was denied the benefit of her bargain. 6
exposed to it, but determined that economic damages did not         Id. (citing Koronthaly, 374 Fed.Appx. at 259; James, 2011
follow as a consequence. Id. The court concluded that once          WL 198026, at *2). The court held that the plaintiff's benefit
the shampoo had been used, there was no economic injury for         of the bargain theory, based on Johnson & Johnson's alleged
the plaintiffs to complain of and the fear of future injury is      omissions, was an insufficient basis to find that she suffered
insufficient to confer standing. Id. The court observed that the    an injury-in-fact. Id. at *9, 13. If the plaintiff wanted to file an
plaintiffs received the benefit of their bargain so long as there   amended complaint to reassert a benefit of the bargain theory,
were no adverse health effects and the shampoo worked as            the court required that she point to an affirmative legal duty on
intended, meaning that is cleansed the children's hair without      Johnson & Johnson's part to disclose the facts that allegedly
producing irritation, and nothing in the complaint suggested        were omitted. Id. at *9.
otherwise. Id. As such, the court found that the plaintiffs did
not demonstrate that they suffered an injury-in-fact.                *7 Next, the Estrada court found that the plaintiff did
                                                                    not establish that she suffered an injury-in-fact under an
Likewise, in      Estrada v. Johnson & Johnson, Civil Action        alternative product theory of economic harm.       Estrada,
No. 16-7492, 2017 WL 2999026 (D.N.J. July 14, 2017),                2017 WL 2999026, at * 14. The court recognized that
the court found that the plaintiff did not suffer an injury-in-     injury-in-fact exists where a consumer alleges that, absent
fact and therefore lacked standing. In that case, the plaintiff     the defendant's omissions or misrepresentations, she would
asserted California state law consumer-fraud claims against
                                                                    have purchased a cheaper alternative product.       Id. at *13
Johnson & Johnson, claiming that it had been aware since
                                                                    (citations omitted). Although the plaintiff alleged she would
at least 1982 of studies associating talcum powder with an
                                                                    have purchased an alternative cornstarch-based powder had
elevated risk of ovarian cancer for women, yet failed to
                                                                    she known of the increased cancer risk purportedly associated
disclose that risk to consumers and continued to market baby
                                                                    with baby powder, she did not allege that an alternative
powder as safe despite knowledge of the risk. As a result of
Johnson & Johnson's misrepresentations and omissions, the           product would have been cheaper than baby powder.               Id.
plaintiff claimed to have suffered an economic injury based         at *14.
on three theories: (1) benefit of the bargain; (2) alternative
product; and (3) premium price. Id. at * 6.                         Finally, the Estrada court found that the plaintiff's premium
                                                                    price theory of economic harm did not sufficiently establish
First, the plaintiff claimed that she did not receive the benefit   that she suffered an injury-in-fact.       Estrada, 2017 WL
of her bargain because she purchased baby powder under              2999026, at *15. In premium price cases, a plaintiff alleges
the belief that it was safe, but she would not have done so         that the defendant's omissions or misrepresentations caused
had she known that using baby powder in the genital area            her to overpay for a product. Id. (citations omitted). Under
could lead to an increased risk of developing ovarian cancer.       that theory, the plaintiff claimed that as a result of Johnson
   Estrada, 2017 WL 2999026, at *6. The court ultimately            & Johnson's omissions and misrepresentations, it was able
found that the plaintiff did not suffer an economic injury-in-      to sell baby powder for more than it otherwise would have
                                                                    if consumers had been properly informed about the safety
fact based on a benefit of the bargain theory.      Id. at *13.
                                                                    risks. The court determined that the plaintiff's “threadbare”
The court noted that the plaintiff's claim was similar to those



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allegation that she purchased baby powder at a premium,             comparable, cheaper products to show that the supplements
without any supporting factual allegations, was insufficient        they purchased from GNC were sold at a premium price. See
to establish an injury-in-fact. Id. It was significant in the
                                                                       Estrada, 2017 WL 2999026, at *15.
court's analysis that the plaintiff did not allege that Johnson &
Johnson advertised baby powder as superior to other products,
                                                                    Next, Plaintiffs' allegation that they did not receive the
nor did she identify any comparable, cheaper products to
                                                                    benefit of their bargain when they purchased the supplements
show that baby powder was sold at a premium price. Id.
                                                                    does not suffice to establish that they suffered an economic
                                                                    injury-in-fact. As stated, Plaintiffs allege that they paid
                                                                    money for the supplements that, absent GNC's alleged
 2. The Amended Complaint Fails to Adequately Plead                 omissions and misrepresentations, they otherwise would not
 That Plaintiffs Suffered an Economic Injury-In-Fact.               have paid. See Am. Compl. ¶¶ 6, 24, 81; see supra n. 7.
                                                                    Although Plaintiffs do not allege that they consumed the
In view of the foregoing authority, Plaintiffs here do not
                                                                    supplements, 9 they certainly do not claim they suffered
sufficiently allege that they suffered an economic injury to
                                                                    any adverse health consequences from them. Furthermore,
satisfy the injury-in-fact element of standing. At the outset,
                                                                    Plaintiffs do not allege that the supplements at issue, which
Plaintiffs allege that GNC sold supplements with false and
                                                                    are “primarily weight-loss and sports-nutrition supplements,”
misleading labeling and otherwise failed to disclose material
                                                                    see Am. Compl. ¶ 27, failed to work for their intended purpose
facts about the dangers of ingesting picamilon, BMPEA
                                                                    or did not deliver the advertised benefits.
and acacia rigidula. Am. Compl. ¶ 5. Plaintiffs then allege
that they were hoodwinked into purchasing the supplements
                                                                    The Amended Complaint presents some of the same concerns
and would not have done so if GNC had disclosed that
                                                                    as in Koronthaly, Young, James, Medley and Estrada,
they contained mislabeled ingredients which supposedly pose
                                                                    which ultimately led the courts to find that the plaintiffs
serious health risks or were unlawful. Id. ¶¶ 6, 24. As a
                                                                    in those cases did not suffer an injury-in-fact. As observed
result of GNC's practices, Plaintiffs claim that they purchased
                                                                    in Koronthaly and Young, Plaintiffs' purchases of the
supplements they otherwise would not have purchased, paid
                                                                    supplements were not made pursuant to a contract, thus they
more for supplements than they otherwise would have paid 7          could not have been denied the benefit of any bargain. Beyond
and have been subjected to unreasonable safety risks. Id. ¶         that, as in Koronthaly, Young, James, Medley and Estrada,
81. Based on these allegations, Plaintiffs apparently attempt       Plaintiffs have not alleged that the supplements failed to
to assert two theories of economic injury: (1) they did not         work for their intended purpose of weight loss and/or sports
receive the benefit of their bargain; and (2) they paid a           nutrition, and there is no allegation that Plaintiffs' health was
premium price for the supplements. 8                                adversely affected.

 *8 First, Plaintiffs' premium price allegations do not             While we accept as true Plaintiffs' allegation that they
sufficiently establish that they suffered an economic               would not have purchased the supplements had they
injury. Although Plaintiffs broadly aver that GNC's alleged         known the supplements purportedly contained dangerous
omissions and misrepresentations caused them to pay more            ingredients, economic damages do not necessarily follow
for supplements than they otherwise would have paid,                as a consequence. To the extent Plaintiffs consumed the
that “threadbare” allegation, without any supporting factual        supplements, see supra, n. 9, once they were used, there
allegations, is insufficient to establish an injury-in-fact.        would be no economic injury for Plaintiffs to complain of
                                                                    and apprehension concerning future health consequences is
See      Estrada, 2017 WL 2999026, at *15 (“threadbare”
                                                                    insufficient to establish an injury-in-fact. See James, 2011
allegation that the plaintiff purchased a product at a premium,
without factual support, was insufficient to establish injury-      WL 198026, at *2;          Medley, 2011 WL 159674, at *2.
                                                                    As in James and Medley, Plaintiffs would have received
in-fact);    Young, 2012 WL 1372286, at *4 (finding no
                                                                    the benefit of their bargain so long as the supplements
injury-in-fact where, inter alia, the plaintiff did not set forth
                                                                    worked as intended, meaning they provided weight-loss and
allegations as to how he paid a premium price for the product).
                                                                    sports nutrition benefits, and they produced no adverse health
As in Estrada, the Court finds it significant that Plaintiffs do
                                                                    effects. See id. Nothing in the Amended Complaint suggests
not allege GNC advertised the supplements they purchased
                                                                    this was not the case.
as superior to other products, nor do Plaintiffs identify any


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                                                                  products were safe. See Am. Compl. ¶¶ 47, 65, 72, 79.
                                                                  Although Plaintiffs do not specifically allege it, they suggest
Plaintiffs appear to base their benefit of the bargain theory
                                                                  that they read the labels on the supplements and believed they
upon GNC's alleged omissions and misrepresentations,
                                                                  were safe. As in Estrada, that is insufficient, particularly in
claiming that GNC sold products with false and misleading
                                                                  view of the fact that Plaintiffs do not otherwise allege they
labeling, and it otherwise failed to disclose material facts
                                                                  were induced into purchasing the supplements by any specific
about the dangers of ingesting picamilon, BMPEA and acacia
                                                                  statements on the labels.
rigidula. See Am. Compl. ¶ 5. However, Plaintiffs do not
allege what material facts GNC failed to disclose about the
                                                                  In sum, the Court is well-aware that “[i]injury in fact is not
dangers of ingesting those substances or whether GNC had a
duty to do so. Thus, the Court cannot conclude that Plaintiffs    Mount Everest,”       Danvers Motor, 432 F.3d at 294, but, for
did not receive the benefit of their bargain based on alleged     the reasons explained herein, we conclude that Plaintiffs have
                                                                  not sufficiently alleged that they suffered an economic injury
omissions by GNC. See Estrada, 2017 WL 2999026, at *6
                                                                  to satisfy the injury-in-fact element. Therefore, Plaintiffs
(the plaintiff could not assert a benefit of the bargain theory
                                                                  have failed to establish that they have standing to bring the
of economic harm based on an omission where she failed to
                                                                  present action. Because Plaintiffs do not have standing, the
allege that the defendant was under a duty to disclose the
                                                                  Amended Complaint will be dismissed for lack of subject
omitted fact).
                                                                  matter jurisdiction. Absent subject matter jurisdiction, the
                                                                  Court is without authority to rule on the remaining merit-
 *9 In addition, the Court finds that Plaintiffs were not
deprived of the benefit of their bargain based on alleged         based arguments. 10       ACLU-NJ v. Township of Wall, 246
misrepresentations by GNC. As observed in Estrada, courts         F.3d 258, 261 (3d Cir. 2001) (“If plaintiffs do not possess
have found that a plaintiff did not receive the benefit of the    Article III standing, ... the District Court ... lack[s] subject
bargain in cases where sufficient facts were pled for the court   matter jurisdiction to address the merits of plaintiffs' case.”).
to conclude that the plaintiff was induced into purchasing
the product at issue by a specific misrepresentation made by
                                                                  IV. CONCLUSION
the defendant. See      Estrada, 2017 WL 2999026, at *9–          Rule 15(a)(2) provides that leave to amend should be freely
*11 (citations omitted). Unlike those cases, the plaintiff in     given “when justice so requires.” Fed.R.Civ.P. 15(a)(2).
Estrada did not sufficiently allege that she was induced into     Therefore, to the extent that Plaintiffs wish to file a second
purchasing baby powder based on specific misrepresentations       amended complaint to cure the deficiencies discussed herein,
made by Johnson & Johnson on its website or on the product's      they will be granted leave do so within 30 days from the date
label or advertisements.      Id. at *11. Rather, the plaintiff   of this decision.
simply alleged that she read the label prior to purchasing baby
powder and in reliance on the label, she believed that baby        *10 Accordingly, the Motion to Dismiss filed by GNC as to
                                                                  Plaintiffs' lack of standing will be granted, and the Amended
powder was safe.     Id. at *12.
                                                                  Complaint will be dismissed without prejudice at this time.

Likewise, here, Plaintiffs fail to allege that they were
                                                                  An appropriate order will be entered.
induced into purchasing the supplements based on specific
misrepresentations made by GNC. Plaintiffs allege that
picamilon, BMPEA and acacia rigidula were “openly found”          All Citations
on the labels of various supplements available for sale at
GNC; thus, through labeling, GNC misrepresented that the          Not Reported in Fed. Supp., 2017 WL 3971912




                                                          Footnotes




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      Plaintiffs allege that GNC violated the following state laws: Arkansas's Deceptive Trade Practice Act,        Ark.
      Code Ann. § 4-88-101, et seq.; California's Unfair Competition Law,           Cal. Bus. & Prof. Code § 17200,
      et seq.; California's Consumer Legal Remedies Act,          Cal. Civ. Code § 1750, et seq.; California's False
      Advertising Law,     Cal. Bus. & Prof. Code § 17500, et seq.; Florida's Deceptive and Unfair Trade Practices
      Act, Fla. Stat. § 501.201, et seq.; Iowa's Private Right of Action for Consumer Frauds Act, Iowa Code Ch.
      714H; Michigan's Consumer Protection Act,      Mich. Comp. Laws Ann. § 445.901, et seq.; Minnesota's
      Unlawful Trade Practices Act, Minn. Stat. Ann. § 325D.09, et seq.; Minnesota's Uniform Deceptive Trade
      Practices Act, Minn. Stat. Ann. § 325D.43, et seq.; Minnesota's Consumer Fraud Act, Minn. Stat. Ann. §
      325F.68, et seq.; Minnesota's False Statement in Advertising Act, Minn. Stat. Ann. § 325F.67; Minnesota's
      Private Attorney General Statute,       Minn. Stat. Ann. § 8.31, et seq.; New York's General Business Law,
         N.Y. Gen. Bus. Law § 349; New Hampshire's Consumer Protection Act, N.H. Rev. Stat. Ann. § 358-A, et
      seq.; Pennsylvania's Unfair Trade Practices and Consumer Protection Law, 73 P.S. § 201-1, et seq.; and
      Texas' Deceptive Trade Practices-Consumer Protection Act, Tex. Bus. & Com. Code Ann. § 17.41, et seq.
2     In view of the Court's ruling granting the Motion to Dismiss for lack of subject matter jurisdiction, Defendant's
      Request for Judicial Notice (ECF No. 49-5) and Plaintiffs' Motion to Strike Declaration of Stephen Cherry
      (ECF No. 59) will be denied as moot.
3     Picamilon is a synthetic chemical which is used as a prescription drug in Russia, but it is not approved as a
      drug in the United States, BMPEA is an amphetamine-like chemical that is not found in nature, acacia rigidula
      is an herb or other botanical, and both BMPEA and acacia rigidula allegedly have no history of safe use.
      Am. Compl. ¶¶ 4, 39, 48, 66.
4     A dietary supplement is a product intended to supplement the diet that contains one or more of the following
      dietary ingredients: a vitamin; a mineral; an herb or other botanical; an amino acid; or a combination thereof.
      Am. Compl. ¶ 29. A dietary ingredient that was not previously marketed in the United States prior to October
      14, 1994, is considered a “new dietary ingredient” (“NDI”). Id. ¶ 30. A manufacturer is required to notify the
      FDA if it intends to market a supplement that contains a NDI. Id. ¶ 31. If the FDA does not comment within
      75 days after the NDI submission, the ingredient may be used in dietary supplements. Id.
5     The Court is cognizant that Plaintiffs cite cases from other jurisdictions to support their position that they have
      suffered an economic injury. See Plaintiffs' Resp. in Opp'n (ECF No. 61 at 6, n.3). As stated, however, the
      Court relies on the precedent from the Third Circuit discussed herein to assess whether the Plaintiffs have
      sufficiently established an injury-in-fact for standing purposes.
6     The Estrada court distinguished cases cited by the plaintiff which recognized standing on a benefit of the
      bargain theory of economic harm, explaining that the plaintiffs in those cases did not receive the benefit
      of their bargain because either: (1) they received a defective product; or (2) they pled facts sufficient for
      the court to conclude that they were induced into purchasing the product at issue based on a specific
      misrepresentation made by the defendants. See        Estrada, 2017 WL 2999026, at *9-*11 (citations omitted).
      Unlike the consumers in those cases, the plaintiff in Estrada did not sufficiently allege that she was induced
      into purchasing baby powder based on specific misrepresentations made by Johnson & Johnson on its
      website, or on the product's label or advertisements.    Id. at *11.
7     In connection with Plaintiffs' various state law claims, Plaintiffs allege generally throughout the Amended
      Complaint that they purchased supplements from GNC that they otherwise would not have, or would not
      have paid as much for them as they did. See Am. Compl. ¶¶ 144, 154, 162, 172, 180, 213, 223, 232, 241,
      259, 273, 279 and 282.
8     We note that the Amended Complaint contains no allegations that Plaintiffs would have purchased a cheaper,
      alternative product absent GNC's alleged omissions or misrepresentations, thus injury-in-fact cannot be
      established under an alternative product theory of economic injury. Further, to the extent that Plaintiffs urge
      that they have standing based upon concerns of health problems that have yet to occur, see Am. Compl. ¶ 81


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       (alleging that “[a]s a result of GNC's practices, Plaintiffs ... have been subjected to unreasonable safety risks”),
       apprehension concerning possible future injury is insufficient to establish injury-in-fact.           Whitmore, 495
       U.S. at 158;      Reilly, 664 F.3d at 42.
9      Plaintiffs simply allege that they purchased the supplements on various occasions between 2011 and 2015.
       See Am. Compl. ¶¶ 11-22. However, in view of the fact that a number of Plaintiffs purchased supplements
       on multiple occasions over a period of months or years, see id. ¶¶ 11-13, 15, 17-21, it is logical to infer that
       they must have consumed the supplements. Indeed, it is highly unlikely that a consumer would make multiple
       purchases of items that he never used in the first place.
10     Although the Court is not empowered to address GNC's arguments for dismissal under Rule 12(b)(6), and
       expresses no opinion on the merits of that motion, we note the possibility that GNC's preemption claim could
       be premature. “[F]ederal preemption is an affirmative defense on which the defendant bears the burden of
       proof.” In re Asbestos Prods. Liab. Litig., 822 F.3d 125, 133 n.6 (3d Cir. 2016). The Third Circuit has explained
       that “[t]his allocation of the burden of proof suggests that a motion under Rule 12(c) for judgment on the
       pleadings is a more appropriate procedural vehicle for dismissing cases on preemption grounds, instead of
       a motion under Rule 12(b)(6), except for cases in which preemption is manifest in the complaint itself.” Id.
       (citations omitted). As stated, the Court expresses no opinion at this juncture as to whether this is a case in
       which preemption is manifest in the complaint itself, but simply raises the issue for the parties' consideration
       at the appropriate time.


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                             TAB 17
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                                                                 faith and breach of fiduciary duties, intentional infliction
                                                                 of emotional distress, and civil conspiracy. He also seeks a
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                                                                 declaratory judgment concerning the rights and duties of all
    Only the Westlaw citation is currently available.
                                                                 parties.
             United States District Court,
              D. Utah, Central Division.
                                                                 Ironshore and Old Republic now separately move to dismiss
  Ironshore Specialty Insurance Company, Plaintiff,              Mr. Stephenson's claims against them under Federal Rule
                          v.                                     of Civil Procedure 12(b)(6) for failure to state a claim
  Callister, Nebeker & McCullough, PC; W. Waldan                 upon which relief can be granted. For the reasons stated
                                                                 below, the court GRANTS the motions and DISMISSES Mr.
     Lloyd; and J. Hoyt Stephenson, Defendants,
                                                                 Stephenson's claims.
      J. Hoyt Stephenson, Third-Party Plaintiff,
                          v.
               Old Republic Insurance
          Company, Third-Party Defendant.                                             BACKGROUND

                                                                 Because this matter is before the court on motions to dismiss,
                Case No. 2:15-cv-00677-RJS
                                                                 the court accepts as true the well-pleaded factual allegations
                             |
                                                                 in Mr. Stephenson's First Amended Answer, Counterclaim,
                    Signed 02/17/2016
                                                                 and Third-Party Complaint, and views those facts in the light
Attorneys and Law Firms                                          most favorable to Mr. Stephenson as the nonmoving party. 1

Michael F. Skolnick, Kirk G. Gibbs, Smith D. Monson, Kipp
                                                                 In February 2014, Mr. Stephenson sued Callister, Nebeker
& Christian, Salt Lake City, UT, for Plaintiff.
                                                                 & McCullough, P.C. and W. Waldan Lloyd (collectively
George W. Burbidge, II, Karra J. Porter, Christensen & Jensen    “Callister”) in Utah state court for malpractice. Mr.
PC, David K. Isom, Isom Law Firm, Salt Lake City, UT, for        Stephenson's claims arise out of legal services Callister
Defendants.                                                      performed for him in connection with various business
                                                                 entities and transactions. Mr. Stephenson alleges in the state
                                                                 court action that Callister breached its professional, ethical,
                                                                 fiduciary, and other duties owed to him.
      MEMORANDUM DECISION AND ORDER

ROBERT J. SHELBY, United States District Judge                   For example, Mr. Stephenson alleges that Mr. Lloyd sent
                                                                 a letter to a third party in 2010, in which Mr. Lloyd
 *1 This insurance dispute arises out of a malpractice suit      falsely accused Mr. Stephenson of committing serious state
in Utah state court. Defendant and Third-Party Plaintiff J.      and federal felonies and breaches of fiduciary duties. Mr.
Hoyt Stephenson sued the law firm of Callister, Nebeker &        Stephenson claims that Callister's malpractice caused him to
McCullough, P.C. and one of its attorneys, J. Waldan Lloyd,      lose business; to be investigated for alleged crimes and civil
in Utah state court for legal malpractice. Plaintiff Ironshore   breaches; to be charged by the State of Utah with serious
Specialty Insurance Company then brought this suit, seeking      felonies, which have now been dismissed with prejudice; to be
a declaratory judgment that Mr. Stephenson's malpractice         arrested during a traumatic traffic stop and wrongfully jailed;
claims against Callister are not covered under any insurance     to face an ongoing and imminent threat that his remaining
policy Ironshore issued to Callister and that Ironshore owes     business and livelihood will be destroyed; and to suffer
no duty to defend or indemnify Callister against those claims.   serious emotional harm.

Mr. Stephenson counterclaimed against Ironshore and              Mr. Stephenson maintains that both Ironshore Specialty
brought third-party claims against Old Republic Insurance        Insurance Company and Old Republic Insurance Company
Company, which also issued an insurance policy to Callister.     have duties to indemnify and defend Callister from potential
Mr. Stephenson brings claims against both insurance              liability in the state court action. Mr. Stephenson bases that
companies for breach of contract, breach of the implied          claim on Callister's alleged representations to that effect
covenant of good faith and fair dealing, insurance bad           during discovery in the state court action. These claimed


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duties to indemnify and defend stem from the insurance               INSURED during the POLICY PERIOD and reported in
policies that Ironshore and Old Republic each issued to              writing to the COMPANY during the POLICY PERIOD
Callister.                                                           or within thirty (30) days after the end of the POLICY
                                                                     PERIOD. The CLAIM must be caused by an act, error or
 *2 The insurance policy that Ironshore issued to Callister          omission of the INSURED committed in the performance
states in relevant part:                                             of PROFESSIONAL SERVICES for others and committed
                                                                     on or after the RETROACTIVE DATE.
  Section I.A. The Insurer shall pay on behalf of each Insured
  all sums the Insured shall become legally obligated to pay         Section 2. Defense and Settlement of Claims. The
  as Damages as a result of a Claim first made against the           COMPANY shall have the right and the duty to defend
  Insured during the Policy Period and reported to the Insurer       any CLAIM seeking DAMAGES to which this POLICY
  during the Policy Period and arising out of the rendering of       applies even if any allegations of the CLAIM are
  or failure to render Professional Legal Services.                  groundless, false or fraudulent. The INSURED and the
                                                                     COMPANY shall mutually agree upon the selection of
  Section I.B. The Insurer shall have the right and duty to          defense counsel to conduct the defense of any CLAIM.
  defend any Claim first made against the Insured during
  the Policy Period and reported to the Insurer during the           The COMPANY may investigate any CLAIM as it
  Policy Period and arising out of the rendering of or failure       deems necessary, but the COMPANY shall not settle any
  to render Professional Legal Services, including an appeal         CLAIM without the INSURED's consent. If, however, the
  thereof, seeking Damages to which this insurance applies           INSURED refuses to consent to a settlement recommended
  even if any of the allegations are groundless, false, or           by the COMPANY, and acceptable to the claimant, then
  fraudulent. The Insurer shall have the right to appoint            the COMPANY'S total liability for such CLAIM shall
  defense counsel and to make any investigation it deems             not exceed the amount for which the CLAIM could have
  necessary and, with the written consent of the Insured,            been settled plus the DEFENSE COSTS incurred up to the
  settle any Claim covered by the terms of this Policy. If           time of such refusal, or the applicable limit of insurance,
  the Insured shall refuse to consent to any settlement or           whichever is less.
  compromise recommended by the Insurer and acceptable
  to the claimant and shall elect to contest the Claim, then the      *3 Section 16. Bankruptcy. Bankruptcy or insolvency
  liability of the Insurer under this Policy shall not exceed        of the INSURED or of the INSURED'S estate shall not
  the amount for which the Insurer would have been liable            relieve the COMPANY of any of its obligations under this
  for Damages and Claim Expenses if the Claim had been               POLICY.
  settled or compromised, when and as so recommended. The
  Insurer shall have no liability for Claim Expenses incurred      Mr. Stephenson maintains that, despite these insurance
  thereafter and shall have the right to withdraw from further     policies, neither Ironshore nor Old Republic has agreed
  investigation or defense of the Claim by tendering control       to indemnify or defend Callister from potential liability in
  of such investigation or defense to the Insured, and the         the state court action. And even though Mr. Stephenson
  Insured agrees, as a condition of the issuance of this Policy,   allegedly made an objectively reasonable settlement offer to
  to accept such tender.                                           Callister, neither Callister, nor Ironshore, nor Old Republic
                                                                   has responded to the offer.
  Section X.P. Bankruptcy or insolvency of the Insured shall
  not relieve the Insurer of any of its obligations under this     In an attempt to confirm his belief that Ironshore and
  policy.   2                                                      Old Republic must indemnify and defend Callister, Mr.
                                                                   Stephenson subpoenaed Ironshore and Old Republic to
Similarly, the insurance policy that Old Republic issued           produce documents relating to the malpractice action. The
Callister states in relevant part:                                 subpoenas also ordered the insurance companies to testify on
                                                                   whether they are obligated to indemnify and defend Callister
  Section 1. Coverage. The COMPANY shall pay on behalf             in the state court action. Both Ironshore and Old Republic
  of the INSURED all sums in excess of the deductible which        objected to the subpoena served upon it on work product
  the INSURED shall become legally obligated to pay as             grounds.
  DAMAGE as a result of any CLAIM first made against the



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In September 2015, Ironshore sued Callister and Mr.                 But the court will not accept as true “legal conclusions” or
Stephenson in this court. Ironshore seeks a declaratory             “[t]hreadbare recitals of the elements of a cause of action,
judgment that Mr. Stephenson's legal malpractice claims             supported by mere conclusory statements.” 8
against Callister are not covered under any insurance policy
Ironshore issued to Callister and that Ironshore owes no duty
to indemnify or defend Callister against those claims. 3            II. Mr. Stephenson's Substantive Claims
                                                                    The court now turns to Mr. Stephenson's affirmative claims
Mr. Stephenson then counterclaimed against Ironshore                against Ironshore and Old Republic. The court examines each
and brought third-party claims against Old Republic. Mr.            of his following claims in turn: (A) breach of contract, (B)
Stephenson asserts the following claims against both insurers       breach of the implied covenant of good faith and fair dealing
under Utah law: (1) breach of contractual duty to indemnify         as well as insurance bad faith, (C) intentional infliction of
Callister and Mr. Stephenson, (2) breach of the implied             emotional distress, and (D) civil conspiracy.
covenant of good faith and fair dealing, (3) insurance bad faith
and breach of fiduciary duties, (4) intentional infliction of
                                                                       A. Breach of Contract
emotional distress, and (5) civil conspiracy. Mr. Stephenson
                                                                    Mr. Stephenson's first cause of action against Ironshore and
also seeks a declaratory judgment regarding the rights and
                                                                    Old Republic is for breach of contract. Under Utah contract
duties of all parties. 4                                            law, only a party to an insurance contract has a right to enforce
                                                                    the contract, unless the claimant is an assignee or an intended
                                                                    third-party beneficiary of the contract. 9 The parties agree
                           ANALYSIS                                 that Mr. Stephenson is neither a party to nor an assignee
                                                                    of the insurance contracts involved in this case. The issue
 *4 Ironshore moves under Federal Rule of Civil Procedure           presented is whether Mr. Stephenson may bring his breach of
12(b)(6) to dismiss Mr. Stephenson's counterclaims. Old             contract claims as an intended third-party beneficiary of the
Republic likewise moves to dismiss Mr. Stephenson's third-
                                                                    contracts. 10
party claims under Federal Rule 12(b)(6).

                                                                     *5 Intended “[t]hird-party beneficiaries are those recognized
The court's analysis proceeds in three parts. First, the court
                                                                    as having enforceable rights created in them by a contract
provides the applicable legal standard. Second, the court
                                                                    to which they are not parties and for which they give no
examines each of Mr. Stephenson's substantive claims. And
third, the court discusses Mr. Stephenson's request for a           consideration.” 11 “For a third party to have an enforceable
declaratory judgment.                                               right, the contracting parties must have clearly intended to
                                                                    confer a separate and distinct benefit upon the third party.” 12
In the end, the court concludes that Mr. Stephenson has failed      “A third party who benefits only incidentally from the
to state a single valid claim for relief, and that dismissal is     performance of a contract has no right to recover under that
appropriate.                                                        contract.” 13

                                                                    Mr. Stephenson contends that he is an intended third-party
I. Legal Standard
                                                                    beneficiary of the Ironshore and Old Republic insurance
To survive a Federal Rule 12(b)(6) motion to dismiss, Mr.
                                                                    contracts because Callister and the insurers intended to confer
Stephenson must “state a claim upon which relief can be
                                                                    upon him separate and distinct rights. Mr. Stephenson points
granted,” meaning Mr. Stephenson must allege “enough
                                                                    to the bankruptcy provisions in each contract in support of
factual matter, taken as true, to make his ‘claim to relief ...
                                                                    his argument. The provisions—which are nearly identical
plausible on its face.’ ” 5 “A claim has facial plausibility when   —state that Callister's bankruptcy or insolvency will not
the plaintiff pleads factual content that allows the court to       relieve the insurers of their obligations under the policies.
draw the reasonable inference that the defendant is liable for      Mr. Stephenson argues that the provisions establish that the
the misconduct alleged.” 6 In undertaking this analysis, the        central aim of the policies is to benefit third parties like him by
court is instructed to “accept all well-pleaded facts as true       ensuring that injured third parties possess the right to collect
and view them in the light most favorable to the plaintiff.” 7



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directly from the insurer even if the insured becomes bankrupt     by the law firm's alleged malpractice. While Mr. Stephenson
or insolvent.                                                      may ultimately receive a benefit under one of the contracts
                                                                   if one of the insurers is obligated to indemnify Callister, that
The court disagrees with Mr. Stephenson's interpretation of        benefit will flow to Mr. Stephenson only incidentally because
the bankruptcy provisions, and concludes that he is not an         performance of the contracts merely provides a fund from
intended third-party beneficiary of the insurance contracts.       which his damages may be paid.
The court relies on two cases for this conclusion: the Utah
Supreme Court's decision in Broadwater v. Old Republic             Mr. Stephenson is not privy to the insurance contracts at
Surety and the Tenth Circuit's decision in Adams v. General        issue in this case, because he is not an intended third-party
Accident Assurance Co. of Canada.                                  beneficiary under either contract. Mr. Stephenson may not
                                                                   assert his breach of contract claims directly against Ironshore
First, the Utah Supreme Court held in Broadwater that              and Old Republic. The court dismisses Mr. Stephenson's
plaintiff, an injured third party, was not an intended third-      breach of contract claims with prejudice.
party beneficiary of a lost instruments bond, because nothing
in the bond indicated that the parties to the bond intended
                                                                     B. Breach of the Implied Covenant of Good Faith and
to confer on plaintiff the right to enforce payment. 14 The
                                                                     Fair Dealing, and Tortious Insurance Bad Faith
bond listed only the insured as obligees, the bond's purpose
                                                                   Mr. Stephenson's next causes of action against Ironshore and
was to indemnify the insured against third-party claims, and
                                                                   Old Republic are for (1) breach of the implied covenant of
“[p]erformance on the bond only incidentally benefit[ted]
                                                                   good faith and fair dealing and (2) tortious insurance bad faith.
plaintiff by providing a fund from which her damages may
                                                                   The court considers these overlapping claims together.
ultimately be paid.” 15
                                                                   The duty of an insurer to deal fairly under both of Mr.
Second, the Tenth Circuit held in Adams that the injured           Stephenson's causes of action derives from the insurance
third-party judgment creditors were not intended third-party
                                                                   contract. 20 In the absence of a contractual relationship or
beneficiaries of the insurance contract between the tortfeasor
                                                                   statutory duty, an injured third party may not sue a tortfeasor's
and the torfeasor's insurer. 16 The court stated that, although
                                                                   insurer for failure to bargain in good faith. 21 Accordingly,
an injured party may benefit under the contract if the insurer
                                                                   Utah courts have consistently held that only first parties to
pays, “the intent of the parties to the policy is to protect the
                                                                   an insurance contract or their privies may bring an action for
financial well-being of the insured, not to benefit the injured
                                                                   breach of the implied covenant of good faith and fair dealing,
party.” 17 This intent was reflected by the insurer's agreement
                                                                   or for tortious insurance bad faith. 22
                                                             18
to “pay and to defend its insured, not an injured party.”
Accordingly, the court found that “the benefit[s of the policy]    Here, although it is undisputed that Mr. Stephenson is a first
flow[ ] to the injured party only incidentally.” 19                party to neither insurance contract at issue, he nevertheless
                                                                   alleges that both Ironshore and Old Republic owe him a duty
This case is analogous. Nowhere in the bankruptcy provisions       of good faith and fair dealing as well as fiduciary duties.
or elsewhere in the insurance contracts do the contracting         But as explained above, Mr. Stephenson is not privy to either
parties refer to Mr. Stephenson or purport to provide him          contract: he is neither an assignee, nor an intended third-
(or other third-party claimants) with any enforceable rights.      party beneficiary. And even if he were an intended third-party
Instead, the provisions merely state that if Callister goes        beneficiary under either contract, the duty of good faith is
bankrupt or becomes insolvent, the insurers' obligations           not owed to third-party beneficiaries—it is owed only to first
to Callister will continue. Those obligations include the          parties. 23
insurers' duties to indemnify and defend Callister under
certain conditions. They do not include any duties owed to          *7 Mr. Stephenson lacks standing to bring claims against
Mr. Stephenson or other third-party claimants.                     Ironshore or Old Republic for breach of the implied covenant
                                                                   of good faith and fair dealing or for tortious insurance bad
 *6 Moreover, the contracting parties included the indemnity,      faith. Those claims are dismissed with prejudice.
defense, and bankruptcy provisions to protect the financial
well-being of Callister, not to benefit third parties injured


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                                                                    Insurers [ ] had notice and knowledge of the harm that they ...
   C. Intentional Infliction of Emotional Distress
                                                                    caus[ed] [him],” 30 he pleads no facts supporting this legal
Mr. Stephenson's next claim against Ironshore and Old
                                                                    conclusion.
Republic is for intentional infliction of emotional distress. To
state a claim for intentional infliction of emotional distress
                                                                    And Mr. Stephenson has failed to allege facts showing that the
under Utah law, a plaintiff must plead facts showing that the
                                                                    insurers proximately caused him to suffer severe emotional
defendant:
                                                                    distress. He instead states in a conclusory fashion that “[t]he
                                                                    Insurers' conduct has foreseeably and proximately caused
                                                                    Stephenson sever[e] emotional distress.” 31
             intentionally engaged in some conduct
             toward the plaintiff, (a) with the                      *8 These bare allegations are insufficient to state a claim for
             purpose of inflicting emotional                        intentional infliction of emotional distress upon which relief
             distress, or, (b) where any reasonable                 can be granted. The claim is dismissed.
             person would have known that such
             would result; and his actions are of
                                                                    D. Civil Conspiracy
             such a nature as to be considered
                                                                    Mr. Stephenson's final claim against Ironshore and Old
             outrageous and intolerable in that they
                                                                    Republic is for civil conspiracy. To state a claim for civil
             offend against the generally accepted
                                                                    conspiracy, a plaintiff must adequately plead the existence of
             standards of decency and morality. 24
                                                                    an underlying tort. 32 Where a plaintiff has “not adequately
                                                                    pleaded any of the basic torts [he] allege[s] dismissal of [his]
                                                                    civil conspiracy claim is appropriate. 33
“If the trial court determines that a defendant's conduct
was not outrageous as a matter of law, then the plaintiff's         Here, Mr. Stephenson's conspiracy claim is based on the
claim fails.” 25 “To be considered outrageous, the conduct          underlying torts of insurance bad faith and intentional
must evoke outrage or revulsion; it must be more than               infliction of emotional distress. But as discussed above, he
unreasonable, unkind, or unfair.” 26 “[C]onduct is not              has failed to adequately plead either of those tort causes of
outrageous simply because it is tortious, injurious, or             action. The court dismisses Mr. Stephenson's claim for civil
malicious, or because it would give rise to punitive damages,       conspiracy.
or because it is illegal.” 27
                                                                    III. Declaratory Judgment
Here, Mr. Stephenson has not alleged sufficient facts to state      Finally, Mr. Stephenson seeks a declaratory judgment
a plausible claim against Ironshore and Old Republic for            regarding the rights and duties of all parties as they relate to
intentional infliction of emotional distress. He alleges that the   the insurance contracts. His request is based on his contention
insurers' conduct toward him was “intentional and reckless”         that he is an intended third-party beneficiary of the insurance
and was “of such a nature as to be considered outrageous and        contracts. But as explained above, Mr. Stephenson is not an
intolerable in that it offends generally accepted standards of      intended third-party beneficiary of either contract. The court
decency and morality.” 28 He also alleges that “the Insurers'       dismisses Mr. Stephenson's claim for declaratory relief with
delay and protection of Callister[ ] have severely weakened         prejudice.
and harmed [him] financially, socially[,] and emotionally.” 29
But these allegations are legal conclusions that are not entitled
to any assumption of truth under Iqbal.                                                    CONCLUSION

Mr. Stephenson also alleges no facts plausibly showing that         For the reasons stated above, the court GRANTS Ironshore's
Ironshore or Old Republic intentionally engaged in conduct          motion to dismiss (Dkt. 20) and Old Republic's motion to
toward him with the purpose of inflicting emotional distress.       dismiss (Dkt. 18). The court dismisses Mr. Stephenson's First
While Mr. Stephenson claims that the insurers acted with            Amended Counterclaim and Third-Party Claims (Dkt. 14).
“callous disregard for [him] during the period in which the


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SO ORDERED this 17th day of February, 2016.




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                                                      Footnotes


1
       See    Carroll v. Lawton Indep. Sch. Dist. No. 8, 805 F.3d 1222, 1226 (10th Cir. 2015).
2      When evaluating the sufficiency of a complaint under Federal Rule of Civil Procedure 12(b)(6), a court may
       consider documents referred to in the pleading—such as the insurance contracts—“if the documents are
       central to the ... claim and the parties do not dispute the documents' authenticity.”     Jacobsen v. Deseret
       Book Co., 287 F.3d 936, 941 (10th Cir. 2002). Here, the insurance contracts are central to Mr. Stephenson's
       claims against Ironshore and Old Republic, and none of the parties dispute their authenticity. The court may
       consider the insurance contracts.
3      Ironshore asserts that it joined Mr. Stephenson as a party in this case so he would be bound by any declaratory
       judgment the court may issue. See         Harris v. Quinones, 507 F.2d 533, 537 (10th Cir. 1974).
4      Mr. Stephenson also asserts that Ironshore and Old Republic owe Callister and himself the following duties:
       (i) a duty to indemnify Callister and himself for the claims he has asserted in the state court action; (ii) a duty
       to diligently investigate the facts to determine whether his malpractice claims against Callister are valid; (iii)
       a duty to evaluate his claims fairly; (iv) a duty to engage counsel in the state court action who do not act
       unreasonably and do not assert objectively unreasonable or frivolous claims, defenses, or positions; (v) a
       duty to act promptly, zealously, and reasonably in accepting, rejecting, or settling his claims in the state court
       action; (vi) a duty to act objectively reasonable in dealing with Callister and himself; and (vii) a duty not to
       unreasonably diminish the amount of funds available for indemnification by asserting frivolous or bad faith
       claims or defenses in the state court action. Though Mr. Stephenson does not bring specific causes of action
       under these duties, he contends that Ironshore and Old Republic have breached each of these duties.
5
             Bryson v. Gonzales, 534 F.3d 1282, 1286 (10th Cir. 2008) (quoting          Bell Atl. Corp. v. Twombly, 550
       U.S. 544, 570 (2007)).
6
          Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
7
       Jordan-Arapahoe, LLP v. Bd. of Cnty. Comm'rs, 633 F.3d 1022, 1025 (10th Cir. 2011) (quoting             Beedle v.
       Wilson, 422 F.3d 1059, 1063 (10th Cir. 2005)).
8
          Iqbal, 556 U.S. at 678.
9
       See City of Grantsville v. Redev. Agency, 233 P.3d 461, 466 (Utah 2010); see also Adams v. Gen. Accident
       Assurance Co. of Canada, 133 F.3d 932, at *3 (10th Cir. 1997) (unpublished) (“ ‘In Utah, a plaintiff must
       direct his action against the actual tortfeasor, not the insurer’ because an injured party ‘has no direct cause




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       of action against the insurer.’ ” (quoting      Campbell v. Stagg, 596 P.2d 1037, 1039 (Utah 1967))); County
       v. Jensen, 83 P.3d 405, 408 (Utah Ct. App. 2003) (noting that “Utah adheres to the ‘general rule,’ that in the
       absence of a contractual provision or statute or ordinance to the contrary, the absence of privity of contract
       between the injured party and the tortfeasor's insurer bars a direct action by the injured party against the
       insurer” (citation omitted) (internal quotation marks omitted)).
10     See Orlando Millenia, LC v. United Title Serv. of Utah, Inc., 355 P.3d 965, 972 (Utah 2015) (“In contract law,
       a third party has standing to sue if it is an intended, and not merely an incidental, beneficiary.”).
11     Broadwater v. Old Republic Sur., 854 P.2d 527, 536 (Utah 1993) (citation omitted) (internal quotation marks
       omitted).
12     Id.
13     Id. at 537.
14     Id.
15     Id.
16     133 F.3d at *4–5.
17
          Id. at *4.
18     Id.
19     Id.
20     Broadwater, 854 P.2d at 535.
21     Id. at 535–36.
22
       See     Sperry v. Sperry, 990 P.2d 381, 383 (Utah 1999) (recognizing that “Utah law clearly limits the duty
       of good faith to first parties to insurance contracts” and that “only a first party can sue for breach of that
       duty”); Savage v. Educators Ins. Co., 908 P.2d 862, 865 (Utah 1995) (holding that “an action for breach of
       the covenant of good faith and fair dealing may be brought only by a party to the insurance contract”); id. at
       866 (stating that the “duty of good faith and fair dealing is a contractual covenant, one that arises solely as an
       incident to contractual obligations owed by an insurer to its insured”);      Ammerman v. Farmers Ins. Exch.,
       430 P.2d 576, 577–78 (Utah 1967) (holding that the tort cause of action for insurance bad faith is available
       only to first parties to an insurance contract, not third-party beneficiaries); Cannon v. Travelers Indem. Co.,
       994 P.2d 824, 828 & n.3 (Utah Ct. App. 2000) (noting that “[i]t is well settled that the duty of good faith and
       fair dealing runs to parties to an insurance contract or their privies,” and rejecting the third-party claimant's
       argument that she is owed a duty of good faith and fair dealing as a third-party beneficiary, because the duty
       is owed only to first parties to insurance contracts);     Pixton v. State Farm Mut. Auto. Ins. Co., 809 P.2d
       746, 749 (Utah Ct. App. 1991) (holding that “there is no duty of good faith and fair dealing imposed upon an
       insurer running to a third-party claimant ... seeking to recover against the company's insured”).
23
       See    Sperry, 990 P.2d at 383.
24     Bennett v. Jones, Waldo, Holbrook & McDonough, 70 P.3d 17, 30 (Utah 2003) (citation omitted).
25
          Prince v. Bear River Mut. Ins. Co., 56 P.3d 524, 536 (Utah 2002).
26
          Franco v. The Church of Jesus Christ of Latter-day Saints, 21 P.3d 198, 207 (Utah 2001) (citation omitted)
       (internal quotation marks omitted); see also        Retherford v. AT&T Commc'ns of Mountain States, Inc., 844
       P.2d 949, 977 n.19 (Utah 1992) (describing outrageous conduct as “extraordinarily vile conduct, conduct
       that is atrocious, and utterly intolerable in a civilized community” (citation omitted) (internal quotation marks
       omitted)).
27
           Prince, 56 P.3d at 536.
28     Dkt. 14, ¶¶ 107–08.
29     Id. ¶ 110.
30     Id. ¶ 111.



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31     Id. ¶ 115.
32     Puttuck v. Gendron, 199 P.3d 971, 978 (Utah Ct. App. 2008).
33     Id. (citation omitted) (internal quotation marks omitted).


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                             TAB 18
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                                                                 Cir.2002). This lawsuit arises from an April 18, 2013
                                                                 automobile accident. Plaintiffs allege that they were travelling
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                                                                 along Freeway Drive in East Orange, New Jersey when a
    Only the Westlaw citation is currently available.
                                                                 commercial vehicle owned by Defendant Carlisle Carrier
              NOT FOR PUBLICATION
                                                                 Corp. and driven by Defendant Marvin Francis struck their
     United States District Court, D. New Jersey.
                                                                 automobile. (Compl.¶¶ 13, 17.) As a result of the collision,
    Keith JONES, Dieunane Jean, Jayden Jones by                  Plaintiffs' vehicle was thrown over a retaining wall and onto
     and Through His guardian ad litem Dieunane                  Interstate 280 twenty feet below. (Compl.¶ 19.) Plaintiffs
   Jean, Janiah Jones by and Through Her guardian                allege the collision was the result of the careless, negligent,
                                                                 and reckless operation, maintenance, or repair of Defendants'
     ad litem Dieunane Jean, Jordan Jones by and
                                                                 vehicle. (Compl.¶ 17.) Each Plaintiff was hospitalized with
   Through His guardian ad litem, and Justin Jones
                                                                 substantial injuries.
   by and Through His guardian ad litem, Plaintiffs,
                          v.                                     Plaintiffs brought their personal injury and loss of consortium
    Marvin FRANCIS, Carlisle Carrier Corp., John                 lawsuit in New Jersey Superior Court, demanding judgment
      Does 1–5 and ABC Corps. 1–10, Defendants.                  for “compensatory damages, punitive damages, interest, costs
                                                                 of suit, attorney's [sic] fees, and other such relief as the Court
             Civil Action No. 13–04562(SRC).                     may deem proper.” (Compl. at 9–10 (First Count).) Because
                               |                                 the parties are completely diverse and the Complaint requests
                        Oct. 11, 2013.                           damages well in excess of $75,000, Defendants removed to
Attorneys and Law Firms                                          this Court. [Docket Entry 1.] Defendants have now moved
                                                                 under Rule 12(b)(6) to dismiss Plaintiffs' punitive damages
Edward P. Capozzi, Fishman, McIntyre, PC, Fort Lee,              request, arguing that under federal pleading standards and
NJ, James P. Kimball, Seigel C,LLC, Ridgewood, NJ, for           the New Jersey Punitive Damages Act Plaintiffs fail “to
Plaintiffs.                                                      state a claim that would support the imposition of punitive
                                                                 damages....” (Mov. Br. at 2.) In other words, Defendants do
Matthew T. Pisano, Mount Laurel, NJ, for Defendants.             not argue that the Complaint fails to state a claim upon which
                                                                 relief can be granted, but instead take issue with the nature of
                                                                 the damages Plaintiffs request as one form of that relief.
                         OPINION

CHESLER, District Judge.                                         II. Discussion

 *1 This matter comes before the Court upon the Rule                A. Standard of Review
12(b)(6) motion filed by Defendants Marvin Francis and           A complaint will survive a motion under Rule 12(b)(6) only
Carlisle Carrier Corp. (collectively, “Defendants”) to dismiss   if it states “sufficient factual allegations, accepted as true,
the punitive damages demand in Count One of the Complaint.       to ‘state a claim for relief that is plausible on its face.’ “
[Docket Entry 6.] Plaintiffs Keith Jones, Dieunane Jean,
                                                                    Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173
Jayden Jones, Janiah Jones, Jordan Jones, and Justin Jones
(collectively, “Plaintiffs”) have opposed the motion. [Docket    L.Ed.2d 868 (2009) (quoting Bell Atlantic v. Twombly, 550
Entry 11.] The Court has considered the papers filed by the      U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)).
parties, and, pursuant to Federal Rule of Civil Procedure 78,    “A claim has facial plausibility when the plaintiff pleads
rules on the motion without oral argument. For the reasons       factual content that allows the court to draw the reasonable
stated herein, Defendants' motion will be denied.                inference that the defendant is liable for the misconduct
                                                                 alleged.” Id. (citing Twombly, 550 U.S. at 556). Following
                                                                 Iqbal and Twombly, the Third Circuit has held that, to prevent
I. Background
                                                                 dismissal of a claim, the complaint must show, through the
For purposes of the present motion, the Court accepts as
                                                                 facts alleged, that the plaintiff is entitled to relief. Fowler
true all well-pleaded facts in the Complaint.   Pryor v.
                                                                 v. UPMC Shadyside, 578 F.3d 203, 211 (3d Cir.2009).
Nat'l Collegiate Athletic Assoc., 288 F.3d 548, 559 (3d


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While the Court must construe the complaint in the light            “actuated by actual malice or accompanied by a wanton
most favorable to the plaintiff, it need not accept a “legal        and willful disregard of persons who foreseeably might be
                                                                    harmed....” Id. at § 2A:15–5.12(a). This burden of proof,
conclusion couched as a factual allegation.”          Baraka v.
                                                                    Defendants argue, requires Plaintiffs to have plead “facts as to
McGreevey, 481 F.3d 187, 195 (3d Cir.2007);         Fowler, 578     defendants' intentional, willful, or wanton conduct ... within
F.3d at 210–11; see also        Iqbal, 556 U.S. at 679 (“While      the four corners of the Complaint.” (Mov. Br. at 3.)
legal conclusions can provide the framework of a complaint,
they must be supported by factual allegations.”). “Threadbare       Defendants' argument fails. The excerpt from the Punitive
recitals of the elements of a cause of action, supported by mere    Damages Act upon which Defendants rely is, quite simply,
                                                                    an “evidentiary inquiry,” since “it defines the quantum of
conclusory statements, will not suffice.”       Iqbal, 556 U.S.     proof [Plaintiffs] must present” on the issue of punitive
at 678.
                                                                    damages. See Fowler, 578 F.3d at 213. “Under the Federal
                                                                    Rules of Civil Procedure,” however, “an evidentiary standard
   B. Viability of Plaintiffs' Request for Punitive                 is not a proper measure of whether a complaint fails to
   Damages
                                                                    state a claim.” Id. (citing   Powell v. Ridge, 189 F.3d 387,
 *2 Initially, the Court notes that Defendants' argument
                                                                    394 (3d Cir.1999)). Should the opportunity arise in this
ascribes a breadth to the Supreme Court's Twombly and
                                                                    case, Defendants can move under Rule 56(a) for summary
Iqbal decisions that is not warranted by the language of
                                                                    judgment on the issue of punitive damages if Defendants
those cases or, in fact, Federal Rule of Civil Procedure 8(a)
                                                                    believe Plaintiffs have failed to adduce proofs sufficient to
itself. As demonstrated in the standard of review section that
                                                                    carry their burden under New Jersey law. The Court, however,
accompanies this and every other opinion on a Rule 12(b)
(6) motion, the “plausibility” pleading regime addresses the        will not force Plaintiffs to use their pleadings to do so. 2
types of facts a plaintiff must allege to make out a cause
of action, not the types of damages the alleged cause of             *3 The Court also notes that punitive damages in the case
action may eventually warrant. Indeed, nothing in Twombly,          of an automobile accident, while rare, are not out of the
Iqbal, or their progeny refers to pleading requirements for         realm of possibility. Punitive damages awards been upheld
damages requests at all; instead, the cases themselves analyze      where, for instance, an oil truck struck and killed a motorist
the well-pleaded facts exclusively in the context of the            and the nominal plaintiff submitted “substantial proof” that
                                                                    the truck was driven by an highly inexperienced driver
elements of the alleged cause of action. See      Iqbal, 556        who knew the brakes were not working but had not been
U.S. at 680, 687 (“Rule 8 does not empower respondent to
plead the bare elements of his cause of action [for invidious       trained how to fix them.  Smith v. Whitaker, 313 N.J.Super.
discrimination] ... and expect his complaint to survive a           165, 713 A.2d 20, 34–35 (N.J.Super.Ct.App.Div.1998).
                                                                    Elsewhere, the Appellate Division has held presenting proof
motion to dismiss.”); see also Malleus v. George, 641 F.3d          that a driver who caused an accident was intoxicated plus
560, 563 (3d Cir.2011) (“a court must ... look[ ] at the well-      evidence of “separate aggravating circumstances” creates
pleaded components of the complaint and evaluat[e] whether          a jury question on the issue of punitive damages. See
all of the elements [a plaintiff must plead to state a claim] are
sufficiently alleged”). In sum, once a civil complaint shows           Dong v. Alape, 361 N.J.Super. 106, 824 A.2d 251, 259
                                                                    (N.J.Super.Ct.App.Div.2003). In short, a lawsuit arising from
a claim to be “facially plausible,”       Fowler, 578 F.3d at       what may seem like “a simple motor vehicle accident” (see
210, nothing in Rule 8 or its judicial gloss suggests, let alone    Mov. Br. at 3), may in fact turn out to be something more.
requires, that this Court scrutinize the damages requested by       Then again, it might not. It follows that the Court should not
plaintiff as redress for that claim.                                decide the availability or unavailability of punitive damages
                                                                    as a matter of law on a motion to dismiss, and Defendants'
This conclusion is not altered by Defendants' reliance on New
                                                                    motion is thus denied . 3
Jersey's Punitive Damages Act, N.J. Stat. Ann. § 2A:15–5.9
to –5.17. 1 Under the Act, punitive damages may be awarded
only if the plaintiff “proves by clear and convincing evidence”     III. Conclusion
that the harm suffered was the result of acts or omissions



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For the reasons stated herein, the Court will deny Defendants'
motion to dismiss the request for punitive damages contained         All Citations
in Plaintiffs' Complaint. An appropriate form of Order will be
filed.                                                               Not Reported in F.Supp.2d, 2013 WL 5603848




                                                         Footnotes


1      The parties do not dispute that New Jersey law applies here.
2      The Punitive Damages Act requires that a plaintiff specifically request a punitive damages award in the
       complaint. N.J. Stat. Ann. 2A:15–5.11. It stands to reason that if the New Jersey legislature intended for a
       heightened pleading standard—say, one which approximates an evidentiary burden of proof—to apply to
       such a request, the legislature would have said so. Instead, the Punitive Damages Act, as written, deals with
       pleading and proving punitive damages in two separate and entirely unrelated sections.
3      Were the Court to accept Defendants' argument, every request for damages, including standard fare like
       attorneys' fees or “such other relief as the Court may deem proper,” (see, e.g., Compl. at 10), could be
       attacked at the motion to dismiss stage, on the theory that the facts alleged did not support a claim for such a
       remedy. Requests for this type of relief, while boilerplate, embody a central tenet of notice pleading under the
       federal rules, even post Twombly and Iqbal—once a plaintiff plausibly states his cause of action, subsequent
       discovery may reveal facts that bring to light previously unknown but nevertheless appropriate redress.


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                             TAB 19
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                                                                       Attorneys and Law Firms
      KeyCite Red Flag - Severe Negative Treatment
On Reconsideration Levinson v. Johnson & Johnson Consumer Companies,   Rosalee B. Connell, Finkelstein Thompson LLP, Washington,
Inc., D.N.J., August 2, 2010                                           DC, for Plaintiffs.
                    2010 WL 421091
     Only the Westlaw citation is currently available.                 Daniel B. Carroll, Theodore James McEvoy, Drinker, Biddle
               NOT FOR PUBLICATION                                     & Reath, LLP, David E. Sellinger, Greenberg Traurig LLP,
      United States District Court, D. New Jersey.                     Florham Park, NJ, John C. McGuire, Joseph F. Falgiani,
                                                                       Sedgwick, Detert, Moran, & Arnold, LLP, Newark, NJ, for
          Erika LEVINSON and Maria Watkins,                            Defendants.
             individually and on behalf of all
           others similarly situated, Plaintiffs,
                            v.                                                                    OPINION
          JOHNSON & JOHNSON CONSUMER
                                                                       DENNIS M. CAVANAUGH, District Judge.
              COMPANIES, INC. and Wal-
              mart Stores, Inc., Defendants.                            *1 This matter comes before the Court upon motion by
                                                                       Johnson & Johnson Consumer Companies, Inc. and Wal–
            Civil Action No. 09–CV–3317 (DMC).                         Mart Stores, Inc. (“Defendants”) to dismiss the complaint
                               |                                       of Erika Levinson and Maria Watkins, individually and on
                         Feb. 1, 2010.                                 behalf of all others similarly situated, (“Plaintiffs”) for failure
                                                                       to state a claim pursuant to Fed.R.Civ.P. 12(b)(6) and for
 West KeySummary                                                       lack of subject matter jurisdiction pursuant to Fed. R. Civ.
                                                                       12(b)(1). Pursuant to Fed.R.Civ.P. 78, no oral argument was
                                                                       heard. After considering the submissions of all parties, it is
 1       Antitrust and Trade Regulation              Nature            the decision of this Court for the reasons herein expressed that
         and form                                                      Defendants' motion to dismiss is granted in part and denied
         Products Liability      Economic losses;                      in part.
         damage to product itself
         Products Liability          Cosmetics, soaps, and
                                                                       I BACKGROUND
         hair-care products
                                                                       The Amended Class Action Complaint is brought
         Products Liability          Nature and form of                individually and behalf of all class purchasers (“Class
         remedy                                                        Members”) against Johnson & Johnson Consumer
         Store customers failed to state a consumer                    Companies, Inc. (“J & J”) and Wal–Mart Stores, Inc. (“Wal–
         fraud claim against a store under New Jersey                  Mart”) (collectively “Defendants”). Plaintiffs allege that J
         law. Although the customers alleged that they                 & J's Baby Shampoo and Wal–Mart's Equate Tearless Baby
         suffered only economic harm, their underlying                 Wash include and consequently, exposed Plaintiffs' children
         claims arose out of the store's allegedly defective           to “toxic and potentially cancer-causing chemicals[,]”
         baby shampoo which contained toxins that                      including methylene chloride, an ingredient banned [for use
         created a potential for harm to their children.               in cosmetics] by the Food and Drug Administration (“FDA”),
         Therefore the customer's claims were subsumed                 1,4–dioxane and formaldehyde.” (See Plaintiffs' Complaint
         by the New Jersey Product Liability Act (PLA)                 (“Pl.Compl.”), ¶ 3). “Along with increased risk of cancer,
         which precluded recovery for solely economic                  skin irritation and other serious health problems, chronic
         harm. Fed.Rules Civ.Proc.Rule 12(b)(1), 28                    exposure to low levels of chemicals can lead to asthma and
         U.S.C.A.; N.J.S.A. 2A:58C–1b(2).                              hypersensitivity in children.” (Pl.Compl., ¶ 38).

         2 Cases that cite this headnote                               “Independent Lab Tests found methylene chloride levels
                                                                       [between .35 ppm and] 1.1 ppm, 1,4–dioxane levels [between
                                                                       20 ppm and] 38 ppm, and formaldehyde levels of [between


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150 and 230] ppm” in J & J Baby Shampoo. (Pl.Compl., ¶ 43).         “The [d]istrict [c]ourt, in deciding a motion under
The chemicals are allegedly not disclosed on the J & J label.       Fed.R.Civ.P. 12(b)(6), [is] required to accept as true all
(Pl.Compl., ¶ 44). “Independent Lab Tests of Equate Tearless        factual allegations in the complaint and draw all inferences
Baby Wash revealed methylene chloride levels of 0.57 ppm,           in the facts alleged in the light most favorable to the
1,4–dioxane levels of 39 ppm and formaldehyde levels of 360
                                                                    [Plaintiff].”    Phillips v. County of Allegheny, 515 F.3d 224,
ppm.” (Pl.Compl., ¶ 11).
                                                                    228 (3d Cir.2008). “While a complaint attacked by a Rule
                                                                    12(b)(6) motion to dismiss does not need detailed factual
“Plaintiffs and the Class Members were damaged by
                                                                    allegations, [ ] a plaintiff's obligation to provide the ‘grounds'
Defendants' omissions and failure to warn that their Children's
                                                                    of his ‘entitle[ment] to relief'requires more than labels and
Personal Care Products were contaminated with toxic and
                                                                    conclusions, and a formulaic recitation of the elements of a
potentially cancer-causing chemicals.” (Pl.Compl., ¶ 4).
The J & J Baby Shampoo contains descriptive messages,               cause of action will not do.”   Bell Atl. Corp. v. Twombly,
such as “as gentle to the eyes as pure water[,]” “Ultra             550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).
Mild” and “Hypoallergenic” and “rinses clean ... gentle             “[A court is] not bound to accept as true a legal conclusion
enough even for newborns.” (Pl.Compl., ¶ 13). Wal–                  couched as a factual allegation.”       Papasan v. Allain, 478
Mart's Equate Tearless Baby Wash contains descriptive               U.S. 265, 286, 106 S.Ct. 2932, 92 L.Ed.2d 209 (1986).
messages, such as “an extra mild ... cleanser that won't sting      “Factual allegations must be enough to raise a right to relief
baby's eyes,” “rinses completely,” and is a “hypoallergenic         above a speculative level, [ ] on the assumption that all factual
formula.” (Pl.Compl., ¶ 51). Plaintiffs assert that the offensive   allegations in the complaint are true (even if doubtful in fact).”
chemicals could have been removed by a process called
“vacuum stripping.” (Pl.Compl., ¶ 14). Lastly, Plaintiffs              Bell, 550 U.S. at 555–56.
remark that children are especially vulnerable and susceptible
to the chemicals in question. (Pl.Compl., ¶ ¶ 35–38).
                                                                      B. Fed.R.Civ.P. 12(b)(1)
                                                                    “On a Rule 12(b)(1) motion, no presumption of truthfulness
 *2 Count I of the complaint asserts a claim for breach
of implied warranty pursuant to the Uniform Commercial              attaches to the allegations of the plaintiff.”   CNA v. United
Code (“UCC”) § 2–314. (Pl. Compl. at 71). Count II of the           States, 535 F.3d 132, 139 (3d Cir.2008). A facial attack
complaint asserts a claim for breach of implied warranties of       “concerns ‘an alleged pleading deficiency’ whereas a factual
merchantability and fitness for a particular use. (Pl.Compl., ¶     attack concerns the actual failure of [a plaintiff's] claims to
83). Count III of the complaint asserts a claim for unfair and      comport [factually] with the jurisdictional prerequisites.” Id.
deceptive trade practices. (Pl.Compl., ¶ 90). Count IV of the       (citing U.S. ex rel. Atkinson v. Pa. Shipbuilding Co.,, 473 F.3d
complaint asserts a claim for unjust enrichment. (Pl.Compl.,        506, 514 (3d Cir.2007)).
¶ 98).

                                                                    III. DISCUSSION
II. STANDARD OF REVIEW
                                                                       A. Standing
“There is a fundamental difference of review under Rule 12(b)
                                                                    To bring a suit in a federal court, the plaintiff must
(1), where the existence of disputed facts will not preclude the
                                                                    have standing pursuant to Article III of the United States
court from evaluating the merits of the jurisdictional claim,
                                                                    Constitution. To establish standing under Article III, the
and Rule 12(b)(6) where the court is required to accept as
                                                                    plaintiff must show: (1) injury in fact; (2) causation; and (3)
true all the allegations of the complaint and all inferences
                                                                    redressability.    Horvath v. Keystone Health Plan E., Inc.,
arising from them.”     Anjelino v. New York, 200 F.3d 73,
87 (3d Cir.1999). “[T]he threshold to withstand a motion to         333 F.3d 450, 455 (3d Cir.2003);      Lujan v. Defenders of
dismiss under [Rule] 12(b)(1) is thus lower than that required      Wildlife, 504 U.S. 555, 560–61, 112 S.Ct. 2130, 119 L.Ed.2d
                                                                    351 (1992).
to withstand a Rule 12(b)(6) motion.”     Kehr Packages Inc.
v. Fidelcor, Inc., 926 F.2d 1406, 1409 (3d Cir.1991)).

                                                                                  *3 First, the plaintiff must have
  A. Fed.R.Civ.P. 12(b)(6)                                                       suffered an injury in fact—an invasion



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             of a legally protected interest which                   reliance upon this Court's decision in Koronthaly, Defendants
             is (a) concrete and particularized; and                 assert that Plaintiffs' demand for a refund of the purchase price
             (b) actual or imminent, not conjectural                 as a consequence of exposure to Defendants' products fails
             or hypothetical. Second, there must                     to establish an injury-in-fact and therefore, is not sufficient
             be a causal connection between the                      to confer standing where the alleged harm is no more than
             injury and the conduct complained                       speculative. As a result, Defendants claim that the absence
             of—the injury has to be fairly ...                      of a cognizable injury and thereby standing in this matter
             trace[able] to the challenged action of                 requires dismissal pursuant to Fed.R.Civ.P. 12(b)(1).
             the defendant, and not ... th[e] result
             [of] the independent action of some                     In response, Plaintiffs contend that economic injury is
             third party not before the court. Third,                sufficient to confer standing in this matter, relying upon
             it must be likely, as opposed to merely
                                                                        Clinton v. City of New York, 524 U.S. 417, 118 S.Ct.
             speculative, that the injury will be
             redressed by a favorable decision.                      2091, 141 L.Ed.2d 393 (1998) and            Danvers Motor Co.
                                                                     v. Ford Motor Co., 432 F.3d 286 (3d Cir.2005). Plaintiffs
                                                                     contend that where the product contains undisclosed toxins
Id. (citing AT & T Communications of N.J., Inc.v. Verizon            and an ingredient banned by the FDA, the injury arises at
N.J., Inc., 270 F.3d 162, 170 (3d Cir.2001)). “The injury must       the time of purchase. In distinguishing the Koronthaly v.
                                                                     L'Oreal case, citing to this Court's disposition on a motion for
affect the plaintiff in a personal and individual way.”       Pitt   reconsideration, Plaintiffs assert that unlike Koronthaly where
News v. Fisher, 215 F.3d 354 (3d Cir.2000);       Alston v.          this Court determined that plaintiff “provided no authoritative
Countrywide Fin. Corp., 585 F.3d 753, 763 (3d Cir.2009).             evidence that the lead levels in defendants' lipstick products
                                                                     constitute[d] a dangerous amount or [were] in some way
“[O]rdinarily, one may not claim standing .... to vindicate the      prohibited[,]” the present action involves methylene chloride,
constitutional rights of some third party.” Pitt, 215 at 362.        a substance banned by the FDA for use in cosmetics. 2008
“We apply this prudential rule against third party standing          U.S. Dist. LEXIS 86419, *11 (D.N.J. Oct. 24, 2008). Further,
even when the requirements of Article III have been met,             Plaintiffs contend that the Environment Protection Agency
to ‘avoid deciding questions of broad social import ... [and]        (“EPA”) classifies the other chemicals at issue as probable
to limit access to the federal courts to those litigants best        carcinogens. Lastly, Plaintiffs assert that their claims should
                                                                     stand because Plaintiffs have at least raised an issue of
suited to assert a particular claim.’ “ Id. (citing  Gladstone,
                                                                     fact with respect to whether the chemicals contained in
Realtors v. Village of Bellwood, 441 U.S. 91, 99–100, 99 S.Ct.
                                                                     Defendants' products are dangerous in amount.
1601, 60 L.Ed.2d 66 (1979)). “[W]hen the asserted harm is a
‘generalized grievance’ shared in substantially equal measure
                                                                      *4 The Koronthaly case involved the purchase of a lipstick
by all or a large class of citizens, that harm alone normally
                                                                     containing lead, the content of which was not subject to
does not warrant exercise of jurisdiction.” Berg v. Obama, 586
                                                                     FDA regulation. Id. at *2–3. However, the lead content of
F.3d 234, 239 (2009) (citing Warth v. Seldin, 422 U.S. 490,          the lipstick appeared dangerous when compared to the lead
499, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975)). Furthermore,             content regulation imposed by the FDA on candy. Id. In
“[t]he standing inquiry does not change in the context of            the absence of an FDA regulation concerning lead content
a putative class action....[S]tanding cannot be predicated on        in lipstick, or other legal prohibition, the plaintiff could
an injury which the plaintiff has not suffered, nor can it be        not “seek a remedy for a harm that she ha[d] not actually
acquired through the back door of a class action.” Koronthaly        or allegedly suffered.” Moreover, this Court accorded great
v. L'Oreal, 2008 U.S. Dist. LEXIS 59024, *12 (D.N.J. July
                                                                     weight to the decision in        Williams v. Purdue Pharma
25, 2008).
                                                                     Co., 297 F.Supp.2d 171 (D.D.C.2003), concluding that the
                                                                     “plaintiffs' allegation of an economic injury in a products
As a threshold matter, Defendants contend that Plaintiffs lack
                                                                     liability action was insufficient to establish injury-in-fact”
standing to sue in the instant action given that Plaintiffs failed
                                                                     because “without alleging that a product failed to perform as
to allege an injury-in-fact or that the product failed to perform
                                                                     advertised, a plaintiff has received the benefit of his bargain
the hair-cleansing benefits for which it was sold. Moreover, in
                                                                     and has no basis to recover purchase costs.” Id. at *13–14.



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Therefore, the Williams Court “remarked that benefit of the
                                                                    state. See    Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S.
bargain injury could not sustain a claim of injury in fact.” Id.
                                                                    487, 496–97, 61 S.Ct. 1020, 85 L.Ed. 1477 (1941). New
                                                                    Jersey's choice of law rules mandate that the determinative
“The term ‘cosmetic’ means (1) articles intended to be
                                                                    law is that of the state with the greatest interest in governing
rubbed, poured, sprinkled, or sprayed on, introduced into, or
                                                                    the particular issue. The first step is to determine whether
otherwise applied to the human body or any part thereof for
                                                                    a conflict exists between the law of interested states, and
cleansing, beautifying, promoting attractiveness, or altering
                                                                    then any conflict shall be determined on an issue-by-issue
the appearance, and (2) articles intended for use as a
                                                                    basis. “Under general conflict of laws principles, where the
component of any such articles; except that such term shall
                                                                    laws of the two jurisdictions would produce the same result
not include soap.”      21 U.S.C. § 321(i). “In its definition of   on the particular issue presented, there is a “false conflict,”
the term ‘cosmetic,’ the Federal Food, Drug, and Cosmetic           and the Court should avoid the choice-of-law question.”
Act specifically excludes soap. The term ‘soap’ is nowhere
                                                                        Williams v. Stone, 109 F.3d 890, 894 (3d Cir.1997). If there
defined in the act. In administering the act, the Food and
                                                                    is a conflict, then the Court must identify the governmental
Drug Administration interprets the term ‘soap’ to apply only
                                                                    policies underlying the law of each state and how those
to articles that meet the following conditions:”
                                                                    policies are affected by each state's contacts to the litigation. If
  (1) The bulk of the nonvolatile matter in the product             the state's law is not related to its contacts with the litigation,
  consists of an alkali salt of fatty acids and the detergent       then the state does not have an interest in having its law
  properties of the article are due to the alkali-fatty acid        applied to the underlying issue. See Vezey v. Doremus, 103
  compounds; and                                                    N.J. 244, 510 A.2d 1187, 1189 (N.J.1986). That is, if there is
                                                                    an actual conflict between the two states' laws, the court then
  (2) The product is labeled, sold, and represented only as
                                                                    determines “which state has the most meaningful connections
  soap.
                                                                    with and interests in the transaction and the parties.” Spence–
21 § C.F.R. 701.20. Plaintiff asserts and Defendants do not         Parker v. Del. Riv. & Bay Authority, 2009 U.S. Dist. LEXIS
appear to dispute that the Baby Shampoo is classified as a          75187, *20, 2009 WL 2602094 (D.N.J. Aug. 21, 2009).
cosmetic rather than soap. Therefore, the allegedly defective       Where no actual conflict of law exists, no choice of law
products will be treated as a cosmetics subject to the FDA          need be made. See      Zavala v. Wal–Mart Stores, Inc., 393
regulation banning methylene chloride.                              F.Supp.2d 295, 333 (D.N.J.2005). “If there is no actual
                                                                    conflict, the Court must apply the law of New Jersey.” LNT
While the Court agrees that the assertion of an economic            Merck Co. v. Dyson, Inc., 2009 U.S. Dist. LEXIS 62308, *6
injury is not an automatic bar to standing, Koronthaly
                                                                    (D.N.J. July 21, 2009) (citing     Lebegern v. Forman, 471
demonstrates that an exception has been recognized in the
                                                                    F.3d 424, 428 (3d Cir.2006)). In that instance, a motion to
context of claims concerning defective products, absent a
                                                                    dismiss under Fed.R.Civ.P. 2(b) (6) should be decided under
specific legal prohibition precluding particular ingredients or
usages. Insofar as Plaintiffs claims pertain to allegedly toxic     New Jersey law. See    Gallerstein v. Berkshire Life Ins. Co.
chemicals that have not been banned by the FDA for use              of America, 2006 U.S. Dist. LEXIS 64487, *3, 2006 WL
in cosmetics, including 1,4–dioxane and formaldehyde, in            2594862 (D.N.J. Sept. 11, 2006).
accordance with Koronthaly, this Court concludes that any
potential injury is too remote, hypothetical and/or conjectural     The parties' respective moving papers recognize that the
to establish standing in this matter. However, insofar as           outcome is the same regardless of whether New Jersey State
Plaintiffs claims pertain to methylene chloride, a chemical         Law or Missouri State Law is applied to this diversity action.
explicitly banned for use by the FDA in any cosmetic,               Therefore, the parties assert that no conflict of laws issue is
this Court declines to dismiss Plaintiffs' claims pursuant to       present in the instant matter.
Fed.R.Civ.P. 12(b)(1) for lack of standing.

                                                                       C. New Jersey State Law Breach of Warranty, Consumer
 B. Choice of Law                                                      Fraud and Unjust Enrichment Claims
*5 As a federal district court sitting in diversity, this Court     Defendants assert that dismissal is required with respect to
must apply the choice of law rules of New Jersey, the forum         all Plaintiffs' claims because the claims are based on alleged



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harm caused by a product and as a consequence, are subsumed          potential for harm caused by Merck's drug. It is obviously
by the New Jersey Product Liability Act (“PLA”). Plaintiffs          a product liability claim. Plaintiffs' CFA claim does not
contend that the PLA does not apply because their claims             fall within an exception to the PLA, but rather clearly falls
are essentially classic breach of warranty and consumer fraud        within its scope. Consequently, plaintiffs may not maintain
causes of action. Plaintiffs argue that “[w]hile the PLA covers      a CFA claim.
and subsumes causes of action involving physical harms
caused by a product, the [Consumer Fraud Act (“CFA”) ]             Id. 1 2
and other remedies remain available when the plaintiffs only
claim economic injuries involving a product.” (Pl. Br. at 18).     Similarly, at the heart of this matter is the potential
Further, Plaintiffs argue that the PLA does not apply because      for harm caused by the defective products, J & J Baby
Plaintiffs do not assert themselves as “claimants” or allege       Shampoo and Wal–Mart Equate Tearless Baby Wash,
“harm” as defined by the PLA.                                      containing allegedly “toxic chemicals linked to increased
                                                                   cancer risk, adverse skin reactions, and other serious health
 *6 The New Jersey Supreme Court decision in Sinclair              problems.” (See Pl. Compl., ¶ 2). Plaintiffs directly assert
v. Merck & Co . is instructive. In Sinclair v. Merck &             that they “were damaged by Defendants' omissions and
Co., the Plaintiffs “alleged that as a result of their direct      failure to warn that their Children's Personal Care Products
and prolonged consumption of Vioxx, they are at enhanced           were contaminated with toxic and potentially cancer-causing
risk of serious undiagnosed and unrecognized myocardial            chemicals.” (Pl.Compl., ¶ 4). Therefore, consistent with the
infarction, commonly referred to as “silent heart attack,” and     Sinclair decision, this Court concludes that the PLA subsumes
                                                                   all of Plaintiffs' claims, effectively precluding Plaintiffs'
other latent and unrecognized injuries.”     195 N.J. 51, 55,
                                                                   claims with respect to the CFA, and otherwise, in the absence
948 A.2d 587 (2008). In that case, the plaintiffs asserted
                                                                   of “harm” as defined by the PLA. The Court does not agree
claims for negligence, violation of the Product Liability Act,
                                                                   that articulating a claim in terms of pure economic harm
violation of the Consumer Fraud Act, breach of express and
                                                                   where the core issue is the potential injury arising as a
implied warranties and unjust enrichment. Id. In dismissing
                                                                   consequence of the products' allegedly harmful chemicals
the complaint in its entirety, New Jersey Supreme Court
                                                                   converts the underlying defective product claim into an
determined the following,
                                                                   independent and unrelated consumer fraud issue. Limiting a
  [p]laintiffs seek to avoid the requirements of the PLA           claim to economic injury and the remedy sought to economic
  by asserting their claims as CFA claims. However, the            loss cannot be used to obviate the PLA.
  Legislature expressly provided in the PLA that claims for
  “harm caused by a product” are governed by the PLA                *7 The assertion of a claim pursuant to the PLA is premised
  “irrespective of the theory underlying the claim.” N.J.S.A.      upon a requisite level of harm, including:
  2A:58C–1b(3). We explained in Lead Paint, supra, that
  “[t]he language chosen by the Legislature in enacting
  the PLA is both expansive and inclusive, encompassing                         (a) physical damage to property, other
  virtually all possible causes of action in relating to harms                  than to the product itself; (b) personal
                                                                                physical illness, injury or death; (c)
  caused by consumer and other products.”          191 N.J. at
                                                                                pain and suffering, mental anguish
  436–37, 924 A.2d 484. As a result, we declared that “[i]n
                                                                                or emotional harm; and (d) any loss
  light of the clear intention of our Legislature to include
                                                                                of consortium or services or other
  all [product liability] claims within the scope of the PLA,
                                                                                loss deriving from any type of harm
  we find no ground on which to conclude that the claims
                                                                                described in subparagraphs (a) through
  being raised by plaintiffs, regarding an ordinary household
                                                                                (c) of this paragraph.
  product used by consumers, were excluded from the scope
  of” the PLA. We reach the same conclusion here.

  The language of the PLA represents a clear legislative           N.J.S.A. 2A:58C–1b(2). Harm, for purposes of the PLA,
  intent that, despite the broad reach we give to the CFA, the     does not include pure economic loss. Insofar as Plaintiffs
  PLA is paramount when the underlying claim is one for            concede that their injury is purely economic, Plaintiffs' claims
  harm caused by a product. The heart of plaintiffs' case is the   cannot survive. Therefore, with respect to New Jersey law,



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in accordance with Sinclair, Plaintiffs' complaint is dismissed      practice or the concealment, suppression, or omission of any
without prejudice in its entirety.                                   material fact in connection with the sale or advertisement
                                                                     of any merchandise in trade or commerce” by defining

   D. Missouri State Law Breach of Warranty, Consumer                such activity as an unlawful practice.” Plubell v. Merck
   Fraud and Unjust Enrichment Claims                                & Co., 289 S.W.3d 707, 711 (Mo.App.S.D.2009) (citing
Despite the parties' respective beliefs that there is no conflict       Mo. Ann. Stat. § 407.020). “Civil actions may be brought
of law issue present in the instant matter, it is not clear to the   under the MMPA to recover actual damages by ‘ [a]ny
Court that product liability laws of Missouri subsume related        person who purchases or leases merchandise primarily for
claims in the same manner as the New Jersey PLA. Therefore,          personal, family or household purposes and thereby suffers
upon dismissal of all New Jersey State Law claims and for            an ascertainable loss of money or property, real or personal,
purposes of inclusion, the Court will proceed by addressing
                                                                     as a result of [an unlawful practice].’ ” Id. (citing      Mo.
the viability of Plaintiffs' claims under Missouri State Law.
                                                                     Ann. Stat. § 407.025.1). “The MMPA also specifically
If Plaintiffs have asserted viable claims pursuant to Missouri
                                                                     authorizes class actions where an unlawful practice ‘has
State Law, then a conflict of law exists and the Court will
                                                                     caused similar injury to numerous other persons.’ ” Id. (citing
undertake to ascertain which state has the superior interest in
the litigation.                                                         Mo. Ann. Stat. § 407.025.2). To the extent that Plaintiffs'
                                                                     claims pursuant to Missouri State Law concern methylene
                                                                     chloride, a chemical banned by the FDA for use in cosmetics
   i. Consumer Fraud                                                 and detected in Defendants' products, Plaintiffs claims may
Defendants contend that Plaintiffs have no viable claims             proceed under Missouri State Law.
pursuant to Missouri State Law because Plaintiffs fail to
allege any non-speculative, ascertainable loss and fail to plead      *8 Although foreclosed by application of the PLA in the
their claims with particularity in accordance with Fed.R.Civ.P.      instant case, the CFA was enacted to “protect the consumer
9(b). Plaintiffs assert that they “suffered ascertainable losses     against imposition and loss as a result of fraud and fraudulent
to the extent that they paid for and got something less              practices by persons engaged in the sale of goods and
than what was promised” and to the extent that Defendants
engaged in material omissions of fact with respect to the            services.”   Smith v. Alza, 400 N.J.Super. 529, 552, 948
presence of toxic chemicals in the products at issue. (Pl. Br.       A.2d 686 (2008). “The MMPA was enacted to preserve
at 29, 33). Plaintiffs also present the Court with the results       fundamental honesty, fair play, and right dealings in public
of independent lab tests detecting the presence of methylene         transactions.”    Owen v. GMC, 533 F.3d 913, 922 (8th
chloride in the allegedly defective products.
                                                                     Cir.2008) (citing Scott v. Blue Springs Ford Sales, Inc., 215
                                                                     S.W.3d 145, 160 (Mo.Ct.App.2006)). Beyond the underlying
“A party must plead the circumstances of each element
                                                                     governmental purpose of the MMPA, the representative
of fraud with particularity.”      Owen v. GMC, 533 F.3d             Plaintiffs in this action reside in Missouri and presumably,
913, 921 (8th Cir.2008); Fed.R.Civ.P. 9(b). “Although the            the purchases of the allegedly defective products occurred
[Missouri Merchandising Practices Act (“MMPA”) ] does                in Missouri. J & J is a New Jersey corporation engaged in
not sound in tort and does not require a showing of a                business throughout the United States, including Missouri.
product defect as a matter of course, the plain language             Wal–Mart is an Arkansas corporation engaged in business
of the MMPA demands a causal connection between the                  throughout the United States, including Missouri. Therefore,
ascertainable loss and the unfair or deceptive merchandising         the Missouri State contacts in the instant matter seem to
practice.”    Id. at 922. However, if “the alleged unfair            outweigh New Jersey State contacts. Missouri State Law
practice is the failure to disclose a product defect, there          prevails with respect to this issue.
must be a showing that the [product] in fact suffered
that defect, or evidence from which the defect reasonably
                                                                        ii. Breach of Implied Warranty
could be inferred, in order to demonstrate an ascertainable
                                                                     Defendants assert that Plaintiffs' breach of implied warranty
loss as a result of [defendant]'s failure to disclose the
                                                                     claims should be dismissed because Plaintiffs' complaint fails
defect.”     Id. at 923. “The MMPA prohibits “deception,             to allege that the products were not merchantable or failed to
fraud, false pretense, false promise, misrepresentation, unfair      perform the function for which they were sold, and because


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the complaint fails to allege any purpose that is separate          with the foregoing limitations, Plaintiffs' claims for breach
and apart from the ordinary purpose. (Def. Br. at 28–29).           of implied warranties pursuant to Missouri State Law are
Plaintiffs' complaint asserts a claim for breach of implied         permitted to proceed.
warranties because the goods were allegedly not fit for their
ordinary purpose or particular use on children and further,         Although foreclosed by application of the PLA in the instant
because the products fail to conform to the promises and            matter, the underlying purpose of the UCC as recognized
representations made on the labels. Specifically, Plaintiffs        by the New Jersey Supreme Court, is “to simplify, clarify
allege that the products are not merchantable because they are      and modernize the law governing commercial transactions;
contaminated with methylene chloride. (Pl. Br. at 36).              to permit the continued expansion of commercial practices
                                                                    through custom, usage and agreement of the parties; and
“In an action based on breach of warranty, it is of course          to make uniform the law among various jurisdictions.” N.J.
necessary to show not only the existence of the warranty but
                                                                    S.A. 12A:1–102(1);        Alloway v. General Marine Indus.,
the fact that the warranty was broken and that the breach of
                                                                    L.P., 149 N.J. 620, 630, 695 A.2d 264 (1997). Codified
the warranty was the proximate cause of the loss sustained.”
                                                                    under chapter 400 of Missouri State Law, Missouri State
Worthy v. Specialty Foam Products, 591 S.W.2d 145, 149
                                                                    Law adheres to the same underlying purposes as New Jersey.
(Mo.App. S.D.1979). “After establishing the existence of this
                                                                    See Excel Bank v. Nat'l Bank of Kansas City, 290 S.W.3d
warranty,” there must be a showing; “(1) that the implied
                                                                    801, 803–04 (Mo.App. W.D.2009). Similar to the foregoing
warranty of merchantability had been broken, and (2) that the
                                                                    analysis, Missouri's contacts with the representative Plaintiffs
breach of this warranty was the proximate cause of its loss.”
                                                                    and the transactions that are the source of the representative
Id. “Crucial to the issue of whether or not a seller has breached
                                                                    Plaintiffs' claims favors the application of Missouri law over
an implied warranty of merchantability, is the determination
                                                                    New Jersey with respect to this issue.
of whether or not the goods in question are merchantable.” Id.
“Merchantable goods must be at least as such as[:]”
                                                                       iii. Unjust Enrichment
  (a) pass without objection in the trade under the contract
                                                                    Defendants assert that unjust enrichment is not a proper
  description; and
                                                                    remedy available in this case because Plaintiffs fail to
  (b) in the case of fungible goods, are of fair average quality    assert that the products failed to perform. By contrast,
  within the description; and                                       Plaintiffs assert that they purchased the products conferring
                                                                    a monetary benefit upon the Defendants for useless products
  (c) are fit for the ordinary purposes for which such goods        that they would not otherwise have purchase, but for the
  are used; and                                                     representations that the products were safe, gentle and/or
                                                                    mild. “The elements of a claim of unjust enrichment are: (1)
   *9 (d) run, within the variations permitted by the               a benefit conferred upon the defendant by the plaintiff; (2)
  agreement, of even kind, quality and quantity within each         appreciation by the defendant of the fact of such benefit; and
  unit and among all units involved; and                            (3) acceptance and retention by the defendant of that benefit
                                                                    under circumstances in which retention without payment
  (e) are adequately contained, packaged, and labeled as the
                                                                    would be inequitable.” Mays–Maune & Co. v. Werner
  agreement may require; and
                                                                    Bros., Inc., 139 S.W.3d 201, 205 (Mo.App. E.D.2005).
  (f) conform to the promises or affirmations of fact made on       Equitable remedies are coercive remedies like declaratory
  the container or label if any.                                    judgments and injunctions, the latter of which includes
                                                                    specific performance and some types of restitution.      State
Mo. Ann. Stat. § 407.2–314. The Uniform Commercial
                                                                    ex rel Leonardi v. Sherry, 137 S.W.3d 462, 470 (2004).
Code (“UCC”) limits the recovery of damages to those
                                                                    “Damages and, in some instances, restitution constitute the
proximately caused by the breach of warranty and imposes an
                                                                    legal remedies.” Id. (internal citations omitted). Generally,
obligation on the buyer to minimize damages in good faith.
                                                                    equitable remedies are only available when there is a showing
   Groppel Co. v. United States Gypsum Co., 616 S.W.2d              of irreparable injury and/or the absence of an adequate
49, 59 n. 11 (1981). Assuming, without concluding, that
                                                                    remedy at law. See   State ex rel General Dynamics Corp.
the descriptive messages on the alleged defective products
                                                                    v. Luten, 566 S.W.2d 452, 461 (1978). “There is nothing
constitute promises or affirmations, then, in accordance


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more basic in law than the proposition that there is neither
irreparable injury nor lack of an adequate remedy at law when            IV. CONCLUSION
the only harm would be the payment of money, which clearly                *10 For the foregoing reasons, Defendants' motion
can be recovered if, in fact, the plaintiff succeeds on the              is granted in part and denied in part. Plaintiff's
merits of its claims .... [I]f plaintiff were to prevail, it would       complaint is partially dismissed without prejudice pursuant
have a legal remedy that would allow it to recover any funds             to Fed.R.Civ.P. 12(b)(1) and Fed.R.Civ.P. 12(b)(6). An
that, arguendo, were paid wrongfully.” Shipley v. Cates, 200             appropriate order accompanies this opinion.
S.W.3d 529, 541 (2006). Plaintiffs explicitly and exclusively
allege economic injury. Therefore, there is no indication that
a remedy at law would be inadequate. To the extent that                  All Citations
Plaintiffs assert a claim for unjust enrichment pursuant to
Missouri State Law, Plaintiffs' complaint is dismissed.                  Not Reported in F.Supp.2d, 2010 WL 421091




                                                             Footnotes


1       Although this Court permitted the CFA claims to proceed in Nafar v. Hollywood Tanning Sys., Inc., in that
        case, the Plaintiff's claims and basis for distinction of the CFA from the PLA was the purchase of services,
        rather than the purchase of a defective product. 2007 U.S. Dist. LEXIS 26312, *12–14 (D.N.J. Apr. 5, 2007).
        CFA claims rooted in services are clearly distinguishable from claims grounded in products. The present
        action does not involve a claim for defective services.
2       Further, Plaintiffs misconstrue In re Ford Motor Co. E–350 Van Products, 2008 U.S. Dist. LEXIS 73690,
        *48 n. 9 (D.N.J. Sept. 3, 2008), where the Court did indeed find the Sinclair case “inapposite” “because,
        by design, the PLA ‘except[s] actions for harm caused by breach of an express warranty[,]’ which plaintiffs
        expressly allege[d.]” On the basis of an express warranty, the Court concluded that Sinclair decision “does
        not mandate dismissal of unjust enrichment and state consumer fraud claims where a party does not plead a
        PLA claim.” Id. (internal citations omitted). Plaintiffs do not assert a claim for breach of an express warranty
        in the present action.


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                             TAB 20
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                                                                       market from January 2002 to the present (“the Class Period”).
                                                                       On November 15, 2010, Direct Purchaser Plaintiffs (“DP
     KeyCite Yellow Flag - Negative Treatment                          Plaintiffs”) Orangeburg Milling Company, Inc., Bar Ale, Inc.,
Declined to Follow by Le v. Kohls Department Stores, Inc., E.D.Wis.,
                                                                       and Air Krete, Inc. filed a Class Action Complaint (“CAC”)
February 8, 2016
                                                                       against Defendants Premier Chemicals, LLC (“Premier”),
                  2011 WL 5008090
                                                                       Sumitomo Corporation of America (“Sumitomo”), and YAS,
              NOT FOR PUBLICATION
                                                                       Inc. (“YAS”) pursuant to Sections 4 and 16 of the Clayton
      United States District Court, D. New Jersey.
                                                                       Act,    15 U.S.C. §§ 15,      26, alleging violations of Section
                In re MAGNESIUM OXIDE
                                                                       1 of the Sherman Act,       15 U.S.C. § 1, and seeking class
                 ANTITRUST LITIGATION.
                                                                       certification under     Federal Rule of Civil Procedure 23(b)
                   Civ. No. 10–5943 (DRD).                             (2) and (3), declaratory judgment, treble damages, costs and
                               |                                       attorneys' fees, and an injunction. On December 30, 2010, DP
                         Oct. 20, 2011.                                Plaintiffs filed an Amended CAC to add additional factual
                                                                       allegations in support of their claims.
Attorneys and Law Firms

Trujillo, Rodriguez & Richards, LLC, by: Lisa J. Rodriguez,            On October 7, 2010, Indirect Purchaser Plaintiffs (“IP
Esq., Haddonfield, NJ, Gold Bennett Cera & Sidener LLP,                Plaintiffs”) Ronald Hayek, Daniel, Walker, Sue Walker, and
by: Solomon B. Cera, Esq., C. Andrew Dirksen, Esq.,                    John Bidart filed a CAC against Defendants under Section
San Francisco, CA, Goldman Scarlato & Karon, P.C., by:                 16 of the Clayton Act, alleging violations of      Section 1
Daniel R. Karon, Esq., Cleveland, OH, for Direct Purchaser             of the Sherman Act, and under various state antitrust and
Plaintiffs.                                                            consumer protection laws. IP Plaintiffs seek similar relief as

Lite Depalma Greenberg, LLC, by: Allyn Z. Lite, Esq., Joseph           DP Plaintiffs. 2 On December 31, 2010, IP Plaintiffs filed
J. DePalma, Esq., Newark, NJ, Hagens Berman Sobol Shapiro              an Amended CAC to add similar factual allegations as those
LLP, by: Steve W. Berman, Esq., Anthony D. Shapiro, Esq.,              added by DP Plaintiffs in their Amended CAC.
Elizabeth A. Fegan, Esq., Jason A. Zweig, Esq., New York,
NY, Hudson Mallaney & Shindler, by: J. Barton Goplerud,                On March 1, 2011, Defendants filed a Motion to Dismiss 3
Esq., West Des Moines, IA, Girardi Keese, by: Stephen                  all of Plaintiffs' claims pursuant to Federal Rule of
G. Larson, Esq., Los Angeles, CA, for Indirect Purchaser               Civil Procedure 12(b)(6). For the reasons set forth below,
Plaintiffs.                                                            Defendants' motion is granted. No Defendant is entitled to
                                                                       dismissal of Plaintiffs' federal and state antitrust claims on
Loweinstein Sanler PC, by: Douglas S. Eakley, Esq., Michael            the merits because Plaintiffs sufficiently allege a meeting
J. Hahn, Esq., Roseland, NJ, Paul, Weiss, Rifkind, Wharton             of the minds among all Defendants to fix prices in and
& Garrison LLP, by: Aidan Synnott, Esq., Daniel A. Crane,              allocate shares of the domestic Magnesium Oxide market.
Esq., New York, NY, Cozen O'Connor, P.C., by: John P.                  However, Defendants are entitled to dismissal of IP Plaintiffs'
Johnson, Esq., Francis P. Newell, Esq., Peter M. Ryan, Esq.,           federal and state antitrust claims and the majority of their
Philadelphia, PA, Finklestein Thompson LLP, by: Rosalee                consumer protection claims for lack of standing. In addition,
B. Connell, Esq., Douglas G. Thompson, Esq., Michael G.                those consumer protection claims under which IP Plaintiffs
McLellan, Esq., Washington, DC, for Defendants.                        have standing are dismissed to the extent they are based on
                                                                       allegations of fraud because those allegations do not comply
                                                                       with the requirements of Federal Rule of Civil Procedure
                            OPINION                                    9(b). Finally, Plaintiffs' federal and state antitrust claims are
                                                                       dismissed because they are time-barred by their respective
DEBEVOISE, Senior District Judge.                                      statutes of limitations.

*1 This matter arises out of the consolidation of five separate
actions in this Court 1 alleging a conspiracy to fix prices
in and allocate shares of the domestic Magnesium Oxide                                      I. BACKGROUND




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Magnesium Oxide (“MgO”) is a solid, white, naturally               China ha [d] replaced some of the U.S. domestic production,
occurring mineral that is used in producing a wide variety         notably affecting Premier.” (Direct CAC ¶ 29; Indirect CAC
of products, including refractory products, animal feeds,          ¶ 37.) Thus, during the Class Period, Premier and Sumitomo
fertilizers, electrical insulation, and pharmaceuticals. It is     allegedly bought nearly all of the Chinese DBM available for
formed by an ionic bond between one magnesium atom and             purchase and resold it to their customers in the United States.
one oxygen atom. MgO can be mined from magnesite or
processed from seawater or subterranean brines containing          In addition, Plaintiffs allege that, “[d]uring the Class Period,
magnesium chloride. This case concerns the two most                with some limited exceptions, the MgO markets were
common forms of MgO: Caustic-calcined magnesia (“CCM”)             considered to be fairly saturated, with limited potential
and dead-burned magnesia (“DBM”). DBM and CCM                      for growth.” (Direct CAC ¶ 30; Indirect CAC ¶ 38.)
are produced differently and have different commercial             However, “[i]nstead of competing, representatives from
applications. 4                                                    Premier, Sumitomo, and YAS began meeting regularly
                                                                   to discuss fixing U.S. MgO prices and allocating MgO
 *2 In 2000, according to the CACs, domestic consumption           markets.” (Direct CAC ¶ 31; Indirect CAC ¶ 39.) Specifically,
of DBM and CCM came from two sources: the United States            Plaintiffs allege a conspiracy among Premier, Sumitomo, and
and China. Roughly 50% of CCM “and a lesser amount                 YAS to (1) fix prices in and allocate shares of the domestic
of” DBM consumed in the United States were produced                DBM market and (2) allocate the domestic CCM market
domestically, while the rest was imported from China. (Direct      to Premier so that it could fix prices in that market, which
Purchasers' Consolidated Amended Class Action Complaint            resulted in Plaintiffs' purchasing DBM and CCM at artificially
(“Direct CAC”) ¶ 27; (Indirect Purchasers' Consolidated            high prices.
Amended Class Action Complaint (“Indirect CAC”) ¶ 33.)
At that time, Premier allegedly maintained control over the
                                                                      i. The DBM and CCM Agreements
majority of DBM and CCM consumed in the United States
                                                                    *3 Plaintiffs allege that, during the Class Period, Cary
by (1) purchasing imported CCM and DBM for resale to its
                                                                   W. Ahl, Sr. Premier's then-president, “regularly called”
customers in the United States, and (2) sourcing magnesite
                                                                   Mr. Sumikawa of YAS “to discuss fixing Premier's and
from China for production into DBM to be sold domestically.
                                                                   Sumitomo's [DBM] prices and allocating their respective
                                                                   MgO accounts in the U.S.” (Direct CAC ¶ 34; Indirect CAC
“Sumitomo similarly purchased Chinese MgO but only
                                                                   ¶ 42.) These market allocation and price-fixing schemes were
[DBM] for resale to its U.S. customers” and “sourced
                                                                   allegedly implemented by Mr. Ahl and his successors at
magnesite from China for manufacture into [DBM] for sale in
                                                                   Premier and Terry Wakisama at Sumitomo.
the U.S.” (Direct CAC ¶ 27; Indirect CAC ¶ 34.) To do so, it
enlisted the help of YAS to (1) “facilitate[ ][its] purchases of
                                                                   In the summer of 2004, Coy Akiyama of Sumitomo, Mr.
Chinese magnesite” (Direct CAC ¶ 27; Indirect CAC ¶ 35),
                                                                   Sumikawa of YAS, Gary Vannorsdel, an animal nutrition
and (2) purchase Chinese DBM for resale in the United States.
                                                                   broker, and Mr. Vannorsdel's son, met at a Holiday Inn, in
                                                                   Tulsa, Oklahoma, to discuss plans for Sumitomo to enter the
This arrangement proved successful because Hideo
                                                                   CCM market without upsetting Premier. Sumitomo had been
Sumikawa, the current president of YAS, previously worked
                                                                   shipping DBM to the United States on “partially empty barges
for Sumitomo and has since maintained relationships with
                                                                   and wanted to maximize efficiencies by filling these barges
certain Chinese magnesite mines. “In particular, Sumitomo,
                                                                   with [CCM] for sale to the western U.S.” (Direct CAC ¶
through Coy Akiyama—head of Sumitomo's inorganic
                                                                   39; Indirect CAC ¶ 48.) Indeed, DBM shipments filled only
chemicals unit—purchases [DBM] from Chinese mines
                                                                   half of Sumitomo's New Orleans barge capacity. Apparently,
that Sumikawa (YAS) has facilitated, thereby allowing
                                                                   “Tulsa was the only port that could accommodate this barge,
Sumitomo and YAS to participate together in the U.S. MgO
                                                                   and Sumitomo had access to a very large storage facility in
market.” (Direct CAC ¶ 33; Indirect CAC ¶ 41.)
                                                                   Tulsa.” (Direct CAC ¶ 36; Indirect CAC ¶ 44.)

According to Plaintiffs, sometime before the Class Period,
                                                                   At the Tulsa meeting, “[i]n the course of discussing
Premier “saw its share of MgO markets shrink due to
                                                                   a strategy for Sumitomo to enter the U.S. [CCM]
increased Chinese competition.” (Direct CAC ¶ 28; Indirect
                                                                   market, Akiyama (Sumitomo) recounted to Sumikawa (YAS)
CAC ¶ 36.) Specifically, “cheaper imports, mainly from
                                                                   multiple discussions between him and Ahl where Ahl had


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called Akiyama to set [DBM] prices; to allocate [DBM]             Defendants under Sections 4 and 16 of the Clayton Act
markets; and to ensure that Sumitomo was maintaining its
                                                                  alleging violations of    Section 1 of the Sherman Act, and
agreement with Premier to fix [DBM] prices and allocate
[DBM] markets.” (Direct CAC ¶ 40; Indirect CAC ¶ 49.)             seeking class certification under       Federal Rule of Civil
At one point, Mr. Vannorsdel “expressed concern about             Procedure 23(b)(2) and (3), declaratory judgment, treble
compromising his relationship with Premier by helping             damages, costs and attorneys' fees, and an injunction. On
facilitate Sumitomo and YAS's involvement” in the CCM             December 30, 2010, DP Plaintiffs filed an Amended CAC to
market, to which Mr. Akiyama responded, “ ‘Don't be               add additional factual allegations in support of their claims.
concerned because we [Sumitomo] talk with Premier on a
daily basis to set prices and to discuss what accounts they can   On October 7, 2010, IP Plaintiffs—i.e. those who purchased
have.’ “ (Direct CAC ¶ 41; Indirect CAC ¶ 50.)                    products containing DBM or CCM that was manufactured,
                                                                  distributed or sold by one or more Defendants, their
Shortly after the Tulsa meeting, Mr. Ahl discovered               predecessors, subsidiaries, or co-conspirators during the
Sumitomo's plan to enter the CCM market and retaliated            Class Period—filed a CAC against Defendants under Section
by dropping DBM prices. 5 As a result, Sumitomo did               16 of the Clayton Act, alleging violations of    Section 1
not follow through with its plans to enter the CCM                of the Sherman Act, and under various state antitrust and
market. “Following the [CCM]-related message that Premier         consumer protection laws, and seeking similar relief as the
sent to Sumitomo and YAS via Premier's pre-market-entry           DP Plaintiffs. On December 31, 2010, IP Plaintiffs filed an
retaliation, Sumitomo and YAS illegally agreed with Premier       Amended CAC to add similar factual allegations as those
to remain out of the [CCM] market—a market Sumitomo,              added by DP Plaintiffs in their Amended CAC.
as a rational profit-seeking entity, was motivated to enter—
thus allowing Premier to maintain its control over [CCM]
pricing.” (Direct CAC ¶ 43; Indirect CAC ¶ 52.)
                                                                                        II. DISCUSSION

                                                                  Defendants now move to dismiss both Amended CACs
   ii. Fraudulent Concealment
                                                                  pursuant to Federal Rule of Civil Procedure 12(b)(6). In
Plaintiffs allege that the MgO conspiracy was “inherently
                                                                  doing so, Defendants argue that Plaintiffs (1) lack standing
self-concealing” and that Defendants took affirmative
                                                                  to assert their federal and state antitrust claims; (2) fail to
measures to conceal it. (Direct CAC ¶ 48–49; Indirect CAC
                                                                  allege a plausible antitrust conspiracy to fix DBM prices,
¶ 55–56.) Specifically, Plaintiffs allege that “[D]efendants
                                                                  allocate portions of the domestic DBM market, and allocate
met secretly and among themselves for the express purpose
                                                                  the domestic CCM market to Premier; and (3) fail to plead
of fixing prices and allocating markets of domestically
                                                                  fraudulent concealment with particularity to equitably toll the
sold MgO.” (Direct CAC ¶ 50; Indirect CAC ¶ 57.) In
                                                                  applicable federal and state antitrust statutes of limitations.
addition, Defendants allegedly explained increases in the
                                                                  Defendants further argue that IP Plaintiffs' lack standing
price of MgO “by references to tight supply, thinning margins,
                                                                  to assert their consumer protection and unfair competition
and increased energy and freight costs.” (Direct CAC ¶
                                                                  claims, and that those claims are improperly pled.
51; Indirect CAC ¶ 58.) As a result, Plaintiffs allege that
“neither [P]laintiffs nor the class members had knowledge
of any of the foregoing violations, and neither [P]laintiffs      A. Standard of Review
nor the class members, until recently, could have discovered      In assessing the parties' arguments, the Court must apply
through reasonable diligence that [D]efendants and their co-      the standard of review applicable to requests for dismissal
conspirators had engaged in the foregoing violations.” (Direct    pursuant to Federal Rule of Civil Procedure 12(b)(6). That
CAC ¶ 49; Indirect CAC ¶ 56.)                                     rule permits a court to dismiss a complaint for failure to state
                                                                  a claim upon which relief can be granted. When considering
                                                                  a Rule 12(b)(6) motion, the Court must accept the factual
  iii. The Complaints
                                                                  allegations in the complaint as true and draw all reasonable
 *4 On November 15, 2010, DP Plaintiffs—i.e. those
who purchased either DBM or CCM directly from one or              inferences in favor of the plaintiff. Morse v. Lower Merion
more Defendants, their predecessors, subsidiaries, or co-         Sch. Dist., 132 F.3d 902, 906 (3d Cir.1997). The Court's
conspirators during the Class Period—filed a CAC against          inquiry, however, “is not whether plaintiffs will ultimately


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prevail in a trial on the merits, but whether they should be      When a claim is dismissed pursuant to Federal Rule of Civil
afforded an opportunity to offer evidence in support of their     Procedure 12(b)(6), leave to amend and reassert that claim is
claims.”    In re Rockefeller Ctr. Prop., Inc., 311 F.3d 198,     ordinarily granted.      In re Burlington Coat Factory Litig.,
215 (3d Cir.2002).                                                114 F.3d 1410, 1434 (3d Cir.1997). A claim may be dismissed
                                                                  with prejudice, however, if amending the complaint would be
The Supreme Court recently clarified the Rule 12(b)(6)            futile. Id . “Futile,” as used in this context, means that the
                                                                  complaint could not be amended to state a legally-cognizable
standard in two cases:      Ashcroft v. Iqbal, 556 U.S. 662,
                                                                  claim. Id. (citing   Glassman v. Computervision Corp., 90
129 S.Ct. 1937, 173 L.Ed.2d 868 (2009), and Bell Atlantic
                                                                  F.3d 617, 623 (1st Cir.1996)).
Corporation v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167
L.Ed.2d 929 (2007). The decisions in those cases abrogated
the rule established in   Conley v. Gibson, 355 U.S. 41, 45–      B. Plaintiffs' Standing to Bring Antitrust Claims
46, 78 S.Ct. 99, 2 L.Ed.2d 80 (1957), that “a complaint should    Standing is a jurisdictional prerequisite under Article III
not be dismissed for failure to state a claim unless it appears   of the United States Constitution. “Under Article III, the
beyond doubt that the plaintiff can prove no set of facts in      Federal Judiciary is vested with the ‘Power’ to resolve
support of his claim, which would entitle him to relief.” In      not questions and issues but ‘Cases' or ‘Controversies.’ “

contrast, Bell Atlantic, 550 U.S. at 545, held that “[f]actual       Arizona Christian Sch. Tuition Org. v. Winn, –––U.S.
allegations must be enough to raise a right to relief above       ––––, ––––, 131 S.Ct. 1436, 1441, 179 L.Ed.2d 523 (2011).
the speculative level.” Thus, the assertions in the complaint     “To state a case or controversy under Article III, a plaintiff
must be enough to “state a claim to relief that is plausible      must establish standing.” Id. at 1442 (citing    Allen v.
on its face,”     id. at 570, meaning that the facts alleged      Wright, 468 U.S. 737, 751, 104 S.Ct. 3315, 82 L.Ed.2d
“allow [ ] the court to draw the reasonable inference that the    556 (1984)). The Supreme Court explained the elements of

defendant is liable for the conduct alleged.”      Iqbal, 129     standing in   Lujan v. Defenders of Wildlife, 504 U.S. 555,
                                                                  560–61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992):
S.Ct. at 1949; see also,    Phillips v. County of Allegheny,
515 F.3d 224, 234–35 (3d Cir.2008) (In order to survive             “First, the plaintiff must have suffered an ‘injury in fact’—
a motion to dismiss, the factual allegations in a complaint         an invasion of a legally protected interest which is (a)
must “raise a reasonable expectation that discovery will reveal     concrete and particularized, and (b) ‘actual or imminent,
evidence of the necessary element,” thereby justifying the          not “conjectural” or “hypothetical.” ‘ Second, there must
advancement of “the case beyond the pleadings to the next           be a causal connection between the injury and the conduct
stage of litigation.”).                                             complained of—the injury has to be ‘fairly ... trace[able]
                                                                    to the challenged action of the defendant, and not ... th[e]
 *5 When assessing the sufficiency of a complaint, the              result [of] the independent action of some third party not
Court must distinguish factual contentions—which allege             before the court .’ Third, it must be ‘likely,’ as opposed to
behavior on the part of the defendant that, if true, would          merely ‘speculative,’ that the injury will be ‘redressed by
satisfy one or more elements of the claim asserted—from             a favorable decision.’ “
“[t]hreadbare recitals of the elements of a cause of action,
supported by mere conclusory statements.”         Iqbal, 129      Defendants argue that Plaintiffs lack antitrust standing
S.Ct. at 1949. Although for the purposes of a motion to           because they do not identify whether they purchased DBM
dismiss the Court must assume the veracity of the facts           or CCM. Specifically, Defendants contend that the alleged
asserted in the complaint, it is “not bound to accept as true     agreements regarding DBM and CCM, respectively, amount
                                                                  to “two conspiracies [that] are allegedly directed at different
a legal conclusion couched as a factual allegation.”   Id.        purchasers and encompass different time frames[,] and
at 1950. Thus, “a court considering a motion to dismiss           [n]othing indicates that anticompetitive activity in one market
can choose to begin by identifying pleadings that, because        would have an effect on prices in the other market.” (YAS Br.,
they are no more than conclusions, are not entitled to the        9.) “Under these circumstances,” according to Defendants, “a
assumption of truth.” Id.                                         purchaser of [DBM] would suffer no redressable injury from
                                                                  anticompetitive conduct in the [CCM] market, and would


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accordingly lack standing to maintain claims based on such             loss or injury cognizable in equity; (2) proximately resulting
conduct (and vice versa).” (Id.).
                                                                       from the alleged antitrust injury.”   In re Warfin, 214 F.3d
                                                                       at 400. In analyzing whether an antitrust injury proximately
 *6 This argument is unavailing because, as discussed fully
                                                                       caused an alleged loss to an indirect purchaser, this Circuit
below, Plaintiffs allege a single conspiracy in the domestic
MgO market comprised of two agreements: one to fix prices              has been guided by the Supreme Court's decision in Shield
in and allocate shares of the domestic DBM market, and                 of Virginia v. McCready, 457 U.S. 465, 102 S.Ct. 2540, 73
one to allocate the domestic CCM market to Premier. These              L.Ed.2d 149 (1982). 8 McCready explained that “an antitrust
agreements are interdependent in that Defendants entered into          violation may be expected to cause ripples of harm to flow
the CCM agreement in order to maintain the DBM agreement.              through the Nation's economy; but ... [i]t is reasonable to
As a result, price-fixing in the DBM market has an effect on           assume that Congress did not intend to allow every person
prices in the CCM market, and vice versa, because the absence          tangentially affected by an antitrust violation to maintain an
of one agreement would eliminate the consideration for the
                                                                       action.”     457 U.S. at 476. Thus, in determining whether an
other.
                                                                       injury was proximately caused by an antitrust violation for
                                                                       Article III standing purposes, courts should “look (1) to the
As a general matter, DP Plaintiffs' allegation that they
                                                                       physical and economic nexus between the alleged violation
were “injured by having paid more for MgO 6 than they                  and the harm to the plaintiff, and (2) more particularly,
otherwise would have paid absent [D]efendants' unlawful                to the relationship of the injury alleged with those forms
conduct” (Direct CAC ¶ 56) is sufficient to establish antitrust        of injury about which Congress was likely to have been
standing. Standing to sue under Section 4 of the Clayton Act is        concerned in making defendant's conduct unlawful and in
determined by a five-factor test: 7 “(1) the causal connection
                                                                       providing a private remedy.”    Id. at 478. In doing so, they
between the antitrust violation and the harm to the plaintiff;
                                                                       should consider whether the plaintiff's injury is “inextricably
(2) whether the plaintiff's alleged injury is of the type that the
                                                                       intertwined with the injury that the conspirators sought to
antitrust laws were intended to redress; i.e., did the plaintiff
suffer antitrust injuries; (3) the directness of the injury; (4) the   inflict,”    In re Warfarin, 214 F.3d at 400–01 (purchasers of
existence of more direct victims of the violation; and (5) the         prescription drug whose active ingredient was the subject of a
potential for duplicative recovery or complex apportionment            price-fixing conspiracy maintained standing to sue as indirect
                                                                       purchasers because “the excess amount paid” for the drug was
of damages.”      In re Warfarin Sodium Antitrust Litig.,
                                                                       “inextricably intertwined with the injury [Defendant] aimed
214 F.3d 395, 399 (3d Cir.2000) (citing Associated General
                                                                       to inflict”), or, put another way, “whether the injury alleged
Contractors of California, Inc. v. California State Council of
                                                                       is so integral an aspect of the conspiracy alleged, there can
Carpenters, 495 U.S. 519, 538 (1983). Here, there is little
                                                                       be no question but that the loss was precisely the type of
doubt that those who purchased DBM and/or CCM directly
                                                                       loss that the claimed violations ... would be likely to cause.”
from Defendants at supracompetitive prices have standing to
sue for damages under Section 4 and for injunctive relief                 McCready, 457 U.S. at 479 (quotations and citations
                                                                       omitted) (alleged conspiracy among psychiatrists and Blue
under Section 16. See     id. at 401 (“It is difficult to imagine
                                                                       Shield to take patients away from psychologists by refusing
a more formidable demonstration of antitrust injury” than
                                                                       to reimburse Blue Shield subscribers for psychotherapeutic
supra-competitive pricing.); In re Mercedez Benz Anti–Trust
                                                                       services resulted in “clearly foreseeable” harm to Blue Shield
Litig., 157 F.Supp.2d 355, 364 (D.N.J.2001) (“Where, as here,
                                                                       subscribers and “was a necessary step in effecting the ends of
it is alleged that consumers paid a price higher than the price
                                                                       the alleged illegal conspiracy.”).
that would have been offered had the dealers been competing,
the purpose of the antitrust laws is obviously thwarted.”).
                                                                        *7 Here, IP Plaintiffs allege that “as a direct and proximate
Thus, DP Plaintiffs have standing to pursue their antitrust
                                                                       result of Defendants' and their co-conspirators' unlawful
claims.
                                                                       contract, combination and conspiracy, Plaintiffs and the
                                                                       Class members were injured and financially damaged in
IP Plaintiffs, however, do not. While they seek solely
                                                                       their business and property by having paid more for MgO
injunctive relief under Section 16 of the Clayton Act—and
                                                                       Products than they would have absent Defendants' and their
therefore are not subject to the aforementioned five-factor
                                                                       coconspirators' unlawful conduct.” (Indirect CAC ¶ 54.)
test, see Note 7—they must still allege “(1) [a] threatened



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However, they fail to specify which MgO products—i.e.                  unidentified members of the class to which they belong and
products containing DBM or CCM—they purchased. The                     which they purport to represent.” (quotations and citations
mere fact that a product contains DBM or CCM does not
                                                                       omitted));    Warth v. Seldin, 422 U.S. 490, 501, 95 S.Ct.
necessarily mean that an increase in the price of that product
                                                                       2197, 45 L.Ed.2d 343 (1975) (“[T]he plaintiff still must allege
is “inextricably intertwined” with, or an “a necessary step in
                                                                       a distinct and palpable injury to himself, even if it is an
achieving the ends” of, the alleged conspiracy to fix prices in
                                                                       injury shared by a large class of other possible litigants.”);
and allocate shares of the domestic DBM and CCM markets.
Indeed, the price of DBM and CCM would have a minimal                      O'Shea v. Littleton, 414 U.S. 488, 494, 94 S.Ct. 669,
foreseeable effect on the price of products containing trace           38 L.Ed.2d 674 (1974) (“[I]f none of the named plaintiffs
amounts of them, but a significant foreseeable effect on               purporting to represent a class establishes the requisite of
the price of products in which they are major ingredients.             a case or controversy with the defendants, none may seek
Thus, without knowing which specific products IP Plaintiffs            relief on behalf of himself or any other member of the
purchased, it is impossible to determine whether an increase           class.” (citations omitted));    Winer Family Trust v. Queen,
in their price is the type of injury that furthers the object of the   503 F.3d, 319, 326 (3d Cir.2007) (“The initial inquiry in either
alleged conspiracy to fix prices in and allocate shares of the         case is whether the lead plaintiff individually has standing.”).
domestic DBM and CCM markets. Accordingly, IP Plaintiffs'
federal antitrust claims are dismissed for lack of standing. 9          *8 Less well-settled is whether, pre-class certification,
However, IP Plaintiffs are granted leave to amend in order to          named plaintiffs are required to establish standing for each
allege (1) the specific purchased products containing DBM or           and every claim set forth in a class action complaint, or
CCM and (2) the nexus between an increase in the price of              whether it is sufficient to establish standing for a single claim
those products and the alleged conspiracy to fix prices in and         because a court will determine if the named plaintiffs have
allocate shares of the domestic DBM and CCM markets.                   standing to represent the unnamed class members seeking
                                                                       redress under the balance of asserted claims during the class
Defendants further argue that IP Plaintiffs lack standing
                                                                       certification process pursuant to       Federal Rule of Civil
to assert their state law antitrust claims, with the
                                                                       Procedure 23. This issue typically arises in cases, such as this
exception of Iowa and California, because they only
                                                                       one, where named plaintiffs assert analogous causes of action
allege purchasing MgO products in Iowa and California.
                                                                       under the laws of many states but cannot specifically tie their
Specifically, Defendants contend that IP Plaintiffs “have
                                                                       injuries to each state. Indeed, here, IP Plaintiffs, who allege
no standing to bring claims based on violations of states
                                                                       that they purchased MgO products in Iowa and California,
in which they neither reside nor purchased any MgO
products.” (Sumitomo Br. (IP Pl.), 4.) IP Plaintiffs counter           assert violations of twenty-five states' antitrust laws. 10
that “Defendants improperly confuse ‘standing’ with class
certification issues,” which, at this point, are premature. (IP        Courts, including this one, have held that “the fact that the
Pl's Br., 30.) Specifically, IP Plaintiffs maintain that they          named Plaintiffs may not have individual standing to allege
“are not bringing claims in their own name in other states;            violations of ... laws in states other than those in which they
rather they are seeking to represent similarly situated persons        purchased Defendants' [product] is immaterial [because] [t]he
in other states,” and that “[t]his issue, improperly raised            issue ... is one of predominance—whether questions of law
by Defendants on a motion to dismiss will be addressed at              or fact common to all class members predominate over any

class certification under     Rule 23.” (Id. at 31) (emphasis in       questions affecting only individual members.”  Ramirez
original).                                                             v. STI Prepaid LLC, 644 F.Supp.2d 496, 505 (D.N.J.2009)
                                                                       (quotations and citations omitted); see also      In re Grand
It is well-settled that a named plaintiff in a class action lawsuit    Theft Auto Video Game Consumer Litig. (No. II), No. 06–
is required to establish Article III standing. See   Lewis v.          MD–1739, 2006 WL 3039993, at *3 (S.D.N.Y. Oct. 25, 2006)
Casey, 518 U.S. 343, 357, 116 S.Ct. 2174, 135 L.Ed.2d 606              (“The relevant question ... is not whether the Named Plaintiffs
(1996) (“That a suit may be a class action ... adds nothing            have standing to sue Defendants—they most certainly do—
to the question of standing, for even named plaintiffs who             but whether their injuries are sufficiently similar to those
represent a class must allege and show that they personally            of the purported Class to justify the prosecution of a
have been injured, not that injury has been suffered by other,         nationwide class action. This question is, at least in the



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first instance, appropriately answered through the class            cognizable injury or because their injury was not redressable.
certification process.”);        In re Buspirone Patent Litig.,        Id. at 612. The Court declined to reach the standing
185 F.Supp.2d 363, 377 (S.D.N.Y.2002) (“[T]hese alleged             arguments because it found the class certification issues under
problems with standing will not arise unless class certification
                                                                        Rule 23 to be dispositive. Id. Consequently, the Court held
is granted. If certification is granted, the proposed class would
                                                                    that because resolution of the class certification issues “here
contain plaintiffs who have personal standing to raise claims
                                                                    is logically antecedent to the existence of Article III issues, it
under the laws governing purchases in all of the [ ] states, and
                                                                    is appropriate to reach them first.” Id. (citation omitted).
the only relevant question about the named plaintiffs' standing
to represent them will be whether the named plaintiffs meet
                                                                    The Court further explained that it was “follow[ing] the
the ordinary criteria for class standing ...”).
                                                                    path taken by the [Third Circuit] Court of Appeals” in
                                                                    “declin[ing] to reach these issues because they ‘would not
Other courts find that they must initially “review[ ] the
                                                                    exist but for the [class-action] certification.’ “ Id. (quoting
standing of actual, not proposed plaintiffs” to assert the claims
in a class action complaint because “[t]he alternative ... would       Georgine v. Amchem Prods., Inc., 83 F.3d 610, 623 (3d
allow named plaintiffs in a proposed class action, with no          Cir.1996)). To be sure, in Georgine, the Court of Appeals,
injuries in relation to the laws of certain states referenced in    when faced with class certification and Article III issues
their complaint, to embark on lengthy class discovery with          simultaneously, decided the class certification issues first
respect to injuries in potentially every state in the Union.”       because they were dispositive. 83 F.3d at 623. In doing so,
   In re Wellbutrin XL Antitrust Litig., 260 F.R.D. 143, 154–       the Court found “it prudent not to decide issues unnecessary
                                                                    to the disposition of the case, especially when many of
56 (E.D.Pa.2009); see also       In re Potash Antitrust Litig.,
                                                                    these issues implicate constitutional questions.” Id. (citing
667 F.Supp.2d 907, 924 (N.D.Ill.2009) (named plaintiffs are
required to establish standing for each claim under which              Spector Motor Serv., Inc. v. McLaughlin, 323 U.S. 101,
they purport to represent class members because “[t]o have          105, 65 S.Ct. 152, 89 L.Ed. 101 (1944) (expressing the
standing as a class representative, the plaintiff must be part      rule that courts will avoid constitutional questions when
of the class, that is, he must possess the same interest and        possible)). Thus, these rulings echo the “fundamental and
suffer the same injury shared by all members of the class           longstanding principle of judicial restraint [ ] requir[ing] that
he represents.” (quotations and citations omitted)), rev'd on       courts avoid reaching constitutional questions in advance of

other grounds by,        Minn–Chem Inco. v. Agrium Inco.,           the necessity of deciding them.”    Lyng v. Northwest Indian
––– F.3d ––––, No. 10–1712, 2011 WL 4424789 (7th Cir.               Cemetery Protective Ass'n, 485 U.S. 439, 445, 108 S.Ct. 1319,
Sept.23, 2011); In re Packaged Ice Antitrust Litig., 08–md–         99 L.Ed.2d 534 (1988).
01952, 2011 WL 891160, at *11 (E.D.Mich. Mar. 11, 2011)
(“[N]amed plaintiffs lack standing to assert claims under the       The Ortiz court also dealt with certification issues regarding
laws of the states in which they do not reside or in which they     a global settlement class for asbestos related injuries and
suffered no injury.”).                                              arguments regarding the Article III standing of certain class
                                                                    members who petitioners alleged did not suffer an injury-

 *9 Two Supreme Court decisions,      Amchem Prods. Inc.            in-fact.  527 U.S. at 821, 831. As in Amchem, the Court
v. Windsor, 521 U.S. 591, 117 S.Ct. 2231, 138 L.Ed.2d 689           decided to address the class certification issues before the

(1997) and       Ortiz v. Fibreboard Corp., 527 U.S. 815, 119       Article III questions.    Id. at 831. In doing so, it explained:
S.Ct. 2295, 144 L.Ed.2d 715 (1999), are at the heart of this
                                                                      Ordinarily, of course, this or any other Article III court
issue. In Amchem, the Supreme Court reviewed a challenge
                                                                      must be sure of its own jurisdiction before getting to the
to certification of a global settlement class involving persons
                                                                      merits.   Steel Co. v. Citizens for a Better Environment,
who were exposed to asbestos. See         521 U .S. at 591–92.
                                                                      523 U.S. 83, 88–89, 118 S.Ct. 1003, 140 L.Ed.2d 210
In doing so, it analyzed the role of settlement in determining
                                                                      (1998). But the class certification issues are, as they were
class certification under     Rule 23, as well as arguments           in Amchem, “logically antecedent” to Article III concerns,
set forth by objectors that certain members of the settlement
                                                                          521 U.S., at 612, 117 S.Ct. 2231, 138 L.Ed.2d 689,
class lacked standing to sue because they had not sustained a


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  and themselves pertain to statutory standing, which may          would be able to bring a class action complaint under the
                                                                   laws of nearly every state in the Union without having to
  properly be treated before Article III standing, see   Steel
                                                                   allege concrete, particularized injuries relating to those states,
  Co., supra, at 92, 523 U.S. 83, 118 S.Ct. 1003, 140 L.Ed.2d
                                                                   thereby dragging defendants into expensive nationwide class
  210. Thus the issue about Rule 23 certification should be        discovery, potentially without a good-faith basis. In other
  treated first, “mindful that [the Rule's] requirements must      words, the plaintiff would have to do “no more than name
  be interpreted in keeping with Article III constraints....”
                                                                   the preserve on which he intends to hunt.”    Johnson v.
     Amchem, supra, at 612–613, 521 U.S. 591, 117 S.Ct.            Ga. Highway Express, Inc., 417 F.2d 1122, (5th Cir.1969),
  2231, 138 L.Ed.2d 689.
                                                                   overruled on other grounds by       Griffin v. Dugger, 823 F.2d
*10 Id.                                                            1476 (11th Cir.1987). Accordingly, because the named IP
                                                                   Plaintiff lack standing to assert antitrust violations under the
Thus, Amchem and Ortiz stand for the proposition that, in          laws of Arizona, the District of Columbia, Hawaii, Illinois,
cases where a court is presented with class certification          Maine, Minnesota, Nebraska, Nevada, New Mexico, New
and Article III standing issues simultaneously, and the class      York, North Carolina, North Dakota, Oregon, South Dakota,
certification issues are dispositive in that they pertain to       Tennessee, Utah, and West Virginia, see Note 10, IP Plaintiffs'
statutory standing—i.e. whether a statute authorizes a given       claims under those laws are dismissed.
party to sue in the first place, the certification issues are
“logically antecedent” to the standing issues and the court
                                                                   C. The Alleged MgO Conspiracy
may therefore elect to address the certification issues first in
the interest of judicial restraint. Under these circumstances,        i. One Conspiracy or Two
if a court finds that “certification of [a] proposed class [is]     *11 As an initial matter, Defendants maintain that Plaintiffs
improper, the issue of certain class members' standing would       allegations are confusing to the point where it is impossible
[be] moot.”     In re Welbutrin XL, 260 F.R.D. at 153.             to determine whether the alleged conspiracy relates to DBM,
                                                                   CCM, or MgO in general. As a result, Defendants contend
Here, however, the Court is presented solely with the issue        that Plaintiffs fail to allege a plausible antitrust conspiracy.
of whether the named IP Plaintiffs have standing to assert         This contention is unfounded. While Plaintiffs at times refer
the causes of action in the Indirect CAC, a threshold issue        to anticompetitive conduct regarding MgO generally, it is
                                                                   clear from the surrounding allegations whether such conduct
that the Court must address. See       Lewis 518 U.S. at
357. Contrary to Ramirez and In re Grand Theft Auto, the           concerns DBM or CCM. 11 Indeed, as evidenced by their
“[Supreme] Court's standing cases confirm that a plaintiff         next contention, Defendants have no problem categorizing
must demonstrate standing for each claim he seeks to press.”       Plaintiffs' individual allegations as relevant to DBM or CCM.

   DaimlerChrystler Corp. v. Cuno, 547 U.S. 332, 335, 126          On that note, Defendants contend that, to the extent that
S.Ct. 1854, 164 L.Ed.2d 589 (2006); see also          Allen v.     the Court finds that Plaintiffs allege distinct conspiracies
Wright, 468 U.S. 737, 752, 104 S.Ct. 3315, 82 L.Ed.2d              regarding DBM and CCM, respectively, the Court should
556 (1984) (“[T]he standing inquiry requires careful judicial      analyze the allegations relating to each conspiracy separately
examination of a complaint's allegations to ascertain whether      and require that those allegations independently meet the
the particular plaintiff is entitled to an adjudication of the     pleading requirements of Twombly and Iqbal. Plaintiffs
                                                                   counter that they allege a single MgO conspiracy
particular claims asserted.”);    Blum v. Yaretsky, 457 U.S.
                                                                   comprised of intertwined and interdependent anticompetitive
991, 999, 102 S.Ct. 2777, 73 L.Ed.2d 534 (1982) (“It is not
                                                                   agreements.
enough that the conduct of which the plaintiff complains will
injure someone. The complaining party must also show that he
                                                                   As Plaintiffs point out, it is well-settled that “[t]he character
is within the class of persons who will be concretely affected.
                                                                   and effect of a conspiracy are not to be judged by
Nor does a plaintiff who has been subject to injurious conduct
                                                                   dismembering it and viewing its separate parts, but only
of one kind possess by virtue of that injury the necessary
stake in litigating conduct of another kind, although similar,     by looking at it as a whole.” Continental Ore Co. v.
to which he has not been subject.”). Otherwise, a plaintiff        Union Carbide & Carbon Corp., 370 U.S. 690, 699, 82



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                                                                  a single conspiracy not to compete in the sale of two forms
S.Ct. 1404, 8 L.Ed.2d 777 (1962); see also          In re Fine
                                                                  of MgO.
Paper Antitrust Litig., 685 F.2d 810, 822 (3d Cir.1982) (“a
seriatim examination of [ ] claims against each [ ] conspiracy
defendant[ ] as if they were separate lawsuits ... overlook[s]      ii. The Necessity of Allegations Regarding the MgO
the conspiracy itself.”). Defendants contend that the Supreme       Market
Court's ruling in Continental Ore is inapposite because            *12 Defendants argue that Plaintiffs fail to allege an
that case concerned a monopolistic exclusion conspiracy,          unlawful price-fixing and market allocation conspiracy
as opposed to a price-fixing conspiracy. This contention is       because they do not set forth relevant market conditions
remarkably unpersuasive. The very case that Continental Ore       and Sumitomo's, YAS's, and Premier's relative market power
cites for the proposition that a court must look to an alleged    indicating that they plausibly could have fixed the price of
conspiracy as a whole, United States v. Patten, 226 U.S. 525,     DBM and allocated the domestic DBM and CCM markets.
33 S.Ct. 141, 57 L.Ed. 333 (1913), concerned a conspiracy         Plaintiffs argue that they are alleging per se violations of
to artificially inflate the price of cotton. Furthermore, there
is no indication that Continental Ore limited its ruling to          Section 1 of the Sherman Act and therefore “Defendants'
                                                                  arguments concerning market power and relevant markets are
conspiracies based on monopolistic exclusion. See        370      legally irrelevant.” (DP Pl's. Br., 12.)
U.S. at 699 (“we do not believe that ... liability under the
antitrust laws can be measured by any rigid or mechanical
formula ...”). Finally, Defendants fail to present, nor does      “ Section 1 of the Sherman Act provides: Every contract,
the Court see, a single reason why it would be any less           combination in the form of trust or otherwise, or conspiracy,
logical or equitable to assess an alleged price-fixing or         in restraint of trade or commerce among the several States, or
market allocation conspiracy as a whole than a monopolistic       with foreign nations, is declared to be illegal.” In re Ins.
exclusion conspiracy.                                             Brokerage Antitrust Litig., 618 F.3d 300, 314 (3d Cir.2010)
                                                                  (quoting      15 U.S.C. § 1). “[T]his statutory language
Defendants' contention that the Court should analyze
                                                                  imposes two essential requirements on an antitrust plaintiff.”
Plaintiffs' allegations separately with respect to DBM and
                                                                  Id. “First, the plaintiff must show that the defendant was a
CCM because Plaintiffs allege “two different courses of
conduct as to the two different products at two different         party to a contract, combination ... or conspiracy.”   Id.
times” (Sumitomo Reply Br., 3) is also unavailing. While          at 315 (quotation and citation omitted). This requires the
it is true that Defendants initially “agreed to fix prices        plaintiff to demonstrate “some form of concerted action”
and allocate markets for DBM,” (“the DBM Agreement”)              indicating a “unity of purpose or a common design and
and subsequently agreed to allocate the domestic CCM              understanding or a meeting of the minds or a conscious
market to Premier (“the CCM Agreement”), (id.), those             commitment to a common scheme.” Id. (quotations and
agreements are not mutually exclusive. To the contrary, the       citations omitted).
CCM Agreement is dependent on the DBM Agreement,
and vice versa. See In re Vitamins Antitrust Litig., 320          Second, “the plaintiff must show that the conspiracy to which
F.Supp.2d 1, 16 (D.D.C.2004) (recognizing the potential           the defendant was a party imposed an unreasonable restraint
“interdependency between various branches of a common             on trade .” Id. (quotation and citation omitted). “[T]he usual
conspiracy.”). Specifically, Defendants entered into the CCM      standard applied to determine whether a challenged practice
Agreement in order to restore and maintain the DBM                unreasonably restrains trade is the so-called rule of reason.”
Agreement after Premier broke that agreement due to               Id. (quotation and citation omitted). “[U]nder a rule-of-reason
Sumitomo and YAS's attempt to enter the domestic CCM              analysis, the plaintiff bears the initial burden of showing that
market. Consequently, the absence of one eliminates the           the alleged [agreement] produced an adverse, anticompetitive
consideration for the other. Moreover, “[h]orizontal antitrust    effect within the relevant geographic market.” Id. (quotation
conspiracies commonly include sellers in more than one            and citation omitted). “[S]uccessful attempts to meet this
                                                                  burden typically include a demonstration of defendants'
relevant market.” In re Vitamins Antitrust Litig., No. MISC
                                                                  market power, as a judgment about market power is [a] means
99–197, 2000 WL 1475705, at *10 (D.D.C. May 9, 2000).
                                                                  by which the effects of the [challenged] conduct on the market
Accordingly, the Court will treat Plaintiffs CACs as alleging




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                                                                   allegations regarding the specific nature of a price-fixing or
place can be assessed.”         Id. at 315–16 (quotation and
                                                                   market allocation agreement; rather, “stating such a claim
citations omitted).
                                                                   requires a complaint with enough factual matter (taken as
“If the plaintiff carries this burden, the court will need to      true) to suggest that an agreement was made.”              550 U.S.
decide whether the anticompetitive effects of the practice are     at 556. Put another way, a complaint “simply calls for
justified by any countervailing pro-competitive benefits.” Id.     enough fact to raise a reasonable expectation that discovery
However, “Judicial experience has shown that some classes          will reveal evidence of an illegal agreement.” Id. Requiring
of restraints” almost never have “redeeming competitive            Plaintiffs to set forth the full details of an antitrust conspiracy
benefits,” and therefore a court need not apply the rule           at this stage of the litigation would present an onerous burden
of reason analysis. Id. Instead, they are “subject to a ‘per       because “in antitrust cases, [ ] the proof is largely in the hands
se’ standard.” Id. “Paradigmatic examples are horizontal
                                                                   of the alleged conspirators.”   In re Neurontin Antitrust
agreements among competitors to fix prices or to divide
                                                                   Litig., No. 02–1390, 2009 WL 2751029, at *7 (D.N.J. Aug.28,
markets.” Id. (quotation and citation omitted). If a plaintiff's
allegations “fall into one of the recognized classes,” an          2009) (quoting    Hosp. Building Co. Trustees of Rex Hosp.,
unreasonable restraint on trade is “conclusively presumed”         425 U.S. 738, 96 S.Ct. 1848, 48 L.Ed.2d 338 (1976)).
and therefore “plaintiffs are relieved of the obligation to
define a market and prove market power.” Id. (citations            Here, Plaintiffs allege that (1) a significant portion of DBM
omitted).                                                          consumed in the United States comes from China; (2)
                                                                   during the Class Period, Premier and Sumitomo bought
 *13 As discussed below, Plaintiffs sufficiently allege that       nearly all Chinese DBM available for purchase and resold
Defendants entered into (1) a horizontal agreement to fix          it to their customers in the United States; (3) Mr. Ahl of
prices in and allocate shares of the domestic DBM market           Premier “regularly called” Mr. Sumikawa of YAS “to discuss
and (2) a horizontal agreement to allocate the domestic            fixing Premier's and Sumitomo's [DBM] prices and allocating
CCM market to Premier. Accordingly, Plaintiffs assert per se       their respective MgO accounts in the U.S” (Direct CAC ¶
antitrust violations that do not require allegations regarding     34; Indirect CAC ¶ 42); (4) these market allocation and
the nature of the domestic DBM and CCM markets or                  price-fixing schemes were implemented by Mr. Ahl and
                                                                   his successors at Premier and Mr. Wakisama of Sumitomo;
Defendants' power within those markets. 12
                                                                   (5) at the 2004 Tulsa meeting, Mr. Akiyama recounted
                                                                   to Mr. Sumikawa “multiple discussions” between him and
   iii. The DBM Agreement                                          Mr. Ahl to set DBM prices and allocate DBM markets
Defendants argue that Plaintiffs' allegations of an agreement      “and ensure that Sumitomo was maintaining its agreement
to fix prices in and allocate shares of the domestic DBM           with Premier to fix [DBM] prices and allocate [DBM]
market are facially insufficient because (1) they fail to          markets,” (Direct CAC ¶ 40; Indirect CAC ¶ 49); and (5)
provide the substance of the agreement, (2) they fail to           when Mr. Vannorsdel allegedly “expressed concern about
rule out potentially alternative, lawful explanations for such     compromising his relationship with Premier by helping
an agreement, and (3) their “factual narrative is inherently       facilitate Sumitomo and YAS's involvement” in the CCM
implausible.” (Sumitomo (DP Pl's.) Br., 15 .) Plaintiffs argue     market, Mr. Akiyama responded, “ ‘Don't be concerned
that their allegations of a price-fixing and market allocation     because we [Sumitomo] talk with Premier on a daily basis
agreement are sufficient because (1) they “explicitly state who    to set prices and to discuss what accounts they can have.’
was conferring with whom about MgO pricing, markets and            “ (Direct CAC ¶ 41; Indirect CAC ¶ 50.)
customers” (DP Pl's. Br., 15.), and (2) Defendants' arguments
regarding the inherent plausibility of the alleged conspiracy       *14 These allegations plausibly suggest that Defendants
implicate factual questions that are not properly resolved on      entered into an agreement to fix prices in and allocate shares
a motion to dismiss.                                               of the domestic DBM market, the specifics of which can be
                                                                   reasonably expected to be revealed in discovery. Plaintiffs
Defendants' contention that Plaintiffs' allegations are            state (1) the subject of the alleged agreement, (2) the parties
inadequate because they “fail to disclose the actual substance     to the agreement and the specific individuals that discussed
of the alleged conversations or agreements” (Sumitomo (DP          and implemented the agreement, and (3) the context in which
Pl's.) Br., 14) is unavailing. Twombly does not require detailed


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the agreement arose. This is sufficient to withstand a motion       and therefore Defendants' proffered alternative explanations
to dismiss.                                                         are irrelevant.

Defendants' contention that Plaintiffs fail to assert a plausible
                                                                    As previously discussed,     Section 1 of the Sherman Act
antitrust conspiracy because their allegations could, in fact,
                                                                    “does not prohibit [all] unreasonable restraints of trade ...
refer to a lawful vertical agreement between Sumitomo and
                                                                    but only restraints effected by a contract, combination, or
Premier to fix prices for DBM whereby Sumitomo purchases
DBM from Premier as a reseller, is irrelevant. At the pleading      conspiracy.”      Twombly, 550 U.S. at 553 (quotation and
stage, Plaintiffs need only set forth allegations that create an    citation omitted). This is because seemingly anticompetitive
                                                                    conduct may be just as “consistent with conspiracy ... [as]
inference of an unlawful agreement,       Twombly, 550 U.S.
                                                                    with a wide swath of rational and competitive business
at 556, which, as previously discussed, they have done; they
                                                                    strategy unilaterally prompted by common perceptions of the
need not set forth allegations tending to rule out potential
                                                                    market.”    Id. at 554 (citation omitted). Accordingly, “[t]he
alternative explanations. 13
                                                                    crucial question is whether the challenged anticompetitive
                                                                    conduct stem[s] from independent decision or from an
Finally, Defendants' contention that the alleged DBM
Agreement is “inherently implausible” in that, on the one           agreement, tacit or express.” Id. at 553 (quotation and
hand, Sumitomo was allegedly worried about retaliatory              citation omitted). “Hence, when allegations of parallel
action by Premier for attempting to enter the CCM market
                                                                    conduct are set out in order to make a § 1 claim, they must
and, on the other hand, “could give credible assurances to
                                                                    be placed in a context that raises a suggestion of a preceding
the Vannorsdels that it could shield them from Premier['s]
                                                                    agreement, not merely parallel conduct that could just as well
retaliation because of [Sumitomo's] ‘daily’ contact with
Premier,” (Sumitomo (DP Pl.'s) Br., 15) is similarly                be independent action.”     Id. at 557.
irrelevant because it asks the Court to improperly assess
                                                                     *15 This is usually accomplished by pleading one or more
the merits of Plaintiffs' allegations. 14 See    Aktieselskabet
                                                                    “plus factors” that “indicate the existence of an actionable
AF 21. November 2001 v. Fame Jeans Inc., 525 F.3d
8, 17 (D.C.Cir.2008) (“Twombly was concerned with the               agreement.”         In re Ins. Brokerage, 618 F.3d at 321.
plausibility of an inference of conspiracy, not with the            While “[t]here is no finite set of such criteria,” the Court of
plausibility of a claim. A court deciding a motion to dismiss       Appeals has identified “at least three such plus factors: (1)
must not make any judgment about the probability of the             evidence that the defendant had a motive to enter into a[ ]
plaintiff's success ... the court must assume that all the          conspiracy; (2) evidence that the defendant acted contrary
allegations in the complaint as true (even if doubtful in           to its interests; and (3) evidence implying a traditional
fact)” (quotations and citations omitted)). Thus, Plaintiffs        conspiracy.”        Id. at 321–22 (quotations and citation
have sufficiently alleged an unlawful agreement among               omitted).
Defendants to fix prices in and allocate shares of the domestic
DBM market.                                                         Here, Plaintiffs' allegations suggest an agreement among
                                                                    Defendants to allocate the CCM market to Premier. Plaintiffs
                                                                    allege that (1) representatives from Sumitomo and YAS met
   iv. The CCM Agreement
                                                                    with others at a Tulsa hotel, in the summer of 2004, to discuss
Defendants contend that Plaintiffs fail to allege the existence
                                                                    entering the domestic CCM market in order to fill Sumitomo's
of an unlawful agreement to allocate the domestic CCM
                                                                    barge capacity; (2) Premier discovered their plan to enter
market to Premier because (1) they merely allege parallel
                                                                    the domestic CCM market and retaliated by lowering DBM
conduct that does not indicate concerted action, (2) there are
                                                                    prices; and (3) as a result, Sumitomo and YAS agreed with
obvious alternative explanations for Sumitomo's and YAS's
                                                                    Premier to remain out of the CCM market.
decision not to enter the CCM market, and (3) they fail
to establish that Defendants were competitors in the CCM
                                                                    To be sure, contrary to Plaintiffs' contentions, these
market. Plaintiffs counter that they are not relying on parallel
                                                                    allegations do not amount to a direct admission of an
conduct but rather direct admissions of an agreement among
                                                                    unlawful agreement to allocate the CCM market to Premier;
Defendants to allocate the domestic CCM market to Premier,
                                                                    taken in isolation, they merely amount to parallel conduct


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plus a conclusory allegation of an agreement. Placing these          market to Premier. However, the authority cited by Sumitomo
allegations in the context of the CACs as a whole, however,
                                                                     provides little support for this contention. See Palmer v.
Plaintiffs successfully demonstrate the first plus factor—that
                                                                     BRG of Georgia, Inc., 498 U.S. 46, 49–50, 111 S.Ct. 401,
Sumitomo and YAS had a motive to enter into an unlawful
                                                                     112 L.Ed.2d 349 (1990) (parties need not have competed
agreement with Premier to stay out of the domestic CCM
                                                                     in the same territorial market to unlawfully allocate that
market—and provide a plausible context for that agreement.
As previously discussed, Sumitomo and YAS maintained an              market);      Andrx Pharm, Inc. v. Bioval Corp., Int'l, 256
agreement with Premier to fix prices in and allocate shares          F.3d 799, 806–07 (D.C.Cir.2001) (potential competitor must
of the domestic DBM market. As a result, as the CACs                 show background and experience in new market, financial
indicate, Sumitomo and YAS wanted to enter the CCM market            capability to enter market, and affirmative steps toward entry
undetected so that they could continue to maintain their             in order to establish injury-in-fact for standing to sue under
agreement with Premier in the DBM market. When Premier               Section 4 of the Clayton Act);     Engine Specialities, Inc. v.
discovered their plans and, in response, cut prices in the DBM       Bombardier Ltd., 605 F.2d 1, 9 (1st Cir.1979) (to sustain jury
market, Sumitomo and YAS agreed with Premier to stay out of          finding of unlawful horizontal market allocation agreement
the CCM market with the motive of restoring and maintaining          among potential competitors, there must have been sufficient
their agreement in the DBM market.                                   support in the record to establish that potential competitors
                                                                     had the “necessary desire, intent, and capability to enter the
In this context, Defendants' alternative explanations that a         market”).
profit-maximizing entity could independently decide not to
enter a market in which (1) it remained unfamiliar with              To be sure, the Court of Appeals has generally recognized that
the product and its customers and (2) the dominant player            the existence of an unlawful horizontal agreement to allocate
recently cut prices are by no means “obvious” or “more               a given market must occur among competitors or potential
plausible” (Sumitomo (DP Pl's.) Br., 18) than an illegal             competitors in that market:
agreement to stay out of the CCM market and therefore do
not provide a basis for dismissal. At the pleading stage, “a
claim of conspiracy predicated on parallel conduct should
                                                                                 An agreement among persons who
be dismissed if common economic experience, or the facts
                                                                                 are not actual or potential competitors
alleged in the complaint itself, show that independent self-
                                                                                 in a relevant market is for Sherman
interest is an obvious alternative explanation for defendants'
                                                                                 Act purposes brutum fulmen ... To
common behavior.”             In re Ins. Brokerage, 618 F.3d                     some extent, of course, a horizontal
at 326. Plaintiffs' allegations need not rule out all potential                  agreement tends to define the relevant
                                                                                 market, for it tends to show that the
alternative explanations. See        Starr v. Sony BMG Music
                                                                                 parties to it are at least potential
Entertainment, 592 F.3d 314, 352 (2d Cir.2010) (“Although
                                                                                 competitors. If they were not, there
the Twombly court acknowledged that for purposes of
                                                                                 would be no point to such an
summary judgment a plaintiff must present evidence that
                                                                                 agreement. Thus its very existence
tends to exclude the possibility of independent action, it
                                                                                 supports an inference that it would
specifically held that, to survive a motion to dismiss, plaintiffs
                                                                                 have an effect in a relevant market.
need only enough factual matter (taken as true) to suggest that
                                                                                 Where, ... however, the disputed issue
an agreement was made” (quotations and citations omitted)).
                                                                                 is the existence or scope of the alleged
                                                                                 horizontal agreement that is to be
 *16 Finally, Sumitomo's argument that Plaintiffs fail to
                                                                                 inferred from circumstantial evidence,
allege a plausible agreement to allocate the CCM market
                                                                                 the first inquiry must be whether or
to Premier because there is no indication that Defendants
                                                                                 not each firm alleged to have been a
were actual or potential competitors in the CCM market is
                                                                                 party to it was an actual or potential
unavailing. Sumitomo specifically contends that Plaintiffs
                                                                                 competitor in that market.
must establish that it had the intent and capability of entering
the CCM market as a competitor in order to allege a
plausible agreement among Defendants to allocate the CCM



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                                                                       320 F.Supp.2d 1, 15 (D.D.C.2004) (“Although Plaintiffs must
    United States v. Sargent Elec. Co., 785 F.2d 1123, 1127            show that each Defendant had knowledge of an agreement as
(3d Cir.1986) (reversing dismissal of indictment on double             to the overall conspiracy, they need not show (1) evidence
jeopardy grounds). However, Sumitomo fails to present, nor             of a formal agreement, or (2) knowledge, on behalf of the
is the Court aware of, any authority requiring a purchaser             Defendant, of every detail of the alleged conspiracy.”); In
plaintiff to specifically establish, at the pleading stage, that the   re Mercedez–Benz, 157 F.Supp.2d at 375 (“That a particular
parties to a horizontal agreement to allocate a given market           defendant may or may not have joined in a specific overt
were competitors or potential competitors in that market.              act in furtherance of the conspiracy ... does not affect its
To require Plaintiffs, pre-discovery, to establish Sumitomo's          status as a conspirator.”). On the other hand, “knowledge
background and experience in the CCM market, its financial             alone [of the conspiracy] is not sufficient” to hold it liable.
capability to enter that market, and the specific steps taken          In re Vitamins, 320 F.Supp.2d at 16. Plaintiffs must therefore
by Sumitomo to enter it, would be overly onerous, as much              set forth allegations suggesting that YAS (1) had knowledge
of this information is likely to be exclusively in the hands           of the conspiracy to fix prices in and allocate shares of the
                                                                       domestic DBM market, and allocate the CCM market to
of Sumitomo. 15 Thus, Plaintiffs have sufficiently alleged
                                                                       Premier, and (2) intended to join that conspiracy. Id. “[A]
an unlawful agreement among Defendants to allocate the
                                                                       a party progresses form mere knowledge of an endeavor
domestic CCM market to Premier.
                                                                       to intent to join it when there is ‘informed and interested
                                                                       cooperation, stimulation, instigation. And there is also a stake
   v. YAS' Involvement in the Alleged Conspiracy                       in the venture which, even if it may not be essential, is
 *17 YAS separately argues that Plaintiffs fail to establish           not irrelevant to the question of conspiracy.’ “ Id. (quoting
its participation in the alleged conspiracy because they fail to          Direct Sales Co. v. United States, 319 U.S. 703, 713, 63
show that it came to a meeting of the minds with Sumitomo              S.Ct. 1265, 87 L.Ed. 1674 (1943)).
and Premier to (1) fix prices in and allocate shares of the
domestic DBM market and (2) allocate the domestic CCM
market to Premier. 16 Plaintiffs counter that (1) they have               1. The DBM Agreement
set forth direct allegations indicating YAS's knowledge and            Plaintiffs allege that Mr. Sumikawa of YAS (1) facilitates
participation in the alleged conspiracy, and (2) YAS need not          Sumitomo's purchases of Chinese DBM for resale in the
have played the same role in the conspiracy, maintain the              domestic DBM market, (2) received regular phone calls
same motives as Sumitomo or Premier for participating in it,           from Mr. Ahl of Premier “to discuss fixing Premier's and
or sell MgO to be held liable.                                         Sumitomo's [DBM] prices and allocating their respective
                                                                       [DBM] accounts in the U.S,” (Direct CAC ¶ 34; Indirect
As previously discussed, to hold YAS or any other Defendant            CAC ¶ 42), and (3) attended the 2004 Tulsa meeting where
liable, Plaintiffs must set forth allegations suggesting that          (i) Mr. Akiyama of Sumitomo recounted to him “multiple
YAS maintained “unity of purpose or a common design                    discussions” between him and Mr. Ahl to set DBM prices
and understanding or a meeting of minds or a conscious                 and allocate DBM markets “and ensure that Sumitomo was
commitment to a common scheme” with Sumitomo and                       maintaining its agreement with Premier to fix [DBM] prices
Premier to (1) fix prices in and allocate shares of the domestic       and allocate [DBM] markets,” (Direct CAC ¶ 40; Indirect
DBM market, and (2) allocate the CCM market to Premier.                CAC ¶ ) and (ii) it was revealed that Sumitomo communicates
                                                                       with Premier on a daily basis fix prices and allocate accounts.
       In re Ins. Brokerage, 618 F.3d at 315 (quotations and
                                                                       These allegations create a plausible inference that YAS had
citation omitted). This does not require a showing that YAS
                                                                       knowledge of an agreement to fix prices in and allocate
knew of or participated in every transaction in furtherance
                                                                       shares of the domestic DBM market and the intent to join
of or related to the alleged conspiracy. See   TV Signal Co.           it. Accepting Plaintiff's allegations as true and making all
of Aberdeen v. American Tel. & Tel. Co., 462 F.2d 1256,                reasonable inferences in their favor, YAS' facilitation of
1259 (8th Cir.1972) (“Although knowledge is implicit in the            Sumitomo's DBM purchasing indicates a plausible stake in
requirement of unity of purpose, no case of which we are               the DBM Agreement, while its receipt of phone calls to
aware requires that each party to a conspiracy knows of each           discuss the Agreement and attendance at a meeting at which it
transaction encompassed by the conspiracy in order to be               was revealed indicates that YAS had knowledge of the DBM
held accountable therefore.”); In re Vitamins Antitrust Litig.,



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Agreement and that it engaged in informed and interested         and magnesite. Consequently, it is certainly plausible that
cooperation.                                                     YAS could participate in discussions with co-conspirators to
                                                                 fix prices and allocate shares of the DBM market.
*18    Citing to        In re Elevator Antitrust Litig.,
502 F.3d 47, 50 (2d Cir.2007) and            Hinds County,          2. The CCM Agreement
Mississippi v. Wachovia Bank N.A., 620 F.Supp.2d 499, 518        Plaintiffs' allegations suggesting an agreement among
(S.D.N.Y.2009), YAS argues that these allegations should be      Sumitomo and Premier to allocate the CCM market to
“discounted” because they amount to mere “averments of           Premier apply with equal force to YAS. As previously
agreements made at some unidentified place and time.” (YAS       discussed, Plaintiffs allege that (1) Sumitomo and YAS met
Br., 4.) In re Elevator Antitrust Litig. concerned a list of     with others at a Tulsa hotel, in the summer of 2004, to discuss
“basically every type of conspiratorial activity that one        entering the domestic CCM market in order to fill Sumitomo's
could imagine ... in entirely general terms without any          barge capacity; (2) Premier discovered their plan to enter
specification of any particular activities by any particular     the domestic CCM market and retaliated by lowering DBM
                                                                 prices to keep Sumitomo and YAS out of the CCM market;
defendant.”   502 F.3d at 50. Similarly, Hinds County dealt
                                                                 and (3) as a result, Sumitomo and YAS agreed with Premier
with conclusory allegations of “ ‘per se illegal horizontal
                                                                 to remain out of the CCM market.
communications' in support of [an] alleged conspiracy.”
    620 F.Supp.2d at 518. Here, in contrast, Plaintiffs allege    *19 YAS argues that these allegations are conclusory
(1) the way in which YAS participates with Sumitomo—a            because they “provide [ ] no details whatsoever about
member of the conspiracy—in the domestic DBM market, (2)         YAS's participation in this alleged agreement, including what
phone calls from Premier—another party to the conspiracy         role it is alleged to have played.” (YAS Br., 7.) At the
—to YAS to discuss fixing prices in and allocating shares        pleading stage, however, Plaintiffs need not allege the specific
of the domestic DBM market, and (3) YAS's attendance at a        nature of YAS's or any other Defendant's participation in
meeting where Sumitomo—its partner in the domestic DBM           the agreement to allocate the CCM market to Premier. See
market—recounted to YAS discussions in which it set prices
                                                                     In re Static Random Access Memory (SRAM) Antitrust
in and allocated shares of the domestic DBM market with
                                                                 Litig., 580 F.Supp.2d 896, 904 (N.D.Cal.2008) (“Although
Premier. These allegations, do not amount to a mere “list of
                                                                 Plaintiffs will need to provide evidence of each Defendants'
theoretical possibilities,”   In re Elevator Antitrust Litig.,   participation [at summary judgment] ... they now only need to
502 F.3d at 50, or “require the Court to assume the existence    make allegations that plausibly suggest that each Defendant
                                                                 participated in the alleged conspiracy.”). As previously
of the conspiracy.”    Hinds County, 620 F.Supp.2d at 518.
                                                                 discussed, Plaintiffs must set forth allegations suggesting that
Rather, they make the alleged conspiracy more plausible.
                                                                 YAS had knowledge of the agreement and the intent to join
                                                                 it. Plaintiffs' allegations that YAS, as Sumitomo's partner in
YAS further argues that “it is wholly implausible that [it]
                                                                 the domestic MgO market, (1) attended a meeting to arrange
(a minor player that was not itself a manufacturer, importer
                                                                 for Sumitomo to enter the domestic CCM market and (2)
or seller 17 ) would have discussed fixing Premier's and
                                                                 subsequently agreed with Sumitomo and Premier to allocate
Sumitomo's [DBM] prices,” particularly since Plaintiffs fail
                                                                 that market to Premier in order to maintain their agreement to
to “allege that YAS had any ability to influence (let alone)
                                                                 fix prices and allocate shares of the domestic DBM market,
dictate Sumitomo's [DBM] prices, nor which customers
                                                                 do just that.
Sumitomo dealt with.” (YAS Br., 5.) As previously discussed,
this line of argument is not only improper at the pleading
                                                                 Finally, like Sumitomo, YAS argues that it cannot be held
stage—where the Court must accept Plaintiffs' allegations
                                                                 liable for the alleged agreement to allocate the domestic CCM
as true—it is also unpersuasive. There is nothing “wholly
                                                                 market to Premier because Plaintiffs fail to establish that
implausible” about YAS participating in discussions to fix
                                                                 YAS was an actual or potential competitor in that market.
prices in and allocate shares of the domestic DBM market.
                                                                 For the reasons discussed in Point IICiv, at the pleading
Sumitomo was only able to participate in the domestic DBM
                                                                 stage, Plaintiffs, as purchasers, need not establish that YAS
market in the first place due to YAS's relationship with
                                                                 was an actual or potential competitor in the CCM market in
Chinese mines from which Sumitomo could purchase DBM
                                                                 order to allege its participation in a horizontal conspiracy.



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Furthermore, YAS's (1) role in facilitating Sumitomo's
                                                                   cause of action .” In re Lower Lake Erie Iron Ore Antitrust
purchase of Chinese DBM and (2) attendance at the 2004
                                                                   Litig., 998 F.2d 1144, 1178–79 (3d Cir.1993) (citation
Tulsa meeting where it, Sumitomo, and the Vannorsdels
                                                                   omitted). In addition, allegations of fraudulent concealment
discussed entering into the CCM market, suggests that YAS
                                                                   must be pled with particularity in accordance with Federal
intended to participate with Sumitomo in the CCM market
                                                                   Rule of Civil Procedure 9(b). In re Mercedes–Benz, 157
in the same way as they had been participating in the DBM
                                                                   F.Supp.2d at 368.
market. Thus, Plaintiffs have set forth allegations plausibly
suggesting that YAS participated in an agreement to allocate
                                                                   However, “Rule 9[ (b) ] does not require plaintiffs to plead
the CCM market to Premier.
                                                                   facts that, by the nature of the alleged fraud, are within the
                                                                   defendants' control.” Id. (citing       In re Craftmatic Secs.
D. Statute of Limitations and Fraudulent Concealment               Litig., 890 F.2d 628, 645 (3d Cir.1989)). Indeed, “[c]ourts
Actions brought under the Clayton Act are subject to a             must be sensitive to the fact that [a rigid] application of Rule
four-year statute of limitations. 15 U.S.C. § 15b. In an           9(b) prior to discovery may permit sophisticated defrauders
antitrust conspiracy that continues over a period of years,
                                                                   to successfully conceal the details of their fraud.”     In re
each overt act in furtherance thereof that injures the plaintiff
                                                                   Craftmatic, 890 F.2d at 645 (quotation and citation omitted).
—for example, the selling of a price-fixed product—starts
                                                                   “Thus, courts have relaxed the rule when factual information
the statute of limitations period running for that particular
                                                                   is peculiarly within the defendant's knowledge or control.”
act.     Klehr v. A.O. Smith Corp., 521 U.S. 179, 189, 117         Id. Accordingly, under the more flexible application of Rule
S.Ct. 1984, 138 L.Ed.2d 373 (1997); see also Zenith Radio          9(b), Plaintiffs need not allege the specific information that
Corp. v. Hazeltine Research, Inc., 401 U.S. 321, 338, 91 S.Ct.     is exclusively within Defendants' knowledge or control. See
795, 28 L.Ed.2d 77 (“Generally, a cause of action accrues and         id. at 646. However, Plaintiffs must allege facts suggesting
the statute begins to run when a defendant commits an act that     fraudulent concealment and “why additional information lies
injures a plaintiff's business” (citations omitted)). However,     exclusively within the defendants' control.” Id .
“the commission of a separate new overt act generally does
not permit the plaintiff to recover for the injury caused by old   As discussed fully below, Plaintiffs fail to satisfy each
overt acts outside the limitations period.”    Klehr, 521 U.S.     element of fraudulent concealment, thus requiring dismissal
at 190 (citations omitted).                                        of their federal antitrust claims as time-barred. However, the
                                                                   Court will grant Plaintiffs leave to amend their allegations
 *20 Defendants argue that Plaintiffs' federal antitrust claims    of fraudulent concealment to equitably toll the statute of
are barred by the applicable four-year statute of limitations.     limitations. 18
Specifically, Defendants contend that Plaintiffs (1) fail to
allege overt acts in furtherance of the alleged conspiracy
that occurred after 2004 and (2) fail to plead fraudulent             i. Affirmative Acts of Concealment
concealment with particularity to otherwise toll the statute of    Defendants argue that (1) Plaintiffs fail to sufficiently allege
limitations. Plaintiffs do not dispute that they fail to allege    affirmative acts of concealment and (2) their allegations that
overt acts after 2004, but maintain that they plead fraudulent     the MgO conspiracy is self-concealing cannot satisfy the
concealment with the requisite particularity to toll the statute   first element of fraudulent concealment. 19 Plaintiffs contend
of limitations.                                                    that they have alleged (1) a self-concealing conspiracy that
                                                                   satisfies the first element of fraudulent concealment, or, (2)
The equitable doctrine of fraudulent concealment applies           in the alternative, affirmative acts of concealment committed
                                                                   by Defendants.
to every federal statute of limitations.       Holmberg v.
Armbrecht, 327 U.S. 392, 397, 66 S.Ct. 582, 90 L.Ed. 743
                                                                    *21 The Court of Appeals has yet to define what constitutes
(1946). To toll a statute of limitations through fraudulent
                                                                   an affirmative act of concealment in antitrust cases. However,
concealment, a plaintiff must show “(1) an affirmative act
                                                                   courts have generally taken two distinct views. In re
of concealment; (2) which misleads or relaxes the plaintiff's
                                                                   Mercedez–Benz, 157 F.Supp.2d at 368. The first requires a
inquiry, who (3) exercised due diligence in investigating his
                                                                   plaintiff to show one or more affirmative acts to conceal an



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antitrust conspiracy that are wholly extrinsic to the conspiracy    The Court agrees that, under certain circumstances, an
                                                                    antitrust conspiracy may depend on its own concealment to
itself. See, e.g., Colorado v. Western Paving Constr. Co.,
                                                                    the point that any act in furtherance thereof can also be said
630 F.Supp. 206, 2010 (D.Colo.1986), aff'd en banc by an
                                                                    to conceal it. As the Supreme Court explained long ago, the
equally divided court,     841 F.2d 1025 (10th Cir.1988),           purpose of the fraudulent-concealment doctrine is to prevent a
cert. denied, 488 U.S. 870, 109 S.Ct. 179, 102 L.Ed.2d 148          defendant from “concealing a fraud, or ... committing a fraud
(1988). The second also requires a plaintiff to show one or         in a manner that it concealed itself until such time as the party
more affirmative acts of concealment, but those acts may            committing the fraud could plead the statute of limitations to
be part and parcel to, or in furtherance of, the conspiracy.
                                                                    protect it.”   Bailey v. Glover, 88 U.S. (21 Wall.) 342, 349,
   Supermarket of Marlington, Inc. v. Meadow Gold Dairies,          22 L.Ed. 636 (1874). However, the Court cannot find that
Inc., 71 F.3d 119, 122 (4th Cir.1995) (citing     Texas v. Allen    conspiracies involving price-fixing are per se self-concealing,
Constr. Co., 851 F.2d 1526, 1532 (5th Cir.1988)). The Court         as such a finding would render them wholly exempt from the
finds the first view to be overly restrictive in this case. In a    applicable statute of limitations.
conspiracy involving price-fixing, “it is virtually impossible
to distinguish between acts in furtherance of the conspiracy         *22 Although not binding,          In re Publication Paper
and acts designed to maintain the conspiracy's secrecy              Antitrust Litig., No. 04–1631, 2005 WL 2175139 (D.Conn.
because the conspiracy's success is often contingent upon its       Sept.7, 2005) provides a helpful framework under which
ability to avoid detection by regulators and purchasers.” In re     to determine whether a conspiracy involving price-fixing is
Aspartame Antitrust Litig., No. 06–1732, 2007 WL 5215231,           self-concealing for the purposes of establishing fraudulent
at *5 (E.D.Pa. Jan.18, 2007); See also In re Mercedez–Benz,         concealment. That case found that a price-fixing conspiracy
157 F.Supp.2d at 372 (“secrecy is [the] natural lair” of a price-   may be self-concealing, depending on the nature of the
fixing conspiracy).                                                 industry in which the item is price-fixed:

Several courts, including those in this Circuit, have found
that a plaintiff may avoid the affirmative act requirement                       In a competitive, well-regulated
altogether in cases where an antitrust conspiracy is                             industry it will often be the case
“inherently self-concealing.” See, e.g., In re Aspartame, 2007                   that a price-fixing conspiracy, if not
WL 5215231, at *5; In re Nine West Shoes Antitrust Litig.,                       concealed, would immediately fail
80 F.Supp.2d 181, 192 (S.D.N.Y.2000); In re Mercedez–                            because of governmental or private
Benz, 157 F.Supp.2d at 371; Pennsylvania Milk Indus.                             legal action. In such circumstances,
                                                                                 any announcement of a price increase
Mgmt. Corp., 812 F.Supp. 500 (E.D.Pa.1992);         Bethlehem
                                                                                 will carry with it an implicit statement
Steel Corp. v. Fischbach & Moore, Inc., 641 F.Supp. 271,
                                                                                 that the price increase is legitimate,
273–74 (E.D.Pa.1986). However, the definition of a self-
                                                                                 i.e., the result of competitive forces,
concealing antitrust conspiracy, particularly one that involves
                                                                                 not collusion. Nevertheless, not
price-fixing, remains nebulous. The In re Mercedez–Benz
                                                                                 every price-fixing conspiracy is self-
court held that a self-concealing antitrust conspiracy is one
                                                                                 concealing. For example, there may
where “concealment is so intertwined with the conspiracy
                                                                                 be industries in which the participants
as a whole that the equitable foundations of the fraudulent
                                                                                 are aware of collusion but it is
concealment doctrine require the limitations period to be
                                                                                 not stopped because of indifference,
tolled.” 157 F.Supp.2d at 371. Other courts maintain that all
                                                                                 fear, or because the perpetrators are
properly alleged price-fixing conspiracies are inherently self-
                                                                                 exempt from, or beyond the reach of,
concealing. See, e.g.,     In re Issuer Plaintiff Initial Public                 antitrust laws. In such circumstances,
Offering Antitrust Litig., No. 00–7804, 2004 WL 487222, at                       the defendants' announcement of a
                                                                                 price increase will not carry with it any
*4 (S.D.N.Y. Mar.12, 2004);        Nine West, 80 F.Supp.2d at
                                                                                 implied certification of legitimacy, and
192.




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             so, absent additional circumstances,                  acts of concealment. Plaintiffs argue that there is no reliance
             will not be self-concealing.                          requirement to establish fraudulent concealment.

                                                                   While the aforementioned elements of fraudulent
                                                                   concealment do not specifically note a reliance requirement,
    In re Publication Paper, 2005 WL 2175139, at *4.
                                                                   the language of the second element strongly suggests one.
Accordingly, “whether a particular price-fixing conspiracy or,
                                                                   As previously noted, the second element of fraudulent
more precisely, whether a particular announcement of a price
                                                                   concealment requires a showing that the defendant's
increase necessarily conceals its true nature depends on the
                                                                   concealment misled or relaxed the plaintiff's potential inquiry
nature of the industry and the circumstances surrounding the
                                                                   into what otherwise would have been evidence of its cause of
announcement.” Id. In other words, a plaintiff must show
circumstances indicating that a price increase “carries with       action.     In re Lower Lake Erie, 998 F.2d at 1179; see also
it a pretense of legitimacy” or “that it would necessarily         Forbes v. Eagleson, 228 F.3d 471, 487 (3d Cir.2000) (“[T]he
be assumed that [it was] the result of legitimate market           plaintiff must show that he actually was mis[led] ... into
forces.” Id. To do so, a plaintiff may, for example, set           thinking that he d [id] not have a cause of action” (quotation
forth allegations showing “that price increases are not            and citation omitted)). Implicit in the notion that a plaintiff's
abnormal, that such increases are typically ascribed to market     inquiry was misled or relaxed by an act of concealment is
forces, that an openly collusive price increase would not be       that the plaintiff relied on that act of concealment. That is,
tolerated, and that there was nothing suspicious about the         the plaintiff's inquiry would not have been misled or relaxed
circumstances under which each of the pre-limitations period       if it did not rely on the defendant's act of concealment.
price announcements were made.” Id.                                Here, Plaintiffs make no allegations that they were misled
                                                                   by Defendants' concealment of the alleged conspiracy and
Here, Plaintiffs fail to allege particular circumstances           therefore have failed to meet the second element of fraudulent
surrounding the MgO market indicating that the alleged             concealment. However, the Court will grant Plaintiffs leave
conspiracy was self-concealing. Plaintiffs come close to           to amend to adequately plead that they relied on the self-
pleading an affirmative act of concealment in alleging that        concealing nature of Defendants' conspiracy and/or pretextual
“price increases for MgO were justified by references to tight     justifications for Defendants' price increases. See        In re
supply, thinning margins, and increased energy and freight         Burlington Coat Factory Litig., 114 F.3d at 1434.
costs” (Direct CAC ¶ 51; Indirect CAC ¶ 58), however
they fail to explain the particular circumstances surrounding
Defendants' price increases and pretextual justifications for         iii. Due Diligence
those increases—information which is in Plaintiffs' control—       Defendants argue that Plaintiffs fail to satisfy the due
in accordance with Rule 9(b). 20 Thus, Plaintiffs have failed      diligence element of fraudulent concealment because they
to meet the first element of fraudulent concealment to toll the    do not allege any due diligence performed during the Class
statute of limitations. However, the Court will grant Plaintiffs   Period, particularly that which led to the discovery of
leave to amend to adequately plead either (1) circumstances        the alleged conspiracy. Plaintiffs counter that, under the
surrounding the MgO market during the Class Period                 fraudulent concealment doctrine, they need only plead that
indicating that the alleged conspiracy is self-concealing, or      they would not have discovered their claim, even in the
(2) particular circumstances surrounding Defendants' price         exercise of reasonable due diligence. Plaintiffs further argue
increases and the allegedly pretextual justifications for those    that determinations of due diligence are fact-intensive and
                                                                   therefore not properly addressed on a motion to dismiss.
price increases. See    In re Burlington Coat Factory Litig.,
114 F.3d at 1434.                                                  The parties cite somewhat differently worded standards to
                                                                   support their respective positions on what the due diligence
                                                                   prong requires. Defendants cite In re Lower Lake Erie, in
   ii. Reliance
                                                                   which the Court of Appeals held that a plaintiff must show
 *23 Defendants argue that Plaintiffs fail to meet the second
                                                                   that he “exercised due diligence in investigating his cause of
element of fraudulent concealment because they have not
alleged that that they relied on Defendants' alleged affirmative   action.”   998 F.2d at 1178–79. Plaintiffs, on the other hand
                                                                   cite Matthews v. Kidder, Peabody & Co., Inc., where the Court



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of Appeals held that a plaintiff must show that his ignorance        157 F.Supp.2d at 373 (“At a minimum, this issue will involve
is not attributable to a lack of “reasonable due diligence in        assessing the factual circumstances surrounding the accused
                                                                     purchasing transactions and whether those circumstances
attempting to uncover the relevant facts.”        260 F.3d 239,
                                                                     would have put a reasonably diligent plaintiff on notice
256 (3d Cir.2001).
                                                                     of a price-fixing conspiracy”), and, as a result, at the
                                                                     pleading stage, this court has been hesitant to dismiss an
While the wording of the due diligence prong has differed
                                                                     otherwise fraudulently concealed antitrust claim for failure
slightly among Third Circuit case law, its substance has
                                                                     to sufficiently allege due diligence. See In re Electrical
remained consistent. The due diligence prong is rooted
                                                                     Carbon Prods., 333 F.Supp.2d at 317–18; Mercedez–Benz,
in the notion of inquiry notice: that an injury accrues
                                                                     157 F.Supp.2d at 374.
when a reasonable plaintiff under the circumstances would
have discovered it. See       Matthews, 260 F.3d at 251. As          Citing to In re Publication Paper and Hinds County,
previously discussed, a federal antitrust injury accrues when        Defendants maintain that, at the pleading stage, the due
an overt act is committed that injures the plaintiff, thereby        diligence prong nonetheless requires that “Plaintiffs [ ]
triggering the four-year statute of limitations; however, one        allege with particularity when the Named Plaintiffs or Class
or more affirmative acts of concealment “may toll the statute        members became aware of the antitrust violations and what
of limitations [ ] if [they] mislead[ ] a plaintiff into thinking    inquiries [they] made into the activities alleged in the
that he does not have a cause of action.”        Davis v.            complaint.” (Sumitomo Reply Br., 18) (internal quotations
Grusemeyer, 996 F.2d 617, 624 (3d Cir.1993), overruled on            omitted). In In re Publication Paper, the plaintiffs alleged
                                                                     that they were aware of certain suspicious activities two
other grounds by         Rolo v. City Investing Co. Liquidating
Trust, 155 F.3d 644 (3d Cir.1998). Thus, to establish the            years before the end of the limitations period. See         2005
due diligence prong of fraudulent concealment, a plaintiff           WL 2175139, at *5. Accordingly, the court found that the
must affirmatively show that he was not on inquiry notice of         plaintiffs were therefore required allege they steps they took
the alleged antitrust conspiracy. See id. (“A key aspect of a        to investigate those activities. See id. Here, however, Plaintiffs
plaintiff's case alleging fraudulent concealment is [ ] proof        do not allege any suspicious activities or storm warnings
that the plaintiff was not previously on notice of the claim he      within the limitations period.
now brings.” (citations omitted)).
                                                                     Defendants' citation to Hinds County is more persuasive. In
*24 In this Circuit, “inquiry notice [is] analyzed in two            that case, the plaintiffs attempted to satisfy the due diligence
                                                                     prong by alleging that they “did not discover, nor could have
steps.” 21     Matthews, 260 F.3d at 252. “First, the burden         discovered through reasonable diligence, that [d]efendants
is on the defendant [s] to show the existence of ‘storm              and their co-conspirators were violating the antitrust laws
warnings.’ “ Id. In this case, a storm warning would be              until shortly before this litigation was commenced, because
information or data that would alert a reasonable MgO                [d]efendants and their co-conspirators were using deceptive
purchaser of ordinary intelligence to potentially culpable           and secret methods to avoid detection and affirmatively
conduct. “Second, if the defendants establish the existence of
storm warnings, the burden shifts to the plaintiffs to show that     conceal their violations.”     Hinds County, 620 F.Supp.2d
they exercised reasonable due diligence and yet were unable          at 521–22. The court found that allegation too vague to
to discovery their injuries.” Id. This requires Plaintiffs to show   satisfy Rule 9(b) and further explained that to deem such an
that (1) they investigated the storm warnings and (2) in their       allegation sufficient would “allow[ ] the allegations required
investigation, they exercised the due diligence expected of a        to satisfy the first prong of fraudulent concealment to also
reasonable DBM or CCM purchaser of ordinary intelligence.            satisfy the third prong.”    Id. at 521–22.
See id.
                                                                      *25 The Court finds this logic persuasive. Here, Plaintiffs
As Plaintiffs point out, this inquiry is necessarily bound           allege that, due to the secretive nature of the alleged MgO
up with the facts of the case because it “implicates factual         conspiracy, “neither plaintiffs nor the class members had
questions as to when [a] plaintiff discovered or should have         knowledge of any of the foregoing violations, and neither
discovered the elements of the cause of action,”  id. at 250         plaintiffs nor the class members, until recently, could have
(quotations and citation omitted); see also Mercedez–Benz,           discovered through reasonable diligence that [D]efendants



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and their co-conspirators had engaged in the foregoing               Similarly, many of the consumer protection and unfair
violations.” (Direct CAC ¶ 49; Indirect CAC ¶ 56 .) This             competition laws asserted by IP Plaintiffs require that
allegation cannot satisfy the requirements of Rule 9(b),             Defendants' unlawful conduct affect trade and commerce in
particularly when it fails to encompass when and how                 the state under whose law they are suing, see MCA 30–14–
Plaintiffs ultimately discovered the alleged MgO conspiracy          103, 102 (Montana) (“Unfair methods of competition and
—information that is certainly with Plaintiffs' control. See         unfair or deceptive acts or practices in the conduct of any trade
                                                                     or commerce are unlawful.... [T]rade or commerce [must]
   In re Craftmatic, 890 F.2d at 645. Without some level
                                                                     directly or indirectly affect[ ] the people of this state.”);
of specificity regarding Plaintiffs' discovery of the alleged
                                                                     MGLA §§ 93A 1, 2 (Massachusetts) (same); S.C.Code 1976
conspiracy, it is impossible to discern whether Plaintiffs could
                                                                     §§ 39–5–10, 20 (South Carolina) (same); Neb. Rev. St. §§
or should have discovered it within the limitations period.
                                                                     59–1602, 1601 (Nebraska) (“Unfair methods of competition
Thus, Plaintiffs have failed to meet the due diligence prong of
                                                                     and unfair or deceptive acts or practices in the conduct of any
fraudulent concealment. However, Plaintiffs will be granted
                                                                     trade or commerce shall be unlawful.... Trade and commerce
leave to amend to adequately plead, in accordance with Rule
                                                                     shall mean the sale of assets or services and any commerce
9(b), (1) when and how they discovered the alleged MgO
                                                                     directly or indirectly affecting the people of the State of
conspiracy, and (2) that the self-concealing nature of the
conspiracy and/or pretextual justifications for Defendants'          Nebraska.”);      N.H.Rev.Stat. § 358–A:2 (New Hampshire)
price increases made it so that they were not alerted to any         (“It shall be unlawful for any person to use any unfair method
storm warnings that would otherwise trigger an obligation to         of competition or any unfair or deceptive act or practice in
                                                                     the conduct of any trade or commerce within this state.”);
perform due diligence. See       In re Burlington Coat Factory
Litig., 114 F.3d at 1434.                                               N.Y. Gen. Bus. Law § 349 (New York) (“Deceptive acts or
                                                                     practices in the conduct of any business, trade or commerce
                                                                     or in the furnishing of any service in this state are hereby
E. IP Plaintiffs' Claims for Violations of Various States'           declared unlawful.”); Sherman v. Ben & Jerry's Franchising,
Consumer Protection Laws                                             Inc., 08–CV–207, 2009 WL 2462539, at *10 (D.Vt. Aug.10,
IP Plaintiffs assert claims under California, Florida, Hawaii,       2009) (Out of state plaintiffs alleging out of state conduct
Massachusetts, Montana, Nebraska, New Hampshire, New                 do not have standing to sue under Vermont Consumer Fraud
York, South Carolina, and Vermont consumer protection                Protection Act), while others do not, see F.S.A. 501.204,
and unfair competition laws. As with IP Plaintiffs' antitrust
claims under state law, Defendants argue that IP Plaintiffs          501.211 (Florida)F.S.A. 501.204, 501.211 (Florida);        HRS
lack standing to assert their consumer protection claims,                                          22
                                                                     480–2,     480–13 (Hawaii).
except that under California law, because they “do not
allege purchases in any of the 10 states other than                   *26 IP Plaintiffs' allegations that “Defendants agreed to,
California.” (Sumitomo (IP Pl.'s) Br., 5). Defendants further        and did in fact, act in restraint of trade or commerce
argue that these claims should be dismissed because IP               in a market that includes the above states, by affecting,
Plaintiffs do not plead them with particularity in accordance        fixing, controlling, and/or maintaining, at artificial and
with Federal Rule of Civil Procedure 9(b).                           noncompetitive levels, the prices at which MgO and MgO
                                                                     Products were sold, distributed, or obtained in those states;”
                                                                     “MgO price competition was restrained, suppressed, and
   i. Standing
                                                                     eliminated throughout the states;” and “MgO prices were
IP Plaintiffs' standing to sue under a state's consumer
                                                                     raised, fixed, maintained, and stabilized at artificially high
protection law is analogous to their standing under a state's
                                                                     levels throughout the states” (Indirect CAC ¶¶ 79, 81)
antitrust law. As discussed in Point B, IP Plaintiffs' failure to
                                                                     are conclusory and do not tie their injuries to the alleged
tie their injuries or Defendants' unlawful conduct to a number
                                                                     conspiracy's effect on trade and commerce in those specific
of states was fatal to their standing to sue because the antitrust
                                                                     states. Therefore, IP Plaintiffs' consumer protection claims
laws of those states require a showing that part of Defendants'
                                                                     under Montana, Massachusetts, Nebraska, New Hampshire,
conduct occurred or had an effect in-state. On the other hand,
                                                                     and New York law are dismissed for lack of standing.
IP Plaintiffs have standing to sue under the antitrust laws that
have no such requirement.
                                                                       ii. Pleading Requirements


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The consumer protection laws of Florida and Hawaii—under
which IP Plaintiffs currently maintain standing to sue—                                  III. CONCLUSION
require that they plead the circumstances of any alleged
fraudulent conduct with particularity in accordance with Rule         *27 For the foregoing reasons, Defendants' Motion to
                                                                     Dismiss is GRANTED to the following extent only. The Court
9(b). See     Jovine v. Abbott Laboratories, Inc., 11–CV–
                                                                     rules as follows:
80111, 2011 WL 1376029 (S.D.Fla. Apr.12, 2011) (applying
Rule 9(b) to allegations of unfair or deceptive acts or                (1) IP Plaintiffs' federal and state antitrust claims are
practices under the Florida Deceptive and Unfair Trade                    dismissed without prejudice for lack of standing. IP
Practices Act); Cannon v. U.S. Bank, NA, Civ. No. 11–00079,               Plaintiffs have thirty (30) days to amend their allegations
2011 WL 1637415, (D.Hawai'i Apr.29, 2011) (applying Rule                  to set forth (1) the specific products purchased
9(b) to allegations of fraudulent business practices under                containing DBM or CCM and (2) the nexus between an
the Hawaii State Unfair and Deceptive Business Practices                  increase in the price of those products and the alleged
Act);   Athena Feminine Techs., Inc. v. Wilkes, No. C 10–                 conspiracy to fix prices in and allocate shares of the
4868, 2011 WL 4079927 (N.D.Cal. Sept.13, 2011) (“[A]                      domestic DBM and CCM markets.
claim brought under the fraudulent prong of the [Unfair
                                                                       (2) IP Plaintiffs' antitrust claims under Arizona, the District
Competition Law] must be pled with particularity under Rule
                                                                          of Columbia, Hawaii, Illinois, Maine, Minnesota,
9(b)”).
                                                                          Nebraska, Nevada, New Mexico, New York, North
                                                                          Carolina, North Dakota, Oregon, South Dakota,
IP Plaintiffs' allegations that “Defendants deliberately
                                                                          Tennessee, Utah, and West Virginia law are dismissed
failed to disclose material facts to Plaintiff and the
                                                                          with prejudice for lack of standing.
classes concerning Defendants' unlawful activities and
artificially inflated prices for MgO and MgO Products,”                (3) Plaintiffs' federal and state antitrust claims are
and “misrepresented to all consumers during the Class                     dismissed without prejudice as time-barred under
Period that Defendants' MgO prices were competitive and                   the applicable statutes of limitations. Plaintiffs have
fair” (Indirect CAC ¶ 80); see also (Indirect CAC ¶                       thirty (30) days to amend their allegations of
83) (alleging “affirmative misrepresentations and omissions               fraudulent concealment to equitably toll those statutes of
concerning the price of MgO”) are not set forth with any                  limitations.
measure of particularity. See       In re Supreme Specialties,
                                                                       (4) IP Plaintiffs' consumer protection and unfair
Inc. Sec. Litig., 438 F.3d 256, 270 (3d Cir.2006) (Under
                                                                          competition claims under Montana, Massachusetts,
Rule 9(b), a plaintiff must allege fraud with particularity by
                                                                          Nebraska, New Hampshire, and New York are dismissed
pleading the following: “(1) a specific false representation [or
                                                                          with prejudice for lack of standing.
omission] of material fact; (2) knowledge by the person who
made it of its falsity; (3) ignorance of its falsity by the person     (5) IP Plaintiffs' consumer protection and unfair
to whom it was made; (4) the intention that it should be acted            competition claims under Florida and Hawaii law
upon; and (5) that the plaintiff acted upon it to his [or her]            are dismissed without prejudice to the extent they
damage.” (quotations and citation omitted)). Accordingly, IP              are premised on allegations of Defendants' fraudulent
Plaintiffs' consumer protection and unfair competition claims             conduct. IP Plaintiffs have thirty (30) days to amend
under Florida and Hawaii law are dismissed to the extent they             those allegations to comply with Federal Rule of Civil
are premised on Defendants' fraudulent conduct. However,                  Procedure 9(b).
IP Plaintiffs are granted leave to amend their allegations to
comply with the requirements of Rule 9(b). Additionally, at          The Court will enter an order implementing this opinion.
this time, those claims may move forward to the extent they
are premised on allegations of Defendants' engaging in unfair
competition, as there is no indication that Rule 9(b) applies        All Citations
to such allegations.
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                                                       Footnotes


1      See Docket Nos. 10–cv–5174, 10–cv–5352, 10–cv–6095, and 10–cv–6093, and 10–cv–5943, all of which
       were consolidated under Docket No. 10–cv–5943.
2      To be sure, IP Plaintiffs seek only injunctive relief for Defendants' alleged violations of federal antitrust laws,
       as only direct purchasers may bring federal antitrust actions for damages.       Illinois Brick v. Illinois, 431 U.S.
       720, 97 S.Ct. 2061, 52 L.Ed.2d 707 (1977).
3      In fact, Sumitomo, Premier, and YAS each filed separate motions to dismiss. However, each joined in the
       others' arguments. Therefore, for the sake of simplicity and brevity, the Court will treat them as a single motion.
4      CCM “is manufactured at lower temperatures than [DBM] and is used in products like animal feeds and
       fertilizers.” (Direct CAC ¶ 25; Indirect CAC ¶ 31.) DBM, on the other hand, “is most often used in refractory
       applications.” (Id.)
5      These prices were later restored.
6      MgO collectively refers to DBM and/or CCM. (Direct CAC ¶ 1.)
7      As discussed further below, standing to assert claims for injunctive relief under Section 16 of the Clayton Act
       are analyzed under a more relaxed standard. See      In re Warfarin, 214 F.3d at 399.
8      Although that decision analyzed proximate causation in the context of a Section 4 claim for damages, the
       Court of Appeals has applied its analysis to Section 16 claims because proximate cause is an element of
       standing under both. See       In re Warfin Sodium Antitrust Litig., 214 F.3d 395, 400–01 (3d Cir.2000).
9      IP Plaintiffs also lack standing to assert their state antitrust claims because those claims are construed in
       accordance with federal antitrust principles. See In re Digital Music Antitrust Litig., 592 F.Supp.2d 435, 448
       n. 21 (S.D.N.Y.2008) (Arizona, California, District of Columbia, Iowa, Kansas, Maine, Michigan, Minnesota,
       North Carolina, South Dakota, Vermont, West Virginia, Wisconsin), rev'd on other grounds by,           Starr v. Sony
       BMG Music Entm't., 592 F.3d 314 (2d Cir.2010);       T.W. Elec. Serv., Inc. v. Pacific Elec. Contractors Ass'n,
       809 F.2d 626, 635–36 (9th Cir.1987) (Hawaii); Gutnayer v. Cendant Corp., 116 Fed. App'x 758, 761 (7th
       Cir.2004) (Illinois); Monsanto Co. v. Swann, No. 4:00–CV–1481, 2001 WL 34079480, at *3 (E.D.Mo. Sept.19,
       2001) (Mississippi); Neb.Rev.Stat. § 59–829 (2010) (Nebraska); Nev.Rev.Stat. § 598A.050 (2011) (Nevada);
          Minuteman, LLC v. Microsoft Corp. ., 147 N.H. 634, 637, 795 A.2d 833 (N.H.2002) (New Hampshire);
          Clough v. Rush, 959 F.2d 182, 187 (10th Cir.1982) (New Mexico); Fido's Fences v. Canine Fence Co., 672
       F.Supp.2d 303, 313 (E.D.N.Y.2009) (New York); Westgo Indus., Inc. v. W.J. King Co., Civil No. A3–75–82,
       1981 WL 2064, at *6 (D.N.D. Mar.1, 1981) (North Dakota);          Oregon Laborers–Employees Health & Welfare
       Trust Fund v. Phili Morris, Inc., 185 F.3d 957, 963 n. 4 (9th Cir.1999) (Oregon);           In re Refalen Antitrust
       Litig., 221 F.R.D. 260, 278–79 (D.Mass.2004) (Tennessee);           Am. Airlines v. Christensen, 967 F.2d 410,
       414 (10th Cir.1992) (Utah).
10     At this time, IP Plaintiffs lack Article III standing to assert violations of the following state antitrust laws
       because they fail to allege a causal connection between their injuries and the conduct prohibited by the
       laws of those states, which require a showing that such conduct occurred, or whose effect was felt, in-state.
       See A.R.S. § 44–1402 (Arizona) (“A contract, combination or conspiracy between two or more persons in
       restraint of, or to monopolize, trade or commerce, any part of which is within this state, is unlawful”); DC
       ST § 28–4502 (District of Columbia) (same);        HRS § 480–4 (Hawaii) (same); 10 M.R.S.A. § 1101 (Maine)
       (same); SDCL § 37–1–3.1 (South Dakota) (same); K.S.A. § 50–101 (Kansas) (“A trust is a combination of
       capital, skill, or acts, by two or more persons,” among other things, “[t]o fix any standard or figure, whereby
       such person's price to the public shall be, in any manner, controlled or established, any article or commodity
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       of merchandise,     produceReuters.  No claim
                                     or commerce      to original
                                                  intended        U.S. Government
                                                             for sale,             Works. in this state”); M.C.L.A.21
                                                                       use or consumption                           §§
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       445.771, 445.772 (Michigan) (“A contract, combination, or conspiracy between 2 or more persons in restraint
       of, or to monopolize, trade or commerce in a relevant market is unlawful.... Relevant market means the
       geographical area of actual or potential competition in a line of trade or commerce, all or any part of which is
       within this state”); M.S.A. § 325D.54 (Minnesota) (act applies to “(a) any contract, combination, or conspiracy
       when any part thereof was created, formed, or entered into in this state; and (b) any contract, combination, or
       conspiracy, wherever created, formed, or entered into; any establishment, maintenance, or use of monopoly
       power; and any attempt to establish, maintain, or use monopoly power; whenever any of the foregoing affects
       the trade or commerce of this state.”); Neb. Rev. St. § 59–801 (Nebraska) (“Every contract, combination in the
       form of trust or otherwise, or conspiracy in restraint of trade or commerce, within this state, is hereby declared
       to be illegal.”);   N.R.S. § 598A.060 (Nevada) (same); N.M.S .A. § 1978, 57–1–1 (New Mexico) (same);
       W.Va.Code § 47–18–3 (West Virginia) (same);            NY GBL § 340 (New York) (Every contract, agreement,
       arrangement or combination whereby ... [c]ompetition or the free exercise of any activity in the conduct of
       any business, trade or commerce or in the furnishing of any service in this state is or may be restrained ...
       is hereby declared to be against public policy, illegal and void.”); N.C.G.S.A. § 75–1 (North Carolina) (“Every
       contract, combination in the form of trust or otherwise, or conspiracy in restraint of trade or commerce in
       the State of North Carolina is hereby declared to be illegal.”; NDCC, 51–08.1–01, 02 (North Dakota) (“A
       contract, combination, or conspiracy between two or more persons in restraint of, or to monopolize, trade
       or commerce in a relevant market is unlawful.... Relevant market means the geographical area of actual or
       potential competition in a line of commerce, all or any part of which is within this state.”); O.R.S. 646.705
       (Oregon) ( “As used in ORS 136.617 and 646.705 to 646.805, ‘trade or commerce’ means trade or commerce
       within the state; or between the state and any state, territory, or foreign nation.”); (Tennessee) T .C.A. § 47–
       25–101 (“All arrangements, contracts, agreements, trusts, or combinations between persons or corporations
       made with a view to lessen, or which tend to lessen, full and free competition in the importation or sale of
       articles imported into this state, or in the manufacture or sale of articles of domestic growth or of domestic
       raw material, and all arrangements, contracts, agreements, trusts, or combinations between persons or
       corporations designed, or which tend, to advance, reduce, or control the price or the cost to the producer or
       the consumer of any such product or article, are declared to be against public policy, unlawful, and void.”). IP
       Plaintiffs' allegations that “[P]rices for MgO and MgO Products were raised, fixed, maintained, and stabilized
       at artificially high levels throughout the states,” and “Defendants' illegal conduct had a substantial effect on
       commerce in the above states” (Indirect CAC ¶¶ 72, 73) are conclusory and fail to specifically tie their injuries
       to the alleged MgO conspiracy occurring or its effects in those states.
       IP Plaintiffs lack statutory standing to sue under Utah's antitrust laws because they have a citizenship/
       residency requirement. See U.C.A. §§ 1953 76–10–919 (“A person who is a citizen of this state or a resident
       of this state and who is injured or is threatened with injury in his business or property by a violation of the
       Utah Antitrust Act may bring an action for injunctive relief and damages, regardless of whether the person
       dealt directly or indirectly with the defendant.”), and under Illinois's antitrust laws because they do not allow
       a private right of action. See 740 ILCS 10/7 (“This State, counties, municipalities, townships and any political
       subdivision organized under the authority of this State, and the United States, are considered a person having
       standing to bring an action under this subsection.”).
       However, IP Plaintiffs apparently have standing to sue under Mississippi, New Hampshire, Vermont, and
       Wisconsin antitrust laws, as they provide a private right of action and have no discernible requirement of
       in-state conduct or effect, or residency. See Miss.Code Ann. §§ 75–21–1, 9 (Mississippi); N.H. Rev. Stat §
       356:1 (New Hampshire); 9 V.S.A. §§ 2453, 2465 (Vermont); W.S.A. §§ 133.03, 133.18 (Wisconsin).
11     Moreover, the CACs specifically note at the outset that the term MgO can refer to DBM or CCM. See (Direct
       CAC ¶ 1; Indirect CAC ¶ 1 n. 1).
12     This also disposes of Sumitomo's contention that the Court should consider “certain relevant facts” noted in
          Animal Science Prods., Inc. v. China Nat'l Metals & Minerals, 596 F.Supp.2d 842 (D.N.J.2008) regarding
       the domestic DBM and CCM markets. (Sumitomo (DP Pl.'s) Br., 4.)



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13     This is to be distinguished from the requirement to plead plus factors to rule out independent action “when a
       plaintiffs' claims of conspiracy rest on parallel conduct,” In re Ins. Brokerage, 618 F.3d at 323, which is
       discussed below regarding the alleged CCM Agreement. Plaintiffs need not assert plus factors to establish
       the plausibility of the DBM Agreement because they set forth direct allegations of that agreement.              See
       In re Ins. Brokerage, 618 F.3d at 323 (“Allegations of direct evidence of an agreement, if sufficiently detailed,
       are independently adequate.”).
14     Moreover, there is nothing “inherently implausible” about Sumitomo's attempt to assuage the Vannorsdels'
       concern about Premier's potential retaliation by stating that it speaks with Premier on a daily basis to set DBM
       prices and allocate shares of the DBM market. It is certainly plausible that Sumitomo was aware of the risk
       of retaliation by Premier but believed it could “enter the [CCM] market discreetly” (Direct CAC ¶ 39; Indirect
       CAC ¶ 48) because Premier's attention was focused on maintaining their agreement in the DBM market.
15     In any event, Plaintiffs allege Sumitomo's motive for entering the CCM market (filling excess barge capacity),
       and certain steps taken to enter that market (meeting with the Vannorsdels in Tulsa).
16     Citing to Toledo Mack Sales & Serv. v. Mack Trucks, Inc., 530, F.3d 204 (3d Cir.2008), YAS further argues that
       Plaintiffs' failure to establish that YAS occupies the same level as Sumitomo and Premier on the MgO supply
       chain “precludes per se treatment of YAS' alleged antitrust violations.” (YAS Br., 4 n. 5.) This argument misses
       the mark. While Toledo Mack noted that, “[i]n contrast to horizontal price-fixing agreements between entities
       at the same level of a product's distribution chain, the legality of a vertical agreement that imposes a restriction
       on the dealer's ability to sell the manufacturer's product is governed by the rule of reason,” and that “[t]he
       rule of reason analysis applies even when ... the plaintiff alleges that the purpose of the vertical agreement
       between a manufacturer and its dealers is to support illegal horizontal agreements between multiple dealers,”
       530 F.3d at 225 (citation omitted), Plaintiffs do not allege YAS' arrangement with Sumitomo to source Chinese
       magnesite and MgO constitutes an unlawful vertical agreement to support a horizontal conspiracy between
       Sumitomo and Premier. Rather, Plaintiffs allege that YAS participated directly with Sumitomo and Premier
       in the alleged horizontal conspiracy to fix prices in and allocate shares of the DBM market and allocate the
       CCM market to Premier. Moreover, “[t]he law is settled that where an upstream supplier participates in a
       conspiracy involving horizontal competitors, it is proper to analyze the entire restraint as one of horizontal
       price-fixing.” In re Mercedez–Benz, 157 F.Supp.2d at 362.
17
       Citing to   Howard Hess Dental Laboratories Inc. v. Dentsply Intern., Inc., 424 F.3d 363 (3d Cir.2005), YAS
       also argues that Plaintiffs' failure to allege that it sold DBM or CCM requires its dismissal from this case as
       a matter of law. While that case notes the well-settled proposition that only direct purchasers may recover
       damages in federal antitrust suits, it by no means indicates that only a seller of the product in question may
       be found liable in a     Section 1 conspiracy. As previously discussed, YAS need not have participated in a
       particular act in furtherance of the conspiracy to be held liable.
18     IP Plaintiffs' state antitrust law claims similarly require dismissal for failure to establish fraudulent
       concealment, as their applicable statutes of limitations range from three to six years. See Ariz.Rev.Stat. Ann.
       § 44–1410(A) (Arizona) (2011) (four years); Cal. Bus. & Prof.Code § 16750.1 (2011) (California) (four years);
       D.C.Code § 28–4511(b) (2011) (four years); Haw.Rev.Stat. § 480–24(a) (2010) (Hawaii) (four years); Ill.
       Comp. Stat. ch. 740, § 10/7(2) (2010) (four years); Iowa Code § 553.16 (2011) (Iowa) (four years);    Four
       B Corp. v. Daicel Chem. Indus., Ltd., 253 F.Supp.2d 1147, 1156 (D.Kan.2003) (Kansas) (three years) (citing
       Kan. Stat. Ann. § 60–512(2) (2010)); McKinnon v. Honeywell Int'l, Inc., 977 A.2d 420, 424 (Me.2009) (Maine)
       (six years) (citing Me.Rev.Stat. Ann. tit. 14 § 752 (2008)); Mich. Comp. Laws § 445.781 (2010) (Michigain)
       (four years);  Am. Computer Trust Leasing v. Jack Farrell Implement Co., 763 F.Supp. 1473, 1491 n. 21
       (D.Minn.1991) (Minnesota) (four years) (citing Minn.Stat. § 325D.64 (subdiv .1) (2010)); Miss.Code Ann. §
       15–1–49(1) (2010) (three years); Neb.Rev.Stat. § 25–206 (2010) (Nebraska) (four years); Nev.Rev.Stat. §
       598A.220(2)(a) (2010) (four years); N.H.Rev.Stat. § 356:12(II) (1973) (New Hampshire) (four years); N.M.




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       Stat. § 57–1–12(B) (1978) (New Mexico) (four years); N.Y. Gen. Bus. Law § 340(5) (2004) (New York) (four
       years); N.C. Gen.Stat. § 75–16.2 (2010) (North Carolina) (four years); N.D. Century Code § 51–08.1–10(2)
       (1987) (four years); Or.Rev.Stat. § 646.800(2) (1975) (Oregone) (four years); S.D. Codified Laws § 37–1–
       14.4 (1975) (South Dakota) (four years); State ex rel. Leech v. Levi Strauss & Co., No. 79–722–III, 1980 WL
       4696, at *3 (Tenn.Ch. Sept.25, 1980) (Tennessee) (three years) (citing Tenn. Stat. § 28–3–105(3) (2011));
       Utah Code § 76–10–925(2) (1979) (Utah) (four years); Vt. Stat. Ann. tit. 12, § 511 (2010) (Vermont) (six
       years); W. Va.Code § 47–18–11 (1978) (West Virginia) (four years); Wis. Stat. § 133.18(2) (2011) (Wisconsin)
       (six years). However, to the extent that IP Plaintiffs sufficiently amend their allegations to establish fraudulent
       concealment of their federal antitrust claims, they will also have established fraudulent concealment of their
       state law antitrust claims. See Note 9.
19     Defendants further argue that Sumitomo's alleged admission to the Vannorsdels of the DBM Agreement
       cuts against their fraudulent concealment allegations. This is unpersuasive because the admission in no way
       put Plaintiffs on notice of their claims during the limitations period. See       Emerson Elec. Co. v. Le Carbon
       Lorraine, SA, 500 F.Supp.2d 437, 448 (D.N.J.2007) (“Where fraudulent concealment of a federal antitrust
       claim has been shown, the four-year federal statute of limitations begins anew from the time the plaintiff knew
       or should have known of the existence of the federal claim.” (quotations and citations omitted)).
20     Nor can Plaintiffs' conclusory allegation that “defendants met secretly and among themselves for the express
       purpose of fixing prices and allocating markets of domestically sold MgO” (Direct CAC ¶ 50; Indirect CAC ¶
       57) satisfy the affirmative act requirement.
21     While the following inquiry notice analysis is laid out in the context of a RICO case, it has also been applied
       in antitrust cases involving price-fixing. See In re Aspartame Antitrust Litig., 416 Fed. App'x. 208, 211–12 (3d
       Cir.2011); In re Electrical Carbon Prods. Antitrust Litig., 333 F.Supp.2d 303, 317 (D.N.J.2004).
22     Thus, contrary to Defendants' contention, the fact that IP Plaintiffs fail to allege that they reside or purchased
       an MgO product in a given state does not automatically deprive them of standing to sue under the state's
       consumer protection or unfair competition law. To be sure, the case Defendants cite in support of this
       contention held that the named plaintiffs in that case lacked standing to assert consumer protection and
       unfair competition claims under the laws of states in which they neither resided nor suffered an injury. See
            In re Potash 667 F.Supp.2d at 924. However, the Court cannot accept this holding as a bright line rule.
       Standing issues are intimately bound up with the elements of the particular claim asserted, as a plaintiff must
       establish that his injury is “fairly traceable to the challenged action of the defendant.”        Lujan, 504 U.S. at
       560; see also     Blum, 457 U.S. at 999 (“The complaining party must also show that he is within the class of
       persons who will be concretely affected.”);    Allen, 468 U.S. at 752 (“[T]he standing inquiry requires careful
       judicial examination of a complaint's allegations to ascertain whether the particular plaintiff is entitled to an
       adjudication of the particular claims asserted.”).


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                             TAB 21
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                                                                 [5] district court properly stayed discovery while evaluating
                  375 Fed.Appx. 232
                                                                 defendants' motion to dismiss.
             This case was not selected for
         publication in the Federal Reporter.
  Not for Publication in West's Federal Reporter See             Affirmed.
   Fed. Rule of Appellate Procedure 32.1 generally
    governing citation of judicial decisions issued              Procedural Posture(s): On Appeal; Motion to Dismiss.
    on or after Jan. 1, 2007. See also Third Circuit
  LAR, App. I, IOP 5.7. (Find CTA3 App. I, IOP 5.7)
           United States Court of Appeals,                        West Headnotes (5)
                     Third Circuit.

              Emmett J. MANN, Appellant                           [1]    Civil Rights      Property and housing
                            v.                                           Property owner's vague and conclusory
    John S. BRENNER; Dave Redshaw; Don Hoyt;                             allegations that, after he defended himself
    Robert A. Kinsley; Matt Jackson; City of York;                       in court against fines for code violations,
                                                                         defendant cited owner with additional fines in
    York College; Redevelopment Authority of the
                                                                         retaliation for owner's initial successful defense
   City of York; Steven R. Buffington; Officer Wentz.
                                                                         were insufficient to state a § 1983 claim for
                      No. 09–2461.                                       First Amendment retaliation, absent allegation
                            |                                            of facts that could reasonably support the
              Submitted Under Third Circuit                              necessary causal link between owner's protected
               LAR 34.1(a) March 23, 2010.                               speech and the unlawful retaliation. U.S.C.A.
                            |                                            Const.Amend. 1;       42 U.S.C.A. § 1983.
                 Filed: March 30, 2010.
                                                                         9 Cases that cite this headnote
Synopsis
Background: Property owner brought § 1983 action against
                                                                  [2]    Civil Rights      Criminal prosecutions
city, its agents, and college, alleging retaliation, malicious
prosecution, and violation of his due process and equal                  To state a claim of malicious prosecution in
protection rights. Defendants moved to dismiss for failure to            violation of the Fourth Amendment, property
state a claim. The United States District Court for the Middle           owner was required to allege that defendants
District of Pennsylvania, Yvette Kane, J., 2008 WL 4491950,              acted without probable cause in citing him for
granted motions. Owner appealed.                                         code violations and that he suffered a deprivation
                                                                         of liberty consistent with the concept of a seizure
                                                                         as a result of the criminal citation proceedings.

Holdings: The Court of Appeals, Jordan, Circuit Judge, held              U.S.C.A. Const.Amend. 4;          42 U.S.C.A. §
that:                                                                    1983.

                                                                         4 Cases that cite this headnote
[1] owner failed to state a First Amendment retaliation claim;

[2] owner failed to state a claim of malicious prosecution;       [3]    Eminent Domain          Matters concluded
                                                                         Prior condemnation proceedings, in which
[3] owner was collaterally estopped from litigating claim that           court rejected property owner's argument that
he was unfairly harassed into a condemnation proceeding in               defendants harassed and intimidated him into
violation of his Due Process rights;                                     selling his property for an unreasonably low
                                                                         price, collaterally estopped owner from litigating
[4] owner failed to state a “class of one” equal protection              claim that he was unfairly harassed into a
claim; and


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        condemnation proceeding in violation of his Due
        Process rights. U.S.C.A. Const.Amend. 14.
                                                                             OPINION OF THE COURT
        1 Cases that cite this headnote
                                                             JORDAN, Circuit Judge.
 [4]    Civil Rights      Property and housing
                                                              **1 Emmett Mann appeals the District Court's order
        Property owner's allegations that he was             granting the motions to dismiss of defendants City of
        subjected to unequal and unauthorized
                                                             York (the “City”), its agents, and York College. 1 He also
        mistreatment on a selective basis because of
                                                             appeals the District Court's decision to stay discovery pending
        the defendants' unlawful desire for his property
                                                             disposition of the motions to dismiss. We have jurisdiction
        were insufficient to state a      § 1983 claim       under 28 U.S.C. § 1291 and will affirm. 2
        under a “class of one” equal protection theory,
        where owner failed to plead that he was
        treated differently than other similarly situated    I. Background
        individuals; owner's bald assertions amounted        Mann owned a house in York, Pennsylvania, which he rented
        to nothing more than a formulaic recitation of       to college students. In 2004 and 2005, York College sought
        the elements of a constitutional discrimination      to acquire property for additional student housing and thus
        claim. U.S.C.A. Const.Amend. 14.                     approached Mann about selling his house. However, the
                                                             parties could not agree on a sales price. At some later time,
        28 Cases that cite this headnote                     Mann's home was cited for code violations and declared
                                                             “blighted” by the City.
 [5]    Federal Civil Procedure           Proceedings to
        obtain                                               The City initiated condemnation proceedings against Mann
                                                             in the Court of Common Pleas of York County. Although
        District court properly stayed discovery while
                                                             Mann stipulated to the blight determination, he argued that
        evaluating defendants' motion to dismiss where,
                                                             the City and York College had conspired to harass and
        had the motion been granted, discovery would
                                                             intimidate him into selling his property for a reduced value.
        have been futile.
                                                             Mann accused the defendants of manipulating building codes
        36 Cases that cite this headnote                     and ordinance violations to bring improper charges against
                                                             him, intentionally damaging his property, and lodging other
                                                             unspecified false criminal charges against him. The Court
                                                             of Common Pleas issued an opinion on October 6, 2006,
 *233 On Appeal from the United States District Court for    in which it found the taking to be proper. It also concluded
the Middle District of Pennsylvania (D.C. No. 06–cv–1715),   that the City had not acted in bad faith or committed fraud
District Judge: Honorable Yvette Kane.                       in pursuing condemnation proceedings against Mann. The
                                                             condemnation concluded in May 2007, when Mann was paid
Attorneys and Law Firms                                      $166,000 for his property.

Don A. Bailey, Esq., Bailey, Stretton & Ostrowski,           Meanwhile, on August 31, 2006, Mann filed a complaint in
Harrisburg, PA, for Appellant.                               the United States District Court for the Middle District of

 *234 Robert G. Hanna, Jr., Esq., James D. Young, Esq.,      Pennsylvania, pursuant to     42 U.S.C. § 1983, in which
Lavery, Faherty, Young & Patterson, Harrisburg, Pa, Paul     he alleged that the defendants conspired to intimidate and
W. Minnich, Esq., Sean E. Summers, Esq., Barley Snyder,      harass him into accepting a significantly reduced price for
Donald B. Hoyt, Esq., Blakey, Yost, Bupp & Rausch, York,     his property. As Mann asserts, “[t]heir plan, plainly put,
PA, for Appellee.                                            was to drive [me] crazy.” (App.34.) The defendants filed
                                                             motions to dismiss Mann's complaint, which the District
Before: RENDELL, FUENTES and JORDAN, Circuit                 Court granted, giving Mann leave to replead. The District
Judges.                                                      Court instructed Mann on how to cure the deficiencies in his



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original complaint, and he subsequently filed two amended            is entitled to judgment as a matter of law.” (App.16.) The
complaints. Mann's third version of the complaint, which was         District Court recognized that the motions were governed
dismissed on the defendants' motions, is the subject of this         by Rule 12(b)(6) as interpreted by the Supreme Court in
appeal.
                                                                         Twombly and this Court in      Phillips (id. at 15–16), and
                                                                     it continually referred to those principles in its discussion of
Mann's appeal ultimately boils down to two overarching
issues. First, he contends that the District Court applied the       each of Mann's claims. 3 Accordingly, there is no merit to
wrong legal standard in assessing the motions to dismiss             Mann's contention that the District Court applied the wrong
under Federal Rule of Civil Procedure 12(b)(6), and then             legal standard in evaluating the motions to dismiss. 4
erred in *235 dismissing his claims under that standard.
Second, he argues that the District Court improperly stayed
discovery while it considered the defendants' motions to                                        2. Merits
dismiss.
                                                                     Mann also argues that even if the District Court used the
                                                                     correct legal standard, it erred in applying the standard
II. Discussion                                                       to dismiss his claims. Specifically, Mann contends that he
We have plenary review over the question of whether the              adequately stated a claim for relief on three grounds: (1) the
District Court applied the correct legal standard in evaluating      defendants retaliated against him, in violation of the First
the motions to dismiss.      Phillips v. County of Allegheny,        Amendment, by imposing heftier fines after Mann “used legal
515 F.3d 224, 230 (3d Cir.2008). We review “questions                process” to successfully defend himself against other fines;
concerning the scope or opportunity for discovery” for abuse         (2) the defendants maliciously prosecuted him in violation
of discretion. In re Orthopedic Bone Screw Prod. Liab. Litig.,       of the Fourth Amendment; and (3) the defendants violated
264 F.3d 344, 365 (3d Cir.2001).                                     his Fourteenth Amendment rights to due process and equal
                                                                     protection by using harassment and intimidation to “railroad
                                                                     [him] into a condemnation.” (Id. at 41–42.)
  A. Motions to Dismiss


                           1. Standard                                           *236 a. First Amendment Retaliation

 **2 In evaluating a motion to dismiss for failure to state           [1] Mann's First Amendment retaliation claim is based on
a claim under Rule 12(b)(6), the District Court must accept          the assertion that, after he defended himself in court against
the plaintiff's well-pleaded allegations as true and draw all        $2,000 in fines for code violations, defendant Buffington cited
reasonable inferences in his favor.      Phillips, 515 F.3d at       Mann with another $2,000 in fines in retaliation for Mann's
231. The complaint's “[f]actual allegations must be enough to        initial successful defense. To establish a First Amendment

raise a right to relief above the speculative level.”   Id. at 234   retaliation claim predicated on          42 U.S.C. § 1983, a
                                                                     plaintiff must prove the following elements: (1) he engaged
(quoting     Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555,          in constitutionally protected conduct; (2) the defendant took
127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). Thus, to survive a          adverse action sufficient to deter a person of ordinary firmness
motion to dismiss under Rule 12(b)(6), a plaintiff must allege       from exercising his rights; and (3) the adverse action was
facts sufficient to “nudge [his] claims across the line from
                                                                     prompted by plaintiff's protected conduct.          Mitchell v.
conceivable to plausible.”    Id. (quoting         Twombly, 550      Horn, 318 F.3d 523, 530 (3d Cir.2003).
U.S. at 570, 127 S.Ct. 1955).
                                                                     Our review of the record leads us to agree with the District
The District Court used the correct standard in evaluating           Court that Mann failed to properly allege a retaliation
Mann's claims. It dedicated an entire section of its opinion to      claim. Nowhere in Mann's third amended complaint does
discussing the proper standard under Rule 12(b)(6) and noted         he allege facts that could reasonably support the necessary
that a motion to dismiss should be granted when “taking all          “causal link” between his protected speech (successfully
factual allegations and inferences as true, the moving party         defending the initial fines) and the unlawful retaliation



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                                                                   consistent with the concept of a seizure” as a result of the
(an additional $2,000 fine).       Id. Instead, Mann makes
vague and conclusory allegations that he was assessed              criminal citation proceedings.       Johnson, 477 F.3d at 82.
some unreasonable fine for some unspecified violation, in          The only deprivation Mann claims to have suffered is “legal
retaliation for “cho [osing] to use legal process as a way to      fees, court costs, and interminable inconvenience.” (App.38.)
                                                                   Such deprivations are insufficient to establish that Mann
protect and extend his rights.” (App.50.) See    Ashcroft v.
                                                                   was the victim of a malicious prosecution under the Fourth
Iqbal, ––– U.S. ––––, 129 S.Ct. 1937, 1950, 173 L.Ed.2d
868 (2009) (a complaint must do more than allege a                 Amendment. See       DiBella v. Borough of Beachwood, 407
“mere possibility of misconduct;” it must show the pleader's
                                                                   F.3d 599, 603 (3d Cir.2005) (plaintiffs failed to state a §
entitlement to relief). These allegations fall far short of
                                                                   1983 malicious prosecution claim because the inconvenience
what is required to put the defendants on notice of the
                                                                   of attending trial was not a Fourth Amendment seizure; their
claims and the bases for them. See       Phillips, 515 F.3d        travel was not restricted, they did not post bail, and they
at 233 (under Rule 8(a), plaintiff must plead enough facts         did not have to report to pretrial services). Accordingly,
to provide the defendant “fair notice” of the claim and the        the District Court properly dismissed Mann's malicious
“ ‘grounds' on which the claim rests”) (citation omitted));        prosecution claim.
    Baraka v. McGreevey, 481 F.3d 187, 195 (3d Cir.2007)
(on a motion to dismiss, “we are not compelled to accept
unsupported conclusions and unwarranted inferences, or a                                  c. Due Process
legal conclusion couched as a factual allegation” (internal
citations and quotation marks omitted)). Accordingly, Mann         Mann alleges a violation of his substantive due process
has not established that he was unlawfully retaliated against      rights based on the defendants' unlawful agreement “to
in violation of the First Amendment.                               deprive [him] of his rights through the unlawful use of
                                                                   state authority as a way to coerce him into compliance with
                                                                   their wishes.” (Appellant's Br. at 18.) Mann's due process
                                                                   claim that he was unfairly harassed into a condemnation
                  b. Malicious Prosecution                         proceeding is barred by the doctrine of collateral estoppel.
                                                                   Collateral estoppel applies when: “(1) the identical issue was
 **3 Mann next contends that defendants Buffington, Wentz,
                                                                   previously adjudicated; (2) the issue was actually litigated;
and Redshaw violated his Fourth Amendment right to be
                                                                   (3) the previous determination was necessary to the decision;
free from malicious prosecution by citing him with thousands
                                                                   and (4) the party being precluded from relitigating the issue
of dollars in fines and bringing other “frivolous criminal
charges” 5 against him. To state a claim for malicious             was fully represented in the prior action.”  Jean Alexander
prosecution predicated on the Fourth Amendment, a plaintiff        Cosmetics, Inc. v. L'Oreal USA, Inc., 458 F.3d 244, 249 (3d
must demonstrate that (1) the defendant acted maliciously for      Cir.2006) (citations omitted). We have plenary review over a
a purpose other than bringing the plaintiff to justice when        district court's decision regarding collateral estoppel. Id. at
(2) he initiated a criminal proceeding (3) without probable        248. Mann disputed only the identity of the issues prong in
cause (4) which ended in the plaintiff's favor, but (5) caused     the District Court and now raises the additional argument that
the plaintiff to suffer a deprivation of liberty consistent with   the issue was never actually litigated.
a seizure.     Johnson v. Knorr, 477 F.3d 75, 81–82 (3d
Cir.2007).                                                          **4 [3] The Honorable Sheryl Ann Dorney presided
                                                                   over the condemnation proceeding in the Court of Common
[2] Even though on its third iteration, Mann's complaint           Pleas of York County. Judge Dorney rejected Mann's precise
wholly fails to allege that the defendants acted without           argument that the defendants harassed and intimidated him
                                                                   into selling his property for an unreasonably low price. (App.
probable cause in citing him for code violations. See Estate       69 (describing Mann's argument that the City had “bad faith
of Smith v. Marasco, 318 F.3d 497, 522 (3d Cir.2003) (an           or tainted motive” in obtaining his property “for as nominal
“essential element of a malicious prosecution claim” is that       price as possible” and noting that “we fail to see how this
plaintiff prove lack of probable cause). Furthermore, Mann         argument is valid.”).) Addressing Mann's contention that the
did not allege that he *237 suffered a “deprivation of liberty     City “acted in bad faith by acting in consort with York



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College to obtain the propert[y] as inexpensively as possible,”    protection. (App.49.) Although he alleges that “[o]ther
Judge Dorney concluded that Mann had “not overcome the             citizens are not treated in this fashion, particularly the
heavy burden to show that the [City] has committed fraud           political leaders of the City of York” (id. at 41), Mann
or an abuse of discretion.” (Id. at 68–69.) This record makes      fails to plead that he was treated differently than other
clear that the identical issue 6 Mann *238 seeks to raise          similarly situated individuals, that is, other property owners
on appeal was actually litigated in the state condemnation         of blighted structures in the City of York. While        Olech
proceeding. Accordingly, to the extent that Mann seeks to          may not require plaintiffs to “identify in the complaint
relitigate whether the defendants unlawfully coerced him into      specific instances where others have been treated differently,”
selling his property for a nominal value, the issue is barred by
                                                                     Phillips, 515 F.3d at 245, the complaint is still deficient.
collateral estoppel. 7
                                                                   Without any allegation regarding other blighted property
                                                                   owners, Mann simply cannot “nudge [his] claims across
Mann's complaint also raises, though not explicitly, a “class
of one” equal protection claim. The Equal Protection Clause        the line from conceivable to plausible.”           Id. at 234
of the Fourteenth Amendment requires that similarly situated       *239 (quoting        Twombly, 550 U.S. at 570, 127 S.Ct.
individuals be treated alike.      City of Cleburne, Tex. v.       1955); see also      Hill, 455 F.3d at 239 (“class of one”
Cleburne Living Ctr., 473 U.S. 432, 439, 105 S.Ct. 3249,           claim failed because plaintiff, a Borough Manager, did “not
87 L.Ed.2d 313 (1985). An equal protection claim may be            allege the existence of similarly situated individuals—i.e.,
brought by a “class of one,” an individual claiming “that          Borough Managers—who [the Mayor] treated differently
[ ]he has been intentionally treated differently from others       than he treated [plaintiff]”). Mann's bald assertions that the
similarly situated and that there is no rational basis for the     defendants violated his right to equal protection because
difference in treatment.”    Vill. of Willowbrook v. Olech,        “he was selectively and vindictively cited and prosecuted
528 U.S. 562, 564, 120 S.Ct. 1073, 145 L.Ed.2d 1060                by the City in an effort to force him into cooperation with
(2000) (per curiam). To state a claim under the “class of          York College” (App.44), “amount to nothing more than a
one” theory, a plaintiff must show that “(1) the defendant         ‘formulaic recitation of the elements' of a constitutional
treated him differently from others similarly situated, (2)        discrimination claim.”    Iqbal, 129 S.Ct. at 1951 (citation
the defendant did so intentionally, and (3) there was no           omitted). Accordingly, the District Court properly dismissed
rational basis for the difference in treatment.”       Phillips,   Mann's equal protection claim.

515 F.3d at 243 (quoting        Hill v. Borough of Kutztown,
455 F.3d 225, 239 (3d Cir.2006)). In     Olech, the Supreme           B. Discovery
Court upheld the plaintiff's claim that the village violated        **5 [5] Mann contends that it was an abuse of discretion
the Equal Protection Clause by arbitrarily demanding a 33–         for the District Court to stay discovery while it considered
foot easement to connect her property to the municipal water       the defendants' motions to dismiss. 8 In certain circumstances
supply while only demanding a 15–foot easement from other          it may be appropriate to stay discovery while evaluating a
                                                                   motion to dismiss where, if the motion is granted, discovery
property owners.   Olech, 528 U.S. at 565, 120 S.Ct. 1073.
The Supreme Court later clarified that “[w]hat seems to have       would be futile. See     Iqbal, 129 S.Ct. at 1954 (“Because
                                                                   respondent's complaint is deficient under Rule 8, he is not
been significant in   Olech [was] the complaint alleged that
                                                                   entitled to discovery.”). That is precisely the case here.
the board consistently required only a 15–foot easement, but
                                                                   As laid out above, none of Mann's claims entitle him to
subjected Olech to a 33–foot easement.”   Engquist v. Or.          relief. That, as Mann contends, he could have produced “a
Dep't of Agric., 553 U.S. 591, 128 S.Ct. 2146, 2153, 170           litany of facts” substantiating his claims (Appellant's Br. at
L.Ed.2d 975 (2008).                                                30), if he had more time to conduct discovery, misses the
                                                                   mark. See          Mitchell v. McNeil, 487 F.3d 374, 379 (6th
 [4] In his complaint, Mann sets forth general allegations that
                                                                   Cir.2007) (because plaintiffs' complaint failed to state a claim
“he was subjected to unequal and unauthorized mistreatment
                                                                   for relief, “it follows that the district court did not err in
on a selective basis because of the defendants['] unlawful
                                                                   granting defendants' Rule 12(b)(6) motion before permitting
desire for his property,” in violation of his right to equal
                                                                   discovery by plaintiffs”). A motion to dismiss pursuant to



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                                                                 (6) is to enable defendants to challenge the legal sufficiency
Rule 12(b)(6) tests the legal sufficiency of a claim, and
                                                                 of complaints without subjecting themselves to discovery”).
therefore may be decided on its face without extensive factual
                                                                 Accordingly, the District Court did not abuse its discretion in
development. See      Neitzke v. Williams, 490 U.S. 319, 326–    staying discovery pending resolution of the *240 motions
27, 109 S.Ct. 1827, 104 L.Ed.2d 338 (1989) (the purpose
                                                                 to dismiss. 9
of Rule 12(b)(6) is to “streamline[ ] litigation by dispensing
with needless discovery and factfinding”);     Chudasama v.
Mazda Motor Corp., 123 F.3d 1353, 1367 (11th Cir.1997) (“A       III. Conclusion
motion to dismiss based on failure to state a claim for relief   For the foregoing reasons, we will affirm the order of the
                                                                 District Court granting the defendants' motions to dismiss.
should ... be resolved before discovery begins.”);   Rutman
Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 738 (9th
Cir.1987) (the idea that discovery should be permitted before    All Citations
deciding a motion to dismiss “is unsupported and defies
common sense [because t]he purpose of F.R. Civ. P. 12(b)         375 Fed.Appx. 232, 2010 WL 1220963




                                                         Footnotes


1      The City defendants include John S. Brenner (Mayor), Don Hoyt, Matt Jackson, Dave Redshaw, Steven R.
       Buffington, Officer Wentz, and the Redevelopment Authority of the City of York. The York College defendants
       include York College and Robert A. Kinsley, a private contractor.
2      The District Court had subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
3
       Mann fails to cite either     Twombly or the “plausibility” standard it ushered in, instead choosing to rely on the
       now defunct “no-set-of-facts” standard of         Conley v. Gibson, 355 U.S. 41, 45–46, 78 S.Ct. 99, 2 L.Ed.2d 80
       (1957) (Appellant's Br. at 22), which the Supreme Court squarely rejected in             Twombly. See        Twombly,
       550 U.S. at 563, 127 S.Ct. 1955 ( Conley's no-set-of-facts language “has earned its retirement. The phrase
       is best forgotten as an incomplete, negative gloss on an accepted pleading standard”).
4      Even if the District Court had applied the wrong legal standard, that would not in itself entitle Mann to relief
       because our review of a motion to dismiss for failure to state a claim is de novo.   McTernan v. City of York,
       Pa., 577 F.3d 521, 526 (3d Cir.2009).
5      As the District Court observed, “[a]lthough [Mann] was strongly encouraged to do so in the Court's previous
       order, [Mann] still does not identify the date, the forum, or specifically what charges were involved in these
       ‘criminal charges.’ ” (App.18.)
6      We have held that “[t]o defeat a finding of identity of the issues for preclusion purposes, the difference in
       the applicable legal standards must be ‘substantial.’ ”       Raytech Corp. v. White, 54 F.3d 187, 191 (3d
       Cir.1995). Judge Dorney evaluated Mann's claim under state condemnation law, which places a “heavy”
       burden on the plaintiff to prove that “the condemnor is guilty of fraud, bad faith or has committed an abuse of
       discretion.” (App. 68 (quoting Downingtown Area Sch. Dist. v. DiFrancesco, 125 Pa.Cmwlth. 264, 557 A.2d
       819, 820 (1989)).) Mann apparently asks us to evaluate his claim under a general due process rubric, which
       focuses on whether “the alleged harassment ‘remove[d] or significantly alter[ed]’ plaintiffs' liberty and property
       interests.”    Thomas v. Independence Twp., 463 F.3d 285, 297 (3d Cir.2006) (citation omitted). Although
       we recognize that the plaintiff's burden is greater in the context of state condemnation law than in pleading
       a due process violation, we find that the issue addressed and resolved in the condemnation proceeding is
       “in substance the same” as Mann's due process claim.               Raytech Corp., 54 F.3d at 193. Both schemes



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      require a court to decide whether the defendants engaged in unlawful conduct to deprive the plaintiff of his
      property, and Mann has failed to persuade us that the legal standards are substantially different in this case.
      We therefore conclude that the identity prong is satisfied.
7     Mann apparently concedes that he is collaterally estopped from relitigating whether the condemnation
      action was brought in bad faith. He states that Judge Dorney “decided (and quite correctly so) that the
      aforementioned misconduct was not relevant to the issue of the Condemnor having the power to take the
      subject property, nor did the obvious misconduct interfere with the procedure which eventually decided ‘just
      compensation.’ ” (Appellant's Br. at 27.) However, Mann maintains that although “Judge Dorney decided
      properly on the condemnation issue,” she failed to address “any civil rights issues which may have shared a
      possible commonality of facts.” (Id.) For that reason, we address Mann's due process claim, as well as his
      retaliation and malicious prosecution claims.
8
      Mann urges us to apply dicta contained in our decision in         Alston v. Parker, 363 F.3d 229 (3d Cir.2004), to
      determine that he was entitled to discovery before dismissal. The facts of         Alston are easily distinguishable
      from those in the case at hand. For one, the plaintiff in          Alston was pro se and a prisoner involuntarily
      committed to a psychiatric hospital. Furthermore, despite our recognition that “confined prisoner[s]” face
      difficulty in bringing civil rights actions “owing to their incarceration or institutionalization,” we concluded that
      the district court did not err in failing to order discovery because “it is not essential at the pleading stage.”
         Id. at 233 n. 6, 236. Moreover, the central holding of the case was that the district court improperly applied
      a stringent pleading standard that conflicted with Rule 8(a)'s notice pleading.           Id. at 232 (“[T]he lack of
      discovery was not the real barrier blocking Alston's path to relief. Rather, it was the stringent pleading standard
      presupposed by the parties and the District Court.”). Accordingly, we decline to extrapolate the reasoning
      of   Alston to this case, brought by a represented party and properly evaluated under Rule 8(a)'s notice
      pleading standard.
9     Mann suggests that the District Court should have granted him leave to amend his complaint. Because Mann
      was permitted to do so twice before the present motions to dismiss were filed, we think the District Court
      was well within its discretion in finding that allowing Mann a fourth bite at the apple would be futile. See
         Phillips, 515 F.3d at 245 (dismissal without leave to amend is justified where the amendment would be
      futile);        Lorenz v. CSX Corp., 1 F.3d 1406, 1413 (3d Cir.1993) (district court may deny amendment
      based on “repeated failure to cure deficiencies by amendments previously allowed”) (quoting                  Foman v.
      Davis, 371 U.S. 178, 182, 83 S.Ct. 227, 9 L.Ed.2d 222 (1962)).


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                             TAB 22
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                                                                        than comparable diesel vehicles, and had lower emissions
                                                                        than other comparable vehicles.” (FAC ¶ 323). However,
      KeyCite Red Flag - Severe Negative Treatment                      Mercedes, with help of Bosch, installed an electronic control
Vacated and Remanded by In re Mercedes-Benz Emissions Litigation, 3rd
                                                                        unit in the Polluting Vehicles known as the EDC17. (FAC
Cir.(N.J.), January 10, 2020
                                                                        ¶ 358). The EDC17 allegedly functions as a defeat device,
                    2019 WL 413541
                                                                        meaning it turned off or limited emissions reductions during
              NOT FOR PUBLICATION
                                                                        real-world driving conditions. (FAC ¶¶ 16–17, 21). This
       United States District Court, D. New Jersey.
                                                                        defeat device was “only discoverable when conducting
                  IN RE MERCEDES-BENZ                                   over-the-road testing that is not part of the certification
                 EMISSIONS LITIGATION                                   protocol.” (FAC ¶ 252). The Polluting Vehicles also allegedly
                                                                        failed to perform up to their touted environmental standards
             Civil Action No.: 16-881 (JLL)(JAD)                        in other situations, such as when ambient temperatures drop
                                |                                       below 50°F/10°C—a defect Mercedes has acknowledged.
                      Signed 02/01/2019                                 (FAC ¶ 135).

                                                                        Plaintiffs contend that Mercedes never disclosed the existence
                            OPINION                                     of the defeat device, nor the fact that the BlueTEC engines
                                                                        emit emissions substantially higher than those of gasoline
JOSE L. LINARES, Chief Judge                                            vehicles, and thus, “defrauded its customers by omission, and
                                                                        engaged in fraud and unfair and deceptive conduct under
 *1 This matter comes before the Court by way of Defendants             federal and state law.” (FAC ¶¶ 19, 313). Had Plaintiffs known
Mercedes-Benz USA, LLC's and Daimler AG's motion to                     of the emissions issues associated with the Polluting Vehicles,
dismiss the Fourth Consolidated and Amended Class Action                they would not have purchased those vehicles, or they would
Complaint (“FAC”), (ECF No. 117), as well as Defendant                  have paid substantially less for them. (FAC ¶ 317). As to
Robert Bosch LLC's motion to dismiss the FAC, (ECF No.                  Bosch, the FAC sets forth that Mercedes and Bosch entered
118). Plaintiffs have opposed these motions (ECF Nos. 126–              into a scheme to evade U.S. emissions requirements and
27), and Defendants have replied thereto, (ECF Nos. 131–32).            to deceive “the public into believing the Polluting Vehicles
The Court decides this matter without oral argument, pursuant           were ‘clean diesels,’ ” in order to “bolster revenue, augment
to Federal Rule of Civil Procedure 78. For the reasons stated           profits and increase Mercedes' share of the diesel vehicle
below, Defendants' motions are granted in part and denied in            market.” (FAC ¶¶ 17, 356).
part.
                                                                         *2 Plaintiffs, on behalf of a national class and state
                                                                        subclasses, now assert claims for violation of the RICO Act,
                                                                        as well as violations of state consumer protection statutes, and
                     I. BACKGROUND 1
                                                                        fraudulent concealment. (FAC ¶¶ 342–1752).
A. Facts
This is a putative class action involving allegations that
                                                                        B. Procedural History
Defendants Mercedes-Benz USA, LLC and Daimler AG
                                                                        Plaintiffs initiated this action on February 18, 2016. (ECF
(collectively, “Mercedes”), together with Bosch GmbH
                                                                        No. 1). On May 6, 2016, Plaintiffs filed the Consolidated
and Bosch LLC (collectively, “Bosch”) have unlawfully
                                                                        and Amended Class Action Complaint (“CAC”). (ECF No.
mislead consumers into purchasing certain “BlueTEC diesel”
                                                                        17). Mercedes moved to dismiss the CAC on July 8, 2016.
vehicles (the “Polluting Vehicles”) by misrepresenting the
                                                                        (ECF No. 38). This Court granted that motion on December
environmental impact of these vehicles during on-road
                                                                        6, 2016. (ECF Nos. 58–59). The Court found that Plaintiffs
driving. (FAC ¶ 10–20). 2                                               failed to establish Article III standing because the CAC did
                                                                        not allege that their injury was fairly traceable to Mercedes'
According to Plaintiffs, “Mercedes' advertisements,                     conduct. (ECF No. 58 at 11–14). In particular, the Court found
promotional campaigns, and public statements represented                that “Plaintiffs have not alleged that they actually viewed
that the Polluting Vehicles had high fuel economy, low                  any category of advertisements ... that contained the alleged
emissions, reduced NOx by 90%, had lower emissions                      misrepresentations.” (ECF No. 58 at 14). Accordingly, the


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Court dismissed the CAC without prejudice. (ECF Nos. 58–
59). Plaintiffs then filed a third consolidated and amended              Taliaferro v. Darby Twp. Zoning Bd., 458 F.3d 181, 188
class action complaint on March 3, 2017, (ECF No. 81),
                                                                      (3d Cir. 2006) (quoting       United States v. Hays, 515 U.S.
and finally, they filed the operative FAC on September 25,
2017 adding Bosch as a defendant and the accompanying                 737, 742–43 (1995) ); see also       Spokeo, Inc. v. Robins,
RICO allegations. Mercedes and Bosch now move separately              136 S. Ct. 1540, 1547 (2016) (reiterating the same factors
to dismiss the FAC arguing that Plaintiffs lack Article III           and articulating the second factor as “fairly traceable to the
standing, that Plaintiffs' state-law claims are preempted by the      challenged conduct of the defendant”).
Clean Air Act or, alternatively, fail to state a claim, and finally
that Plaintiffs fail to state a RICO claim.                           On a motion to dismiss for lack of standing, the plaintiff “
                                                                      ‘bears the burden of establishing’ the elements of standing,
                                                                      and ‘each element must be supported in the same way as
                                                                      any other matter on which the plaintiff bears the burden of
                   II. LEGAL STANDARD
                                                                      proof, i.e., with the manner and degree of evidence required
A. Federal Rule of Civil Procedure 12(b)(1): Standing                 at the successive stages of the litigation.’ ”   FOCUS v.
Defendants seek to dismiss Plaintiffs' Complaint for lack             Allegheny Cty. Ct. Com. Pl., 75 F.3d 834, 838 (3d Cir. 1996)
of standing. “Rule 12(b)(1) governs motions to dismiss for
                                                                      (quoting    Lujan v. Defenders of Wildlife, 504 U.S. 555,
lack of standing, as standing is a jurisdictional matter.” N.         561 (1992) ). “For the purpose of determining standing, [the
Jersey Brain & Spine Ctr. v. Aetna, Inc., 801 F.3d 369, 371           court] must accept as true all material allegations set forth
n.3 (3d Cir. 2015).                                                   in the complaint, and must construe those facts in favor of

“In essence the question of standing is whether the litigant is       the complaining party.”       Storino, 322 F.3d at 296 (citing
entitled to have the court decide the merits of the dispute or           Warth, 422 U.S. at 501).
of particular issues.”    Storino v. Borough of Point Pleasant
Beach, 322 F.3d 293, 296 (3d Cir. 2003) (quoting           Warth      B. Federal Rule of Civil Procedure 12(b)(6)
v. Seldin, 422 U.S. 490, 498 (1975) ). “It is axiomatic                *3 To withstand a motion to dismiss for failure to state a
that, in addition to those requirements imposed by statute,           claim, a “complaint must contain sufficient factual matter,
plaintiffs must also satisfy Article III of the Constitution ....”    accepted as true, to ‘state a claim to relief that is plausible

   Horvath v. Keystone Health Plan E., Inc., 333 F.3d 450,            on its face.’ ”      Ashcroft v. Iqbal, 556 U.S. 662, 678
455 (3d Cir. 2003). The requirements of Article III standing
                                                                      (2009) (quoting      Bell Atl. Corp. v. Twombly, 550 U.S.
are as follows:
                                                                      544, 570 (2007) ). “A claim has facial plausibility when
                                                                      the plaintiff pleads factual content that allows the court to
                                                                      draw the reasonable inference that the defendant is liable for
             (1) the plaintiff must have suffered
                                                                      the misconduct alleged.”       Id. at 678 (citing     Twombly,
             an injury in fact—an invasion of a
                                                                      550 U.S. at 556). “The plausibility standard is not akin to a
             legally protected interest which is (a)
                                                                      ‘probability requirement,’ but it asks for more than a sheer
             concrete and particularized and (b)
                                                                      possibility that a defendant has acted unlawfully.” Id. (quoting
             actual or imminent, not conjectural
             or hypothetical; (2) there must be a                        Twombly, 550 U.S. at 556).
             causal connection between the injury
             and the conduct complained of; and                       To determine the sufficiency of a complaint under Twombly
             (3) it must be likely, as opposed to                     and Iqbal in the Third Circuit, the Court must take three steps.
             merely speculative, that the injury will                 “First, it must ‘tak[e] note of the elements [the] plaintiff must
             be redressed by a favorable decision.                    plead to state a claim.’ Second, it should identify allegations
                                                                      that, ‘because they are no more than conclusions, are not
                                                                      entitled to the assumption of truth.’ Finally, ‘[w]hen there
                                                                      are well-pleaded factual allegations, a court should assume



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their veracity and then determine whether they plausibly             *4 Plaintiffs have established an injury in fact that can serve
                                                                    as the basis for Article III standing. In its prior Opinion,
give rise to an entitlement for relief.” Connelly v. Lane
                                                                    this Court found that “Plaintiffs have plausibly pled that
Constr. Corp., 809 F.3d 780, 787 (3d Cir. 2016) (quoting
                                                                    the products received did not live up to the claims made
   Iqbal, 556 U.S. at 675, 679) (citations omitted). “In            by Defendants,” and that “benefit of the bargain damages
deciding a Rule 12(b)(6) motion, a court must consider only         are recoverable for overpayment and recoverable to confer
the complaint, exhibits attached to the complaint, matters of       standing.” (ECF No. 58 at 6, 8). In challenging Plaintiffs'
public record, as well as undisputedly authentic documents if       benefit of the bargain theory of injury in fact, both Mercedes
the complainant's claims are based upon these documents.”           and Bosch argue that Plaintiffs have not shown that the
   Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010).            Polluting Vehicles “failed to work for [their] intended purpose
                                                                    or [are] worth objectively less than what one could reasonably
                                                                    expect.” (ECF No. 117-1 at 24 (quoting           Koronthaly v.
                       III. ANALYSIS                                L'Oreal USA, Inc., 374 F. App'x 257, 259 (3d Cir. 2010)
                                                                    ); ECF No. 118-1 at 21). However, accepting Plaintiffs'
A. Article III Standing                                             allegations as true, they paid a higher price for the BlueTEC
As mentioned briefly above, this Court had previously               clean diesel engines, which, in reality, polluted at levels
dismissed Plaintiffs' CAC for lack of standing. In its prior        far higher than would be expected. (FAC ¶¶ 317, 323).
Opinion, this Court found that while the Plaintiffs had             “In other words, they paid for a product which did not
set forth allegations “sufficient to support [their] claims
                                                                    operate in the way they believed it did.”      In re Duramax
that the [Polluting Vehicles] do not live up to Defendants'
                                                                    Diesel Litig., 298 F. Supp. 3d 1037, 1052 (E.D. Mich. 2018).
representations,” Plaintiffs nevertheless failed to establish
                                                                    Claims of overpayment for a misrepresented product are
Article III standing because it was not clear that the injury was
                                                                    “classic form[s] of injury in fact,” that “[are] concrete and
“fairly traceable” to Defendants' conduct. (ECF No. 58 at 8,
14). This was because “no Plaintiff ha[d] alleged that he or        particularized.”     In re Gerber Probiotic Sales Practice
she relied upon any of the cited advertisements in deciding to      Litig., No. 12-835, 2013 WL 4517994, at *5 (D.N.J. Aug. 23,
lease or purchase one of Defendants' vehicles.” (ECF No. 58         2013).
at 13–14). Both Mercedes and Bosch now argue that Plaintiffs
lack Article III standing. (ECF Nos. 117-1 at 19–25; 118-1 at       Defendants' reliance on cases like Koronthaly and Estrada
19–27). Mercedes and Bosch both claim that Plaintiffs failed        v. Johnson & Johnson, No. 16-7492, 2017 WL 2999026
to address the traceability deficiencies raised in the Court's      (D.N.J. July 14, 2017), is misplaced, as those cases are
prior Opinion. (ECF Nos. 117-1 at 19–23; 118-1 at 25–27).           distinguishable. In fact, Estrada explains why the facts before
Mercedes also argues that Plaintiffs allegations contain three      Judge Wolfson in that case and before the Third Circuit
theories of injury that are foreclosed as a matter of law:          in Koronthaly are different from those present here. Judge
allegations regarding public environmental and health harms,        Wolfson wrote that:
violations of environmental regulations, and allegations of
future harm, and that Plaintiffs have nevertheless abandoned
these theories as a basis for standing. (ECF No. 117-1 at 24).
                                                                                 [w]hile Plaintiff places reliance on
Mercedes argues that Plaintiffs' benefit of the bargain theory
                                                                                 several cases recognizing standing
is unsupported by allegations in the FAC. (ECF No. 117-1 at
                                                                                 on a benefit-of-the-bargain theory
24). Bosch similarly claims that Plaintiffs have abandoned all
                                                                                 of economic harm, those cases
theories of injury except for a benefit-of-the-bargain injury,
                                                                                 are distinguishable from the present
but that the “benefit of the bargain, upon which Plaintiffs base
                                                                                 matter[, because] ... in each of those
their claim for overpayment, cannot serve as the basis for an
                                                                                 cases, the courts found that the
Article III injury in the absence of a contract or any ‘bargain’
                                                                                 plaintiffs did not receive the benefit
between [Bosch] and Plaintiffs.” (ECF No. 118-1 at 20–21).
                                                                                 of their bargain because either: (i)
The Court will address these arguments in turn.
                                                                                 the plaintiffs received a defective
                                                                                 product; or (ii) the plaintiffs pled facts
  1. Injury-in-Fact                                                              sufficient for the court to conclude



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             that they would not have purchased                                   order to assert a cognizable
             the product at issue but for a specific                              overpayment injury. Instead, those
             misrepresentation by the defendants;                                 courts simply noted that the plaintiffs
             i.e., that the plaintiff was induced into                            there had invoked a benefit-of-
             purchasing the product by a specific                                 the-bargain theory of injury, but
             misrepresentation.                                                   could not maintain such a theory
                                                                                  because they had not entered into
                                                                                  contracts with the defendants. Here,
                                                                                  Plaintiffs do not allege that they
   Estrada, 2017 WL 2999026, at *9. In both Koronthaly and
                                                                                  entered into contracts with the
Estrada, the plaintiffs pled injury-in-fact based on economic
                                                                                  Bosch Defendants, which were then
harm from an alleged physical injury that came from an
                                                                                  breached. Rather, Plaintiffs assert
undisclosed risk from using a cosmetic product.            374 F.                 that the Bosch Defendants played
                                                                                  a role in designing, implementing,
App'x at 259;      2017 WL 2999026, at *9. However, these
                                                                                  and concealing software that was
are cases where “the plaintiffs suffered no ill effects.”       In                used in the Class Vehicles to cheat
re Gerber, 2013 WL 4517994, at *5. That is not the case here,                     emissions tests.... The benefit-of-the-
as Plaintiffs have pled facts asserting that they fall into either                bargain contract analysis in L'Oreal
of the two categories recognizing standing on a benefit of the                    and Johnson & Johnson is therefore
bargain theory as outlined in Estrada.                                            inapplicable.

In addition, Bosch argues that Plaintiffs have not established
an injury-in-fact in their claims against it, because “[Bosch]
was not a party to any of Plaintiffs' vehicle-purchase                  295 F. Supp. 3d 927, 953 (N.D. Cal. 2018). 3
contracts, and no named Plaintiff makes any allegation that
they had any relationship with [Bosch].” (ECF No. 118-1 at
                                                                        2. Fairly Traceable
21). Bosch's reliance on the absence of privity of contract
                                                                     Defendants' traceability arguments also fail. While this Court
is not relevant in this context. In the cases Bosch cites in
                                                                     is very cognizant of its previous Opinion dismissing the CAC
support of this proposition—Koronthaly, Bowman v. RAM
                                                                     on traceability grounds, it now finds that the FAC addresses
Med., Inc., No. 10-cv-4403, 2012 WL 1964452 (D.N.J.
                                                                     these concerns, in light of Plaintiffs amendments and a spate
May 31, 2012), and        Young v. Johnson & Johnson, No.            of recent decisions in other districts addressing Article III
11-4580, 2012 WL 1372286 (D.N.J. Apr. 19, 2012)—the                  standing in very similar cases which support a finding that
lack of the contract alone was not the only reason the               Plaintiffs have established Article III standing. Mercedes and
plaintiffs failed to establish injury-in-fact. In each case, it      Bosch attack the traceability query from different angles, so
was the lack of privity of contract in addition to a failure to      the Court will address their arguments separately.
allege facts demonstrating that the product failed to work as
intended or was worth less than what a reasonable consumer
would expect.      Koronthaly, 374 F. App'x at 259; Bowman,                                    i. Mercedes
2012 WL 1964452, at *3;       Young, 2012 WL 1372286,
                                                                     Mercedes argues that “fifty-four out of the sixty named
at *4. Judge Chen explained in In re Chrysler-Dodge-Jeep
                                                                     plaintiffs in the FAC [ ] still fail to allege facts sufficient to
Ecodiesel Marketing, Sales Practices and Products Liability
                                                                     support Article III standing,” despite the Court's prior Opinion
Litigation (“FCA ”):
                                                                     holding that those same Plaintiffs did not establish reliance
                                                                     on the cited advertisements in their decision to purchase
                                                                     or lease a Polluting Vehicle. (ECF No. 117-1 at 19–20).
              *5 [T]he courts in L'Oreal and                         Mercedes claims that twenty-four of those plaintiffs reallege
             Johnson & Johnson never held that                       the same boilerplate, generalized assertions of deception and
             a plaintiff must have a contractual                     reliance that the Court previously rejected. (ECF No. 117-1
             relationship with a defendant in                        at 20–21). Another seventeen Plaintiffs point to advertising


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from non-party dealerships, while seven Plaintiffs do not                        to constitute an injury in fact. Even
allege that the advertisements they saw “contained the alleged                   if the Plaintiffs did not specifically
misrepresentations.” (ECF No. 117-1 at 21–22). Finally, six                      rely on the ‘clean diesel’ advertising
more Plaintiffs do not allege that they viewed or relied on                      in choosing to buy the Cruze, they
Mercedes' ads before buying or leasing their vehicle. (ECF                       paid a price, determined the market,
No. 117-1 at 23).                                                                which relied upon GM's representation
                                                                                 that the vehicle included a fully
Plaintiffs argue that they have cured these defects by retooling                 functional ‘clean diesel’ system....
their complaint and “focusing on Mercedes' omissions                             Plaintiff's overpayment can thus be
and referencing the ‘clean diesel’ marketing campaign to                         traced directly to GM's alleged actions.
demonstrate that those omissions were plausibly material to
the targeted consumers.” (ECF No. 126 at 28). The Court
agrees. Plaintiffs have, for example, alleged that “Mercedes       Id. at 586.
marketed the BlueTEC-equipped vehicles as environmentally
friendly and fuel efficient,” that this advertising “[was]         In In re Duramax Diesel Litigation, the plaintiffs alleged that
widely disseminated throughout the United States,” and             GM “represented the Duramax [diesel] engine as providing
that Mercedes “h[eld] itself out as a protector of the
                                                                   both low emissions and high performance.”       298 F. Supp.
environment.” (FAC ¶¶ 321–22, 324). At the same time,
                                                                   3d 1037, 1046 (E.D. Mich. 2018). However, the Duramax
Plaintiffs allege that “Mercedes intentionally shut[ ] down
                                                                   plaintiffs alleged that the high power and efficiency of the
or severely limit[ed] the emissions control system when
                                                                   Duramax engine was obtained only by reducing emissions
the BlueTEC vehicles are on the road,” and that Mercedes
“intentionally concealed” and hid this fact “from the              controls with the aid of a defeat device.     Id. at 1047. The
consuming public at the same time that” it “touted the vehicles    Duramax plaintiffs alleged that had they known “of the higher
as ‘clean,’ earth friendly, and complaint with all the relevant    emissions at the time they purchased or leased their Polluting
emissions standards.” (FAC ¶ 16).                                  Vehicles, they would not have purchased or leased those
                                                                   vehicles, or would have paid substantially less for the vehicles
 *6 Similar allegations have been found by other courts
                                                                   than they did.”      Id. at 1050. The Duramax Court found
addressing defeat device-based diesel emissions scandals
                                                                   that the injury was “traceable to GM's actions: GM developed
across the country. In Counts v. General Motors, the plaintiffs
                                                                   the Duramax engine (including the alleged defeat devices),
also asserted an overpayment theory. 237 F. Supp. 3d 572,          marketed its diesel vehicles as environmentally friendly, and
582 (E.D. Mich. 2017). The Court explained as follows:
                                                                   set the MSRP for its diesel vehicles.”     Id. at 1052.
  GM promised a clean diesel engine—including ‘at least
  90% less nitrogen oxide and particulate emissions’—but           Lastly, in In re Volkswagen “Clean Diesel” Marketing,
  actually delivered a vehicle that turns off its emissions        Sales Practices, and Products Liability Litigation, the Court
  reduction system when in use. GM charged more for the            analyzed whether inflated financing and leasing fees paid by
  diesel Chevrolet Cruze model than a comparable gasoline          former lessees of the class vehicles were fairly traceable to
  model and Plaintiffs chose the diesel model based at             the conduct of Volkswagen. ––– F. Supp. 3d. ––––, 2018 WL
  least in part on its ‘clean diesel’ features. Accordingly,       4777134, at *9 (N.D. Cal. Oct. 3, 2018). The plaintiffs in
  Plaintiffs allege that GM's misrepresentations resulted in       that case alleged that they paid a premium for Volkswagen's
  their overpaying for a vehicle because the vehicle did not       TDI “clean diesel” vehicles, which Volkswagen marketed as
  work in the way GM promised it would.                            “being low-emission, environmentally friendly, fuel efficient,
                                                                   and high performing,” while concealing “the fact that VW
Id. The Counts Court found that:                                   had installed software in these cars that caused their emission
                                                                   controls to perform one way during emissions testing, and
                                                                   another (less effective) way during normal driving conditions.
             [t]his alleged disparity between what                 Id. at * 1. The Court found that the increased fees were
             the Cruze was represented to be and                   fairly traceable to Volkswagen's conduct, because the ‘ “clean
             what it actually is ... is sufficient                 diesel’ premium plausibly increased the price of the financed



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vehicles, which in turn would have led directly to higher                       purchased his vehicle, in part, because
financing fees.” Id. at *9.                                                     of the BlueTEC Clean Diesel system,
                                                                                as represented through advertisements
 *7 The allegations in the three cases finding Article III                      and     representations    made      by
standing above are sufficiently similar to those before this                    Mercedes. Plaintiff recalls that the
Court to support a finding that the alleged injury in fact                      advertisements and representations
was fairly traceable to Mercedes' conduct. As to Mercedes'                      touted the cleanliness of the engine
argument that fifty-four of the sixty named plaintiffs fail to                  system for the environment and
establish Article III standing, this argument fails for the same                the efficiency and power/performance
reasons elaborated above. The “boilerplate” allegations that                    of the engine system. None of
Mercedes' claims are insufficient are quite the opposite. That                  the advertisements reviewed or
language is as follows:                                                         representations received by Plaintiff
                                                                                contained any disclosure that the
                                                                                Polluting Vehicle had high emissions
             Unknown to Plaintiff, at the time                                  compared to gasoline vehicles and the
             the vehicle was purchased, it was                                  fact that Mercedes had designed part of
             equipped with an emissions system                                  the emissions reduction system to turn
             that turned off or limited its                                     off during normal driving conditions.
             emissions reduction system during                                  Had Mercedes disclosed this design,
             normal driving conditions and emitted                              and the fact that the ML 350 actually
             pollutants such as NOx at many                                     emitted pollutants at a much higher
             multiples of emissions emitted from                                level than gasoline vehicles do, and at
             gasoline-powered vehicles, at many                                 a much higher level than a reasonable
             times the level a reasonable consumer                              consumer would expect, and emitted
             would expect from a “Clean Diesel”,                                unlawfully high levels of pollutants,
             and at many multiples of that allowed                              Plaintiff would not have purchased the
             by federal law. Mercedes' unfair,                                  vehicle, or would have paid less for it.
             unlawful, and deceptive conduct in
             designing, manufacturing, marketing,
             selling, and leasing the ML 350                       (FAC ¶27). The FAC sets out these same allegations for each
             without proper emission controls                      named Plaintiff. (FAC ¶¶ 27–87). These allegations mirror
             has caused Plaintiff out-of-pocket                    those in Counts, Duramax, and Volkswagen, in addition to the
             loss, future attempted repairs, and                   other portions of the FAC already outlined above. As such, the
             diminished value of his vehicle.                      Court rejects Mercedes' arguments regarding the deficiencies
             Mercedes knew about, manipulated, or                  of the named plaintiffs' claims as to Article III standing.
             recklessly disregarded, the inadequate
             emission controls during normal
             driving conditions, but did not
                                                                                              ii. Bosch
             disclose such facts or their effects
             to Plaintiff, so Plaintiff purchased                  Bosch argues that Plaintiffs' allegations are based on its
             his vehicle on the reasonable, but                    alleged misconduct with Volkswagen and Fiat-Chrysler, and
             mistaken, belief that his vehicle                     Bosch's conduct with respect to other auto-makers “cannot
             was a “clean diesel” as compared                      serve to establish a causal relationship to Plaintiffs' alleged
             to gasoline vehicles, complied with                   injuries concerning Mercedes vehicles.” (ECF No. 118-1
             United States emissions standards,                    at 25). Even if those allegations could establish a causal
             and would retain all of its operating                 relationship, Bosch argues, Plaintiffs have failed to identify
             characteristics throughout its useful                 any advertisements, representations, or omissions by Bosch
             life, including high fuel economy.                    itself, and thus Plaintiffs' injuries are not fairly traceable to
             Plaintiff selected and ultimately                     Bosch. (ECF No. 118-1 at 26).



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                                                                  they relied that was made by [Bosch] to plausibly trace their
 *8 Plaintiffs argue that they have adequately alleged that       economic injuries to these entities.” Id.
their injuries are fairly traceable to Bosch's conduct for
the same reasons that the injuries are fairly traceable to        The Duramax Court reached the same conclusion when
Mercedes' conduct. (ECF No. 127 at 16). This Court agrees.        facing Bosch's arguments regarding traceability. There, the
The FAC is littered with allegations detailing Bosch's active     Plaintiffs alleged that Bosch participated in the scheme to
participation in the alleged scheme to market the BlueTEC         develop the defeat device and prevent U.S. regulators from
line of vehicles as “clean diesels” when Bosch knew they
                                                                  discovering it, in addition to lobbying         U.S. regulators
were not. For example, Plaintiffs allege that without Bosch's
                                                                  to approve “clean diesel.” 298 F. Supp. 3d at 1053. Faced
“knowing and active cooperation, Mercedes would not have
                                                                  with these allegations, Bosch argued that, because it did
been able to carry out the ‘Clean Diesel’ scheme outlined
                                                                  not manufacture the Duramax engine or market the affected
in this complaint,” and that Bosch “participated not just in
                                                                  vehicles, “any overpayment by Plaintiffs [was] attributable
the development of the defeat device, but in the scheme
                                                                  solely to GM's actions.” Id. The Duramax Court reasoned
to prevent U.S. regulators from uncovering the device's
                                                                  that though “the exact nature of [Bosch's] marketing is
true functionality.” (FAC ¶¶ 20, 106). Bosch also allegedly
                                                                  unclear, it is plausible that Bosch's efforts contributed to the
“marketed ‘Clean Diesel’ in the United States and lobbied
                                                                  market demand for ‘clean diesel’ vehicles, generally, in the
U.S. regulators to approve ‘Clean Diesel.’ ” (FAC ¶ 106).
                                                                  United States,” and that the premiums Plaintiffs paid for
                                                                  those vehicles “were a natural consequence of that market
In FCA, the Northern District of California dealt with facts
                                                                  demand.” Id. “In other words, Plaintiffs overpaid for their
nearly identical to the case before this court. There, the
                                                                  vehicles because Bosch worked closely with GM to install
plaintiffs alleged that they paid more for the EcoDiesel
                                                                  working defeat devices in the Duramax vehicles.” Id. Thus,
feature, which the defendant falsely advertised as delivering
                                                                  the Duramax Plaintiffs adequately alleged that their injury
more power, performance, fuel economy, and environmental
                                                                  was fairly traceable to Bosch's conduct.      Id. at 1054. Both
friendliness than comparable gasoline vehicles.         295 F.
                                                                  FCA and Duramax lay out factually analagous precedent for
Supp. 3d at 946. Bosch argued similarly that the plaintiffs
                                                                  finding that Plaintiffs have established Article III standing as
had “not identified any statement that [Bosch] made to [the
                                                                  to their claims against Bosch, and this Court will apply that
plaintiffs] that could support a purportedly inflated price for
                                                                  precedent here in finding the same.
the Class Vehicles,” and that because Bosch was not a party
to the contract with Plaintiffs, it could not have deprived
them of their benefit of the bargain.      Id. at 951. There,     B. Rico Claims
as here, the plaintiffs alleged that Bosch “participated in        *9 Plaintiffs have also alleged a RICO claim against
a scheme and conspiracy with [the auto manufacturers] to          defendants. They state:
develop, implement, and conceal software used in the Class
Vehicles to cheat emissions tests.” Id. The FCA Court found
that the hidden software in the EDC17 rendered the affected                    For many years now, the RICO
vehicles defective, and thus less valuable, and that because                   Defendants have aggressively sought
Bosch “had a hand in developing and implementing this                          to increase the sales of Polluting
software, their conduct plausibly caused Plaintiffs' economic                  Vehicles in an effort to bolster
loss.” Id. The FCA Court continued: “to the extent [Bosch]                     revenue, augment profits and increase
knowingly concealed the software installed in the Class                        Mercedes' share of the diesel vehicle
Vehicles from regulators and consumers, Plaintiffs' economic                   market. Finding it impossible to
injuries are also fairly traceable to that conduct,” because                   achieve their goals lawfully, however,
the FCA plaintiffs, like the Plaintiffs here, alleged that the                 the RICO Defendants resorted instead
would not have bought or leased the Polluting Vehicles, or                     to orchestrating a fraudulent scheme
would have paid less to do so had the defeat device been                       and conspiracy. In particular, the
                                                                               RICO Defendants, along with other
disclosed.     Id. at 952. Thus, the FCA court determined that
                                                                               entities and individuals, created and
the plaintiffs did not “need to identify a statement on which
                                                                               or participated in the affairs of an



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             illegal enterprise (“Emissions Fraud                                  property by the conduct constituting
             Enterprise”) whose direct purpose was                                 the violation.
             to deceive the regulators and the public
             into believing the Polluting Vehicles
             were “clean diesels.” As explained
                                                                    Id. (quoting      Sedima S.P.R.L. v. Imrex Co., 473 U.S. 479,
             in greater detail below, the RICO
                                                                    496 (1985) ).
             Defendants' acts in furtherance of the
             Emissions Fraud Enterprise violate §
                                                                    Defendants argue that Plaintiffs have failed to allege a RICO
             1962(c) and (d).
                                                                    injury, RICO causation, and a RICO enterprise, and that they
                                                                    have otherwise failed to allege a pattern of racketeering with
                                                                    particularity. (ECF Nos. 117-1 at 25–39; 118-1 at 27–55).
(FAC ¶ 336).

The Racketeer Influenced and Corrupt Organizations Act                1. RICO Injury
“makes it unlawful ‘for any person employed by or                   The injury to business or property element of a RICO claim
associated with any enterprise engaged in, or the activities        requires “proof of a concrete financial loss and not mere
of which affect, interstate or foreign commerce, to conduct
                                                                    injury to a valuable intangible property interest.” Maio
or participate, directly or indirectly, in the conduct of such
                                                                    v. Aetna, Inc., 221 F.3d 472, 483 (3d Cir. 2000) (quoting
enterprise's affairs through a pattern of racketeering activity.’
                                                                       Steele v. Hosp. Corp. of Am., 36 F.3d 69, 70 (9th Cir.
” In re      Ins. Brokerage Antitrust Litig., 618 F.3d 300, 362
                                                                    1994) ). A complaint therefore must contain allegations “of
(3d Cir. 2010) (quoting   18 U.S.C. § 1962(c) ). Section            actual monetary loss, i.e., an out-of-pocket loss” to adequately
1962(d) expands liability under the statute by making it            plead the injury element. Id. Physical or emotional harm to a
“unlawful for any person to conspire to violate [       18 U.S.C.   person is insufficient to show that a person was injured in his

§ 1962(c)]”.    18 U.S.C. § 1962(d). “The RICO statute              business or property under the act. Magnum v. Archdiocese
provides for civil damages for ‘any person injured in his           of Phila., 253 F. App'x 224, 227 (3d Cir. 2007). “Similarly,
                                                                    losses which flow from personal injuries are not [damage to]
business or property by reason of a violation of [ § 1962].’        property under RICO.” Id. (quotations omitted).
” Amos v. Franklin Fin. Servs. Corp., 509 F. App'x 165, 167
(3d Cir. 2013) (quoting Tabas v. Tabas, 47 F.3d 1280, 1289           *10 Defendants argue that Plaintiffs alleged injuries—
(3d Cir. 1995) ). A violation of the statute requires:              diminished value and overpayment—are not cognizable
                                                                    under RICO. Diminished value is not a proper RICO injury,
                                                                    according to Defendants, because Plaintiffs have not alleged
             (1) conduct (2) of an enterprise (3)                   facts showing that the vehicles have a lower resale value, and
             through a pattern (4) of racketeering                  RICO injury cannot be based on possible future events or
             activity. The plaintiff must, of course,               factual speculation. (ECF Nos. 117-1 at 26; 118-1 at 31–32).
             allege each of these elements to state                 Defendants are correct that RICO does not recognize injuries
             a claim. Conducting an enterprise                      conditioned on future events or injuries that are impermissibly
             that affects interstate commerce is                    speculative.     Maio, 221 F.3d at 495.
             obviously not in itself a violation of
                § 1962, nor is the mere commission                  In fact, Plaintiffs fail to address Defendants' contentions that
             of the predicate offenses. In addition,                their diminished value claims are not sufficient for RICO
             the plaintiff only has standing if, and                purposes. “Where an issue of fact or law is raised in an
             can only recover to the extent that,                   opening brief, but it is uncontested in the opposition brief,
             he has been injured in his business or                 the issue is considered waived or abandoned by the non-
                                                                    movant in regard to the uncontested issue.” Markert v. PNC
                                                                    Fin. Servs. Grp., 828 F. Supp. 2d 765, 773 (E.D. Pa. 2011).
                                                                    Thus, to the extent Plaintiffs' RICO claims are based on



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their diminished value theory of injury, 4 Plaintiffs do not      of the defect, they would not have bought, or would have
                                                                  paid substantially less for the defective tires or the vehicles
have RICO standing. See         Duramax, 298 F. Supp. 3d at       equipped with them. Id. The Court determined that these
1071 (finding that the plaintiffs' diminished value damages—      injuries were too speculative to sustain a RICO injury as
based on a nearly identical paragraph to paragraph 332 of the     “[t]he actual failure of the Tires ... is a contingency upon
FAC—“are contingent on future, uncertain developments,”
and that those “injuries may never occur,” “are ... currently     which Plaintiffs' economic damages are dependent.”        Id. at
unmeasurable,” and “cannot give rise to RICO standing”).          1092.


Plaintiffs' overpayment theory does not suffer from the same      In Ignition Switch, the plaintiffs' RICO claim was premised
fatal flaws. As described above, Plaintiffs allege that had       on GM's manufacture of vehicles with a defective ignition
Defendants disclosed the existence of the defeat device and       switch.    2016 WL 3920353, at *1. The plaintiffs' theory of
the true emissions performance of the Polluting Vehicles,         injury was that they would not have purchased those cars, or
they would not have purchased those vehicles or would             paid less for them, had they known of the defective ignition
have paid substantially less for them. Defendants argue that
                                                                  switch.    Id. at *7. The Court held that this theory did not
Plaintiffs' overpayment allegations fail to establish RICO
                                                                  create RICO standing, because “ ‘loss of value’ or ‘benefit
standing because “loss of value” or “benefit of the bargain”
                                                                  of the bargain’ damages ‘are generally unavailable in RICO
damages are typically not available in RICO suits, and
                                                                  suits’ and ‘plainly’ unavailable where (similar to the case
because “absent the sale of [a Polluting] Vehicle at a loss,
                                                                  here) a RICO claim ‘sound[s] in fraud in the inducement.’ ”
Plaintiffs' overpayment theory is a claim for a speculative,
intangible property interest rather than a concrete financial        Id. at *16 (quoting    McLaughlin, 522 F.3d at 228–29).
loss.” (ECF Nos. 117-1 at 27; 118-1 at 29). The existing diesel
emissions litigation decisions squarely reject these arguments    Finally, McLaughlin concerned a class action based
and distinguish the cases relied upon by Mercedes and Bosch.      on allegations that the defendants—tobacco companies
                                                                  fraudulently marketed light cigarettes as healthier alternatives
Volkswagen, 2018 WL 4777134, at *13–15,           FCA, 295 F.
                                                                  to “full-flavored” cigarettes.         522 F.3d at 220. The
Supp. 3d at 959–61;    Duramax, 298 F. Supp. 3d at 1068–
                                                                  plaintiffs' theory of injury in this case was again based on a
73. The Court agrees with those decisions.
                                                                  benefit of the bargain argument: the plaintiffs created a “loss
                                                                  of value” model which measured “the difference between
Defendants rely heavily on      In re Bridgestone/Firestone,      the price plaintiffs paid for light cigarettes as represented by
Inc. Tires Products Liabilities Litigation, 155 F. Supp. 2d       defendants and the (presumably lower) price they would have
1069 (S.D. Ind. 2001), In re General Motors LLC Ignition          paid (but for defendants' misrepresentation) had they known
Switch Litigation, Nos. 14-md-2543, 14-mc-2543, 2016 WL           the truth.”   Id. at 228. The Second Circuit held that these
3920353 (S.D.N.Y. July 15, 2016), and   McLaughlin v.             expectation-based damages did not suffice to create a RICO
American Tobacco Co., 522 F.3d 215 (2d Cir. 2008), in             injury, because “Defendants' misrepresentation could in no
support of their claim that overpayment allegations are           way have reduced the value of the cigarettes that plaintiffs
insufficient to create RICO standing.                             actually purchased, they simply could have induced plaintiffs
                                                                  to buy Lights instead of full-flavored cigarettes.”     Id. at
 *11 The Bridgestone plaintiffs asserted a RICO claim             229. Additionally, the plaintiffs' theory required the Second
against Bridgestone/Firestone on the grounds that there was       Circuit to “conceptualize the impossible—a healthy cigarette
an alleged defect in certain tires that created a dangerous       —and then to imagine what a consumer might have paid for
likelihood of tread separation.    155 F. Supp. 2d at 1077.       such a thing.”    Id. at 229.
The plaintiffs based their RICO injury on their need to “bear
the financial loss associated with the cost of replacing the      There are critical differences between the theory of injury set
Tires and/or the diminished value of their vehicles equipped      forth here by Plaintiffs and the RICO injuries alleged in the
with the Tires now that the truth regarding their safety and      three aforementioned cases. First, Plaintiffs allege that they
lack of roadworthiness is known.”   Id. at 1089. Plaintiffs       overpaid for the Polluting vehicles at the time of purchase.
also based RICO injury on the fact that, had they known           FAC ¶ 400. All three courts to have dealt with the question


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of RICO injury in the context of a defeat device-based diesel
                                                                    the defendant had no intention of keeping.”         Ignition
emissions litigation have concluded that the fact that the
                                                                    Switch, 2016 WL 3920353, at *17 (collecting cases). Here,
injury occurred at the time of purchase constitutes a RICO
                                                                    as in Volkswagen, FCA, and Duramax, Plaintiffs allege that
injury. In Duramax, the Court wrote that such an injury,
                                                                    Defendants participated in a scheme to place a defeat device
“clearly suffices to create RICO standing,” as the plaintiffs
                                                                    in the Polluting Vehicles, rendering them defective from
had identified “a specific payment attributable directly to the
                                                                    the moment they were manufactured. Because Defendants
vehicle component at issue which they opted to purchase
                                                                    allegedly knew of—and orchestrated the creation of—that
on the basis of fraudulent conduct.”        298 F. Supp. 3d at      defect, they had no intention of delivering vehicles with
1071–72. In FCA, the Court similarly found that “Plaintiffs'        heightened fuel efficiency and environmental friendliness.
allegations of overpayment easily clear[ed] the threshold”
                                                                    See    Duramax, 298 F. Supp. 3d at 1072 (“But, here, GM
for establishing a concrete RICO injury where “Plaintiffs ...
                                                                    allegedly sold Duramax vehicles, for a premium, which did
identified a particular, reasonably narrow range by which they
                                                                    not perform as a reasonable consumer would expect. In
allegedly overpaid for the Class Vehicles.”        295 F. Supp.     other words, Defendants had no intention of delivering the
3d at 962.                                                          emissions performance which consumers expected.”).

While Defendants argue that Duramax and FCA are                     Finally, to the extent there remains a question whether
distinguishable because they allege an overpayment of a             Plaintiffs' overpayment theory constitutes an injury to
specific amount, (ECF Nos. 134–35, 143–44), that is not the         business or property for the purposes of RICO, Supreme
hill upon which RICO injury dies. In Volkswagen, Plaintiffs         Court precedent indicates that it does. Reiter v. Sonotone
adequately alleged a RICO injury where they contended               Corporation is an antitrust case in which the Supreme Court
that “they each paid a premium for something that they              interpreted Section 4 of the Clayton Act, which allows any
did not receive—a vehicle with low emissions.” 2018 WL              person injured “in his business or property” by the violation
4777134, at *14. This injury was sufficiently concrete and
                                                                    of an antitrust law to sue under that statute.        442 U.S.
tangible, despite the fact that these plaintiffs did not identify
the specific amount of damage. Id. In fact, the FCA Court           330, 337 (1979) (quoting      15 U.S.C. § 15). The Supreme
                                                                    Court concluded that when “a consumer ... acquires] goods or
acknowledged the same.        295 F. Supp. 3d at 962 (noting
                                                                    services for personal use, [she] is injured in ‘property’ when
that the threshold for RICO injury does not require a particular
                                                                    the price of those goods or services is artificially inflated
dollar amount); see also         In re Avandia Mktg., Sales         by reason of the anticompetitive conduct complained of.”
Practices & Prods. Liab. Litig., 804 F.3d 633, 639–640 (3d
                                                                       Id. at 339. The Third Circuit has referenced the Supreme
Cir. 2015) (finding plaintiffs adequately alleged RICO injury
                                                                    Court's rationale in Reiter when analyzing a RICO claim
based on allegations that they overpaid—absent a specific
                                                                    as support for the conclusion that monetary loss suffices
dollar amount—for a drug due to the inflationary effect that a
drug manufacturer's illegal or deceptive marketing practices        to constitute a RICO injury.     Maio, 221 F.3d at 483–84
had on the drug); In re Aetna UCR Litig., MDL No. 2020,             (3d Cir. 2000). Thus, Reiter would indicate that Plaintiffs'
Civ. No. 07-3541, 2015 WL 3970168, at *10 (D.N.J. June              allegations that they overpaid for the Polluting Vehicles as
30, 2015) (finding plaintiffs adequately alleged RICO injury        a result of Defendants' deceptive conduct constitute injuries
where plaintiffs claimed they suffered “out-of-pocket losses        to property. See Volkswagen, 2018 WL 4777134, at *14
in the form of higher co-payments” and “overpaid for their          (interpreting Reiter the same way);      FCA, 295 F. Supp. 3d
health insurance plans”). What is important, and what is
alleged here, is that the overpayment occurred at the time of       at 959 (same);      Duramax, 298 F. Supp. 3d at 1067–68,
purchase, rather than being “contingent on a future occurrence      1072–73 (same).

or on the vagaries of the free market.”       Duramax, 298 F.
Supp. 3d at 1072.
                                                                                         2. RICO Causation
 *12 Additionally, “courts have recognized expectation
                                                                    A civil RICO plaintiff is required “to show that a RICO
damages under RICO ... where an agreement between the
                                                                    predicate offense ‘not only was a “but for” cause of his injury,
parties provided for a certain performance guarantee that



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                                                                    requirement. In Anza, the plaintiff sued its primary competitor
but the proximate cause as well.’ ”     Hemi Grp., LLC v.
                                                                    under the RICO statute, alleging that the competitor reduced
City of N.Y., 559 U.S. 1, 9 (2010) (quoting Holmes v. Sec.
                                                                    its prices without harming its bottom line by “failing to
Inv'r Prot. Corp., 563 U.S. 258, 268 (2010) ). The “central
                                                                    charge the requisite New York sales tax to cash-paying
question” is “whether the alleged violation led directly to
                                                                    customers.” 547 U.S. at 453 54. The Supreme Court found
the plaintiff's injuries.”  Anza v. Ideal Steel Supply Corp.,
                                                                    that this theory of injury did not satisfy RICO's proximate
547 U.S. 451, 461 (2006). Mercedes argues that Plaintiffs'
                                                                    cause requirement, because “[i]t was the State that was being
“entire theory of RICO conduct relies on the claim that”
                                                                    defrauded and the State that lost tax revenue as a result.”
the defendants perpetrated a fraud against United States
government regulators, and thus Plaintiffs have failed to              Id. at 458. The Court also observed that the cause of
allege that they were injured by the enterprise's conduct.          Plaintiff's injury—lower prices—was “entirely distinct” from
(ECF No. 117-1 at 28). Even if Plaintiffs do allege that they       the alleged RICO violation—the defrauding of the state—
were directly deceived by the enterprise, Mercedes argues           and that the plaintiff's lost sales could have resulted from any
that Plaintiffs' RICO allegations should be dismissed because
                                                                    number of alternative factors.     Id. at 458–59.
they “are based on the same generalized advertising scheme
that the Court previously found insufficient to satisfy the
                                                                    The facts in Anza are distinct from what Plaintiff's allege
‘fairly traceable’ requirement of Article III standing.” (ECF
                                                                    here. Plaintiff's specifically allege that Mercedes defrauded its
No. 117-1 at 29). Bosch separately argues that Plaintiffs
                                                                    customers when it failed to disclose the existence of the defeat
have not established either proximate or “but for” cause,
                                                                    device, and that this deception caused Plaintiffs' injuries.
because they have failed “to allege (1) reliance upon
                                                                    (FAC ¶¶ 313–15). Furthermore, while Plaintiffs allege that
any actionable misstatement or omission, or (2) a direct
                                                                    Defendants deceived regulators, those regulators are not
relationship between Bosch LLC's purported conduct and
                                                                    alleged to have been harmed by that deception like the State
their alleged injuries.” (ECF No. 118-1 at 33).
                                                                    of New York was in         Anza. FCA, 295 F. Supp. 3d at 966.
                                                                    Plaintiffs argue that the deception of the regulators inevitably
                                                                    led to their injuries, because “but for [that] deception about
                          i. Mercedes
                                                                    compliance, it would not have been able to sell the Polluting
Mercedes makes the argument that Plaintiffs fail to establish       Vehicles.” (ECF No. 126 at 36–37). These allegations are
RICO causation for the same reasons that they failed to             sufficient to establish RICO causation.      FCA, 295 F. Supp.
establish traceability for the purposes of Article III standing.    3d at 967 (“By deceiving regulators, Defendants were able
(ECF No. 117-1 at 29). As this Court has already determined         to sell Class Vehicles that emitted NOx at levels up to 20
that Plaintiffs have adequately alleged that Plaintiffs' injuries   times legal limits and that contained one or more defeat
were fairly traceable to Mercedes' conduct, it need to not          devices ..., [which] plausibly caused Plaintiffs to overpay for
rehash that analysis here, as Mercedes has not set forth any        the defective Class Vehicles by an amount directly attributable
new arguments to the contrary.                                      to the alleged wrongful conduct of the Defendants.”); see also
                                                                    Volkswagen, 2018 WL 4777134, at *15 (“[T]he regulators
 *13 Alternatively, Mercedes argues that, because Plaintiffs'       were more like gatekeepers than victims of the fraud: they
RICO claim centers around a fraud-on-the-regulators theory,         did not lose money from the fraud like consumers did.
Plaintiffs have failed to meet RICO's proximate cause               Also, Plaintiffs base their RICO claims at least in part on
requirement. (ECF No. 117-1 at 30). The reasoning goes:             allegations that VW (on behalf of the enterprise) directly
because the purpose of the alleged enterprise was to deceive        deceived consumers into believing that the class vehicles were
regulators (rather than promulgate advertisements), Plaintiffs'     ‘clean’ and ‘environmentally friendly,’ when they were not.
overpayment as a result of the advertisements touting the           To prevail on this theory, Plaintiffs would not even need to
emissions bona fides of the Polluting Vehicles is in no way         prove that VW first defrauded EPA and CARB; they would
connected to the fraud on the regulators. (ECF No. 117-1 at         only need to demonstrate that VW defrauded them about
30–31).                                                             certain vehicle attributes.”) (citations omitted).

Mercedes relies on Anza as support for its claim that
Plaintiffs' RICO allegations do not satisfy the proximate cause



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                                                                    requiring Bosch's close collaboration with the automaker
                                                                    from beginning to end.” (FAC ¶ 270). Thus, Plaintiffs have
                           ii. Bosch
                                                                    established a sufficiently direct relationship between Bosch
Bosch first argues that the misstatements Plaintiffs allegedly      and the alleged RICO injury for purposes of RICO causation.
relied on are either non-actionable puffery, assert compliance      See Volkswagen, 2018 WL 4777134, at *15–17 (rejecting
with U.S. emissions standards, or made by Mercedes,                 Bosch's argument that the actions of the car manufacture
                                                                    break the causal link in the chain, and thus, that there is
breaking “any causative link to Bosch.” 5 (ECF No. 118-1 at
                                                                    not a sufficiently direct relationship between Bosch and the
33–34). Secondly, Bosch argues that Plaintiffs fail to establish
“any direct relationship between [Bosch's] alleged conduct          plaintiff's RICO injury);      FCA, 295 F. Supp. 3d at 967–68
and their alleged injuries.” (ECF No. 118-1 at 35). These           (same).
arguments have all been rejected in Duramax, FCA, and
Volkswagen, and this Court agrees with those prior decisions.
                                                                      3. The Merits of the RICO Claim
 *14 In Duramax, Bosch argued that “to the extent Plaintiffs
claim that their injury resulted from their reliance on                           i. Impermissible Group Pleading
purportedly false ads by GM, that itself breaks any causal
                                                                    Bosch contends that Plaintiffs “make impermissible group
link to the      Bosch Defendants.” 298 F. Supp. 3d at
                                                                    pleadings against ‘RICO Defendants’ and varying definitions
1075. The Duramax Court deemed that argument “clearly
                                                                    of ‘Bosch.’ ” (ECF No. 118-1 at 38). Bosch argues that this
inconsistent” with Supreme Court precedent, pointing to the
                                                                    “blurs the conduct of the various defendants and does not put
Supreme Court's decision in       Bridge v. Phoenix Bond &          each defendant on notice of its precise conduct,” and thus fails
Indemnification Co., 553 U.S. 639 (2008). Id. Duramax               to satisfy the pleading requirements of Rule 9(b). (ECF No.
explained that Bridge held that reliance is not a requirement       118-1 at 38–39). Rule 9(b) requires that Plaintiffs “state the
of a RICO cause of action and explicitly rejected the notion        circumstances of the alleged fraud with sufficient particularity
that “a plaintiff who brings [a RICO claim predicated on            to place the defendant on notice of the ‘precise misconduct
mail fraud] must show that it relied on the defendant's
                                                                    with which [it is] charged.”     Frederico v. Home Depot, 507
misrepresentations in order to establish the requisite element
                                                                    F.3d 188, 200 (3d Cir. 2007) (quoting Lum v. Bank of Am.,
of causation.”     Id. at 1076 (quoting    Bridge, 553 U.S. at
                                                                    361 F.3d 217, 223 (3d Cir. 2004) ). However, Rule 9(b) does
653). In fact, Bridge stands for the proposition that a plaintiff
                                                                    not require that that a plaintiff plead with specificity “which
has identified a “a sufficiently direct relationship between
                                                                    fraudulent acts were caused or performed by which individual
the defendant's wrongful conduct and the plaintiff's injury”
where “[i]t was a foreseeable and natural consequence of [the       defendants.”    In re Midlantic Corp. S'holder Litig., 758 F.
                                                                    Supp. 226, 233 (D.N.J. 1990).
defendant's] scheme.”        Bridge, 553 U.S. at 657–58. The
Duramax Court, applying this standard, then found that the
plaintiffs' allegations established but-for and proximate cause.    Bosch made similar, unsuccessful arguments in both     FCA
                                                                    and Duramax. See FCA, 295 F. Supp. 3d at 976–77 (rejecting
   298 F. Supp. 3d at 1076–77 (“According to Plaintiffs,
                                                                    Bosch's arguments that the plaintiffs “improperly ‘lumped’
Bosch ‘exerts near-total control” over the customization of
                                                                    the Bosch entities together” for the purposes of Rule
EDC17, eliminating the possibility that GM programmed the
                                                                    9(b), because the structure of the Bosch entities was such
functionality which enables use of defeat devices without
                                                                    that there were employees “at both entities [who] work
Bosch's knowledge.”).
                                                                    together on certain projects, including the EDC17 project.”);

Here, Plaintiffs make nearly identical allegations: “All                Duramax, 298 F. Supp. 3d at 1056 (“Given Plaintiffs'
Bosch ECUs, including the EDC17, run on complex, highly             allegation that Bosch employees and constituent entities often
proprietary engine management software over which Bosch             blur the legal boundaries between Bosch subsidiaries, the
GmbH exerts near-total control. In fact, the software is            allegations against the Bosch Defendants are sufficiently
typically locked to prevent customers, like Mercedes, from          specific.”). Here, Plaintiffs plead allegations similar to those
making significant changes on their own. Accordingly, both          that were found sufficient in FCA and Duramax: Bosch
the design and implementation are interactive processes,            GmbH and Bosch LLC “operate under the umbrella of the


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Bosch Group,” individuals from both Bosch GmbH and                  alleged a purpose for the enterprise where the plaintiffs
Bosch LLC worked in divisions relevant to the creation and          alleged a dual purpose: “(1) ‘to create a mechanism through
design of the EDC17, and Bosch itself does not distinguish          which Aetna, UHG and the Insurer Conspirators could under-
between its own legal entities when describing its business.        reimburse subscribers ... for Nonpar services through use of
(FAC ¶¶ 109, 111–12). The FAC sufficiently puts Bosch on            flawed and invalid data’ and (2) to increase insurer profits
notice of the claims made against it.                               by deceptively underpaying ONET benefits to their policy
                                                                    holders”) (citation omitted); see also       Duramax, 298 F.
                                                                    Supp. 3d at 1066, 1078–79 (finding a properly plead common
                     ii. RICO Enterprise                            purpose based on nearly identical allegations to those in
                                                                    this case, including that the purpose of the enterprise was
 *15 To allege an association-in-fact enterprise, which             “to deceive the regulators and the public into believing
Plaintiffs purport to do here, they must plead a “purpose,          the Polluting Vehicles were ‘clean’ and ‘environmentally
relationships among those associated with the enterprise, and       friendly,” ’ and that GM and Bosch “associated for the
longevity sufficient to permit these associates to pursue the       common purpose of designing, manufacturing, distributing,
enterprise's purpose.” In re        Ins. Brokerage, 618 F.3d at     testing, and selling the Polluting Vehicles through fraudulent
                                                                    COCs ... and EOs ..., false emissions tests, deceptive and
366 (quoting      Boyle v. United States, 556 U.S. 938, 946
                                                                    misleading marketing and materials, and deriving profits and
(2009) ). Defendants argue that Plaintiffs have not alleged
                                                                    revenues from those activities”).
a sufficient purpose or relationship between Defendants to
constitute an association-in-fact enterprise. (ECF Nos. 117-1
                                                                    With respect to the relationships of those associated with
at 31–35; 118-1 at 40–43).
                                                                    the enterprise, Mercedes argues that Plaintiff's FAC is
                                                                    deficient in that nearly all of the allegations “address
An association-in-fact enterprise “need have no formal
                                                                    Bosch's relationships with other vehicle manufacturers,
hierarchy or means for decision-making, and no purpose
                                                                    namely Volkswagen and FCA.” (ECF No. 117-1 at 32).
or economic significance beyond or independent from the
                                                                    Bosch, meanwhile, contends that Plaintiffs have done no
group's pattern of racketeering activity.” In re Aetna UCR
                                                                    more than “list the purported RICO participants,” and have
Litig., 2015 WL 3970168, at *27 (quoting In re               Ins.   provided no allegations ‘ “plausibly implying the existence
Brokerage, 618 F.3d at 368). Plaintiffs allege that the purpose     of an enterprise’ separate from the legal entities.” (ECF No.
of Defendants' enterprise was to “deceive the regulators and        118-1 at 42 (citations omitted) ). Both Defendants allege
the public into believing the Polluting Vehicles were ‘clean        that Plaintiffs plead nothing more than an ordinary business
diesels.’ ” (FAC ¶ 356). Defendants worked together to              relationship. (ECF No. 117-1 at 34–35; ECF No. 118-1 at 42–
design, manufacture, distribute, test, and sell the Polluting       43).
Vehicles, while implanting the EDC17, falsifying emissions
tests, and distributing deceptive marketing materials. (FAC         *16 It is true that ordinary business relationships are not
¶¶ 360–67). Plaintiffs allege that Defendants profited from
                                                                    sufficient to impose RICO liability. Duramax, 298 F. Supp.
this enterprise due to the increased number of vehicles
                                                                    3d at 1080 (describing a “widespread consensus” to this
sold as a result of the fraudulently obtained Certificates of
                                                                    effect). However, both Duramax and FCA addressed similar
Compliance (“COCs”) and Executive Orders (“EOs”), as
                                                                    arguments and concluded that similar pleadings sufficiently
well as through misleading advertising. (FAC ¶ 367). These
                                                                    alleged the existence of the kind of relationships necessary to
allegations sufficiently allege a purpose of the enterprise. See
                                                                    establish an association-in-fact. The Duramax Court rejected
In re Ins. Brokerage Antitrust Litig. (“In re Ins. Brokerage
                                                                    GM and Bosch's argument that “any alleged relationship
II”), MDL No. 1663, No. 04-5184, 2017 WL 3642003, at
                                                                    between them [was] simply a routine business relationship.”
*10 (D.N.J. Aug. 23, 2017) (finding that plaintiffs properly
pleaded a purpose for the enterprise where they alleged that            298 F. Supp. 3d at 1079. There, the plaintiffs alleged
certain agreements existed “to facilitate the sale of insurance,    that defendants “associated for the common purpose of
in particular, the sale of insurance at supra-competitive rates     designing, manufacturing, distributing, testing, and selling
to compensate both brokers and syndicates above what a              the Polluting Vehicles through fraudulent COCs and EOs,
competitive market would dictate”); In re Aetna UCR Litig.,         false emissions tests, and deceptive and misleading marketing
2015 WL 3970168, at *27 (finding that plaintiffs properly           and materials, and deriving profits and revenues from



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                                                                   that Plaintiffs have failed to assert anything more than legal
those activities.”    Id. at 1080. The Court held that such
                                                                   conclusions as to their participation in the enterprise, and
allegations established a business relationship that was “far
                                                                   that any facts alleged show merely an ordinary business
from ‘routine,’ ” and was instead a course of conduct that was
                                                                   relationship. (ECF No. 117-1 at 35 –37; ECF No. 118-1 at 43–
“inherently deceptive[, because] Bosch and GM collaborated
                                                                   47).
to create an engine which performed one way when being
tested for emissions and another way when in normal use.” Id.
                                                                   On top of Plaintiffs' allegations mentioned supra in Section
                                                                   III.B.3.ii, Plaintiffs have sufficiently alleged the participation
The Court in FCA came to the same conclusion. FCA
                                                                   of Mercedes and Bosch in the enterprise. They set forth
reasoned that the EDC17 “had only a deceitful purpose—
                                                                   that the EDC17 contains a “unique set of specifications
to cheat emissions tests,” and that the plaintiffs' “allegations
                                                                   and software code” made for the Polluting vehicles, that
plausibly support[ed] that each Defendant participated in
                                                                   the implementation of those EDC17s into the Polluting
developing or implementing the [defeat devices].”        295 F.    Vehicles required Mercedes and Bosch to collaborate closely,
Supp. 3d at 981. The FCA court came to this conclusion             and that Defendants knowingly and actively intended the
based on allegations that set forth “that the Bosch Defendants'    EDC17 to function as a defeat device to evade United
software documentation describes parameters and functions          States emissions requirements. (FAC ¶¶ 13, 104, 108,
that correlate with many of the hidden [defeat devices],”          268, 270, 360, 374). Plaintiffs then allege that Defendants
and that “the    FCA Defendants initiated and oversaw              concealed the existence of the defeat device and lied to
development of the EcoDiesel engine and activated the              U.S. regulators. (FAC ¶¶ 125, 273–74, 374). Very similar
[defeat devices] in the Class Vehicles.” 295 F. Supp.              allegations based on very similar facts have been found to
3d at 981–82. Such allegations went “beyond connecting             satisfy this pleading element of a RICO claim in other diesel
Defendants to each other by way of normal commercial               emissions litigations. See     FCA, 295 F. Supp. 3d at 983
dealings.”      Id. at 982. Plaintiffs here have laid out many     (finding that the plaintiffs adequately alleged participation
of the same allegations in the FAC, alleging, for example,         in the enterprise where the FCA Defendants “conspired
that Bosch “continuously cooperated with Mercedes to               to install and conceal emission control software in the
ensure that the EDC Unit 17 was fully integrated into              EcoDiesel® engines to illegally circumvent stringent U.S.
the Polluting Vehicles,” and that it concealed “the defeat         emission standards” and oversaw the development of those
devices on U.S. documentation and in communications                engines, while Bosch's argument “that they were simply
with U.S. regulators.” (FAC ¶ 374). The EDC 17 was                 performing services for the enterprise,” was “not sustainable
“customized ... for installation in the Polluting Vehicles with    at the pleading stage” “given the level of control they are
unique software code to detect when it was undergoing              alleged to have maintained over the emissions software in
emissions testing.” (FAC ¶ 360). Such allegations are              the Class Vehicles”);      Duramax, 298 F. Supp. 3d at 1086–
sufficient to show a relationship between Defendants beyond        87 (holding that Bosch's argument that it simply “worked
a normal business relationship.                                    together with GM to design and implement software and ...
                                                                   participated in promoting clean diesel technology generally”
                                                                   was a similarly faulty “repackaging of [its] previous argument
     iii. Directing the Conduct of the RICO Enterprise             that ... the relationship between the Defendants was merely
                                                                   a routine business relationship,” where the plaintiffs alleged
As part of their RICO claim, Plaintiffs must also allege that      “that Bosch was an integral part of the operation of the
Defendants “conducted or participated in the conduct of the        enterprise because Bosch ‘locked out’ EDC17 ... [and]
                                                                   worked closely with its customers to customize EDC17,”
‘enterprise's affairs,’ not just their own affairs.”     Reves
                                                                   which performed “an inherently deceptive function,” and thus
v. Ernst & Young, 507 U.S. 170, 185 (1993). “The word
                                                                   Bosch's responsibility for programming the operation of the
‘participate’ makes clear that RICO liability is not limited to
                                                                   EDC17 was at the “heart of the fraudulent enterprise”).
those with primary responsibility for the enterprise's affairs,
just as the phrase ‘directly or indirectly’ makes clear that
RICO liability is not limited to those with a formal position
in the enterprise, but some part in directing the enterprise's                  iv. Pattern of Racketeering Activity
affairs is required.”    Id. at 179. Defendants again argue


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 *17 A pattern of racketeering activity “requires at least          or omissions reasonably calculated to deceive persons of
two acts of racketeering activity, one of which occurred            ordinary prudence and comprehension ... [and] [t]he scheme
after the effective date of this chapter and the last of which      need not involve affirmative misrepresentation.”) (quoting
occurred within ten years ... after the commission of a prior
                                                                       United States v. Pearlstein, 576 F.2d 531, 535 (3d Cir.
act of racketeering activity.”  18 U.S.C. § 1961(5). “These         1978); Livingston v. Shore Slurry Seal, Inc., 98 F. Supp. 2d
predicate acts of racketeering may include, inter alia, federal     594, 597 (D.N.J. 2000) (quoting the same language from Kehr
                                                                    Packages). As laid out in Duramax:
mail fraud under      18 U.S.C. § 1341 or federal wire fraud
under     18 U.S.C. § 1343.” In re         Ins. Brokerage, 618
F.3d at 363 (quoting Lum, 361 F.3d at 223. Here, Plaintiffs                     allegations of omissions—as opposed
allege precisely these two predicate acts. In order to plead                    to affirmative misrepresentations—
mail or wire fraud, Plaintiffs must describe “(1) the existence                 will inevitably be less specific.
of a scheme to defraud; (2) the use of the mails [or wires] ...                 Misrepresentations occur at a definite
in furtherance of the fraudulent scheme; and (3) culpable                       point in time, but omissions occur
participation by the defendant, that is, participation by the                   over periods of time. And, because
                                                                                misrepresentations involve action
defendant with specific intent to defraud.” United States v.
                                                                                while omissions involve inaction,
Dobson, 419 F.3d 231, 237 (3d Cir. 2005). These allegations
                                                                                plaintiffs are less likely to uncover
must satisfy the pleading standards of Federal Rule of Civil
                                                                                discrete evidence of omissions. It
Procedure 9(b). In re Ins. Brokerage II, 2017 WL 3642003,
                                                                                must be remembered that the essential
at *6.
                                                                                purpose of Rule 9(b) is to provide
                                                                                the defendants with adequate notice of
Mercedes argues that Plaintiffs have failed to plead a pattern
                                                                                the allegations so that they can defend
of racketeering activity for two reasons: First, they have failed
                                                                                against the claims.
to satisfy Rule 9(b), because they “allege only nondescript
acts by unidentified parties at unspecified times, and second,
Plaintiffs “have not pled any facts demonstrating how the
applications [for certification to the EPA] further the purposes       298 F. Supp. 3d at 1083 (citations omitted); see also
of the alleged” enterprise. (ECF No. 117-1 at 38–39). Bosch
                                                                        Christidis v. First Pa. Mortg. Tr., 717 F.2d 96, 99–100
additionally argues that Plaintiffs have failed to plead a claim
                                                                    (3d Cir. 1983) (“In applying the first sentence of Rule 9(b)
of mail or wire fraud against it with the particularity required
                                                                    courts must be sensitive to the fact that its application,
by Rule 9(b), as they have failed to allege a scheme to defraud,
                                                                    prior to discovery, may permit sophisticated defrauders to
any participation by Bosch in that scheme, facts showing that
                                                                    successfully conceal the details of their fraud. Moreover, in
Bosch should be held vicariously liable for Mercedes' alleged
                                                                    applying the rule, focusing exclusively on its ‘particularity’
acts of mail and wire fraud, or a specific intent to defraud.
                                                                    language ‘is too narrow an approach and fails to take account
(ECF No. 118-1 at 49–55).
                                                                    of the general simplicity and flexibility contemplated by the
                                                                    rules.’ ”) (quoting 5 C. Wright & A. Miller, Federal Practice
Plaintiffs have sufficiently plead a pattern of racketeering
                                                                    and Procedure § 1298, at 407 (1969) ). As such, “plaintiffs
activity with respect to Defendants. First, the allegations
                                                                    pleading a fraud by omission claim are not required to plead
discussed at length in Parts III.B.3.ii and iii clearly allege
                                                                    fraud as precisely as they would for a false representation
the existence of scheme to defraud. Importantly, as noted in
this Opinion's standing analysis, Plaintiffs pin Defendants'        claim.” Feldman v. Mercedes Benz USA, No. 11-984, 2012
alleged liability on omissions rather than affirmative              WL 6596830, at *10 (D.N.J. Dec. 18, 2012).
misrepresentations. Reliance on omissions on their own is
sufficient to plead the predicate acts of mail and wire fraud.       *18 To adequately plead the use of the mails and wires
                                                                    in furtherance of the scheme, Plaintiffs need not allege that
   Kehr Packages, Inc. v. Fidelcor, Inc., 926 F.2d 1406,
                                                                    each Defendant personally mailed or wired the allegedly
1415 (3d Cir. 1991) (“Under the mail fraud statute, a scheme
                                                                    fraudulent communications, only that the mailing or wiring
or artifice to defraud ‘need not be fraudulent on its face,
                                                                    of that communication was foreseeable to Defendants.
but must involve some sort of fraudulent misrepresentations


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                                                                               However, these representations do
   United States v. Tiller, 302 F.3d 98, 101 (3d Cir. 2002).
                                                                               not constitute the fraudulent scheme;
Furthermore, “the gravamen of the offense is the scheme
                                                                               they merely further it. The level
to defraud, and any ‘mailing that is incident to an essential
                                                                               of emissions produced by a diesel
part of the scheme satisfies the mailing element,’ even if the
                                                                               engine was a material consideration
mailing itself ‘contain[s] no false information.” ’    Bridge,                 for consumers purchasing a vehicle.
553 U.S. at 647 (quoting     Schmuck v. United States, 489                     [Mercedes'] extensive advertising
U.S. 705, 712, 715 (1989) ). Plaintiffs allege several uses of                 which emphasized the low emissions
the mails and wires in furtherance of the scheme, such as                      and environmentally-friendly nature
numerous, specific applications for certification of various                   of its “clean diesel” engine
Polluting Vehicles to the EPA, (FAC ¶ 384), as well as                         underscores its understanding of that
advertisements touting the low emissions and environmental                     fact. Thus, regardless of whether these
friendliness of the BlueTEC engine, (see, e.g., FAC ¶¶ 32, 33,                 advertisements would be actionable on
36, 321, 323, 325).                                                            their own, they were material to the
                                                                               scheme.
These allegations are sufficient to establish the use of the
mails and wires in furtherance of the scheme. The applications
submitted to the EPA                                                 Duramax, 298 F. Supp. 3d at 1084.

                                                                  Finally, with respect to Defendants' culpable participation
            affirmed that the vehicles complied                   in the scheme, Plaintiffs need only allege intent generally.
            with emission standards. Without                      Fed. R. Civ. P. 9(b); In re Ins. Brokerage II, 2017 WL
            those mailings and electronic                         3642003, at *9. Defendants' intent to defraud can be inferred
            communications, [Mercedes] would
                                                                  from the scheme alone.        United States v. Chartock, 283
            have been unable to sell the
            vehicles. The applications and                        F. App'x 948, 954–55 (3d Cir. 2008);   United States v.
            resulting certificates also increased                 Pearlstein, 576 F.2d 531, 541 (3d Cir. 1978); see also
            the likelihood that consumers would
                                                                  FCA,     295 F. Supp. 3d at 977 (“Because the AECDs
            perceive the [BlueTEC] vehicles as
                                                                  themselves plausibly have a deceitful purpose, allegations
            emitting pollution at a low level. And
                                                                  supporting that each Defendant knew about yet concealed the
            although Bosch may not have directly
                                                                  AECDs also support a plausible claim that each Defendant
            used the mail or wire to further the
            fraudulent scheme, [Mercedes'] uses                   intended to defraud.”);      Duramax, 298 F. Supp. 3d at
            of the mail and wire were inevitable                  1083 (“[I]ntent can be inferred from the nature of the
            and thus reasonably foreseeable.                      alleged conduct. The way in which EDC17 interacted with
                                                                  the Duramax engine is inherently deceptive. The alleged
                                                                  purpose of the device is to provide the perception of
                                                                  reduced emissions while avoiding the reality of reduced
    Duramax, 298 F. Supp. 3d at 1084; 6 see also FCA, 295         emissions. Defendants cannot reasonably argue that the
F. Supp. 3d at 979 (applying the same standard to similar facts   deceptive nature of EDC17 was unanticipated or unintended,
and coming to the same conclusion). As to the advertisements      and even if they do, that argument could be resolved only by
identified by Plaintiffs, if they
                                                                  a jury.”);   In re Volkswagen “Clean Diesel” Mktg., Sales
                                                                  Practices, and Prods. Liab. Litig., MDL No. 2672, 2017
                                                                  WL 4890594, at *15 (N.D. Cal. Oct. 30, 2017) (“Bosch's
            were relying on these advertisements
                                                                  intent to defraud reasonably [could] be inferred from the
            as the basis for [their] claim of
                                                                  scheme itself,” as no party had “sought to justify, or explain a
            fraud, then Defendants' arguments
                                                                  lawful purpose for, software that effectively turns a vehicle's
            regarding puffery and duty to
                                                                  emission systems on or off depending on whether the vehicle
            disclose would become relevant.
                                                                  is undergoing emissions testing or being operated under


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normal driving conditions.”). Thus, Plaintiffs have adequately
alleged Defendants' intent to defraud and have adequately
established a pattern of racketeering activity based on the        1. Express Preemption
predicate acts of mail and wire fraud.                           Section 209 of the Clean Air Act reads:



                                                                              No State or any political subdivision
                    v. RICO Conspiracy
                                                                              thereof shall adopt or attempt to
 *19 Bosch argues that Plaintiffs failed to adequately plead                  enforce any standard relating to the
a RICO conspiracy because they failed to plead a substantive                  control of emissions from new motor
RICO violation. As Plaintiffs have adequately plead their                     vehicles or new motor vehicle engines
substantive RICO claim and that Bosch had knowledge of                        subject to this part. No State shall
the racketeering activity, they have adequately plead a RICO                  require certification, inspection, or any
conspiracy.                                                                   other approval relating to the control
                                                                              of emissions from any new motor
                                                                              vehicle or new motor vehicle engine as
C. Preemption                                                                 condition precedent to the initial retail
Defendants contend that Plaintiffs' state-law claims are                      sale, titling (if any), or registration
preempted by the Clean Air Act (“CAA”). (ECF No. 117-1 at                     of such motor vehicle, motor vehicle
39; ECF No. 118-1 at 55). This argument has been discussed                    engine, or equipment.
thoroughly and rejected several times over by courts dealing
with diesel emissions litigations. Volkswagen, 2018 WL
4777134, at *18–23;      FCA, 295 F. Supp. 3d at 990–1003;       42 U.S.C. § 7543(a). Defendants are correct that the

    Duramax, 298 F. Supp. 3d at 1057–65;   Counts, 237 F.        CAA contains an express preemption clause. See      In re
Supp. 3d at 588–92. For the same reasons, this Court also        Caterpillar, Inc. C13 and C15 Engine Prods. Liab. Litig.,
rejects Defendants' preemption arguments.                        14-3722, 2015 WL 4591236, at *10 (D.N.J. July 29, 2015)
                                                                 (“The CAA's express preemption provision is specific and
“Federal law can preempt state law in three ways: (1)            unambiguous.”).
express preemption, (2) field preemption, and (3) conflict
                                                                 Defendants argue that Plaintiffs' state-law claims fall squarely
preemption.”     Farina v. Nokia, 625 F.3d 97, 115 (3d Cir.      within that preemption provision because they relate to the
2010).                                                           Polluting Vehicles' compliance with emissions standards and
                                                                 are an attempt to enforce federal regulatory standards under
  Express preemption applies where Congress, through a
                                                                 state law. (ECF No. 117-1 at 41–42; ECF No. 118-1 at 56–
  statute's express language, declares its intent to displace
                                                                 57). Plaintiffs' state-law claims do not fall under the express
  state law. Field preemption applies where “the federal
                                                                 preemptive scope of the CAA for several reasons. First,
  interest is so dominant that the federal system will be
                                                                 while Plaintiffs do reference violations of federal emissions
  assumed to preclude enforcement of state laws on the same
                                                                 standards those violations are not an essential element of their
  subject.” Conflict preemption nullifies state law inasmuch
                                                                 state-law claims. To prove their state-law claims, Plaintiffs
  as it conflicts with federal law, either where compliance
                                                                 must show that Defendants lied to or deceived them, not
  with both laws is impossible or where state law erects an
                                                                 that Defendants violated federal emissions standards. The
  “obstacle to the accomplishment and execution of the full
                                                                 proof in which Plaintiffs must ground their claims pulls those
  purposes and objectives of Congress.”
                                                                 claims outside the scope of the express preemption of the

Id. (quoting     Hillsborough Cty. v. Automated Med. Labs.,      CAA. Volkswagen, 2018 WL 4777134, at *19;                FCA, 295
Inc., 471 U.S. 707, 713 (1985). Both Defendants argue            F. Supp. 3d at 993–94;     Duramax, 298 F. Supp. 3d at 1061;
that Plaintiffs state-law claims are expressly preempted by
the CAA, while Mercedes advances an additional implied              Counts, 237 F. Supp. 3d at 591–92. Second, Plaintiffs
preemption argument.                                             could prove that Mercedes lied about claims concerning its



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BlueTec engines, such as that it was “the world's cleanest          therefore ‘never legal for sale; nor were they EPA and or
and most advanced diesel” with “ultra-low emissions, high           CARB complaint,” ’ (ECF No. 117-1 at 44 (quoting FAC ¶
fuel economy and responsive performance,” (FAC ¶ 11),               275) ), this does not place Plaintiffs' state-law claims within
without having to prove that emissions exceeded EPA-                the realm of Buckman. As explained above, Plaintiffs' claims
established limitations or that Defendants installed a defeat-      do not “exist solely by virtue” of the alleged violations
device prohibited by the EPA. Volkswagen, 2018 WL 477134,           of the EPA's emissions standards. The core allegation of
at *20;    FCA, 295 F. Supp. 3d at 993–94;       Duramax, 298       Plaintiffs' state-law tort claims is that  Defendants lied
                                                                    to and deceived consumers, and so Buckman does not
F. Supp. 3d at 1061–62; Counts, 237 F. Supp. 3d at 591–92.
                                                                    preempt these claims. See FCA, 295 F. Supp. 3d at 994–
Thus, Plaintiffs' state-law claims are not expressly preempted
                                                                    95 (applying the same reasoning to distinguish Buckman
by the CAA. 7                                                       from state-law claims nearly identical to those before this
                                                                    Court);     In re Caterpillar, 2015 WL 4591236, at * 14
  2. Implied Preemption                                             (holding that consumer fraud claims were not impliedly
 *20 Mercedes argues that even if Plaintiffs' claims are not        preempted by the CAA, as those claims were not “about the
expressly preempted, they are impliedly preempted under             ability of Caterpillar's Engines to comply with EPA emissions
                                                                    standards”).
   Buckman Co. v. Plaintiffs' Legal Committee, 531 U.S. 341
(2001). When dealing with a question of implied preemption,
the Court begins its “analysis ‘with the assumption that            D. Plaintiffs' State-Law Misrepresentation Claims
the historic police powers of the States [are] not to be            Mercedes argues that “[a] vast majority of plaintiffs'
superseded by the Federal Act unless that was the clear             misrepresentation claims—including those arising under state
and manifest purpose of Congress.’ That assumption applies          common law and state consumer protection statutes—should
with particular force when Congress has legislated in a field       also be dismissed because they are based on nonactionable
traditionally occupied by the States.”     Altria Grp. v. Good,     puffery.” (ECF No. 117-1 at 44). As mentioned supra
                                                                    Section III.A.2.i, Plaintiffs have shifted the focus of the
555 U.S. 70, 77 (2008) (quoting   Rice v. Santa Fe Elevator
                                                                    FAC away from claims relying on Defendants' affirmative
Corp., 331 U.S. 218, 230 (1947) ). Buckman involved a
                                                                    misrepresentations and are instead basing those claims on
defendant that allegedly made fraudulent representations to
                                                                    Defendants' omissions. This is reinforced by the fact that
the FDA in order to gain approval for its orthopedic bone
                                                                    Plaintiffs do not respond to Mercedes' argument that their
screws that plaintiffs alleged caused their injuries.       531     state-law misrepresentation claims should be dismissed. (See
U.S. at 343. The Supreme Court held that allowing the               ECF No. 126 at 60 (addressing Mercedes' puffery arguments
plaintiffs to proceed on their state tort claims based on the       only in the context of fraudulent concealment) ). Thus, to the
alleged fraud on the FDA would “inevitably conflict with the        extent that Plaintiffs' state-law consumer protection claims
[agency's] responsibility to police fraud consistently with [its]   are based solely on affirmative misrepresentations, those
judgment and objectives.” Id. at 350. Mercedes argues that          affirmative misrepresentation claims are dismissed. Griglak
Buckman thus preempts all state tort claims “stemming from          v. CTX Mortg. Co., No. 09-5247, 2010 WL 1424023, at *3
a defendant's alleged fraud on a federal agency.” (ECF No.          (D.N.J. Apr. 8, 2010) (“The failure to respond to a substantive
117-1 at 43–44).                                                    argument to dismiss a count, when a party otherwise files
                                                                    opposition, results in a waiver of that count.”).
Importantly, Buckman's holding rested in part on the fact
that the Supreme Court had “clear evidence that Congress
                                                                    E. Plaintiffs' State-Law Fraudulent Concealment Claims
intended that the [Medical Device Amendments] be enforced
                                                                    Defendants also argue that this Court should dismiss
exclusively by the Federal Government,” and that the
                                                                    Plaintiffs' fraudulent concealment claims. Both Defendants
plaintiffs' “fraud claims exist[ed] solely by virtue of the
                                                                    claim that Plaintiffs have failed to set forth facts showing a
[Food, Drug, and Cosmetic Act] disclosure requirements.”
                                                                    duty to disclose, (ECF Nos. 117-1 at 51–53; 118-1 at 58–
   531 U.S. at 352–53. While Mercedes frames Plaintiffs'            60), while Mercedes also attacks the fraudulent concealment
claims as “all stem[ing] from the threshold allegation that         allegations in the FAC under Rule 9(b), (ECF No. 117-1 at 48–
‘the COCs were fraudulently obtained’ and the vehicles were         51). Defendants principally challenge Plaintiffs' fraudulent



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concealment claims under New Jersey law, which Plaintiffs         “programmed [the] BlueTEC vehicles to turn off or otherwise
                                        8
seek to apply to the nationwide class. To state a claim for       limit the effectives of the emission reduction systems during
fraudulent concealment under New Jersey law, a plaintiff          normal real world driving,” throughout the entire period of
must establish: (1) a material misrepresentation or omission      BlueTEC vehicle production and sale in the U.S. (FAC ¶¶
of a presently existing or past fact; (2) knowledge or belief     10, 13). Plaintiffs also allege that Mercedes failed to disclose
by the defendant of its falsity or knowing the omission to        these facts about the emissions controls nationwide. (FAC ¶
be material; (3) intention that the other person rely on it;      316). Similar allegations have been found to satisfy Rule 9(b)
(4) reasonable reliance thereon by the other person; and          both within and outside of this district in other automotive
                                                                  defect cases. See Volkswagen, 2018 WL 4777134, at *24
(5) resulting damages. Delaney v. Am. Express Co., No.            (dismissing plaintiffs' fraudulent misrepresentation claims
06-5134, 2007 WL 1420766, at *5 (D.N.J. May 11, 2007);            but finding that the fraudulent omissions claims survived,
   Gennari v. Weichert Co. Realtors, 148 N.J. 582, 610            because plaintiffs identified “the specifics of what VW failed
(1997). Rule 9(b) applies to fraudulent concealment claims,       to disclose: (1) that ‘the Clean Diesel engine systems were
GKE Enters., LLC v. Ford Motor Credit Co. LLC USA, No.            not EPA-compliant,’ and (2) that the class vehicles ‘used
09-4656, 2010 WL 2179094, at *4 (D.N.J. May 26, 2010);            software that caused the vehicles to operate in low-emission
however, as mentioned above, Plaintiffs are not required to       test mode during emissions testing’ ”);      Counts, 237 F.
plead fraud by omissions claims as precisely as affirmative       Supp. 3d at 599 (finding that plaintiffs sufficiently alleged
misrepresentation claims,   Feldman, 2012 WL 6596830,             that GM “actively concealed and had exclusive knowledge
at *10, so long as the complaint places “the defendant on         of the alleged ‘defeat device’ ”);       Feldman, 2012 WL
notice of the precise misconduct with which it is charged,        6596830, at *10 (holding that plaintiffs adequately stated a
   Montich v. Miele USA, Inc., 849 F. Supp. 2d 439, 443           claim of fraud by omission where they “allege[d] specific
                                                                  facts showing Defendants' knowledge and concealment of the
(D.N.J. 2012) (quoting     Frederico, 507 F.3d at 200).
                                                                  alleged defect”). This Court will not dismiss Plaintiffs' state-
                                                                  law fraudulent concealment claims for failure to meet the
 *21 Mercedes contends that Plaintiffs have failed to
                                                                  standards of Rule 9(b).
satisfy the what, who, where, or when of the alleged
fraudulent concealment, as required by Rule 9(b). In
                                                                  Mercedes concludes that “[b]ecause no plaintiff has
doing so, Mercedes mistakenly focuses on Mercedes'
                                                                  sufficiently alleged under Rule 9(b)'s heightened pleading
affirmative misrepresentations set forth in the FAC. For
                                                                  standard the what, who, where, and when of any fraud, no
example, Mercedes argues that “every plaintiff fails to
                                                                  plaintiff has adequately pled reliance, and all of their claims
plead sufficiently the ‘what’ to satisfy Rule 9(b) because
                                                                  must be dismissed.” (ECF No. 117-1 at 50–51). However, as
they fail to specify what false statements were allegedly
                                                                  the Court just found, Plaintiffs met the standards of Rule 9(b).
made regarding their vehicle.” (ECF No. 117-1 at 48–
                                                                  Even still, the burden of establishing reliance on an omission
49 (referring to Plaintiff Andary, who “allege[d] that she
                                                                  is not difficult. Plaintiffs need not “offer direct proof that the
read on the ‘Mercedes website’ ‘something about a “green
                                                                  entire class relied on defendant's representation that omitted
generation of Mercedes’ ” ”) (quoting FAC ¶ 33) ). With
                                                                  materials facts, where the plaintiffs have established that the
regard to the “who” element of Rule 9(b), Mercedes again
                                                                  defendant withheld these material facts for the purpose of
argues that “[f]orty-nine plaintiffs ... attribut[e] claimed
statements to dealership representatives or unidentified third-   inducing the very action the plaintiffs pursued.” Varacallo
party websites.” (ECF No. 117-1 at 49). In attacking              v. Mass. Mut. Life Ins. Co., 332 N.J. Super. 31, 50 (App.
Plaintiffs' fraudulent concealment claims, Mercedes applies a     Div. 2000); see also    Counts, 237 F. Supp. 3d at 596 97
heightened Rule 9(b) standard to affirmative statements that      (citing Varacallo and concluding that the plaintiffs need not
Plaintiffs no longer rely on except to show the materiality of    plead individualized reliance for fraud by omission under
the omissions.
                                                                  New Jersey law). 9
When looking at Plaintiffs' allegations concerning
                                                                   *22 Bosch also contends that Plaintiffs “fail[ed] to plead
Defendants' omissions, they have sufficiently notified
                                                                  any facts to suggest reliance on any specific or actionable
Mercedes and Bosch of the precise misconduct with
                                                                  representation by [it].” (ECF No. 118-1 at 59). However,
which they are charged. Plaintiffs allege that Defendants



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for the same reasons that Plaintiffs need not establish             in the maintenance schedules that the timing belt, which
direct reliance on Mercedes representations, they need not          performs the same function as the Timing Chain System, will
establish direct reliance on Bosch's: they allege that Bosch        need service after a certain time but makes no representation
intentionally withheld the existence of the defeat device while     that the Timing Chain System will need maintenance”);
simultaneously promoting clean diesel technology around the         Strawn v. Canuso, 271 N.J. Super. 88, 104 (App. Div. 1994)
country.                                                            (establishing a duty on buyers and brokers of real estate
                                                                    to disclose the existence of off-site conditions that were
Under New Jersey law, “courts will not imply a duty                 unknown to the buyer but that were known or should have
to disclose, unless such disclosure is necessary to make            been known to the seller and that would reasonably and
a previous statement true or the parties share a ‘special           foreseeably affect the value or desirability of the property),
relationship.’ ” Lightning Lube, Inc. v. Witco Corp., 4 F.3d        aff'd   140 N.J. 43 (1995).
1153, 1185 (3d Cir. 1993). The categories of relationships
that give rise to a duty to disclose are: “(1) fiduciary             *23 In fact, in Strawn, the New Jersey Supreme Court
relationships, such as principal and agent, client and attorney,    adopted the interpretation of the Restatement (Second) of
or beneficiary and trustee; (2) relationships where one party       Torts which imposes a “duty upon a party to disclose to
expressly reposits trust in another party, or else from the         another ‘facts basic to the transaction, if he knows that the
circumstances, such trust necessarily is implied; and (3)           other is about to enter into it under a mistake ... and the other,
relationships involving transactions so intrinsically fiduciary     because of the relationship between them, the customs of
that a degree of trust and confidence is required to protect the    the trade or other objective circumstances, would reasonably
parties.” Id. Here, Plaintiffs do not assert that they fall into    expect a disclosure of those facts,’ ” where the nondisclosure
one of the special relationship categories with Defendants.         of those facts amounts to taking advantage of the plaintiffs
As such, the Court will only focus on the parties' arguments        ignorance, such that it would be “shocking to the ethical sense
challenging whether or not a duty to disclose existed to make       of the community, and [would be] so extreme and unfair,
a previous statement true. 10                                       as to amount to a form of swindling.’ ”         United Jersey
                                                                    Bank v. Kensey, 306 N.J. Super. 540, 554 (App. Div. 1997)
Mercedes claims that Plaintiffs “cannot establish that              (citations omitted). It is this Court's opinion that Mercedes
disclosure was necessary to make true a previous statement          and Bosch's active concealment of the existence of the defeat
made by [Mercedes],” because “the alleged representations
                                                                    device amounts to such a situation. Cf.  FCA, 295 F. Supp.
vary from plaintiff to plaintiff.” (ECF No. 117-1 at 53).
                                                                    3d at 1009 (finding that allegations of defendants' active
Mercedes argues that this distinguishes the facts at hand
                                                                    concealment of the defeat devices was sufficient to establish
from     In re Volkswagen Timing Chain Products Liability
                                                                    a duty to disclose under New Jersey law);     Counts, 237 F.
Litigation, No. 16-2765, 2017 WL 1902160 (D.N.J. May
                                                                    Supp. 3d at 600 (noting that the defendant's alleged active
8, 2017), because in Timing Chain, the partial disclosures
                                                                    concealment of the defeat device was sufficient to establish a
were uniform. (ECF No. 117-1 at 53). The Court disagrees
and finds that the facts at hand establish a duty to disclose       duty to disclose in some states). 11
for Mercedes and Bosch. Here, Plaintiffs set forth numerous
examples of Mercedes' nationwide marketing efforts to
                                                                    F. Plaintiffs' State Statutory Claims
promote its BlueTEC clean diesel vehicles. (FAC ¶¶ 323–
27). In none of those examples does Mercedes disclose that             1. Rule 9(b), Causal Nexus, and False, Deceptive, or
the purported benefits of the BlueTEC engine could only                Misleading Statements
be achieved through or were completely obscured by the              Mercedes argues that Plaintiffs fail to state claims for
use of a defeat device. These allegations are sufficient to         violations of various states' consumer protection statutes
establish partial disclosures that Mercedes had an obligation       under Rule 9(b) because Plaintiffs have not pled a “causal
to make true. See       Timing Chain, 2017 WL 1902160, at           nexus” between Mercedes' unlawful conduct and Plaintiffs'
*20 (finding that the plaintiffs plead a partial disclosure after   injury with enough specificity and because Plaintiffs have
which the defendant had a duty to disclose “any and all             “failed to allege facts establishing that the Mercedes
information regarding the Timing Chain System” to plaintiffs,       Defendants made” false, deceptive, or misleading statements.
where the plaintiffs alleged that the defendant “represent[ed]      (ECF No. 117-1 at 54–55). Mercedes attempts to address


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these state-specific arguments by citing to an “Appendix B,”         they have failed “to identify any purportedly false affirmative
attached to their brief. (ECF No. 117 at 54–55). Appendix            misrepresentation by” Bosch, they have not identified Bosch's
B is a six-page document containing four columns: the state          duty to disclose, and they have not alleged any injury as
law that applies, the causes of action under that state's law,       a result of Bosch's conduct. (ECF No. 118-1 at 60). By
the elements of the cause of action that Plaintiffs allegedly        Bosch's own admission, an omission suffices as a “material
fail to establish, and “relevant authorities.” (ECF No. 117-3        misrepresentation” under the MCPA. (ECF No. 118-1 at 60).
at 1–6). There is no context or analysis accompanying                The Court has already established that Bosch made material
this document. Two courts have rejected similar attempts             omissions that it had a duty to disclose. Supra Section III.E.
to argue that Plaintiffs have failed to meet the pleading            Additionally, the Court has rejected Bosch's argument that
requirements of various states' consumer protection statutes         Plaintiffs have not adequately pled that they suffered an injury
                                                                     as a result of Bosch's conduct. Supra Section III.A.2.ii.
through an appendix. See          FCA, 295 F. Supp. 3d at 1015
(deeming arguments made in a joint appendix regarding the
plaintiffs' failure to allege reliance, a deceptive act, omission,      2. Ascertainable Loss under New Jersey and Florida Law
or practice, and a concrete, nonspeculative loss in relation         Mercedes argues that Plaintiffs Caputo, Caniero, Watkins,
to consumer protection claims as waived);           Counts, 237      Carroll, and Cunningham “fail to plead injury with the
F. Supp. 3d at 593–94 (“Neither party makes a colorable              specificity required under the consumer protection statutes
effort to individually address the validity of Plaintiffs' ...       of New Jersey and Florida because they have not alleged
consumer protection ... claims on a state specific basis. Rather,    sufficient facts to show they suffered an ascertainable
each attempts to ‘raise’ certain state-specific arguments            loss.” (ECF No. 117-1 at 56). Ascertainable loss is an essential
by referencing appendices attached to their briefing.... The         element of a claim under the New Jersey Consumer Fraud Act
parties' scattershot effort to raise arguments and defenses by       (NJCFA).       Smajlaj v. Campbell Soup Co., 782 F. Supp. 2d
simply citing to dozens, if not hundreds, of state court cases       84, 97 (D.N.J. 2011). Mercedes claims that because Plaintiffs
will not be addressed.”). This Court will also do the same. As       have failed to plead how much they paid for their vehicles and
in Counts, this Court agrees that “[c]ourts are not responsible      how much a comparable vehicle would cost, they have not
for combing through appendices in an attempt to sua sponte           satisfied the standard for ascertainable loss. (ECF No. 117-1
raise and resolve legal arguments which the parties have not
                                                                     at 56 (citing      In re Riddell Concussion Reduction Litig.,
briefed.”    237 F. Supp. 3d at 594.                                 77 F. Supp. 3d 422, 439 (D.N.J. 2015) ) ). Plaintiffs contend
                                                                     that Riddell is in conflict with New Jersey Supreme Court
In any event, Mercedes' arguments regarding causal nexus             precedent, suggesting that New Jersey's highest court does not
and false, deceptive, or misleading statements have been             require a plaintiff to plead a price comparison, because “if the
adequately addressed elsewhere in this Opinion. As to the            damages calculation were so simple, expert testimony would
existence of a causal nexus, this Court conducted an in-             never be necessary.” (ECF No. 126 at 66–67).
depth analysis of the causal link between Mercedes' alleged
unlawful conduct and Plaintiffs' alleged injuries in the             Here, Mercedes has the better argument. “In cases
portions of the brief discussing Article III standing and RICO       involving ... misrepresentation, either out-of-pocket loss or
causation. See supra Sections III.A.2, B.2. With respect to          a demonstration of loss in value will suffice to meet the
whether Plaintiffs have adequately pled false, deceptive, or
misleading statements, that has been discussed throughout,           ascertainable loss hurdle ....”  Thiedemann v. Mercedes-
but particularly in reference to Plaintiffs' common law              Benz USA, LLC, 183 N.J. 234, 248 (2005). In demonstrating
fraud claims supra Section III.E. This Court also notes that         that out-of-pocket loss or loss in value, the New Jersey
Duramax analyzed the state consumer protection claims in             Supreme Court has explicitly endorsed the necessity of a
conjunction with the state common law fraud claims without           price comparison in pleadings seeking to state a claim under

meaningful distinction.      298 F. Supp. 3d at 1057–65.             the NJCFA. See     D'Agostino v. Maldonado, 216 N.J. 168,
                                                                     191 (2013) (detailing that an ascertainable loss must be
                                                                     capable of calculation);       Thiedemann, 183 N.J. at 248
   1. Bosch and the Michigan Consumer Protection Act
                                                                     (describing ascertainable loss as “not hypothetical or illusory”
 *24 Bosch argues that Plaintiffs fail to state a claim under
                                                                     and a loss that “must be presented with some certainty
the Michigan Consumer Protection Act (“MCPA”), because


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demonstrating that it is capable of calculation, although it         As to Florida's Deceptive and Unfair Trade Practices Act
need not be demonstrated in all its particularity”). This district   (FDUTPA), this Court agrees with Judge Simandle in Riddell
has interpreted the New Jersey Supreme Court precedent to            that actual damages under the FDUTPA are measured as “the
                                                                     difference in the market value of the product or service in the
require this price comparison as well. E.g.,         Riddell, 77
                                                                     condition in which it was delivered and its market value in the
F. Supp. 3d at 439;     Smajlaj, 782 F. Supp. 2d at 100–01.          condition in which it should have been delivered according to
In fact, in Bosland v. Warnock Dodge, Inc., the New Jersey
                                                                     the contract of the parties.”   77 F. Supp. 3d at 439 (quoting
Supreme Court addressed the question of ascertainable loss
in an automobile overcharge case. There, the Supreme Court               Rollins, Inc. v. Butland, 951 So. 2d 860, 869 (Fla. Dist.
held that “the overcharge in question is one that can be readily     Ct. App. 2006) ). However, this Court does not agree that
quantified and thus [ ] ascertainable within the meaning of          this definition from Rollins establishes a pleading standard, as
                                                                     nothing in that case indicates that the Florida District Court
the CFA.”     197 N.J. 543, 559 (2009). The plaintiff in
                                                                     of Appeal intended that definition to apply as a hurdle that
Bosland though had specifically outlined the fee payments
                                                                     must be cleared at the motion to dismiss phase. In fact, the
demonstrating that she could have been overcharged by either
                                                                     11th Circuit, the Southern District of Florida, and other courts
$40 or $20.     Id. at 548.                                          analyzing FDUTPA have held that the pleading standard for
                                                                     a an FDUTPA claim is less stringent than the definition of
Plaintiffs have not done that here. In their brief they do not
                                                                     actual damages. See, e.g.,      Fitzpatrick v. General Mills,
set forth any instances of a price comparison in the FAC, nor
                                                                     Inc., 635 F.3d 1279, 1283 (11th Cir. 2011) (“[E]ach putative
can the Court find any. What Plaintiffs have done is set the
                                                                     class member would only need to show that he or she paid
table for a price comparison, alleging that Plaintiffs would
                                                                     a premium for YoPlus to be entitled to damages under the
not have purchased or leased the BlueTEC vehicles at the
                                                                     FDUTPA.”); Hasemann v. Gerber Prods. Co., No. 15-2995,
prices they paid, or would have purchased or leased a less
                                                                     2016 WL 5477595, at * 21 (E.D.N.Y. Sept. 28, 2016) (“A
expensive alternative. (E.g., FAC ¶ 535). They have not gone
                                                                     plaintiff may recover damages under the FDUTPA by alleging
one step further to compare the price of a Polluting Vehicle
                                                                     that the plaintiff ‘paid a price premium’ for the allegedly
with what they believe to be a comparable replacement.
                                                                     deceptive product.”) (quoting       Carriuolo v. Gen. Motors
E.g.,    Smajlaj, 782 F. Supp. 2d at 103 (finding a sufficient
allegation of ascertainable loss where plaintiffs alleged that       Co., 823 F.3d 977, 986 (11th Cir. 2016) ); Moss v. Walgreen
when they bought a can of soup mislabeled as low-sodium              Co., 765 F. Supp. 2d 1363, 1367 n.1 (S.D. Fla. 2011) (stating
they overpaid for what was essentially full-sodium soup that         that a consumer suffers damages when she pays “more for
they alleged to be 20 to 80 cents cheaper).                          the product than she otherwise would have,” based on a
                                                                     manufacturer's deceptive practice, regardless of whether or
 *25 Additionally, Plaintiffs' argument that expert testimony        not the consumer relied on the deceptive practice). Thus,
would never be required if the NJCFA only allowed claims             Plaintiffs have adequately stated their FDUTPA claim.
with easily calculable ascertainable losses misses the mark.
This is because, as mentioned above, the pleading need not
demonstrate the ascertainable loss “in all its particularity.”          3. Statutory Time Bars
                                                                     Mercedes next argues that Plaintiff Mose's Alabama claim,
   Thiedemann, 183 N.J. at 248. Ascertainable loss sets “the         Findlay and Rubey's Indiana claims, and Watkins' Florida
stage for establishing the measure of damages.” Id. “There is        claim are time barred, as those statutes of limitation
no calculation of ‘damages sustained’ unless the ascertainable       and repose “begin to run from the date that the alleged
loss requirement is first satisfied. The two concepts indeed         tort occurred—i.e., the original purchase date of the
have separate functions in the analysis.”     D'Agostino, 216        vehicles.” (ECF No. 117-1 at 57).
N.J. at 192. Thus, the idea that requiring Plaintiffs to plead
ascertainable loss as described above will necessarily write         The parties do not dispute that Alabama's consumer
out a nuanced calculation of damages is incorrect. As such,          protection statute is subject to a four-year statute of repose.
Plaintiffs have failed to state a claim under the NJCFA. The         Mercedes presumes that Mose's purchase took place “in or
Court will allow Plaintiffs to amend this claim.                     near 2007,” because it was a 2007 model vehicle. (ECF No.
                                                                     117-1 at 57). However, the FAC explicitly states that Mose



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purchased his vehicle in February of 2013, (FAC ¶ 29), and            Mercedes also argues that Plaintiffs' claims under the
thus falls within the statute of repose. Mercedes also argues in      consumer protection laws of Alabama, Georgia, Mississippi,
a footnote that because Mose asserted an Alabama Deceptive            Montana, Ohio, South Carolina, and Tennessee are barred
Trade Practices Act, he waived his right to bring other claims.       because the consumer protection laws of those states do not
(ECF No. 117-1 at 57 n.25). Given that Mercedes asserted an           permit class actions. (ECF No. 117-1 at 59). Mercedes argues
argument on which there is a split of authority,    In re Gen.        that pursuant to     Shady Grove Orthopedic Associates, P.A.
Motors LLC Ignition Switch Litig., 257 F. Supp. 3d 372, 405           v. Allstate Insurance Company, 559 U.S. 393 (2010), Rule
(S.D.N.Y. 2017), in a footnote, this Court declines to address        23 does not override state substantive law to permit class
                                                                      actions in this situation. (ECF No. 117-1 at 59). This Court
that argument.     John Wyeth & Bro. Ltd. v. CIGNA Int'l
                                                                      has twice addressed and rejected this argument. In re Liquid
Corp., 119 F.3d 1070, 1076 n.6 (3d Cir. 1997) (“[A]rguments
raised in passing (such as, in a footnote), but not squarely          Aluminum Sulfate Antitrust Litig., 16-md-2687,      2017 WL
argued, are considered waived).                                       3131977, at *25 (D.N.J. July 20, 2017) (holding that Shady
                                                                      Grove instructs that state consumer protection class action
 *26 As to Plaintiff Watkins' Florida claim, Mercedes again           bars do not apply to those claims if brought as a class action
argues that because Watkins purchased a used vehicle in
                                                                      under     Federal Rule of Civil Procedure 23);        Timing
2013, the vehicle must have originally been sold prior
                                                                      Chain, 2017 WL 1902160, at *24 (holding the same); see also
to 2013 and thus is subject to a four-year statute of
                                                                      Fitzgerald v. Gann Law Books, Inc., 956 F. Supp. 2d 581, 586
limitations. (ECF No. 117-1 at 57–58). Mercedes cites no
                                                                      (D.N.J. 2013) (“Shady Grove holds that, even where a federal-
law supporting its proposition that the original sale date of
the new car is what starts the clock running on the statue of         court plaintiff asserts a state-law cause of action, Rule 23
limitations rather than the purchase date of the used car by          may permit class-wide relief where state law would deny it.”).
Plaintiff Watkins. Moreover, Mercedes incorrectly argues that
FDUTPA's statute is not tolled by the actions at bar.         In re   G. Arbitration
Takata Airbag Prods. Liab. Litig., 193 F. Supp. 3d 1324,1344,         Mercedes' final argument is that two plaintiffs, Andary and
1346 (S.D. Fla. 2016) (stating that “the doctrine of fraudulent       Feller, are bound to arbitrate all of their claims pursuant to
concealment will operate to toll the statute of limitations when      their purchase agreements. (ECF No. 117-1 at 61). Generally,
it can be shown that fraud has been perpetrated on the injured        an agreement to arbitrate a dispute “is a matter of contract
party sufficient to place him in ignorance of his right to a cause    and a party cannot be required to submit to arbitration any
of action or to prevent him from discovering his injury,” and
                                                                      dispute which he has not agreed so to submit.”         E.M.
tolling the plaintiffs FDUTPA claim based on this reasoning).
                                                                      Diagnostic Sys., Inc. v. Local 169, Int'l Bhd. of Teamsters,
Plaintiff Watkins' FDUTPA claim is not barred by the statute
                                                                      Chauffeurs, Warehousemen & Helpers of America, 812 F.2d
of limitations.
                                                                      91, 94 (3d Cir. 1987) (quoting       United Steelworkers of
With respect to Findlay and Rubey's Indiana consumer                  Am. v. Warrior & Gulf Navigation Co., 363 U.S. 574, 582
protection claims, Mercedes again uses the vehicle model              (1960) ). The Federal Arbitration Act (“FAA”), applies to
years as the purchase dates, (ECF No. 117-1 at 58),                   arbitration clauses contained in contracts involving matters
when Findlay purchased his vehicle in August 2015 and
                                                                      of interstate commerce. See        9 U.S.C. § 2;    Moses H.
Rubey purchased his vehicle in January 2014. This would
                                                                      Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24
put Findlay's purchase inside the two year statute of
                                                                      (1983). When a party, whose claims are subject to the FAA,
limitations.   Ind. Code § 24-5-0.5-5(b). As to Rubey's               refuses to arbitrate the district court must decipher whether
purchase, Mercedes' alleged active and intentional fraudulent
                                                                      the claims are arbitrable.  Medtronic Ave, Inc. v. Advanced
concealment operates to toll the statute of limitations.
                                                                      Cardiovascular Sys., Inc., 247 F.3d 44, 54 (3d Cir. 2001)
Cwiakala v. Economy Autos, Ltd., 587 F. Supp. 1462, 1466
(N.D. Ind. 1984).                                                     (citing   AT&T Techs., Inc. v. Comms. Workers of Am., 475
                                                                      U.S. 643, 649 (1986) ). In doing so, the district court applies
                                                                      “the relevant state contract law to questions of arbitrability,
  4. State Consumer Protection Class Action Bars                      which may be decided as a matter of law only if there is no
                                                                      genuine issue of material fact when viewing the facts in the


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light most favorable to the nonmoving party.” Aliments Krispy      Mercedes admits that it was not a signatory to these purchase
Kernels, Inc. v. Nichols Farms, 851 F.3d 283, 288–89 (3d Cir.      or lease agreements. (ECF No. 117-1 at 62). As this Court
2017).                                                             explained in Timing Chain:

 *27 “[F]ederal policy favors arbitration and thus a court           Basic contract law requires parties to be in privity with
resolves doubts about the scope of an arbitration agreement          each other in order for them to enforce the terms of
                                                                     a contract. See Black's Law Dictionary (10th ed. 2014)
in favor of arbitration.”   Medtronic, 247 F.3d at 55 (citing        (defining privity of contract as “[t]he relationship between
   Moses H. Cone, 460 U.S. at 24–25). However, “[i]f there is        the parties to a contract, allowing them to sue each
doubt as to whether such an agreement [to arbitrate] exists, the     other but preventing a third party from doing so”). Since
matter, upon a proper and timely demand, should be submitted         the parties never personally entered into an agreement
                                                                     with each other, no privity of contract between Plaintiffs
to a jury.”     Par-Knit, Par-Knit Mills, Inc. v. Stockbridge
                                                                     and Defendant can be established Hence, without privity
Fabrics Co., 636 F.2d 51, 54 (3d Cir. 1980), abrogated on
                                                                     of contract between the parties, Defendant ... cannot
other grounds by Aliments, 851 F.3d at 287–88. In considering
                                                                     enforce the arbitration clause contained within the purchase
a motion to compel arbitration, a court must engage in a two-
                                                                     and/or lease agreements signed by Plaintiffs and the
step analysis: it must determine first whether there is a valid
                                                                     various dealerships. Thus, in accordance with [Century
agreement to arbitrate and, if so, whether the specific dispute
                                                                     Indemnification Company,] there is no valid agreement
falls within the scope of said agreement. See       Century          between the parties that this Court can enforce, and the
Indem. Co. v. Certain Underwriters at Lloyd's, 584 F.3d 513,         Motion to Compel Arbitration must be denied.
523 (3d Cir. 2009).
                                                                      2017 WL 1902160, at *8.
Andary and Feller's arbitration provision reads as follows:
                                                                   Even still, Mercedes argues, this is the type of relationship in
  ARBITRATION PROVISION
                                                                   which a non-signatory can enforce the arbitration agreement.
  PLEASE REVIEW • IMPORTANT • AFFECTS YOUR                         (ECF No. 117-1 at 62). Courts have permitted “non-
  LEGAL RIGHTS                                                     signatory third party beneficiaries to compel arbitration
                                                                   against signatories of arbitration agreements.” E.I. DuPont
  1. EITHER YOU OR WE MAY CHOOSE TO HAVE
                                                                   de Nemours and Co. v. Rhone Poulenc Fiber and Resin
     ANY DISPUTE BETWEEN US DECIDED BY
                                                                   Intermediates, S.A.S., 269 F.3d 187, 195 (3d Cir. 2001). For
     ARBITRATION AND NOT IN COURT OR BY JURY
                                                                   example, courts have “bound a signatory to arbitrate with a
     TRIAL.
                                                                   non-signatory at the nonsignatory's insistence because of the
  2. IF A DISPUTE IS ARBITRATED, YOU WILL                          close relationship between the entities involved, as well as
    GIVE UP YOUR RIGHT TO PARTICIPATE AS A                         the relationship of the alleged wrongs to the nonsignatory's
    CLASS REPRESENTATIVE OR CLASS MEMBER                           obligations and duties in the contract ... and [the fact that] the
    ON ANY CLASS CLAIM YOU MAY HAVE                                claims were intimately founded in and intertwined with the
    AGAINST US INCLUDING ANY RIGHT TO CLASS                        underlying contract obligations.”    E.I. DuPont, 269 F.3d at
    ARBITRATION OR ANY CONSOLIDATION OF                            199 200 (citations and quotations omitted). “The distinction
    INDIDIVDUAL ARBITRATIONS.                                      between signatories and non-signatories is important to
                                                                   ensure that short of piercing the corporate veil, a court does
  3. DISCOVERY AND RIGHTS TO APPEAL IN
                                                                   not ignore the corporate form of a non-signatory based solely
    ARBITRATION ARE GENERALLY MORE LIMITED
    THAN IN A LAWSUIT, AND OTHER RIGHTS THAT                       on the interrelatedness of the claims alleged.”      Id. at 202.
    YOU AND WE WOULD HAVE IN COURT MAY NOT
    BE AVAIABLE IN ARBITRATION.                                     *28 This Court rejected the same argument         in Timing
                                                                   Chain. 2017 WL 1902160, at *9. As in Timing Chain, the FAC
(ECF No. 117-4 at 9, 13).
                                                                   indicates that Plaintiffs each purchased and/or leased their
                                                                   vehicle from an authorized car dealership, that they entered
                                                                   into the purchase or lease agreement with that dealership,


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                                                                For the reasons stated herein, Mercedes' motion to dismiss the
and that the agreement contained only the dealership's name
                                                                First Amended Complaint is granted in part and denied in part,
and Andary and Feller's names. “Accordingly, there [is] no
                                                                and Bosch's motion to dismiss the First Amended Complaint
relationship, let alone a close one, that” indicates that the
                                                                is denied. An appropriate Order accompanies this Opinion.
Court should permit Mercedes to enforce the arbitration
agreements. As such Mercedes' motion to compel arbitration
is denied.                                                      All Citations

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                                                        Footnotes


1      The facts as stated herein are taken as alleged in the FAC, (ECF No. 107).
2      The Polluting Vehicles consist of the following Mercedes models powered by BlueTEC diesel engines: ML
       320, ML 350, GL 320, E320, S350, R320, E Class, GL Class, ML Class, R Class, S Class, GLK Class, GLE
       Class, and Sprinter. (FAC ¶ 18).
3      Bosch also argues that the R320 and GLE types of the Polluting Vehicles should excluded from the claims
       because, “Plaintiffs have no standing to pursue claims based on Affected Vehicles that they did not purchase
       or lease.” (ECF No. 118-1 at 13–14). This argument is premature at the motion to dismiss stage. Luppino
       v. Mercedes-Benz USA, LLC, No. 09-5582, 2013 WL 6047556, at *6 (D.N.J. Nov. 12, 2013) (finding that
       “dismissal of Plaintiffs' claims related to vehicle wheel tire combinations Plaintiffs did not purchase would be
       premature” at the motion to dismiss stage).
4      Plaintiffs diminished value theory is articulated as follows: “Moreover, when and if Mercedes recalls the
       Polluting Vehicles and degrades the BlueTEC Clean Diesel engine performance and fuel efficiency in order
       to make the Polluting Vehicles compliant with EPA standards, Plaintiffs and Class members will be required
       to spend additional sums on fuel and will not obtain the performance characteristics of their vehicles when
       purchased. Moreover, Polluting Vehicles will necessarily be worth less in the marketplace because of their
       decrease in performance and efficiency and increased wear on their cars' engines.” (FAC ¶ 332).
5      The actionability of the misstatements as puffery are addressed infra Section III.B.3.iv. To the extent Bosch
       claims that Plaintiffs are trying to enforce compliance with emissions standards, that argument is addressed
       by Parts III.B.2.i and III.C.
6      Duramax also explicitly rejects “Bosch's repeated argument that Plaintiffs must specifically allege that Bosch
       used the mail or wire to defraud,” as “simply, wrong,” and notes that even though the plaintiffs had not
       “specifically alleged the date of the applications or the specific identity of the employee who prepared them,”
       the plaintiffs had “alleged enough detail to put Defendants on notice of the alleged predicate acts.” Id.
7
       The key cases that Defendants rely on in support of their express preemption argument, such as               Morales
       v. Trans World Airlines, Inc., 504 U.S. 374 (1992),        Jackson v. Gen. Motors Corp., 770 F. Supp. 2d 570
       (S.D.N.Y. 2011), and        In re Office of Att'y Gen. of N.Y., 709 N.Y.S.2d 1 (App. Div. 2000), have already
       been discussed at length and distinguished appropriately by the four cases cited in this paragraph. As such,
       in the interest of judicial economy, the Court refers the parties to the appropriate discussion of these cases
       in Volkswagen, FCA. Duramax, and Counts.
8      Mercedes' challenges to fraudulent concealment claims under laws other than New Jersey's are few.
       Defendant alleges that there is no private cause of action for fraudulent concealment under Connecticut law,
       (ECF No. 117-1 at 48 n.17 (citing Traylor v. Awwa, 899 F. Supp. 2d 216, 224 25 (D. Conn. 2012) ) ), and



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       argues that a commercial transaction does not give rise to a duty to disclose under Illinois law, and thus
       mirrors New Jersey law, (ECF No. 117-1 at 52 n.22). The Court agrees with Plaintiffs regarding Connecticut
       law, in that Connecticut recognizes claims for fraudulent concealment but calls them fraud by “suppression”
       or “nondisclosure.” Reville v. Reville, 312 Conn. 428, 441 (2014) (“Fraud by nondisclosure ... involves the
       failure to make a full and fair disclosure of known facts connected with a matter about which a party has
       assumed to speak, under circumstances in which there is a duty to speak.... A lack of full and fair disclosure of
       such facts must be accompanied by an intent or expectation that the other party will make or will continue in a
       mistake, in order to induce that other party to act to her detriment.”). As to the question of whether Defendants
       had a duty to disclose under Illinois law, that question is answered below.
9      Mercedes does not brief the Court on the differences in the laws of the various state subclasses with respect
       to reliance and fraudulent concealment. To the extent that Mercedes purports to rely on Appendix A to its brief,
       that attachment does not provide state-specific legal citation or information beyond a boilerplate statement
       that there was a “[f]ailure to satisfy Rule 9(b) with respect to reliance, by failing to allege the what and when
       of the purported fraud.” (e.g., ECF No. 117-2 at 4 (referencing Plaintiff Roberts) ). Thus, the Court declines
       to do a state-by-state analysis on the differing requirements for pleading reliance in fraudulent concealment
       claims at this stage. See    Counts, 237 F. Supp. 3d at 597 (deciding that “the Court will not sua sponte
       analyze the elements of fraudulent concealment from each state's law that Plaintiffs purport to sue under”
       where the defendant did not specifically raise the argument).
10     Bosch ignores the aspect of the duty to disclose that flows from a previous false statement and instead only
       focuses on the existence of a special relationship. (ECF No. 118-1 at 59).
11     As to Mercedes' contention that Illinois law would also not impose a duty to disclose in this scenario, that
       argument fails. See     Heider v. Leewards Creative Crafts, 613 N.E.2d 805, 814 (1993) (“Mere silence
       in a business transaction does not amount to fraud. Yet, silence accompanied by deceptive conduct or
       suppression of material facts gives rise to active concealment; it is then the duty of the party which has
       concealed information to speak.”).


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                                                              The Device differs from typical hip implants in that it is
                                                              lined with cobalt-chromium metal rather than polyethylene or
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                                                              plastic. Id. ¶ 20. According to Metcalfe, the cobalt-chromium
    Only the Westlaw citation is currently available.
                                                              lining leads to “prosthesis-derived metal wear debris” and/or
             NOT FOR PUBLICATION
                                                              “surface corrosion,” and fluid accumulation and soft tissue
     United States District Court, D. New Jersey.
                                                              and/or bone death inside the hip. Id. ¶ 30. These dangers were
             David METCALFE Plaintiff,                        allegedly well-known as early as 1996, see id. ¶¶ 31-34, and
                          v.                                  Biomet was aware of them at all time relevant to this action,
       BIOMET, INC., Biomet Orthopedics, LLC,                 id. ¶ 37.
         Biomet U.S. Reconstruction, LLC, and
                                                              Biomet nonetheless marketed the Device as safe, effective,
       Biomet Manufacturing, LLC Defendants.
                                                              and superior to other hip replacement products. Id. ¶ 38.
             Civ. No. 18-CV-456-WHW-CLW                       As example, a Biomet marketing brochure—that Metcalfe’s
                            |                                 orthopedic surgeon received—asserted that the Device
                   Signed 01/15/2019                          “offers optimal joint mechanic restoration” and that studies
                                                              “have shown no definitive correlation of negative health
Attorneys and Law Firms                                       issues ... from metal-on-metal implants” like the Device.
                                                              Id. ¶¶ 39-40. Biomet also stated in 2011 in the Journal of
Nicholas Rocco Farnolo, Napoli Shkolnik, Melville, NY, for    Arthroplasty that the Device has a “revision rate” of “less than
Plaintiff.                                                    2.5%.” Id. ¶ 41. In sum, Biomet represented that the Device
                                                              was safe.
Edward J. Fanning, Jr., Jean Paige Patterson, McCarter &
English LLP, Newark, NJ, for Defendants.
                                                              Metcalfe alleges that the Biomet Device implanted in him
                                                              was defective and that he required a second hip replacement
                                                              surgery. Id. ¶ 54. As a result of the defective Device, Metcalfe
                        OPINION
                                                              claims he was harmed in several ways: permanent harm from
William H. Walls, Senior United States District Judge         severe metal poisoning and metallosis, medical complications
                                                              typically associated with a second hip replacement, lost
 *1 In this products liability action, Defendants Biomet,     wages, and extra medical expenses. Id. ¶ 53.
Inc., Biomet Orthopedics, LLC, Biomet U.S. Reconstruction,
LLC, and Biomet Manufacturing, LLC (collectively,             Metcalfe sued Biomet for providing the allegedly defective
“Biomet”) move to dismiss three counts of the Amended         Device to Metcalfe’s original surgeon, and for causing
Complaint under Federal Rule of Civil Procedure 12(b)(6).     Metcalfe physical and monetary harm. Id. ¶ 1. Metcalfe
ECF No. 9. Plaintiff David Metcalfe opposes. ECF No. 26.      asserts claims for:
Decided without oral argument under Federal Rule of Civil
Procedure 78, the motion to dismiss is granted in part and      (i) design defect strict liability (Count 1);
denied in part.
                                                                 *2 (ii) inadequate warning strict liability (Count 2);

                                                                (iii) manufacturing defect strict liability (Count 3);

             FACTUAL BACKGROUND 1                               (iv) breach of express warranty (Count 4);

Biomet designed, manufactured, marketed, and sold a             (v) negligence (Count 5); and
medical prosthesis called the M2a Magnum Hip Metal-on-
Metal Hip System (the “Device”). ECF No. 6 (“Am. Compl.”)       (vi) negligent misrepresentation (Count 6)
¶¶ 1, 7, 9, 10, 12, 14. Metcalfe underwent hip replacement
                                                              Id. ¶¶ 69-127. Biomet moves to dismiss Counts 4 through 6.
surgery in 2014 during which the Device was implanted. Id.
                                                              ECF No. 9.
¶ 52.




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                                                                     where “essential nature of Plaintiffs’ case is in fact that of a
                                                                     traditional product liability action”).
                 STANDARD OF REVIEW

Rule 12(b)(6) allows for dismissal where the non-moving
                                                                        2. Breach of Express Warranty (Count 4)
party fails to state a claim upon which relief can be granted.
                                                                     Biomet also moves to dismiss Metcalfe’s claim for breach of
“To survive a motion to dismiss, a complaint must contain
                                                                     express warranty. An express warranty is created by “[a]ny
sufficient factual matter, accepted as true, ‘to state a claim
                                                                     affirmation of fact or promise made by the seller to the buyer
to relief that is plausible on its face.’ ”     Ashcroft v. Iqbal,   which relates to the goods and becomes part of the basis of
556 U.S. 662, 678 (2009) (quoting        Bell Atlantic Corp. v.      the bargain,” “[a]ny description of the goods which is made
Twombly, 550 U.S. 544, 570 (2007) ). A claim is plausible on         part of the basis of the bargain,” or “[a]ny sample or model
its face “when the plaintiff pleads factual content that allows      which is made part of the basis of the bargain[.]” N.J.S.A. §
the court to draw the reasonable inference that the defendant        12A:2-313(1)(a)-(c). To state a claim for breach of express
is liable for the misconduct alleged.” Id. “A pleading that          warranty under New Jersey law, Metcalfe “must properly
offers labels and conclusions or a formulaic recitation of           allege (1) that [Biomet] made an affirmation, promise or
the elements of a cause of action will not do. Nor does a            description about the product; (2) that this affirmation,
complaint suffice if it tenders naked assertions devoid of           promise or description became part of the basis of the
further factual enhancement.” Id. (internal quotation marks          bargain for the product; and (3) that the product ultimately
omitted). “[W]here the well-pleaded facts do not permit the          did not conform to the affirmation, promise or description.”
court to infer more than the mere possibility of misconduct,         Kearney v. Bayerische Motoren Werke Aktiengesellschaft, No.
the complaint has alleged—but it has not ‘shown’—that the            CV1713544WHWCLW, 2018 WL 4144683, at *15 (D.N.J.
                                                                     Aug. 29, 2018). Biomet argues that Metcalfe has not alleged
pleader is entitled to relief.”   Id. at 679.                        “any facts to suggest an express warranty existed,” ECF no.
                                                                     9-1 at 9, and that if any did exist, they did not become the
                                                                     basis of the parties’ bargain, ECF No. 27 at 2-4.
                         DISCUSSION
                                                                      *3 Metcalfe contends that Biomet made express warranties
   1. Negligence (Count 5) and Negligent                             regarding the Device in two places: (1) the Biomet marketing
   Misrepresentation (Count 6)                                       brochure and (2) the 2011 Journal of Arthroplasty article. ECF
Biomet moves to dismiss Counts 5 and 6 because                       No. 26 at 5 (quoting Am. Compl. ¶¶ 39, 41). Biomet disagrees
“strict liability has superseded negligence” and negligent           for several reasons: that Metcalfe does not allege he or his
misrepresentation causes of action under New Jersey’s                doctor ever read the 2011 Journal of Arthroplasty article, that
Product Liability Act, N.J.S.A. 2A:58C-1 et seq. (the “PLA”).        the marketing brochure is insufficiently attributed, and that
ECF No. 9-1 at 3-8. According to Biomet, “negligence is no           the marketing brochure’s statements are mere puffery. ECF
longer a basis for liability under the PLA.” Id. at 7. Metcalfe      No. 27 at 2-4.
responds that he “will not contest [Biomet]’s arguments
relating to” Counts 5 and 6. ECF No. 26 at 1 n.1.                    Regarding the 2011 Journal of Arthroplasty article, Metcalfe
                                                                     fails to allege that he or his doctor saw the article before the
Counts 5 and 6 are dismissed. The PLA is “the sole basis             Device was implanted. Am. Compl. ¶ 41. This is fatal to his
of relief under New Jersey law available to consumers                breach of express warranty claim regarding this statement.
injured by a defective product.”          Repola v. Morbark
Indus., Inc., 934 F.2d 483, 492 (3d Cir. 1991). Consequently,        In New Jersey, “a plaintiff effectuates the ‘basis of the
Metcalfe cannot bring claims for negligence and negligent            bargain’ requirement of section 2-313 by proving that she
                                                                     read, heard, saw or knew of the advertisement containing
misrepresentation. See    Port Auth. of New York & New
Jersey v. Arcadian Corp., 189 F.3d 305, 313 (3d Cir. 1999)           the affirmation of fact or promise.”   Cipollone v. Liggett
(dismissing negligence claim “based solely on harm caused            Grp., Inc., 893 F.2d 541, 567 (3d Cir. 1990), overruled on
by defendants’ allegedly defective products”); Indian Brand          other grounds,     505 U.S. 504 (1992). Because the 2011
Farms v. Novartis Crop Prot., Inc., 890 F. Supp. 2d 534, 547         Journal of Arthroplasty article is “neither a written warranty
(D.N.J. 2012) (dismissing negligent misrepresentation claim          delivered to the purchaser in connection with a sale nor an


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oral affirmation of fact or promise made to the purchaser         the warranty formed a basis of the bargain. One court in
                                                    2
in person by the seller,” Metcalfe must plead that he             this District recently granted a motion to dismiss on these
(or his doctor) saw Biomet’s statement. Id. n.29. Compare         grounds. See In re: Elk Cross Timbers Decking Mktg., 15-

    In re Caterpillar, Inc., C13 & C15 Engine Prod. Liab.         CV-18 (JLL),     2015 WL 6467730, at *29 (D.N.J. Oct. 26,
Litig., No. 1:14-CV-3722 JBS-JS, 2015 WL 4591236, at              2015) (dismissing breach of warranty claim because plaintiffs
*27 (D.N.J. July 29, 2015) (dismissing breach of express          “failed to plead which, if any, representations [ ] Plaintiffs
warranty claim where “Plaintiffs have not alleged that any        were aware of). As the Cipollone court explained, “It strains
of the Plaintiffs saw or relied upon the alleged marketing        the language to say that a statement is part of the ‘basis’ of
statements”), with Peruto v. TimberTech Ltd., 126 F. Supp. 3d     the buyer’s ‘bargain,’ when that buyer had no knowledge of
447, 455 (D.N.J. 2015) (plaintiffs who “alleged that they were    the statement’s existence.”     893 F.2d at 567.
exposed to specific affirmations of fact in product brochures,
videos and internet marketing” stated claim for breach of         Because Metcalfe did not plead that he or his surgeon was
express warranty). He has not done so. The 2011 Journal           aware of the 2011 Journal of Arthroplasty article, statements
of Arthroplasty article cannot support his breach of express      made in that article are not actionable.
warranty claim.
                                                                  Regarding the Biomet marketing brochure, the Court discerns
Some courts in this district have reached the opposite            three statements contained within the passage quoted by
conclusion—namely, that whether the plaintiff saw an alleged      Metcalfe: (1) the Device “offers optimal joint mechanical
warranty and by extension whether that warranty became            restoration,” (2) the Device “offers ... ultra low -wear rates
a basis of the bargain is inappropriate for resolution at         [sic] in vivo,” and (3) “[m]any studies conducted over the
the motion to dismiss stage. See McDonough v. Bayer               last several decades have shown no definitive correlation of
Healthcare, LLC, No. CIV. 10-442, 2011 WL 2119107, at *4          negative health issues to ion levels exhibited from metal-on-
(D.N.J. May 26, 2011) (“At this stage, it is sufficient that
                                                                  metal implants.” Am. Compl. ¶ 39. 3 Biomet contends that
Plaintiff has pleaded alleged warranties that plausibly could
                                                                  the marketing brochure is insufficiently attributed, and that
have been the basis of the bargain.”); Smith v. Merial Ltd.,
                                                                  the first two statements are mere puffery. ECF No. 27 at
No. CIV. 10-439, 2011 WL 2119100, at *7 (D.N.J. May 26,
                                                                  3-4. Biomet does not specifically address the third statement
2011) (same). This Court disagrees. Both decisions cite      In   regarding study results.
re Ford Motor Co. E-350 Van Prod. Liab. Litig. (No. II), No.
CIV03-4558(HAA), 2008 WL 4126264, at *5 (D.N.J. Sept.             Contrary to Biomet’s argument, the marketing brochure is
2, 2008) for the proposition that “whether an alleged warranty    sufficiently attributed to survive a motion to dismiss. Courts
was the basis of the bargain cannot be resolved on a motion to    in like circumstances have found similarly broad descriptions
dismiss[.]” See McDonough, 2011 WL 2119107, at *4; Smith,         of the source of an alleged misrepresentation to be adequate.
2011 WL 2119100, at *7. In re Ford did not involve a question
                                                                  See, e.g.,     Knipe v. SmithKline Beecham, 583 F. Supp.
as to whether the plaintiff had seen the alleged representation
                                                                  2d 602, 626 (E.D. Pa. 2008) (applying New Jersey law)
that Ford’s vehicle was a “15-passenger” van, but whether the
                                                                  (actionable statements “made in various articles, conferences,
plaintiff relied on Ford’s warranty that the van could safely
                                                                  and journals presented to the medical community”). By
seat 15 people in making its purchasing decision.     2008        quoting the marketing brochure at length, Metcalfe enables
WL 4126264, at *3-5. In re Ford does not adequately support       Biomet to identify which brochure he is suing over—giving
McDonough’s and Smith’s conclusions that any benefit of the       Biomet “fair notice of what the ... claim is and the grounds
bargain determination is premature on a motion to dismiss.
                                                                  upon which it rests.”     Twombly, 550 U.S. at 555 (quoting

 *4 Instead, logic compels the conclusion the Court reaches          Conley v. Gibson, 355 U.S. 41, 47 (1957) ).
today. A plaintiff must “plead[ ] factual content that allows
the court to draw the reasonable inference that the defendant     Biomet references several inapposite decisions for its contrary
                                                                  argument. In Johnson v. Brown & Williamson Tobacco Corp.,
is liable for the misconduct alleged.”    Iqbal, 556 U.S.
                                                                  the plaintiff failed to identify the statement giving rise to the
at 678. But if a plaintiff does not plead that he saw the
                                                                  alleged warranty—not merely the source of the statement.
alleged warranty, then a court cannot reasonably infer that



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                                                                  question to be determined by the trier of fact.”). This is a clear
   122 F. Supp. 2d 194, 206 (D. Mass. 2000). So too in
                                                                  case.
   Heisner ex rel. Heisner v. Genzyme Corp., No. 08-C-593,
2008 WL 2940811, at *8 (N.D. Ill. July 25, 2008). And in          The marketing brochure’s statement that the Device “offers ...
Simmons v. Stryker Corp., the plaintiff “identifie[d] no source   ultra low -wear rates [sic] in vivo” is not puffery. This
whatsoever of any alleged warranty.” No. CIV. A. 08-3451          statement is analogous to the one in Castrol that the
JAP, 2008 WL 4936982, at *2 (D.N.J. Nov. 17, 2008). Unlike        defendant’s product offers “longer engine life and better
in those cases, Metcalfe has identified the statements forming    engine protection.”   987 F.2d 939. Here, as in Castrol, the
the alleged warranty and their source—Biomet’s marketing          statement is “both specific and measurable by comparative
brochures. See Am. Compl. ¶ 39.
                                                                  research.”      Id. at 946. It is specific in that the statement
                                                                  deals with a particular aspect of the product—its wear rate—
Biomet next argues that the first and second statements in the
                                                                  rather than the Device’s overall quality. Cf. Guardavacarro v.
marketing brochure—(1) that the Device “offers optimal joint
                                                                  Home Depot, No. CV168796FLWDEA, 2017 WL 3393812,
mechanical restoration,” and (2) that the Device “offers ...
                                                                  at *8 (D.N.J. Aug. 8, 2017) (statement that ladder has “durable
ultra low -wear rates [sic] in vivo,” Am. Compl. ¶ 39—
                                                                  shoes that rest flat on [a] slip resistant pad or [are] held in spur
are “classic puffery” and not actionable. ECF No. 27 at 3.
                                                                  position with [the] SHU-Lock feature” specific enough to
According to Biomet, these are “[g]eneralized statements
about safety, effectiveness, or quality[.]” Id. at 4.             state breach of express warranty claim);     Stewart v. Smart
                                                                  Balance, Inc., No. CIV.A. 11-6174 JLL, 2012 WL 4168584,
*5 “Puffery is an exaggeration or overstatement expressed         at *11 (D.N.J. June 26, 2012) (“fat free” on milk container is
                                                                  actionable because it is “specific and guarantees the product
in broad, vague, and commendatory language.”         Castrol
                                                                  falls into a precise category”).
Inc. v. Pennzoil Co., 987 F.2d 939, 945 (3d Cir. 1993).
“[S]tatements that are nothing more than mere puffery are not
                                                                  And it is measurable in that it “create[s] a necessary
considered specific enough to create an express warranty.”
                                                                  comparison to ... competitors that is testable.” Brucker v.
Smith, 2011 WL 2119100, at *5; see also In re Toshiba Am.         State Farm Mut. Auto. Ins. Co., No. 17CV00084, 2017 WL
HD DVD Mktg. & Sales Practices Litig., Civ. No. 08-939,
                                                                  7732876, at *3 (W.D. Pa. May 26, 2017); see also      Clorox
2009 WL 2940081, at *16 (D.N.J. Sept. 10, 2009) (dismissing
                                                                  Co. Puerto Rico v. Proctor & Gamble Commercial Co.,
breach of warranty claim based on defendant’s statement that
                                                                  228 F.3d 24, 39 (1st Cir. 2000) (statement that “invites
HD DVD Players were for “Today, Tomorrow, and Beyond,”
                                                                  consumers to compare” product to competitors not puffery).
since statement is just “puffery”). A statement can amount to
                                                                  Unlike in Brucker, which dealt with the motto “like a good
a warranty, even if unintended to be such by the seller, ‘if it
                                                                  neighbor, State Farm is there,” Biomet’s statement regarding
could fairly be understood ... to constitute an affirmation or
                                                                  the Device’s wear rates does not “rel[y] on a subjective
representation that the [product] possesse[s] a certain quality
                                                                  opinion about the goods provided.” Id. Instead, a comparison
or capacity relating to future performance.’ ”   L.S. Heath       of the Device’s wear rate to the wear rates of competing
& Son, Inc. v. AT & T Info. Sys., Inc., 9 F.3d 561, 570 (7th      products would reveal whether the Device’s rate is “ultra
Cir. 1993) (quoting   Gladden v. Cadillac Motor Car Div.,         low.” This statement is actionable.
General Motors Corp., 83 N.J. 320, 326 (1980) ).
                                                                  The other contested statement, that the Device “offers
Some courts note that puffery determinations may be reserved      optimal joint mechanical restoration,” is puffery. In New
for the jury “except in clear cases[.]” Snyder v. Farnam          Jersey “advertising the advantages of a product, including
Companies, Inc., 792 F. Supp. 2d 712, 723 (D.N.J. 2011)           claims of general superiority, constitutes puffing and is not
(denying motion to dismiss because plaintiff has provided         actionable[.]”    Stiffel Co. v. Westwood Lighting Grp., 658
more than bald assertions, and puffery determination is           F. Supp. 1103, 1115 (D.N.J. 1987). That is all Biomet did
for the jury); see also   Union Ink Co. v. AT&T Corp.,            here by labeling the Device’s performance “optimal.” Similar
352 N.J. Super. 617, 645 (App. Div. 2002) (“Whether the           language has been consistently held unactionable. See, e.g.,
advertisements contained material misstatements of fact, or       Rapid Models & Prototypes, Inc. v. Innovated Sols., No. CIV.
were merely puffing, as alleged by defendants, presents a         14-277 NLH/KMW, 2015 WL 4914477, at *5 (D.N.J. Aug.



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18, 2015) (“ideal” performance and “exceptional” quality);
                                                                     As discussed, the first statement in Biomet’s marketing
   Hughes v. Panasonic Consumer Elecs. Co., No. CIV.A.               brochure is puffery, but the second and third statements are
10-846 SDW, 2011 WL 2976839, at *21 (D.N.J. July 21,                 not.
2011) (“industry leading” technology); Wojcik v. Borough of
Manville, No. A-1627-08T3, 2010 WL 322893, at *3 (N.J.
Super. App. Div. Jan. 29, 2010) (“one of the best” and “great”
helmets). Biomet’s statement that the Device “offers optimal                                CONCLUSION
joint mechanical restoration,” is puffery.
                                                                     Biomet’s motion to dismiss (ECF No. 9) is granted as to
                                                                     Counts 5 and 6. The motion is also granted as to the first
 *6 Finally, Biomet does not argue that the third statement in
                                                                     statement in Biomet’s marketing brochure, and as to the
its marketing brochure—“[m]any studies conducted over the
                                                                     statements in the 2011 Journal of Arthroplasty article. The
last several decades have shown no definitive correlation of
                                                                     motion is denied as to the second and third statements in
negative health issues to ion levels exhibited from metal-on-
                                                                     Biomet’s marketing brochure. An appropriate order follows.
metal implants,” Am. Compl. ¶ 39—is puffery. It is not. See
   Lieberson v. Johnson & Johnson Consumer Companies,
Inc., 865 F. Supp. 2d 529, 540-41 (D.N.J. 2011) (statement           All Citations
that products are “ ‘clinically proven’ to help babies sleep
                                                                     Not Reported in Fed. Supp., 2019 WL 192902
better” is not puffery because statement is “both specific and
measurable”).




                                                         Footnotes


1      Unless stated otherwise, all facts are drawn from Metcalfe’s Amended Complaint (“Am. Compl.”), ECF No.
       6. These facts are taken as true for the purpose of the Biomet’s motion. See Cuevas v. Wells Fargo Bank,
       N.A., 643 F. App’x 124, 125-26 (3d Cir. 2016) (quoting         McTernan v. City of York, 577 F.3d 521, 526 (3d
       Cir. 2009) ) (“[I]n deciding a motion to dismiss, all well-pleaded allegations ... must be taken as true and
       interpreted in the light most favorable to the plaintiffs, and all inferences must be drawn in favor of them.”).
2      Cipollone involved defective jury instructions, so the plaintiff needed to prove, rather than simply plead, that
       his late wife (the injured party) had seen the advertisement.     893 F.2d at 567. As discussed below, this
       requirement is equally applicable at the motion to dismiss stage.
3      Metcalfe adequately alleges that his doctor saw the Biomet marketing brochure. See Am. Compl. ¶ 40 (“These
       brochures were given to doctors around the world, including Plaintiff’s orthopedic surgeon[.]”).


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                             TAB 24
    Case 1:19-md-02875-RMB-SAK
Parker v. Wellman, 230 Fed.Appx. 878 (2007)
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                                                                             [1] employees' alleged subcellular, subclinical, and cellular
                                                                             damage from exposure to beryllium did not satisfy
      KeyCite Yellow Flag - Negative Treatment                               requirement of a current physical injury;
Distinguished by Paz v. Brush Engineered Materials, Inc., 5th Cir.(Miss.),
January 13, 2009
                                                                             [2] employees were not entitled to recover medical
                   230 Fed.Appx. 878
                                                                             monitoring costs; but
              This case was not selected for
         publication in West's Federal Reporter.
                                                                             [3] genuine issue of material issue of fact as to whether
        See Fed. Rule of Appellate Procedure 32.1
                                                                             beryllium sensitization was a current disease, pain, or
         generally governing citation of judicial
                                                                             impairment precluded summary judgment.
        decisions issued on or after Jan. 1, 2007.
       See also U.S. Ct. of App. 11th Cir. Rule 36-2.
             United States Court of Appeals,                                 Affirmed in part, vacated in part, and remanded.
                     Eleventh Circuit.
                                                                             Procedural Posture(s): On Appeal; Motion for Summary
     Neal PARKER, Wilbert Carlton, Stephen King,
                                                                             Judgment.
     Ray Burns, Deborah Watkins, Leonard Ponder,
      Barbara King, Patricia Burns, All individually
     and as Representative Plaintiffs on behalf of all                        West Headnotes (3)
     other similarly situated, Plaintiffs–Appellants,
                            v.                                                [1]    Damages        Particular cases in general
       Brush WELLMAN, Schmiede Machine and                                           Products Liability        Nature of Injury or
       Tool Corporation, Thyssenkrupp Materials                                      Damage
        NA, Inc., D.b.a. Copper and Brass Sales,                                     Products Liability        Aircraft
       Alcoa, Inc., McCann Aerospace Machining
                                                                                     Plaintiffs' alleged subcellular, subclinical, and
          Corporation, Defendants–Appellees,
                                                                                     cellular damage from exposure to beryllium did
         Axsys Technologies, et al., Defendants.                                     not satisfy requirement of a current physical
                                                                                     injury, necessary to recover for personal injuries
                            No. 06–12243.
                                                                                     and emotional distress in products liability action
                                   |
                                                                                     against manufacturers, sellers, and distributors of
                            April 18, 2007.
                                                                                     aircraft or aircraft components.
Synopsis
                                                                                     5 Cases that cite this headnote
Background: Products liability action was brought against
manufacturers, sellers, and distributors of aircraft or aircraft
components, seeking recovery due to exposure to respirable                    [2]    Damages        Medical treatment and care of
form of beryllium. On defendants' motion for a more definite                         person injured
statement, the District Court, Story, J.,   377 F.Supp.2d                            Plaintiffs' allegations of subcellular, subclinical,
1290, granted defendants' motion. After plaintiffs amended                           and cellular damage from exposure to beryllium
their complaint, defendants moved to enforce Court's order,                          were insufficient to state a current physical
                                                                                     injury, as was required to recover medical
which was treated as a motion for summary judgment. The                              monitoring costs, in products liability action
United States District Court for the Northern District of                            against manufacturers, sellers, and distributors of
Georgia, 420 F.Supp.2d 1355, dismissed action, and plaintiffs                        aircraft or aircraft components.
appealed.
                                                                                     8 Cases that cite this headnote


Holdings: The Court of Appeals held that:                                     [3]    Federal Civil Procedure           Tort cases in
                                                                                     general



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        Genuine issue of material issue of fact as              of Plaintiffs' claim for a medical monitoring fund and
        to whether beryllium sensitization was a                of those claims based on allegations of “subclinical”
        current disease, pain, or impairment precluded          injury. But, because we conclude that the district court
        summary judgment in favor of manufacturers,             prematurely granted Defendants judgment on Plaintiffs'
        users and dischargers of beryllium in                   claims of beryllium sensitization, we vacate that judgment
        products liability action against manufacturers,        and remand for further proceedings.
        sellers, and distributors of aircraft or aircraft
        components brought by employees for beryllium
        sensitization.                                          I. BACKGROUND
                                                                Plaintiffs filed this putative class action in a state court.
        4 Cases that cite this headnote                         The Complaint alleges that Defendants are involved in
                                                                the manufacture, use, or discharge, or all of these, of
                                                                beryllium. Plaintiffs contend that they were exposed to
                                                                respirable forms of beryllium from certain products used at
Attorneys and Law Firms                                         Lockheed's Marietta, Georgia, facility. The Complaint alleges
                                                                that Defendants either knew or should have known that
 *879 David S. Hagy, Robert E. Shields, Doffermyre              beryllium can cause various adverse health consequences and
Shields Canfield Knowles & Devine, Atlanta, GA,                 that Plaintiffs' activities at Lockheed would result in harmful
Stephan Matanovic, Ruben Honik, Golomb & Honik, P.C.,           exposure to the substance.
Philadelphia, PA, for Plaintiffs–Appellants.
                                                                Plaintiffs assert that, as a result of their exposure, they “have
James R. Johnson, Robin A. Schmahl, Jones Day, H. Lane          suffered and will suffer in the future personal injuries in
Young, II, Mary Elizabeth O'Neill, Hawkins & Parnell,           the form of sub-clinical, cellular, and sub-cellular damage
Stephen E. O'Day, Andrew McFee Thompson, Smith,                 and some have suffered from acute and chronic lung
Gambrell & Russell, Sewell K. Loggins, Anne M. Landrum,         disease, dermatologic disease, and chronic beryllium disease
Mozley, Finlayson & Loggins, LLP, Atlanta, GA, Jeffrey D.       (“CBD”).” Plaintiffs also contend that they “have been
Ubersax, Cleveland, OH, David G. Greene, Lord, Bissell &        placed at substantially increased risk of catastrophic latent
Brook, New York, NY, for Defendants–Appellees.                  disease, such as chronic beryllium disease and cancer,”
                                                                and “have suffered and will suffer in the future from fear,
Appeal from the United States District Court for the Northern
                                                                anxiety, and emotional upset” because of their personal
District of Georgia. D.C. Docket No. 04–00606 CV–RWS–1.
                                                                injuries and increased risk of disease. The Complaint includes
Before EDMONDSON, Chief Judge, BIRCH and WILSON,                claims for medical monitoring, strict liability, negligence,
Circuit Judges.                                                 fraudulent concealment, civil conspiracy, punitive damages,
                                                                and attorneys' fees.
Opinion
                                                                Lockheed removed the case to federal court pursuant to 28
PER CURIAM:
                                                                U.S.C. § 1442(a)(1). Defendants filed various motions to
 **1 Plaintiffs–Appellants (“Plaintiffs”), a group of 120       dismiss, motions for judgment on the pleadings, and motions
current and former employees of Defendant–Appellee              for a more definite statement. The district court ruled that
Lockheed Martin (“Lockheed”) and their families, appeal         those claims relying on “sub-clinical, cellular, or sub-cellular”
from the district court's dismissal of their suit against       injuries were not cognizable under Georgia law, concluding
Defendants–Appellees Brush Wellman, Inc., Schmiede              that Georgia only allows tort recovery for injuries with
Machine and Tool Corporation, Thyssenkrupp Materials            “manifest physiological symptoms.” The district court noted
NA, Inc. (d/b/a Copper and Brass Sales), Alcoa, Inc., and       that it would enter an order dismissing those “subclinical”
McCann Aerospace Machining Corporation (collectively,           claims after Plaintiffs filed an amended pleading identifying
“Defendants”), in which Plaintiffs sought to recover damages    those plaintiffs who had sustained “actionable tort injuries.”
 *880 for personal injuries allegedly sustained due to          The court similarly granted Defendants' motions to dismiss
Defendants' manufacture, use, and discharge of beryllium, a     “these ‘subclinical’ Plaintiffs' claims for increased risk and
hazardous substance. We affirm the district court's dismissal   negligent infliction of emotional distress” and for medical
                                                                monitoring.


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                                                                    (11th Cir.2004). Summary judgment is proper only if no
 **2 Plaintiffs then filed a Substituted Amended Complaint          genuine issue of material fact exists and the movant is entitled
(“Amended Complaint”), in which they identified five                to judgment as a matter of law. Id.
persons “whose injuries have manifested themselves such
that they have been detected by physical examination and/           The parties acknowledge that the legal questions presented
or laboratory test.” Plaintiffs also repeated their allegation      in this case are governed by Georgia law. “In rendering a
that all Plaintiffs had “sustained subclinical, cellular, and       decision based on state substantive law, [we] must decide the
subcellular effects that constitute physical injuries.” In          case the way it appears the state's highest court would. Where
response, Defendants moved to enforce the district court's          the state's highest court has not spoken to an issue, [we] must
earlier order, arguing that the five specified plaintiffs alleged   adhere to the decisions of the state's intermediate appellate
only beryllium sensitization, which is not an actionable            courts absent some persuasive indication that the state's
injury even when detected by clinical tests. Because both
                                                                    highest court would decide the issue otherwise.” Chepstow
parties submitted expert affidavits, the district court, with
                                                                    Ltd. v. Hunt, 381 F.3d 1077, 1080 (11th Cir.2004) (alterations
the consent of the parties, treated Defendants' motion as a
                                                                    in original) (internal quotation marks and citation omitted).
motion for summary judgment. The court granted Defendants'
motion, concluding that, even accepting the Plaintiffs' expert's
opinion, beryllium sensitization constituted no actionable
 *881 injury under Georgia law. Because Plaintiffs had put                                III. DISCUSSION
forth no other claims, the court dismissed the case.
                                                                              A. Plaintiff's “Subclinical” Injury Claims

                                                                     **3 [1] Plaintiffs contend that the district court erred in
                II. STANDARD OF REVIEW
                                                                    concluding, as a matter of law, that allegations of subclinical
Defendants argue that the district court dismissed only the         damage could not support an award of damages for personal
medical monitoring claim in Count I before the summary              injury and emotional distress. Plaintiffs argue that, under
judgment stage, but the district court's opinion specifically       Georgia law, the question of whether the alleged subclinical
stated that the court was granting Defendants' motion to            damage constitute a physical injury is one of fact that cannot
dismiss on the “subclinical” claims. The later order therefore      be resolved on the pleadings. We disagree.
only dealt with the claims of the five plaintiffs who further
alleged beryllium sensitization. We review the rulings in           To recover for personal injuries under Georgia law, a plaintiff
the first order under Fed.R.Civ.P. 12(b)(6), which governs          must show that he has suffered “injury to life or limb or
motions to dismiss for failure to state a claim, and review         damage to other property.” Pickren v. Pickren, 265 Ga.App.
the ruling in the second order under Fed.R.Civ.P. 56, which         195, 593 S.E.2d 387, 388 (2004). Georgia similarly allows
applies to motions for summary judgment.                            recovery of damages for emotional distress upon a showing of
                                                                    “(1) a physical impact to the plaintiff; (2) the physical impact
We review a district court's dismissal of a claim under Rule        cause[d] physical injury to the plaintiff; and (3) the physical
12 de novo, accepting the well-pleaded factual allegations          injury to the plaintiff cause[d] the plaintiff's mental suffering
in the complaint as true and construing them in the light           or emotional distress.”        Lee v. State Farm Mut. Ins. Co.,
most favorable to the plaintiff.  Aldana v. Del Monte Fresh         272 Ga. 583, 533 S.E.2d 82, 85 (2000). Thus, to the extent that
Produce, N.A., Inc., 416 F.3d 1242, 1246 (11th Cir.2005). A         Plaintiffs' allegations of subclinical damage are insufficient
dispositive Rule 12 motion may be granted only if “it appears       to support a claim for physical injury, they *882 are also
beyond doubt that the plaintiff can prove no set of facts in        insufficient to support a claim for emotional distress. 1
support of his claim which would entitle him to relief.”      Id.
                                                                    In the leading Georgia case dealing with exposure to a
We also review the district court's grant of summary judgment       toxic substance, the Court of Appeals indicated that a
de novo, viewing the record and drawing all reasonable              personal injury plaintiff must present evidence of “actual
inferences in the light most favorable to the nonmoving party.      disease, pain or impairment of some kind.”       Boyd v.
   Hall v. United Ins. Co. of America, 367 F.3d 1255, 1262          Orkin Exterminating Co., Inc., 191 Ga.App. 38, 381 S.E.2d



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                                                                     of plaintiff's current physical injury). Plaintiffs have failed
295, 298 (1989), overruled on other grounds,         Hanna
                                                                     to point us to any Georgia authority that allows recovery of
v. McWilliams, 213 Ga.App. 648, 446 S.E.2d 741 (1994).
                                                                     medical monitoring costs in the absence of a current physical
In Boyd, homeowners sued a pest control company for
                                                                     injury, and Boyd suggests that Georgia would not recognize
negligently applying insecticide inside their home, which
resulted in the exposure of themselves and their children to         such a claim. 4 See      Boyd, 381 S.E.2d at 298 (affirming
                                                                     partial summary judgment to defendants where plaintiffs
harmful levels of toxic substance.        Boyd, 381 S.E.2d at
                                                                     “merely produced medical testimony that the children would
296. At trial, the plaintiffs presented evidence demonstrating
                                                                     require monitoring in the future to determine whether they
the presence of elevated levels of toxin metabolites in their
                                                                     developed health problems due to their exposure to the
children's blood. They also adduced medical expert testimony
                                                                     chemicals”). The district court therefore correctly dismissed
stating that the elevated levels, in themselves, constituted
                                                                     Plaintiffs' claim for a medical monitoring fund in Count I of
an “injury” and that the children would require periodic
                                                                     the Complaint.
monitoring to determine whether they were developing health
problems associated with the toxic exposure. Id. But, the
appellate court upheld the directed verdict for the defendant,
concluding that “there was no evidence that the appellants had               B. Plaintiffs' Beryllium Sensitization Claims
sustained any specific injury.”     Id. at 297–98.                    [3] Plaintiffs also contend that the district court improperly
                                                                     granted summary judgment to Defendants based on the
Here, the district court read Boyd to “apparent[ly] reject[ ]        court's conclusion that beryllium sensitization—a clinically-
subclinical effects as actionable ‘injuries.’ ” We agree.            manifest condition—constituted no actionable injury under
According to the Boyd appellate opinion, the trial evidence in       Georgia law. Plaintiffs argue that the medical expert affidavits
Boyd consisted of medical testimony that the presence of the         established that a material issue of fact exists on whether
elevated levels of toxin metabolites, by itself, was an injury;      beryllium *884 sensitization is a current “disease, pain or
the medical testimony did not show that those metabolites            impairment.” We agree.
“had caused or would eventually cause actual disease, pain
or impairment.”       Id. at 298. Likewise, Plaintiffs here have     Plaintiffs' expert, Dr. Maier, opined that beryllium
alleged that the subclinical and cellular damage from their          sensitization is “an abnormal immune response” that is
exposure, by itself, is an injury. But Plaintiffs have not alleged   “comparable to an allergy” and “an important precursor
that this subclinical damage has resulted in an identifiable         to [CBD].” Dr. Maier indicated that approximately six
physical disease, illness, or impairing symptoms. And to the         to eight percent per year of sensitized persons develop
extent that Plaintiffs allege that their subclinical condition       CBD and stated that “[i]t is likely that the majority of
will eventually cause—or will at least increase their risk of        individuals with sensitization will eventually develop CBD.”
developing—future disease, pain, or impairment, Plaintiffs           She also compared sensitization with HIV and pleural
concede that they do not seek current compensation for               plaques, other immunological conditions that have a “high
this anticipated harm. 2 Instead, Plaintiffs rest their personal     risk” of developing into more serious diseases. Dr. Maier
injury claims on the contention that their allegations of            concluded that “it is clear that beryllium sensitization is a
subclinical and cellular damage are sufficient to allege a           marker of injury to beryllium.”
current physical injury under Georgia law; because we reject
this argument, Plaintiffs' claims for personal injury and            In contrast, while Defendants' expert, Dr. Repsher, agreed that
                                                                     beryllium sensitization is similar to an allergy, he stated that
emotional distress *883 must fail. 3
                                                                     the condition is a “part of a normally functioning and healthy
                                                                     immune system” that does not result in any “structural or
 **4 [2] And because Plaintiffs' allegations of subclinical
                                                                     functional changes” in the body. Instead, a sensitized person
damage are insufficient to state a current physical injury,
                                                                     is merely “capable of having a harmful, allergic-type reaction
Plaintiffs are not entitled to recover the “quantifiable costs of
                                                                     to beryllium in the future.” He also opined that the condition
periodic medical examinations” as future medical expenses.
                                                                     “cause[s] no impairment or harm of any kind” and that a
See Hendrix v. Raybestos–Manhattan, Inc., 776 F.2d 1492,             sensitized person may never develop CBD. He disagreed with
1504 (11th Cir.1985) (allowing recovery of future medical            Dr. Maier's analogy to pleural plaques and also stated that
expenses that are reasonably certain to be incurred as a result


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                                                                  that Georgia law does not currently allow for recovery of
sensitization appears to be reversible, as some people who test
                                                                  medical monitoring costs. But we conclude that Plaintiffs'
positively for the condition later test negative.
                                                                  expert testimony creates a genuine dispute of material fact
                                                                  on whether beryllium sensitization is a current physical
 **5 In sum, the parties' experts disagree on whether the
                                                                  impairment; summary judgment was therefore inappropriate
beryllium sensitization is a current disease or impairment
                                                                  on the claims of the five plaintiffs identified as being
and on the probability that the condition will later develop
                                                                  sensitized. For these reasons, the district court's rulings are
into CBD. These issues are questions of fact that should be
                                                                  affirmed in part and vacated in part; and the case is remanded
answered by a jury, and summary judgment was therefore
                                                                  for further proceedings consistent with this opinion.
improper.

                                                                  AFFIRMED IN PART, VACATED IN PART, AND
                                                                  REMANDED.
                     IV. CONCLUSION

We conclude that Plaintiffs' allegations of injury in the form    All Citations
of subcellular, subclinical, and cellular harm are insufficient
to survive Defendants' motions to dismiss on their claims         230 Fed.Appx. 878, 2007 WL 1149982, Prod.Liab.Rep.
for damages for personal injury and emotional distress.           (CCH) P 17,729
We also decide that the district court correctly determined




                                                          Footnotes


1
       Plaintiffs' reliance on the HIV-exposure case      Johnson v. American Nat'l Red Cross, 276 Ga. 270, 578
       S.E.2d 106 (2003), in support of their emotional distress claim is misplaced. Plaintiffs argue that they
       have stated a claim for fear of future disease because they have alleged “actual” exposure to a disease-
       causing agent and a “channel of communication” through which exposure took place. But Johnson did not
       address whether a the plaintiff had sufficient physical injury to recover emotional distress damages; the court
       merely concluded that a failure to show actual exposure was fatal to the plaintiff's claim. And the earlier
       case of      Russaw v. Martin, 221 Ga.App. 683, 472 S.E.2d 508, 510 (1996)—on which Johnson relied,
       see     Johnson, 578 S.E.2d at 109–10—indicates that even those suing for emotional distress due to HIV
       exposure must allege and prove a physical injury.
2      In this manner, Plaintiffs are similarly situated to the claimants in Boyd, who introduced evidence that the
       elevated toxin levels, while not impairing the children's present health, increased their risk of developing
       cancer.     Boyd, 381 S.E.2d at 298. But even if Boyd can be read to allow recovery where the subclinical
       effects of exposure are shown to increase—to a “reasonable degree of medical certainty”—the risk of manifest
       disease or impairment, see   id. at 298, Plaintiffs concede that they do not seek recovery for this “enhanced
       risk.”
3      We are aware that some courts have allowed tort claims based on allegations of subclinical or cellular “injury”
       in exposure cases, in some cases treating such an allegation as one of latent disease. See, e.g., Werlein
       v. United States, 746 F.Supp. 887, 901 (D.Minn.1990), vacated in part on other grounds, 793 F.Supp. 898
       (D.Minn.1992);      Barth v. Firestone Tire & Rubber Co., 661 F.Supp. 193, 196 (N.D.Cal.1987);             Brafford
       v. Susquehanna Corp., 586 F.Supp. 14, 17–19 (D.Colo.1984).
       But we think that, in Georgia, the more persuasive position is that an allegation of subclinical damage does
       not satisfy Boyd's requirement of an actual “disease” or “impairment,” even if it is a predictor of future disease.



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      See, e.g.,    Rainer v. Union Carbide Corp., 402 F.3d 608, 618–22 (6th Cir.2005) (concluding that, under
      Kentucky law, allegations of “subcellular damage” were insufficient to satisfy the requirement of “bodily injury”
      for recovery under the Price–Anderson Act where plaintiffs lacked “present physical illness” but introduced
      evidence that “chromosomal damage is directly linked with an increased likelihood of cancer”);       Schweitzer
      v. Consol. Rail Corp., 758 F.2d 936, 942 (3rd. Cir.1985) (“We believe ... that subclinical injury resulting from
      exposure to asbestos is insufficient to constitute actual loss or damage to a plaintiff's interest required to
      sustain a cause of action under generally applicable principles of tort law.”);    Laswell v. Brown, 683 F.2d
      261, 269 (8th Cir.1982) (concluding that allegations of exposure to an “unusually high risk of disease in
      genetically passed cellular” damage was insufficient to state a claim where the complaint was “conspicuously
      void of ... allegations that the children have sustained ... damage other than the exposure to a higher risk of
      disease and cellular damage ” (emphasis added)); cf.      Eagle–Picher Indus., Inc. v. Liberty Mut. Ins. Co.,
      682 F.2d 12, 19–20 (1st Cir.1982) (examining various definitions of “injury” and “disease” and concluding that
      insurance policies could not be construed to cover subclinical changes that did not cause impairment “until,
      if ever, they accumulate to become clinically evidence or manifest”).
4     Whether courts should recognize a medical monitoring cause of action in the absence of a present physical
      illness or impairment is not well-settled nationwide. See, e.g., Paz v. Brush Engineered Materials, Inc., 949
      So.2d 1, 6–7 (Miss.2007) (collecting cases from different jurisdictions and then declining to recognize medical
      monitoring actions absent allegations of present physical injury under Mississippi law, which “requires the
      traditional elements of proof in a tort action”).


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                             TAB 25
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                                                                 Contamination of the aquifer was first detected on April
                                                                 5, 2000, when significant concentrations of the gasoline-
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                                                                 related compound methyl tertiary butyl ether (“MTBE”)
    Only the Westlaw citation is currently available.
                                                                 was discovered in a drinking fountain at Camden County
              NOT FOR PUBLICATION
                                                                 Community College. New Jersey Consumers Water Company
     United States District Court, D. New Jersey.
                                                                 (“Consumers”), the entity responsible for providing water
              Jeff PLAYER, et al., Plaintiffs,                   to the college, conducted sampling of some of its wells
                            v.                                   and discovered significant amounts of gasoline-related
       MOTIVA ENTERPRISES LLC, a successor                       compounds in municipal supply well number 8 (“CW–8”).
                                                                 Consumers took the well offline on April 10.
       in interest to Star Enterprises, Defendant.

                  No. Civ. 02–3216(RBK).                         While investigating the contamination, the New Jersey
                              |                                  Department of Environmental Protection (“NJDEP”)
                       Jan. 20, 2006.                            detected a discharge of volatile organic compounds (“VOCs”)
                                                                 from Defendant's service station, located at 585 Berlin Cross
Attorneys and Law Firms                                          Keys Road (“Motiva site” or “contamination site”). 3 The
                                                                 NJDEP issued a Field Directive on April 12, 2000, requiring
Keith A. McKenna, McKenna, Mulcahy & McKenna,
                                                                 Motiva to investigate the source and extent of the discharge,
Montclair, NJ, for Plaintiffs.
                                                                 to implement an interim treatment system, and to submit a
Jeffrey W. Moryan, Connell Foley LLP, Roseland, NJ, for          remedial action work plan to the NJDEP. Defendant installed
Defendant.                                                       an interim recovery system and twenty-five monitoring and
                                                                 recovery wells between April and June 2000.


                         OPINION                                 The NJDEP issued a second directive on May 5, 2000,
                                                                 ordering Defendant to cease gasoline retail operations and
KUGLER, United States District Judge:                            provide treatment or an alternate source of water to replace
                                                                 CW–8. Defendant replaced the interim system with a
 *1 This matter comes before the Court upon motions              permanent ground water recovery and treatment system in
by Defendant Motiva Enterprises, LLC, (“Defendant” or            June 2000, and installed forty-one additional monitoring
“Motiva”) for summary judgment of the claims of Plaintiffs       wells from June 2000 to present. As further required by the
Jeff Player, et al. (“Plaintiffs”), and to exclude Plaintiffs'   NJDEP, Defendant regularly sampled potable wells located
experts Michael Gochfeld, M.D., Ph.D. (“Gochfeld”), R.           on approximately forty residential properties in the vicinity of
Brian Ellwood, Ph.D. (“Ellwood”), Bruce M. Gallo (“Gallo”),      the Motiva site. Defendant detected small amounts of MTBE
and Daniel McDonald (“McDonald”). For the reasons set
                                                                 in thirteen of the residential wells it sampled. 4
forth below, Defendant's motions will be granted in part and
denied in part.
                                                                 Per the NJDEP directive, Motiva submitted a Remedial
                                                                 Investigation Work Plan/Remedial Investigation report on
                                                                 July 2000 and a Remedial Action Workplan (“RAW”) on
I. Background 1
                                                                 November 14, 2000. In its RAW, Defendant requested
This environmental contamination suit is brought by the
                                                                 permission to cease sampling of the residential wells,
current and former owners of twenty-seven parcels of
                                                                 contending that the MTBE detected in those wells could not
residential property located in the Spring Hollow Subdivision
                                                                 have come from the Motiva site since the wells are located
in Gloucester Township, New Jersey. 2 Plaintiffs allege
                                                                 upgradient 5 or sidegradient from the site, and no emissions
that emissions from Defendant's nearby Texaco gasoline
                                                                 were detected in most of the monitoring wells between the
service station contaminated their property and the Kirkwood
Cohansey Aquifer, the underground water source for their         Motiva site and the potable wells. 6 Motiva also claimed that
potable wells.                                                   recent literature indicated that traces of MTBE in groundwater
                                                                 could likely result from “non-point sources.” (March 2001
                                                                 Directive at 2.)



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                                                                               excess of the Department's Drinking
 *2 Plaintiffs' expert, R. Brian Ellwood, Ph.D (“Ellwood”),                    Water Quality Standards.
submitted a response to the RAW on January 17, 2001.
In his report, Ellwood notes that as of January 17,
2001, “[c]ontrol of contamination at depth beneath the            (NJDEP Directive, Aug. 18, 2003, McKenna Cert., Ex. D.)
site, control of offsite contamination, and possibly control
of contamination at the northern site boundary, has not           The NJDEP approved shut down of the recovery
been established.” (Preliminary Report Sicklerville Road          and treatment system on April 30, 2004. (NJDEP
Groundwater Contamination (“Ellwood Report”), McKenna             Correspondence, Aug. 9, 2004, Mairo Cert., Ex. S., at 2.)
Cert. in Opp. to Def.'s Mot. Summ. J., filed Oct. 12, 2005        Finally, on August 9, 2004, the NJDEP determined that
(“McKenna Cert.”), Ex. F, at 2.) Ellwood also offered possible    “Defendant's Remedial Action Progress Reports “meet the
theories to demonstrate the plausibility of Defendant's           conditions of the March 21, 2001 Remedial Action Workplan
responsibility for the MTBE in spite of Motiva's arguments        (RAW) approval. Shell Oil Products U.S. (Shell OPUS) is,
to the contrary.                                                  therefore, in compliance with N.J.A.C. 7:14B–6.” (Aug. 9,
                                                                  2004, NJDEP Correspondence, Mairo Cert., Ex. S., at 1.)
The NJDEP ultimately rejected Defendant's request to cease
sampling of the residential wells in its March 2001 Directive
on the basis that “there is insufficient evidence for Equiva      B. The Residential Properties
to conclude that the MTBE detected in the 13 potable wells        Plaintiffs own twenty-seven respective residential properties
in the area did not originate from the Cross Keys Texaco          near Defendant's gasoline station. 8 Twenty-six of the twenty-
site” and “that regardless of the source of the MTBE in these     seven properties-all but 583 Berlin Cross Keys Road (“the
wells, which is obviously debatable, ongoing sampling of          Wallace property”)-contain potable wells located in the
these wells is required primarily due to their proximity to the   Kirkwood Cohansey Aquifer. Because Plaintiffs' properties
site.” (March 2001 Directive at 2) (emphasis in original).        are north/northeast of the contamination site, (Undisputed
                                                                  Facts ¶ 38), they are considered upgradient or sidegradient
Also in the March 2001 Directive, the NJDEP approved              of the contamination site, depending on whether CW–8 is
a Classification Exemption Area (“CEA”) for the site that
                                                                  pumping. 9
excluded all but 1/10 of an acre of 583 Berlin Cross
Keys Road (the Wallace Property). The CEA establishes the
                                                                   *3 Consistent with the requirements of the NJDEP
boundaries of a ground water plume where VOCs exceed the
                                                                  directives, Defendant tested the Plaintiffs' residential wells
GWQS. 7                                                           for six gasoline-related compounds: benzene, toluene,
                                                                  ethylbenzene, xylenes, MTBE, and TBA. No testing
Through summer 2004, the NJDEP regularly reduced the              detected any gasoline-related compound on eighteen of the
testing requirements. By August 18, 2003, the NJDEP
                                                                  properties. 10 Detection of compounds on the remaining eight
required only:
                                                                  properties was as follows:


            annual sampling of the wells at 4,                      • A single detection of 0.79 ppb toluene and ten detections
            7, 11, 13 and 14 Donna Marie                               of MTBE (highest at 15.5 ppb) at 4 Latham Way,
            Court; 2, 4, 6, and 8 Latham
            Way; 12 and 20 Spring Hollow                                 • Three detections of MTBE (highest at 0.76 ppb) at
            Drive, and; 937 and 948 Sicklerville                            14 Donna Marie Court,
            Road. For all the sampling events
                                                                         • Three detections of MTBE (highest at 1.4 ppb) at 6
            of the aforementioned potable wells
                                                                            Latham Way,
            conducted April 2002, the Department
            notes that all wells continue to exhibit                     • A single detection of 1.4 ppb toluene at 850
            no gasoline related contamination in                           Sicklerville Road,




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                                                                   motion for summary judgment without examining the merits,
       • A single detection of 0.4 ppb MTBE at 4 Donna
         Marie Court,                                                 Stackhouse v. Mazurkiewicz, 951 F.2d 29, 30 (3d Cir.1991)
                                                                   (citing    Anchorage Assoc. v. Virgin Islands Bd. of Tax Rev.,
       • A single detection of 0.3 ppb MTBE at 12 Donna
                                                                   922 F.2d 168 (3d Cir.1990)), this Court will exercise its
         Marie Court,
                                                                   discretion to consider Plaintiffs' Opposition, even though it is
       • A single detection of 1.2 ppb MTBE at 8 Latham            untimely. Local Civ. R. 7.1(d)(5).
         Way, and

       • A single detection of 0.3 ppb MTBE at 20 Spring           II. Standard
         Hollow Road.                                               *4 Summary judgment is appropriate where the Court is
                                                                   satisfied that “there is no genuine issue as to any material fact
   The GWQS for toluene is 1,000 ppb and the GWQS for              and that the moving party is entitled to a judgment as a matter
     MTBE is 70 ppb. No gasoline-related compound was              of law.” Fed.R.Civ.P. 56(c);    Celotex Corp. v. Catrett, 477
     detected on any Plaintiff's property after April 2001.        U.S. 317, 330, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). A
According to the Certification of Julian Davies, a Project         genuine issue of material fact exists only if “the evidence
Manager for EnviroTrac, Ltd., an environmental consulting          is such that a reasonable jury could find for the nonmoving
firm retained by Defendant to remediate the Motiva site,
the NJDEP never restricted the consumption of water from           party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248,
Plaintiffs' potable wells, and never required Defendant to treat   106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).
the water, provide Plaintiffs with an alternate source of water,
                                                                   The burden of establishing the nonexistence of a “genuine
or collect soil samples from the residential properties. 11
                                                                   issue” is on the party moving for summary judgment.
(Julian Davies Cert., Mairo Cert., Ex. R, at 2.)
                                                                       Celotex, 477 U.S. at 330. The moving party may satisfy
Since the fact of the contamination became known,                  this burden by either (1) submitting affirmative evidence that
several Plaintiffs have sold their property. Maria and             negates an essential element of the nonmoving party's claim;
John Wallace sold 583 Berlin Cross Keys Road for                   or (2) demonstrating to the Court that the nonmoving party's
$350,000.00 in September 2001, Plaintiffs Thomas and Tina          evidence is insufficient to establish an essential element of the
Stankiewicz sold 9 Spring Hollow Drive in July 2002 for
                                                                   nonmoving party's case.      Id. at 331.
$143,000.00, Barbara Tanner sold 17 Spring Hollow Drive for
$134,000.000 in February 2002, Daniel and Maria Rodriguez
                                                                   Once the moving party satisfies this initial burden, the
sold 18 Spring Hollow Drive for $138,000.00 in July 2003,
                                                                   nonmoving party “must set forth specific facts showing that
David Lodi sold 5 Donna Marie Court for $104,000.00
                                                                   there is a genuine issue for trial.” Fed.R.Civ.P. 56(e). To
in September 2001, 13 Donna Marie Court was sold for
                                                                   do so, the nonmoving party must “do more than simply
$109,900.00 in July 2000, and 19 Spring Hollow Drive was
                                                                   show that there is some metaphysical doubt as to material
sold for $133,900.00 in May 2001.
                                                                   facts.”   Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
Defendant filed motions for summary judgment and to                475 U.S. 574, 586, 106 S.Ct. 1348, 89 L.Ed.2d 538 (1986).
exclude experts on June 24, 2005, after requesting and             Rather, to survive summary judgment, the nonmoving party
receiving permission from this Court to extend by one              must “make a showing sufficient to establish the existence
week the date for the filing of dispositive and in limine          of [every] element essential to that party's case, and on
motions. Briefs in opposition were due July 22, 2005,              which that party will bear the burden of proof at trial.”
however, Plaintiffs instead filed an untimely request for          Serbin, 96 F.3d at 69 n. 2 (quoting         Celotex, 477 U.S.
an extension on August 2, 2005, and a second request               at 322); Heffron v. Adamar of N.J., Inc., 270 F.Supp.2d
on September 6, 2005, moving the deadline to September             562, 568–69 (D.N.J.2003). “If the non-movant's evidence
30, 2005. On October 5, 2005, Plaintiffs filed another             on any essential element of the claims asserted is merely
untimely request for an extension, and ultimately did not          ‘colorable’ or is ‘not significantly probative,’ the court must
submit a complete Opposition until October 14, 2005.               enter summary judgment in favor of the moving party.”
Nevertheless, because a district court should not grant a



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                                                                  McDonald's testimony on the grounds that his analysis and
Heffron, 270 F.Supp.2d at 69 (citing      Anderson, 477 U.S.
                                                                  methodology are baseless and inconclusive, not because his
at 249–50).
                                                                  report is insufficiently explained. Additionally, Defendant's
                                                                  motion for summary judgment alerted Plaintiffs to the
III. Motion to Exclude Expert Daniel McDonald                     Daubert challenge, yet Plaintiffs neither requested a hearing
Defendant moves to exclude the testimony of Plaintiffs' expert    nor offered any affidavit or evidence in support of McDonald.
Daniel McDonald (“McDonald”) on the grounds that he is            Accordingly, an in limine hearing is unnecessary.
unqualified and his report is unreliable. 12 Admissibility of
expert testimony is governed by Federal Rule of Evidence 702      B. Qualifications
and the United States Supreme Court's decision in Daubert         The Third Circuit instructs courts to “liberally” evaluate
v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 113           an expert's qualifications.  Oddi v. Ford Motor Co., 234
S.Ct. 2786, 125 L.Ed.2d 469 (1993). 13 In the Third Circuit,      F.3d 136, 145 (3d Cir.2000). In particular, the Circuit has
the admissibility of expert testimony is contingent on the        “eschewed overly rigorous requirements of expertise and
“qualifications” of the expert and the “reliability” of his       [has] been satisfied with more generalized qualifications.”
methodology.      In re Paoli R.R. Yard PCB Litig., 35 F.3d          In re Paoli, 35 F.3d at 741 (citing    Hammond v.
717 (3d Cir.1994) (interpreting Daubert ); see also    Oddi v.    International Harvester Co., 691 F.2d 646, 652–53 (3d
Ford Motor Co., 234 F.3d 136, 145 (3d Cir.2000).                  Cir.1982) and       Knight v. Otis Elevator Co., 596 F.2d
                                                                  84, 87–88 (3d Cir.1979)). This liberal treatment extends to
                                                                  the expert's substantive qualifications as well as his formal
A. In Limine Hearing
                                                                  qualifications. Id.
In certain instances, courts are obligated to provide in
limine hearings before applying Daubert to exclude expert
                                                                  Nevertheless, the Third Circuit has “also set a floor with
testimony. Padillas v. Stork–Gamco, Inc., 186 F.3d 412 (3d
                                                                  respect to an expert witness's qualifications.”  Elcock
Cir.1999). A hearing is required, for example, where the court
                                                                  v. Kmart Corp., 233 F.3d 734, 742 (3d Cir.2000). To
excludes an expert's conclusions on the grounds that they
                                                                  demonstrate when an expert would not be qualified under
are “insufficiently explained and the reasons and foundations
                                                                  Rule 702, the Elcock Court offered the pre-Daubert case,
for them inadequately and perhaps confusingly explicated.”
Id. In other words, where a report is “conclusory and did            Aloe Coal Co. v. Clark Equip. Co., 816 F.2d 110 (3d
not adequately explain the basis for [the expert's] opinion or    Cir.1987), which held a tractor salesperson unqualified to
the methodology employed in reaching his conclusions,” the        testify as an expert about the cause of a tractor fire.   Elcock,
“plaintiff needs an ‘opportunity to be heard’ on the critical
                                                                  233 F.3d at 742 (citing      Aloe Coal, 816 F.2d 110).
issues of scientific reliability and validity.” Oddi, 234 F.3d
136, 152 (3d Cir.2000) (holding that the district court did not   In Elcock itself, the Court determined with “misgivings”
err “in granting summary judgment here without an in limine       that the district court had not abused its discretion by
hearing”) (quoting     Padillas, 186 F.3d at 417). Where the      concluding that a psychologist with experience in obtaining
evidentiary record is substantial, however, or the court has      employment for disabled individuals was qualified to testify
before it the information necessary to determine that the         to the possibility for vocational rehabilitation of the injured
expert lacks “good grounds” for his conclusions, an in limine     plaintiff. However, the Court acknowledged that it also would
                                                                  have upheld a decision to exclude the expert since “he seems
hearing may be unnecessary.      Id. at 153.
                                                                  most qualified to testify on a micro-level regarding the ability
                                                                  of a disabled individual to return to a specific job; he does
 *5 The evidence before this Court clearly establishes the
                                                                  not appear particularly qualified to testify on the macro-level
process by which McDonald “arrived at his conclusions,”
                                                                  regarding the number of jobs in the national or local economy
   Oddi, 234 F.3d at 152, and McDonald's report
                                                                  that the disabled individual is able to perform.” 14 Elcock,
and deposition details the methodology underlying his
                                                                  233 F.3d at 744. Taken together, Elcock and Aloe Coal
determinations. As discussed below, this Court will exclude
                                                                  indicate that where a proposed expert's area of experience is



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adjacent to, but not actually encompassing, the subject matter
                                                                  1224 (3d Cir.1985). Oddi, 234 F.3d 145 (citing Paoli II, 35
of his testimony, he may be deemed unqualified.
                                                                  F.3d at 742). In particular, the court must consider:

McDonald has worked as a licensed appraiser in New
Jersey for approximately twenty-two years. Defendant argues
                                                                               (1) whether a method consists of a
that McDonald is nevertheless unqualified to testify to
                                                                               testable hypothesis; (2) whether the
the diminution in value of Plaintiffs' properties because
                                                                               method has been subjected to peer
McDonald has no experience in appraising contaminated
                                                                               review; (3) the known or potential
property. Defendant notes that McDonald has never appraised
                                                                               rate of error; (4) the existence and
property allegedly contaminated by emissions from a gasoline
                                                                               maintenance of standards controlling
station and has never acted as an expert in a situation
                                                                               the technique's operation; (5) whether
involving contamination of the groundwater or allegations
                                                                               the method is generally accepted; (6)
of a leaking underground storage tank. (Daniel McDonald
                                                                               the relationship of the technique to
Dep. (“McDonald Dep.”), Mairo Cert. in Supp. Def.'s Mot.
                                                                               methods which have been established
to Exclude Plaintiffs' Expert Daniel McDonald, Ex. C, at 23–
                                                                               to be reliable; (7) the qualifications
24.) Defendant also points out that McDonald did not entirely
                                                                               of the expert witness testifying based
understand the Ellwood and Gallo reports upon which he
                                                                               on the methodology; and (8) the non-
relied, including the charts indicating the presence and degree
                                                                               judicial uses to which the method has
of contaminating agents on the property. (McDonald Dep. at
                                                                               been put.
55–56.)

 *6 This case lies squarely between Aloe Coal and Elcock.
Although McDonald is an experienced appraiser, no evidence            Paoli II, 35 F.3d at 742 n. 8; see also   Elcock, 233 F.3d
indicates that he has any experience appraising contaminated      at 746 (noting that “each factor need not be applied in every
properties or is qualified to value the effects of stigma         case”). The party wishing to introduce the testimony bears the
on property values. Just as a psychologist experienced in         burden of establishing “by a preponderance of the evidence
assisting individuals to find work may be unqualified to
                                                                  that their opinions are reliable.”   Paoli, 35 F.3d at 744.
testify about the general availability of jobs in the economy,
an individual able to appraise an uncontaminated property
                                                                  Of course, an expert's opinion need not be “perfect,” and
may have no grounds for appreciating the devaluation of the
                                                                  judges may not substitute their opinions for those of an
same property under unique conditions of contamination or
stigma. Because nothing in McDonald's experience indicates        expert. Paoli, 35 F.3d at 744; see also Crowley v. Chait,
knowledge or expertise in issues of contamination, he is          322 F.Supp.2d 530, 536 (D.N.J.2004). However, courts also
unqualified to testify to the loss of value to Plaintiffs'        need not admit mere conclusions or “opinion evidence that
properties arising from the alleged contamination.                is connected to existing data only by the ipse dixit of the
                                                                  expert. A court may conclude that there is simply too great an
                                                                  analytical gap between the data and the opinion proffered.”
C. Reliability
Because expert testimony has the potential to bear                   Magistrini v. One Hour Martinizing Dry Cleaning, 180
considerable weight with a jury, the district court functions     F.Supp.2d 584, 608 (D.N.J.2002) (quoting  General Elec.
as a gatekeeper responsible for assuring “that the scientific     Co. v. Joiner, 522 U.S. 136, 145–46, 118 S.Ct. 512, 139
methodology upon which the expert opinion is founded is           L.Ed.2d 508 (1997)).
reliable” and that “the expert's conclusion is based on good
grounds.”       In re Paoli, 35 F.3d at 732–33. To ascertain      *7    Mere assumptions, without causal evidence or
“reliability,” the court must examine a number of factors, both   methodological analysis may be inadmissible.  In re TMI
those established in Daubert and those previously enumerated      Litig., 193 F.3d 613, 667–68 (3d Cir.1999). Conclusions
by the Third Circuit in   United States v. Downing, 753 F.2d      based only on the expert's experience,  Oddi, 234 F.3d
                                                                  at 140–41, and testimony founded on methods that are not



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generally accepted or lack testable hypotheses may also fail        with cancer.” (McDonald Dep. at 158–59.) McDonald
                                                                    selected the Dover site not because of its comparability, but
to surmount the Daubert standard,         Elcock, 233 F.3d at
                                                                    because McDonald “didn't know of any other cases that,
746. Furthermore, conclusions based on analogies that are
                                                                    where the data was as readily available.” (McDonald Dep. at
too dissimilar to the subject of the testimony may also merit
                                                                    159.)
exclusion. General Elec., 522 U.S. at 144 (rejecting expert
testimony that plaintiff's cancer was due to exposure to PCBs        *8 Employing the Dover analogy, McDonald determined
when the testimony was based on animal studies of infant            that the property in the Dover site is in the final stages
mice that had developed cancer after exposure to PCBs).             of recovery and continues to suffer a stigma loss of 13%.
                                                                    Because McDonald considered Plaintiffs' properties in the
In response to Defendant's motion to exclude McDonald's             early stages of recovery, McDonald determined that they must
testimony, Plaintiffs argue that “Mr. McDonald's opinions           bear a stigma discount of at least two or three times that of
are based upon credible facts, NJDEP records, the reports
                                                                    the Dover site, resulting in a discount of 35%. 17 However,
of Plaintiffs' liability experts and individual appraisal reports
                                                                    the severity of the contamination and resulting illness among
prepared for each residential property.” (Pl.s' Opp. Def.'s Mot.
                                                                    Dover residents undercuts any grounds for comparison with
Summ. J. (“Opp.”), filed Oct. 12, 2005, at 30.) However,
                                                                    Plaintiffs' properties where there were few detections of
McDonald testified in his deposition that he relied only on
                                                                    contaminants and no reported physiological effects.
the Gallo and Ellwood Reports, and he specifically testifies
that he did not “review any correspondence from the NJDEP
                                                                    The methodology employed to reach the 66% figure is
related to this site.” (McDonald Dep. at 15.) 15                    equally unreliable. To assess the value of properties with
                                                                    some evidence of contamination, McDonald sent an email to
In spite of Plaintiffs' arguments to the contrary, this Court       thirteen financial lenders to determine whether they would
cannot avoid the conclusion that McDonald's methodology             “lend on a property that has known contamination, or the
is entirely unreliable. In his report, McDonald determines          stigma of contamination, to the ground water.” (McDonald
that the value of Plaintiffs' properties with no evidence           Report at 32.) Of the thirteen lenders, six replied. One of
of contamination should be discounted 35% percent and               those refused to comment, and one said that it would loan
property with onsite contamination should be discounted             given certain circumstances. The other four lenders stated
by 66%. (McDonald Report (“McDonald Report”), Mairo                 that they would not lend on a property that is contaminated,
Cert. in Support of Def.'s Mot. Exclude Pl.s' Expert Daniel         but the content of their brief responses suggested that they
McDonald, Ex. B., at 31, 33.) McDonald reached the 35%              understood the email hypothetical to denote property that
and 66% figures without discussing, or even recognizing,            was actually contaminated and out of compliance with state
the extent to which the property was actually contaminated.
                                                                    requirements. 18
As demonstrated by his ignorance of the “ND”/Not Detected
signifier in the Gallo and Ellwood Reports, McDonald did
                                                                    From the results of the email test, McDonald concludes that
not know how to read the charts denoting the levels of
                                                                    there would be no buyers other than those who could pay
contamination. (McDonald Dep. at 56.) Nor had McDonald
                                                                    cash. 19 McDonald then assessed the discount in value given
ever conducted any physical inspection of or visit to the
                                                                    cash-only buyers, extrapolating from this a discount of 66%.
properties prior to writing the report. 16 (McDonald Dep. at
                                                                    (McDonald Report at 33.) However, the reliability of the 66%
15–16.)
                                                                    figure is entirely invalidated by the overemphasis placed on
                                                                    the four responses to the email hypothetical, the misleading
Furthermore, to quantify the stigma attached to Plaintiffs'
                                                                    implication in the email hypothetical, suggesting a much
properties, McDonald relies upon a highly misleading
                                                                    greater contamination of the property than actually present,
analogy with a site of profoundly contaminated residential
                                                                    and the unclear calculations and assumptions underlying
properties in Dover Township. (McDonald Report at 27.)
                                                                    McDonald's arrival at 66%.
Specifically, McDonald compares Plaintiffs' properties with
“an area of Dover Township that had ground water
                                                                    Ultimately, McDonald's report does not fulfil any of the
contamination from Union Carbide and ... Ciba Geigy that
                                                                    reliability factors. His method is untestable and arbitrary,
resulted in what was commonly known as a cancer cluster
                                                                    without a generally accepted, established, or peer reviewed
among children,” meaning “an inordinate number of children
                                                                    methodology, and his evaluation was conducted without any


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real standards. Because McDonald is unqualified and his            injury.” (Undisputed Facts ¶ 67.) However, they argue
evaluation is unreliable, Defendant's motion in limine to          that they have adequately established damages for medical
exclude his testimony will be granted.                             monitoring and property damage. They do not address their
                                                                   claim for emotional distress. 21

IV. Plaintiffs' Claims
                                                                   1. Medical Monitoring
A. Negligence and Gross Negligence
                                                                   Damages for medical monitoring are appropriate where a
To surmount a motion for summary judgment of a negligence
                                                                   plaintiff exhibits no physical injury, but nevertheless requires
claim, Plaintiffs must provide evidence such that a reasonable
                                                                   medical testing as a proximate result of a defendant's
jury could find “breach of a duty of care and actual damages
sustained as a proximate cause of the breach.” Muise v. GPU,       negligent conduct.     Ayers v. Jackson Twp., 106 N.J. 557,
Inc., 371 N.J.Super. 13, 35, 851 A.2d 799 (App.Div.2004)           600, 525 A.2d 287 (1987). The risk of injury need not be
                                                                   quantified to merit medical surveillance damages; however,
(citing    Weinberg v. Dinger, 106 N.J. 469, 484, 524 A.2d
                                                                   the plaintiff must establish that the risk of serious disease
366 (1987));       Nappe v. Anschelewitz, Barr, Ansell &
                                                                   is “significant.”  Id. at 599–600, 525 A.2d 287; Campo v.
Bonello, 97 N.J. 37, 45, 477 A.2d 1224 (1984) (“[T]he
                                                                   Tama, 133 N.J. 123, 131, 627 A.2d 135 (1993) (awarding
plaintiff must show a breach of duty and resulting damage to
                                                                   medical monitoring damages to a plaintiff with a “fifty-
prevail in a negligence action.”). Motiva argues that Plaintiffs
                                                                   to seventy-five-percent chance of suffering a recurrence of
have failed to establish damages and causation and requests
                                                                   cancer” due to the delay resulting from defendant doctor's
summary judgment of Plaintiffs' gross negligence claim on
                                                                   malpractice). In the case of toxic exposure, “medical-
the same basis. 20                                                 surveillance damages may be awarded only if a plaintiff
                                                                   reasonably shows that medical surveillance is required
 *9 The absence of an injury will preclude a negligence            because the exposure caused a distinctive increased risk of
claim, even where a clear breach of duty is present.
                                                                   future injury.”    Theer v. Philip Carey Co., 133 N.J. 610,
    Rocci v. MacDonald–Cartier, 323 N.J.Super. 18, 24–             627, 628 A.2d 724 (1993). Such damages are “not available
25, 731 A.2d 1205 (App.Div.1999) (affirming summary                for plaintiffs who have not experienced direct and hence
judgment for insufficient evidence of damages in defamation        discrete exposure to a toxic substance and who have not
case and noting that “a plaintiff must present proof of a          suffered an injury or condition resulting from that exposure.”
material question of fact as to both liability and damages”)
(citing Norwood Easthill Assoc. v. Norwood Easthill Watch,            Id. at 628, 628 A.2d 724.
222 N.J.Super. 378, 384, 536 A.2d 1317 (App.Div.1988)
(affirming summary judgment of malicious interference claim        Low level contamination, “that is, contamination below
on basis that “plaintiff has suffered no injury or damage”)).      the minimum level set by DEP for water remediation,”
At the summary judgment stage, Plaintiffs must provide             typically is insufficient to establish injurious toxic exposure.
actual evidence of injury and cannot simply rely upon                  Muralo Co., Inc. v. Employers Ins. of Wausau, 334
“unsubstantiated allegations.”      Trap Rock Indus., Inc. v.      N.J.Super. 282, 290–291, 759 A.2d 348 (App.Div.2000)
Local 825, 982 F.2d 884, 890 (3d Cir.1992) (reversing              (“[S]ince it is clear that no untreated groundwater is ever
district court's denial of summary judgment). Just as “a           entirely pure, we are satisfied that DEP standards are the most
residential customer not in residence during a power loss,         reliable guide for determining whether contamination causing
or a commercial customer whose store was closed, might             damage ... has occurred.”). Here, contaminants have been
have no damages except the inconvenience of resetting              detected in only eight of Plaintiffs' wells, and no detection has
clocks,” Muise, 371 N.J.Super. at 49, 851 A.2d 799, the            been even close to the GWQS. The NJDEP never restricted
release of contaminants into the groundwater aquifer does not      Plaintiffs' use of water from their potable wells, nor required
itself generate damages, unless Plaintiffs can show that they      Defendant to treat Plaintiffs' wells or to provide Plaintiffs with
suffered harm.                                                     an alternate water source.


Plaintiffs concede that they “have not presented and                *10 Plaintiffs rely on the testimony of Dr. Michael Gochfeld,
will not present claims for the present manifested bodily          Ph.D. (“Gochfeld”), to establish the significant health risks



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and necessity of medical surveillance following from the           claiming that their property was physically harmed, Plaintiffs
alleged contamination of Plaintiffs' property. However,            contend that the news of the contamination stigmatized their
nothing in Gochfeld's report concludes that the individual         property, reducing its value in the minds of potential buyers.
Plaintiffs themselves require medical monitoring under the
circumstances. Rather, Gochfeld's report creates a medical         In support of their claim for stigma damages, Plaintiffs
monitoring program for a hypothetical target population            offer the expert testimony of Daniel McDonald. However,
without taking into consideration the actual exposure of any       as discussed previously, McDonald's testimony must be
plaintiff. 22 (Gochfeld Dep. at 26–29.) Gochfeld prepared          excluded as unreliable. Plaintiffs also argue that the testimony
his report under the assumption that “there were known or          of individual Plaintiffs establishes a stigma discount to their
actual or potential exposure to a variety of constituents of       property:
gasoline.” (Gochfeld Dep. at 12.) He states in deposition that
he had “no specific factual knowledge of the actual exposures
in this case,” and he confirms that he has never examined the                    *11     Plaintiff Marie Wallace
individual Plaintiffs. (Gochfeld Dep. at 10, 29.)                               has submitted sworn Interrogatory
                                                                                statements        documenting      a
Gochfeld himself notes that “[w]hether a person exposed                         $150,000.00 loss on the sale of her
to MTBE requires medical monitoring depends in large                            property. See Exhibit 0 to McKenna
measure on the level of exposure and the time over which it                     Certification. Other Plaintiffs have
occurred” and notes that “clearly people that are exposed to                    similarly provided certified answers
MTBE casually would not require one.” (Gochfeld Dep. at                         to Interrogatories and Deposition
24.) Furthermore, Gochfeld stated that he “probably would                       testimony as to the loss in value
not” recommend medical monitoring for the minor and                             through sales transactions, which
often single detections of MTBE on Plaintiffs' properties. 23                   occurred from the discharge. See
(Gochfeld Dep. at 46–50.) Consequently, Gochfeld's report                       Exhibit N–R to the McKenna
does not establish that Plaintiffs require medical monitoring.                  Certification.


Plaintiffs also appear to argue that their wells may have
been more contaminated prior to the initiation of Defendant's      (Opp. at 20–21.)
testing in July 2000. (Opp. at 20.) However, Plaintiffs
provide no evidence suggesting that such exposure actually         This evidence fails to establish an injury. Exhibits N–R
occurred or that any exposure prior to July 2000 was more          consist of contracts for sale and unexecuted contracts for
than minimal. Plaintiffs also argue for the first time in          sale of three of Plaintiffs' properties, including the Wallace
their Opposition that they may have ingested water from            property, leaving it to the Court's imagination to ascertain
contaminated sources besides the potable wells on their            how these contracts demonstrate a loss in value. Wallace's
property. (Opp. at 20.) However, Plaintiffs offer no evidence      testimony also fails to establish a stigma injury to the property.
that any Plaintiff actually consumed water from CW–8.
Without any evidence supporting their theories, Plaintiffs         Specifically, Wallace claims that she received a verbal offer
cannot establish a claim for medical monitoring sufficient to      for her asking price of $500,000.00 from a man named
survive summary judgment.                                          “Amin,” whose last name she cannot recall. (Marie Wallace
                                                                   Dep., McKenna Cert., Ex. 0, M.) Wallace claims that he
Because Plaintiffs have provided no evidence of a “distinctive     reneged from the agreement after she told him about the
increased risk of future injury” from the exposure, Plaintiffs     release, however, the alleged offeror never gave Wallace
are not entitled to damages for medical monitoring.                the offer in writing and she has no evidence of the offer
                                                                   or “Amin's” motive for withdrawing, aside from her own
                                                                   testimony. Consequently, even construing this evidence in the
2. Property Damage                                                 light most favorable to Plaintiffs, no reasonable jury could
Defendant requests summary judgment of Plaintiffs' claims          find that Plaintiffs' properties were stigmatized on the basis
of property damage on the grounds that the contamination           of this evidence alone.
caused no actual damage to Plaintiffs' properties. 24 Instead of


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                                                                       stated in §§ 160 and 161, is liable as a trespasser to the other
3. Emotional Distress                                                  irrespective of whether harm is thereby caused to any of his
Defendant also moves for summary judgment of Plaintiffs'               legally protected interests.
claim for emotional distress. Plaintiffs do not respond to this
argument in their Opposition, and Defendant is entitled to           Rest. (2d) Torts § 158.
summary judgment of Plaintiffs' emotional distress claim for
Plaintiffs' failure to present evidence of significant distress or   As Defendant argues, New Jersey has moved away from
physical injury.                                                     “such common law claims as trespass and nuisance” in
                                                                     environmental pollution cases.  Mayor and Council of
A claim for emotional distress cannot succeed absent
                                                                     Borough of Rockaway v. Klockner & Klockner, 811 F.Supp.
evidence of physical injury or “severe and substantial”
emotional distress, even where a person has a reasonable             1039, 1053 (D.N.J.1993);        Kenney v. Scientific, Inc., 204
concern of an enhanced risk of future disease. Ironbound             N.J.Super. 228, 256, 497 A.2d 1310 (1985) (“There is no
Health Rights Advisory Com'n v. Diamond Shamrock                     need for us ... to torture old remedies to fit factual patterns
Chem. Co., 243 N.J.Super. 170, 174–75, 578 A.2d 1248                 not contemplated when those remedies were fashioned.”).
(App.Div.1990) (noting that “[i]n the absence of physical            Regardless of the continuing viability of trespass claims in
injury, damages are allowed where the resultant emotional            the environmental context, however, Plaintiffs have failed to
distress is severe and substantial” and listing cases). Without      come forward with any evidence supporting their claim and
some physical injury, mere exposure to toxic chemicals does          cannot survive summary judgment.
not give rise to a claim for emotional distress damages.
Id. (holding plaintiffs unable to sustain emotional distress         Plaintiffs note that they are “not arguing that Defendants
claim for exposure to chemicals manufactured at plant near           intentionally caused the contamination of their property,”
                                                                     but rather are claiming that “defendants have repeatedly
their residences); see also   Mauro v. Raymark Indus., Inc.,
                                                                     refused to perform the horizontal and vertical delineation of
116 N.J. 126, 137, 561 A.2d 257 (1989); Troum v. Newark
                                                                     the soil and groundwater contamination in the area of the
Beth Israel Med. Ctr., 338 N.J.Super. 1, 17, 768 A.2d 177
                                                                     residential properties.” (Opp. at 25.) However, no evidence
(App.Div.2001). Because Plaintiffs provided no evidence of
                                                                     suggests that such measures were necessary to remove
significant emotional distress or physical injury, Defendant's
                                                                     contaminants from Plaintiffs' properties. Rather, the record
motion for summary judgment will be granted.
                                                                     indicates that Defendant consistently complied with NJDEP
                                                                     requirements, including the installation and maintenance of
B. Trespass                                                          a groundwater recovery system to rehabilitate the aquifer,
Defendant moves for summary judgment of Plaintiffs' claim            and the NJDEP never required Defendant to install any
for trespass. Plaintiffs argue that Defendant's “intentional         sort of remediation equipment on any of the residences.
refusal” to remove the contamination from their property             Given that there has been no detection of a gasoline-related
and failure to install remediation equipment amounts to an           contaminant in any Plaintiff's potable well since April 2001,
                                                                     the argument that Defendant permitted contamination to
intentional trespass. 25 (Opp. at 25.)
                                                                     remain on Plaintiffs' properties lacks any viable evidentiary
                                                                     foundation. Defendant's motion for summary judgment of
 *12 The Restatement (Second) of Torts defines intentional
                                                                     Plaintiffs' trespass claim will be granted.
trespass as:

  One who intentionally and without a consensual or other
                                                                     C. Strict Liability
  privilege
                                                                     Plaintiffs originally claimed a cause of action for strict
  (a) enters land in possession of another or any part thereof       liability under the theory that the handling, storage, or use
  or causes a thing or third person so to do, or                     of gasoline constitutes an abnormally dangerous activity.
                                                                     However, Plaintiffs voluntarily dismissed this claim in their
  (b) remains thereon, or                                            Opposition. (Pl.'s Opp. at 3.) Accordingly, the Court will not
                                                                     address the merits of Plaintiffs' strict liability claim.
  (c) permits to remain thereon a thing which the actor or his
  predecessor in legal interest brought thereon in the manner



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                                                                    three years and had taken no enforcement actions against
D. Environmental Statutes                                           contaminating defendant who continued operating its illegal
                                                                    facility two months after receiving a violation notice). Where
1. New Jersey Environmental Rights Act
                                                                    NJDEP “action subsequently proves sufficient to protect the
Plaintiffs allege a right to recover under the New Jersey
                                                                    environment,” however, NJDEP “action under the Spill Act is
Environmental Rights Act (“ERA”), N.J.S.A. 2A:35A–
                                                                    preemptive of private rights under ERA.” Superior Air Prod.,
1 et seq. Defendant requests summary judgment on the
                                                                    216 N.J.Super. at 61, 522 A.2d 1025. The permissibility of
grounds that Plaintiffs have not satisfied the ERA's notice
                                                                    private action must be evaluated on a case-by-case basis. Id.
provision, N.J.S.A. 2A:35A–11, and that an ERA claim is not
actionable where the NJDEP has acted to institute and oversee
                                                                    Here the record indicates consistent and pervasive NJDEP
remediation of the contamination.
                                                                    oversight of the remediation process, requiring Defendant
                                                                    to regularly test Plaintiffs' wells and institute interim and
 *13 Section 4(a) of the ERA, permits “any person” to
                                                                    permanent groundwater recovery systems. Plaintiffs have not
“maintain an action in a court of competent jurisdiction
                                                                    claimed that the NJDEP failed to act or acted unreasonably,
against any other person to enforce, or to restrain the violation
                                                                    and there are no grounds for finding NJDEP inaction
of, any statute, regulation or ordinance which is designed to
                                                                    sufficient to permit a private ERA suit. Furthermore, as
prevent or minimize pollution, impairment or destruction of
                                                                    discussed below, Plaintiffs failed to give the NJDEP the
the environment.” N.J.S.A. 2A:35A–4(a). Although the ERA
                                                                    requisite notice of their private suit. Accordingly, Defendant's
itself does not create substantive rights, it confers standing
                                                                    motion for summary judgment of Plaintiffs' ERA claim will
on private persons to enforce other environmental statutes,
                                                                    be granted.
including the New Jersey Spill Compensation and Control
Act (“Spill Act”).    Rockaway, 811 F.Supp. at 1054; Allied
Corp. v. Frola, 701 F.Supp. 1084, 1091 (D.N.J.1988).                2. Notice
                                                                     *14 Before a private party may commence an action
The NJDEP is “entrusted initially with the right to determine       under the ERA, the party must “at least 30 days prior to
the primary course of action to be taken.” Howell Township          the commencement thereof, direct a written notice of such
v. Waste Disposal, Inc., 207 N.J.Super. 80, 95, 504 A.2d 19         intention by certified mail, to the Attorney General, the
(App.Div.1986) (“In order to be effective, [the NJDEP] must         Department of Environmental Protection, the governing body
normally be free to determine what solution will best resolve       of the municipality in which the alleged conduct has, or
a problem on a state or regional basis given its expertise          is likely to occur, and to the intended defendant.” N.J.S.A.
and ability to view those problems and solutions broadly.”).        2A:35A–11. The notice provision is intended to give the
Consequently, the right of private parties to sue under the EPA     government an adequate opportunity to intervene in the
is “an alternative to inaction by the government which retains      litigation and to allow the NJDEP:
primary prosecutorial responsibility.” Superior Air Prod. Co.
v. NL Indus., Inc., 216 N.J.Super. 46, 58, 522 A.2d 1025
                                                                                 to exercise value judgments in
(App.Div.1987);      Rockaway, 811 F.Supp. at 1054 (“[T]he
                                                                                 individual cases, e.g., whether it will
primary goal of the ERA is to limit lawsuits by private
                                                                                 join in that litigation or enforcement
litigants to those instances where the government has not
                                                                                 proceeding, whether other actions it
acted.”).
                                                                                 may have taken already with respect
                                                                                 to the particular problem or offender
A private ERA suit may be permitted even in the absence
                                                                                 would render the litigation subject
of complete government inaction if the NJDEP has “failed
                                                                                 to collateral estoppel or res judicata
in its mission ... failed or neglected to act in the best
                                                                                 principles, whether its expertise would
interest of the citizenry or has arbitrarily, capriciously
                                                                                 assist the court, whether broad State
or unreasonably acted.” Howell, 207 N.J.Super. at 96,
                                                                                 interests would be sacrificed unduly to
504 A.2d 19;      Morris County Transfer Station, Inc. v.                        regional or personal interests by the
Frank's Sanitation Serv., Inc., 260 N.J.Super. 570, 578,                         instigators of that litigation, etc.
617 A.2d 291 (App.Div.1992) (permitting private ERA
action where the NJDEP would not address violation for


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                                                                    *15 Nevertheless, because the purpose of the notice
Howell, 504 A.2d at 95;   Morris County, 260 N.J.Super. at         provision is to provide the Attorney General and NJDEP with
578, 617 A.2d 291 (quoting Howell for same).                       notice of the suit and opportunity to intervene, Howell, 504
                                                                   A.2d at 95, and not merely to protect defendants, as in the case
Because Plaintiffs did not provide the required thirty day         of the affidavit of merit, Defendant is not judicially estopped
notice to the NJDEP or the Attorney General, they are barred       from raising Plaintiffs' lack of compliance with the notice
from further pursuing their claim under the ERA. Plaintiffs        provision and is entitled to summary judgment of Plaintiffs'
argue that Defendant is judicially estopped from claiming lack     ERA claim.
of notice for failure to raise this issue at an earlier stage in
the case. Plaintiffs analogize the ERA requirement to that
                                                                   E. Spill Act Claim
of an affidavit of merit, required in certain cases to avoid
                                                                   In their complaint, Plaintiffs assert a private right of action
“unmeritorious and frivolous malpractice lawsuits at an early
                                                                   under the Spill Act, N.J.S.A. 58:10–23.11 et seq. 26 As
stage of litigation.” Knorr v. Smeal, 178 N.J. 169, 197–98,
                                                                   amended in 1991, the Spill Act authorizes a private cause
836 A.2d 794 (2003) (holding judicially estopped defendant's
                                                                   of action for individuals to recover costs for environmental
request for summary judgment for plaintiff's failure to file
                                                                   damage to their property.   Housing Auth. of City of New
affidavit of merit) (citing    Palanque v. Lambert–Woolley,
                                                                   Brunswick v. Suydam Inv., L.L.C., 177 N.J. 2, 18, 826 A.2d
168 N.J. 398, 404, 774 A.2d 501, 505 (2001));     Ferreira         673 (2003). Actions under the Spill Act are limited to clean
v. Rancocas Orthopedic Assoc., 178 N.J. 144, 836 A.2d 779,         up and removal costs, Bahrle v. Exxon Corp., 145 N.J. 144,
(2003) (same).                                                     155, 678 A.2d 225 (1996), defined as:

Defendant argues that the ERA notice requirement is more
analogous to the notice of intent in the Resource Conservation        all direct costs associated with a discharge, and those
and Recovery Act (RCRA), which the Supreme Court held                 indirect costs that may be imposed by the department
                                                                      pursuant to section 1 of P.L.2002, c. 37 associated with a
to be a jurisdictional prerequisite to suit in    Hallstrom           discharge, incurred by the State or its political subdivisions
v. Tillamook County, 493 U.S. 20, 31, 110 S.Ct. 304, 107              or their agents or any person with written approval from
L.Ed.2d 237 (1989) (“[C]ompliance with the 60–day notice              the department in the: (1) removal or attempted removal of
provision is a mandatory, not optional, condition precedent           hazardous substances, or (2) taking of reasonable measures
for suit.”);   Public Interest Research Group of N.J., Inc.           to prevent or mitigate damage to the public health, safety,
v. Windall, 51 F.3d 1179, 1189 (3d Cir.1995) (holding                 or welfare, including, but not limited to, public and private
notice provision jurisdictional in context of Clean Water Act         property.
                                                                      N.J.S.A. 58:10–23.11b(d). The Act does not authorize
(“CWA”));      Hawksbill Sea Turtle v. Federal Emergency
                                                                      “damages arising from emotional distress, enhanced risk of
Mgmt. Agency, 126 F.3d 461, 471 (3d Cir.1997) (holding
                                                                      disease, loss of enjoyment of property, and other economic
notice provision jurisdictional in context of Endangered
                                                                      and financial harm.” Bahrle, 145 N.J. at 155, 678 A.2d 225.
Species Act (“ESA”)).
                                                                   Plaintiffs maintain that the investigation conducted by
                                                                   Ellwood was a reimbursable clean up and removal cost under
However, the language of the notice requirement in RCRA is
                                                                   the Spill Act. As Plaintiffs suggest, because “a discharge
not entirely analogous to that of the ERA. RCRA states, under
                                                                   cannot be addressed until the contaminants are defined
the heading of “Actions prohibited” that “No action may be
                                                                   and the extent of the discharge determined,” certain forms
commenced ... prior to 60 days after the plaintiff has given
                                                                   of investigative costs are implicitly included in the Act.
notice of the violation to” the Administrator, the state and the
alleged violator. 42 U.S.C.A. § 6972. The ERA lacks the “no           Metex Corp. v. Federal Ins. Co., 290 N.J.Super. 95, 115,
action may be commenced” language of the RCRA, CWA,                675 A.2d 220 (App.Div.1996).
and ESA, and states only that notice must be sent “at least
30 days prior to the commencement” of suit. Consequently,          However, for a private party to obtain reimbursement under
the argument that the plain language of the statute creates a      the Act, the party must have obtained “written approval
jurisdictional bar is not as strong in the context of the ERA.     from the department,” for example, in a memorandum of
                                                                   agreement, prior to incurring the cost. N.J.S.A. 58:10–


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                                                                 report, Defendant is entitled to summary judgment of
23.11b(d); Id. Such approval permits the NJDEP to “review
                                                                 Plaintiffs' Spill Act Claim.
and approve or disapprove its investigation to date, its
proposed remedial action, and its report of the implementation
                                                                 *16 The accompanying Order shall enter today.
of its action.” Id.; see also       Interfaith Cmty Org. v.
                                                                    Elcock, 233 F.3d at 741.
Honeywell Intern., Inc., 263 F.Supp.2d 796, 867 (D.N.J.2003)
(concluding “that such costs were approved by and/or
incurred at the direction of NJDEP and thus are recoverable      All Citations
under the Spill Act.”). Because Plaintiffs have not obtained
NJDEP approval for any cost incurred, including the Ellwood      Not Reported in F.Supp.2d, 2006 WL 166452




                                                         Footnotes


1      The following facts are taken from Defendant's statement of undisputed material facts, filed June 24,
       2005, (“Undisputed Facts”) and Plaintiffs' counterstatement of undisputed facts, filed Oct. 14, 2005,
       (“Counterstatement Facts”). Plaintiffs did not provide a separate statement of undisputed facts.
       Although Plaintiffs dispute the majority of Defendant's statements of fact, Plaintiffs' counterstatements
       typically provide additional facts without setting forth any conflicting evidence. Where no actual disputes are
       presented, Defendant's statements will be treated as undisputed. See e.g., Tofano v. Reidel, 61 F.Supp.2d
       289, 292 n. 1 (D.N.J.1999) (citing Fed.R.Civ.P. 56(e)) (“This court will ... not consider assertions without
       evidential support as creating genuine issues of disputed fact.”); Talbot v. United States, 2005 WL 2917463,
       *2 (D.N.J.2005) (noting that where the nonmoving party does not submit facts in opposition, “it is entirely
       appropriate for this court to treat all facts properly supported by the movant to be uncontroverted”) (quoting
       Allebach v. Sherrer, No. 04–287, 2005 U.S. Dist. LEXIS 15626, at *5 (D.N.J.2005)).
       More generally, Plaintiffs' brief suffers from numerous typographical errors and a dearth of citations to page
       numbers in the record. This “alone warrants exclusion of the evidence.” See      Orr v. Bank of America, NT
       & SA, 285 F.3d 764, 774–75 (9th Cir.2002) (holding that party's failure to cite page and line numbers when
       referencing the deposition merits exclusion of evidence);          Huey v. UPS, Inc., 165 F.3d 1084, 1085 (7th
       Cir.1999) ( “[J]udges need not paw over the files without assistance from the parties.”);          Nissho–Iwai Am.
       Corp. v. Kline, 845 F.2d 1300, 1307 (5th Cir.1988) (parties must designate specific facts and their location
       in the record).
2      Among the original litigants to the suit were also former plaintiffs Michael and Susan Kammerhoff and Norma
       Simmons. The Kammerhoff plaintiffs were voluntarily dismissed, and plaintiff Norma Simmons died on August
       26, 2000.
3      VOCs generally associated with gasoline discharge include MTBE, benzene, toluene, ethylbenzene, xylene
       (collectively “BTEX”), and tertiary butyl alcohol (“TBA”). The NJDEP has issued a Ground Water Quality
       Standard (“GWQS”) for each of these VOCs, also known as “gasoline-related compounds.” MTBE, for
       example, has a GWQS of 70 parts per billion (“ppb”).
4      Although Motiva detected MTBE in thirteen residential wells, not all of these wells are owned by Plaintiffs to
       this litigation. Of the twenty-seven parcels of property at issue in this suit, only eight of the properties contain
       wells that ever tested positive for any gasoline-related compound.
5      The direction of water's flow in an aquifer is described as “downgradient,” and the direction against the current
       is “upgradient.”
6      In particular, testing revealed emissions in monitoring wells 6–Shallow (“MW–6S”) and 7–Deep (“MW–
       7D”), which lie between the Motiva site and the residential properties. However, the majority of upgradient



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       monitoring wells did not test positive for gasoline-related contaminants. (NJDEP Directive, March 21, 2001
       (“March 2001 Directive”), Mairo Cert. in Supp. Def.'s Mot. Summ. J., filed June 24, 2005 (“Mairo Cert.”), Ex.
       O, at 4.)
7      Plaintiffs dispute Defendant's characterization of the CEA, (Counterstatement Facts ¶ 31), on the basis that
       Defendant proposed the CEA prior to conducting an actual delineation of the plume and that “the Plaintiffs'
       residential wells could only had [sic] been included in the CEA, if Defendant intended to supply a permanent
       public water supply to Plaintiffs' properties.” While Plaintiffs' contention with the CEA is not entirely clear,
       Plaintiffs have not provided any evidence indicating that the NJDEP improperly approved the CEA or that the
       CEA was an inaccurate representation of the boundaries of contaminants in excess of the GWQS.
8      Plaintiffs' properties are: 850 Sicklerville Road; 565, 569, 581, and 583 Berlin–Cross Keys Road; 6, 9, 10,
       12, 13, 14, 1, 16, 17, 18, 20 Spring Hollow; 2, 4, 6, and 8 Latham Way; 3, 4, 5, 7, 12, 14, and 15 Donna
       Marie Court.
9      CW–8 is located approximately 1,000 feet downgradient of the contamination site. (March 2001 Directive
       at 2.) While active, CW–8 pumps approximately 500 gallons per minute and causes the groundwater to
       flow southwest. (Ellwood Report at 2.) When CW–8 is not pumping, the groundwater flow is more westerly.
       (Ellwood Report at 2.)
10     Plaintiff disputes these facts on the basis that:
          The Defendant has no data for any portable [sic] water supply of the Plaintiffs prior to July 2000. The
          Defendant never performed any delineation of the groundwater plume in the areas of the residential
          properties despite having actual knowledge of such contamination in MW–6, MW–7 and MW–12. See Gallo
          Certification and Exhibits C, D and E.
       (Counterstatement Facts ¶¶ 46–48.) However, because Defendant makes no averment of the presence or
       absence of contamination prior to July 2000, Defendant's statements are not actually in dispute. Plaintiffs
       provide no fact indicating an inaccuracy in Defendant's statements regarding the testing of Plaintiffs' wells.
       Consequently, there is no actual dispute regarding the presence or amount of detected gasoline-related
       compounds.
11     Plaintiffs dispute these statements by citing to Exhibit F of the McKenna certification; however, Exhibit F is
       the Ellwood report and therefore is not indicative of the NJDEP requirements. Plaintiffs nowhere cite to a
       statement by the NJDEP requiring Defendant to treat their water or provide them with an alternate water
       source, and therefore this fact is undisputed.
12     Because this Court will grant Defendant's motion for summary judgment, it will not reach the merits of
       Defendant's motions to exclude experts Gochfeld, Ellwood, and Gallo.
13     After Daubert, Rule 702 was amended to encompass the Daubert analysis:
          If scientific, technical, or other specialized knowledge will assist the trier of fact to understand the evidence
          or to determine a fact in issue, a witness qualified as an expert by knowledge, skill, experience, training,
          or education, may testify thereto in the form of an opinion or otherwise, if (1) the testimony is based upon
          sufficient facts or data, (2) the testimony is the product of reliable principles and methods, and (3) the
          witness has applied the principles and methods reliably to the facts of the case.
       Fed.R.Evid. 702. While Daubert itself addressed only the admissibility of scientific evidence, the Court
       has since noted that courts' gatekeeping obligations extend to all expert testimony.         Kumho Tire Co. v.
       Carmichael, 526 U.S. 137, 151, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999).
14     The Court noted that it had “misgivings” about the expert's qualifications in spite of:
         (1) [the expert's] general training in “assessing” individuals, which he received while earning his Ph.D. in
         psychology; (2) his experience, twenty years previous, helping drug addicts reenter the workforce; (3) his
         experience primarily in the last two years dealing with the Virgin Islands Division of Workers' Compensation,
         which he had advised regarding the ability of approximately fifty to sixty-five disabled employees to return to
         their previous jobs; (4) his past experience as an expert witness making lost earning capacity assessments;
         (5) his attendance at two seminars regarding vocational rehabilitation, and his stated familiarity with the
         literature in the area; (6) his membership in two vocational rehabilitation organizations, both of which place


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          no restrictions on membership; and (7) the fact that when [the expert] was in school, a degree in vocational
          rehabilitation therapy was not available, but that he received similar training nonetheless.
15     Plaintiffs also argue that “Defendant does not attack the methodology, standard or factual basis for the
       opinions,” (Opp. at 31), however, it is quite clear from Defendant's motion that the reliability of McDonald's
       methodology is hotly disputed.
16     McDonald also appeared unaware of the fact that Plaintiffs' properties are served by potable wells, even
       though the potable wells contain the evidence of contamination.
             Q: Do you know whether or not the plaintiffs' properties have potable wells?
             A: It's my understanding that they are hooked to a public water system.
             Q: If each of the properties did in fact have a potable well, would that be a factor that you were consider
             relevant in your analysis?
          Mr. McKenna: You may want to review the documents that you referenced in your report to assist you in
             this area. Just separate the Ellwood and Gallo reports. I'm going to go to the men's room.
          (Whereupon, a recess is taken.)
          Mr. Mairo: I am going to object that Mr. McKenna was basically coaching the witness.
             Back on the record.
             A: Your question about whether or not each of these houses were, was, had their own private well on site-
             Q: Uh-huh?
             A: -it's my understanding that each house is served by wells within and around the neighborhood and
             that Consumer, Consumers Water Company owns those wells and supplies that water to the homes.
       (McDonald Dep. at 36.)
17     McDonald reaches the 35% devaluation figure with the following methodology:
          The subject properties are in the early stages of monitoring, and clean up of the ground water
          contamination. The properties from Dover Twp. are beyond the clean up stage and into the final stage
          of recovery, yet they still show a 13% loss in value as compared to similar properties outside of the
          contaminated area. The subject area is in stage D of recovery, which is the beginning of the remediation
          process. Based on the acceptance of the Detrimental Condition Model as a viable process for valuing
          Detrimental Conditions to Real Estate, by the appraisal community and the Subcommittee on Housing and
          Community Opportunity of the House Committee on Financial Services, it would be logical to assume that
          the discount to the properties which are the subject of this report, would be 2 to 3 times that of properties
          in the final stage of recovery. In this case a discount of 35% would be considered reasonable.
       (McDonald Report at 31.)
18     Interbay Funding, for example, qualified their statement that they would not lend by noting, “The property
       would have to be completely cleaned up. They would have to file all necessary documents to the state of NJ
       and we would require something from the state telling us the property is cleaned up.” (McDonald Report at
       32.) From this, McDonald concluded that Interbay Funding would not lend on properties such as Plaintiffs',
       without considering that none of Plaintiffs' properties were contaminated in excess of state standards.
19     In evaluating this data, McDonald states:
          The lenders that did respond have overwhelmingly stated that they would not approve the loan at all, or they
          would require substantial conditions to the loan. In the case of the subject properties, it can be assumed
          that a purchaser with private financing or cash would be the only potential buyer of houses in this area.
       (McDonald Report at 32.)
20     Because the Court now finds that there is no evidence of any actual injury arising from Defendant's
       negligence, this Court will not address Defendant's causation argument.
21     Plaintiff argues that Defendant's motion for summary judgment of its negligence claim should be denied
       on the basis of the doctrine of res ipsa loquitur. However, res ipsa loquitur acts only to “permit[ ] an
       inference of defendant's negligence” (i.e., that defendant acted in an unreasonable manner) under particular
       circumstances.     Jerista v. Murray, 185 N.J. 175, 192, 883 A.2d 350 (2005). The doctrine does not establish




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       either causation or the presence of damages. See e.g.,       Bahrle v. Exxon Corp., 279 N.J.Super. 5, 35, 652
       A.2d 178 (App.Div.1995) (holding res ipsa doctrine inapplicable where “there was a factual dispute as to
       whether the contamination was a result of plaintiffs' own voluntary acts or neglect”). Accordingly, because
       Defendant is contesting only causation and damages, the res ipsa doctrine does not apply.
22     Gochfeld testifies in his deposition that he created his report without any specific information about the
       Plaintiffs:
             Q: So, for example, in determining the percentage of the target population that was in high exposure
             category, that wasn't based on the ground water, your review of the ground water tables that were
             attached to Mr. Gallo's report?
             A: It was not.
             Q: That was based purely on just an assumption of yours?
             A: It was an assumption based on experience with previous programs or programs that are currently
             underway in our communities.
             Q: Having no specific factual knowledge of the actual exposures in this case?
             A: That's correct, these are hypotheticals.
       (Gochfeld Dep. at 28–29.)
23     Gochfeld also states that he would not even recommend medical monitoring for the one property with by far
       the highest detection of MTBE (13.8 ppb at 4 Latham Way) “on this data alone” because “[i]t is possible that
       a person living there would only be drinking bottled water, would not be in the house very much.” (Gochfeld
       Dep. at 50.)
24     Defendant argues further that New Jersey law does not permit Plaintiffs to recover for stigma damages in
       the absence of some physical harm to their property. Because Plaintiffs have provided no evidence of any
       stigma to their property, the Court will not reach Defendant's alternative argument.
25     It is unclear whether Plaintiffs allege negligent trespass since they discuss only the Restatement (Second)
       of Torts § 158, Intentional Trespass, in their Opposition. Unlike intentional trespass, negligent or reckless
       trespass requires evidence of “harm to the land, to the possessor, or to a thing or a third person.” Rest.
       Torts 2d § 165; see also       Burke v. Briggs, 239 N.J.Super. 269, 271, 571 A.2d 296 (App.Div.1990) (citing
       Rest.2d Torts § 158 with approval for another premise); Karpiak v. Russo, 450 Pa.Super. 471, 481, 676
       A.2d 270 (Pa.Super.1996) (affirming dismissal of trespass claim for entry of dust onto property since the
       “evidence failed to establish that the dust caused appellants harm”). As discussed previously, Plaintiffs have
       not provided any evidence of injury to their persons or property. Consequently, to the extent that Plaintiffs
       are claiming negligent trespass, Defendant is entitled to summary judgment.
26     It is unclear whether Plaintiffs also raise a claim for cleanup and removal costs from the Spill Compensation
       Fund under      N.J.S.A. 58:10–23.11g(a). (Opp. at 12–13.) However, the appropriate procedure to obtain
       compensation under the Fund is by filing a claim with the administrator of the Fund, “not later than one year
       after the date of discovery of damage. The administrator shall prescribe appropriate forms and procedures
       for such claims.” N.J.S.A. 58:10–23.11k. In the event “a party, including a potentially responsible party ...
       contests the amount or validity of” a claim for reimbursement from the Spill Fund, “the dispute is referred to
       an arbitrator whose decision may be appealed to the Appellate Division,” and the arbitrator's decision will be
       final unless it was “arbitrary, capricious, or unreasonable.” Lacey Municipal Util. Auth. v. New Jersey Dept.
       of Envir. Prot., Envir. Claims Admin., 369 N.J.Super. 261, 273, 848 A.2d 843 (App.Div.2004). Accordingly,
       this is an improper forum for a Spill Compensation Fund claim.


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                             TAB 26
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                  2019 WL 3069864                                             Allegations of Disparate Treatment
    Only the Westlaw citation is currently available.
       United States District Court, D. Oregon.                    Redwind excelled at her job, winning numerous performance
                                                                   awards and consistently receiving high marks in annual
             Sage REDWIND, Plaintiff,                              company performance reviews. (Compl. ¶ 4.) Despite
                      v.                                           Redwind's strong work performance, Western Union treated
          WESTERN UNION, LLC, Defendant.                           employees of other races more favorably. (Compl. ¶¶
                                                                   5-6.) Specifically, Redwind alleges that Western Union
                 Case No. 3:18-cv-02094-SB                         disproportionately hired, promoted, and gave raises to Latinx
                              |                                    employees. (Compl. ¶¶ 5-6.)
                     Signed 06/21/2019
                                                                   On January 15, 2018, Redwind asked Stefani Carroll
Attorneys and Law Firms
                                                                   (“Carroll”), a human resources (“HR”) professional, about
                                                                   the average salary for her position. (Compl. ¶ 24.) Carroll
Sage Redwind, Hillsboro, OR, pro se.
                                                                   declined to answer, citing company confidentiality. (Compl.
Elizabeth A. Falcone, Paul E. Cirner, Amanda C. Van Wieren,        ¶ 24.) Undeterred, Redwind asked another HR employee the
Ogletree Deakins Nash Smoak & Stewart P.C., Portland, OR,          same question on February 1, 2018, and learned that $56,000
for Defendant.                                                     was “the minimum” for her position. (Compl. ¶ 25.) That
                                                                   same day, Redwind revealed to Carroll what she had learned.
                                                                   (Compl. ¶ 27.) Carroll “acknowledged that Redwind's salary
        FINDINGS AND RECOMMENDATION                                was below the company approved minimum but took no
                                                                   corrective action[.]” (Compl. ¶ 27.)
STACIE F. BECKERMAN United States Magistrate Judge

 *1 Plaintiff Sage Redwind (“Redwind”), appearing as a
self-represented litigant, brings this action against her former                   Allegations of Retaliation
employer, Western Union, LLC (“Western Union”), alleging
                                                                   During the course of her employment, Redwind filed a
claims for discrimination and retaliation in violation of Title
                                                                   grievance against her former manager, Lorena Casillas Calvo
VII of the Civil Rights Act of 1964. (ECF No. 1.)
                                                                   (“Calvo”). (Compl. ¶ 8.) Calvo responded to Redwind's
                                                                   grievance by requiring Redwind to work sixteen to twenty
Pending before the Court is Western Union's partial motion
                                                                   hours a day with no breaks. (Compl. ¶ 8.) Redwind
to dismiss (ECF No. 5), and Redwind's motion for sanctions.
                                                                   complained to Calvo about her work schedule. (Compl. ¶ 9.)
(ECF No. 15.) The Court has jurisdiction over this case
                                                                   Calvo forwarded Redwind's complaints to Calvo's manager,
under 28 U.S.C. § 1331. For the following reasons, the Court
                                                                   Brad Lewis Gray (“Gray”), who then dismissed Redwind's
recommends that the district judge grant in part, and deny in
                                                                   concerns as “unproductive and uncivil.” (Compl. ¶ 9.)
part, Western Union's motion to dismiss. The Court denies
Redwind's motion for sanctions.
                                                                   Following these interactions, Western Union referred
                                                                   Redwind's grievance to outside counsel. (Compl. ¶ 11.) This
                                                                   was not Western Union's “common practice for handling
                     BACKGROUND 1                                  employee grievances.” (Compl. ¶ 11.) When Redwind asked
                                                                   for Western Union's HR department to handle her grievance
Redwind, a woman of Indian ancestry, started working for           instead of outside counsel, Western Union “refused and
Western Union in February 2008. (Compl. ¶¶ 1, 3.) Redwind          threatened that if [Redwind] did not comply by engaging
began as a Territory Manager and later became an Account           their attorney, disciplinary action may be taken against
Executive for the state of Oregon. (Compl. ¶ 3.)                   her.” (Compl. ¶ 12.) Redwind then filed a charge with
                                                                   the Equal Employment Opportunity Commission (“EEOC”).
                                                                   (Compl. ¶ 12.)




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 *2 On October 31, 2017, Redwind applied for an                     entitlement to relief.” (quotations and citation omitted)). “In
open Account Executive position in Spokane, Washington.             sum, for a complaint to survive a motion to dismiss, the non-
(Compl. ¶ 13.) On January 23, 2018, Redwind learned that her        conclusory ‘factual content,’ and reasonable inferences from
final interview was set for February 3, 2018. (Compl. ¶ 15.)        that content, must be plausibly suggestive of a claim entitling
Two days later, Western Union informed Redwind via email
                                                                    the plaintiff to relief.”     Moss v. U.S. Secret Serv., 572 F.3d
that the position she applied for had closed. (Compl. ¶ 15.)
On February 13, 2018, Western Union terminated Redwind's            962, 969 (9th Cir. 2009) (quoting        Iqbal, 556 U.S. at 678).
employment. (Compl. ¶ 35.)
                                                                    “A document filed pro se is to be ‘liberally construed,’ and a
                                                                    ‘pro se complaint, however inartfully pleaded, must be held
                                                                    to less stringent standards than formal pleadings drafted by
    Prior and Current Litigation Between the Parties
                                                                    lawyers.’ ”         Woods v. Carey, 525 F.3d 886, 889-90 (9th
On October, 27, 2014, Redwind filed an action in the
                                                                    Cir. 2008) (quoting         Erickson v. Pardus, 551 U.S. 89, 127
District of Oregon against Western Union, “alleging claims
                                                                    (2007)).
for defamation, discrimination, harassment, retaliation, and
discriminatory pay practices.” Redwind v. Western Union,
LLC, No. 3:14-cv-01699-AC, 2016 WL 3606595, at *1 (D.               II. DISCUSSION
Or. May 2, 2016); Compl. ¶ 2. 2 The district court granted, and     Western Union asks the Court to dismiss Redwind's pay
the Ninth Circuit affirmed, summary judgment for Western            discrimination claim on the grounds that (1) Redwind fails
Union on all of Redwind's claims. See Redwind v. Western            to state a valid claim for relief; and (2) principles of claim
Union, LLC, 698 F. App'x 346 (9th Cir. 2017).                       preclusion bar any pay discrimination claim that accrued
                                                                    before April 5, 2015. (Def.'s Mot. at 6.) Western Union also
On December 12, 2018, Redwind filed this case against               asks the Court to dismiss part of Redwind's retaliation and
Western Union, alleging Title VII claims for retaliation and        discrimination claims because Western Union's decision to
discrimination. (ECF No. 1.) This motion followed. (ECF No.         refer her grievances to outside counsel does not constitute an
5.)                                                                 adverse employment action. (Def.'s Mot. at 8.)

                                                                     *3 Redwind responds by asking the Court to deny Western
                                                                    Union's motion to dismiss for three reasons: (1) Western
                         ANALYSIS
                                                                    Union violated Local Rule (“LR”) 7-1(a)(1)(A) by failing to
I. STANDARD OF REVIEW                                               confer in good faith before filing its motion; (2) Federal Rule
A well-pleaded complaint requires only “a short and plain           of Civil Procedure 12(b)(6) does not allow a party to move
statement of the claim showing that the pleader is entitled         for partial dismissal of a claim; and (3) Redwind has stated
to relief.” FED. R. CIV. P. 8(a)(2). A federal claimant is not      valid claims for relief. Redwind also moves for sanctions
required to detail all factual allegations, but the complaint       against Western Union, raising the same arguments. (ECF No.
must provide “more than labels and conclusions, and a               15.) The Court will address Redwind's procedural arguments
formulaic recitation of the elements of a cause of action will      before turning to the merits.

not do.”     Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
(2007). “Factual allegations must be enough to raise a right           A. LR 7-1(a)(1)(A)
to relief above a speculative level.” Id. While the court must      LR 7-1(a)(1)(A) requires a moving party to certify that
assume all facts alleged in a complaint are true and view them      the “parties made a good faith effort through personal
in a light most favorable to the nonmoving party, it need not       or telephone conferences to resolve the dispute, and have
accept as true any legal conclusion set forth in the complaint.     been unable to do so[.]” LR 7-1(a)(1)(A). This rule
   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In addition, a      “encourage[s] parties to resolve amicably disputes when
plaintiff must set forth a plausible claim for relief, a possible   possible, preserving judicial resources for those matters that
claim for relief will not do. Id. (“Where a complaint pleads        require the court's intervention.” Thompson ex rel. Thorp
facts that are merely consistent with a defendant's liability, it   Family Charitable Remainder Unitrust v. Federico, 324 F.
stops short of the line between possibility and plausibility of     Supp. 2d 1152, 1172 (D. Or. 2004).



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                                                                    complaint includes factual allegations that state a plausible
Redwind argues that Western Union failed to comply with             claim for relief.”) (emphasis in original); Doe v. Napa Valley
LR 7-1(a)(1)(A) because Redwind informed Western Union              Unified Sch. Dist., No. 17-cv-03753-SK, 2018 WL 4859978,
during the parties' conferral that her claims did not arise from    at *2 (N.D. Cal. Apr. 24, 2018) (“By its own terms, there
her previous suit against Western Union, thereby resolving          does not appear to be any way to grant partial dismissal of a
any dispute about that issue. (Pl.'s Opp'n at 2, 4-5.) As Western   claim under Fed. R. Civ. P. 12(b)(6).”) (quoting In re Netopia,
Union points out, however, LR 7-1(a)(1)(A) does not require         Inc., Sec. Litig., No. C-04-03364 RMW, 2005 WL 3445631,
a party to agree with the legal conclusions an opposing             at *3 (N.D. Cal. Dec. 15, 2005)). In other words, courts may
party makes during conferral. Rather, LR 7-1(a)(1)(A) only          not dismiss only some of the claim's allegations if the claim
requires a party to discuss disputed issues with an opposing
                                                                    otherwise survives. See Thompson v. Paul, 657 F. Supp. 2d
party before seeking court intervention. Western Union did
                                                                    1113, 1129 (D. Ariz. 2009) (“The Court is unaware, however,
so, and therefore the Court finds that Western Union complied
                                                                    of any situation in which a Rule 12(b)(6) motion may be used
with LR 7-1(a)(1)(A).
                                                                    to strike certain allegations in support of a claim, where the
                                                                    underlying claim itself is not challenged.”); In re Netopia,
   B. Partial Motion to Dismiss                                     Inc, 2005 WL 3445631, at *3 (denying a motion to dismiss
Redwind argues that Western Union's partial motion to               because Rule 12(b)(6) “should not be used on subparts of
dismiss is procedurally improper because Federal Rule of            claims; a cause of action either fails totally or remains in the
Civil Procedure (“Rule”) 12(b)(6) does not allow a party to         complaint”); Limone v. United States, 271 F. Supp. 2d 345,
seek partial dismissal of a claim. Instead, Redwind argues that     364 (D. Mass. 2003) (holding that a defendant may not “seek
Western Union should have filed a motion to strike under Rule       dismissal of facts rather than claims” under Rule 12(b)(6))
12(f). 3 (Pl.'s Opp'n at 2, 9.)                                     (emphasis in original).

Rule 12(f) authorizes courts to strike from a pleading “any         Here, Western Union moves to dismiss only one aspect
redundant, immaterial, impertinent, or scandalous matter.”          of Redwind's retaliation and discrimination claim—Western
FED. R. CIV. P. 12(f). By contrast, Rule 12(b)(6) allows            Union's decision to refer Redwind's grievance to outside
a party to move for dismissal when a complaint fails to             counsel. Granting Western Union's motion to dismiss this
state a valid claim for relief. FED R. CIV. P. 12(b)(6). The        allegation would not dismiss Redwind's retaliation and
Ninth Circuit has made clear that “an attempt to have certain       discrimination claim because she also alleges, among other
portions of [the plaintiff's] complaint dismissed” is an action     things, that Western Union terminated her after she filed a
“better suited for a Rule 12(b)(6) motion [ ], not a Rule 12(f)     charge with the EEOC. (Compl. ¶¶ 12, 15.) Accordingly, the
                                                                    district judge should deny Western Union's motion to dismiss
motion.”     Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d
                                                                    only part of Redwind's retaliation claim. See Finnegan v.
970, 974 (9th Cir. 2010); see also Yamamoto v. Omiya, 564
                                                                    Washoe Cty., No. 3:17-cv-00002-MMD-WGC, 2017 WL
F.2d 1319, 1327 (9th Cir. 1977) (“Rule 12(f) is neither an
                                                                    3299040, at *3 (D. Nev. Aug. 2, 2017) (“While Defendant
authorized nor a proper way to procure the dismissal of all or a
                                                                    asks the Court to strike the paragraphs ..., the purpose
part of a complaint.”) (citation and quotation marks omitted).
                                                                    of a Rule 12(b)(6) motion is not for the Court to strike
Allowing litigants to use Rule 12(f) “to dismiss some or all of
                                                                    selected portions of a plaintiff's complaint. Thus, although
a pleading” “create[s] redundancies within the Federal Rules
                                                                    the allegations in these paragraphs of the [complaint] may
of Civil Procedure, because a Rule 12(b)(6) motion ... already
                                                                    not amount to acts of discrimination or adverse employment
serves such a purpose.”      Whittlestone, Inc., 618 F.3d at 975.   action under Title VII, [the plaintiff] is still permitted to
                                                                    include them.”).
 *4 Although Rule 12(b)(6) is the proper procedural
mechanism to dismiss part of a complaint, many courts have
recognized that a party may not use Rule 12(b)(6) to dismiss           C. Merits
                                                                    Western Union moves to dismiss Redwind's pay
only part of a claim. See   BBL, Inc. v. City of Angola, 809        discrimination claim on the ground that Redwind has failed to
F.3d 317, 325 (7th Cir. 2015) (“A motion to dismiss under           state a claim because she does not allege that Western Union
Rule 12(b)(6) doesn't permit piecemeal dismissals of parts          paid similarly situated employees a higher salary. (Def.'s Mot.
of claims; the question at this stage is simply whether the         at 5-6.) The Court agrees.


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                                                                    10-2808, 2011 WL 2976874, at *3 (D. Ariz. July 22, 2011)
                                                                    (dismissing the plaintiff's race discrimination claim because
Title VII makes it unlawful for an employer to “discriminate
                                                                    the plaintiff alleged “no facts to demonstrate that she and the
against any individual with respect to his compensation,
terms, conditions, or privileges of employment, because             [comparator] ... displayed similar conduct”). 4
of such individual's race, color, religion, sex, or national
origin[.]”    42 U.S.C. § 2000e-2(a). To establish a prima             D. Sanctions
facie case of pay discrimination, Redwind must allege that:          *5 On January 25, 2019, Redwind filed a motion for Rule 11
(1) she belongs to a protected class; (2) she was qualified         sanctions. (ECF No. 15.) Redwind argues that sanctions are
for her position; (3) she was subjected to an adverse               warranted because: (1) Western Union falsely certified that
employment action; and (4) Western Union paid similarly             the parties were unable to resolve their dispute without the
situated individuals outside her protected class a higher salary.   Court's intervention; (2) Western Union's motion to dismiss
See Redwind, 2016 WL 3606595, at *9 (citing        Davis v.         is procedurally improper; (3) Redwind sufficiently alleged a
Team Elec. Co., 520 F.3d 1080, 1089 (9th Cir. 2008)).               claim for relief; and (4) Western Union failed to file an answer
                                                                    to Redwind's complaint. (ECF No. 15.) For the reasons stated
Here, Redwind has not alleged the final required element.           above, the Court finds that Western Union had a reasonable
Although Redwind alleges that Western Union treats Latinx           basis for filing its motion to dismiss under Rule 12(b)(6), and
employees more favorably, Redwind does not allege that              for not filing an answer to Redwind's complaint. Therefore,
these employees are similarly situated or that Western pays         the Court denies Redwind's motion for sanctions.
them a higher salary. As a result, the district judge should
dismiss without prejudice Redwind's pay discrimination
claim. See Ross v. Rengo Packaging, Inc., No. 17-cv-00200                                  CONCLUSION
RLP, 2017 WL 3821776, at *2 (D. Haw. Aug. 31, 2017)
(dismissing the plaintiff's Title VII discrimination claim for      For the reasons stated, the Court recommends that the
failure to allege that the defendant “treated other similarly       district judge GRANT Western Union's motion to dismiss
situated employees more favorably”); see also Simons v.             Redwind's pay discrimination claim, and DENY Western
Costco Wholesale Corp., No. 3:18-cv-00755-SB, 2018 WL               Union's motion for partial dismissal of Redwind's retaliation
7078666, at *3 (D. Or. Dec. 6, 2018) (finding a plaintiff's         and discrimination claims. (ECF No. 5.) The district judge
allegation that he was demoted “for a purported improper            should allow Redwind to file an amended complaint within
employee practice, for which similarly situated Caucasian           fourteen days if she is able to cure the deficiencies discussed
colleagues were neither disciplined, nor demoted” to be “no         herein. The Court DENIES Redwind's motion for sanctions.
more than a conclusory assertion that Plaintiff and his co-         (ECF No. 15.)
workers were similarly situated” because the plaintiff did
“not describe the purported improper employment practice
at issue, or allege facts related to the circumstances of
                                                                                      SCHEDULING ORDER
Defendant's differential treatment”); Demekpe v. Cty. of Los
Angeles, No. 15-cv-06007, 2015 WL 13237302, at *8 (C.D.             The Court will refer its Findings and Recommendation to a
Cal. Dec. 8, 2015) (holding that the plaintiff “failed to allege    district judge. 5 Objections, if any, are due within fourteen
facts showing that he was ‘similarly situated’ to” employees        (14) days. If no objections are filed, the Findings and
outside his protected class where the plaintiff alleged “only       Recommendation will go under advisement on that date. If
vague facts about his own conduct and no facts about the            objections are filed, a response is due within fourteen (14)
conduct” of the other employees); Barrett v. Kaiser Found.          days. When the response is due or filed, whichever date
Health Plan of the Nw., No. 3:14-cv-020160-SI, 2015 WL              is earlier, the Findings and Recommendation will go under
1491037, at *3 (D. Or. Apr. 1, 2015) (dismissing the plaintiff's    advisement.
Title VII discrimination claim because the plaintiff provided
“no more than a conclusory assertion that [the] [p]laintiff
and [his comparator] were similarly situated,” and failed           All Citations
to allege any facts about his comparator's circumstances);
Brown v. Litchfield Elementary Sch. Dist. No. 79, No.               Slip Copy, 2019 WL 3069864



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                                                   Footnotes


1     The following facts are either undisputed or viewed in the light most favorable to Redwind.
2     The Court takes judicial notice of the court records in Redwind's prior suit against Western Union. See
         United States v. Raygoza-Garcia, 902 F.3d 994, 1001 (9th Cir. 2018) (noting that courts may take judicial
      notice of undisputed matters of public record, including “court records”) (citations omitted).
3     Redwind further argues that Western Union's partial motion to dismiss did not excuse its obligation to answer
      Redwind's complaint within twenty-one days. (Pl.'s Opp'n at 13.) On the contrary, “[m]any district courts have
      held that a motion to dismiss filed by a defendant that is directed against less than all of the claims alleged
      by a plaintiff suspends the time for that defendant to answer the unchallenged claims.” In re Premera Blue
      Cross Customer Data Sec. Breach Litig., 198 F. Supp. 3d 1183, 1191 (D. Or. 2016) (citing ThermoLife Int'l,
      LLC v. Gaspari Nutrition, Inc., 2011 WL 6296833, at *5 (D. Ariz. Dec. 16, 2011)). Consistent with this line of
      authority, the Court finds that Western Union's partial motion to dismiss suspended its obligation to answer
      Redwind's complaint.
4     Western Union also moved to dismiss Redwind's pay discrimination claim to the extent that it accrued prior
      to April 5, 2015. Redwind represented in her response to Western Union's motion and to the Court at oral
      argument that her pay discrimination claim arises only from events that occurred in 2017-2018. Although in
      her original complaint Redwind references her ten-year employment relationship with Western Union (see
      Compl. ¶¶ 26, 51), the Court is satisfied that Redwind understands she is estopped from re-litigating her
      previously-litigated pay discrimination claims.
5     Absent consent of all parties to the jurisdiction of a U.S. Magistrate Judge, the undersigned must refer any
      dispositive motions to a U.S. District Judge by issuing Findings and Recommendation (“F&R”). Parties may
      avoid this review process, while preserving the right of appeal to the Ninth Circuit Court of Appeals, by
      consenting to the jurisdiction of a U.S. Magistrate Judge. Parties may consent at any time prior to trial, and
      Standing Order 2017-4 directs that parties may file consents electronically (in CM/ECF, “Consents” may be
      found under “Civil Events,” “Other Filings”). Consents filed while an F&R is pending will not become effective
      until after the U.S. District Judge has ruled on the pending F&R.


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                             TAB 27
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                                                                   from Defendant's sale of and maintenance of a roofing system
                                                                   on Plaintiffs' home. Currently before the Court is Defendant's
                  2010 WL 3081789
                                                                   Motion for Partial Dismissal of Claims under Federal Rule
    Only the Westlaw citation is currently available.
                                                                   of Civil Procedure 12(b)(6). For the reasons that follow, the
 This decision was reviewed by West editorial                      Court grants that motion.
staff and not assigned editorial enhancements.

               United States District Court,                       I. BACKGROUND
                   E.D. Pennsylvania.                              According to Plaintiffs' Complaint, Defendant GAF, a New
                                                                   Jersey corporation, was in the business of manufacturing,
   Jeffrey M. REIFF and Dominique Reiff, Plaintiffs,               designing, selling, and producing roofing materials, including
                         v.                                        the “Tru Slate 2.0 Roof System,” as well as materials and
         GAF MATERIALS CORP., Defendant.                           accessories necessary for the installation of said roofing
                                                                   system. (Compl.¶ 5.) Plaintiffs are citizens of Pennsylvania
                  Civil Action No. 10–1142.                        and also own a home in Ventnor, New Jersey. (Id. ¶¶ 1, 8.) In
                               |                                   the summer of 2007, Plaintiffs decided to place a slate roof on
                         Aug. 6, 2010.                             their New Jersey home. (Id. ¶¶ 8–9.) They retained a general
                                                                   contractor, JP Leeds, Jr. Builder, Inc. (“Leeds”), which in turn
Attorneys and Law Firms
                                                                   contracted with Defendant to purchase a Tru Slate 2.0 Roof
Raymond M. Bily, Reiff and Bily, Philadelphia, PA, for             System. (Id. ¶¶ 9–10.) Defendant strongly recommended that
Plaintiffs.                                                        Leeds retain Select Roofing & Siding LLC (“Select Roofing”)
                                                                   to install the roof, claiming that Select Roofing had significant
Charles V. Curley, Scott M. Rothman, Halberstadt Curley,           experience and expertise in installing the roofing system in
LLC, Conshohocken, PA, for Defendant.                              coastal areas where roofs were often subject to high winds
                                                                   and stormy conditions. (Id. ¶¶ 11–12.) Leeds retained Select
                                                                   Roofing, which installed the roofing system in or about the
                           ORDER                                   middle of October 2007, at a cost to Plaintiffs of $36,295.12.
                                                                   (Id. ¶ 14.)
BERLE M. SCHILLER, District Judge.
                                                                   On or about May 12, 2008, a severe storm struck the New
 *1 AND NOW, this 6th day of August, 2010, upon
                                                                   Jersey coast, and as a result, dozens of slate tiles became
consideration of Defendant's Motion for Partial Dismissal of
                                                                   dislodged from Plaintiffs' Tru Slate roof. (Id. ¶ 15.) One slate
Claims Under Fed.R.Civ.P. 12(b)(6) and Plaintiffs' response
                                                                   tile damaged the exterior of a neighboring property, while
thereto, and for the reasons stated in the Court's Memorandum
                                                                   other slate tiles broke a window and landed on a second
dated August 6, 2010, it is hereby ORDERED that:
                                                                   floor deck of the same neighboring property. (Id.) Plaintiffs
                                                                   contacted GAF to request its assistance in repairing the roof
1. Defendant's Motion for Partial Dismissal of Claims Under
                                                                   and ensuring that this did not happen again. (Id. ¶ 17.)
Fed.R.Civ.P. 12(b)(6) (Doc. No. 7) is GRANTED.
                                                                   On June 25, 2008, Defendant's TruSlate Business Manager
2. Counts I and III of Plaintiffs' Complaint are hereby
                                                                   told Plaintiffs that GAF was committed to solving any
DISMISSED.
                                                                   problems that existed with the Tru Slate Roofing System,
                                                                   and intended to use Plaintiffs' property as a “model” to show
3. Defendants shall file an Answer to Plaintiff's Complaint no
                                                                   to prospective purchasers of the Tru Slate Roofing System.
later than Monday, August 16, 2010.
                                                                   (Id. ¶¶ 18–19.) Subsequently, GAF sent a team of technicians
                                                                   and certified slate roof installers to travel to Plaintiffs' home
                                                                   in order to remedy the problems with the Tru Slate Roofing
                      MEMORANDUM                                   System. (Id. ¶ 21.) Afterwards, GAF assured Plaintiffs that the
                                                                   roof was now in excellent condition. (Id. ¶ 22.) Subsequently,
In this diversity action, Plaintiffs Jeffrey and Dominique Reiff   in April, 2009, Plaintiffs traveled to their property in Ventnor
are suing Defendant GAF Materials Corp. (“GAF”) stemming           and discovered that a significant number of additional slate


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tiles had blown off the roof and were missing; that a number of       “Factual allegations [in a complaint] must be enough to raise a
leading edge tiles and top ridge tiles were loose and not well-
                                                                      right to relief above the speculative level.”     Bell Atl. Corp.
secured; that an additional 4 to 6 mid roof tiles were missing;
                                                                      v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d
and it appeared that other tiles were about to blow off of the
                                                                      929 (2007). To survive a motion to dismiss, a complaint must
roof. (Id. ¶ 23.) Plaintiffs emailed GAF about this issue on
                                                                      include “enough facts to state a claim to relief that is plausible
April 7, 2009. (Id. ¶ 24.) In or around June 2009, Herb Van
                                                                      on its face.” Id. at 570. Although the federal rules impose no
Gent, Defendant's Area Manager–East for Field Operations
                                                                      probability requirement at the pleading stage, a plaintiff must
conducted an inspection of Plaintiffs' roofing system. (Id. ¶
                                                                      present “enough facts to raise a reasonable expectation that
27.) Mr. Van Gent appeared at the subject premises together
                                                                      discovery will reveal evidence of the necessary element[s]” of
with a Tru Slate Roofing installer and met with Mr. Reiff. (Id.
¶ 28.) The installer climbed on the roof and hammered a few           a cause of action. Phillips v. County of Allegheny, 515 F.3d
nails. (Id.) Thereafter, Mr. Van Gent advised Mr. Reiff that the      224, 234 (3d Cir.2008). “A claim has facial plausibility when
problem was not serious and that GAF would resolve it, but            the plaintiff pleads factual content that allows the court to
no further action was taken. (Id. ¶ 29.) However, since April         draw the reasonable inference that the defendant is liable for
2009, Plaintiffs' Tru Slate Roofing System has continued to           the misconduct alleged.”    Iqbal, 129 S.Ct. at 1949. Simply
deteriorate, with slate tiles disappearing on a continuing basis.     reciting the elements will not suffice. Id. (concluding that
(Id. ¶ 34.) As a result of these problems, Plaintiffs believe their   pleading that offers labels and conclusions without further
only option is to have their Tru Slate Roofing System removed         factual enhancement will not survive motion to dismiss); see
and install a conventional roof on their property, which they
estimate would cost more than $200,000. (Id. ¶ 36.)                   also    Phillips, 515 F.3d at 231.


 *2 Plaintiffs filed this lawsuit on March 16, 2010,                  The Third Circuit Court of Appeals has recently directed
charging Defendant with negligence, breach of warranties,             district courts to conduct a two-part analysis when faced
and misrepresentation. On April 16, 2010, Defendant                   with a 12(b)(6) motion. First, the legal elements and factual
filed a motion to dismiss Plaintiffs' negligence and                  allegations of the claim should be separated, with the well-
misrepresentation claims under Federal Rule of Civil                  pleaded facts accepted as true but the legal conclusions
Procedure 12(b)(6), saying those claims are barred by New             disregarded.        Fowler v. UPMC Shadyside, 578 F.3d 203,
Jersey's economic loss rule.                                          210–11 (3d Cir.2009). Second, the court must then make a
                                                                      common sense determination of whether the facts alleged in
                                                                      the complaint are sufficient to show a plausible claim for
II. STANDARD OF REVIEW
                                                                      relief. Id. at 211. If the court can only infer the mere possibility
In reviewing a motion to dismiss for failure to state a claim, a
                                                                      of misconduct, the complaint must be dismissed because it has
district court must accept as true all well-pleaded allegations
                                                                      alleged—but has failed to show—that the pleader is entitled
and draw all reasonable inferences in favor of the non-
                                                                      to relief. Id.
moving party. See      Bd. of Trs. of Bricklayers and Allied
Craftsman Local 6 of N.J. Welfare Fund v. Wettlin Assocs.,
237 F.3d 270, 272 (3d Cir.2001). A court should accept the            III. DISCUSSION
complaint's allegations as true, read those allegations in the         *3 New Jersey's economic loss rule precludes tort recovery
light most favorable to the plaintiff, and determine whether          for economic loss suffered by reason of a defective product
a reasonable reading indicates that relief may be warranted.          if the only damage plaintiff suffered is to the product itself.
                                                                      See Alloway v. General Marine Indus., L.P., 695 A.2d 264,275
   Umland v. PLANCO Fin. Servs., Inc., 542 F.3d 59, 64 (3d
                                                                      (N.J.1997). 1 Plaintiffs argue that the economic loss rule
Cir.2008). A court need not credit “bald assertions” or “legal
                                                                      does not bar their negligence and misrepresentation claims
conclusions” when deciding a motion to dismiss. Morse v.              because they allege that Defendant's roofing system has
Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir.1997);             caused damage to more than just the product itself, but has
see also   Ashcroft v. Iqbal, ––– U.S. ––––, ––––, 129 S.Ct.          also harmed an adjacent structure. The economic loss rule
1937, 1949, 173 L.Ed.2d 868 (2009).                                   concerns itself with the nature of the plaintiff's loss, not
                                                                      with damages sustained by non-parties. Nowhere in Plaintiff's
                                                                      Complaint is there any indication that Plaintiffs have paid



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for their neighbors' injuries or have otherwise been assigned          Boat Works, Inc., 27 F.Supp.2d 543, 550–51 (D.N.J.1998)
their neighbors' legal claims. The only damage Plaintiffs              (collecting cases). Since the only damage Plaintiffs allege
allege is to their roof. Plaintiffs argue that their Complaint         to have suffered is to the product they purchased, New
alleges that their home “does not have a complete roof ... thus        Jersey's economic loss doctrine bars their negligence and
implying the fact of leakage and water damage to the structure         misrepresentation actions. Plaintiffs' lawsuit can proceed as a
itself.” (Pls.' Resp. to Def.'s Mot. to Dismiss at 7 (citing           breach of warranty claim, but not as a tort claim.
Compl. ¶ 35).) While a court reviewing a motion to dismiss
must read a complaint in the light most favorable to the
                                                                       IV. CONCLUSION
plaintiff, it need not read in to the complaint allegations that
                                                                       For the reasons stated above, Plaintiffs' negligence and
were not made. Plaintiffs have not alleged any damage to their
                                                                       misrepresentation claims will be dismissed. Only their breach
home and the Court will not infer any such damage without an
                                                                       of warranty claim remains. An appropriate Order will be
allegation. Speculation about the possibility of future personal
                                                                       docketed separately.
injury or damage to Plaintiffs' other property is also not
enough to circumvent the economic loss rule. See  Morris
v. Osmose Wood Preserving, 340 Md. 519, 667 A.2d 624                   All Citations
(Md.1995). The economic loss doctrine applies with equal
                                                                       Not Reported in F.Supp.2d, 2010 WL 3081789
force to misrepresentation claims.        Boyes v. Greenwich




                                                           Footnotes


1      Both parties appear to assume that New Jersey law applies and so will the Court.


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                             TAB 28
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                                                                  negligence, and thus patient could not prevail on design defect
                                                                  claim under California law.
    KeyCite Blue Flag – Appeal Notification
Appeal Filed by INA RODMAN v. OTSUKA                 AMERICA
PHARMACEUTICAL, 9th Cir., August 25, 2020                         Manufacturer's motion for summary judgment and to exclude
                 2020 WL 2525032                                  expert evidence granted.
     United States District Court, N.D. California.
                                                                  Procedural Posture(s): Motion for Summary Judgment;
               Ina Ann RODMAN, Plaintiff,
                                                                  Motion to Exclude Expert Report or Testimony.
                          v.
              OTSUKA AMERICA
        PHARMACEUTICAL, INC., Defendant.                           West Headnotes (37)

                Case No. 18-cv-03732-WHO
                                                                   [1]    Federal Civil Procedure         Burden of proof
                             |
                    Signed 05/18/2020                                     In order to prevail, a party moving for summary
                                                                          judgment must show the absence of a genuine
Synopsis                                                                  issue of material fact with respect to an essential
Background: Patient brought product liability action against              element of the non-moving party's claim, or to a
manufacturer of a prescription antipsychotic medication,                  defense on which the non-moving party will bear
alleging that the medication caused patient to develop tardive            the burden of persuasion at trial. Fed. R. Civ. P.
dyskinesia. Both parties moved for summary judgment and                   56(a).
manufacturer moved to exclude expert testimony.


                                                                   [2]    Federal Civil Procedure         Burden of proof
Holdings: The District Court, William H. Orrick, J., held that:           Once a movant for summary judgment has made
                                                                          showing of an absence of a genuine issue of
[1] doctor expert witness was qualified to opine on adequacy              material fact, the burden then shifts to the party
of label for the antipsychotic medication;                                opposing summary judgment to identify specific
                                                                          facts showing there is a genuine issue for trial.
[2] expert witness opinion on label adequacy of an                        Fed. R. Civ. P. 56(a).
antipsychotic medication was not product of reliable
principles or methods;
                                                                   [3]    Federal Civil Procedure         Burden of proof
[3] no evidence supported finding that manufacturer of
                                                                          To prevent summary judgment, a party opposing
a prescription antipsychotic medication failed to disclose
                                                                          summary judgment must present affirmative
actual risk of developing tardive dyskinesia from taking the
                                                                          evidence from which a jury could return a verdict
medication;
                                                                          in that party's favor. Fed. R. Civ. P. 56(a).

[4] any failure to disclose risk by manufacturer did not impact
treating physician's prescribing decision, and thus patient
                                                                   [4]    Federal Civil Procedure         Presumptions
could not prevail on failure to warn claims;
                                                                          On a motion for summary judgment, a court
[5] even if label for antipsychotic prescription medication               draws all reasonable factual inferences in favor
failed to discuss specific methods for screening patients                 of the non-movant. Fed. R. Civ. P. 56(a).
for tardive dyskinesia, that failure did not impact treating
physician's prescribing decision; and
                                                                   [5]    Federal Civil Procedure         Ascertaining
[6] no evidence supported finding that defect in prescription             existence of fact issue
antipsychotic medication was due to manufacturer's


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        In deciding a motion for summary judgment,                     Factors for determining reliability of an expert
        credibility determinations, the weighing of                    witness are helpful, not definitive, and a court has
        the evidence, and the drawing of legitimate                    discretion to decide how to test reliability based
        inferences from the facts are jury functions, not              on the particular circumstances of the particular
        those of a judge. Fed. R. Civ. P. 56(a).                       case. Fed. R. Evid. 702.



 [6]    Federal Civil Procedure          Weight and            [12]    Evidence       Necessity and sufficiency
        sufficiency                                                    When evaluating specialized or technical expert
        Conclusory and speculative testimony does not                  opinion testimony, the relevant reliability
        raise genuine issues of fact and is insufficient to            concerns may focus upon personal knowledge or
        defeat summary judgment. Fed. R. Civ. P. 56(a).                experience. Fed. R. Evid. 702.



 [7]    Evidence       Matters involving scientific or         [13]    Evidence       Due care and proper conduct in
        other special knowledge in general                             general
        Evidence       Necessity and sufficiency                       Doctor expert witness was qualified to opine
        To be admissible under rule governing expert                   on adequacy of label for an antipsychotic
        testimony, the testimony must be relevant and                  medication, in product liability action after a
        reliable. Fed. R. Evid. 702.                                   patient developed tardive dyskinesia allegedly
                                                                       because of the medication, even though the
                                                                       expert could not prescribe the medication
                                                                       or diagnose tardive dyskinesia, where the
 [8]    Evidence       Matters involving scientific or
                                                                       expert was experienced as a toxicologist and
        other special knowledge in general
                                                                       pharmacologist. Fed. R. Evid. 702.
        For purposes of determining admissibility of
        expert testimony, “relevance” means that the
        evidence will assist the trier of fact to understand
                                                               [14]    Evidence       Medical testimony
        or determine a fact in issue. Fed. R. Evid. 702.
                                                                       Expert witness opinion on label adequacy of
                                                                       an antipsychotic medication was not product
                                                                       of reliable principles or methods, in product
 [9]    Evidence       Necessity and sufficiency
                                                                       liability action after a patient developed tardive
        Under reliability requirement, expert testimony
                                                                       dyskinesia allegedly because of the medication,
        must have a reliable basis in the knowledge and
                                                                       where the expert opined that label was
        experience of the relevant discipline. Fed. R.
                                                                       inadequate as it did not list tardive dyskinesia
        Evid. 702.
                                                                       as a possible adverse reaction, reporting of
                                                                       tardive dyskinesia caused by the medication had
                                                                       risen above level for which an adverse reaction
 [10]   Evidence       Necessity and sufficiency                       should be listed, but that opinion was based on
        To ensure reliability of expert evidence, a                    another researcher's data set, and that researcher
        court must assess the expert's reasoning or                    had strongly cautioned that her studies did not
        methodology, using as appropriate such criteria                represent a true incidence rate for development
        as testability, publication in peer reviewed                   of tardive dyskinesia from taking the medication.
        literature, and general acceptance. Fed. R. Evid.              Fed. R. Evid. 702.
        702.

                                                               [15]    Evidence       Opinions of others
 [11]   Evidence       Necessity and sufficiency


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        An expert witness may not analyze data that                  Products Liability       Warnings or
        was not her own and reinterpret it in a manner               instructions
        inconsistent with the conclusions of those who               Products Liability       Drugs in general
        originally generated it. Fed. R. Evid. 702.
                                                                     A plaintiff asserting causes of action based on a
                                                                     failure to warn regarding prescription medication
                                                                     must prove not only that no warning was
 [16]   Evidence       Opinions of others                            provided or the warning was inadequate, but also
        Experts are properly disqualified if the studies             that the inadequacy or absence of the warning
        on which they rely merely suggest, without                   caused the plaintiff's injury.
        definitely concluding, the truth of a particular
        assertion. Fed. R. Evid. 702.
                                                              [21]   Products Liability       Learned intermediary
                                                                     Products Liability       Drugs in general
 [17]   Products Liability       Learned intermediary
                                                                     Whether a warning for a prescription medication
        Products Liability       Drugs in general                    is adequate depends on how a prescribing doctor
        A manufacturer of a prescription drug is                     would understand the label.
        obligated warn physicians, not patients, of
        potential side effects associated with its
        pharmaceutical products.                              [22]   Products Liability       Warnings or
                                                                     Instructions
                                                                     Products Liability       Drugs in general
 [18]   Products Liability       Learned intermediary
                                                                     There can be no genuine dispute about the
        Products Liability       Drugs in general                    adequacy of a prescription medicine warning
        Products Liability       Implants and prosthetic             that directly warns in plain and explicit terms
        devices                                                      of the specific risk that has caused injury to the
        Known as the “learned intermediary doctrine,”                plaintiff.
        the duty to warn the physician—rather than
        the patient—applies in the case of prescription
        drugs and implants, where the physician stands        [23]   Products Liability       Warnings or
        in the shoes of the ordinary user because it is              Instructions
        through the physician that a patient learns of the           Products Liability       Drugs in general
        properties and proper use of the drug or implant.
                                                                     No evidence supported finding that manufacturer
                                                                     of a prescription antipsychotic medication failed
                                                                     to disclose actual risk of developing tardive
 [19]   Products Liability       Learned intermediary                dyskinesia from taking the medication, that
        Products Liability       Drugs in general                    was known or knowable in light of the
        A manufacturer of prescription drugs discharges              generally recognized and prevailing scientific
        its duty to warn if it provides adequate warnings            and medical knowledge available at the time
        to the physician about any known or reasonably               of manufacture and distribution, where only
        knowable dangerous side effects, regardless of               evidence indicating a higher actual incidence
        whether the warning reaches the patient.                     rate of tardive dyskinesia associated with the
                                                                     medication was an expert opinion, which was
                                                                     not based on reliable scientific principles or
                                                                     methods.
 [20]   Products Liability       Warnings or
        Instructions

                                                              [24]   Products Liability       Learned intermediary


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        Products Liability       Drugs in general                    Products Liability       Drugs in general
        Even if label for antipsychotic prescription                 Even if label for antipsychotic prescription
        medication failed to discuss fact that tardive               medication failed to discuss specific methods
        dyskinesia had been reported in patients taking              for screening patients for tardive dyskinesia,
        the medication, that failure did not impact                  that failure did not impact treating physician's
        treating physician's prescribing decision, and               prescribing decision, and thus patient could
        thus patient could not prevail on failure                    not prevail on failure to warn claims against
        to warn claims against manufacturer of the                   manufacturer of the medication, where the
        medication, where the physician was aware that               physician knew how to monitor for tardive
        the medication could cause tardive dyskinesia                dyskinesia symptoms, and in fact did monitor
        even in patients taking lower doses, and the                 patient for those symptoms.
        physician stated that an additional warning on the
        medication's label would not have impacted his
        decision.                                             [29]   Products Liability       Risk-utility test
                                                                     Products Liability       Drugs in general
                                                                     No evidence supported finding that defect in
 [25]   Products Liability       Warnings or
                                                                     prescription antipsychotic medication was due
        Instructions
                                                                     to manufacturer's negligence, and thus patient
        Products Liability       Warnings or                         could not prevail on design defect claim under
        instructions                                                 California law for allegedly developing tardive
        Products Liability       Drugs in general                    dyskinesia as a result of taking the medication,
        Inadequacy of a warning for a prescription                   where there was no indication that there were any
        medication and causation are separate elements               safer alternative medications, what the relative
        of affirmative burden in a product defect claim.             costs and benefits of the medication were as
                                                                     compared with similar drugs on the market, or
                                                                     that manufacturer failed to design the medication
                                                                     with the amount of care that a reasonably careful
 [26]   Products Liability       Warnings or
                                                                     designer or manufacturer would have used in
        instructions
                                                                     similar circumstances.
        Products Liability       Drugs in general
        Even if a warning for a prescription medication
        was inadequate, a product defect claim based on       [30]   Products Liability       Design
        insufficient warnings cannot survive summary
                                                                     Products Liability       Drugs in general
        judgment if stronger warnings would not have
        altered the conduct of the prescribing physician.            California does not recognize strict liability for
                                                                     design defects in prescription drugs.


 [27]   Federal Civil Procedure        Tort cases in
        general                                               [31]   Products Liability       Design
        A defendant need not produce its own evidence                Under California law, a plaintiff alleging a design
        to prevail on summary judgment in a prescription             defect claim under a negligence theory must
        medication defect action; pointing to an absence             prove that the defect in the product was due to
        of evidence on the plaintiff's part in proving               negligence of the defendant.
        causation is sufficient.

                                                              [32]   Products Liability       Design
 [28]   Products Liability       Warnings or                         Under California law, as with a general
        Instructions                                                 negligence claim, a plaintiff alleging design



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        defect in prescription drugs must show breach of               to the product and to the consumer that would
        duty, causation, and damages.                                  result from an alternative design.



 [33]   Products Liability        Manufacturing defect          [37]   Federal Civil Procedure         Burden of proof
        Products Liability        Design                               As a non-moving party on a summary judgment
        Concerning the standard of care for negligence                 motion with the burden of proof, a plaintiff
        under California law, a designer/manufacturer/                 must set forth by affidavit or other admissible
        etc. is negligent if it fails to use the amount of             evidence, specific facts demonstrating the
        care in designing/manufacturing/etc. the product               existence of an actual issue for trial; she may not
        that a reasonably careful designer/manufacturer/               merely state that she will discredit the moving
        etc. would use in similar circumstances to avoid               party's evidence at trial and proceed in the hope
        exposing others to a foreseeable risk of harm.                 that something can be developed at trial in the
                                                                       way of evidence to support her claim. Fed. R.
                                                                       Civ. P. 56(a).
 [34]   Products Liability        Risk-utility test
        Generally, the test of negligent design under
        California law involves a balancing of the
        likelihood of harm to be expected from a product       Attorneys and Law Firms
        with a given design and the gravity of harm if
        it happens against the burden of the precaution        Robert E. Cartwright, Jr., The Cartwright Law Firm, Inc., San
        which would be effective to avoid the harm.            Francisco, CA, Perry Roger Staub, Jr., Pro Hac Vice, Taggart
                                                               Morton, L.L.C., Roger Anthony Javier, Pro Hac Vice, The
                                                               Javier Law Firm, LLC, New Orleans, LA, for Plaintiff.
 [35]   Products Liability        Risk-utility test
                                                               Amanda Jereige, Winston Strawn LLP, Seth Andrew
        Products Liability        Warnings or                  Weisburst, Gordon Rees Scully Mansukhani, LLP, San
        Instructions                                           Francisco, CA, Francie Nicole Berger, Matthew A. Campbell,
        Under California law regarding negligent design        Pro Hac Vice, Matthew M. Saxon, Winston and Strawn LLP,
        claims, even if a manufacturer has done all            Washington, DC, Luke A. Connelly, Pro Hac Vice, Winston
        it reasonably could have done to warn about            and Strawn LLP, New York, NY, for Defendant.
        a risk or hazard related to a product's design,
        a reasonable person could conclude that the
        magnitude of the reasonably foreseeable harm as                 ORDER GRANTING DEFENDANT'S
        designed outweighed the utility of the product as              MOTION FOR SUMMARY JUDGMENT
        designed.

                                                                               Re: Dkt. No. 65, 66, 67, 68
 [36]   Products Liability        Risk-utility test            William H. Orrick, United States District Judge
        In evaluating the adequacy of a product's design
        under risk-benefit test under California law,           *1 In this product liability suit, plaintiff Ina Rodman
        a jury may consider, among other relevant              alleges that she suffers from a movement disorder known
        factors, the gravity of the danger posed by            as Tardive Dyskinesia (“TD”) as a result of ingesting the
        the challenged design, the likelihood that such        prescription antipsychotic medication Abilify. She brings
        danger would occur, the mechanical feasibility of      failure to warn and design defect claims against defendant
        a safer alternative design, the financial cost of an   Otsuka America Pharmaceutical, Inc. (“Otsuka”). Before
        improved design, and the adverse consequences          me are cross-motions for summary judgment on the failure
                                                               to warn claim, along with Otsuka's motion for summary



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judgment on the design defect claim. Both parties also move
to exclude portions of expert testimony.                             There is no known treatment for established cases of
                                                                     tardive dyskinesia, although the syndrome may remit,
Rodman's case founders on a lack of proof. For the reasons set       partially or completely, if antipsychotic treatment is
forth below, I GRANT summary judgment in favor of Otsuka             withdrawn. Antipsychotic treatment, itself, however, may
on all three theories of Rodman's failure to warn claim, as          suppress (or partially suppress) the signs and symptoms
well as her design default claim. Along the way, I GRANT             of the syndrome and, thereby, may possibly mask
Otsuka's motion to exclude Dr. Laura M. Plunkett's expert            the underlying process. The effect that symptomatic
testimony on label inadequacy and DENY the remainder of              suppression has upon the long-term course of the syndrome
its motion as moot. And I DENY Rodman's motion for partial           is unknown.
summary judgment on her failure to warn claim and DENY
                                                                      *2 Given these considerations, ABILIFY should be
as moot her motion to exclude portions of Dr. Sara J. Polfliet's
                                                                     prescribed in a manner that is most likely to minimize
and Dr. Christoph U. Correll's expert testimony.
                                                                     the occurrence of tardive dyskinesia. Chronic antipsychotic
                                                                     treatment should generally be reserved for patients who
                                                                     suffer from a chronic illness that (1) is known to respond to
                      BACKGROUND                                     antipsychotic drugs and (2) for whom alternative, equally
                                                                     effective, but potentially less harmful treatments are not
Abilify is an “atypical” or “second-generation” antipsychotic        available or appropriate. In patients who do require chronic
prescription medication that was first approved by the United        treatment, the smallest dose and the shortest duration of
States Food and Drug Administration (“FDA”) for the                  treatment producing a satisfactory clinical response should
treatment of schizophrenia. See Corrected Declaration of             be sought. The need for continued treatment should be
Matthew M. Saxon in Support of Defendant's Motion for                reassessed periodically.
Summary Judgment (“Saxon Decl. ISO MSJ”) [Dkt. No.
73-2] ¶ 3 & Ex. B (2002 Abilify Label). It has since been            If signs and symptoms of tardive dyskinesia appear in
approved by the FDA to treat several other mental health             a patient on ABILIFY, drug discontinuation should be
conditions, including bipolar disorder and Major Depressive          considered. However, some patients may require treatment
Disorder (“MDD”). See id. ¶ 4 & Ex. C (2009 Abilify Label at         with ABILIFY despite the presence of the syndrome.
1). Since the medication was first marketed, the Abilify label
has included the following warning about the risks of TD:          Id., Ex. B (2002 Abilify Label at 8-9); see also Ex. C (2009
                                                                   Abilify Label at 17-18).
  5.4 Tardive Dyskinesia
                                                                   In 2010, Rodman's prescribing physician and psychiatrist, Dr.
  A syndrome of potentially irreversible, involuntary,             John Hawkins, diagnosed Rodman with MDD and prescribed
  dyskinetic movements may develop in patients treated             her Abilify. Id., Ex. A, (Hawkins Dep. at 157:3-24) and Ex.
  with antipsychotic drugs. Although the prevalence of             H, (Rodman Medical Records at 28, 32). In June 2015, after a
  the syndrome appears to be highest among the elderly,            change in medical insurance, Rodman emailed Dr. Hawkins
  especially elderly women, it is impossible to rely               explaining that Abilify has become “quite expensive” and
  upon prevalence estimates to predict, at the inception           asking for instructions about how best to discontinue the
  of antipsychotic treatment, which patients are likely            medication. Id., Ex. H (Rodman Medical Records at 334). Dr.
  to develop the syndrome. Whether antipsychotic drug              Hawkins replied with instructions for weaning her off Abilify
  products differ in their potential to cause tardive dyskinesia   and told her to monitor her mood as she did. Id. He also
  is unknown.                                                      instructed her to “be sure to follow-up with a new psychiatrist
                                                                   under you[r] new medical coverage.” Id.
  The risk of developing tardive dyskinesia and the
  likelihood that it will become irreversible are believed
                                                                   On March 30, 2016, a doctor at the University of Florida
  to increase as the duration of treatment and the total
                                                                   diagnosed Rodman with “dyskinesia of the tongue.” Id., Ex. J
  cumulative dose of antipsychotic drugs administered to
                                                                   (Rodman Dental Records at 9). On May 19, 2016, she began
  the patient increase. However, the syndrome can develop,
                                                                   seeing a neurologist, Dr. Anette Nieves, who treated her TD
  although much less commonly, after relatively brief
                                                                   symptoms. Id., Ex. F (Nieves Dep. at 47:11-48:23).
  treatment periods at low doses.



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                                                                      evidence from which a jury could return a verdict in that
In the First Amended Complaint (“FAC”) [Dkt. No. 28],
                                                                      party's favor.   Anderson v. Liberty Lobby, 477 U.S. 242,
Rodman alleges three theories with regard to failure to warn:
                                                                      257, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).
(i) the Abilify label “did not accurately reflect the incidence
and risk of developed [TD]” with the use of Abilify (FAC ¶¶
                                                                       [4]   [5]   [6] On summary judgment, the court draws all
26, 30); (ii) the Abilify label “failed to specifically discuss the
                                                                      reasonable factual inferences in favor of the non-movant.
fact that [TD] had been reported in patients taking Abilify,
including those taking lower doses for depression” (FAC ¶                Id. at 255, 106 S.Ct. 2505. In deciding the motion,
25); and (iii) the label failed to “provide[ ] a discussion or        “[c]redibility determinations, the weighing of the evidence,
instruction regarding specific methods for screening patient          and the drawing of legitimate inferences from the facts
for [TD], such as AIMS (Abnormal Involuntary Movement                 are jury functions, not those of a judge.”       Id. However,
Scale)” (FAC ¶ 29). The FAC also asserts a claim for defective        conclusory and speculative testimony does not raise genuine
design. FAC ¶¶ 34-35. 1                                               issues of fact and is insufficient to defeat summary judgment.
                                                                      See Thornhill Publ'g Co., Inc. v. GTE Corp., 594 F.2d 730,
On March 2, 2020, Rodman filed a motion for partial
                                                                      738 (9th Cir. 1979).
summary judgment on the failure to warn claim and motion
to exclude or limit the expert reports of Dr. Polfliet and
Dr. Correll. See Plaintiff's Motion for Partial Summary               II. MOTION TO EXCLUDE EXPERT TESTIMONY
Judgment (“Rodman Partial SJ”) [Dkt. No. 66]; Plaintiff's             Federal Rule of Evidence 702 allows a qualified expert to
Motion to Exclude Duplicative Expert Testimony and Motion             testify “in the form of an opinion or otherwise” where:
to Exclude Inadmissible Expert Testimony (“Rodman Mot.
Exclude”) [Dkt. No. 65]. On the same day, Otsuka filed its              (a) the expert's scientific, technical, or other specialized
motion for summary judgment on both the failure to warn                 knowledge will help the trier of fact to understand the
and design defect claims and a motion to exclude the expert             evidence or to determine a fact in issue;
report of Dr. Plunkett. See Defendant's Motion for Summary
                                                                        (b) the testimony is based on sufficient facts or data;
Judgment (“Otsuka MSJ”) [Dkt. No. 67]; Defendant's Motion
to Exclude Testimony of Laura M. Plunkett (“Otsuka Mot.                 (c) the testimony is the product of reliable principles and
Exclude”) [Dkt. No. 68]. 2 On May 6, 2020, I heard argument             methods; and
from the parties.
                                                                        (d) the expert has reliably applied the principles and
                                                                        methods to the facts of the case.

                    LEGAL STANDARD                                    Fed. R. Evid. 702.

I. MOTION FOR SUMMARY JUDGMENT
                                                               [7] [8] To be admissible under Rule 702 expert testimony
 *3 [1] [2] [3] Summary judgment on a claim or defense
is appropriate “if the movant shows that there is no genuine  must be relevant and reliable. See Daubert v. Merrell Dow
dispute as to any material fact and the movant is entitled to Pharm., Inc., 509 U.S. 579, 589, 113 S.Ct. 2786, 125 L.Ed.2d
judgment as a matter of law.” Fed. R. Civ. P. 56(a). In order 469 (1993). “[R]elevance means that the evidence will assist
to prevail, a party moving for summary judgment must show     the trier of fact to understand or determine a fact in issue.”
the absence of a genuine issue of material fact with respect to          Cooper v. Brown, 510 F.3d 870, 942 (9th Cir. 2007); see
an essential element of the non-moving party's claim, or to a
defense on which the non-moving party will bear the burden            also    Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010)
                                                                      (“The requirement that the opinion testimony assist the trier of
of persuasion at trial. See   Celotex Corp. v. Catrett, 477           fact goes primarily to relevance.”) (internal quotation marks
U.S. 317, 323, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). Once            omitted).
the movant has made this showing, the burden then shifts to
the party opposing summary judgment to identify “specific              [9]   [10]     [11]  [12] Under the reliability requirement,
facts showing there is a genuine issue for trial.” Id. The            the expert testimony must “have] a reliable basis in the
party opposing summary judgment must present affirmative              knowledge and experience of the relevant discipline.”



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   Primiano, 598 F.3d at 565. To ensure reliability, the             • “never provided a discussion or instruction regarding
court must “assess the [expert's] reasoning or methodology,            specific methods for screening patients for [TD], such
using as appropriate such criteria as testability, publication         as AIMS (Abnormal Involuntary Movement Scale).”
in peer reviewed literature, and general acceptance.”   Id.            Plunkett Rep. ¶ 36.
These factors are “helpful, not definitive,” and a court
                                                                   In this section, I focus on whether Dr. Plunkett is qualified to
has discretion to decide how to test reliability “based on
                                                                   render the first opinion and if it is based both on reliable facts
the particular circumstances of the particular case.”     Id.      or data and is the product of reliable principles or methods.
(internal quotations marks and footnotes omitted). “When           As I explain later in Sections II.A.2-3, I deny Otsuka's motion
evaluating specialized or technical expert opinion testimony,      to exclude Dr. Plunkett's second and third opinions as moot
the relevant reliability concerns may focus upon personal          because I am granting Otsuka's motion for summary judgment
knowledge or experience.”      United States v. Sandoval-          on the second and third failure to warn theories since Dr.
Mendoza, 472 F.3d 645, 655 (9th Cir. 2006).                        Hawkins unequivocally testified that a label that added these
                                                                   points would not have changed his prescribing decision.

                                                                    [13] Otsuka argues that Dr. Plunkett lacks the qualifications
                       DISCUSSION                                  to opine on the adequacy of the Abilify label because she
                                                                   has no special knowledge of antipsychotics like Abilify, she
I. MOTIONS TO EXCLUDE EXPERT TESTIMONY
                                                                   cannot prescribe them, and she has not published articles
   A. Motion to Exclude Expert Testimony of Dr.                    about them. Otsuka Mot. Exclude 7. While she cannot
   Plunkett                                                        prescribe Abilify or diagnose TD, those skills are not
Rodman retained Dr. Plunkett, a pharmacologist, toxicologist,      necessary prerequisites to testifying about the adequacy of
and FDA regulatory specialist, to support her failure to warn      Abilify's label. Dr. Plunkett's experience and expertise as
claim. See Corrected Declaration of Matthew M. Saxon in            a toxicologist and pharmacologist qualify her to opine on
Support of Defendant's Motion to Exclude Expert Testimony          Otsuka's labeling practices and the adequacy of its Abilify
(“Saxon Decl. ISO Mot. Exclude”) [Dkt. No. 74-2] Ex.               label. See   In re Xarelto (Rivaroxaban) Prod. Liab. Litig.,
B (Plunkett Rep.). Otsuka moves to exclude Dr. Plunkett's          No. MDL 2592, 2017 WL 1352860, at *2 (E.D. La. Apr.
testimony on two grounds: (i) she is not qualified to offer        13, 2017) (denying motion to exclude Dr. Plunkett in case
label inadequacy opinions and her opinions are not reliable        bringing multiple product liability claims, including failure to
nor based on sufficient facts or data; (ii) she is not qualified   warn, and finding that she is “qualified to testify about drug
to offer a specific causation opinion. Otsuka Mot. Exclude 1.      pharmacology, general causation, regulatory matters and the
                                                                   adequacy of labels for both prescription and non-prescription
                                                                   drugs”).
     1. Dr. Plunkett's Opinion on Label Inadequacy
                                                                    [14] That said, the method she employed here is problematic.
*4 Otsuka attacks Dr. Plunkett's opinions supporting               Dr. Plunkett primarily relies on a survey of scientific
Rodman's three failure to warn theories that the Abilify label:    published literature to conclude that the Abilify label “failed
                                                                   to adequately describe the risk of [TD] associated with use
  • “failed to adequately describe the risk of [TD] associated
                                                                   of the drug.” Plunkett Rep. ¶ 33. She describes this survey of
     with use of the drug” because “the scientific literature
                                                                   scientific literature in paragraph 21 of her report.
     [ ] contained discussion of the fact that the occurrence
     rate for [TD] was much higher than 0.1 to 1%, the
                                                                   It was initially reported that the risk of TD was greater with
     ‘infrequent’ standard that was mentioned in the initial
                                                                   older antipsychotics compared to new agents, like Abilify, but
     Abilify labeling.” Plunkett Rep. ¶ 33.
                                                                   Dr. Plunkett explains that published literature starting as early
  • “failed to specifically discuss the fact that [TD] had         as 2006 found that may not be the case. Id. ¶ 21 (string cite of
    been reported in patients taking Abilify, including those      articles). She draws attention to two sources in particular. The
    taking lower doses for depression.” Plunkett Rep. ¶ 33.        first source is a 2011 study that calculated a 3.4% “estimate
                                                                   of the rate of occurrence of [TD] in a clinic population.”



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Plunkett Rep. ¶¶ 21, 34; see Saxon Decl. ISO Mot. Exclude,         counsel obtained via Freedom of Information Act (“FOIA”)
Ex. I (Peña, M.S., et al. 2011, Tardive dyskinesia and other       request and on which Dr. Plunkett relied, the FDA expressly
movement disorders secondary to aripiprazole. Mov. Disord.         stated that the FAERS data cannot be used to calculate an
26:147-152) (hereinafter “Peña study”). The second source          incidence rate. See Saxon Decl. ISO Mot. Exclude, Ex. F
is a listing of events found in the FDA Adverse Event              (FOIA Request and Response at 5) (“The information in
Reporting System known as “FAERS”. TD was the second               these reports has not been scientifically or otherwise verified
most frequent reported adverse event among Abilify users and       as to a cause and effect relationship and cannot be used to
Dr. Plunkett finds that this “reporting rate (5%) was similar      estimate the incidence of these events.”) (emphasis added).
to the rate reported by Peña in 2011 in clinic experience          The Peña study had a similar disclaimer. See id., Ex. I (Peña
(3.4%).” Plunkett Rep. ¶ 34. She compares these figures to         study at 150) (“[T]he true prevalence and incidence of TD
those provided on the Abilify label. TD was listed on the          and other drug-induced movement disorders associated with
Abilify label as an “infrequent” adverse reaction that was         TGAs, such as aripiprazole [Abilify], are not known.”). Dr.
observed outside of clinic studies with Abilify; infrequent was    Plunkett also conceded in her deposition that the FAERS data
defined as an occurrence of greater than 0.1% but less than        and the Peña study did not give her an incidence rate of TD.
1%. Plunkett Rep. ¶ 31. 3                                          See id., Ex. C (Plunkett Dep. at 126:12-15); id., Ex. H (copy
                                                                   of Dr. Plunkett Dep. in Crochet v. Bristol-Myers Squibb Co.,
 *5 From all of this she concludes that “consideration of the      Case No. 3:16-cv-00036 (M.D. La.), at 56:3-6; 324:11-19;
body of studies related to [TD] and Abilify use show that [TD]     284:4-23).
is not a rare event (i.e., less than 0.1%) or even an infrequent
event (less than 1%) but instead may be considered a common         [15] [16] Dr. Plunkett may not “analyze[ ] data that was
adverse event (greater than 1%).” Id. ¶ 21. Her concluding         not [her] own and reinterpret[ ] it in a manner inconsistent
paragraph reads: “Therefore, it is my opinion that the Abilify     with the conclusions of those who originally generated it.”
labeling on the drug prescribed by Dr. Hawkins and used by            Carnegie Mellon Univ. v. Hoffmann-LaRoche, Inc., 55 F.
Ms. Rodman failed to adequately describe the risk of [TD]          Supp. 2d 1024, 1040 (N.D. Cal. 1999); In re Accutane Prod.
associated with use of the drug. Moreover, removal of the          Liab., No. 804-MD-2523-T-30TBM, 2009 WL 2496444,
mention of [TD] from the Adverse Reactions section of the          at *2 (M.D. Fla. Aug. 11, 2009), aff'd, 378 F. App'x
label in 2014 was inconsistent with the fact that the reporting    929 (11th Cir. 2010) (“[W]hen an expert relies on the
of [TD] in the published literature has risen significantly and    studies of others, he must not exceed the limitations the
that physicians were reporting higher rates of [TD] than 1%        authors themselves place on the study.”). Indeed, “experts
(see paragraph 21 above). Failure to provide physicians with       are properly disqualified if the studies on which they rely
accurate and up to date information on the occurrence of [TD]      merely suggest, without definitely concluding, the truth of
put patients at risk.” Id. ¶ 33.                                   a particular assertion.” Haynes ex rel. Haynes v. Nat'l R.R.
                                                                   Passenger Corp., 319 F. App'x 541, 543 (9th Cir. 2009) (citing
Otsuka's motion focuses on the inaccuracies of comparing
                                                                      Gen. Elec. Co. v. Joiner, 522 U.S. 136, 144–47, 118 S.Ct.
data collected from Dr. Plunkett's cited sources to data
                                                                   512, 139 L.Ed.2d 508 (1997)).
reflected on the Abilify label. The “infrequent” figure of
0.1 to 1% that Dr. Plunkett identifies in the Abilify label
                                                                   Notably, Dr. Plunkett's testimony has been previously
was a calculated incidence rate of TD among Abilify users;
                                                                   excluded in another drug product liability case on analogous
the 5% (from FAERS) and 3.4% (from Peña study) figures
                                                                   grounds. The court in In re Mirena Ius Levonorgestrel-
she compares it with were not true incidence rates. A true
                                                                   Related Prod. Liab. Litig. (No. II), 341 F. Supp. 3d 213,
incidence rate is one that looks at a pool of Abilify users to
                                                                   260 (S.D.N.Y. 2018) concluded “there [was] too great an
identify how many patients developed TD. The studies Dr.
                                                                   analytic gap between the available data and the conclusion”
Plunkett cites looked at a pool of those with TD and identified
                                                                   that Dr. Plunkett drew. In that case, Dr. Plunkett opined
how many of them used Abilify, which does not result in a
                                                                   on the causality between a prescription drug and idiopathic
true incidence rate.
                                                                   intracranial hypertension. In making her conclusion, she
                                                                   found that the temporality factor was satisfied based on her
Both the FAERS and Peña study cautioned that their sources
                                                                   reliance on “three studies which, she stated, had ‘addressed’
cannot be used to calculate an incidence rate. In the cover
                                                                   temporality (by Valenzuela, Rai, and Alder) and on three
letter accompanying the FAERS data, which Rodman's



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case reports drawn from the Bayer database.” Id. at 255.           Defendant's Motion to Exclude Testimony of Dr. Laura M.
“Beyond identifying these materials, however, Dr. Plunkett         Plunkett [Dkt. No. 75] 13. But the concluding paragraph
[did] not address their contents. The Valenzuela authors,          in question here, on which Rodman primarily relies for her
for instance, specifically noted in their publication that they    failure to warn claim, reflects a different conclusion:
lacked temporal data.” Id. The court found that “Dr. Plunkett's
handling of the Valenzuela study is [ ] problematic” and
ultimately excluded her proposed testimony because it was                      During this time, the scientific
“beset by methodological deficiencies.” Id. at 261, 263                        literature also contained discussion of
                                                                               the fact that the occurrence rate for
 *6 Similarly, in this case Dr. Plunkett exceeds the boundaries                tardive dyskinesia was much higher
of the sources she relies on by going beyond what the sources                  than 0.1 to 1%, the “infrequent”
concluded. Without explanation, she compares figures that                      standard that was mentioned in the
authors explicitly cautioned are not true incidence rates with                 initial Abilify labeling and in the
the true incidence rate provided in Abilify's label. Rodman                    labeling in 2010 through December
argues that only Otsuka has the capability to calculate the                    2014 as well. Therefore, it is my
true incidence rates, but this assertion is rebutted by Otsuka's               opinion that the Abilify labeling on
expert, Dr. Correll, who was able to conduct a true incidence                  the drug product prescribed by Dr.
rate study of Abilify (which Rodman does not seek to                           Hawkins and used by Ms. Rodman
exclude). 4                                                                    failed to adequately describe the risk of
                                                                               tardive dyskinesia associated with use
Dr. Plunkett does not explain why it makes sense to                            of the drug.
compare different data sets and how that necessarily leads
to her conclusion that the Abilify label was inadequate. For
example, she does not address the contents of the Peña             *7 Plunkett Rep. ¶ 33.
study that gave her the supposedly comparative figure of
3.4%. The Peña study was an analysis of TD patients over           Rodman also argues that Dr. Plunkett's report would be
the span of eight years at a movement disorders clinic in          helpful to the jury because her expertise in FDA regulation
Houston, Texas. The review found that for 8 out of the             is necessary to explain how Otsuka should have used the
clinic's 236 patients being treated for TD, their symptoms         information at its disposal to label its product correctly. But
were either “definite[ly]” or “probabl[y]” associated with         Dr. Plunkett's report does not opine on whether Otsuka met
Abilify. See Saxon Decl. ISO Mot. Exclude, Ex. I (Peña             the FDA guidelines; she testifies about whether the Abilify
study at 150). 5 Importantly, the study analyzed a pool of         label adequately warns doctors about use of this prescription
TD patients and tracked whether they had taken Abilify in          drug. 6
the past, not a pool of Abilify users to track whether they
contracted TD, which would have led to a true incidence            Because Dr. Plunkett extrapolated conclusions beyond the
rate. In addition to cautioning that the study did not provide     scope of her sources, I find that her opinion on label
a true incidence rate, the authors recognized that although        inadequacy is not the product of reliable principles or
patients classified as “definite” were “only those patients        methods. Otsuka's motion to exclude Dr. Plunkett's opinion
taking [Abilify] alone before the developments of TD, we           on label inadequacy is GRANTED and its motion to exclude
cannot exclude the possibility that they were also taking other    other opinions by Dr. Plunkett, namely on specific causation,
neuroleptics as medication history was obtained only from the      is DENIED as moot. As explained below, this is ultimately
patient interview.” Id. at 151.                                    fatal to Rodman's failure to warn claim on the theory that the
                                                                   Abilify label underreported the risk of contracting TD.
In her opposition, Rodman attempts to characterize Dr.
Plunkett's report in a different way. She claims that even
though the data and studies Dr. Plunkett relies upon cannot          B. Motion to Exclude Expert Testimony of Dr. Polfliet
establish incidence rates, they “should have alerted Otsuka          and Dr. Correll
to investigate and change the Abilify label.” Plaintiffs’          Rodman moves to exclude Dr. Polfliet's expert testimony on
Memorandum of Points and Authorities in Opposition to              grounds that it is duplicative with testimony from Otsuka's



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other expert, Dr. Correll, and to exclude certain portions of Dr.   Otsuka moves for summary judgment on the failure to warn
Polfliet's and Dr. Correll's opinions because they “improperly      claim on grounds that Rodman has failed to adduce any
offer legal conclusions” regarding Dr. Hawkins’ testimony           evidence that the Abilify label was inadequate or that an
and speculate as to his state of mind. Rodman Mot. Exclude          additional warning would have changed how Dr. Hawkins
3-4, 9-11. Given my ruling on the other motions, Rodman's           treated her. Otsuka MSJ 10. Rodman cross-moves for partial
motion to exclude is DENIED as moot.                                summary judgment on grounds that there is no genuine
                                                                    dispute that the Abilify label was inadequate under all three of
                                                                    her failure to warn theories. Rodman Partial SJ 2. While she
II. MOTIONS FOR SUMMARY JUDGMENT                                    does not explicitly say so in her motion, she appears to argue
                                                                    that there is no genuine dispute on the proximate causation
   A. Failure to Warn
                                                                    element of her failure to warn claim as well. Id. at 10.
 [17] [18] [19] A manufacturer of a prescription drug is
obligated warn physicians, not patients, of potential side
effects associated with its pharmaceutical products. Motus
                                                                       1. Rodman's First Theory: the label understated the
v. Pfizer Inc., 196 F. Supp. 2d 984, 990 (C.D. Cal. 2001)
                                                                     incidence and risk of developing TD with use of Abilify
(“   Motus I”), aff'd sub nom.     Motus v. Pfizer Inc. (Roerig
                                                                     [23] Rodman concedes that the Abilify label mentions TD as
Div.), 358 F.3d 659 (9th Cir. 2004) (“ Motus II”). Known
                                                                    a risk; instead, she contends that Otsuka “failed to disclose the
as the “learned intermediary” doctrine, the duty to warn the
                                                                    actual risk of contracting [TD] adequately, that was known or
physician—rather than the patient—applies in the case of
                                                                    knowable in light of the generally recognized and prevailing
prescription drugs and implants, where “the physician stands
                                                                    scientific and medical knowledge available at the time of
in the shoes of the ‘ordinary user’ because it is through the
                                                                    manufacture and distribution.” Rodman Partial SJ 1. She
physician that a patient learns of the properties and proper
                                                                    relies on Dr. Plunkett's expert report to argue that she has
use of the drug or implant.” Valentine v. Baxter Healthcare         met the first element (label inadequacy) of her failure to warn
Corp., 68 Cal. App. 4th 1467, 1483, 81 Cal.Rptr.2d 252              claim under this theory. Id. at 6-7; see also id. at 8 (“Dr.
(1999). A manufacturer discharges its duty to warn if it            Plunkett concluded her report and testimony by confirming
provides adequate warnings to the physician about any known         that defendant failed to properly identify the incidence rate of
or reasonably knowable dangerous side effects, regardless of        tardive dyskinesia.”)
whether the warning reaches the patient.        Motus I, 196 F.
                                                                    Because I exclude Dr. Plunkett's opinion on this point and
Supp. 2d at 991 (citation omitted).
                                                                    that opinion is essential to the first element of Rodman's
                                                                    failure to warn theory, summary judgment is GRANTED
 *8 [20] [21] [22] “A plaintiff asserting causes of action
based on a failure to warn must prove not only that no           to Otsuka. See, e.g.,        Carlucci v. CNH America LLC,
warning was provided or the warning was inadequate, but          No. 10-12205-DPW, 2012 WL 4094347, at *1, *10 (D.
also that the inadequacy or absence of the warning caused the    Mass. Sept. 14, 2012) (noting that “[a]fter determining to
                                                                 grant [the defendant's] motion to exclude [the plaintiffs’
plaintiff's injury.” Motus I, 196 F. Supp. 2d at 991. Whether
                                                                 defective design and warnings expert's] testimony, [the court]
a warning is adequate depends on “how a prescribing doctor
                                                                 conclude[s][it] should grant [the defendant's] motion for
would understand the label.” Hexum v. Eli Lilly & Co., 2015
                                                                 summary judgment” since “[a]s to their negligence and
WL 5008263 at *7 (C.D. Cal. 2015). There can be no genuine
                                                                 breach of implied warranty claims for design defects ... the
dispute about the adequacy of a warning that “directly warns
in plain and explicit terms of the specific risk that has caused [plaintiffs’] lack of expert testimony is fatal”). 7

injury to the plaintiff.”     Utts v. Bristol-Myers Squibb
Co., 251 F. Supp. 3d 644, 673-74 (S.D.N.Y. 2017) (applying
                                                                              2. Rodman's Second Theory: the label
California law), aff'd sub nom.    Gibbons v. Bristol-Myers
                                                                             failed to specifically discuss the fact that
Squibb Co., 919 F.3d 699 (2d Cir. 2019).
                                                                             TD has been reported in patients taking
                                                                            Abilify, including those taking lower doses




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 [24] [25] [26] [27] “[I]nadequacy of the warning andId. at 294:14-19. Even if the label had included the warning
causation are separate elements of Plaintiffs’ affirmative desired by Rodman, Dr. Hawkins unequivocally testified that
burden.” Tucker v. Wright Med. Tech., Inc., No. 11-        it would not have impacted his prescribing decision.
CV-03086-YGR, 2013 WL 1149717, at *16 (N.D. Cal. Mar.
19, 2013). Therefore, even if a warning was inadequate, “a Otsuka's motion for summary judgment on this failure to warn
product defect claim based on insufficient warnings cannot theory is GRANTED.
survive summary judgment if stronger warnings would not
have altered the conduct of the prescribing physician.”
   Motus II, 358 F.3d at 661. In other words, a defendant may             3. Rodman's Third Theory: the label failed to
prevail on summary judgment “by showing that Plaintiff lacks           provide instruction regarding specific methods for
evidence establishing that an adequate warning would have               screening patients for TD, such as the AIMS test
affected [the doctor's] decision to prescribe [the medication].”
                                                                     [28] Rodman argues that the Abilify label failed to provide
   Motus I, 196 F. Supp. 2d at 992. A defendant “need not           a discussion or instruction regarding specific methods for
produce its own evidence; pointing to an absence of evidence        screening patients for TD, such as the AIMS test. But Dr.
on the Plaintiff's part is sufficient.”   Id. (citation omitted).   Hawkins testified that he knew how to monitor for TD
                                                                    symptoms, including using the AIMS test, and monitored
 *9 Rodman argues that the label warning failed to                  Rodman while she was in his care. See Saxon Decl. ISO
specifically discuss the fact that TD has been reported in          MSJ, Ex. A (Hawkins Dep. at 124:21-24, 126:25-127:15,
patients taking Abilify, including those taking lower doses for     270:10-271:13) (Dr. Hawkins testified that he was “familiar
depression. Otsuka responds that the label already included         with the AIMS test” at the time he was prescribing Abilify
a warning to physicians that patients taking low doses of           to Rodman, that he has been familiar with the test “for a
Abilify could develop TD. See Saxon Decl. ISO MSJ, Ex. B            long time” having learned about it during medical school
(2002 Abilify Label at 8-9) (stating that TD “can develop,          or residency training, and that he “didn't need a drug
although much less commonly, after relatively brief treatment       company at the time to tell [him] about the AIMS test”). A
periods at low doses”); id., Ex. C (2009 Abilify Label at           change in the label would not have impacted Dr. Hawkins's
17-18) (same); Declaration of Matthew M. Saxon in Support           prescribing decision because he already understood ways to
of Defendant's Reply in Support of its Motion to Exclude            monitor Rodman for TD symptoms, including the AIMS test.
Expert Testimony [Dkt. No. 81-1] ¶ 6 & Ex. E (2014 Abilify          Accordingly, Otsuka's motion for summary judgment on this
Label at ECF page number 417).                                      failure to warn theory is GRANTED.

Even assuming that the label did not include an adequate            In sum, summary judgment is GRANTED to Otsuka on all
warning about TD risks at low doses, Rodman's argument              three theories of Rodman's failure to warn claim.
fails. Dr. Hawkins confirmed that he was aware that Abilify
could cause TD even in patients taking lower doses. See
Saxon Decl. ISO MSJ, Ex. A (Hawkins Dep. at 263:18-264:2)              B. Design Defect
(statement that “syndrome can develop ... after relatively           [29] [30] [31] [32] [33] California does not recognize
brief periods at low doses” was “consistent with [his]              strict liability for design defects in prescription drugs. See
understanding while [he was] treating Ms. Rodman”). He                 Brown v. Super. Ct., 44 Cal.3d 1049, 1061, 245 Cal.Rptr.
repeatedly testified that he “knew when [he was] prescribing        412, 751 P.2d 470 (1988) (“[A] drug manufacturer's liability
Ms. Rodman Abilify that [TD] was one of the risks of the            for a defectively designed drug shall not be measured by
medication,” and that “[TD] was a possibility” with the use         the standards of strict liability.”). A plaintiff alleging a
of Abilify. See id. at 121:20-122:15, 118:18-25; see also id.       design defect claim under a negligence theory must prove
at 102:10-14 (admitting that “when [he] began prescribing           “that the defect in the product was due to negligence of
Ms. Rodman Abilify, at that time [he] understood that [TD]          the defendant.” Tucker, 2013 WL 1149717, at *7 (N.D.
was one of the risks associated with the use of Abilify”).
                                                                    Cal. Mar. 19, 2013) (quoting   Chavez v. Glock, Inc., 207
He also testified that he understood that one of the risks
                                                                    Cal.App. 4th 1283, 1305, 144 Cal.Rptr.3d 326 (2012)). As
“related to discontinuing use of Abilify” was that “there can
                                                                    with a general negligence claim, the plaintiff must show
be symptoms of [TD] when an antipsychotic is discontinued.”



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breach of duty, causation, and damages. Id. (citation omitted).   warranted because Plaintiffs, the non-moving parties, have
Concerning the standard of care for negligence, a “[designer/     failed to produce enough evidence to create a genuine
manufacturer/etc.] is negligent if [it] fails to use the amount   issue” and cannot wait until trial to present that evidence);
of care in [designing/manufacturing/etc.] the product that
                                                                     Codding v. Pearson Educ., Inc., No. 18-CV-00817-LB,
a reasonably careful [designer/manufacturer/etc.] would use
                                                                  2019 WL 5864579, at *10 (N.D. Cal. Nov. 8, 2019) (granting
in similar circumstances to avoid exposing others to a
                                                                  summary judgement after rejecting argument that plaintiff
foreseeable risk of harm. Id. (citation omitted, alteration in
                                                                  “has no obligation to offer affirmative evidence on [ ] issue
original).
                                                                  until trial”).

 *10 [34]       [35]     [36] Generally, “the test of negligent
                                                                The limited evidence Rodman does identify comes short of
design involves a balancing of the likelihood of harm to be
                                                                creating a genuine dispute on the design defect claim. She
expected from a [product] with a given design and the gravity
                                                                cites the deposition of Dr. Anette Nieves, the neurologist
of harm if it happens against the burden of the precaution
                                                                who diagnosed her with TD, who testified that she does not
which would be effective to avoid the harm.” Tucker, 2013
                                                                prescribe Abilify to her patients and that she may prescribe
WL 1149717, at *7 (quoting           Merrill v. Navegar, Inc.,  clonazepam and quetiapine when “a patient would come off
26 Cal. 4th 465, 479, 110 Cal.Rptr.2d 370, 28 P.3d 116          of an antipsychotic medication.” See Declaration of Perry R.
(2001)). Even if a manufacturer has done all it reasonably      Staub, Jr. in Support of Opposition to Defendant's Motion
could have done to warn about a risk or hazard related          for Summary Judgment (“Staub Decl.”), Ex. 2 (Nieves Dep.
to a product's design, a reasonable person could conclude       at 38:3-10). Dr. Nieves never suggested that these two
that the magnitude of the reasonably foreseeable harm as        medications were safer alternatives to Abilify, just that she
designed outweighed the utility of the product as designed. Id. would recommend patients take these medications when
(citation omitted). “In evaluating the adequacy of a product's  “com[ing] off an antipsychotic medication,” like Abilify. Id.
design under the risk-benefit test, ‘a jury may consider,       at 38:5.
among other relevant factors, the gravity of the danger posed
by the challenged design, the likelihood that such danger       Rodman also cites testimony from Dr. Hawkins that if he had
would occur, the mechanical feasibility of a safer alternative  been aware that the rate of TD was higher than that reported
design, the financial cost of an improved design, and the       in the label, he might have considered other alternative
adverse consequences to the product and to the consumer that    medications. Oppo. Otsuka MSJ 15. But this testimony
would result from an alternative design.’ ” Tucker, 2013 WL     does not address whether there were any safer alternative
1149717, at *8 (citation omitted).                              medications to Abilify.

 [37] In opposing Otsuka's summary judgment motion on             Next, she relies on two portions of Dr. Plunkett's expert report
this claim, Rodman argues that she “has no obligation” to         that discuss the different pharmacological profile of Abilify
offer evidence at this point because she is “not required to      versus other atypical antipsychotic drugs. Oppo. Otsuka MSJ
divulge the testimony of medical witnesses designated to          16. In the first portion, Dr. Plunkett merely describes “[o]ther
testify at trial.” Plaintiff's Opposition to Defendant's Motion   drugs that have been or are used today in the treatment of
for Summary Judgment (“Oppo. Otsuka MSJ”) [Dkt. No. 77]           psychotic disorders,” not that any of these are necessarily
15-16. This is not the law. As the non-moving party with          safer alternatives than Abilify. Staub Decl., Ex. 3 (Plunkett
the burden of proof, Rodman “must set forth by affidavit or       Rep. ¶ 15). In the other portion, Dr. Plunkett finds that “like
other admissible evidence, specific facts demonstrating the       other anti-psychotic drugs, the risk of adverse events such
existence of an actual issue for trial”; she “may not merely      as [TD] would be biologically plausible”; Rodman does not
state that [she] will discredit the moving party's evidence at    explain how this shows existence of a safe alternative design.
trial and proceed in the hope that something can be developed     Id. at ¶ 20. Rodman fails to show how any of Dr. Plunkett's
                                                                  concluding paragraphs relate to her design defect claim. Id.
at trial in the way of evidence to support [her] claim.” T.W.
                                                                  ¶¶ 33-38.
Elec. Serv., Inc. v. Pac. Elec. Contractors Ass'n, 809 F.2d
626, 630 (9th Cir. 1987); see also Richardson v. CBS Studios
                                                                   *11 Even if the testimony she points to could somehow
Inc., No. CV 12-7925 ABC (SHX), 2013 WL 12120265,
                                                                  create a genuine despite on the existence of a safe alternative
at *7 (C.D. Cal. Sept. 25, 2013) (“[s]ummary judgment is
                                                                  design, Rodman fails to address any other elements of a


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design defect claim. For example, she does not point to
evidence that goes to the relative costs and benefits of Abilify
as compared with similar drugs on the market. Nor does she                                CONCLUSION
provide any evidence that Otsuka failed to design Abilify
with the amount of care that a reasonably careful designer or        Accordingly, Otsuka's motion for summary judgment on
manufacturer would have used in similar circumstances and            all three theories of Rodman's failure to warn claim and
“presents no admissible evidence regarding what a reasonably         design defect claim is GRANTED. Its motion to exclude
careful designer or manufacturer would have done with                Dr. Plunkett's expert testimony on label inadequacy is
respect to the design.” Mariscal v. Graco, Inc., 52 F. Supp.         GRANTED and the rest of its motion is DENIED as moot.
3d 973, 991 (N.D. Cal. 2014) (granting summary judgment              Rodman's motion for partial summary judgment on her failure
to defendant where plaintiff “produced no other admissible           to warn claim is DENIED and her motion to exclude Dr.
evidence from which a jury could deduce the appropriate              Polfliet's and Dr. Correll's expert testimony is DENIED as
standard of care, which is fatal to [plaintiff's] negligent design   moot.
defect claim”). Instead, she incorrectly argues that she “has
no obligation to divulge the planned trial testimony of treating     IT IS SO ORDERED.
medical physicians disclosed as testifying experts at trial.”
Oppo. Otsuka MSJ 16.
                                                                     All Citations

For these reasons, Otsuka's motion for summary judgment on           --- F.Supp.3d ----, 2020 WL 2525032, 112 Fed. R. Evid. Serv.
the design defect claim is GRANTED.                                  733




                                                             Footnotes


1       On November 6, 2018, I denied Otsuka's motion to dismiss the FAC on grounds that it is barred by California's
        two-year statute of limitations. See Order Denying Motion to Dismiss [Dkt. No. 37].
2       On March 30, 2020, Otsuka filed errata for both of its motions due to clerical errors and errors in compiling
        exhibits. See Defendant's Corrected Motion for Summary Judgment [Dkt. No. 73-1]; Defendant's Corrected
        Motion to Exclude Testimony of Laura M. Plunkett [Dkt. No. 74-1].
3       Dr. Plunkett also points out that this specific “infrequent” warning was located on the Abilify label when it
        was first approved by the FDA in 2002. Abilify continued to carry it in 2007, when it was approved for use in
        MDD. Plunkett Rep. ¶ 31. But in December 2014, the specific mention of “infrequent” occurrence of TD was
        dropped from that particular “Adverse Reaction” section of the label. Id. She finds it “difficult to understand
        why the term was removed altogether from this section” given that “by 2014 there were numerous reports of
        [TD] in the published medical literature (see discussion in above paragraph 21).” Id. ¶ 33.
        As Otsuka points out, the December 2014 label still mentioned TD under the “Adverse Reaction” section
        by cross-referencing the reader to the “Warnings and Precautions” section of the label, which contained the
        warning reproduced in the Background section of this Order. What Dr. Plunkett referred to was the removal
        of information about the frequency of the TD from a particular portion of the “Adverse Reaction” section of
        the label. See Declaration of Matthew M. Saxon in Support of Defendant's Reply in Support of its Motion
        to Exclude Expert Testimony [Dkt. No. 81-1] ¶ 6 & Ex. E (2014 Abilify Label at ECF page numbers 417,
        428, 444).
4       As discussed in Section I.B. of this Order, Rodman's motion to exclude other portions of Dr. Correll's expert
        testimony is DENIED as moot.
5       A patient was categorized as “definite” Abilify-associated TD if Abilify was the only neuroleptic used prior to
        the onset of the movement disorder; a patient was categorized as “probable” if the patient was exposed to
        multiple neuroleptics, but [Abilify] was the last one before the movement disorder emerged. See Saxon Decl.



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       ISO Mot. Exclude, Ex. I (Peña study at 150). Out of the eight patients identified in the study, five patients
       were categorized as “definite” and three were categorized as “probable”. Id.
6      Even if I take Rodman's re-characterization of Dr. Plunkett's report at face value, Dr. Plunkett does not explain
       how a failure to investigate informs her failure to warn claim. See, e.g., Latiolais v. Merck & Co., Inc., 2007
       WL 5861354, at *3 n.1 (C.D. Cal. 2007) (finding a failure-to-act theory, based on pharmaceutical negligent
       testing of medication, “is subsumed by the manufacturer's duty to warn and it does not change the premise
       of Plaintiff's claims, which is that [the pharmaceutical company's] failure to warn of any product defects or
       dangers—tested or not—ultimately caused” the injury).
7      At the hearing, Rodman argued that she has met the second element of her failure to warn claim under this
       theory because Dr. Hawkins testified that if the incidence rate of TD was higher than depicted on the Abilify
       label, then it would have impacted his prescribing decision. Even if Rodman has met the second element,
       the point here is that she has failed to establish a genuine issue of material fact regarding the first element
       of her claim.


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                             TAB 29
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                                                                   her initial fixed-rate services were ending and she would be
                                                                   automatically enrolled in the Variable Rate Plan if she did not
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                                                                   terminate her service. (Id. ¶ 20.) Plaintiff did not respond and
    Only the Westlaw citation is currently available.
                                                                   was automatically enrolled into the Variable Rate Plan. (Id.)
             NOT FOR PUBLICATION
                                                                   The price of the Variable Rate Plan was higher than the initial
     United States District Court, D. New Jersey.
                                                                   fixed rate. (Id. ¶¶ 17-31.) According to Plaintiff, the variable
              Janet ROLLAND, Plaintiff,                            rare jumped 108% from the introductory fixed rate at the end
                        v.                                         of the first billing cycle, and Defendant's prices were 93% to
           SPARK ENERGY, LLC, Defendant.                           114% higher than competitors’ rates. (Id. ¶ 24.)

          Civil Action No. 17-2680 (MAS) (LHG)                     Defendant moves to dismiss Count One of Plaintiff's SAC.
                              |                                    (Id. ¶¶ 54-66.) Plaintiff filed two previous complaints (ECF
                    Signed 04/29/2019                              Nos. 30, 48) after this Court granted Defendant's Motions
                                                                   to Dismiss without prejudice (ECF Nos. 28, 44). The Court
Attorneys and Law Firms                                            denied Defendant's original Motion to Dismiss Plaintiff's
                                                                   breach of contract and breach of implied covenant of good
Matthew Ross Mendelsohn, Mazie Slater Katz & Freeman
                                                                   faith and fair dealing claims. (First Mot. to Dismiss, ECF
LLC, Roseland, NJ, for Plaintiff.
                                                                   No. 28.) The Court, however, granted Defendant's Motion
Ezra Dodd Church, Morgan Lewis & Bockius LLP,                      to Dismiss Plaintiff's New Jersey Consumer Fraud Act
Philadelphia, PA, for Defendant.                                   (“NJCFA”) claim, finding Plaintiff did not satisfy Federal
                                                                   Rule of Civil Procedure 3 9(b)’s pleading standards as to
                                                                   the NJCFA. (Dec. 7, 2017 Hr'g Tr. 6:7-12, ECF No. 34.)
               MEMORANDUM OPINION                                  Specifically, the Court cited to     Melville v. Spark Energy,
                                                                   Inc., No. 15-8706, 2016 WL 6775635 (D.N.J. Nov. 15, 2016),
Michael A. Shipp, United States District Judge
                                                                   and Vitale v. U.S. Gas & Electric, Inc., No. 14-4464, 2016 WL
 *1 This matter comes before the Court on Defendant                1060807 (D.N.J. Mar. 16, 2016), as setting the appropriate
Spark Energy, LLC's (“Defendant”) Third Motion to Dismiss          pleading standard, and provided Plaintiff leave to file an
and Motion to Strike Class Allegations. (ECF No. 54.)              amended complaint. (Id. at 5:23-6:12.)
Plaintiff Janet Rolland (“Plaintiff”) filed a Second Amended
Complaint (“SAC”) on August 17, 2018. (ECF No. 48.)                 *2 Plaintiff subsequently filed an Amended Complaint.
Plaintiff opposed Defendant's Motion (ECF No. 59), and             (ECF No. 30.) Defendant moved to dismiss, arguing
                                                                   Plaintiff failed to satisfactorily plead an NJCFA claim.
Defendant replied (ECF No. 67). 1 The Court has carefully
                                                                   (Second Mot. to Dismiss 8-13, ECF No. 37.) In its
considered the parties’ submissions and decides the matter
                                                                   July 11, 2018 Memorandum Opinion, the Court granted
without oral argument pursuant to Local Civil Rule 78.1. For
                                                                   Defendant's motion, finding Plaintiff again failed to provide
the reasons set forth below, the Court grants in part and denies
                                                                   sufficiently detailed allegations to plead an NJCFA claim.
in part Defendant's Motion.
                                                                   (July 11, 2018 Mem. Op. 6, ECF No. 43.) The Court
                                                                   further reiterated its prior determination that Melville and
                                                                   Vitale set forth the proper NJCFA pleading standard, and
I. Background 2
                                                                   found Plaintiff's Amended Complaint failed to “allege that
The parties are familiar with the matter's factual history, and
                                                                   Plaintiff purchased electricity through Defendant based on
therefore, the Court only repeats those facts necessary to
                                                                   any specific representation(s), or that price was considered
resolve the instant motion. Plaintiff enrolled in Defendant's
                                                                   by Plaintiff when purchasing from Defendant.” (Id. at 5-6.)
electricity services from February 25, 2012 to December 24,
                                                                   The Court granted Plaintiff one final opportunity to cure the
2014. (SAC ¶¶ 7, 24.) Defendant offered a twelve-month low,
                                                                   deficiencies in her Amended Complaint. (Id. at 7.)
fixed-rate for new customers. (Id. ¶¶ 2, 17.) After twelve
billing cycles, Defendant placed Plaintiff on a month-to-
                                                                   Plaintiff subsequently filed the SAC. (See generally SAC.)
month variable rate plan (“Variable Rate Plan”). (Id. ¶ 17.)
                                                                   Currently before the Court is Defendant's third Motion to
Defendant notified Plaintiff before the last billing cycle that
                                                                   Dismiss Plaintiff's NJCFA claim. (See Def.’s Moving Br.,


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ECF No. 54-1.) Defendant moves to dismiss with prejudice            place the defendants on notice of the precise misconduct with
Plaintiff's NJCFA claim, and further moves to dismiss or            which they are charged, and to safeguard defendants against
strike Plaintiff's nationwide class allegations. (Id.)
                                                                    spurious charges of ... fraudulent behavior.” Seville Indus.
                                                                    Mach. Corp. v. Southmost Mach. Corp., 742 F.2d 786, 791
II. Legal Standard                                                  (3d Cir. 1984).
When analyzing a Rule 12(b)(6) motion, the district court
conducts a three-part analysis. First, the court must “tak[e]       A plaintiff seeking a claim under the NJCFA must present
note of the elements a plaintiff must plead to state a              evidence of: (1) unlawful conduct; (2) an ascertainable loss
                                                                    by the plaintiff; and (3) a causal relationship between the
claim.”    Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009).
Second, the court must accept as true all of a plaintiff's          unlawful conduct and the ascertainable loss.          Melville,
well-pleaded factual allegations and construe the complaint         2016 WL 6775635, at *2 (citing  Int'l Union of Operating
in the light most favorable to the plaintiff.     Fowler v.         Eng'gs Local No. 68 Welfare Fund v. Merck & Co., Inc.,
UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) (citation          929 A.2d 1076, 1086 (N.J. 2007) ); see also        N.J.S.A.
omitted). The court, however, must disregard any conclusory         56:8-19. Unlawful conduct includes, “any unconscionable
allegations proffered in the complaint.      Id. at 210-11.         commercial practice, deception, fraud, false pretense, false
Finally, the court must determine whether the “facts alleged        promise, [or] misrepresentation ... in connection with the
in the complaint are sufficient to show that the plaintiff          sale or advertisement of any merchandise or real estate....”

has a ‘plausible claim for relief.”        Id. at 211 (quoting         N.J.S.A. 56:8-2. A plaintiff must allege “substantial
                                                                    aggravating circumstances” to state a valid NJCFA claim.
   Iqbal, 556 U.S. at 679). “[W]here the well-pleaded facts         Neuss v. Rubi Rose, LLC, No. 16-2339, 2017 WL 2367056, at
do not permit the court to infer more than mere possibility of      *7 (D.N.J. May 31, 2017) (citation omitted).
misconduct,” the claim is insufficient.      Iqbal, 556 U.S. at
679.                                                                 *3 Finally, under Rule 12(b)(1), a party may move to dismiss
                                                                    a complaint for lack of subject matter jurisdiction. Because
Where a plaintiff pleads fraud, however, the plaintiff “must        federal courts are courts of limited jurisdiction, the party
meet a heightened pleading standard under [Rule] 9(b).”             seeking to invoke the court's jurisdiction bears the burden
Zuniga v. Am. Home Mortg., No. 14-2973, 2016 WL 6647932,            of proving the existence of subject matter jurisdiction. See
at *2 (D.N.J. Nov. 8, 2016). The NJCFA is subject to the               Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,
heightened standard of Rule 9(b). Smajlaj v. Campbell               377 (1994).
Soup Co., 782 F. Supp. 2d 84, 98 (D.N.J. 2011) (citing
     F.D.I.C. v. Bathgate, 27 F.3d 850, 876-77 (3d Cir, 1994) ).    III. Analysis
“In alleging fraud ..., a party must state with particularity the
circumstances constituting fraud ....” Fed. R. Civ. P. 9(b). “A        A. Plaintiffs NJCFA Claim
plaintiff alleging fraud must therefore support its allegations     Defendant asserts that Plaintiff's SAC does not address the
‘with all of the essential factual background that would            inadequacies from the prior dismissed complaints. (Def.’s
accompany the first paragraph of any newspaper story—that           Moving Br. 4.) Defendant contends Plaintiff failed to plead
is, the who, what, when, where and how of the events at issue.’     the third element of an NJCFA claim—a causal nexus
                                                                    between her injury and Defendant's allegedly unlawful
”    U.S. ex rel. Moore & Co., P.A. v. Majestic Blue Fisheries,
                                                                    conduct. (Id. at 8 (citing    Arcand v. Bro. Int'l Corp., 673 F.
LLC, 812 F.3d 294, 307 (3d Cir. 2016) (quoting             In re
                                                                    Supp. 2d 282, 303 (D.N.J. 2009) ).) Specifically, Defendant
Rockefeller Ctr. Props., Inc. Sec. Litig., 311 F.3d 198, 217
                                                                    contends, “Plaintiff fails to state that she ... read, reviewed,
(3d Cir. 2002) ). “To satisfy this standard, the plaintiff must
                                                                    looked at, or relied on the Terms of Service or the Renewal
plead or allege the date, time and place of the alleged fraud or
                                                                    Notice. Instead, Plaintiff pleads she merely ‘received’ or
otherwise inject precision or some measure of substantiation
                                                                    was ‘provided’ those documents ....” (Id. at 9 (emphasis
into a fraud allegation.”    Frederico v. Home Depot, 507           removed).)
F.3d 188, 200 (3d Cir. 2007). The purpose of Rule 9(b) is “to


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Defendant also argues Plaintiff again failed to allege that         *4 This Court previously identified Melville and Vitale as
she considered price when she purchased services from              providing the appropriate NJCFA pleading standard. (July 11,
Defendant, and instead, continues to “resort only to the
                                                                   2018 Mem. Op. 5 (citing       Melville, 2016 WL 6775635;
considerations of a ‘reasonable consumer’—an attempt the
                                                                   Vitale, 2016 WL 1060807.) In Melville, the plaintiff took the
Court specifically rejected.” (Id. at 10 (citing July 11, 2018
                                                                   agreement into consideration when he read and reviewed the
Mem. Op. 6 (“Plaintiffs Amended Complaint does not allege
that Plaintiff purchased electricity through Defendant based       terms.     Melville, 2016 WL 6775635, at *1. The Melville
on any specific representation(s), or that price was considered    court also stated that “as with common law and equitable
by Plaintiff when purchasing from Defendant.”) ).) Thus,           fraud, an NJCFA violation must be pled with particularity”
Defendant contends that although “Plaintiff speculates about       and held that the plaintiff satisfied the Rule 9(b) standard
what the platitudinal ‘reasonable consumer’ would think and        because the plaintiff attached the agreement and referenced
do. she does not state facts—let alone particularized facts—       a specific encounter between the defendant and the plaintiff.
of a representation that caused her to roll over to a [V]ariable      Id. at *4.
[R]ate [Plan] and to stay there.” (Id. at 11.)
                                                                   In Vitale, the plaintiffs claimed the defendant told them, and
Moreover, Defendant contends Plaintiff failed to allege any        provided them with documentation, that stated the rates were
misrepresentation or omission on behalf of Defendant. (Id.         “competitive” when the plaintiffs switched to the defendant's
at 12.) Rather, Defendant argues “Plaintiff simply points to       services. Vitale, 2016 WL 1060807, at *1. Further, the
additional language in the Terms and Conditions that an            plaintiffs directly quoted the standardized telephone sales
administrative fee would not be included in the fixed rate         pitch that induced them to switch electricity providers. Id. at
—an allegation that has nothing to do with her variable-           *3. There, the court held the plaintiffs satisfied the NJCFA
rate allegations.” (Id. at 13.) Defendant disputes Plaintiff's     pleading requirements because the plaintiffs demonstrated the
statement that Defendant's use of the terms “competitively         specific misleading statements that they considered, which
priced” amounts to a misrepresentation of the Variable Rate        induced them to switch to the defendant's services. Id.
Plan. (Id. at 14.) Instead, Defendant alleges this phrase is
merely “puffery,” which this Court has previously found            In the instant matter, Plaintiff again fails to allege that
as not actionable under the NJCFA. (Id. (citing          Urbino    she considered any of Defendant's representations when she
v. Ambit Energy Holdings, LLC, No. 14-5184, 2015 WL                purchased Defendant's electricity services. “To properly plead
4510201, at *5 n.7 (D.N.J. July 24, 2015) (“[C]laims of            a causal nexus, a plaintiff cannot rely on legal conclusions
‘substantial savings,’ ‘low, competitive rates,’ ‘exceptional      that fail to allege when statements were made or when
value,’ and ‘great savings’ are not factual assertions. As such,   the plaintiff[ ] [was] exposed to the statements.”      Torres-
they are not actionable under the [NJ]CFA.”) ).)                   Hernandez v. CVT Prepaid Sols., Inc., No. 08-1057, 2008
                                                                   WL 5381227, at *7 (D.N.J. Dec. 17, 2008) (citation omitted).
Finally, Defendant contends Plaintiff has not pled substantial     Here, although Plaintiff attached the Terms of Service and
aggravating circumstances sufficient to constitute consumer        Renewal Notice to her SAC, Plaintiff did not plead any facts
fraud under the NJCFA. (Id. at 15.) See Hassler v. Sovereign.      demonstrating that she saw, read, heard, or in any way took
Bank, 374 F. App'x 341, 344 (3d Cir. 2010) (quoting       Turf     those documents into consideration. (See SAC, Ex. 1; SAC,
Lawnmower Repair, Inc. v. Bergen Record Corp., 655 A.2d            Ex. 2.) In fact, Plaintiff merely alleges that she “received”
417, 429 (N.J. 1995) (“To constitute consumer fraud ...            Defendant's Renewal Notice, and Defendant “provided her”
the business practice in question must be ‘misleading’ and         its Terms of Service. (SAC ¶¶ 18, 20.) Therefore, Plaintiff
stand outside the norm of reasonable business practice in          failed to establish the Terms of Service and Renewal Notice
that it will victimize the average consumer ....”) ); see also     were material to her decision making, but instead, pleads
                                                                   pursuant to a reasonable consumer, which the Court has
    Suber v. Chrysler Corp., 104 F.3d 578, 587 (3d Cir. 1997)
                                                                   already rejected. (See July 11, 2018 Op. 5-6 (collecting cases);
(differentiating between mere breach of contract or warranty
and an NJCFA violation). Thus, Defendant contends, “No             see also id. at 6.) See also      Mladenov v. Wegmans Food
basis exists to morph the breach of contract claim ... into a      Mkts., Inc., 124 F. Supp. 3d 360, 377 (D.N.J. 2015) (finding
treble-damages [NJ]CFA claim.” (Id. at 16.)                        the plaintiffs failed to plead an NJCFA claim with sufficient
                                                                   particularity because, among other things, the “[p]laintiffs



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                                                                     present.” (SAC ¶ 6.) Plaintiff further provides that Defendant
[did] not specify any instance in which they even saw [the
                                                                     “has thousands of customers in New Jersey and elsewhere,”
d]efendant's advertisements”); Berman v. ADT LLC, No.
                                                                     and operates in “New Jersey and other states.” (SAC ¶ 8.)
12-7705, 2015 WL 4496517, at *5 (D.N.J. July 22, 2015)
                                                                     Although the Court recognizes Plaintiff's nationwide class
(finding the plaintiffs failed to successfully plead an NJCFA
                                                                     allegations are limited, Plaintiff's allegations are sufficiently
claim because the record lacked evidence that the defendants’
                                                                     broad to encompass a class outside of the State of New Jersey.
representations were “material to [the plaintiffs’] decision-
making”).
                                                                     Moreover, the Court is not inclined to dismiss or strike
                                                                     Plaintiff's class allegations at the motion to dismiss stage,
The Court is also not persuaded by Plaintiff's assertion that
                                                                     and finds this issue better suited for the class certification
Defendant's use of the phrase “competitively priced offers”
in the Renewal Notice constitutes a misrepresentation. (SAC,         stage. 5 See Rubi Rose, LLC, 2017 WL 2367056, at *10
Ex. 2.) This Court has previously determined, “claims of             (“[S]trik[ing] ... class allegations at [the motion to dismiss]
‘substantial savings,’ ‘low, competitive rates,’ ‘exceptional        stage would be premature, and the Court's consideration
value,’ and ‘great savings’ are not factual assertions, As such,     of this issue is better suited for the class certification

[those phrases] are not actionable under the [ NJ]CFA.”              stage.”); see also     Durso v. Samsung Elecs. Am., Inc.,
Urbino, 2015 WL 4510201, at *5 n.7 (citation omitted); see           No. 12-5352, 2013 WL 5947005, at *13 (D.N.J. Nov. 6,
                                                                     2013) (citation omitted) (“Dismissal of class claims prior
also     Glass v. BMW of N. Am., No. 10-5259, 2011 WL
                                                                     to discovery and a motion to certify the class by plaintiff
6887721, at *6 (D.N.J. Dec. 29, 2011) (citation omitted)
                                                                     is the exception rather than the rule.”); Fishman v. Gen.
(“Advertising that amounts to mere puffery is not actionable
                                                                     Elec. Co., No. 12-585, 2013 WL 1845615, at *6 (D.N.J.
because no reasonable consumer relies on puffery. The
                                                                     Apr. 30, 2013) (explaining that a motion to strike under
distinguishing characteristics of puffery are vague, highly
                                                                     Rule 12(f), rather than a motion to dismiss under Rule 12(b)
subjective claims, as opposed to specific, detailed factual
                                                                     (6), is the “proper procedural mechanism” for disputing
assertions.”); Berman, 2015 WL 4496517, at *5 (alteration
                                                                     nationwide class allegations, and finding the defendant's
in original) (internal quotation marks and citation omitted)
(“[I]dle comments or mere puffery are not material because           motion premature at the motion to dismiss stage); cf. Bell v.
reasonable consumers do not rely on puffery.”). Here,                Cheswick Generating Station, No. 12-929, 2015 WL 401443,
Defendant's assertion that its rates were competitively priced       at *5-7 (W.D. Pa. Jan. 28, 2015) (reviewing the defendant's
falls squarely into the category of puffery. Nonetheless,            motion brought pursuant to Rules 12(b) and 23(c)(1)(A) as
as stated previously, Plaintiff failed to plead that she read        a motion to strike class allegations). The Court, accordingly,
or considered the Renewal Notice, and therefore, has not             denies Defendant's motion to dismiss or strike Plaintiff's
demonstrated that she even took the phrase “competitively            nationwide class allegations. 6
priced” into consideration. 4

                                                                     IV. Conclusion
   B. Plaintiff's Multistate Class Allegations                       For the reasons set forth above, the Court dismisses
 *5 Defendant next argues the SAC fails to support a                 with prejudice Plaintiff's NJCFA claim. The Court denies
multistate class. Specifically, Defendant moves to dismiss           Defendant's Motion to Strike Plaintiff's nationwide class. The
Plaintiff's class allegations pursuant to Rules 12(b)(1), 12(b)      Court will enter an Order consistent with this Memorandum
(6), or 23(d)(1)(D). (Def.’s Moving Br. 17-21.)                      Opinion.

Plaintiff's class definition does not include a geographic
                                                                     All Citations
limitation, i.e. New Jersey, but rather, Plaintiff brings the suit
“on behalf of a class of consumers who purchased electricity         Not Reported in Fed. Supp., 2019 WL 1903990
on a variable rate from Defendant from April 19, 2011, to




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                                                   Footnotes


1     The Court permitted Plaintiff and Defendant to submit a sur-reply and sur-sur-reply, respectively, but reserved
      on its decision as to whether it would consider the arguments advanced in that correspondence. (ECF Nos.
      68, 69, 70, 71, 72, 73.) The Court hereby grants Plaintiffs and Defendant's Motions to submit a sur-reply and
      sur-sur-reply. (ECF Nos. 71, 72.) Further, the Court acknowledges receipt of the notices of supplemental
      authority (ECF Nos. 77, 79), and the responses thereto (ECF Nos. 78, 80).
2     For purposes of the instant motion, the Court accepts all well-pled factual allegations in the Complaint as
      true. See      Phillips v, Cty. of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008).
3     Unless otherwise noted, all references to “Rules” hereinafter refer to Federal Rules of Civil Procedure.
4     Plaintiff's arguments regarding the Administrative Fee lack merit as the Terms of Service provides that
      fixed rate plan customers will not pay an administrative fee, and Plaintiff does not allege that she paid an
      administrative fee during the time she was enrolled in the fixed rate plan. (SAC, Ex. 1; see also SAC ¶ 39
      (stating Plaintiff began paying an administrative fee after switching to the Variable Rate Plan).)
5     The Court acknowledges that “[c]ourts are divided on the question of the appropriate standard of review for
      pre-discovery motions to strike class allegations ....”  Bell v. Cheswick Generating Station, No. 12-929,
      2015 WL 401443, at *3 (W.D. Pa. Jan. 28, 2015) (collecting cases). Here, the Court finds Defendant's motion
      premature, and therefore, does not reach the issue.
6
      The Court further finds Defendant's standing argument unpersuasive. See, e.g.,     Langan v. Johnson &
      Johnson Consumer Cos., 897 F.3d 88, 96 (2d Cir. 2018) (“[W]hether a plaintiff can bring a class action
      under the state laws of multiple states is a question of predominance under Rule 23(b)(3), not a question
      of standing ....”).


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                             TAB 30
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                                                                      and two operations, and required seventeen days of inpatient
                                                                      treatment. Id. Plaintiffs then sued in New Jersey State Court,
                  2017 WL 4407930
                                                                      but Defendant removed the case on diversity grounds. See
    Only the Westlaw citation is currently available.
                                                                      Notice of Removal (Doc. No. 1). Mr. Sich alleges that the
     United States District Court, D. New Jersey,
                                                                      “medication supplied by Defendant [ ] was defective” and
                  Camden Vicinage.
                                                                      caused his injuries. Id.
                 Michael SICH and Ellen
               Bitterlich, his wife, Plaintiffs,                      Plaintiffs seek relief under a number of theories. See Compl.
                              v.                                      First, Plaintiffs allege a design defect, a failure to warn,
                                                                      and manufacturing defects under the PLA. Id.; N.J.S.A.
           PFIZER PHARMACEUTICAL, Pfizer
                                                                      § 2A:58C. Second, Plaintiffs allege breach of actual and
             Incorporated, et al., Defendants.
                                                                      implied warranties, negligence, and “other causes of action
            Civil No. 1:17-cv-02828 (RBK/KMW)                         allowed by law.” Compl. at 4. Finally, Plaintiffs allege loss of
                               |                                      consortium on behalf of Ms. Bitterlich. Id. at 5.
                      Signed 10/04/2017

Attorneys and Law Firms                                               II. STANDARD
                                                                      Federal Rule of Civil Procedure 12(b)(6) allows a court to
Mark J. Molz, Hainesport, NJ, for Plaintiffs.                         dismiss an action for failure to state a claim upon which
                                                                      relief can be granted. When evaluating a motion to dismiss,
Rahil Darbar, Stephen C. Matthews, Porzio, Bromberg &                 “courts accept all factual allegations as true, construe the
Newman P.C., Morristown, NJ, for Defendants.                          complaint in the light most favorable to the plaintiff, and
                                                                      determine whether, under any reasonable reading of the
                                                                      complaint, the plaintiff may be entitled to relief.” Fowler v.
                           OPINION
                                                                      UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) (quoting
ROBERT B. KUGLER, United States District Judge                           Phillips v. County of Allegheny, 515 F.3d 224, 233 (3d
                                                                      Cir. 2008)). In other words, a complaint survives a motion
 *1 This matter arises upon defendant Pfizer Incorporated's
                                                                      to dismiss if it contains sufficient factual matter, accepted
(“Defendant”) motion to dismiss plaintiffs Michael Sich and
                                                                      as true, to “state a claim to relief that is plausible on its
Ellen Bitterlich's (“Plaintiffs”) suit for failure to state a claim
upon which relief can be granted. Fed. R. Civ. P. 12(b)(6).           face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009);        Bell
For the reasons set forth in the opinion below, this motion           Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).
is GRANTED WITHOUT PREJUDICE, and Plaintiffs are
permitted to submit an amended complaint as to only the               To make this determination, a court conducts a three-part
claims arising under the New Jersey Products Liability Act            analysis.   Santiago v. Warminster Twp., 629 F.3d 121, 130
(“PLA”) within 14 days.                                               (3d Cir. 2010). First, the court must “tak[e] note of the
                                                                      elements a plaintiff must plead to state a claim.” Id. (quoting
I. BACKGROUND                                                             Iqbal, 556 U.S. at 675). Second, the court should identify
Plaintiffs allege that Defendant's drug, Dep-Medrol, caused           allegations that, “because they are no more than conclusions,
Mr. Sich severe physical injuries. See Compl. at 1. In February
                                                                      are not entitled to the assumption of truth.”        Id. at 131
2015, Mr. Sich visited Reconstructive Orthopedics where a
physician's assistant administered an injection of Dep-Medrol         (quoting    Iqbal, 556 U.S. at 680). Finally, “where there are
in his left knee. Id. Later that month, Mr. Sich returned to          well-pleaded factual allegations, a court should assume their
Reconstructive Orthopedics for an appointment with Dr. Scott          veracity and then determine whether they plausibly give rise
Schoifet and received a second injection. Id. at 2. Within            to an entitlement for relief.” Id. (quoting    Iqbal, 556 U.S.
hours, Mr. Sich began experiencing symptoms including                 at 680). This plausibility determination is a “context-specific
elevated temperature, sensitivity, swelling, rashes, and hives.       task that requires the reviewing court to draw on its judicial
Id. Within a week, Mr. Sich underwent open debridement
                                                                      experience and common sense.”        Iqbal, 556 U.S. at 679. A


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complaint cannot survive where a court can only infer that a
claim is merely possible rather than plausible. Id.                A. Design Defect
                                                                 Under New Jersey law, the plaintiff must show that the
                                                                 “product was defective, that the defect existed when the
III. ANALYSIS                                                    product left the defendant's control, and that the defect
 *2 Plaintiffs' Strict Products Liability, Negligence, Breach
                                                                 caused injury to a reasonably foreseeable user.”          Feldman
of Implied Warranty, and Loss of Consortium Claims Are
Subsumed by the PLA.                                             v. Lederle Labs., 97 N.J. 429, 449 (N.J. 1984); see Donlon
                                                                 v. Gluck Grp., LLC, No. 09-5379, 2011 WL 6020574, at *3
The PLA is “both expansive and inclusive, encompassing           (D.N.J. Dec. 2, 2011). The plaintiff must demonstrate that
virtually all possible causes of action relating to harms        the “product [was] manufactured as intended but the design
                                                                 render[ed] the product unsafe.” Pollander v. Desimone BMW
caused by consumer and other products.” In re Lead Paint
                                                                 of Mt. Laurel, Ltd., No. A-3204-10T3, 2012 WL 127563, at *3
Litigation, 924 A.2d 484, 436-37 (N.J. 2007) (citing N.J.S.A.
                                                                 (N.J. Super. Ct. App. Div. Jan. 18, 2012). Plaintiffs must also
§ 2A:58C-1(b)(3) (defining “product liability action”)). The
                                                                 provide—pursuant to a risk-utility analysis—an alternative
statute's reach includes “any claim or action brought by a
claimant for harm caused by a product, irrespective of the       design that is both practical and feasible. Lewis v. Am.
theory underlying the claim, except actions for harm caused      Cyanamid Co., 155 N.J. 544, 560-61 (N.J. 1998); Schraeder
by breach of an express warranty.” N.J.S.A. § 2A:58C-1(b)        v. Demilec (USA) LLC, No. 12-6074, 2013 WL 5770970, at
(3).                                                             *2 (D.N.J. Oct. 22, 2013).

Here, Plaintiffs allege injuries sustained as a result of Mr.    Plaintiffs have failed to reach this bar. Plaintiffs have alleged
Sich's use of Depo-Medrol. See Compl. The PLA, as a result,      that as a result of a defect in the product, “including its sterility
applies—this is a products liability case. But “negligence,      and/or formulation, Plaintiff Michael Sich was injected with
strict liability and implied warranty have been consolidated     toxic substances and injured.” Compl. at 3. That is not enough
into a single product liability cause of action” by the          —Plaintiffs have failed to plead facts that satisfy each of the
                                                                 necessary elements of a design defect claim, they have simply
PLA.       Clements v. Sanofi-Aventis, U.S. Inc., 111 F. Supp.
                                                                 alleged injury.
3d 586, 596 (D.N.J. 2015) (“New Jersey law no longer
recognizes breach of implied warranty, negligence, and strict
liability as viable separate claims for harms deriving from         B. Failure to Warn
a defective product.”); Fid. & Guar. Ins. Underwriters, Inc.      *3 A manufacturer is liable for harm caused by a failure to
v. Omega Flex, Inc., 936 F. Supp. 2d 441, 446-51 (D.N.J.         warn if the product does not contain an adequate warning or
2013);    Green v. Gen. Motors Corp., 709 A.2d 205, 209          instruction. N.J.S.A. § 2A:58C-4. A warning is adequate if it
(N.J. Super. 1998). Furthermore, the PLA subsumes loss           is “one that a reasonably prudent person in the same or similar
of consortium claims arising in products liability contexts.     circumstances would have provided with respect to the danger
                                                                 and that communicates adequate information on the dangers
   Chester v. Boston Sci. Corp., No. CV 16-02421, 2017
WL 751424, at *4 (D.N.J. Feb. 27, 2017). Therefore,              and safe use of the product.” Id.;    Banner v. Hoffman-La
Plaintiffs' strict products liability, negligence, breach of     Roche Inc., 891 A.2d 1229, 1236 (N.J. Super. App. Div. 2006)
implied warranty, and loss of consortium claims are subsumed     (cert. denied, 921 A.2d 447 (N.J. 2007)).
by the PLA and must be dismissed as a matter of law.
                                                                 Plaintiffs' allegations fail to meet this standard. Plaintiffs
Because the PLA subsumes these claims, it would be futile to     allege that “[a]s a direct and proximate result of” Defendant's
include them in the amended complaint.                           failure to warn, “Plaintiff Michael Sich was injected with
                                                                 toxic substances and was injured.” Compl. at 3. Plaintiffs offer
Plaintiffs PLA and Breach of Express Warranty Claims Fail        nothing further, and thus do not reach the requisite plausibility
to Meet The Fed. R. Civ. P. 12(b)(6) Pleading Standard and       requirement. 1      Iqbal, 556 U.S. at 680.
Must be Dismissed Without Prejudice With Leave to Amend.

                                                                   C. Manufacturing Defect



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                                                                       promise, or description about the product; (2) that this
A manufacturing defect exists if a product “deviated from
                                                                       affirmation, promise, or description became part of the basis
the design specification, formulae, or performance standards
                                                                       of the bargain for the product; and (3) that the product
of the manufacturer or from otherwise identical units
                                                                       ultimately did not conform to the affirmation, promise or
manufactured to the same manufacturing specifications or
formulae.” N.J.S.A. § 2A:58C-2(a). A plaintiff must prove              description. Mendez v. Shah, 28 F. Supp. 3d 282, 294 (D.N.J.
“that the product was defective, that the defect existed when          2014); Fid. & Guar. Ins. Underwriters, Inc., 936 F. Supp. 2d
the product left the manufacturer's control, and that the defect       at 451.
proximately caused injuries to the plaintiff, [who must be] a
reasonably foreseeable or intended user.” McMahon v. Gen.              Plaintiffs have failed to present an affirmation, promise, or
                                                                       description about the product made by Defendant. They have
Dynamics Corp., 933 F. Supp. 2d 682, 695 (D.N.J. 2013)
                                                                       additionally failed to allege how this missing affirmation,
(citing Myrlak v. Port Authority of N.Y. and N.J., 723 A.2d
                                                                       promise, or description became a part of the basis of the
45, 52 (N.J. 1999)).
                                                                       bargain for the product, nor how the product ultimately did not
                                                                       conform to that affirmation, promise, or description. As such,
Plaintiffs have alleged that as a “direct and proximate result
                                                                       the breach of express warranty claim constitutes a categorical
of ... manufacturing defects including its sterility and/or
formulation, Plaintiff Michael Sich was injected with toxic            allegation and nothing more.      Iqbal, 556 U.S. at 678.
substance and was injured.” Compl. at 3. Plaintiffs have not,
however, explained how the drug differed from the requisite
standard or how it was allegedly defective. This claim thus            IV. CONCLUSION
lacks the factual support that it needs to reach the Twombly            *4 Because the complaint as pleaded does not present
/ Iqbal plausibility standards—conclusory statements are not           facts, accepted as true, that give rise to any plausible
                                                                       entitlement to relief, Defendant's motion to dismiss is
enough.     550 U.S. at 570;     556 U.S. at 680.                      GRANTED WITHOUT PREJUDICE and Plaintiffs are
                                                                       permitted 14 days to submit an amended complaint correcting
                                                                       the deficiencies noted above.
  D. Breach of Express Warranty
An express warranty is an “affirmation of fact or promise
made by the seller ... which relates to the goods and becomes          All Citations
part of the basis of the bargain.” N.J.S.A. § 12A:2-313(a).
Plaintiffs must allege: (1) that Defendant made an affirmation,        Not Reported in Fed. Supp., 2017 WL 4407930




                                                           Footnotes


1      Because Plaintiffs have not alleged or pleaded any facts related to the warning label, this Court does not
       reach the questions of (1) whether the learned intermediary doctrine applies and if Mr. Sich's healthcare
       provider was adequately warned of any relevant dangers; and (2) whether the warning label is protected by
       the rebuttable presumption of adequacy afforded to FDA-approved prescription medication under the PLA.
       N.J.S.A. § 2A:58C-4.


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                             TAB 31
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                                                                   of contract because he lacks a legally protected interest in
                                                                   that contract. Because the court does not have the power
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                                                                   to entertain this action, dismissal is required under Federal
    Only the Westlaw citation is currently available.
             United States District Court,                         Rule of Civil Procedure 12(b)(1). 1 In light of the Rule 12(b)
                   M.D. Alabama,                                   (1) dismissal AMCOAL's Rule 12(b)(6) motion is due to be
                 Southern Division.                                denied as moot. Additionally, Mr. Stinson's motion to exclude
                                                                   (Doc. # 18) is due to be denied.
     Charles Byron STINSON, on behalf of himself
    and a class of others similarly situated, Plaintiff,
                            v.                                                  I. JURISDICTION AND VENUE
        TWIN PINES COAL CO., INC., and The
         American Coal Company, Defendants.                        Subject-matter jurisdiction is proper pursuant to 28 U.S.C.
                                                                   § 1441 and the Class Action Fairness Act, codified in part at
               No. 1:14–CV–334–WKW[WO].
                             |                                        28 U.S.C. §§ 1332(d) and         1453. Personal jurisdiction
                    Signed Sept. 11, 2014.                         and venue are not contested.

Attorneys and Law Firms

Joseph Holland Aughtman, The Aughtman Law Firm,                                   II. STANDARD OF REVIEW
Montgomery, AL, Joseph Daniel Talmadge, Jr., Morris Cary
Andrews Talmadge Jones & Driggers LLC, Dothan, AL, for             A motion to dismiss under Federal Rule of Civil Procedure
Plaintiff.                                                         12(b)(1) challenges the court's subject matter jurisdiction.
                                                                      McElmurray v. Consol. Gov't of Augusta–Richmond Cnty.,
Edward Reed Jackson, Jackson Fikes Hood & Brakefield,
                                                                   501 F.3d 1244, 1251 (11th Cir.2007). On a Rule 12(b)(1)
Jasper, AL, Hunter Spence Morano, Jeffrey Edwin Friedman,
                                                                   facial attack, the court evaluates whether the plaintiff “has
Friedman Dazzio Zulanas & Bowling PC, Birmingham, AL,
                                                                   sufficiently alleged a basis of subject matter jurisdiction”
Brian E. Pumphrey, McGuire Woods LLP, Richmond, VA,
                                                                   in the complaint and employs standards similar to those
Leonard J. Marsico, McGuirewoods, LLP, Pittsburgh, PA,
Marion Dale Marsh, Marsh & Cotter LLP, Enterprise, AL, for         governing Rule 12(b)(6) review.        Houston v. Marod
Defendants.                                                        Supermarkets, Inc., 733 F.3d 1323, 1335 (11th Cir.2013).

                                                                   When evaluating a motion to dismiss pursuant to Federal
        MEMORANDUM OPINION AND ORDER                               Rule of Civil Procedure 12(b)(6), the court must take the
                                                                   facts alleged in the complaint as true and construe them in
W. KEITH WATKINS, Chief Judge.                                     the light most favorable to the plaintiff. Resnick v. AvMed,
                                                                   Inc., 693 F.3d 1317, 1321–22 (11th Cir.2012). To survive
 *1 Before the court are Defendant The American Coal
                                                                   Rule 12(b)(6) scrutiny, “a complaint must contain sufficient
Co.'s (“AMCOAL”) motion to dismiss pursuant to Federal
                                                                   factual matter, accepted as true, to ‘state a claim to relief
Rule of Civil Procedure 12(b)(6) and Plaintiff Charles
Bryon Stinson's motion to exclude the exhibits attached to         that is plausible on its face.’ “   Ashcroft v. Iqbal, 556 U.S.
AMCOAL's motion. (Docs.# 9, 18.) In this diversity, putative-
                                                                   662, 678 (2009) (quoting      Bell Atl. Corp. v. Twombly, 550
class action, Mr. Stinson has sued AMCOAL for breach of
                                                                   U.S. 544, 570 (2007)). “[F]acial plausibility” exists “when
contract. AMCOAL contends that Mr. Stinson cannot recover
                                                                   the plaintiff pleads factual content that allows the court to
on behalf of himself or a putative class because he is neither a
                                                                   draw the reasonable inference that the defendant is liable for
party to that contract nor an intended third-party beneficiary.
The motions have been fully briefed. (Docs.# 10, 13, 17, 18,       the misconduct alleged.” Id. (citing     Twombly, 550 U.S. at
22, 25.) Based upon careful consideration of the arguments         556).
of counsel and the relevant law, the court finds that Mr.
Stinson does not have standing to sue AMCOAL for breach



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In contrast to a facial attack on subject matter jurisdiction,       Mr. Stinson alleges that, at some point between January
a Rule 12(b)(1) factual attack “challenge[s] the existence           2008 and July 30, 2008, AMCOAL breached a coal supply
of subject matter jurisdiction in fact, irrespective of the          agreement dated November 1, 2003 (“the Agreement”),
pleadings, and matters outside the pleadings, such as                between it and PowerSouth by failing to supply coal to
                                                                     PowerSouth in accordance with the Agreement's terms.
testimony and affidavits, are considered.”         Lawrence v.
                                                                     (Am.Compl.¶¶ 7–8.)
Dunbar, 919 F.2d 1525, 1529 (11th Cir.1990) (internal
quotation marks omitted). When the attack is factual, “the
                                                                     AMCOAL's breach of the Agreement “resulted in
trial court is free to weigh the evidence and satisfy itself
                                                                     PowerSouth paying a higher price to other suppliers of coal in
as to the existence of its power to hear the case.” Id.
                                                                     order to keep its power plant in production.” (Am.Compl.¶ 9.)
Therefore, “no presumptive truthfulness attaches to [the]
                                                                     PowerSouth passed those increased costs to its retail electric
plaintiff's allegations, and the existence of disputed material
                                                                     distribution cooperatives, including CEC and SAEC, which
facts will not preclude the trial court from evaluating for itself
                                                                     in turn passed the costs to their own members, including Mr.
the merits of jurisdictional claims.” Id.
                                                                     Stinson, in the form of a 30–percent rate increase, beginning
                                                                     in approximately September 2008.
 *2 For the reasons discussed in Part IV.A., the Rule 12(b)(1)
analysis takes the form of a facial challenge. That challenge
                                                                     Mr. Stinson originally filed this action in the Circuit Court
also properly includes consideration of the contract at issue,
                                                                     of Coffee County, Alabama, on April 30, 2013, against four
which is appended to AMCOAL's motion to dismiss.
                                                                     fictitious Defendants, described as “those persons or entities
                                                                     who or which failed or refused to provide coal in accordance
                                                                     with their contracts with PowerSouth....” (Compl.¶ 7.)
                    III. BACKGROUND                                  On April 7, 2014, Mr. Stinson amended his Complaint
                                                                     to substitute AMCOAL and Twin Pines Coal Co., Inc.
The facts essential to resolution of the motion to dismiss,
                                                                     (“Twin Pines”), for “Fictitious Defendant A” and “Fictitious
construed in Mr. Stinson's favor, are as follows. Beginning
                                                                     Defendant B.” 2 In the Amended Complaint, Mr. Stinson
in September 2008, Mr. Stinson received high electric bills
                                                                     asserts claims for breach of contract against AMCOAL
for properties he owns in Southeast Alabama. Mr. Stinson
                                                                     and Twin Pines on behalf of himself and “[a]ll individual
blames the increased costs on rate hikes he says resulted from
                                                                     persons in the State of Alabama who were members of
the failure of coal suppliers, including AMCOAL, to abide
                                                                     cooperatives that were members of PowerSouth and who
by their contracts for coal deliveries to PowerSouth Energy
                                                                     paid those cooperatives for power from July 30, 2008 to
Cooperative (“PowerSouth”) for electric power generation.
                                                                     present.” (Am.Compl.¶ 14.) Mr. Stinson asserts that he and
                                                                     the putative class “were the intended and direct third party
PowerSouth is a “non-profit power generation and
                                                                     beneficiaries” of the Agreement and incurred damages as a
transmission cooperative” that sells wholesale power
                                                                     result of AMCOAL's breach. (Am.Compl.¶¶ 6, 10.)
to its member retail electric distribution cooperatives.
(Am.Compl.¶ 3.) Hence, “PowerSouth generates
                                                                      *3 AMCOAL timely removed this action to federal court
power[,] and its member cooperatives distribute that
                                                                     as one arising under the court's original diversity jurisdiction
power.” (Am.Compl.¶ 5.) Covington Electric Cooperative,
Inc. (“CEC”), and South Alabama Electric Cooperative                 under CA FA and     28 U.S.C. § 1441, and filed the pending
(“SAEC”), as member cooperatives, purchase electricity               Rule 12(b)(6) motion to dismiss. In support of its motion to
from PowerSouth. (Am.Compl.¶ 9.) CEC and SAEC are                    dismiss, AMCOAL submitted as exhibits the Agreement and
“non-profit member-owned[,] retail electric distribution             its subsequent amendments. Mr. Stinson opposes the motion
cooperatives” that serve rural communities in south Alabama,         to dismiss on the merits and moves to exclude the exhibits
including the communities (Enterprise and Glenwood) where            from consideration.
Mr. Stinson owns three parcels of property. (Am.Compl.¶¶
2, 4.) Mr. Stinson purchases power from CEC and SAEC to
service these properties and, thus, is a member of both CEC
                                                                                          IV. DISCUSSION
and SAEC.




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A. Mr. Stinson's Motion to Exclude Consideration of               breach-of-contract claim. See      SFM Holdings, 600 F.3d at
Extrinsic Documents                                               1337. Indeed, the Agreement is at the heart of Mr. Stinson's
Mr. Stinson argues that discovery may reveal that                 claim against AMCOAL, for the claim is that AMCOAL
the Agreement and the subsequent amendments to the                breached the Agreement between it and PowerSouth by
Agreement, which are attached to AMCOAL's motion to               failing to supply coal to PowerSouth in accordance with
dismiss, are not authenticate, and, thus, the documents           the Agreement's terms and that Mr. Stinson is a third-party
are not proper for consideration on a motion to dismiss.          beneficiary to that Agreement. (Am.Compl.¶ 7.) Second,
AMCOAL responds that “the Agreement need not be verified          AMCOAL submits an affidavit authenticating the Agreement
or authenticated under these circumstances,” as Mr. Stinson       and its amendments. Mr. Stinson offers no factual basis for
“has no basis upon which to dispute the authenticity or           questioning the documents' authenticity, and his assertion
completeness of the Agreement.” (Doc. # 22, at 6.) Moreover,      that perhaps discovery will show that documents are not
AMCOAL has submitted an affidavit from one of the                 authentic is insufficient to prevent the court from considering
signatories to the Agreement who attests that the Agreement       the Agreement.
and its amendments are in fact “true and correct .” (B.J.
Cornelius's Aff. at 1–2 (Doc. # 22–2).)                            *4 Accordingly, for purposes of AMCOAL's motion to
                                                                  dismiss, the Agreement and its amendments are presumed
Although Mr. Stinson makes his arguments in Rule 12(b)            authentic and properly are part of the Rule 12(b)(1) analysis.
(6) terminology, his arguments also are relevant to whether       Mr. Stinson's motion to exclude is due to be denied.
the Rule 12(b)(1) motion should be treated as a facial or
factual attack. A Rule 12(b)(1) facial-attack mimics a Rule
                                                                  B. AMCOAL's Motion to Dismiss
12(b)(6) challenge, see    Houston, 733 F.3d at 1335, and         AMCOAL briefs the issue of Mr. Stinson's status as a third
under the Rule 12(b)(6) rubric, a “district court may consider    party beneficiary as a challenge to the sufficiency of the
an extrinsic document if it is (1) central to the plaintiff's     Amended Complaint's allegations to state the elements of a
                                                                  breach-of-contract claim pursuant to Rule 12(b)(6); however,
claim, and (2) its authenticity is not challenged.” 3     SFM
                                                                  at the same time, it argues that Mr. Stinson “has no standing
Holdings, Ltd. v. Banc of Am. Sec., LLC, 600 F.3d 1334,
                                                                  to sue AMCOAL for breach of contract” as he is not a
1337 (11th Cir.2010). Another district court has succinctly
                                                                  third-party beneficiary to the contract. (Doc. # 10, at 2.) For
explained that “[t] he clearest cases for admitting extrinsic
                                                                  its standing argument, AMCOAL relies upon Alabama case
documents on a motion to dismiss are those where the
                                                                  law providing that “[a] third person has no rights under a
plaintiff's complaint alleges a breach of contract or some
                                                                  contract between others,” and “no standing to enforce” the
other contract-related claim, and the plaintiff does not attach
                                                                  contract, “unless the contracting parties intend that the third
the contract to the complaint.” ABN AMRO, Inc. v. Capital
                                                                  person receive a direct benefit enforceable in court.” Russell v.
Int'l Ltd., No. 04cv3123, 2007 WL 845046, at *6 (N.D.Ill.
                                                                  Birmingham Oxygen Serv., Inc., 408 So.2d 90, 93 (A la.1981).
Mar. 16, 2007). “In such cases, defendants are allowed
to attach the contract to their motion to dismiss, and the
                                                                  “Where, as here, jurisdiction is predicated on diversity of
court is allowed to consider it as part of the pleadings.” Id.
                                                                  citizenship, a plaintiff must have standing under both Article
Moreover, “a plaintiff cannot defeat consideration of a[n]
                                                                  III of the Constitution and applicable state law in order to
integral document on a motion to dismiss unless it can offer
a factual basis questioning its authenticity.” Oshinsky v. N.Y.   maintain a cause of action.”    Mid–Hudson Catskill Rural
Football Giants, Inc., No. 09cv 1186, 2009 WL 4120237, at         Migrant Ministry, Inc. v. Fine Host Corp., 418 F.3d 168, 173
* 3 (D.N.J. Nov. 17, 2009).
                                                                  (2d Cir.2005); see also       Avenue CLO Fund Ltd. v. Bank of
                                                                  Am., NA, 709 F.3d 1072, 1077 (11th Cir.2013) (citing Mid–
The two requirements for permitting consideration of
                                                                  Hudson for the aforementioned principle). AMCOAL raises a
extrinsic documents on Rule 12(b)(6) review are met and,
                                                                  potential problem with respect to state-law standing, although
thus, are appropriate for consideration on Rule 12(b)(1)
                                                                  it focuses the bulk of its argument on Rule 12(b)(6) pleadings
review. First, although Mr. Stinson did not attach the
                                                                  deficiencies rather than on justiciability concerns. And,
Agreement to the Complaint or the Amended Complaint,
                                                                  although AMCOAL does not mention Article III standing,
he does not dispute that the Agreement is “central” to his
                                                                  this court is obliged to address it. See      Bochese v. Town


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of Ponce Inlet, 405 F.3d 964, 968 (11th Cir.2005). For the           *5 AMCOAL contends that the Agreement is plain
reasons that follow, Mr. Stinson fails to demonstrate that he       that it does not provide a direct benefit to Mr. Stinson,
has standing to sue AMCOAL for breach of contract.                  as an electricity consumer, but rather “directly benefit[s]
                                                                    PowerSouth alone.” (Doc. # 10, at 7.) AMCOAL argues that
To establish standing for Article III purposes, Mr. Stinson         this case “is exactly like” Zeigler. (Doc. # 10, at 7 (citing
must show, among other things, that he has a “legally
                                                                        Zeigler, 364 So.2d at 1163).) In Zeigler, customers of
protected interest” in the Agreement that AMCOAL injured.
                                                                    Alabama Power Company (“APCO”), who incurred higher
See     id. at 980. In this diversity, breach-of-contract action,   bills for electricity after APCO's dam collapsed, sued APCO
the standing analysis converges under Article III and state law     and its contractors for breach of contract, alleging that
because “[t] he question of whether, for [Article III] standing     proper construction of the dam would have resulted in
purposes, a non-party to a contract has a legally enforceable       lower electricity bills for APCO's customers. The customers
                                                                    sought recovery under the theory that they were third-party
right therein is a matter of state law.”    Id. at 981. In other
                                                                    beneficiaries of APCO's contracts for the construction of the
words, the court looks to Alabama law to determine if Mr.
Stinson has a legally protected interest in the Agreement that      dam. See    Zeigler, 364 So.2d at 1164–65. The Supreme
allows him to sue AMCOAL.                                           Court of Alabama affirmed the judgment dismissing the
                                                                    third-party beneficiary, breach-of-contract claim. See      id. at
Under Alabama law, “one who seeks recovery in contract
                                                                    1168.
as a third-party beneficiary must establish that the contract
was intended for his direct, as opposed to incidental, benefit.”
                                                                    As to the contracts themselves, the Supreme Court of
    Zeigler v. Blount Bros. Constr. Co., 364 So.2d 1163, 1166       Alabama observed that the contracts made “[n]o reference ...
(Ala .1978). Conversely, “[i]f the benefit to the third person      to any third parties,” and nothing contained in the[ ]
is not intended to be a direct benefit, but rather to be merely     contracts ... suggest[ed] that in their making [APCO] was
an incidental benefit, the third person will not be entitled        directly concerned with the amount of money subscribers
to damages based on a breach of that contract.”          Collins    for electrical power would be charged each month.”             Id.
Co. v. City of Decatur, 533 So.2d 1127, 1132 (Ala.1988).            at 1166. Rather, “[p]erformance of the contracts would, and
“[T]o ascertain the intent of the parties, [the court] must first   did, result in an enhancement of APCO's real and riparian
look to the contract itself, because while the intention of the     property holdings, to the direct benefit of the corporation
parties controls in construing a written contract, the intention    itself.” Id. The Supreme Court of Alabama concluded that,
of the parties is to be derived from the contract itself where      “[a]t best, ... the plaintiffs are not direct, but only incidental
                                                                    beneficiaries who claim the loss of an economic benefit based
the language is plain and unambiguous.”         Locke v. Ozark
                                                                    upon the alleged failure of a promised performance by a party
City Bd. of Educ., 910 So.2d 1247, 1251 (Ala.2005) (citation,
                                                                    contractually bound to another.” Id. The court explained that
internal quotation marks, and alterations omitted). “The
court's inquiry may stop when it determines from the face of
the contract that the parties did not intend to confer upon the
                                                                                 while it might be necessary for
third person a direct benefit.” Custer v. Homeside Lending,                      APCO to construct dams (or to
Inc., 858 So.2d 233, 249 (Ala.2003). “It is only where a                         purchase a multitude of other services)
contract provision is found to be ambiguous that it may                          in order to establish or maintain
become necessary to consider the surrounding circumstances                       a hydroelectric network so that its
and the construction the parties gave the language in order                      utility business might serve members
to determine the intent of the contracting parties.”  H.R.H.                     of the plaintiffs class, nevertheless
Metals, Inc. v. Miller, 833 So.2d 18, 24 (Ala.2002); see also                    the existence of those contracts does
                                                                                 not Ipso facto make all subsequent
   Collins Co., 533 So.2d at 1132 (“[C]ourts must look to
                                                                                 purchasers of the end product the
the surrounding circumstances of the transaction only when
                                                                                 direct beneficiaries of the promised
the contract is unclear as to whether the contracting parties
                                                                                 performances simply because they
intentionally conferred upon a third person a direct benefit.”).




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               have an ultimate economic interest in                          party beneficiary entitled to sue on the
               those performances.                                            contract for its breach.



Id. at 1167.
                                                                    Id. at 628.

On the other hand, Mr. Stinson contends that this case is
                                                                 In Davidson, the plaintiffs, owners of a mobile home park,
more analogous to     Harris v. Board of Water and Sewer         received electric power from a non-profit electric cooperative.
Commissioners of City of Mobile, 320 So.2d 624 (Ala.1975),       The plaintiffs sued the cooperative, alleging that its change
                                                                 in billing practices, which made the owners responsible for
and    Davidson v. Marshall–DeKalb Electric Co-operative,
                                                                 the electric bills of the park's tenants, breached the contract
495 So.2d 1058 (Ala.1986). In Harris, a fire ignited at
                                                                 between the cooperative and the Tennessee Valley Authority
the plaintiff's motel and restaurant. The fire department
                                                                 (“TVA”). The Alabama Supreme Court held that the plaintiffs
responded, but the closest hydrants were dry. With no water
                                                                 were intended third-party beneficiaries of the cooperative's
to extinguish the fire, the motel and restaurant burned
                                                                 contract with the TVA based upon an express clause in
completely. The plaintiff sued the Board of Water and Sewer
                                                                 the contract stating that the cooperative's “operation of an
Commissioners of Mobile which had contracted with the
                                                                 electric system and TVA's wholesale service thereto are for
City of Mobile “to provide fire hydrants and to maintain
an adequate supply of water for the proper functioning of        the benefit of the consumers of electricity.”     495 So.2d at
                                                                 1060 (emphasis omitted).
those hydrants.”    320 So.2d at 626. The Supreme Court
of Alabama held that the plaintiff could maintain his breach-
                                                                 After careful consideration of the authorities relied upon by
of-contract claim against the board under a third-party-
                                                                 the parties, the court finds that this case is more comparable
beneficiary theory:
                                                                 to Zeigler than it is to Harris and Davidson. The Agreement
                                                                 governs PowerSouth's purchase of coal from AMCOAL. It
                                                                 is, as the title designates, a “Coal Supply Agreement.” The
                *6 In our present situation, how can
                                                                 Agreement sets out the terms for the sale and shipment of coal
               it be said that [the plaintiff] is not
                                                                 and specifies the requirements in terms of the quantity, price,
               the very party for whose benefit the
                                                                 and quality of the coal. There is no provision in the Agreement
               contract was made? We agree that
                                                                 that refers to a third party whom PowerSouth and AMCOAL
               the City itself enjoys some degree of
                                                                 intended to benefit directly from PowerSouth's acquisition of
               direct benefit from their contract with
                                                                 coal. In fact, the Agreement mentions neither PowerSouth's
               the Board since its own property is
                                                                 power-generation operations nor its relationship with its retail
               protected. But, in the end, the most
                                                                 electric distribution cooperatives nor the ultimate consumers
               direct benefit inures to the people of
                                                                 of the electricity.
               the City, like [the plaintiff], who rely
               on these city-provided services for the
                                                                 There was the potential, of course, that a breach of the
               protection of their property. This is
                                                                 Agreement by AMCOAL would force PowerSouth to have to
               not to say that the Board is an insurer
                                                                 pay a higher price for its coal from another supplier and that
               against all fire losses, but it should be
                                                                 down the line—after PowerSouth used the coal to carry out its
               answerable to all those who are injured
                                                                 power-generation operations and provided that power to its
               by its breach of the contract to supply
                                                                 member retail electric distribution cooperatives—the breach
               water or its negligent maintenance
                                                                 could result in increased electricity bills for consumers. But
               of nonfunctioning fire hydrants where
                                                                 this potentially adverse economic effect on the end user is too
               damage results proximately therefrom.
                                                                 far downstream to infer from this Agreement that AMCOAL
               We find that the facts alleged are
                                                                 and PowerSouth entered into a coal-supply agreement with
               sufficient to show that benefits of
                                                                 the intention that Mr. Stinson and other electricity consumers
               the contract in question flow to [the
                                                                 benefit directly from that Agreement. The Agreement is plain
               plaintiff], and thus make him a third-
                                                                 —through its omission of any reference to third parties, much



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less to electricity consumers—that it was not formed for the       purpose.” (Doc. # 25, at 4.) AMCOAL has the better
direct benefit of Mr. Stinson. Rather, at best, Mr. Stinson        argument.
and his proposed class of Plaintiffs are “only incidental
beneficiaries who claim the loss of an economic benefit based      It is recognized that Alabama law distinguishes between non-
upon the alleged failure of a promised performance by a            profit and profit corporations in their formation, purposes, and
                                                                   governance, but the authorities on third-party beneficiaries
party contractually bound to another.”       Zeigler, 364 So.2d
                                                                   upon which the parties rely also consistently reinforce that
at 1166. Mr. Stinson is not, therefore, an intended third-party
                                                                   the intent of the parties “derive[s] from the contract itself
beneficiary to the Agreement.
                                                                   where the language is plain and unambiguous.” Locke, 910
 *7 Mr. Stinson argues that Harris should control the              So.2d at 1251. For example, the Davidson case cited by Mr.
outcome, not Zeigler, but Harris is distinguishable. In Harris,    Stinson involved, as here, a non-profit electric cooperative,
the plaintiffs directly received the services the board provided   but Davidson is distinguishable because the contract between
pursuant to its contract with the City of Mobile. Namely,          the electric cooperative and the TVA included express, plain,
the board's agreement to keep the city's hydrants supplied         and unambiguous language that the parties had entered into
with water provided the direct benefit of fire protection for      the contract “for the benefit of the consumers of electricity.”
the plaintiffs, who were city business owners. Here, the
                                                                      Davidson, 495 So.2d at 1060; see also          H.R.H. Metals,
Agreement was for the sale of coal, and PowerSouth received
                                                                   Inc., 833 So.2d at 25 (holding that an injured subcontractor
the direct benefit by the purchase of this natural resource,
                                                                   was a third-party beneficiary to the general contractor's
as the coal allowed PowerSouth to carry out its power-
                                                                   building contract because it expressly provided that the
generation operations. The benefit that accrued to Mr. Stinson
                                                                   general contractor was to “maintain its own safety and
was not direct. It did not accrue until after PowerSouth used
                                                                   health program for its employees, subcontractors, and agents
the coal to generate electric power and sold that power to
                                                                   sufficient to prevent injury or illness to such persons resulting
its member retail electric distribution cooperatives, which
                                                                   from their presence on the Vulcan premises ”). There is no
then re-sold the power to Mr. Stinson. In other words, before
                                                                   such express language in the Agreement at issue here. The
Mr. Stinson could benefit from the Agreement, the natural
                                                                   Agreement does not reference third parties, does not include
resource PowerSouth purchased from AMCOAL had to be
                                                                   an express declaration that it intended to benefit third parties,
converted into electricity and then sold twice, first to CEC and
                                                                   and does not provide any third party a right to sue to enforce
SAEC, and then finally to Mr. Stinson. At best, Mr. Stinson
                                                                   the coal-supply contract. The non-profit/profit distinction
was a remote, indirect user of a twice-sold, converted natural
                                                                   between A PCO and PowerSouth does not compel a different
resource.
                                                                   conclusion than the one reached in Zeigler because it is plain
                                                                   that the Agreement confers no right upon Mr. Stinson to sue
Mr. Stinson also argues that Zeigler's analysis is inapposite
                                                                   on the Agreement between AMCOAL and PowerSouth.
because A PCO is a for-profit organization and PowerSouth
is a non-profit organization. Mr. Stinson emphasizes that for-
                                                                    *8 Finally, Mr. Stinson argues that the intent of the
profit organizations “are allowed to act in self-interest and
                                                                   contracting parties cannot be discerned from the Agreement
reap the financial benefit of their contracts, but non-profit
                                                                   alone because the Agreement “does not clearly and
cooperatives are not.” (Doc. # 17, at 10.) Hence, according
                                                                   unambiguously preclude the possibility of a third party
to Mr. Stinson, “[a]ny benefit flowing to PowerSouth from a
                                                                   beneficiary.” (Doc. # 17, at 6.) He cites no authority for his
contract was automatically a benefit to the ultimate consumer
                                                                   argument, however, and support for his argument does not
of its electricity.” (Doc. # 17, at 10.) AMCOAL counters that
                                                                   emanate from Zeigler, where, as here, the contracts were silent
to accept Mr. Stinson's premise would be to “transform him
                                                                   as to third parties. In Zeigler, it was the fact that the contracts
and every other member of a cooperative into an intended
third-party beneficiary to each and every contract entered into    clearly did not mention third parties that was decisive. See
by that cooperative.” (Doc. # 25, at 4.) AMCOAL also points        364 So.2d at 1166. Zeigler did not require that a contract
out that, although AMCOAL does not seek “entrepreneurial           include affirmative language rejecting a third party from
profit,” it still must generate sufficient revenue to compensate   claiming a beneficiary status.
employees and construct infrastructure and, in this regard,
Mr. Stinson “mischaracterizes an electrical cooperative            In short, no provision in the Agreement creates an ambiguity
                                                                   as to whether AMCOAL or PowerSouth intended electrical



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                                                                     under both Article III of the U.S. Constitution and state law.
power consumers, like Mr. Stinson, to be direct beneficiaries
of the Agreement. And, as stated, under Alabama law, “[i]t           Accordingly, Rule 12(b)(1) dismissal is required. 4
is only where a contract provision is found to be ambiguous
that it may become necessary to consider the surrounding
circumstances and the construction the parties gave the                                   V. CONCLUSION
language in order to determine the intent of the contracting
                                                                     For the foregoing reasons, it is ORDERED that Mr.
parties.”     H.R.H. Metals, 833 So.2d at 24. Accordingly,
                                                                     Stinson's action against AMCOAL is DISMISSED with
the court need not look to the surrounding circumstances to
                                                                     prejudice pursuant to Rule 12(b)(1) for lack of subject-matter
ascertain intent. Based upon the plain and unambiguous terms
                                                                     jurisdiction, that Mr. Stinson's motion to exclude (Doc. # 18)
of the Agreement, Mr. Stinson is not a third party beneficiary
                                                                     is DENIED, and that AMCOAL's Rule 12(b)(6) motion to
to the Agreement.
                                                                     dismiss (Doc. # 9) is DENIED as moot. This lawsuit proceeds
                                                                     as to Mr. Stinson's action against Twin Pines Coal Co., Inc.
Because Mr. Stinson is not an intended, third-party
beneficiary to the Agreement, he does not have a legally
protected interest in the Agreement. He lacks standing,              All Citations
therefore, to bring a breach-of-contract action against
AMCOAL—in an individual or representative capacity—                  Not Reported in F.Supp.3d, 2014 WL 4472605




                                                         Footnotes


1      Although AMCOAL urges dismissal under Rule 12(b)(6), the arguments for and against dismissal are closely
       akin to the standing inquiry, and, thus, the arguments are helpful to the Rule 12(b)(1) analysis.
2      The Amended Complaint also names Fictitious Defendants C and D. “As a general matter, fictitious-party
       pleading is not permitted in federal court.”         Richardson v. Johnson, 598 F.3d 734, 738 (11th Cir.2010)
       (citing    New v. Sports & Recreation, Inc., 114 F.3d 1092, 1094 n. 1 (11th Cir.1997)). No demonstration
       has been made that an exception to the general rule applies in this case. The fictitious-party claims are not
       properly before the court and are disregarded.
3      No reason can be discerned why resolution of a Rule 12(b)(1) facial attack should not include consideration
       of extrinsic documents in the same manner permitted under Rule 12(b)(6).
4      Even if it is assumed that Mr. Stinson has standing, the Amended Complaint would be subject to dismissal
       for failure to state a claim pursuant to Rule 12(b)(6).


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                             TAB 32
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                                                                 Plaintiff is a 62-year-old woman of Haitian decent. Compl.
                                                                 ¶¶ 15, ECF No. 1. She has worked at NDH since 1997.
   KeyCite Yellow Flag - Negative Treatment                      Id. Plaintiff alleges that her direct supervisor, Defendant
On Reconsideration Theodore v. Newark Department of Health and
                                                                 Wilson, has overseen a campaign of discrimination against
Community Wellness, D.N.J., April 16, 2020
                                                                 her due to her age and national origin, preferring African-
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                                                                 American employees. Id. ¶¶ 18-19. Since November 9,
    Only the Westlaw citation is currently available.
                                                                 2016, Plaintiff alleges she took a series of steps to rectify
     United States District Court, D. New Jersey.
                                                                 certain instances of discrimination, including a request for a
            Gessy M. THEODORE, Plaintiff,                        grievance to be filed, a letter to the then-director of NDH,
                   v.                                            and a meeting with Defendant Wade, the director of NDH. Id.
                                                                 ¶¶ 11, 20-24. As a result, Plaintiff alleges, Defendants took
    NEWARK DEPARTMENT OF HEALTH AND
                                                                 a series of steps to retaliate against her, including: a refusal
    COMMUNITY WELLNESS, et al., Defendants.
                                                                 to entertain Plaintiff’s application for an Assistant Chief
                         19-cv-17726                             Inspector position in late 2016 and a pretextual demand to see
                              |                                  Plaintiff’s license in December 2016. Id. ¶¶ 25-27. Plaintiff
                     Signed 03/25/2020                           further alleges Defendant Wilson: “improperly dominated
                                                                 Defendant Union in a manner that preventer [her] from
Attorneys and Law Firms                                          challenging disciplinary actions [and] receiving money under
                                                                 a settlement agreement reached between the City of Newark
Louis Joseph Johnson, Jr., the Law Office of Louis J. Johnson    and 8 inspectors.” Id. ¶ 28. Further, Wilson’s influence
Jr., L.L.C., Hoboken, NJ, for Plaintiff.                         allegedly “interfered with [Plaintiff’s] ability to vote in
                                                                 [U]nion elections [and] caused her to be expelled from” the
Charles R.G. Simmons, Rainone Coughlin Minchello, LLC,
                                                                 Union. Id.
Iselin, NJ, for Defendants Newark Department of Health and
Community Wellness, Mark Wade, Michael Wilson.
                                                                 Citing various documents attached to the Complaint, Plaintiff
Albert James Leonardo, Zazzali, Fagella, Nowak, Kleinbaum        next alleges “Defendants” denied her requests to take
& Friedman, Newark, NJ, for Defendant American                   continuing education classes and caused customers to believe
Federation of State, County, and Municipal Employees,            she no longer works for NDH. Id. ¶¶ 30, 34. Further,
Council 52, AFL-CIO Local 2299.                                  Wilson allegedly plotted to call Plaintiff to various meetings
                                                                 without adequate notice. Id. ¶¶ 31-32. In May 2018,
                                                                 Wilson terminated Plaintiff from NDH, purportedly for
                         OPINION                                 failing to attend a December 2017 meeting. Id. ¶ 33.
                                                                 The termination was later downgraded to a suspension. Id.
WILLIAM J. MARTINI, U.S.D.J.:                                    Finally, “Defendants continue to impose daily and hostile
                                                                 conditions upon Plaintiff’s employment because of her age,
 *1 Plaintiff Gessy M. Theodore (“Plaintiff”) brings this        race, ethnicity, and national origin,” including name calling,
action against Defendants Newark Department of Health            imposing responsibility for others’ errors, and “inequal pay
and Community Wellness (“NDH”), Mark Wade, Michael               and opportunity.” Id. ¶ 35.
Wilson (collectively, “City Defendants”), and the American
Federation of State, County, and Municipal Employees,            On November 28, 2018, Plaintiff filed a charge of
Council 52, AFL-CIO Local 2299 (“Union” and collectively,        discrimination with the Equal Employment Opportunity
“Defendants”) for discriminatory treatment and retaliation.      Commission (“EEOC”), alleging violations of Title VII of
The matter comes before the Court on the Defendants Union
                                                                 the Civil Rights Act of 1964,       42 U.S.C. §§ 2000e et seq.
and NDH’s motions to dismiss pursuant to FRCP 12(b)(6).
                                                                 (“Title VII”). Compl. ¶ 4, Ex. A. The EEOC determined
ECF Nos. 4 (Union Motion) 9 (City Defendants Motion). For
                                                                 that NDH “failed to exercise its right to rebut Plaintiff’s
the reasons set forth below, the motions are GRANTED IN
                                                                 allegations,” and thus. issued a right to sue notice on June 17,
PART and DENIED IN PART.
                                                                 2019. Id. ¶¶ 6-7, Ex. B. Accordingly, Plaintiff filed an eight-
                                                                 count complaint: alleging:
I. BACKGROUND


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                                                                     and the Count One is DISMISSED. Dismissal is WITH
                                                                     PREJUDICE, as Plaintiff cannot cure her failure to file an
                                                                     administrative charge within 300 days of the incident at issue
                                                                     in Count One.


                                                                       B. Counts Two, Three, and Eight: National Origin
                                                                       Discrimination and Retaliation in Violation of Section
II. STANDARD OF REVIEW                                                 1981
A complaint survives a Federal Rule of Civil Procedure
12(b)(6) motion to dismiss if the Plaintiff states a claim for       In Count Two, Plaintiff alleges liability under 42 U.S.C.
                                                                     § 1981 for discriminating against her as an immigrant of
relief that is “plausible on its face.” Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 547 (2007). The movant bears the              Haitian origin.    Section 1981 prohibits discrimination on
                                                                     the basis of race, not solely on the basis of national origin.
burden of showing that no claim has been stated.         Hedges
v. United States, 404 F.3d 744, 750 (3d Cir. 2005). Courts           See    Saint Francis Coll. v. Al-Khazraji, 481 U.S. 604, 613
accept all factual allegations as true and draw “all inferences      (1987). Other than a blanket allegation that Defendant Wilson
from the facts alleged in the light most favorable” to plaintiffs.   preferred African Americans to her, due to her Haitian origin,
                                                                     Compl. ¶ 19, Plaintiff does not specify which Defendant
   Phillips v. County of Allegheny, 515 F.3d 224, 228 (3d            is accused of violating the statute in what manner. See
Cir. 2008). But courts do not accept “legal conclusions” as          Compl. ¶¶ 42-46 (referring to “Defendants” and “conduct
true and “[t]hreadbare recitals of the elements of a cause           described above” without further specification). Counts Three
of action, supported by mere conclusory statements, do not           and Eight similarly regurgitate the elements of a retaliation
suffice.”    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing     claim against “Defendants” without specifying race-based
                                                                     (as opposed to national-origin based) conduct. Id. ¶¶ 48-51,
   Twombly, 550 U.S. at 555). 1
                                                                     71-75. 2

III. DISCUSSION

   A. Count One: Age Discrimination in Violation of the                               1. City Defendants’ Motion
   ADEA
                                                                     *3 The City Defendants argue that as government actors,
In Count One, Plaintiff accuses Defendants of violating
the ADEA by refusing to promote her to Assistant                     NDH and Dr. Wade cannot be liable under          Section 1981,
Chief Inspector in late 2016, despite her qualification,             only Section 1983. City Motion at 14-15 (citing McGovern
due to unfounded assumptions regarding older workers’                v. City of Philadelphia, 554 F.3d 114 (3d Cir. 2009)). Plaintiff
commitment and ability. Compl. ¶¶ 26, 38. Under the ADEA,            consents to dismissal of Counts Two, Three, and Eight against
it is “unlawful for an employer to ... discriminate against          Dr. Wade and NDH without prejudice, so that they can be
any individual ... because of such individual’s age.”     29         realleged under Section 1983. City Opp. at 14, ECF No. 14.
U.S.C. § 623(a)(1). But a “complaint under the ADEA will be          Accordingly, Counts Two, Three, and Eight are DISMISSED
dismissed for failure to exhaust administrative remedies if a        WITHOUT PREJUDICE as to Defendants NDH and Dr.
supporting EEOC charge was not filed within ... 300 days ...         Wade. 3
of notification to the employee of the adverse employment
action.”    Ruehl v. Viacom, Inc., 500 F.3d 375, 382 (3d Cir.
2007).                                                                                     2. Union’s Motion

Here, Plaintiff filed her EEOC charge on November 28, 2018.          As to Count Two, the Union argues Plaintiff’s      Section
See Compl. Ex. A (“EEOC Charge”). November 2018 is                   1981 claims fail because she does not allege any desperate
significantly more than 300 days after “late 2016.” Compl.           treatment was the result of purposeful or intentional race
¶ 26. Accordingly, Plaintiff’s EEOC charge was untimely              discrimination. Union Mot. at 14. As to Counts Three and



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Eight (retaliation), the Union argues Plaintiff fails to allege      *4 As with the ADEA, the City Defendants argue Plaintiff’s
any protected activity. Id. at 18-21. Cross referencing their       Title VII claims in Counts Four and Five are barred by a
arguments in the Title VII context, Plaintiff asserts she alleged   failure to file a timely charge with the EEOC. City Mot. at
                                                                    10-13. The City Defendants are correct as to many of the
enough facts to state a claim under   Section 1981. Union
                                                                    allegations, which occurred well before February 1, 2018—
Opp. at 10. But Plaintiff’s argument on Title VII circularly
                                                                    300 days before Plaintiff filed her charge with the EEOC.
cross-references itself and the above-described portion of
Plaintiff’s brief on    Section 1981. See id. at 8 (citing          Accordingly, claims associated with events occurring before
Parts I-II). With respect to retaliation, Plaintiff argues that     February 1, 2018, are DISMISSED WITH PREJUDICE.
she sought protection against Defendant Wilson but instead          As to any conduct occurring on or after February 1,
was expelled from the Union. Id. at 10. She also argues the         2018, the motion is DENIED. Further, because Plaintiff
Union “secured a settlement that treated her differently [from      alleges a hostile work environment in Count Five (and
unknown individuals] and also negotiated a similar settlement       includes sufficient facts to make that allegation plausible),
for Defendant Wilson.” Id. (citing Compl. ¶ 28 and Exs. D,          discovery may include inquiry into events constituting that
F, G, I).                                                           hostile environment since Plaintiff returned to Defendant
                                                                    Wilson’s supervision in 2012, so long as the allegedly
The lack of specificity in Plaintiff’s claims make it impossible    hostile environment continued into 2018. See City Opp. at
to test their sufficiency. The allegations are little more than     6 (discussing Plaintiff shifting to working with Wilson); see
recitations of     Section 1981’s elements against general          also    National Railroad Passenger Corp. v. Morgan, 536
“Defendants.” See Compl. ¶¶ 42-51, 71-75. The only specific         U.S. 101, 110 (2002) (“Provided that an act contributing to the
paragraph cited by Plaintiff’s brief implies Defendant Wilson,      claim occurs within the filing period, the entire time period of
as a member of the Union, used his influence to ensure it           the hostile environment may be considered by a court for the
took certain actions against her. Compl. ¶ 28. However, there       purposes of determining liability.”).
is nothing that shows this action, assuming it is attributable
to the Union, was due to Plaintiff’s race, as required by
the    Section 1981. See      Saint Francis Coll., 481 U.S.                               2. Union Motion
at 613; see also Vodopivec v. Anthony’s LLC, 17-cv-13579,
2018 WL 3656162, at *5 (D.N.J. Aug. 2, 2018). Plaintiff’s           As to the Union, individual-event-based claims occurring
attachment and general citation to various complaints she           before February 1, 2018, are similarly DISMISSED WITH
filed over the years does not exempt her from the pleading          PREJUDICE. As to events after that period, the Union
requirements of FRCP 8. See supra n.3. For these reasons,           argues the EEOC charge did not name them, and thus Plaintiff
Counts Two, Three, and Eight, as alleged against the Union,         has failed to exhaust administrative remedies. Union Mot. at
are DISMISSED WITHOUT PREJUDICE. Plaintiff may                      9-11. Plaintiff responds that because (1) the Union’s activity
reallege these claims but should ensure she specifies in each       would have been discovered in the EEOC’s investigation, had
count what race-based discriminatory conduct she alleges,           NDH responded, and (2) the charge includes the words “other
                                                                    entities,” Plaintiff’s EEOC charge and right to sue apply to
what attempt to enforce her rights under      Section 1981 the
                                                                    the Union. Union Opp. at 6-7.
Union retaliated against her for (i.e., complaints about race-
based discrimination, not ageist, national-origin, or personal-
                                                                    Plaintiff is mistaken. On its face, the facts alleged in the
animus-based conduct), and when such conduct occurred.
                                                                    EEOC charge would not reasonably put the Union on notice
                                                                    of the charges against it. See Compl. Ex. A (failing to mention
  C. Counts Four and Five; Race, Ethnicity, and                     the Union or any leader thereof); see also           Barzanty v.
  National Origin Discrimination and Retaliation in                 Verizon PA, Inc., 361 F. App’x 411, 414 (3d Cir. 2010) (noting
  Violation of Title VII                                            that because the EEOC is required to serve the employer
                                                                    “against whom the charges are made, th[e] standard allows
                 1. City Defendants’ Motion                         a [defendant] to be put on notice of the claims likely to be
                                                                    filed.”). Plaintiff’s expectation of what an investigation would
                                                                    reveal, had NDH responded, is insufficient. See        Antol v.


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                                                                   Defendants argue the Court lacks subject matter jurisdiction,
Perry, 82 F.3d 1291, 1296 (3d Cir. 1996) (finding charge did
                                                                   or should decline to exercise supplemental jurisdiction, to
not fairly encompass claim for gender discrimination even
                                                                   hear Plaintiff’s state-law claims. Defendants are incorrect.
though investigation would reveal individuals selected for
                                                                   The Court has supplemental jurisdiction to hear Plaintiff’s
positions were women and plaintiff was a man). Plaintiff
                                                                   LAD claims, which are based on the exact same facts as
is correct that “once a charge of some sort is filed with
the EEOC ... the scope of a resulting private civil action         Plaintiff’s remaining federal claims. See        28 U.S.C. §
in the district court is defined by the scope of the EEOC          1367(a).
investigation which can reasonably be expected to grow out
                                                                   Defendants also argue that LAD claims have a two-year
of the charge of discrimination.”         Hicks v. ABT Assocs.,
Inc., 572 F.2d 960, 966 (3d Cir. 1978) (cleaned up). But           statute of limitations.     N.J.S. 2A:14-2(a); Williams v.
here, notwithstanding Plaintiff’s mention of “other entities,”     Verizon New Jersey, Inc., 19-cv-9350, 2020 WL 1227663,
nothing in the charge of discrimination would prompt a             at *7 (D.N.J. Mar. 12, 2020). Defendants are correct on this
reasonable expectation that the Union would be tied up             front. Accordingly, claims based on conduct occurring before
in the EEOC’s investigation. See Compl. Ex. A (naming              November 28, 2016, are DISMISSED WITH PREJUDICE
NDH, and not the Union, in box seeking name of Employer,           except to the extent the conduct is part of a hostile work
Labor Organization, or Employment Agency, etc.). Neither           environment continuing beyond that date.
the Union, nor any Union activity, is mentioned in the charge
at all. See id.; Tourtellotte v. Eli Lilly & Co., 636 F. App’x     Finally, Defendants argue that like in the federal context,
831, 851 (3d Cir. 2016) (distinguishing Hicks and finding          Plaintiff fails to sufficiently allege the elements of either
claim failed because factual statement of the charge lacked        direct or retaliation LAD claims. As with Plaintiff’s
anything reasonably related to the additional claim). Based
                                                                       Section 1981 claims, the lack of specificity in Counts
on the charge “as filed,” the EEOC would have no reason
                                                                   Six and Seven make it impossible to judge their sufficiency.
to expect to investigate the Union, nor would the Union be
                                                                   Accordingly, for those allegations that are part of a purported
notified of the forthcoming charges. Cf.      Hicks, 572 F.2d      hostile environment or occurred after November 2016, Count
960, 967 (finding scope of court’s jurisdiction depends on the     Six and Seven are DISMISSED WITHOUT PREJUDICE.
reasonable scope of an investigation of the charge “as filed.”).   If Plaintiff intends to reallege LAD claims, she must be more
                                                                   specific to give each defendant adequate notice. See, e.g.,
 *5 Accordingly, with the exception of continuing hostile          Compl. ¶ 67 (accusing Plaintiffs of attempting to “silence and
work environment claims and those events occurring                 discourage Ms. Theodore”); see also supra n.3 (discussing
within 300 days of the administrative charge Plaintiff             group and shotgun pleading). The parties should also ensure
has filed against the Union with New Jersey’s Public               all administrative pre-requisites are satisfied.
Employment Relations Commission (“PERC”), see Union
Opp. at 9, Counts Four and Five are DISMISSED WITH
PREJUDICE. Like for the City Defendants, the motion is             IV. CONCLUSION
DENIED with respect to ongoing hostile work environment            For the reasons set forth above, both the Union’s, ECF
claims and claims based on events occurring within 300 days        No. 4, and the City Defendants’, ECF No. 9, motions
of Plaintiff’s filing with PERC.                                   are GRANTED IN PART and DENIED IN PART. An
                                                                   appropriate order follows.

  D. Counts Six and Seven: Race, Ethnicity, National
  Origin, and Age Discrimination (Disparate Treatment)             All Citations
  and Retaliation in Violation of LAD
                                                                   Slip Copy, 2020 WL 1444919
Counts Six and Seven essentially mirror their federal
counterparts. See Compl. ¶¶ 67-75. Both the Union and City




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                                                     Footnotes


1     Defendant Union also moved pursuant to 12(b)(1) due to the Court’s purported lack of subject matter
      jurisdiction. The different provisions of FRCP 12(b) in this instance is inconsequential, as the facts relevant to
      the Court’s jurisdiction under FRCP 12(b)(1) are readily available to it even under a 12(b)(6)-style test of the
      complaint (e.g., the administrative charge filed and, with respect to the Court’s supplemental jurisdiction, its
      maintenance of certain related federal claims). The Union does not attempt to rely on extraneous documents
      that would require jurisdictional discovery or a different standard.
2     Paragraph 72 does specify a restriction in workload, a reduction in benefit, and rumors about her being
      terminated. But as relevant below, none of this conduct is alleged against the Union.
3     If those counts are reasserted via amended complaint, Plaintiff should ensure she provides adequate notice
      as to what each Defendant is allegedly liable for, and when such conduct occurred. See FRCP 8(a)(2)
      (requiring “a short and plain statement of the claim showing that the pleader is entitled to relief”); Sheeran v.
      Blyth Shipholding S.A., 14-cv-5482, 2015 WL 9048979, at *3 (D.N.J. Dec. 16, 2015) (finding group pleading
      fails to satisfy FRCP 8). Plaintiff may not rely on a series of attachments to her Complaint and internal cross-
      references to every prior paragraph to avoid the pleading requirements of the Federal Rules, including the
      attorney’s certification as to their belief in the adequacy of each claim. See FRCP 11(b); Terrell v. Williams, No.
      6:17-CV-104, 2017 WL 4582800, at *3 (S.D. Ga. Oct. 13, 2017) (rejecting “shotgun pleading” and plaintiff’s
      citation to various attachments to the complaint); Lapella v. City of Atl. City, 10-cv-2454, 2012 WL 2952411,
      at *5 n.3 (D.N.J. July 18, 2012) (“By incorporating all preceding allegations into each count, Plaintiff engages
      in shotgun pleadings that obfuscate her claims and defy the mandate of Rule 8, denying Defendants of the
      fullest extent of notice to which they are entitled.”).


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                             TAB 33
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                                                                           24). Additionally, Plaintiff Hamza Deib, another citizen and
                                                                           resident of New York, purchased a 2010 Audi A4 equipped
     KeyCite Yellow Flag - Negative Treatment
                                                                           with a 2.0L TFSI 3 engine. (Compl. ¶ 46). Plaintiff Rosario
Declined to Follow by In re Takata Airbag Products Liability Litigation,
S.D.Fla., June 1, 2020                                                     Panepinto, who is also a New York citizen and resident,
                   2017 WL 1902160                                         purchased a 2009 VW Jetta equipped with a 2.0L TSI engine
              NOT FOR PUBLICATION                                          from an authorized VW dealer. (Compl. ¶ 48).
       United States District Court, D. New Jersey.
                                                                           Next, Plaintiff Anoushirvan Nadiri is a citizen and resident
         IN RE VOLKSWAGEN TIMING CHAIN                                     of the State of California, who purchased a new 2011 VW
            PRODUCT LIABILITY LITIGATION                                   GTI equipped with 2.0L TSI engine from an authorized
                                                                           VW dealer. (Compl. ¶ 27). Additionally, Plaintiffs Jennifer
                 Civil Action No.: 16-2765 (JLL)                           Piumarta and William R. Swihart, who are also California
                                |                                          citizens and residents, purchased a certified pre-owned 2010
                       Signed 05/08/2017                                   Audi A3 equipped with a 2.0L TFSI engine and a 2009 Audi
                                                                           A4 Avant equipped with a 2.0L TSI engine, respectively, from
                                                                           authorized Audi dealers. (Compl. ¶¶ 28, 29). Furthermore,
                             OPINION                                       California citizen and resident Plaintiff Umar Ellahie “entered
                                                                           into a contract for a 2010 Volkswagen CC from Sunnyvale
JOSE L. LINARES, UNITED STATES DISTRICT JUDGE                              Volkswagen in Sunnyvale, California.” (Compl. ¶ 62).

 *1 This matter comes before the Court by way of Defendant
                                                                           Furthermore, Plaintiff Dawn Stanton Blanchard, who is a
Volkswagen Group of America, Inc.'s Motion to Dismiss
                                                                           Florida citizen and resident, leased a 2011 VW CC equipped
Plaintiffs First Amended Complaint (ECF No. 6 (“Compl.”))
                                                                           with a 2.0L TSI engine from an authorized VW dealer, South
and Compel Arbitration pursuant to Rule 12(b)(6) of the
                                                                           Motors Volkswagen, in Miami, Florida. (Compl. ¶ 32). In
Federal Rules of Civil Procedure (ECF No. 36). Plaintiffs
                                                                           addition, Plaintiffs Luis F. Lopez and Shimelesse Mekbeb,
have collectively submitted an opposition (ECF No. 40),
                                                                           who are also citizens and residents of Florida, purchased a
which Defendant has replied to (ECF No. 42). The Court
                                                                           2009 A4 Quattro equipped with a 2.0L TFSI engine and a
decides this matter without oral argument pursuant to Rule
                                                                           2009 VW Jetta equipped with a 2.0L TSI engine, respectively.
78 of the Federal Rules of Civil Procedure. For the reasons
                                                                           (Compl. ¶¶ 36, 37). Also, Florida citizens and residents
set forth below, the Court grants in part and denies in part
                                                                           Plaintiffs Allison Fleck and William Fleck leased and then
Defendant's Motion to Dismiss.
                                                                           purchased a 2012 Volkswagen EOS from Volkswagen of
                                                                           Freehold in Freehold, New Jersey. (Compl. ¶ 65).

                      I. BACKGROUND 1                                       *2 Further, Plaintiff Rafael Serbia, a citizen and resident
                                                                           of the State of Connecticut, purchased a new 2011
  A. The Parties                                                           VW GTI equipped with a 2.0L TSI engine from an
Plaintiff David Zimand is a citizen and resident of the State              authorized VW dealer. (Compl. ¶ 31). Another citizen and
of New Jersey, who leased and later purchased a 2009                       resident of Connecticut, Plaintiff Karl Molwitz purchased
Volksagen (“VW”) Jetta Wolfsburg Edition equipped with a                   a pre-owned 2009 Volkswagen Tiguan from Danbury
2.0L TSI 2 engine from a VW and Audi authorized dealer,                    Volkswagen in Danbury, Connecticut. (Compl. ¶ 56).
Jack Daniels Motors Inc., in Fairlawn, New Jersey. (Compl.                 Moreover, Plaintiff Allan Gaudet, who is also a citizen and
¶ 18). Additionally, Plaintiff Chris Drake, who is also a                  resident of Connecticut, “entered into a contract for a 2011
citizen and resident of New Jersey, purchased a 2010 VW                    Volkswagen GTI from Crowley Volkswagen in Plainville,
GTI equipped with a 2.0L TSI engine from an authorized VW                  Connecticut.” (Compl. ¶ 59).
dealer. (Compl. ¶ 26).
                                                                           Illinois   citizen     and      resident     Plaintiff    Erika
Also, Plaintiff Jay Melman, who is a citizen and resident                  Sensnovispurchased a certified pre-owned 2011 Tiguan
of the State of New York, purchased a 2010 VW Tiguan                       equipped with a 2.0L TSI engine from an authorized VW
equipped with a 2.0L TSI engine in New York. (Compl. ¶                     dealer. (Compl. ¶ 39). Plaintiff Katrina Calihan, also a citizen



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and resident of Illinois, purchased a certified pre-owned 2010      Michael A. Borchino, who is a citizen and resident of the
Tiguan equipped with a 2.0L TSI engine from an authorized           State of South Carolina, purchased a new 2012 VW CC
VW dealer. (Compl. ¶ 40).                                           equipped with a 2.0L TSI engine from an authorized VW
                                                                    dealer. (Compl. ¶ 52).
Next, Plaintiff John Schaffranek, a citizen and resident of the
Commonwealth of Pennsylvania, purchased a 2010 VW CC.               Moreover, Plaintiff Pamela K. Kane, a citizen and resident of
(Compl. ¶ 53). Also a citizen and resident of Pennsylvania,         the State of Texas, purchased a new 2010 Audi A4 equipped
Plaintiff Jeffery Pipe purchased a new 2009 Audi A4                 with a 2.0L TFSI engine from an authorized Audi dealer.
equipped with a 2.0L TFSI engine from an authorized Audi            (Compl. ¶ 54). Additionally, citizen and resident of the State
dealer. (Compl. ¶ 51).                                              of Washington, Plaintiff Zachariah Gossman purchased a
                                                                    2009 Audi A4 equipped with a 2.0L TFSI engine. (Compl. ¶
Moreover, Plaintiff Dena Stockalper is a citizen and resident       55). Next, Plaintiff Bartosz Zielezinski, who is a citizen and
of the State of Arkansas, who purchased a 2012 VW EOS               resident of the State of Nevada, purchased a 2012 Audi A5
Lux equipped with a 2.0L TSI EA888 engine in Springdale,            from AutoNation Volkswagen in Las Vegas, Nevada. (Compl.
Arkansas. (Compl. ¶ 22). Next, Plaintiff Hannah LeMoine,            ¶ 67).
who is a citizen and resident of the State of Colorado,
purchased a 2010 Audi A3 equipped with a 2.0L TSI engine.            *3 Finally, Defendant Volkswagen Aktiengesellschaft
(Compl. ¶ 30). Plaintiff Robby Smith, a citizen and resident        (“VWAG”) is a German corporation that designs, develops,
of the State of Georgia, purchased a certified pre-owned            manufactures, and sells automobiles. (Compl. ¶ 73). VWAG
2010 Audi A4 equipped with a 2.0L TFSI engine from an               is the parent corporation of Defendants Volkswagen Group of
authorized Audi dealer. (Compl. ¶ 38). Additionally, Plaintiff      America, Inc. (“VW America”) and Audi Aktiengesellschaft
Garrett Johnson, who is a citizen and resident of Indiana,          (“Audi AG”). (Compl. ¶ 73). Defendant VW America is
purchased a 2009 Audi A4 equipped with a 2.0L TFSI engine.          a New Jersey corporation that acts in the furtherance of
(Compl. ¶ 41).                                                      the interests of VWAG, which includes the advertising,
                                                                    marketing, and sale of VWAG and VW America (collectively
Furthermore, citizen and resident of the State of Kansas,           referred to as “VW”) automobiles nationwide. (Compl. ¶ 74).
Plaintiff Neel Mody purchased a new 2012 VW Tiguan                  Defendant Audi AG is a German corporation that designs,
equipped with a 2.0L TSI engine from an authorized VW               develops, manufactures, and sells luxury automobiles under
dealer. (Compl. ¶ 42). Plaintiff Debra Ann Haggerty, who is         the Audi brand name. (Compl. ¶ 75). Audi AG is the parent
a citizen and resident of the State of Michigan, purchased          corporation of Audi of America, Inc. (“Audi America”),
a new 2012 VW CC equipped with a 2.0L TSI engine                    which is a Delaware corporation that, inter alia, advertises,
from an authorized VW dealer. (Compl. ¶ 43). In addition,           markets, and sells Audi AG and Audi America (collectively
Plaintiff David Zhao, a citizen and resident of the State of        referred to as “Audi”) automobiles nationwide. (Compl. ¶ 76).
Minnesota, purchased a new 2012 Audi Q5 equipped with a
2.0L TFSI engine from an authorized Audi dealer. (Compl.
¶ 44). Additionally, Plaintiff Suzanne Noyes, a citizen and            B. Procedural History
resident of the State of New Hampshire, purchased a 2012            Plaintiff initially brought this putative class action on May
VW Tiguan equipped with a 2.0L TSI engine. (Compl. ¶ 45).           16, 2016. (ECF No. 1). Thereafter, Plaintiffs filed their
                                                                    “First Consolidated Class Action Complaint” on August 22,
Next, Plaintiff Jason Hosier is a citizen and resident of           2016, (ECF No. 6), which, as noted above, is currently the
the State of Maryland, who purchased a 2010 VW Tiguan               operative complaint. Plaintiffs bring this class action against
equipped with a 2.0L TSI engine from an authorized VW               Defendants individually, and on behalf of all persons similarly
dealer. (Compl. ¶ 47). Additionally, citizen and resident of        situated in the United States who purchased, own, owned,
the State of North Carolina, Plaintiff Debra J. Oles purchased      lease, or leased a 2008 through 2013 model year 2.0L TSI
a 2008 VW Passat equipped with a 2.0L TSI engine from               or 2.0L TFSI VW or Audi vehicle containing the allegedly
an authorized VW dealer. (Compl. ¶ 49). Plaintiff James I.          defective Timing Chain System 4 (the “Class Vehicles”).
Scott, IV, a citizen and resident of the State of Ohio, purchased   (See generally Compl.). On December 12, 2016, Defendant
a 2011 VW GTI equipped with a 2.0L TSI engine from an               VW America filed the instant motion to dismiss and compel
authorized VW dealer. (Compl. ¶ 50). Additionally, Plaintiff        arbitration of the claims. (ECF No. 36).



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                                                                  or valves. (Compl. ¶ 89). This could cause substantial engine
                                                                  failure, which is expensive to repair or replace. (Compl. ¶ 89).
  C. Timing Chain Systems
Each Plaintiff either leased or purchased a Class Vehicle
manufactured and/or sold by Defendants. (Compl. ¶¶ 79,              D. The Defective Timing Chain System
80). The Class Vehicles are equipped with 2.0L TSI or 2.0L
TFSI EA888 four-cylinder turbocharged gasoline engines,
                                                                                    a. The Chain Tensioner
which contain the allegedly defective Timing Chain System.
(Compl. ¶ 81, 89).                                                 *4 Plaintiffs claim that the source of the defect in the Timing
                                                                  Chain System is the Hydraulic Tensioner, Camshaft Chain
                                                                  Drive (the “Chain Tensioner”), which keeps the timing chain
          a. Engine Mechanics and Components                      in proper tension—which is crucial in preventing “jumps”—
                                                                  through oil pressure. (Compl. ¶¶ 96, 97). Since oil pressure is
A “combustion” is required in order for a conventional four-      only available when the vehicle is turned on with the engine
stroke internal combustion engine to function. (Compl. ¶ 87).     running, there is little to no oil pressure when the vehicle is
First, the engine's intake valves open in order to allow fuel     turned off or is starting up. (Compl. ¶ 97). Thus, the Chain
and air to enter into the piston combustion chamber. (Compl.      Tensioner uses a mechanical mechanism during the latter in
¶¶ 88, 91). The valves then close so that the “rising piston      order to keep the chain tight. (Compl. ¶ 97). This mechanism
can compress the air and fuel right below the spark plug,”        requires several key components: a steel retainer clip, a piston
which then results in a combustion that drives the piston         retainer pin, a ratchet pawl, and piston teeth. (Compl. ¶ 98).
down. (Compl. ¶ 91). This combustion produces byproducts          According to Plaintiffs, the failure of the ratchet pawl caused
that must be removed in order for further combustion to occur.    the loss of tension on the timing chain, which then allowed
(Compl. ¶ 87). Thus, the exhaust valves open so that the          the timing chain to “jump a tooth” during start up, causing
“rising piston can expel the combusted air and fuel mixture”      the bending of intake valves and subsequent engine failure.
resulting from the combustion. (Compl. ¶ 91).                     (Compl. ¶ 99).

Crucial to the proper operation of the engine is the              Ordinarily, when the engine is running, there is an internal
synchronization of the piston movements with the opening          spring that augments oil pressure in order to push a piston
and closing of the intake and exhaust valves. (Compl. ¶¶          against a timing chain tensioning rail, which presses against
87, 92). Therefore, a timing chain is added to physically         the timing chain and maintains its tension. (Compl. ¶ 97).
connect the crankshaft, which is connected to the pistons, to     When the engine is off and there is no oil pressure to push the
the camshaft, which opens and closes the valves. (Compl. ¶        piston out, a ratchet pawl is used to prevent the piston from
88). If the timing chain system fails, then “synchronization is   collapsing inward. (Compl. ¶ 100). The piston incorporates
lost and the four-stroke cycle will be disrupted,” which may      ratchet teeth and a retaining clip in order to hold a detached
result in power loss or engine failure. (Compl. ¶ 92).            pawl above the piston. (Compl. ¶ 100). If the pawl teeth are
                                                                  broken or worn, or if the retaining clip fails to hold the pawl
                                                                  in position, then the piston will not hold the proper tension
                                                                  on the chain when oil pressure is low. (Compl. ¶ 100). This
                   b. The Class Vehicles
                                                                  low tension can cause the chain to “jump a tooth,” which may
Here, the 2.0L TSI and 2.0L TFSI both use a double overhead       subsequently cause the camshaft to be out of sync with the
camshaft (“DOHC”) configuration with two camshafts                crankshaft and pistons. (Compl. ¶ 100).
connected to the crankshaft by a timing chain. (Compl. ¶ 89).
This engine is specifically an interference engine, such that
                                                                     E. Defendants' Knowledge and Omissions
the intake or exhaust valves, when fully open, extend into the
                                                                  Plaintiffs claim Defendants knew or should have known
area in which the piston travels. (Compl. ¶ 89). Therefore, a
                                                                  of the defect in the Timing Chain Systems and
stretched, broken, or dislocated timing chain could severely
                                                                  “fraudulently, intentionally, negligently and/or recklessly
distort the camshaft timing, which could cause the pistons
                                                                  concealed [the defect] from Plaintiffs and members of the
to collide into the valves, leading to damaged pistons and/
                                                                  Classes....” (Compl. ¶ 106).




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                                                                    to stretch, subsequently affecting the Timing Chain System.
                                                                    (Compl. ¶ 130).
                        a. Knowledge

First, Defendants released several technical service bulletins      Plaintiffs further assert that even if Defendants did not have
(“TSB”) from 2010 to 2012 regarding the timing chain                actual knowledge, they should have at least been put on
issues with the Class Vehicles. (Compl. ¶¶ 111–122). They           notice of the Timing Chain System defects following the
specifically described noise coming from the timing chains,         number of replacement components and revisions. (Compl. ¶
difficulty starting engines, and possible damage to the             153). Additionally, Plaintiffs allege that predecessor models
camshaft. (Compl. ¶¶ 112–119). In 2012, a TSB stated that           of the Class Vehicles used identical Timing Chain System
the “[t]iming chain tension may be incorrect due to [the]           components that were also experiencing premature failure.
tensioner,” causing skips in the timing chain. (Compl. ¶ 116).      (Compl. ¶ 153).
At this time, dealers were instructed to repair the Timing
Chain System when customers complained of rattling noises
after the engine started, issues with the engine not starting, or                           b. Omissions
the “check engine” light being on. (Compl. ¶ 117). Such TSBs
were not available publicly and were not disclosed to owners        Not only do Plaintiffs assert that Defendants had knowledge
or lessees. (Compl. ¶ 121).                                         of the Timing Chain System defect, but they also assert that
                                                                    Defendants intentionally concealed this defect from Plaintiffs
Second, consumer complaints were made to the National               and other Class Vehicle purchasers and/or lessees. (Compl. ¶
Highway Traffic Safety Administration (“NHTSA”)                     151).
regarding failures of the Chain Tensioner that were causing
problems with the Timing Chain System. (Compl. ¶¶ 123–              First, Plaintiffs' omission claims are based on Defendants'
125). Several of the consumers experienced sudden and               representations in the USA Warranty and Maintenance
complete engine failure. (Compl. ¶ 125). Plaintiffs assert that     schedules provided with the Class Vehicles that the Timing
Defendants have a duty to identify potential defects in their       Chain System is “intended and reasonably expected to last
vehicles, and that the monitoring of NHTSA complaints falls         for the useful life of the engine and at least 120,000 miles
within this duty. (Compl. ¶ 123).                                   without the need for repair or replacement.” (Compl. ¶ 94).
                                                                    Specifically, several of Defendants' maintenance schedules
Third, Defendants significantly redesigned the Chain                do not require maintenance of the Timing Chain System
Tensioner in 2012. (Compl. ¶¶ 126–127). Specifically, the           within 120,000 to 135,000 miles. (Compl. ¶ 94; see Compl. at
ratchet pawl of the earlier Chain Tensioner was accessible          Exhibits A, B, E, G). Thus, Plaintiffs allege that Defendants
from outside the part, and needed an external steel retainer        set forth incorrect maintenance recommendations in its Class
clip to keep its position. (Compl. ¶ 127). The “Redesigned          Vehicle owner manuals and concealed these inaccuracies
Tensioner” no longer needed the external retainer clip because      from Class Vehicle owners and/or lessees. (Compl. ¶¶ 143,
the grooved tensioner piston and internal clip were placed          158–161, 181).
inside the structure. (Compl. ¶ 127). This change is significant
because the earlier Chain Tensioner utilized a sintered metal       Next, Plaintiffs allege that Defendants deceived Plaintiffs and
(type of metal forged by being heated beyond its melting            other Class Vehicle purchasers and/or lessees by failing to
point such that its particles formed a molecular bond), which       disclose material information regarding the Timing Chain
is weaker than other forged metal. (Compl. ¶¶ 128–129).             System defects and the impact this would have on future
The sintered metal pawl could no longer function properly           repairs, costs, and reliability. (Compl. ¶ 189). Further,
after approximately 50,000 miles because its teeth would            Plaintiffs allege that Defendants concealed their knowledge
significantly erode. (Compl. ¶ 129).                                during the express warranty period in order to shift the
                                                                    costs of repair and replacement to Plaintiffs once the period
 *5 Additionally, Defendants redesigned the timing chain            expired. (Compl. ¶ 151): Even when several of Plaintiffs'
incorporated by the Timing Chain System. (Compl. ¶ 130).            Class Vehicles showed signs of premature failure—that only
Specifically, the earlier timing chain had “alternating rows        Defendants could identify or know of—within the express
of link plate thickness,” which may have allowed the chain          warranty period, Defendants did not disclose the existence
                                                                    of the defect. (Compl.¶¶ 139, 141). The express warranty



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included “bumper to bumper coverage for 3 years or 36,000           complaint, matters of public record, as well as undisputedly
miles, whichever occur[red] first,” and “a Powertrain Limited       authentic documents if the complainant's claims are based
Warranty for ‘5 years or 60,000 miles whichever occur[red]
                                                                    upon these documents.”     Mayer v. Belichick, 605 F.3d 223,
first.’ ” (Compl. ¶ 9). Moreover, Plaintiffs allege Defendants
                                                                    230 (3d Cir. 2010).
continued to sell the Class Vehicles containing the defect
and refused to fully compensate Plaintiffs who experienced
Timing Chain System failures after the expiration of the
express warranty. (Compl. ¶ 138). Thus, Plaintiffs assert that                           III. ANALYSIS
they were deprived of the “right to have such defective part
                                                                    Based on the aforementioned allegations, Plaintiffs brought
replaced for free under the warranty.” (Compl. ¶ 189).
                                                                    the within suit seeking to recover damages for the following
                                                                    causes of action, individually and on behalf of the putative
Plaintiffs further allege that these material omissions
concerning the defective Timing Chain System protected              class: Count I—Fraud; Count II—Breach of Contract; 5
Defendants' corporate profits since Plaintiffs and other            Count III—Negligent Misrepresentation; Count IV—Breach
members of the putative class would not have purchased the          of Express Warranty; Count V—Breach of Implied Warranty;
vehicles or would have purchased them at a lower price had          Count VI—Violation of the Magnuson-Moss Warranty Act;
they been aware of the defects. (Compl. ¶¶ 192, 193).               Count VII—Unjust Enrichment. (See Compl. at 74–91).

                                                                    Additionally, each group of Plaintiffs from the various
                                                                    different States have brought putative sub-class actions
                  II. LEGAL STANDARD
                                                                    asserting the following violations of State consumer fraud
 *6 To withstand a motion to dismiss for failure to state a         and/or consumer protection laws: Count VIII—Violation of
claim, “a complaint must contain sufficient factual matter,         the New Jersey Consumer Fraud Act; Count IX—Violation
accepted as true, to ‘state a claim to relief that is plausible     of the Arkansas Deceptive Trade Practice Act; Count X—
                                                                    Violation of California's Unfair Competition Law; Count XI
on its face.’ ”      Ashcroft v. Iqbal, 556 U.S. 662, 678           —Violation of the California Consumer Legal Remedies Act;
(2009) (quoting      Bell Atl. Corp. v. Twombly, 550 U.S.           Count XII—Violation of the Colorado Consumer Protection
544, 570 (2007)). “A claim has facial plausibility when             Act; Count XIII—Violation of the Connecticut Unfair Trade
the plaintiff pleads factual content that allows the court to       Practices Act; Count XIV—Violation of the Connecticut
draw the reasonable inference that the defendant is liable for      Product Liability Act; Count XV—Violation of the Florida
                                                                    Deceptive and Unfair Trade Practices Act; Count XVI—
the misconduct alleged.”       Iqbal, 556 U.S. at 678 (citing
                                                                    Violation of the Georgia Uniform Deceptive Trade Practices
    Twombly, 550 U.S. at 556). “The plausibility standard is        Act; Count XVII—Violation of the Georgia Fair Business
not akin to a ‘probability requirement,’ but it asks for more       Practices Act of 1975; Count XVIII—Violation of the Illinois
than a sheer possibility that a defendant has acted unlawfully.”    Consumer Fraud and Deceptive Business Practices Act;
Id.                                                                 Count XIX—Violation of the Indiana Deceptive Consumer
                                                                    Sales Act; Count XX—Violation of the Kansas Consumer
To determine the sufficiency of a complaint under Twombly           Protection Act; Count XXI—Violation of the Maryland
and Iqbal in the Third Circuit, the court must take three steps:    Consumer Protection Act; Count XXII—Violations of
first, the court must take note of the elements a plaintiff         the Michigan Consumer Protection Act; Count XXIII—
must plead to state a claim; second, the court should identify      Violation of the Minnesota Prevention of Consumer Fraud
allegations that, because they are no more than conclusions,        Act; Count XXIV—Violation of the Minnesota Uniform
are not entitled to the assumption of truth; finally, where there   Deceptive Trade Practices Act; Count XXV—Violation of
are well-pleaded factual allegations, a court should assume         Minnesota's “Private Attorney General Statute”; Count XXVI
their veracity and then determine whether they plausibly give       —Violation of the Nevada Deceptive Trade Practices Act;
                                                                    Count XXVII—Violation of the New Hampshire Consumer
rise to an entitlement for relief. See  Connelly v. Lane
                                                                    Protection Act; Count XXVIII—Violations of the New
Const. Corp., 809 F.3d 780, 787 (3d Cir. 2016) (citations
                                                                    York Consumer Protection Act; Count XXIX—Violation of
omitted). “In deciding a Rule 12(b)(6) motion, a court
                                                                    the North Carolina Unfair and Deceptive Trade Practices
must consider only the complaint, exhibits attached to the



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Act; Count XXX—Violation of the Ohio Consumer Sales                “Federal policy favors arbitration and thus a court resolves
Practices Act; Count XXXI—Violation of the Pennsylvania            doubts about the scope of an arbitration agreement in favor
Unfair Trade Practices and Consumer Protection Law; Count
                                                                   of arbitration.”     Medtronic, 247 F.3d at 55 (citing      Moses
XXXII—Violation of the South Carolina Consumer Unfair
Trade Practices Act; Count XXXIII—Violation of the Texas           H. Cone, 460 U.S. at 24-25);     Zimmerman, 783 F. Supp. at
Deceptive Trade Practices-Consumer Protection Act; Count           868. The presumption in favor of arbitration guides district
XXXIV—Violation of the Washington Consumer Protection              courts to refrain from denying a motion to compel arbitration
Act. (See Compl. at 92–198). The Court discusses each claim        absent certainty that the claims do not fall within the scope
separately.                                                        of an arbitration clause. See          Medtronic, 247 F.3d at
                                                                   55;     Mutual Ben. Life Ins., Co., v. Zimmerman, 783 F.
  A. Breach of Contract                                            Supp. 853, 869 (D.N.J. 1992)(“There is a presumption of
 *7 As noted above (see n.5, supra), Plaintiffs have               arbitrability in the sense that an order to arbitrate the particular
collectively abandoned their breach of contract claim. (Pl.        grievance should not be denied unless it may be said with
Opp. Br. at 41). Accordingly, this claim is hereby dismissed.      positive assurance that the arbitration clause is not susceptible
                                                                   of an interpretation that covers the asserted dispute.”)(internal
                                                                   citations and quotations omitted). However, “[i]f there is
  B. Motion to Dismiss and Compel Arbitration                      doubt as to whether such an agreement [to arbitrate] exists, the
Generally, an agreement to arbitrate a dispute “is a matter        matter, upon a proper and timely demand, should be submitted
of contract and a party cannot be required to submit to
arbitration any dispute which he has not agreed so to              to a jury.”      Par-Knit, 636 F.2d at 54. In considering a
                                                                   motion to compel arbitration, a court must engage in a two-
submit.”    E.M. Diagnostic Sys., Inc. v. Local 169, Intl          step analysis: it must determine first whether there is a valid
Brotherhood of Teamsters, Chauffeurs, Warehousemen &               agreement to arbitrate and, if so, whether the specific dispute
Helpers of America, 812 F.2d 91, 94 (3d Cir. 1987)(quoting
                                                                   falls within the scope of said agreement. See       Century
      Steelworkers v. Warrior & Gulf Navigation Co., 363           Indem. Co. v. Certain Underwriters at Lloyd's, 584 F.3d 513,
U.S. 574, 582 (1960)). The Federal Arbitration Act (“FAA”),
applies to arbitration clauses contained in contracts involving    523 (3d Cir. 2009)(emphasis added);    Salvadori v. Option
                                                                   One Mtg. Corp., 420 F. Supp. 2d 349, 356 (D.N.J. 2006).
matters of interstate commerce. See           9 U.S.C. § 2;
   Moses H. Cone Memorial Hosp. v. Mercury Constr. Corp.,           *8 The Court here finds that, contrary to Defendant
460 U.S. 1, 24 (1983). When a party, whose claims are              VW America's assertion, no agreement to arbitrate exists
subject to the FAA, refuses to arbitrate same the district court   between the parties. Defendant argues that arbitration must
                                                                   be compelled because the various Plaintiffs entered into
must decipher whether the claims are arbitrable. Medtronic
                                                                   purchase and/or lease agreements contained an arbitration
Ave, Inc. v. Advanced Cardiovascular Sys., Inc., 247 F.3d
                                                                   clause. (ECF No. 36-1 (“Def. Mov. Br.”) at 7-11). Those
44, 54 (3d Cir. 2001)(citing       AT&T Technologies, Inc.         purchase and/or lease agreements contained the following
v. Communications Workers of America, 475 U.S. 643,                language:
649 (1986)). “In the absence of any express provision
excluding a particular grievance from arbitration, ... only the                       “ARBITRATION PROVISION
most forceful evidence of a purpose to exclude the claim
                                                                                “PLEASE REVIEW-IMPORTANT-
from arbitration can prevail.”      AT&T Technologies, 475                      AFFECTS YOUR LEGAL RIGHTS
U.S. at 654 (quotations omitted); see        Par-Knit Mills,                “1. EITHER YOU OR WE MAY CHOOSE
Inc. v. Stockbridge Fabrics Co., 636 F.2d 51, 54 (3d Cir.                     TO HAVE ANY DISPUTE BETWEEN
1980)(“Before a party to a lawsuit can be ordered to arbitrate               US DECIDED BY ARBITRATION AND
and thus be deprived of a day in court, there should be an                   NOT IN COURT OR BY JURY TRIAL.
express, unequivocal agreement to that effect.”).
                                                                              “2. IF A DISPUTE IS ARBITRATED,
                                                                             YOU WILL GIVE UP YOUR RIGHT TO



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    PARTICIPATE AS A CLASS REPRESENTATIVE                           (noting situations in which non-signatories may be bound
        OR CLASS MEMBER ON ANY CLASS                                by an arbitration clause). The EPIX Court noted that “the
        CLAIM YOU MAY HAVE AGAINST US                               combination of the requisite nexus of the claim to the contract
         INCLUDING ANY RIGHT TO CLASS                               together with the integral relationship between the non-
      ARBITRATION OR ANY CONSOLIDATION                              signatory and the other contracting party [is] ... a sufficient
        OF INDIVIDUAL ARBITRATIONS....”
                                                                    basis to invoke estoppel.”    982 A.2d at 1202 (emphasis in
((Def. Mov. Br. at 7)(quotations and bold in original); see also    original).
Exhibits A-I annexed to Def. Mov. Br.) This clause, according
to Defendant, requires the Court to dismiss the action and           *9 Courts have permitted “non-signatory third party
compel arbitration consistent with the above law.                   beneficiaries to compel arbitration against signatories of
                                                                    arbitration agreements.” E.I. DuPont, supra at 195 (citation
However, as Plaintiffs have explained, and as Defendant             omitted). For example, the Third Circuit has “bound
concedes, Defendant VW America was not a party to these             a signatory to arbitrate with a non-signatory at the
purchase and/or lease agreements. (See ECF No. 40 (“Pl.             non[-]signatory's insistence because of the close relationship
Opp. Br.”) at 8-11; ECF No. 42 (“Def. Rep. Br.”) at 1-3).           between the entities involved, as well as the relationship
Rather, those agreements were entered into by Plaintiffs and        of the alleged wrongs to the non[-]signatory's obligations
the various dealerships from which they purchased and/or            and duties in the contract ... and [the fact that] the
leased their vehicles from. (Def. Mov. Br. at 7). Accordingly,      claims were intimately founded in and intertwined with the
Defendant VW America never entered into any agreement               underlying contract obligations.”      E.I. DuPont, 269 F.3d at
with Plaintiffs to arbitrate.                                       199-200 (internal quotations omitted; alteration in original)
                                                                    (emphasis added). “The distinction between signatories and
Basic contract law requires parties to be in privity with each      non-signatories is important to ensure that short of piercing
other in order for them to enforce the terms of a contract. See     the corporate veil, a court does not ignore the corporate form
Black's Law Dictionary (10th ed. 2014), available at Westlaw        of a non-signatory based solely on the interrelatedness of the
BLACKS (defining privity of contract as “The relationship
                                                                    claims alleged.”    Id. at 202.
between the parties to a contract, allowing them to sue
each other but preventing a third party from doing so.”).
                                                                    Here, the doctrine of equitable estoppel does not assist
Since the parties never personally entered into an agreement
                                                                    Defendant VW America's assertions that arbitration must
with each other, no privity of contract between Plaintiffs
                                                                    be compelled. This is because Defendant VW America can
and Defendant can be established. The parties concede this
                                                                    point to no allegations that there was a “close relationship”
point. (See Def. Mov. Br. at 10, 31, 37; Pl. Opp. Br. at
                                                                    between the parties. Rather, the allegations in the Complaint
9). Hence, without privity of contract between the parties,
                                                                    indicate the complete opposite. Plaintiffs each purchased and/
Defendant VW America cannot enforce the arbitration clause
                                                                    or leased their vehicle from an authorized car dealership. At
contained within the purchase and/or lease agreements signed
                                                                    the time Plaintiffs acquired their vehicles, they entered into
by Plaintiffs and the various dealerships. Thus, in accordance
                                                                    a purchase and/or lease agreement between themselves and
with Century Indem. Co., supra, there is no valid agreement
                                                                    the dealership. A member of each dealership presented this
between the parties that this Court can enforce, and the
                                                                    document. The agreements only contained the dealership's
Motion to Compel Arbitration must be denied.
                                                                    name and the various Plaintiffs' names. Accordingly, there
                                                                    was no relationship, let alone a close one, that supports the
Defendant VW America also attempts to rely on the doctrine
                                                                    application of equitable estoppel in this action. Thus, the
of equitable estoppel in support of its Motion to Compel
                                                                    Motion to Compel Arbitration must be denied.
Arbitration. (See Def. Mov. Br. at 12). “[I]n certain situations,
a non-signatory to an arbitration agreement may compel a
signatory to arbitrate.” EPIX Holdings Corp. v. Marsh                 C. Plaintiffs' Complaint Does Not Need to be
& McLennan Cos., 410 N.J. Super. 453, 982 A.2d 1194,                  Dismissed for “Lumping”
                                                                    Defendant also briefly argues that Plaintiffs' entire complaint
1200 (N.J. Super. Ct. App. Div. 2009); see also     E.I.
                                                                    should be dismissed for “combin[ing] separate named
DuPont de Nemours & Co. v. Rhone Poulenc Fiber & Resin
                                                                    defendant entities under the name ‘Defendants[.]’ ” (Def.
Intermediates, S.A.S., 269 F.3d 187, 195 (3d Cir. 2001)


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Mov. Br. at 17). Accordingly, Defendant VW America                  Additionally, Plaintiffs make specific allegations regarding
believes the Complaint should be dismissed for failing to           Defendant VW America's knowledge of the supposedly
meet the pleading standards set forth under Rules 8 and             faulty timing chain because Defendant “VW America was
9(b) of the Federal Rules of Civil Procedure. (Id.). However,       monitoring warranty claims and Class Vehicle performance
this argument is not persuasive. While Plaintiffs do use the        in the United States.” (Compl. ¶ 136). Moreover, “[c]ertain
term “Defendants” throughout the Complaint, they also make          Plaintiffs were informed by representatives of [Defendant]
particularized allegations against each Defendant, including        VW America that” it would not repair the faulty timing
Defendant VW America, separately.                                   chain system because the “failure occurred outside of
                                                                    the express warranty period.” (Compl. ¶ 137). Plaintiffs
Specifically, as to Defendant VW America, Plaintiffs allege         further allege that “Defendants' [collective] knowledge of
that it is headquartered in the United States and “engages          Class Vehicle defects was derived from warranty claims,
in ... the advertising, marketing and sale of VW automobiles        claims supervisors, customer complaints and monitoring
nationwide.” (Compl. ¶ 74). Plaintiffs clearly distinguish          ofperformance of Class Vehicles by [Defendant] VW America
Defendant VW America form Defendant Audi America by                 quality assurance employees.” (Compl. ¶ 153)(emphasis
stating that Defendant Audi America is also headquartered           added). Finally, Plaintiffs have alleged that “Defendant
in the United States and engages is nearly identical activities     (and particularly the sales and marketing executives at
that Defendant VW America engages in. (Compl. ¶ 76). The            [Defendant] VW America) advertised and otherwise created
Complaint also explains that both Defendants VW America             the reasonable expectation (including but not limited to
and Audi America are authorized agents, representatives,            scheduled class engine maintenance recommendations) that
servants, employees and/or alter egos of the German parent          Class Vehicles would last over 120,000 miles or ten years
companies. (Compl. ¶ 77).                                           before experiencing Timing Chain System failure.” (Compl.
                                                                    ¶ 157)(emphasis added).
The allegations against each entity are clear, and, as Plaintiffs
explain, “to the extent Plaintiffs assert common allegations        The Court finds that these allegations are specific to, and
as to [Defendants collectively],” it is because the entities        targeted at, Defendant VW America. Thus, while Plaintiffs
are intertwined through a complex corporate structure. (Pl.         use the generic term of “Defendants” in their Complaint, they
Opp. Br. at 18). Plaintiffs cannot be expected to know the          also make particularized allegations regarding Defendant VW
exact corporate structure and degree of each Defendant's            America's conduct sufficient to satisfy Rules 8 and 9(b) of
involvement, at this stage in the litigation and prior to           the Federal Rules of Civil Procedure. Hence, Defendant VW
discovery. See Weske v. Samsung Elecs., Am., Inc., 934              America's Motion to Dismiss based on “lumping” is hereby
F. Supp. 2d 698, 708 (D.N.J. 2013)(holding that Courts              denied.
should employ a relaxed pleading standard when “specific
information is in the exclusive control of the defendant”)
                                                                      D. Dismissal for Failure to “Plead Which State's Law
(citing Craftmatic Sec. Litig v. Kraftsow, 890 F.2d 628, 645          Applies” as to Plaintiff's Common Law Counts is
(3d Cir. 1989)).                                                      Unwarranted
                                                                    Defendant avers that Plaintiffs' common law claims for
 *10 Moreover, this Court is satisfied that, with the limited
                                                                    fraud, breach of contract, 6 negligent misrepresentation, and
information in Plaintiffs' possession, Plaintiffs have made
                                                                    unjust enrichment must be dismissed since Plaintiffs have
specific allegations as to Defendant VW America. For
                                                                    not identified the applicable law for each claim, thereby
example, Plaintiff Molowitz asserts his vehicle was impacted
                                                                    rendering them “vague.” (Def. Mov. Br at 15). Defendant also
by the timing chain issue, that he contacted Defendant VW
                                                                    argues that each Plaintiffs home state has the “most significant
America regarding same, and that Defendant VW America
                                                                    relationship,” and, according to New Jersey law, each state's
denied his request for repairs. (Compl. ¶ 58). Plaintiffs also
                                                                    laws governing common law claims must be applied to each
allege that Defendant VW America “acted as [an] authorized
                                                                    group of Plaintiffs, based on the state where they reside.
agent[ ], representative[ ], servant[ ], [and/or] employee[ ]”
                                                                    (Def. Mov. Br. at 16-17). Indeed, New Jersey's choice of
of its German parent company, and that Defendant VW
                                                                    law principles are applicable to this matter since federal
America performed activities of “advertising, warranties,
                                                                    courts with diversity jurisdiction must apply the choice of law
warranty repairs, dissemination of technical information and
monitoring the performance of [its] vehicles.” (Compl. ¶ 77).       principles of the forum state. See      Klaxon Co. v. Stentor


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Elec. Mfg. Co., 313 U.S. 487, 496-97 (1941). However, the          Br. at 22). Fourth, Defendant claims that Plaintiffs have not
Court need not address the choice of law arguments at this         pled sufficient facts showing they complied with the NLVWs'
juncture.                                                          notice requirements. (Def. Mov. Br. at 23). Finally, Defendant
                                                                   asserts that four Plaintiffs' express warranty claims are barred
As Plaintiff correctly notes, the choice of law analysis has       by the statute of limitations; specifically those Plaintiffs from
routinely been found to be premature at the motion to dismiss      Connecticut, New York, Ohio, and Texas. (Def. Mov. Br.
phase of a class action law suit, especially when certain          at 27). For the following reasons, the Court is unpersuaded
discovery is needed to further develop the facts that will be      by any of these arguments and concludes that Plaintiffs
                                                                   have included sufficient allegations to withstand a motion to
used in the choice of law analysis. See, e.g.,  Prudential
                                                                   dismiss.
Ins. Co. of Am. v. Goldman, Sachs & Co., No. 12-cv-6590,
2013 WL 1431680, at *5 (D.N.J. Apr. 9, 2013) (choice of law
                                                                   First, the Court is satisfied that Plaintiffs have pled sufficient
analysis at motion to dismiss premature);  In re Samsung           facts to allege that the NVLWs were unconscionable, and
DLP Television Class Action Litig., No. 07-cv-2141, 2009           therefore the time and mileage limitations argument advanced
WL 3584352, at *3 (D.N.J. Oct. 27, 2009) (same);       In          by Defendant is premature. Indeed, as Plaintiffs note,
re Mercedes-Benz Tele Aid Contract Litig., 257 F.R.D. 46,          “[o]ne way Plaintiffs may avoid [the] durational limits of
                                                                   Defendant's warranty is by alleging facts sufficient to show
55 (D.N.J. 2009) (same); see also      Arcand v. Brother Int'l     that the warranty is unconscionable.” (Pl. Opp. Br. at 21)
Corp., 673 F. Supp. 2d 282, 295 (D.N.J. 2009) (finding that
New Jersey's most significant relationship test” requires a        (citing     Skeen v. BMW of N. Am., LLC, 2014 WL 283628
fact-sensitive analysis that cannot be performed on a record       *12 (D.N.J. Jan 24, 2014))(compiling cases). The Skeen
that consists solely of a complaint and motion to dismiss);        matter is quite similar to this action. There, the Plaintiffs
                                                                   brought a putative class action against BMW asserting that
   In re K-Dur Antitrust Litig., 338 F. Supp. 2d 517, 541          certain MINI Cooper vehicles suffered from “a latent defect
(D.N.J. 2004) (finding that a choice of law analysis is            in a part of the engine known as the ‘timing chain tensioner’
premature at the motion to dismiss phase).                         which causes the part to fail prematurely.” Skeen, supra at
                                                                   1. Those vehicles were subject to “an express warranty of
Further, Defendant has failed to explain how Plaintiffs'           48 months or 50,000 miles, whichever came first.” Id. at 1.
common law claims conflict among their home states.                Plaintiffs there alleged that the warranty period was “not fatal
Rather, Defendant simply concludes that a conflict exists          to their warranty claims because Defendants [therein] knew
and therefore the Complaint must be dismissed. Yet, as             the defects would manifest and manipulated the warranty
discussed, the most significant relationship test is a fact-       term to make sure it did not happen until after the warranty
sensitive inquiry. Accordingly, the Court declines to engage       term expired.” Id. at 1.
in a choice of law analysis at this juncture and Defendant VW
America's Motion to Dismiss based on same is hereby denied.        BMW moved to dismiss the various claims, including the
                                                                   breach of warranty claim asserting that the malfunction
                                                                   occurred after the warranty period expired, and therefore no
   E. Plaintiffs Have Sufficiently Pled prima facie Claims
                                                                   claim could stand. Id. at 1, 4. The Court denied the motion
   for Breach of Express Warranty
                                                                   regarding the warranty claim. Id. at 4, 15-16. According to
 *11 Defendant VW America advances five separate
                                                                   the Court, Plaintiffs had sufficiently pled both substantive
arguments as to why Plaintiffs' breach of express warranty
                                                                   and procedural unconscionability. Id. Specifically, the Court
claims must be dismissed. First, Defendant VW America
                                                                   noted that Plaintiffs were in a significantly weaker bargaining
argues that no claim can lie for repairs to, or failures of, the
                                                                   position than the manufacturer because the “preprinted”
Timing Chain System beyond the express warranty period
                                                                   warranty left the purchasers with no meaningful choice in
contained in Defendant's New Vehicle Limited Warranty
                                                                   setting the terms of said warranty,” and therefore satisfied
(“NVLW”). (Def. Mov. Br. at 18). Second, Defendant asserts
                                                                   the procedural unconscionability requirement. Id. at 43 (citing
that both the time and mileage terms of the NVLWs were
not unconscionable. (Def. Mov. Br. at 19). Third, Defendant           Delta Funding Corp. v. Harris, 189 N.J. 28, 55 (N.J.
avers that the NLVWs do not cover design defects, which,           Sup. Ct. 2006)(Zazzali, J., concurring in part and dissenting
it claims, is the gravamen of Plaintiffs' claims. (Def. Mov.       in part)). Moreover, the Court concluded that substantive



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unconscionability was also sufficiently pled because plaintiffs   and Defendant's defense of this claim based on said
alleged that defendant knew the timing chain tensioner            limitations would not be viable. Accordingly, and since this is
would fail and the warranty was manipulated in such a             a fact sensitive inquiry, dismissal at this time is inappropriate.
manner so that defendant could avoid paying for it.    Id. at
                                                                  Defendant's next argument in support of dismissal of the
41-42. Thus, the Court was satisfied that plaintiffs met the
                                                                  express warranty claims is that the NLVWs “cover only
unconscionability pleading standard.
                                                                  repairs to correct ‘a manufacturer's defect in material and
                                                                  workmanship.’ ” (Def. Mov. Br. at 22). In essence, Defendant
This Court is also satisfied that Plaintiffs have pled both
                                                                  asserts that the Timing Chain System defect is a “design
substantive and procedural unconscionability. Substantive
                                                                  defect” and therefore is not covered by the NLVWs. (Id.). For
unconscionability occurs when “the term is ‘excessively
                                                                  this reason, Defendant argues that the express warranty claims
disproportionate,’ involving an exchange of obligations
                                                                  must be dismissed.
so one-sided as to shock the court's conscience.” Skeen,
supra at 12. “[P]rocedural unconscionability focuses on the
                                                                  The Court is not persuaded by this argument either. Courts
circumstances of the negotiation that produced the contested
                                                                  within this district have refused to apply a distinction
term,” and typically is present when a party has “no
                                                                  between a defect in design and a defect in materials
meaningful choice” in negotiating the term due to “a gross
                                                                  or workmanship at the pleadings stage of litigation. See
disparity in bargaining power.” Id. (quoting Henderson v.
                                                                      Alin v. Am. Honda Motor Co., 2010 WL 1372308, at *6
Volvo Cars of North America, LLC, 2010 WL 2925913, *9
                                                                  (D.N.J. Mar. 31, 2010)(Hayden, J.)(holding that “where the
n.6 (D.N.J. Jul. 21, 2010)).
                                                                  distinction between defect in design and defect in materials or
                                                                  workmanship is a matter of semantics, and sufficient facts are
 *12 Here, both forms of unconscionability have been pled.
                                                                  alleged to assert both, the defendant's characterization of the
Just as in Skeen, Plaintiffs have pled that Defendant was
                                                                  nature of the claim pre-discovery should not control whether
well aware of the defect in their vehicles' Timing Chain
Systems. (Compl. ¶¶ 2, 5, 11, 110, 256). Plaintiffs further       the complaint survives.”); see also     Cox v. Chrysler Grp.,
pled that said defect manifests during and/or shortly after       LLC, 2015 WL 5771400, at *6 (D.N.J. Sept. 30, 2015)(same).
the warranty period, but prior to the end of the Class            This Court agrees with the Alin and Cox opinions. Indeed,
vehicles' useful lives. (Compl. ¶¶ 5, 33, 94, 110, 139-41,        Plaintiffs' Complaint contains sufficient factual allegations to
144, 150, 248). Moreover, Plaintiffs allege that Defendant        assert a breach of the warranty, regardless of whether the
had superior knowledge regarding said defect. (Compl. ¶¶ 11,      defect is in design or in manufacturing and workmanship.
107, 110, 122). Additionally, Plaintiffs have pled that they      (Compl. ¶¶ 94-100, 108, 126-29, 201, 251-53).
had no meaningful choice in determining the temporal and/
or mileage limits of the NLVWs. (Compl. ¶ 162). Finally,          Moreover, even if the NLVWs only cover design defects,
Plaintiffs allege that the NLVWs were drafted by Defendant,       Plaintiffs' allegations specifically point to defects in the
without any input, let alone meaningful input, from Plaintiffs,   materials and/or the workmanship. The Complaint describes
that there was a gross disparity in bargaining power in favor     how various materials within the Timing Chain System
of Defendant, the terms of the NLVWs unreasonably favored         break and/or fail, and how that failure leads to the motor
Defendant, and Defendant was aware of the defect at the time      failing in general. (Compl. ¶¶ 94-100). Plaintiffs also make
of sale. (Compl. ¶¶ 162-, 165-72, 256).                           allegations regarding how the material used in the ratchet
                                                                  pawl sintered metal is defective and fails over time. (Compl.
Based on the above, Plaintiffs have sufficiently pled that        ¶¶ 126-29). These allegations were designed to point to
the express warranties were unconscionable. It is important       specific materials and/or workmanship that contained defects
to note that this Court is not declaring the NLVWs                known to Defendant, which by its own admissions and
unconscionable at this time. Rather, at the Motion to Dismiss     arguments, would be covered by the NLVWs. Accordingly,
stage, the Court is merely satisfied that Plaintiffs have         the Court is satisfied that Plaintiffs have sufficiently pled
alleged sufficient facts to support the assertion that the        claims for breach of the NLVWs.
NLVWs are unconscionable. Should Plaintiffs be able to,
through discovery, elicit sufficient evidence to support the      Additionally, Defendant argues that Plaintiffs failed to
allegations the NLVWs' limitations may not be applicable,         comply with the notice requirements of the NLVWs,



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warranting dismissal of their express warranty claims.
                                                                  filing of a complaint satisfies notice);      In re Bridgestone/
(Def. Mov. Br. at 23). Defendant asserts that the States
                                                                  Firestone, Inc. Tires Prods. Liab. Litig., 155 F. Supp. 2d 1069,
of Arkansas, California, Colorado, Connecticut, Florida,
                                                                  1109-1110 (S.D. Ind. 2001)(surveying cases: in Pennsylvania,
Georgia, Illinois, Indiana, Maryland, Michigan, Minnesota,
                                                                  Michigan, New York, and Georgia, the filing of a complaint
Nevada, New Hampshire, New Jersey, New York, North
                                                                  satisfies notice requirement); Cats v. Monaco RV, LLC,
Carolina, Ohio, South Carolina, Texas, and Washington, and
                                                                  2016 WL 5253204, at *4 (W.D. Wash. Sept. 22, 2016)(the
the Commonwealth of Pennsylvania, all have pre-suit notice
                                                                  State of Washington does not require notice to remote
requirements for breach of warranty claims. (Id.). Defendant
                                                                  sellers, and, if required, taking vehicle to dealer for repair
avers that not a single Plaintiff has complied with said pre-
                                                                  satisfied notice). As for Illinois, Indiana, and Minnesota, the
suit notice requirements, and therefore the claims must be
                                                                  notice requirement is satisfied when, as alleged here, the
dismissed. (Id. at 23-24).
                                                                  manufacturer is aware of the defect with the goods. See  In
 *13 However, this argument also fails. Defendant's reliance      re Rust-Oleum Restore Mktg., Sales Practices & Prods. Liab.
on the Uniform Commercial Code (“UCC”) § 2-607 is                 Litig., 155 F. Supp. 3d 772, 799-800 (N.D. Ill. 2016) (Ill.
misplaced. That provision requires a buyer of a product that      law); Anderson v. Gulf Stream Coach, Inc., 662 F.3d 775,
allegedly breaches an express warranty to provide the seller of   781-82 (7th Cir. 2011) (Ind. law);        Church of the Nativity
a product with notice within a reasonable time after the breach   of Our Lord v. Watpro, Inc., 491 N.W.2d 1, 5 (Minn. 1992).
is discovered or when the buyer should have discovered said       Accordingly, the Court concludes that Plaintiffs, in certain
breach. See UCC § 2-607(3)(a). However, Defendant here            circumstances, were not required to provide Defendant with
is not the direct seller of the vehicles, but rather the remote   any pre-suit notice, and, in cases where pre-suit notice was
manufacturer and/or seller.                                       required, Plaintiffs satisfied said requirement by simply filing
                                                                  their Complaint. Hence, dismissal on this ground is also
Pre-suit notice is not required when the action is                unwarranted.
brought against a remote manufacturer and/or seller. See
    Strzakowlski v. Gen. Motors Corp., 2005 WL 2001912,           Finally, Defendant argues that a four-year statute of
*3 (D.N.J. Aug. 16, 2005). There, the Court explained that        limitations bars any express warranty claims by Plaintiffs
it “has previously predicted that the New Jersey Supreme          from Connecticut, New York, Ohio, and Texas. (Def. Mov.
Court would not require notice under section 2-607(3)(a)          Br. at 27; Def. Rep. Br. at 28-29). Defendant cites to Conn.
in a case against a remote manufacturer who was not the           Gen. Stat. § 42a-2-725(1)-(2); N.Y. U.C.C. Law § 2-725; Ohio
immediate seller of a defective product.” Strzakowlski, supra     Rev. Code § 1302.98; Tex. Bus & Com. Code Ann. § 2.725
at *3 (emphasis added). The Court further held that even          in support of this contention. (Def. Mov. Br. at 27). Those
if notice was required, notice would be satisfied merely by       statutes impose a four-year statute of limitations for repair and
filing the Complaint. Id. at *3. Additionally, Plaintiffs need    replace warranties, such as the NLVWs. None of these statutes
not give a remote manufacturer and/or seller pre-suit notice      of limitations have a discovery rule. See Conn. Gen. Stat. §
in California, Florida, Georgia, Michigan, New Jersey, New        42a-2-725(1)-(2); N.Y. U.C.C. Law § 2-725; Ohio Rev. Code
                                                                  § 1302.98; Tex. Bus & Com. Code Ann. § 2.725.
York, Ohio, Pennsylvania, and Washington. See         In re
Toyota Motor Corp. Unintended Acceleration Mktg., Sales
                                                                   *14 Resolving this argument would require the Court to
Practices & Prods. Liab. Litig., 754 F. Supp. 2d 1145,
                                                                  engage in a choice of law analysis. However, as noted
1180 (C.D. Cal. 2010)(under California law, pre-suit notice
                                                                  above, this Court will not engage in a choice of law
excused with respect to remote manufacturer with whom
                                                                  analysis at this juncture. Yet, this does not preclude the
consumer did not deal);       Strzakowlski v. Gen. Motors         Court from rendering a determination, since Plaintiffs have
Corp., 2005 WL 2001912, *3 (D.N.J. Aug. 16, 2005)(New             properly alleged grounds for equitable tolling of the statute
Jersey does not require notice to remote manufacturer and,
                                                                  of limitations. See In re Ford Motor Co. E-350 Van Prods.
if it did, filing complaint would satisfy notice);        In      Liab. Litig. (No. II), 2008 WL 4126264, at *17 (D.N.J. Sept.
re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936,
                                                                  2, 2008); Simpson v. Widger, 311 N.J. Super. 379, 391 (N.J.
975-979 (N.D. Cal 2014)(surveying states: in Florida, notice
                                                                  Super. Ct. App. Div. 1998)(“[T]he presence of fraud may toll
not required to manufacturer; in Ohio and Pennsylvania, the
                                                                  the running of the statute” for breach of warranty claims).



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                                                                     and the Class Vehicles are merchantable; 2) “[m]any
For fraudulent concealment to toll the statute of limitations        of Plaintiffs [i]mplied [w]arranty [c]laims [m]ust [b]e
a plaintiff must plead “(1) wrongful concealment by the              [d]ismissed [b]ecause [p]laintiffs [a]re [n]ot in [p]rivity with
party raising the statute of limitations defense, resulting in       Defendant[ ];” 3) Plaintiffs did not comply with the pre-suit
(2) plaintiffs failure to discover the operative facts forming       notice requirements; and 4) certain Plaintiffs are barred by
the basis of his cause of action during the limitations period       the statute of limitations. (Def. Mov. Br. at 29-36). For the
                                                                     reasons below, the Court disagrees with said arguments and
(3) despite the exercise of due diligence.”     Dewey v.
                                                                     denies Defendant's Motion to Dismiss Plaintiffs' breach of the
Volkswagen AG, 558 F. Supp. 2d 505, 523 (D.N.J. 2008).
                                                                     implied warranty of merchantability claims.
The Court is satisfied that Plaintiffs have met all three
                                                                      *15 Summarily, the Court disposes of arguments three and
elements of the above standard. Specifically, Plaintiffs allege
                                                                     four, regarding the pre-suit notice and statute of limitations,
that “Defendant[ ] wrongfully and intentionally concealed a
                                                                     relatively. This is because the arguments advanced in support
defect in the [Timing Chain System] of the Class Vehicles,
                                                                     of both the pre-suit notice requirements and the statute of
which can fail at any time.” (Compl. ¶ 2). Plaintiffs further
                                                                     limitations are identical to those advanced by Defendant
allege that Defendant had knowledge of this defect, and,
                                                                     in support of dismissal of the express warranty claims.
despite this knowledge, Defendant has “never disclosed to
                                                                     (Def. Mov. Br. at 34-35, cf. Def. Mov. Br. 23-25, 27-29).
Plaintiffs and members of the Classes that the defect exists
                                                                     Accordingly, the above analysis, supra at 26-30, is applicable
or that drivers and/or occupants of the Class Vehicles [were]
                                                                     to these arguments. Hence, these arguments are not persuasive
at risk.” (Compl. ¶ 5). Additionally, Plaintiffs assert that
                                                                     and no further analysis is necessary herein.
the Timing Chain System failed far before its useful life
expired. (Id.). Accordingly, Plaintiffs allege that Defendant
                                                                     The implied warranty of merchantability is designed “to
has “wrongfully and intentionally transferred the cost of
                                                                     protect buyers from loss where the goods purchased are below
repair or replacement of the Timing Chain System to Plaintiffs
and members of the Classes by fraudulently concealing the            commercial standards.”       Altronics of Bethlehem, Inc. v.
existence of the defect, which Defendant [knew would]                Repco, Inc., 957 F.2d 1102, 1105 (3d Cir. 1992)(citing Vlases
typically occur after the expiration of the [NLVWs].” (Id.).         v. Montgomery Ward & Co., 377 F.2d 846, 849 (3d Cir.
Moreover, Plaintiffs assert and allege that despite their due        1967)). “In order to be merchantable, goods must be ‘fit for
diligence, they were incapable of ascertaining the defect,           the ordinary purposes for which such goods are used.’ ” Id.
partly due to Defendant's alleged fraudulent concealment.            (citation omitted). “[T]o establish a breach of this warranty,
(Compl. ¶¶ 10-12, 14, 106-10, 144-60, 195-202).                      a plaintiff must show, among other things, that the product at
                                                                     issue was defective.” Am. Atelier, Inc. v. Materials, Inc., 2017
While this Court is not concluding that Defendant did in fact        U.S. App. LEXIS 851, *3, 2017 WL 203371 (3d Cir. Jan. 18,
fraudulently conceal the defect in the Timing Chain System,          2017)(citing Altronics, supra at 1105). “In the context of a car,
it is satisfied that Plaintiffs have sufficiently pled same. Since   this warranty is satisfied when the vehicle provides safe and
Plaintiffs have successfully pled fraudulent concealment, the        reliable transportation.” Greene v. BMW of North Am., 2013
statute of limitations may be equitably tolled. Accordingly,         WL 5287314, *2 (D.N.J. Sept. 17, 2013).
the Court finds that it is inappropriate to dismiss the express
warranty claims at this juncture. Defendant may renew this           Here, despite Defendant's assertion that the Class Vehicles
argument at a later point, should discovery tend to indicate         were merchantable, Plaintiffs have successfully pled a
that no fraudulent concealment occurred.                             prima facie claim for breach of the implied warranty of
                                                                     merchantability. The Complaint contains more than sufficient
                                                                     factual allegations regarding the failure of the Timing Chain
  F. Plaintiffs Have Successfully Pled a prima facie                 System, which led to failure of the vehicle in general.
  Cause of Action for a Breach of the Implied Warranty               For example, Plaintiffs allege that when the Timing Chain
  of Merchantability                                                 System's tensioner failed the timing of the motor's valves
Similarly, Defendant argues that Plaintiffs' claims for              was no longer in sync causing various internal components
breach of the implied warranty of merchantability must               to bend and/or break. (Compl.¶¶ 3, 4, 34, 92). The bending
be dismissed for the following reasons: 1) the implied               and/or breaking of said components causes the motor to
warranties expired prior to the manifestation of the defect          cease operation. (Id.). When the motor ceased working, the


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vehicle no longer performed its ordinary commercial purpose
                                                                   Inc., 114 Ohio St. 3d 266, 269 (Ohio 2007);           Baughn v.
of driving. (Id.). Hence, Plaintiffs have sufficiently pled that
the vehicles were not merchantable.                                Honda Motor Co., 107 Wash.2d 127, 151 (Wash. 1986). 7


Moreover, the latency in manifestation is insufficient to           *16 However, each of these states provides various
support dismissal at this juncture of this litigation. It is       exceptions to the vertical privity requirement; the so-
true that implied warranties do not extend beyond the time,        called third-party beneficiary exception. 8 California, North
or other limitations, of a good's express warranty. See,           Carolina, Florida and Washington all have exceptions to
                                                                   the vertical privity requirement when, as is the case here,
e.g.,  Glass v. BMW of N. Am., 2011 U.S. Dist. LEXIS
                                                                   the consumer, rather than the dealer, is the ultimate user.
149199, *49, 2011 WL 6887721 (D.N.J. Dec. 29, 2011);
                                                                   See        In re MyFord Touch Consumer Litig., 46 F.
    Suddreth v. Mercedes-Benz, LLC, 2011 U.S. Dist. LEXIS
                                                                   Supp. 3d 936, 983-85 (N.D. Cal. 2014)(acknowledging
126237, *12-13, 2011 WL 5240965 (D.N.J. Oct. 31, 2011).
                                                                   the third-party beneficiary exception under California and
According to Defendant, the breach of the implied warranty of
merchantability claim must be dismissed because the defect         North Carolina law);    Keegan v. Am. Honda Motor Co.,
manifested itself after the NLVWs expired. However, as             838 F. Supp. 2d 929, 947-48 (C.D. Cal. 2012)(stating that
this Court explained above, Plaintiffs have sufficiently pled      in California the purchaser of a vehicle may maintain
unconscionability of the NLVWs, which may result in the            implied warranty claim against manufacturer when vehicle
inapplicability of the NLVWs' time and mileage limitations. If     is purchased from authorized dealership);             Sanchez-
said limitations are inapplicable, the express warranty claims     Knutson v. Ford Motor Co., 52 F. Supp. 3d 1223,
may still be viable. If the express warranty claims are viable     1233-34 (S.D. Fla. 2014)(acknowledging the third-party
due to the unconscionability of the limitation terms, then the     beneficiary exception under Florida law); In re MyFord Touch
implied warranty claims would remain viable as well, since         Consumer Litig., 2015 WL 5118308, *7 (N.D. Cal. Aug. 31,
the prior limitations relied on by Defendant no longer bind        2015)(acknowledging the third-party beneficiary exception
Plaintiffs. Accordingly, dismissal of the implied warranty         under Washington law). In Georgia, the vertical privity
claims pursuant to this argument is also inappropriate.            requirement is satisfied when the manufacturer provides an
                                                                   express warranty, as is the case with Defendant's NLVWs.
Finally, Defendant argues that Plaintiffs from California,         See Lee v. Mylan, Inc., 806 F. Supp. 2d 1320, 1326 (M.D.
Connecticut, Florida, Georgia, Illinois, New York, North           Ga. 2011). Finally, and similar to Georgia, Illinois' vertical
Carolina, Ohio, and Washington cannot maintain an implied          privity requirement is satisfied if the manufacturer provides a
warranty claim because they are not in “vertical privity” with     written warranty that satisfies the Magnuson-Moss Warranty
Defendant. (Def. Mov. Br. at 31-34). Indeed, those states          Act, as, once again, is the case with Defendant's NLVWs.
require the parties to be in vertical privity with each other
in order for a breach of implied warranty claim to lie. See        See     Rothe v. Maloney Cadillac, Inc., 518 N.E.2d 1028,

   Clemens v. DaimlerChrysler Corp., 534 F.3d 1017, 1023           1030-31 (Ill. 1988);     Szajna v. Gen. Motors Corp., 503
(9th Cir. 2008); TD Props., LLC, v. VP Bldgs., Inc., 602           N.E.2d 760, 770 (Ill. 1986).

F. Supp. 2d 351, 362 (D. Conn. 2009);      Speier-Roche            Accordingly, while a party may generally be required to be in
v. Volkswagen Grp. of Am., Inc., 2014 U.S. Dist. LEXIS             vertical privity with its adversary to assert a breach of implied
59991, *21-22, 2014 WL 1745050 (S.D. Fla. Apr. 30, 2014);          warranty claim in California, Connecticut, Florida, Georgia,
   Monticello v. Winnebago Indus., 369 F. Supp. 2d 1350,           Illinois, New York, North Carolina, Ohio, and Washington,
                                                                   Plaintiffs herein are not required to meet said requirement.
1361 (N.D. Ga. 2005);  Ibarolla v. Nutrex Research, Inc.,
                                                                   This is because Plaintiffs from California, North Carolina,
2012 U.S. Dist. LEXIS 155721, *22, 2012 WL 5381236
                                                                   Florida and Washington are exempt from said requirement as
(N.D. Ill. Oct. 31, 2012);     In re Scotts EZ Seed Litig.,        they were the true consumers of the product, not the dealer.
2013 U.S. Dist. LEXIS 73808, *24-25, 2013 WL 2303727               Moreover, those Plaintiffs from Georgia and Illinois are also
(S.D.N.Y. May 22, 2013); Kelly v. Ga.-Pac. LLC, 671 F. Supp.       exempt from the vertical privity requirement since Defendant
                                                                   provided express warranties to Plaintiffs hailing from these
2d 785, 769 (E.D.N.C. 2009);       Curl v. Volkswagen of Am.,
                                                                   states, which absolves Plaintiffs from the vertical privity



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requirement in those states. Therefore, dismissal of the breach     the costs associated with repairing same, as well as higher
of the implied warranty of merchantability is inappropriate.        operation costs due to the inefficiency of the motor. (See, e.g.,
                                                                    Compl. ¶¶ 105, 108, 145, 149, 150-58). Hence, the Complaint
                                                                    contains ample allegations of the injury Plaintiffs suffered,
  G. Plaintiffs Have Pled a Claim Under the Magnuson-               and, more importantly, Defendant's role in causing said injury.
  Moss Warranty Act                                                 Therefore, the Court holds that Plaintiffs have Article III
Defendant does not attack the sufficiency of Plaintiffs'            standing to bring this action.
Magnuson-Moss Warranty Act (“MMWA”) claim. Rather,
Defendant's sole argument in support of dismiss of Plaintiffs'
MMWA is premised on its anticipated dismissal of Plaintiffs'           I. Plaintiffs Have Pled Their Common Law Fraud
express and implied warranty claims. (Def. Mov. Br. at                 Claims with Particularity
36). Indeed, a prerequisite to a MMWA claim is adequately           Next, Defendant asserts that, while the 22 different states
                                                                    laws implicated in this action all have different common
pleading a breach of warranty claim. See          Cooper v.
                                                                    law fraud pleading standards, they all require that fraud be
Samsung Elecs. Am., Inc., 2008 U.S. Dist. LEXIS 75810,
                                                                    pled with particularity, and argues that Plaintiffs have failed
*18-19, 2008 WL 4513924 (D.N.J. Sep. 30, 2008). Here,
                                                                    to meet this heightened pleading standard. (Def. Mov. Br.
since the Court has determined that Plaintiffs have asserted
                                                                    at 41-42). In making this argument, Defendants advance
viable breach of warranty claims, both express and implied,
                                                                    the following sub-arguments: 1) Plaintiffs failed to plead an
Plaintiffs satisfy the pleading requirement to assert an
                                                                    actionable misrepresentation; 2) Plaintiffs failed to plead any
MMWA claim. Accordingly, the Court will not dismiss
                                                                    omission Defendant was under a duty to disclose (based on
Plaintiffs' MMWA claims.
                                                                    varying state laws); 3) Plaintiffs cannot maintain a fraud
                                                                    claim because their vehicles outlasted the time and mileage
   H. Plaintiffs Have Article III Standing to Bring                 durations in the NLVWs; and 4) certain claims by Plaintiffs
   Common Law Fraud, Statutory Fraud, and Negligent                 are barred by the economic loss doctrine. (Def. Mov. Br at
   Misrepresentation Claims                                         42-59). For the reasons below, the Court is not persuaded by
According to Defendant, Plaintiffs lack Article III standing        any of these arguments.
to assert claims for common law fraud, statutory fraud, and
negligent misrepresentation. (Def. Mov. Br. at 39). Article III     First, the Court disposes of arguments three and four above.
standing requires Plaintiffs to allege: 1) an injury in fact; 2)    Argument three relies on the expiration of the NLVWs. (Def.
                                                                    Mov. Br. at 57). For that argument to succeed, this Court
causation; and 3) redressability. See     Lujan v. Defenders of
                                                                    would need to conclude that the time and mileage limitations
Wildlife, 504 U.S. 555, 560-61 (1992). Defendant does not
                                                                    set forth in the NLVWs are applicable to these Plaintiffs.
challenge that Plaintiffs have pled both an injury in fact and
                                                                    This is because of the fact that, generally speaking, permitting
redressability with regards to these claims, nor does it assert
                                                                    common law fraud claims beyond the scope of the express
that Plaintiffs have insufficiently pled any of the three claims.
                                                                    warranty would effectively extend the express warranty. See,
(See Def. Mov. Br. at 39-41). Rather, Defendant focuses its
argument strictly on causation and asserts that these causes of     e.g., Duffy v. Samsung Elecs. Am., Inc., 2007 U.S. Dist.
action must be dismissed because Plaintiffs' alleged injuries       LEXIS 14792, *22-23, 2007 WL 703197 (D.N.J. Mar. 2,
cannot be “traced” to Defendant. (Id.)(citing Toll Bros., Inc.      2007);    Noble v. Porsche Cars N. Am., Inc., 694 F. Supp. 2d
v. Twsp. of Readington, 555 F.3d 131, 142 (3d Cir. 2009)).
                                                                    333, 337-38 (D.N.J. 2010); Nobile v. Ford Motor Co., 2011
 *17 The Court is satisfied that Plaintiffs have more than          U.S. Dist. LEXIS 26766, *15-16, 2011 WL 900119 (D.N.J.
sufficiently pled causation. Plaintiffs point to Defendant's        Mar. 14, 2011). However, while the Court has not reached
knowledge of the defects in the Timing Chain System                 the complete opposite conclusion (i.e. that the limitations
and allege that it concealed same. (See, e.g., Compl. ¶¶            are not applicable to Plaintiffs), this Court has concluded
2, 5, 11). As a matter of fact, Plaintiffs allege Defendant         that Plaintiffs have sufficiently pled that said limitations are
acknowledged the issue in their TSBs. (See, e.g., Compl. ¶¶         potentially unconscionable. Since the Court has reached such
2, 111-25). The concealment of this information, Plaintiffs         a conclusion, the applicability of the NLVWs' limitations
assert, was fraudulent, negligent and the sole reason they          remains unknown.
suffered damages in the form of a malfunctioning vehicle and



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As noted above, should Plaintiffs succeed at proving the          based claims when a plaintiff alleges fraudulent inducement
alleged unconscionability of the NLVWs' limitations, the          or that the defendant violated an extrinsic duty. See Smith
warranty period may not be applicable to Plaintiffs. If the       v. Citimortgage, Inc., 2015 WL 12734793, *7 (D.N.J. Dec.
limitations are not applicable to Plaintiffs, then their common   22, 2015)(Linares, J.)(under New Jersey law, “fraud [based]
law fraud claims would no longer be bound to the time and         claims that are extrinsic to the underlying contract, such
mileage limitations contained therein. Accordingly, the Court     as for fraudulent inducement, are not” barred by economic
will not dismiss said claims based on the time and mileage
                                                                  loss doctrine);    In re MyFord Touch Consumer Litig.,
limitations contained in the NLVWs.
                                                                  46 F. Supp. 3d 936, 965-67 (N.D. Cal. 2014)(holding
                                                                  that the economic loss doctrine does not bar fraudulent
Additionally, the Court will not dismiss the claims pursuant
                                                                  inducement claims under Florida or North Carolina law);
to the economic loss doctrine. Under that doctrine, a plaintiff
who is dissatisfied with a product must bring a breach of            Stein v. Fenestra Am., L.L.C., 2010 WL 816346, *4 (E.D.
                                                                  Pa. Mar. 9, 2010)(finding that the economic loss doctrine
contract or warranty claim. See     E. River S.S. Corp. v.
                                                                  does not apply under Pennsylvania law where the fraud is
Transamerica Delaval, Inc., 476 U.S. 858, 871-72 (1986).
Florida, Michigan, New Hampshire, New Jersey, North               “extraneous to the contract”);      Wyle v. Lees, 162 N.H.
Carolina, Ohio, Pennsylvania, and South Carolina all extend       406, 411 (N.H. 2011)(holding that the economic loss doctrine
the economic loss doctrine to fraud based claims, such as         does not apply to fraudulent inducement); Simons v. Wal-
                                                                  Mart Stores E., L.P., 2013 WL 393998, *5 (D.S.C. Jan.
those advanced by Plaintiffs here. See Burns v. Winnebago
                                                                  31, 2013)(“The economic loss rule does not bar tort claims
Indus., Inc., 2013 U.S. Dist. LEXIS 116377, *9, 2013 WL
                                                                  where a defendant voluntarily assumes a duty to use due
4437246 (M.D. Fla. Aug. 16, 2013); Murphy v. P&G, 695
                                                                  care over and above the duty required by the contract.”).
F. Supp. 2d 600, 602 (E.D. Mich. 2010);     In re Elk Cross       Similarly, Michigan and Ohio's economic loss doctrine does
Timbers Decking Mktg., Sales Practices & Prods. Liab.             not bar fraud claims by consumers who are not in contractual
Litig., 2015 U.S. Dist. LEXIS 144790, *73-74, 2015 WL             privity with the defendant. See Republic Ins. Co. v. Broan
6467730 (D.N.J. Oct. 26, 2015) (Linares, J.)(applying New         Mfg. Co., Inc., 960 F. Supp. 1247, 1249 (E.D. Mich. 1997)
Hampshire law); Park v. Inovio Pharms., Inc., 2016 U.S.           (Michigan's economic loss doctrine “has no application
Dist. LEXIS 24993, *4-6, 2016 WL 796890 (D.N.J. Mar.
                                                                  outside the commercial realm.”);      Blackward v. Simplex
1, 2016);     Orlando v. Novurania of Am., Inc., 162 F.           Prods. Div., 2001 WL 1255924, *3 (Mich. Ct. App. Oct. 19,
                                                                  2001) (“The economic loss doctrine as adopted in Michigan
Supp. 2d 220, 225-26 (S.D.N.Y. 2001);      Malone v. Tamko
                                                                  clearly distinguishes between transactions involving the
Roofing Prods., 2013 U.S. Dist. LEXIS 145530, *6, 2013 WL
                                                                  sale of goods for commercial purposes, where there are
5561628 (W.D.N.C. Oct. 8, 2013); Galoski v. Stanley Black
                                                                  economic expectations attached to the purchases, and those
& Decker, Inc., 2015 U.S. Dist. LEXIS 114663, *19-21, 2015
                                                                  involving the sale of defective products which result in
WL 5093443 (N.D. Ohio Aug. 28, 2015); Sabol v. Ford Motor
                                                                  losses traditionally remedied by resort to tort law.”); Weske
Co., 2015 U.S. Dist. LEXIS 92341, *17, 2015 WL 4378504
                                                                  v. Samsung Elecs., Am., Inc., 934 F. Supp. 2d 698, 706
(E.D. Pa. July 16, 2015); Sapp v. Ford Motor Co., 687 S.E.2d
                                                                  (D.N.J. 2013)(find that the economic loss doctrine does not
47, 49 (S.C. 2009).
                                                                  bar negligence claims under Ohio law for claims brought
 *18 However, each of these states also have exceptions           by consumer not in privity with manufacturer);    In re
to the general rule that permit all of Plaintiffs' claims         MyFord Touch Consumer Litig., 46 F. Supp. 3d. 936, 968
to proceed. New York law does not apply the economic              (N.D. Cal. 2014) (same).
loss doctrine to “claims of misrepresentation and fraud.”
                                                                  Here, Plaintiffs' common law fraud claims fall into each
    In re Caterpillar, Inc., C13 & C15 Engine Prods. Liab.
                                                                  their home state's exception to the economic loss doctrine.
Litig., 2015 WL 4591236, *35 (D.N.J. Jul. 29, 2015)(citing
                                                                  Plaintiffs' fraud claims are simply exempt from New
   Weisblum v. Prophase Labs, Inc., 2015 WL 738112,               York's economic loss doctrine. As for the Ohio and
*12 (S.D.N.Y. Feb. 20, 2015)). New Jersey, Florida, North         Michigan Plaintiffs, their claims also survive since, as
Carolina, Pennsylvania, New Hampshire, and South Carolina         established above, the parties were never in privity with
law also do not apply the economic loss doctrine to fraud         each other. Finally, the New Jersey, Florida, North Carolina,



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Pennsylvania, New Hampshire, and South Carolina Plaintiffs'       GEICO General Ins. Co., 631 F.3d 392, 401 (7th Cir. 2011)
fraud claims also survive because they have adequately pled
                                                                  (applying Illinois law); Pitts v. Jackson Nat'l Life Ins. Co.,
fraud claims based on fraudulent inducement.
                                                                  574 S.E.2d 502, 510 (S.C. Ct. App. 2002)). Defendant further
                                                                  argues that in Arkansas, “plaintiffs and defendants must be in
Additionally,       Plaintiffs    have      pled     actionable
                                                                  either a fiduciary relationship or in contractual privity for a
misrepresentation. Defendant asserts that “Plaintiffs never
allege that Defendants actually made any affirmative              duty to disclose to attach.” (Id.)(citing Perez v. Volkswagen
misrepresentations that Plaintiffs relied upon regarding the      Grp. of Am., 2013 U.S. Dist. LEXIS 54845, *29-30, 2013 WL
timing chain system or the useful life of the vehicles            1661434 (W.D. Ark. Apr. 17, 2013)). Ohio and Texas laws are
in the Warranty Manuals or elsewhere.” (Def. Mov. Br.             similar and also only impose a duty to disclose when there is a
at 43). This is simply not true, as Plaintiffs have done          fiduciary or special relationship, or when a defendant makes
exactly that. Specifically, Plaintiffs allege that Defendant's    a misleading partial disclosure. See      Gator Dev. Corp. v.
sale and marketing departments advertised and otherwise           VHH, Ltd., 2009-Ohio-1802, ¶ 28 (Ohio Ct. App. Apr. 17,
misrepresented to Plaintiffs that the Class Vehicles would last   2009); Yoon v. Yoo, 2016 U.S. Dist. LEXIS 129268, *8, 2016
over 120,000 miles or ten years without needing to service        WL 4801314 (N.D. Tex. Feb. 24, 2016). Defendant further
the Timing Chain System. (Compl. ¶¶ 8, 142-43, 156-57).           asserts that arm's-length transactions between a manufacturer
These misrepresentations were made in the NLVWs and               and consumer does not give rise to such a relationship and
Maintenance schedules. (Compl. ¶¶ 83, 94). Plaintiffs further     therefore no duty to disclose existed here. (Def. Mov. Br. at
allege that Defendant misrepresented that the NLVWs would         47)(citing Stevenson v. Mazda Motor of Am., Inc., 2015 U.S.
cover all defects occurring within the mileage limitations        Dist. LEXIS 70945, *27, 2015 WL 3487756 (D.N.J. June 2,
despite the fact that they knew it intended to deny coverage
for anything that it deemed a “design defect,” without actually   2015);      Coba v. Ford Motor Co., 2013 U.S. Dist. LEXIS
ever defining that term. (Compl. ¶¶ 9-10). Additionally,          8366, *37, 2013 WL 244687 (D.N.J. Jan. 22, 2013)). Hence,
Plaintiffs assert that Defendants misrepresented that the         Defendant concludes that since there is no fiduciary or other
NLVWs would cover all engine parts while knowing that the         special relationship, and, with regards to the Ohio and Texas
Timing Chain System would likely fail outside the warranty        Plaintiffs, no partial disclosures were made, it had no duty to
period and refused to cover same during the warranty period.      disclose and the common law fraud claims must be dismissed.
(Comp. ¶¶ 135-37). Finally, Plaintiffs allege “Defendants         (Def. Mov. Br. at 47-49).
misrepresented the that the Timing Chain System failures
were the result of other conditions not covered under [the        However, as Defendant acknowledges (see Def. Mov. Br. at
NLVWs].” (Pl. Opp. Br. at 52)(citing Compl. ¶ 149).               49-55), “the laws of the majority of [Plaintiffs'] home states
                                                                  recognize a duty to disclose where the defendant possesses
These alleged misrepresentations, which, at this point in the     exclusive or superior knowledge or actively conceals the
litigation the Court must accept as true, were not simply         omitted information.” 9 (Pl. Mov. Br. at 46-47 (citing Def.

puffery, but actual misstatements of fact. See        Castol      Mov. Br. at 49)); see also   Song Fi, Inc. v. Google, Inc.,
Inc. v. Pennzoil Co., 987 F.2d 939, 946 (3d Cir. 1993).           2016 U.S. Dist. LEXIS 45547, *22, 2016 WL 1298999 (N.D.
Accordingly, Plaintiffs have successfully pled actionable         Cal. Apr. 4, 2016);     Mallon Oil Co. v. Bowen/Edwards
misrepresentations to support their common law fraud claims.      Assocs., Inc., 965 P.2d 105, 111 (Colo. 1998); Bac Home
                                                                  Loans Serv. v. Farina, 2010 Conn. Super. LEXIS 4929,
 *19 Lastly, Defendant asserts Plaintiffs have failed to plead
any omission of information that it had a duty to disclose.       *1-2 (Conn. Super. Ct. June 2, 2010);       Mukamal v. GE
(Def. Mov. Br. at 46). According to Defendant, New Jersey,        Capital Corp. (In re Palm Beach Fin. Partners, L.P.), 517
Georgia, Illinois, and South Carolina laws create a duty          B.R. 310, 335 (Bankr. S.D. Fla. 2013); Fifth Third Bank
to disclose only if there is a fiduciary or other special         v. Double Tree Lake Estates, LLC, 2013 U.S. Dist. LEXIS
                                                                  20234, *21-22 (N.D. Ind. Feb. 12, 2013); Kestrel Holdings
relationship between the parties. (Id.)(citing   N. J. Econ.
                                                                  I, L.L.C. v. Learjet Inc., 316 F. Supp. 2d 1071, 1078 (D.
Dev. Auth. v. Pavonia Rest., Inc., 319 N.J. Super. 435, 446
                                                                  Kan. 2004); Dean v. Beckley, 2010 U.S. Dist. LEXIS 105007,
(N.J. Super. Ct. App. Div. 1998); Lilliston v. Regions Bank,
                                                                  *16, 2010 WL 3928650 (D. Md. Oct. 1, 2010);       Glidden
653 S.E.2d 306, 309 (Ga. Ct. App. 2007);       Greenberger v.
                                                                  Co. v. Jandernoa, 5 F. Supp. 2d 541, 551, 553 (W.D. Mich.


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1998); Graphic Commc'ns.       Local 1B Health & Welfare
                                                                   *20 The Court comes to the same conclusion as to the
Fund “A” v. CVS Caremark Corp., 850 N.W.2d 682, 695
                                                                  Georgia, Illinois, Ohio, South Carolina, and Texas Plaintiffs.
(Minn. 2014); Heldenbrand v. Multipoint Wireless, LLC, 2012
                                                                  In those jurisdictions, Defendant owed a duty to disclose
U.S. Dist. LEXIS 150634, *13-14, 2012 WL 5198479 (D.
Nev. Oct. 18, 2012); King v. Philip Morris, Inc., 2000 N.H.       safety defects. See, e.g.,   McCabe v. Daimler AG, 948 F.
Super. LEXIS 5, *26, 2000 WL 34016322 (N.H. Super. Ct.            Supp. 2d 1347, 1368-70 (N.D. Ga. 2013)(imposing a duty to
                                                                  disclose where “safety defects with gasoline tanks ... could
2000);    Remington Rand Corp. v. Amsterdam-Rotterdam
                                                                  not have been discovered through the exercise of ordinary
Bank, N.V., 68 F.3d 1478, 1483-84 (2d Cir. 1995) (applying
                                                                  prudence and caution [by plaintiffs]” and allowing the fraud
New York law); McKee v. James, 2013 NCBC 38, ¶ 51 (N.C.
                                                                  by omission claims under Georgia and Texas law to proceed);
Super. Ct. 2013);     Gaines v. Krawczyk, 354 F. Supp. 2d         In re Takata Airbags Prods. Liability Litig., No. 15-md-2599,
573, 586 (W.D. Pa. 2004);      White v. Zhou Pei, 452 S.W.3d      slip op. at 13-14 (S.D. Fla. Sept. 21, 2016)(“South Carolina
                                                                  law does not always require a fiduciary relationship for a
527, 537-38 (Tex. App. 2014); Lovell v. P.F. Chang's China
Bistro, Inc., 2015 U.S. Dist. LEXIS 112101, *17-18, 2015          duty to disclose to exist”)(citing     Fisher v. Pelstring, 817
WL 4940371 (W.D. Wash. Mar. 27, 2015) (citation omitted).         F. Supp. 2d 791, 823 (D.S.C. 2011)); In re Takata Airbags
                                                                  Prods. Liability Litig., No. 15-md-2599, slip op. at 11, 15,
Here, Plaintiffs from New York, California, Colorado,             21-22 & 31 (S.D. Fla. Oct. 14, 2016)(permitting fraudulent
Connecticut, Florida, Indiana, Kansas, Michigan, Minnesota,       concealment claims to proceed under Ohio, Georgia and
New Hampshire, Maryland, North Carolina, Pennsylvania,            Illinois law based on duty to disclose safety defects). Plaintiffs
Washington and Nevada have all sufficiently pled Defendant's      here have specifically pled that the defect in the Timing Chain
superior knowledge with regards to the defect in the              System created safety concerns, and, despite Defendant's
Timing Chain System. Specifically, Plaintiffs point to various    knowledge of the defect and the safety concerns associated
pre-production testing, design failure mode analysis, early       with same, Defendant chose not to disclose the defect to
consumer complaints, warranty data gathered from the              Plaintiffs. (Compl. ¶¶ 4, 10). Hence, Defendant had a duty to
various dealerships, consumer complaints to the NHTSA,            disclose the safety defect under Georgia, Illinois, Ohio, South
and Defendant's testing performed in response to consumer         Carolina, and Texas law and Plaintiffs claims pursuant to this
complaints in support of the fact that Defendant had superior,    theory of liability will not be dismissed.
and potentially exclusive, knowledge regarding the defect.
(Compl. ¶ 107). Plaintiffs have also alleged the presence of      Finally, New Jersey law imposes a duty to disclose when
various TSBs and Defendant's decision to redesign the Timing      a defendant has made a partial disclosure. See      Lightning
Chain System as further proof of its superior knowledge.          Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1185 (3d Cir. 1993)
(Compl. ¶¶ 112-30). Plaintiffs further contend that Defendant     (“where a claim for fraud is based on silence or concealment,
took steps in order to conceal the defect in order to shift the   New Jersey courts will not imply a duty to disclose, unless
cost of repair to Plaintiffs. (Compl. ¶¶ 2, 5, 10, 11-12, 14,     such disclosure is necessary to make a previous statement
106-07, 110, 121, 144, 146, 149, 151-52, 156-57, 160-61, 189,     true”). Here, Plaintiffs have made allegations with respect to
191, 193). Indeed, these allegations are sufficient to impose     Defendant's partial disclosures regarding the Class Vehicles.
a duty to disclose on Defendant. See, e.g., Majdipour v.          Plaintiffs rely on the maintenance schedules which, inter
Jaguar Land Rover N. Am., LLC, 2013 WL 5574626, *17               alia, identify engine parts and components that require
                                                                  routine maintenance and/or replacement at certain points
(D.N.J. Oct. 9, 2013);        In re MyFord Touch Consumer         throughout the lifespan of the vehicle. (Compl. at Exs. A,
Litig., 46 F. Supp. 3d 936, 960 (N.D. Cal. 2014);     Feldman     B). According to Plaintiffs' Complaint, “Defendant represents
v. Mercedes-Benz USA, LLC, 2012 WL 6596830, *11 (D.N.J.           in the maintenance schedules that the timing belt, which
Dec. 18, 2012). Accordingly, the Court concludes that             performs the same function as the Timing Chain System, will
the New York, California, Colorado, Connecticut, Florida,         need service after a certain time but makes no representation
Indiana, Kansas, Michigan, Minnesota, New Hampshire,              that the Timing Chain System will need maintenance.” (Pl.
Maryland, North Carolina, Pennsylvania, Washington and            Opp. Br. at 51 (citing Compl. ¶ 83)). Accordingly, Plaintiffs
Nevada Plaintiffs have sufficiently pled a duty to disclose and   have pled that Defendant made partial disclosure regarding
the Court will not dismiss their common law fraud claims.         the Class Vehicles. Since Defendant allegedly made said



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partial disclosures, it had a duty to fully disclose any and all   and that the defect here potentially implicates safety concerns.
information regarding the Timing Chain System to Plaintiffs        Accordingly, at this point in the litigation, Plaintiffs' claims
under New Jersey law. Hence, Plaintiffs have pled a viable         for negligent misrepresentation by Defendant is sufficient as
claim for common law fraud based on Defendant's duty               no special relationship is necessary.
to disclose under New Jersey law, and dismissal would be
inappropriate.                                                     Finally, the economic loss doctrine does not bar Plaintiffs'
                                                                   negligent misrepresentation claims. First, as Plaintiffs note,
                                                                   Defendant concedes that this argument is inapplicable to
   J. Plaintiffs Have Successfully Pled Claims for                 the Kansas and Texas Plaintiffs, and therefore dismissal of
   Negligent Misrepresentation
                                                                   those claims pursuant to this argument is not warranted. 11
First, the parties agree the Arkansas does not recognize
                                                                   Moreover, the remainder of the jurisdictions all have
negligent misrepresentation claims. (Def. Mov. Br. at 59; Pl.
                                                                   exceptions to the economic loss doctrine. Specifically, those
Opp. Br. at n.41). Accordingly, Plaintiffs claim for negligent
                                                                   states allow claims to proceed when the tort claim is based on
misrepresentation under Arkansas is hereby dismissed.
                                                                   conduct that is either independent of a contract or where there

Defendant argues that the rest of the negligent                    is a risk of personal injury. See, e.g., United Int'l Holdings,
misrepresentation claims must be dismissed for three reasons:      Inc. v. Wharf (Holdings) Ltd., 210 F.3d 1207, 1227 (10th
1) certain states do not permit a negligent misrepresentation      Cir. 2000) (discussing Colorado law and the applicability of
claim to lie absent an express, false statement, and               the economic loss doctrine);   HTP, Ltd. v. Lineas Aereas
therefore cannot be based on an omission; 2) certain states        Costarricenses, S.A., 685 So. 2d 1238, 1239 (Fla. 1996);
permit omission claims, but only when there is a special
                                                                      Ulbrich v. Groth, 310 Conn. 375, 406 (Conn. 2013);
relationship; 10 and 3) aside from Kansas and Texas, the
economic loss doctrine bars suit for economic damages based           U.S. Bank, N.A. v. Integrity Land Title Corp., 929 N.E.2d
on tort theories. These arguments are unconvincing.
                                                                   742, 746 (Ind. 2010);     Holloman v. D.R. Horton, Inc., 241

First, negligent misrepresentation may be actionable in New        Ga. App. 141, 147-48 (Ga. Ct. App. 1999);            In re Chi.
York and Michigan even when the claim is based on an               Flood Litig., 680 N.E.2d 265, 274-75 (Ill. 1997);  Lloyd
omission. See      Williams v. Polgar, 215 N.W.2d 149 (Mich.       v. Gen. Motors Corp., 916 A.2d 257, 265-66 (Md. Ct. App.
1974)(permitting a negligent misrepresentation claim against       2007);    80 S. Eighth St. Ltd. P'ship v. Carey-Canada, Inc.,
an abstracter when he or she omits a recorded deed in a title      486 N.W.2d 393, 399 (Minn. 1992); Phillips v. Dignified
abstract after failing to conduct a reasonable investigation);     Transition Sols., 2014 WL 4294972, *7 (D. Nev. Aug. 28,
Gomez-Jimenez v. N.Y. Law Sch., 103 A.D.3d 13, 17-18 (N.Y.         2014); Johnson v. Capital Offset Co., 2013 WL 5406613, *3
App. Div. 2012)(“To state a cause of action for fraudulent         (D.N.H. Sept. 25, 2013); Silicon Knights, Inc. v. Epic Games,
misrepresentation, a plaintiff must allege a misrepresentation     Inc., 2011 WL 1134453, *6, n.7 (E.D.N.C. Jan. 25, 2011);
or a material omission of fact”). Hence, the New York and
Michigan Plaintiffs may have an actionable claim under the            Nat'l Mulch & Seed, Inc. v. Rexius Forest By-Prods. Inc.,
relevant laws of their forum states and dismissing the claim,      2007 WL 894833, *6 (S.D. Ohio Mar. 22, 2007);            Brand
at this juncture, would not be proper.                             Mktg. Grp. LLC v. Intertek Testing Servs., N.A., Inc., 801 F.3d
                                                                   347, 354 (3d Cir. 2015) (applying Pennsylvania economic
 *21     Defendant's argument that the negligent                   loss doctrine); Jackson v. City of Seattle, 244 P.3d 425, 431
misrepresentation claims must be dismissed because there
                                                                   (Wash. Ct. App. 2010);      Robinson Helicopter Co. v. Dana
is no special relationship between the parties is equally
                                                                   Corp., 102 P.3d 268, 273 (Cal. 2004). Plaintiffs' negligent
unpersuasive. This is because, as discussed above, claims
                                                                   misrepresentation claim is independent of any contractual
based on affirmative misrepresentations and omissions by
                                                                   claim. (Compl. ¶ 4; see also n.5 supra). Plaintiffs have also
a vehicle manufacturer may lie when the manufacturer has
                                                                   alleged that potential for personal injury in connection with
exclusive or superior knowledge regarding the defect or if
                                                                   the allegedly defective Timing Chain System. (Compl. ¶ 4).
the defect relates to a safety concern. The Court has already
                                                                   For these reasons, as well as those set forth in Subsection
concluded that, for purposes of this motion, Defendant, at
                                                                   I supra, the Court will not dismiss Plaintiffs' negligent
the very least, had superior knowledge regarding the defect


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misrepresentations claims as being barred by the economic          This claim is pled in the alternate to the other claims in the
loss doctrine.                                                     Complaint. (Pl. Opp. Br. at 63). Pursuant to Rule 8(d)(2)
                                                                   of the Federal Rules of Civil Procedure, a party “may set
                                                                   out 2 or more statements of a claim or defense alternatively
   K. Plaintiffs' Have Sufficiently Pled Claims for Unjust         or hypothetically, either in a single count or defense or in
   Enrichment                                                      separate ones. If a party makes alternative statements, the
Defendant argues that Plaintiffs' unjust enrichment claim          pleading is sufficient if any one of them is sufficient.” Fed.
should be dismissed because they have an adequate remedy           R. Civ. P. 8(d)(2); see also Verizon N.J., Inc. v. Ntegrity
at law. (Def. Mov. Br. at 61)(citing In re Ford Tailgate           Telecontent Servs., inc., 219 F. Supp. 2d 616, 635 (D.N.J.
Litig, 2014 U.S. Dist. LEXIS 119769, *12–17, n.3, 2014 WL          2002). Therefore, Defendant's argument that Plaintiffs' unjust
3899545 (N.D. Cal. Aug. 8, 2014)). Essentially, Defendant          enrichment claims are duplicative fails. For these reasons, the
asks this Court to dismiss the unjust enrichment claims            Court concludes that Plaintiffs have pled an alternate prima
because Plaintiffs have asserted other viable, legal remedies.     facie causes of action for unjust enrichment, and therefore
(Def. Mov. Br. at 62)(citing      Ebner v. Fresh, Inc., 2016       does not dismiss said claims.
U.S. App. LEXIS 4875, *17-18, 2016 WL 1056088 (9th Cir.
Mar. 17, 2016))(additional citations omitted). This argument
                                                                      L. Plaintiffs' Have Sufficient Pled Their Statutory
is meritless.
                                                                      Consumer Fraud Claims
                                                                   As noted above, Plaintiffs have all brought consumer
 *22 To assert a prima facie cause of action for
                                                                   protection claims pursuant to each Plaintiff's local state laws.
unjust enrichment a plaintiff must allege that: “(1) at
                                                                   According to Defendant, the state law consumer protection
plaintiffs expense (2) defendant received a benefit (3) under
                                                                   claims must be dismissed for the following reasons: 1) all
circumstances that would make it unjust for defendant to
                                                                   of the claims fail to satisfy Fed. R. Civ. P. 9(b) as they
retain the benefit without paying for it.” In re K-Dur, 338        lack particularity; 2) eighteen of the state law claims must
F. Supp. 2d 517, 544 (D.N.J. 2004)(citing Restatement of           be dismissed because they fail to allege practices that are
Restitution § 1 (1937)); see also VRG Corp. v. GKN Realty          likely to deceive ordinary customers; 3) the Arkansas and
Corp., 135 N.J. 539, 554 (N.J. Sup. Ct. 1994)(stating that         New York claims must be dismissed because they fail to
a plaintiff seeking to assert a claim for unjust enrichment        plead any injury other than diminution of the value of
must establish that “defendant received a benefit[,] and that      the vehicles; 4) the Georgia and Indiana claims must be
retention of that benefit without payment would be unjust[,] ...   dismissed because those states do not recognize omission
[and plaintiff] expected remuneration from the defendant at        based claims; 5) Colorado, Georgia, and South Carolina
the time it performed or conferred a benefit on defendant and      laws do not recognize classwide claims for damages under
that the failure of remuneration enriched defendant beyond its     their consumer protection statutes; 6) Georgia, California and
                                                                   Minnesota's consumer protection statutes do not allow for
contractual rights.”). 12
                                                                   monetary damages, only equitable relief; 7) the economic
                                                                   loss doctrine bars the Michigan, New Jersey, North Carolina,
Plaintiffs here have sufficiently pled claims for unjust
                                                                   and Pennsylvania Plaintiffs' claims; 8) the Connecticut claims
enrichment. Indeed, they claim that Defendant received a
                                                                   must be dismissed because Connecticut's Products Liability
benefit at Plaintiffs' expense. Specifically, they allege that
                                                                   Act subsumes all other claims; 9) the New Jersey and
Defendant benefited, at Plaintiffs' expense, when they sold
                                                                   California claims must be dismissed because those states
Plaintiffs a vehicle that would not operate properly until
                                                                   will not permit a claim when a component has outlasted
the end its purported usual lifespan. (Compl. ¶¶ 1, 2, 5,
                                                                   its warranty period; 10) the Ohio claim must be dismissed
9-10). Said differently, Plaintiffs allege that they received
                                                                   because Defendant was not placed on sufficient notice that
a vehicle that was inferior to the vehicle they thought they
                                                                   its conduct was deceptive or unconscionable; and 11) the
were purchasing, yet the price they paid was the price for a
                                                                   Connecticut and New York claims are time barred. (Def.
supposedly better functioning vehicle they thought they were
                                                                   Mov. Br. at 64-79). The Court disagrees with each of these
purchasing. Hence, Plaintiffs have pled that Defendant has
                                                                   arguments, except for the argument addressing the Ohio
been unjustly enriched at their expense.
                                                                   claims.




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 *23 First, with regards to the Ohio Consumer Sales                well as the necessary maintenance and repairs associated with
Protection Act, Defendant argues that the claim must be            the Class Vehicles. (Compl. ¶¶ 8, 9-10, 94, 135-37, 143, 149,
dismissed as it was not sufficiently on notice that its conducts   157, 189-94). These allegations sufficiently place Defendant
was deceptive or otherwise unconscionable as defined by the        on notice regarding the specific misconduct that Plaintiffs'
Act. See Ohio Rev. Code § 1345.09(B). Plaintiffs bringing          assert was fraudulent and deceptive in connection with the
claims under this act “must demonstrate that either (1) the        statutory fraud and/or violation of consumer protection laws.
alleged violation is an act or practice that was declares to       See Gotthelf v. Toyota Motor Sales, U.S.A., Inc., 2012 WL
be deceptive or unconscionable by a rule adopted by the            1574301, *15-18 (D.N.J. May 3, 2012)(Linares, J.), affd,
Attorney General before the consumer transaction on which
                                                                       525 Fed.Appx. 94 (3d Cir. 2013)(recognizing that the
the action is based, or (2) the alleged violation is an act
                                                                   purpose of the heightened Rule 9(b) pleading standards in
or practice that was determined by a court to violate the
                                                                   connection with fraud based claims is to assure a defendant
[Act] and the court's decision was available for inspection
                                                                   is provided with notice of the “precise misconduct with
before the transaction took place.”        In Re Porsche Cars      which [it is] charged.”). Here, the Court is satisfied that
N. Am., Inc. Plastic Coolant Tubes Prods. Liab. Litig., 880        the Complaint contains sufficient allegations regarding the
F. Supp. 2d 801, 868 (S.D. Ohio 2012). The Ohio Plaintiffs         statutory fraud and/or consumer protection claims and meets
seemingly concede that they failed to sufficiently plead their     the heightened pleading standard under Rule 9(b).
claim under the Ohio Consumer Sales Protection Act, and
offer to re-plead same. (Pl. Opp. Br. at 72, n.55). Accordingly,   Additionally, as noted above, the economic loss doctrine
the Court dismisses the Ohio Plaintiffs' claims under the Ohio     does not bar Plaintiffs' fraud based claims. Those exceptions
Consumer Sales Protection Act, without prejudice, and with         to the doctrine's applicability extend to statutory fraud and/
leave to file an amended claim.
                                                                   or consumer protection claims as well. See, e.g.,      In re
                                                                   Ford Motor Co. E-350 Van Prods. Liab. Litig. (No. II), 2008
Additionally, the Court finds that Defendant is correct that
                                                                   WL 4126264, *29 (D.N.J. Sept. 2, 2008)(compiling cases
each and every one of the various Plaintiffs' statutory fraud
                                                                   that refused to dismiss New Jersey Consumer Fraud Act
and/or violations of consumer protection laws all sound in
fraud and therefore are subject to the heightened pleading         claims pursuant to the economic loss doctrine);  Kantor
standards of Fed. R. Civ. P. 9(b). The Court further finds         v. Hiko Energy, LLC, 100 F. Supp. 3d 421, 429 (E.D. Pa.
that Plaintiffs have pled prima facie claims of statutory fraud    2015)(holding that the economic loss rule does not bar a
and/or violations of consumer protection laws in accordance        Pennsylvania consumer fraud claim);            In re MyFord
with each of their home state laws sufficient to satisfy Rule      Touch Consumer Litig., 46 F. Supp. 3d 936, 967 (N.D.
9(b). Defendant's entire argument relies on its assertion that     Cal. 2014)(applying North Carolina law and holding that
Plaintiffs' have supposedly failed to plead a misrepresentation    “the consumer protection statute here gives rise to a duty
by Defendant or that Plaintiffs did not plead facts to support     independent of the contract and therefore should not be barred
a duty to disclose. The Court disagrees with both of these
notions.                                                           by the economic loss rule”);      Safeco Ins. Co. of Am. v.
                                                                   CPI Plastics Grp., Ltd., 625 F. Supp. 2d 508, 520 (E.D.
As to the duty to disclose, the Court has addressed this           Mich. 2008)(finding that Michigan's economic loss doctrine
argument, supra, and has concluded that Plaintiffs' complaint      does not apply to consumer transactions). Accordingly, based
contains sufficient factual allegations to support a duty to       on this Court's analysis above, as well as the relevant case
disclose claim. Accordingly, the Court adopts the above            law, the Court concludes that the economic loss doctrine
logic and conclusion. As to the particularity, the Court           does not bar the Michigan, New Jersey, North Carolina, and
has discussed, in great detail, how Plaintiffs' Complaint          Pennsylvania Plaintiffs' statutory fraud and/or violation of
is replete with allegations of both overt misrepresentations       consumer protection law claims.
and active concealment with respect to the alleged defect
in the Timing Chain System. Indeed, Plaintiffs make very            *24 Defendant's argument that the Colorado, Georgia, and
specific allegations about how they were supposedly misled         South Carolina Plaintiffs' claims must be dismissed because
about the defective Timing Chain System, along with                those states do not recognize classwide claims for damages is
misrepresentations by Defendant regarding the warranties,          unpersuasive for two reasons. First, as the parties are aware,
the useful life of the vehicle and its engine components, as       the application before the Court is to dismiss the Complaint



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pursuant to Fed. R. Civ. P. 12(b)(6). Defendant does not attack    of the defective Timing Chain System as well as the
the sufficiency of the class allegations in the Complaint, but     allegations that Defendant actively concealed same from
rather directs its argument as to whether the action could         Plaintiffs, and those similarly situated. (Compl. ¶¶ 11, 106-07,
proceed as a class action in general. Hence, Defendant does        110, 122, 143, 151, 158-61, 181). Plaintiffs further contend
not address the sufficiency or insufficiency of the claims it      that these alleged misrepresentations and/or omissions would
seeks to dismiss.                                                  mislead purchasers, including Plaintiffs, regarding the useful
                                                                   life of the vehicle, the anticipated cost of repair, and the
Moreover, the Supreme Court has addressed this issue and           overall value and quality of the Class Vehicles. (Compl. ¶¶
has held that matters may proceed as putative class actions,       156-57, 168-, 193). Thus, for these reasons, as well as those
regardless of whether state statutes prohibit such claims, so      detailed above, the Court is satisfied that Plaintiffs have
                                                                   sufficiently pled that they reasonably relied on Defendant's
long as the application of       Fed. R. Civ. P. 23 does not
                                                                   alleged misrepresentations and/or omissions, and therefore
“abridge, enlarge or modify any substantive right.”   Shady        their claims will not be dismissed for this reason.
Grove Othopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S.
393, 407 (2010)(quoting 28 U.S.C. § 2072(b)). Circuit Courts        *25 As to the Arkansas and New York Plaintiffs, Defendant
applying Shady Grove have also held that class actions may         avers that these claims must be dismissed because those
proceed despite state statutes prohibiting such actions. See,      Plaintiffs fail to plead any damages other than a diminution of
e.g.,    In re Hydroxycut Marketing and Sales Practices            the value of their vehicles. (Def. Mov. Br. at 70). The Court
Litig., 299 F.R.D. 648 (S.D. Cal. 2014)(permitting claims          disagrees. Defendant cites to case law from both jurisdictions,
under Georgia, South Carolina and other state consumer             yet said law does not support its contention. While the

protection statutes to proceed as class action under Rule 23       Court in      Wallis v. Ford Motor Company, 208 S.W.3d 153,
where state statutes do not allow class actions); see also Lisk    161 (Ark. 2005) did dismiss the claim there, the dismissal
v. Lumber One Wood Preserving, LLC, 792 1331 (11th Cir.            was because Plaintiff did not plead any “actual damage or
2015)(same application for Alabama consumer protection             injury,” and simply pled an abstract diminution in value.
statutes). Hence, the claim may proceed as a class action and      The Arkansas Court noted that “actual damage or injury is
any attacks as to whether class certification is appropriate can   sustained when the product has actually malfunctioned or
be raised at the class certification phase.                        the defect has manifested itself.” Id. Here, Plaintiffs from
                                                                   Arkansas, as well as the rest of Plaintiffs, have sufficiently
Defendant also argues that Plaintiffs from Arkansas,               pled that the malfunction has already either manifested
California, Colorado, Connecticut, Florida, Georgia, Illinois,     itself in their vehicles and/or that the vehicles have already
Indiana, Maryland, Michigan, New Jersey, New York, North           malfunctioned. (Compl. ¶ 248). Thus, the Court concludes
Carolina, Ohio, Pennsylvania, South Carolina, Texas and            that the Arkansas Plaintiffs have sufficiently pled their claims
Washington cannot maintain their claims under the relevant         under the Arkansas Deceptive Trade Practices Act and the
state statutes, because all of those statutes either require a     Court declines to dismiss same at this juncture.
plaintiff to plead subjective reasonable reliance on the alleged
deceptive acts or “determine whether a particular practice         Similarly, New York's consumer protection laws are
is deceptive according to its objective tendency to deceive        implicated when a “plaintiff [alleges] that a deceptive practice
reasonable, ordinary, or average customers.” (Def. Mov. Br.        caused him to pay more than the good or service he actually
at 68)(quotations omitted). Plaintiffs do not disagree with this   received was worth.” Servedio v. State Farms Ins. Co., 889 F.
standard. In support of this argument, Defendant relies on its     Supp. 2d 450, 453 (E.D.N.Y. 2012), aff'd, 531 Fed.Appx. 110
prior arguments that “Plaintiffs have failed adequately to [sic]   (2d Cir. 2013). The Servedio Court held that such allegations
the existence of, let alone reliance on, misrepresentations,       “maybe able to satisfy the injury requirement” under New
omissions or other deceptive acts by” Defendant. (Def. Mov.        York law. Id. New York Courts have also explained that
Br. at 69).                                                        where a consumer pays an inflated price due to deceptive
                                                                   conduct on behalf of a defendant that “plaintiff might have a
However, as the Court explained above, Plaintiffs                  claim for the higher price the consumer paid for the product
Complaint sufficiently pleads reliance on Defendant's alleged      as a result of the misrepresentation.” Small v. Lorillard
misrepresentations and/or omissions. This is apparent based        Tobacco Co., Inc., 94 N.Y.2d 43, 56 n.5 (1999). Here,
on Defendant's alleged superior and/or exclusive knowledge


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the New York Plaintiffs have sufficiently pled that, based        may later be identified through discovery. For these reasons,
on Defendant's alleged misrepresentations and/or omissions,       the Court declines to dismiss the California, Georgia, and
they were caused to overpay for the supposedly defective          Minnesota Plaintiffs' statutory consumer fraud claims at this
Class Vehicles which are purportedly worth less than a defect-    juncture.
free vehicle. (Compl. ¶¶ 15, 183-84, 192-93). Thus, the Court
will not dismiss the Arkansas and New York claims based on         *26 As to the Connecticut Plaintiffs, Defendant argues that
this argument.                                                    Connecticut's Products Liability Act subsumes any and all
                                                                  other claims stemming from the allegedly defective product.
Defendant argues that the Georgia and Indiana claims              (Def. Mov. Br. at 75)(citing Conn. Gen. Stat. § 52-572m-
must be dismissed because those jurisdictions do not              q). Yet, despite Defendant's assertion that this provision
recognize omission based claims. (Def. Mov. Br. at                forecloses all claims stemming from a defective product, the
71). This assertion is correct, to the degree that both           Connecticut Supreme Court has created exceptions to said
jurisdictions do not permit statutory consumer fraud claims
                                                                  blanket rule. See Gerrity v. R.J. Reynolds Tobacco Co., 818
to proceed merely on allegations of omissions. See
                                                                  A.2d 769 (Conn. 2003). In Gerrity, the Connecticut Supreme
Energy Four, Inc. v. Dornier Med. Systems, Inc., 765 F.
                                                                  Court found that a plaintiff may sustain both a Connecticut
Supp. 724, 731 (N.D. Ga. 1991)(absent an affirmative
                                                                  Products Liability Act claim along with a Connecticut Unfair
representation that is “misleading, partially incorrect, or
                                                                  Trade Practices Act claim if the Unfair Trade Practices Claim
untrue,” the “mere failure to disclose is not actionable.”);
                                                                  is based on financial injury caused by the allegedly defective
   Lawson v. Hale, 902 N.E.2d 267, 274 (Ind. Ct. App.
                                                                  product.      Gerrity, 818 A.2d at 775-76. Here, Plaintiffs
2009)(“Indiana Code section 24-5-0.5-3(a) ... does not apply
                                                                  have pled financial injury in the form of exacerbated costs
to nondisclosures.”). The Georgia and Indiana Plaintiffs
                                                                  of maintenance and repair, as well as increased ownership
concede the assertion that omission based claims cannot lie in
                                                                  costs due to inefficiency. (Compl. ¶¶ 151, 189). The Court
these jurisdictions, but note that they have made allegations
                                                                  is satisfied that, at this juncture, Plaintiffs have pled a
of affirmative misrepresentations, which satisfy the pleading
                                                                  financial injury and therefore may maintain both a Products
requirements of both jurisdictions. (Pl. Opp. Br. at 71-72).
                                                                  Liability claim, as well an Unfair Trade Practices Act, under
Indeed, as detailed above, Plaintiffs' Complaint contains
                                                                  Connecticut law.
numerous allegations of affirmative misrepresentations.
(Compl. ¶¶ 9, 10, 12, 135-37, 143, 149, 156, 157,
                                                                  Finally, the Court disagrees with Defendant's assertion that
362). Those allegations, for example, include affirmative
                                                                  the New York, Connecticut, and Ohio statutory consumer
misrepresentations regarding the coverage afforded by the
                                                                  fraud claims are time barred. (Def. Mov. Br. at 78-79). The
NLVWs, and the useful life of the vehicle. (Compl. ¶¶ 94,
                                                                  statute of limitations under both New York and Connecticut
135-37). Thus, the Court is satisfied that the Georgia and
Indiana Plaintiffs have pled prima facie claims under each        law for consumer fraud claims is three years. See Corsello
their forum state's consumer protection laws.                     v. Verizon N.Y., Inc., 967 N.E.2d 1177, 1184-85 (N.Y. 2013);
                                                                     Conn. Gen. Stat. § 42-110g. In Ohio, the statute of
Defendant further asserts that the California, Georgia,           limitations for such claims is two years. See Ohio Re. Code.
and Minnesota Plaintiffs' consumer fraud claims must be           Ann. § 1345.10(c). All three of these statutes of limitations
dismissed because those statutes allow for injunctive relief,     begin running when the “violation” first occurs. See Indep.
and those Plaintiffs cannot seek injunctive relief when they      Ins. Serv. Corp. v. Hartford Life Ins. Co., 472 F. Supp. 2d 183,
have an adequate remedy at law. (Def. Mov. Br. at 72). This       190 (D. Conn. 2007)(the “limitation period for [Connecticut
argument fails for numerous reasons. First, the Court has         Unfair Trade Practices Act] is triggered upon the occurrence
explained that Plaintiffs may plead causes of actions in the      of the alleged violation”); Ohio Rev. Code Ann. § 1345.10
alternate under Rule 8(d)(2) of the Federal Rules of Civil        (an action may not be brought “more than two years after
Procedure. Accordingly, at the very least, these Plaintiffs may
sustain these claims in the alternate. Moreover, while these      the occurrence of the violation”);   Corsello v. Verizon N.Y.,
Plaintiffs may ultimately be foreclosed from recovering under     Inc., 967 N.E.2d 1177, 1184 (N.Y. 2012) (there must be
these statutes due to the injunctive nature of the relief, that   “successful deception of plaintiffs within three years of the
does not necessarily preclude an award of injunctive relief for   time the action was brought”). Defendant contends that the
currently unascertained members of the putative class who


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                                                                  regarding this issue, would be inappropriate. Thus, the Court
statute of limitations began each of the Plaintiffs from these
                                                                  concludes that Plaintiffs have sufficiently pled these claims at
forum states purchased their vehicles.
                                                                  this juncture and declines to dismiss them.
However, as Plaintiffs correctly note, post-sale deceptive
conduct is actionable in all three of the venues. See
    Marshall v. Hyundai Motor America, 51 F. Supp. 3d 451                                CONCLUSION
(S.D.N.Y. 2014)(finding that the plaintiff's consumer fraud
                                                                  For the aforementioned reasons, Defendant's Motion to
claims under New York's General Business Law was not
                                                                  Dismiss Plaintiffs' Amended Complaint is hereby granted
time barred due to “post-sale” fraud, specifically, defendant's
                                                                  in part and denied in part. The Court hereby dismisses
“fail[ure] to disclose information about the defects in the
                                                                  Count II (Breach of Contract), 13 Count III (Negligent
brake system through adequate warnings or adequate recall
notices”); CSL Silicones Inc. v. Midsun Grp. Inc., 170            Misrepresentation) only as to the Arkansas Plaintiffs, 14 and
F. Supp. 3d 304, 312 (D. Conn. 2016) (findind that a              Count XXX (Violation of the Ohio Sales Practices Act) as to
“[Connecticut Unfair Trade Practices Act] claim can accrue        the Ohio Sub-Class. 15 The remainder of Defendant's Motion
separately for each discrete illegal act that forms the basis     to Dismiss is hereby denied.
of a [Connecticut Unfair Trade Practices Act] claim”). Here,
Plaintiffs Complaint contains sufficient factual allegations
regarding Defendant's supposed ongoing deception and              All Citations
failure to disclose the defect despite having knowledge of
                                                                  Not Reported in Fed. Supp., 2017 WL 1902160, 92 UCC
same. (Compl. ¶¶ 136, 168-69, 181). Dismissal, without
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affording Plaintiffs the opportunity to conduct discovery




                                                          Footnotes


1      This background is derived from Plaintiffs' First Consolidated Amended Class Action Complaint (ECF No.
       6 (“Compl.”)), which the Court must accept as true at this stage of the proceedings. See             Alston v.
       Countrywide Fin. Corp., 585 F.3d 753, 758 (3d Cir. 2009).
2      A full description of the TSI engine is contained herein, infra.
3      A full description of the TFSI engine is contained herein, infra.
4      A full discussion regarding timing chains and the alleged defect that is the subject matter of this action is
       contained herein, infra.
5      Plaintiffs have since abandoned their Breach of Contract Claim. (Pl. Opp. Br. at 41).
6      As discussed in n. 5, supra, this claim has been abandoned by Plaintiffs.
7      The Court notes that Defendant is incorrect in its assertion that both Michigan and Nevada law require vertical
       privity for breach of implied warranty claims. See         Montgomery v. Kraft Foods Glob., Inc., 822 F.3d 304,
       309 (6th Cir. 2016)(Mich. law);         Pack v. Damon Corp., 434 F.3d 810, 818-20 (6th Cir. 2006)(Mich. law);
          Hiles Co. v. Johnston Pump of Pasadena, Cal., 560 P.2d 154, 157 (Nev. 1977)(“[W]e believe that lack
       of privity between the buyer and manufacturer does not preclude an action against the manufacturer for the
       recovery of economic losses caused by breach of warranties.”).
8      The Court notes that Defendant did not address Plaintiffs' exception arguments in its reply brief. (See
       generally Def. Rep. Br.).
9      Specifically, this is applicable to Plaintiffs from New York, California, Colorado, Connecticut, Florida, Indiana,
       Kansas, Michigan, Minnesota, New Hampshire, Maryland, North Carolina, Pennsylvania, Washington and
       Nevada.



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10     Defendant relies on its pervious arguments regarding the lack of a special relationship.
11     The Court notes that Defendant did not advance any argument with regards to Colorado's application of the
       economic loss doctrine to these claims.
12     The Court notes that there are no material differences between jurisdictions regarding the law of unjust
       enrichment. Accordingly, the Court analysis same under New Jersey law. See        Tele Aid, 257 F.R.D. at 58
       (“While there are minor variations in the elements of unjust enrichment under the laws of the various states,
       those differences are not material and do not create an actual conflict.”).
13     This Count was voluntarily withdrawn by Plaintiffs.
14     Dismissal of the negligent misrepresentation claims by the Arkansas Plaintiffs was conceded to.
15     The Ohio Plaintiffs shall be permitted to submit an amended pleading addressing the deficiencies set forth
       herein.


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                                                                damages class. Specifically excluded from both classes are
                                                                claims for personal injury and wrongful death.
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   Only the Westlaw citation is currently available.
                                                                Presently pending before the Court is Spectrum’s motion to
   United States District Court, W.D. Pennsylvania.
                                                                dismiss the Complaint for failure to state a claim. For the
      Bruce WINKWORTH and Marcia Botelho,                       reasons stated herein, Spectrum’s motion will be granted in
     Individually, on behalf of themselves and on               part and denied in part.
    behalf of all others similarly situated, Plaintiffs,
                            v.                                  I. Procedural History
       SPECTRUM BRANDS, INC., Defendant.                        Plaintiffs commenced this lawsuit in the Court of Common
                                                                Pleas of Jefferson County, Pennsylvania, in July 2019. (ECF
                  Civil Action No. 19-1011
                                                                No. 1-1 (“Compl.”).) Spectrum subsequently removed the
                              |
                                                                case to this Court based on the Class Action Fairness Act and
                    Signed 06/30/2020
                                                                now seeks dismissal of Plaintiffs’ Complaint under Federal
Attorneys and Law Firms                                         Rule of Civil Procedure 12(b)(6) for failure to state a claim
                                                                upon which relief may be granted. (ECF No. 9.) Spectrum’s
Patrick Howard, Charles J. Kocher, Pro Hac Vice, Saltz          motion has been fully briefed. (ECF Nos. 10, 15, 21.)
Mongeluzzi Barrett & Bendesky, P.C., Philadelphia, PA, Troy
M. Frederick, Frederick Law Group, PLLC, Indiana, PA, for
Plaintiffs.                                                     II. Factual Background
                                                                According to the allegations of the Complaint, Plaintiff
Loly Tor, Patrick J. Perrone, Pro Hac Vice, K&L Gates LLP,      Winkworth purchased a Hot Rollers product in February
Newark, NJ, Michael S. Nelson, K&L Gates LLP, Pittsburgh,       2018. The Complaint does not include any other factual
PA, for Defendant.                                              allegations about Plaintiff Winkworth. Plaintiff Botelho
                                                                (“Botelho”) is alleged to be the owner and end user of the Hot
                                                                Rollers. (Compl. ¶¶ 19, 21, 41.)
              MEMORANDUM OPINION
                                                                On May 17, 2018, Botelho notified Spectrum that she had
PATRICIA L. DODGE, United States Magistrate Judge               burned herself while using her Hot Roller. 1 (Id. ¶¶ 22, 43,
                                                                84.) Specifically, in an email to Spectrum’s customer service
 *1 Plaintiffs Bruce Winkworth and Marcia Botelho
                                                                department, she stated that “I sent [sic] before that this model
(“Plaintiffs”) commenced this class action lawsuit to seek
                                                                is no good, now the end of a curler fell off went down my
redress with respect to an allegedly defective and dangerous
                                                                shirt and burned my chest, what are you going to do about
condition present in Remington® Hot Rollers (“Hot Rollers”)
                                                                that.” (Id. ¶¶ 22, 42.)
that were warranted, advertised, distributed, and sold by
Defendant Spectrum Brands, Inc., (“Spectrum”). Plaintiffs
                                                                 *2 According to the Complaint, other consumers have also
allege that due to a latent defect, the Hot Rollers heat
                                                                complained about defects in the Hot Rollers. (Id. ¶¶ 45–47.)
to unreasonably unsafe temperatures when operated as
instructed and, therefore, expose consumers to dangerous
                                                                When Spectrum offered to send a replacement, Botelho
contact with their skin.
                                                                stated that she did not want a replacement and that she
                                                                “really [thought] [the Hot Rollers] should be taken off the
The Complaint alleges claims for breach of express warranty,
                                                                market.” (Exh. B at 2–3.) Spectrum then offered to send
breach of the implied warranty of merchantability, violation
                                                                Botelho any product of her choice that was available on
of the Magnuson-Moss Consumer Products Warranties Act
                                                                Spectrum’s website. (Id. at 2.) Botelho replied that she did
(“MMWA”), negligence, and negligent failure to warn.
                                                                not “want any of those products. Burns hurt and scar.” (Id.)
Plaintiffs assert these claims on their own behalf and on
                                                                In a follow up inquiry, Spectrum asked Botelho “[w]ill you
behalf of two putative classes: (1) a nationwide declaratory
                                                                be seeking medical attention? Would you be interested in a
judgment/injunctive relief class, and (2) a Pennsylvania-only
                                                                refund?” (Id.) Botelho responded that the burn was better
                                                                but it “did scar my chest. Now what? I hope you recalled


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it. Its dangerous. If I decide to get a lawyer I will.” (Id.          Spectrum provides a “Limited Two-Year Warranty” with
at 1.) Spectrum then advised Botelho that in order to assist          respect to the Hot Rollers. (Id. ¶ 52.) This express warranty
with her injury claim, her information was being forwarded            provides coverage “against any defects that are due to faulty
to their insurance company and that a representative from             material or workmanship ...” (Id.) If a Hot Roller manifests
the insurance company would contact her. (Id.) There are no           a defect within the warranty period, Spectrum promises to
allegations in the Complaint that reflect that any refund or          provide a replacement free of charge. (Id.) Plaintiffs claim that
replacement was provided to either of the Plaintiffs.                 Spectrum breached this warranty by not repairing or replacing
                                                                      the Hot Rollers. (Id. at ¶ 58.)
Plaintiffs assert that according to Spectrum’s website, the
Hot Rollers utilize an exclusive “thermal wax core” to                According to Plaintiffs, although the Hot Rollers are not
create long lasting curls. (Compl. ¶ 2.) According to the             merchantable as consumer goods sold in the United States,
Complaint, Spectrum also represents on its website that the           Spectrum warrants, markets, and advertises that the Hot
Hot Rollers are built with plastic “cool touch ends” for safe         Rollers are of merchantable quality and fit for the ordinary
and comfortable use and that these plastic ends are designed          purpose for which they are used, which is curling with a bare
to protect against the heating element in the Hot Rollers, i.e.,      hand. (Id. ¶¶ 16, 59, 62.) Therefore, Spectrum fell short of its
the thermal wax core. (Id. ¶ 4.)                                      warranty obligations because it failed to remedy and eliminate
                                                                      the latent defect in the Hot Rollers that causes burns or creates
Due to what Plaintiffs characterize as a latent defect, however,      substantial risk of burns. (Id. at ¶ 63.)
the Hot Rollers heat to unreasonably unsafe temperatures. (Id.
at ¶ 5.) Although Spectrum affirmatively represents that the          Plaintiffs state causes of action for breach of the implied
Hot Rollers comply with the applicable standards regarding            warranty of merchantability (Count I), breach of express
surface temperatures for consumer goods, Plaintiffs allege            warranty (Count II), violation of the Magnuson-Moss
that the Hot Rollers actually violate those standards. (Id. ¶¶        Consumer Products Warranty Act (“MMWA”) (Count III),
7–12, 31–39.) At such high temperatures, the plastic end caps         negligence (Count IV), and negligent failure to warn (Count
allegedly become loose and detach from the Hot Rollers. (Id.          V).
¶¶ 5, 12.) This exposes consumers to dangerous skin contact
not only with the hot plastic end, but also the metal underneath
it that it is designed to guard against. (Id. ¶¶ 5, 30.) Plaintiffs   III. Standard of Review
assert that this alleged defect “is unreasonably dangerous and        Federal Rule of Civil Procedure 12(b)(6) provides for the
renders the Hot Rollers unfit to use when curling hair with a         dismissal of a complaint, in whole or in part, for “failure
bare hand—their intended and ordinary purpose.” (Id. ¶ 16.)           to state a claim upon which relief can be granted.” Fed. R.
                                                                      Civ. P. 12(b)(6). In deciding a Rule 12(b)(6) motion, the
According to the allegations of the Complaint, this latent            court must “accept all factual allegations as true, construe
defect exists in every Hot Roller that left Spectrum’s                the complaint in the light most favorable to the plaintiff,
control. (Id. ¶ 60.) Based on excerpts from various online            and determine whether, under any reasonable reading of the
consumer reviews included in the Complaint, Plaintiffs assert         complaint, the plaintiff may be entitled to relief.” Fowler v.
that Spectrum has possessed knowledge of this defect for              UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) (quoting
several years. (Id. ¶¶ 45–47.) Plaintiffs believe that Spectrum
                                                                         Phillips v. Cnty. of Allegheny, 515 F.3d 224, 233 (3d
“acknowledged internally that the [d]efect caused injuries and
                                                                      Cir. 2008)). While “accept[ing] all of the complaint’s well-
burns to consumers.” (Id. ¶ 48.) Yet, according to Plaintiffs,
                                                                      pleaded facts as true,” the court “may disregard any legal
Spectrum provides no warnings or instructions in the Hot
Rollers’ “Use and Care Guide” to alert consumers of this              conclusions.”     Id. at 210–11.
defect and its effects; continues to market, sell, and warrant
the Hot Rollers; and has failed to implement a recall or repair       To survive the motion, the plaintiff must plead “enough
program. (Id. ¶¶ 40, 49.)                                             facts to state a claim to relief that is plausible on its face.”
                                                                         Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A
 *3 The Complaint alleges that the Hot Rollers have defects
                                                                      claim has facial plausibility when the plaintiff pleads factual
in workmanship and materials. (Id. ¶¶ 53, 103, 107.)
                                                                      content that allows the court to draw the reasonable inference
                                                                      that the defendant is liable for the misconduct alleged.”


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                                                                    Each of these issues will be addressed below.
    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Though
‘detailed factual allegations’ are not required, a complaint
must do more than simply provide ‘labels and conclusions’ or           A. Plaintiffs’ express warranty claim
‘a formulaic recitation of the elements of a cause of action.’      In Pennsylvania, “[a]ny affirmation of fact or promise made
”    Davis v. Abington Mem'l Hosp., 765 F.3d 236, 241 (3d           by the seller to the buyer which relates to the goods and
                                                                    becomes part of the basis of the bargain creates an express
Cir. 2014) (quoting Twombly, 550 U.S. at 555). In sum, the
                                                                    warranty that the goods shall conform to the affirmation or
plaintiff “must plead facts sufficient to show that her claim has
                                                                    promise.” 13 Pa. C.S. § 2313(a). It is well established that
substantive plausibility.”    Johnson v. City of Shelby, Miss.,     “[a] manufacturers’ liability for breach of an express warranty
574 U.S. 10 (2014).                                                 derives from, and is measured by, the terms of that warranty.”
                                                                       Cipollone v. Liggett Grp., Inc., 505 U.S. 504, 525 (1992).
To assess the sufficiency of a complaint under Twombly and
Iqbal, a court must take three steps: (1) outline the elements
                                                                    Spectrum argues that Plaintiffs’ breach of express warranty
the plaintiff must plead to state a claim for relief; (2) peel
                                                                    claim fails because as pleaded in the Complaint, the alleged
away those allegations that are no more than conclusions
                                                                    defect in the Hot Rollers is a design defect, and the limited
and thus not entitled to the assumption of truth; (3) look for
                                                                    warranty extends only to defects that are due to faulty material
well-pled factual allegations, assume their veracity, and then
                                                                    or workmanship. However, the Complaint alleges that the Hot
determine whether they plausibly give rise to an entitlement
                                                                    Rollers have defects in workmanship and materials as well as
to relief. Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir. 2012).      design defects. (Compl. ¶¶ 53, 103, 107.) More specifically,
The court’s plausibility determination is “a context-specific       Plaintiffs contend that the defect in the material selection of
task that requires the reviewing court to draw on its judicial      the plastic end caps referenced in the Complaint is a defect
                                                                    in workmanship or materials, and therefore, falls within the
experience and common sense.”         Iqbal, 556 U.S. at 679.
                                                                    ambit of the express warranty. (ECF No. 15 at 8; see Compl.
                                                                    ¶ 104.)
IV. Discussion
 *4 In its motion to dismiss, Spectrum argues that Plaintiffs’      Spectrum asserts that by claiming that the choice of material
breach of express warranty claim must be dismissed because          was defective, Plaintiffs are asserting a design defect, not a
the alleged latent defect in the Hot Rollers is a design            defect in material. Plaintiffs counter that at this stage of the
defect, but its limited warranty only warrants against defects      proceedings, it would be premature to make any conclusive
due to faulty material or workmanship. It also asserts that         determination regarding the nature of the alleged defect or
Plaintiffs’ claims for breach of express and implied warranties     defects. See, e.g.,    Alin v. Am. Honda Motor Co., No.
fail because Spectrum satisfied its obligations under those         08-4825, 2010 WL 1372308, at *6 (D.N.J. Mar. 31, 2010)
warranties by offering Botelho both a replacement product           (“At the pleading stage, where the distinction between a
and a refund. 2                                                     defect in design and defect in materials or workmanship is a
                                                                    matter of semantics, and sufficient facts are alleged to assert
With respect to the MMWA claim, Spectrum maintains that             both, the defendant’s characterization of the nature of the
because Plaintiffs’ causes of action for breach of express and      claim pre-discovery should not control whether the complaint
implied warranties fail to state a claim upon which relief may      survives.”).
be granted, their MMWA claim, which is based on a breach
of those warranties, necessarily fails as well.                      *5 Accordingly, because the Court cannot resolve this issue
                                                                    at the pleading stage, it concludes that it cannot dismiss the
In seeking dismissal of Plaintiffs’ claims for negligence and       express warranty claim on this basis.
negligent failure to warn, Spectrum contends that those claims
are barred by the economic loss rule. Finally, Spectrum asserts     At the same time, Spectrum also argues that it complied
that Plaintiffs’ request for injunctive relief should be stricken   with the terms of its warranty by offering a replacement
from the Complaint because they lack standing to seek such          to Plaintiff Botelho which she rejected. 3 Because Botelho
relief.                                                             refused this remedy, Spectrum contends, Plaintiffs’ breach of



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express warranty claim fails. See      Davenport v. Medtronic,     goods are used.”      13 Pa. C.S. § 2314(b)(3). To establish a
Inc., 302 F. Supp. 2d 419, 441 (E.D. Pa. 2004) (dismissing         breach of an implied warranty of merchantability, Plaintiffs
breach of express warranty claim because the plaintiff decided     must allege that “(1) that the product malfunctioned; (2) that
not to avail himself of the relief provided by the terms of the    plaintiffs used the product as intended or reasonably expected
warranty).                                                         by the manufacturer; and (3) the absence of other reasonable
                                                                   secondary causes.”     Altronics of Bethlehem, Inc. v. Repco,
Relying on the Supreme Court’s decision in Campbell-Ewald
                                                                   Inc., 957 F.2d 1102, 1105 (3d Cir. 1992).
Co. v. Gomez, Plaintiffs argue that Spectrum’s pre-suit offer
does not foreclose their warranty claims because it has lapsed
                                                                   The measure of damages in a breach of implied warranty
and is, therefore, “a legal nullity.” 136 S. Ct. 663, 670          claim is the difference between the value of the goods
(2016). Campbell-Ewald, however, is inapposite. In that case,      accepted and their value if they had been as warranted. 12
the Supreme Court rejected a mootness challenge in the             Pa. C.S. § 2714. In seeking dismissal of Plaintiffs’ breach
                                                                   of implied warranty of merchantability claim, Spectrum
context of an unaccepted offer of judgment under        Federal
                                                                   argues that Plaintiffs have no damages because they rejected
Rule of Civil Procedure 68. Id. at 671. The Supreme Court          Spectrum’s offer to provide a refund. Assuming that Plaintiff
explained that such an offer “is considered withdrawn” if          Botelho’s Hot Rollers had no value because of the alleged
not accepted within 14 days, providing plaintiff no relief and     defect, Spectrum’s offer to refund the purchase price would
leaving his personal stake in the litigation unchanged.      Id.   have made her whole had she accepted the offer. Therefore,
                                                                   Spectrum argues, Plaintiffs cannot now contend that they have
at 671–72 (quoting Fed. R. Civ. P. 68(b)). Campbell-Ewald          suffered damages because they rejected an offer that would
offers no guidance on warranty claims and a defendant’s            have made them whole.
compliance with and satisfaction of its warranty obligations.
Here, Spectrum’s offer of a replacement product was not a          However, Spectrum’s fundamental assertion that it offered
settlement offer. Rather, it is the remedy Spectrum promised       a refund which Botelho did not accept is not clear from
to provide under its limited warranty. 4                           the parties’ email exchange. As an initial matter, it appears
                                                                   that Spectrum asked Botelho if she would be interested in a
Based upon the Complaint and its exhibits, it appears that         refund after inquiring whether she would be seeking medical
Botelho was offered a replacement product by Spectrum              attention. Even if this statement is construed as an offer for a
and rejected it. That would satisfy Spectrum’s warranty            refund, the email exchange that is part of the Complaint does
obligations and compel dismissal of this claim. At the same        not conclusively reflect that Botelho definitively understood
time, Botelho’s May 2018 email suggests that this was not the      it as such and rejected it, or that she was otherwise made
first time that she notified Spectrum about the alleged defect.    whole. Rather, Botelho updated Spectrum on her alleged
(Compl. ¶ 22.) The parties’ prior communications, if any, and      injury and Spectrum advised her that her claim was being
their potential relevance to this claim are not set forth in the   forwarded to its insurance company. This suggests that the
Complaint.                                                         focus of that particular exchange may have been on Botelho’s
                                                                   injury as opposed to addressing a warranty claim. Further,
Therefore, Spectrum’s motion to dismiss the express warranty       the Complaint does not allege that Spectrum actually sent
claim will be granted without prejudice. Plaintiffs will be        or attempted to send Botelho a refund that was rejected.
granted leave to amend this claim in the event that they can       Therefore, Spectrum’s argument fails, at least at this stage.
allege facts that would support a claim that Spectrum failed
to comply with the terms of the limited warranty as it relates
to the Plaintiffs’ individual claim(s).                               C. Plaintiffs have alleged a plausible MMWA claim
                                                                   The MMWA provides a private right of action in federal
                                                                   court for consumers who are “damaged by the failure of
   B. Plaintiffs’ breach of implied warranty of                    a supplier, warrantor, or service contractor to comply with
   merchantability claim                                           any obligation ... under a written warranty, [or] implied
 *6 Under Pennsylvania law governing implied warranty of           warranty.” 15 U.S.C. § 2310(d)(1). Spectrum argues that
merchantability, every seller warrants, among other things,        because Plaintiffs have failed to state a viable state law claim
that the goods are “fit for the ordinary purposes for which such   for a breach of express or implied warranties, their derivative


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MMWA claim necessarily fails and must also be dismissed.            a significantly increased or unreasonable risk of injury to
                                                                    consumers, and (2) to use reasonable care to warn consumers
See Cooper v. Samsung Elecs. Am., Inc., 374 F. App'x 250,
                                                                    about the risks and dangers regarding the use of the Hot
254 (3d Cir. 2010) (affirming dismissal of MMWA claims
                                                                    Rollers.
that were based on state law breach of warranty claims that
had been dismissed). Because the Court has determined that
                                                                    The relationship between Plaintiffs and Spectrum, and
Plaintiffs have adequately alleged a claim for breach of an
                                                                    Spectrum’s duties to Plaintiffs, are based upon Plaintiffs’
implied warranty, however, Spectrum’s motion to dismiss
                                                                    purchase and use of Hot Rollers to which certain express
must be denied.
                                                                    and implied warranties apply. These warranties relate to the
                                                                    quality and characteristics of the Hot Rollers, including that
   D. Plaintiffs’ negligence and negligent failure to warn          they are free of defects due to faulty material or workmanship
   claims are barred by the economic loss rule                      and can be used for their ordinary purpose. Thus, Spectrum’s
Under Pennsylvania law, the economic loss doctrine bars tort        legal duties to Plaintiffs and other purchasers of Hot Rollers
claims involving defective products where the plaintiff’s loss      are contract-based. Plaintiffs do not allege any facts in
                                                                    their Complaint from which the Court could conclude that
is damage to the product itself.    Werwinski v. Ford Motor
                                                                    Spectrum had duties to them that are not encompassed in these
Co., 286 F.3d 661, 671 (3d Cir. 2002). The Supreme Court has
                                                                    express and implied warranties, or that Spectrum has other
explained that “[d]amage to a product itself ... means simply
                                                                    duties that are grounded in tort. Therefore, as alleged in their
that the product has not met the customer’s expectations, or,
                                                                    Complaint, any duty Spectrum owes to Plaintiffs regarding
in other words, that the customer has received ‘insufficient
                                                                    the condition of the Hot Rollers is governed solely by the
product value.’ ”       E. River S.S. Corp. v. Transamerica         express and implied warranties.
Delaval, Inc., 476 U.S. 858, 872 (1986) (citing J. White and
R. Summers, Uniform Commercial Code 406 (2d ed. 1980)).             Because no independent legal duty apart from those
Therefore, such claims are “most naturally understood as ...        warranties exists, the Court finds that Plaintiffs’ negligence
warranty claim[s] ... [because] maintenance of product value        and negligent failure to warn claims are barred by the
and quality is precisely the purpose of express and implied         economic loss rule and must be dismissed.
warranties.” Id. (footnote and citation omitted).

 *7 Here, the Complaint explicitly excludes all claims for             E. Plaintiffs lack standing to seek injunctive relief
personal injury and wrongful death. (Compl. ¶¶ 67, 68.)             A plaintiff seeking injunctive relief bears the burden of
Plaintiffs’ loss, therefore, is premised solely on damage to the    establishing that she is “ ‘likely to suffer future injury’ from
product itself, that is, the diminished value and quality of the    the defendant’s conduct.” In re Johnson & Johnson Talcum
Hot Rollers due to their alleged defects. This brings Plaintiffs’   Powder Prods, Mktg., Sales Practices & Liab. Litig., 903
tort claims squarely within the ambit of the economic loss
                                                                    F.3d 278, 292 (3d Cir. 2018) (quoting      McNair v. Synapse
doctrine.
                                                                    Grp., Inc., 672 F.3d 213, 223 (3d Cir. 2012)). In class actions,
                                                                    at least one named plaintiff must satisfy this future injury
Relying on       Dittman v. UPMC, 196 A.3d 1036 (Pa.
                                                                    requirement.     McNair, 672 F.3d at 223 (citations omitted).
2018), however, Plaintiffs contend that their negligence and
negligent failure to warn claims are not barred by that
                                                                    In McNair, the Third Circuit considered whether the plaintiffs
doctrine. In Dittman, the Pennsylvania Supreme Court found
                                                                    who were “former customers” of a magazine company had
a specific carve-out to the economic loss doctrine under a
negligence theory where a legal duty exists “independently          standing to seek injunctive relief.  672 F.3d at 215. The
                                                                    company offered magazine subscriptions under a “continuous
of any contractual duties between the parties.”      Id. at 1054
                                                                    service plan” in which “a customer’s subscription does not
(quoting    Tommy L. Griffin Plumbing & Heating Co. v.
                                                                    expire unless and until the customer opts to cancel it.”   Id.
Jordan, Jones & Goulding, Inc., 463 S.E.2d 85, 88 (S.C.
                                                                    at 216. Initial subscriptions were offered at “free or greatly
1995)). Plaintiffs assert that their negligence and negligent
                                                                    reduced rates” and then, once the promotional period ended,
failure to warn claims fit that carve-out because Spectrum
                                                                    customers were charged regular rates until the subscription
had a duty (1) to ensure that its Hot Rollers did not pose



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                                                                    discouraging customers who purchased defective Hot Rollers
was cancelled. Id. The plaintiffs brought a putative class
                                                                    from seeking the full panoply of remedies available to
action to enjoin the company’s alleged “deceptive business
                                                                    them.” (Compl. ¶ 133.)
practices.”      Id. at 219.
                                                                    Plaintiffs have not alleged that they will sustain future injury.
*8 The McNair Court held that the plaintiffs lacked                 Moreover, given their allegations that the Hot Rollers are
standing to seek injunctive relief. Id. at 227. This holding        defective and their communications with Spectrum, it is
was premised on the plaintiffs failure to “establish[ ] any         unreasonable to assume that Plaintiffs would sustain future
                                                                    injury by repurchasing Hot Rollers. Indeed, “the law accords
reasonable likelihood of future injury.” Id. at 225. Because
                                                                    people the dignity of assuming that they act rationally,
the plaintiffs were former customers who were already
aware of the company’s advertising practices, the Third             in light of the information they possess.”      McNair, 672
Circuit concluded that any future injury they might suffer          F.3d at 225. Because Plaintiffs have not established any
                                                                    reasonable likelihood of future injury, they lack standing to
was “wholly conjectural.”       Id. at 219. The McNair Court
                                                                    seek injunctive relief against Spectrum.
explained that while the plaintiffs may in the future accept an
offer, “speaking generally, the law accords people the dignity
                                                                    Accordingly, Plaintiffs’ request for injunctive relief must be
of assuming that they act rationally, in light of the information
                                                                    dismissed.
they possess.”   Id. at 225. This type of speculative future
harm did not confer standing to seek injunctive relief. Id.
                                                                       F. Claims of Plaintiff Winkworth
Similarly, in In re Johnson & Johnson Talcum Powder                 Other than the allegation that Plaintiff Winkworth purchased
Products Marketing, Sales Practices & Liability Litigation,         Hot Rollers, the Complaint includes no factual allegations
the plaintiff filed a class action against a drug manufacturer      that appear to support any of the claims asserted therein.
                                                                    For example, he is not alleged to be the owner of the Hot
asserting she received “ ‘unsafe’      Baby Powder despite          Rollers, to have used the product, have had knowledge of any
being promised ‘safe’ Baby Powder[.]” 903 F.3d 278, 288 (3d         alleged defects, placed Spectrum on notice of alleged defects
Cir. 2018). The plaintiff sought “injunctive relief in the form     or communicated with Spectrum in any way. Therefore,
of ‘corrective advertising’ and ‘enjoining Defendants from          Spectrum could not have fulfilled any express or implied
continuing the unlawful practices’ of selling Baby Powder           warranty obligation that it might have had to him. Moreover,
without properly warning consumers of the alleged health            given the measure of damages for breach of warranty, it
risks.”   Id. at 292. Relying on McNair, the Third Circuit          does not appear that both Plaintiffs cannot not recover such
held that the plaintiff lacked standing to seek injunctive          damages from Spectrum.
relief because she was not likely to suffer future injury
from the defendants’ conduct due to her awareness of the            As such, the claims of Plaintiff Winkworth are dismissed
alleged health risks associated with the Baby Powder. Id.           without prejudice.
In so holding, the Third Circuit explicitly refused “to give
cognizance to this sort of ‘stop me before I buy again’ claim.”
                                                                    V. Conclusion
   Id. at 293.                                                      For the reasons discussed herein, Spectrum’s motion to
                                                                    dismiss (ECF No. 9) will be granted in part and denied in part.
Here, Plaintiffs allege that the in-box disclaimers that            An appropriate order will follow.
limit the applicable express and implied warranties to two
years are unconscionable and unenforceable. (Compl. ¶¶
69, 85, 90.) Plaintiffs argue that such “warranty exclusions,       All Citations
limitations and disclaimers dissuade consumers from filing
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a claim.” (ECF No. 15 at 16.) Therefore, Plaintiffs seek
to enjoin Spectrum from engaging in “practices aimed at




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                                                   Footnotes


1     “To decide a motion to dismiss, courts generally consider only the allegations contained in the complaint,
      exhibits attached to the complaint and matters of public record.”   Pension Benefit Guar. Corp. v. White
      Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993). Plaintiffs cite to Exhibit B of the Complaint in
      reference to Botelho’s communications with Spectrum, but there are no exhibits attached to the Complaint
      because Plaintiffs inadvertently failed to attach the exhibits when filing this action. Plaintiffs’ counsel
      subsequently provided Spectrum with copies of those exhibits. (ECF No. 10 at 3 n.1.) Accordingly, Exhibit
      B to Spectrum’s brief can be considered. (Id. at 18–22). See       Schmidt v. Skolas, 770 F.3d 241, 249 (3d
      Cir. 2014).
2     To assert warranty claims in Pennsylvania, “the buyer must within a reasonable time after he discovers or
      should have discovered any breach notify the seller of breach or be barred from any remedy[.]” 13 Pa. C.S.
      § 2607(c)(1). Because Plaintiffs do not allege that Winkworth notified Spectrum of the defect, it is unclear
      if or how they contend that he is an appropriate plaintiff with respect to the warranty claims asserted in the
      Complaint. While Spectrum has not specifically addressed Winkworth’s warranty claims for failure to comply
      with the notice requirement of § 2607, it has moved to dismiss all warranty claims asserted in the Complaint.
3     Spectrum also asserts that it offered Botelho a refund. This issue is addressed infra in connection with the
      implied warranty claim.
4     Plaintiffs also argue that their warranty claims should survive because, despite Botelho’s request to recall
      the Hot Rollers, Spectrum did not cure the alleged defect by providing a remedy on a class-wide basis.
      This argument is untenable because Plaintiffs cannot premise their breach of warranty claims on damages
      “suffered by other, unidentified members of the class to which they belong and which they purport to
      represent.”    Warth v. Seldin, 422 U.S. 490, 502 (1975). They first must have standing to assert claims on
      their own behalf. (See id.) (“[Plaintiffs] must allege and show that they personally have been injured ... [in
      order to] seek relief on behalf of [themselves] or any other member of the class.”).


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